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                                                                  EXECUTION VERSION




                        CREDIT AND GUARANTY AGREEMENT

                                 dated as of April 16, 2015

                                          among

                           MURRAY ENERGY CORPORATION,

                           MURRAY ENERGY HOLDINGS CO.,

           CERTAIN SUBSIDIARIES OF MURRAY ENERGY CORPORATION,
                                as Guarantors,

                                   VARIOUS LENDERS,

                           DEUTSCHE BANK SECURITIES, INC.,
                                            and
                              GOLDMAN SACHS BANK USA,
                       as Joint Lead Arrangers and Joint Bookrunners,

                             GOLDMAN SACHS BANK USA,
                               as Sole Syndication Agent,

                                            and

                       DEUTSCHE BANK AG NEW YORK BRANCH,
                                 as Administrative Agent,
                ________________________________________________________

                      $2,000,000,000 Senior Secured Term Loan Facility
                ________________________________________________________




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APPENDICES:       A-1    Term B-1 Loan Commitments
                  A-2    Term B-2 Loan Commitments
                  B      Notice Addresses


SCHEDULES:        1.1    Excluded Subsidiaries.
                  3.1(h) Closing Date Mortgaged Properties
                  4.1    Jurisdictions of Organization and Qualification
                  4.2    Equity Interests and Ownership
                  4.13 Real Estate Assets
                  4.15(b) Certain Environmental and Mining Obligations
                  4.21 Broker’s or Finder’s Fees or Commissions
                  5.16 Post-Closing Covenants
                  6.1    Certain Indebtedness
                  6.2    Certain Liens
                  6.6    Certain Investments


EXHIBITS:         A-1    Funding Notice
                  A-2    Conversion/Continuation Notice
                  B-1    Term B-1 Loan Note
                  B-2    Term B-2 Loan Note
                  C      [Reserved]
                  D      Assignment Agreement
                  E      Certificate re Non-Bank Status
                  F      Closing Date Certificate
                  G      Counterpart Agreement
                  H      Pledge and Security Agreement
                  I      [Reserved]
                  J      [Reserved]
                  K      Intercompany Note
                  L      Joinder Agreement
                  M      Modified Dutch Auction Procedures
                  N      Intercreditor Agreement
                  O      [Reserved]
                  P      [Reserved]
                  Q      Solvency Certificate
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                          CREDIT AND GUARANTY AGREEMENT

               This CREDIT AND GUARANTY AGREEMENT, dated as of April 16, 2015,
is entered into by and among MURRAY ENERGY CORPORATION, an Ohio corporation
(“Borrower”), MURRAY ENERGY HOLDINGS CO., a Delaware corporation (“Holdings”),
CERTAIN SUBSIDIARIES OF BORROWER, as Guarantors, the Lenders party hereto from
time to time, DEUTSCHE BANK SECURITIES INC. (“DBSI”) and GOLDMAN SACHS
BANK USA (“Goldman Sachs”) as Joint Lead Arrangers and as Joint Bookrunners (in such
capacities, “Arrangers”), GOLDMAN SACHS BANK USA, as Sole Syndication Agent (in
such capacity, “Syndication Agent”), and DEUTSCHE BANK AG NEW YORK BRANCH
(“DBNY”), as Administrative Agent (together with its permitted successors in such capacity,
“Administrative Agent”).

                                           RECITALS:

        WHEREAS, capitalized terms used in these Recitals shall have the respective meanings
set forth for such terms in Section 1.1 hereof;

       WHEREAS, the Lenders have agreed to extend a term loan credit facility in an
aggregate principal amount of $2,000,000,000.00, consisting of $300,000,000.00 aggregate
principal amount of Term B-1 Loans and $1,700,000,000.00 aggregate principal amount of Term
B-2 Loans, the proceeds of which will be used to fund, in part, the refinancing of the Existing
Term Loan Agreement (including the payment of fees, premiums, commissions and expenses in
connection therewith) and the Closing Date Acquisition (including paying fees, commissions and
expenses in connection with the Closing Date Acquisition), and for general corporate purposes
including ongoing working capital requirements, capital expenditures and Permitted
Acquisitions; and

       WHEREAS, Guarantors have agreed to guarantee the obligations of Borrower hereunder
and Borrower and each of the Guarantors have agreed to reaffirm the Liens in favor of the
Collateral Trustee, for the benefit of the Secured Parties, securing all of their respective
Obligations;

       NOW, THEREFORE, in consideration of the premises and the agreements, provisions
and covenants herein contained, the parties hereto agree as follows:


                SECTION 1. DEFINITIONS AND INTERPRETATION

        1.1. Definitions. The following terms used herein, including in the preamble, recitals,
exhibits and schedules hereto, shall have the following meanings:

                 “1974 Plan” as defined in Section 4.20(a).

                 “Accounting Change” as defined in Section 1.2.



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                “Acquired Interests” means (a) 34% of the voting interest and 77.5% of the
economic interest of Foresight GP, (b) the Foresight Acquisition Option and (c) 100% of the
subordinated units of Foresight LP (and an option to purchase a number of common units that,
when added with such subordinated units, gives Borrower ownership of up to 51% of Foresight
LP’s fully diluted equity securities).

                “Acquired Debt” means, with respect to any specified Person:

                (a)    Indebtedness of any other Person existing at the time such other Person is
        merged with or into or became a Subsidiary of such specified Person, whether or not such
        Indebtedness is incurred in connection with, or in contemplation of, such other Person
        merging with or into, or becoming a Restricted Subsidiary of, such specified Person;
        provided that if the Indebtedness of such acquired Person is redeemed, defeased, retired
        or otherwise repaid immediately upon consummation of the acquisition, merger or other
        transaction pursuant to which such Person merges with or becomes a Subsidiary, such
        Indebtedness will no longer be Acquired Debt; and

                (b)    Indebtedness secured by a Lien encumbering any asset acquired by such
        specified Person.

               “Acquisition” means, collectively, (a) the Closing Date Acquisition and (b) the
purchase of all of the issued and outstanding shares of common stock of Consolidation Coal
Company, a Delaware corporation (“CCC Company”), by Ohio Valley Resources, Inc., an
Ohio corporation (“CCC Purchaser”), pursuant to and in accordance with that certain Stock
Purchase Agreement, dated as of October 25, 2013, among CONSOL Energy Inc., a Delaware
corporation, CCC Purchaser, CCC Company, and solely for purposes of Section 5.14, Section
6.03 and Section 11.16 thereof, Borrower, as amended.

             “Acquisition Agreement” means that certain Purchase and Sale Agreement,
dated as of April 7, 2015, among Foresight Reserves and Michael J. Beyer, as sellers, and
Borrower, as purchaser (including the exhibits and schedules thereto), as may be further
amended.

                “Additional Facilities” as defined in Section 6.1(c).

              “Additional Facilities Amount” means, at any time, with respect to any
Additional Facility:

                (a)     $150,000,000 minus the aggregate principal amount of all loans made and
        notes issued pursuant to Incremental Commitments pursuant to clause (a) of the term
        “Incremental Facilities Amount” and other Additional Facilities pursuant to this clause
        (a) prior to such Additional Facility; plus

               (b)    unlimited additional amounts so long as immediately after giving effect to
        the making of such additional amounts, the Net Leverage Ratio (calculated on a pro
        forma basis after giving effect to such additional amounts and any transactions funded
        with the proceeds of such additional amounts but not including the proceeds of such
        additional amounts as Unrestricted Cash for the purpose of calculating Consolidated Net

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        Total Debt) does not exceed (i) with respect to additional amounts under a Second Lien
        Additional Facility, 3.00:1.00 and (ii) with respect to additional amounts under an
        Unsecured Additional Facility, 4.00:1.00, as of the last day of the Fiscal Quarter most
        recently ended.

it being understood that the amount set forth in clause (a) need not be utilized prior to the use of
the incurrence test set forth in clause (b), and that the Net Leverage Ratio set forth in clause (b)
may be exceeded following the utilization of amounts under clause (a).

                “Adjusted Eurodollar Rate” means, for any Interest Rate Determination Date
with respect to an Interest Period for a Eurodollar Rate Loan, the rate per annum obtained by
dividing (i) (a) the rate per annum equal to the rate determined by Administrative Agent to be the
offered rate which appears on the page of the Reuters Screen which displays an average British
Bankers Association Interest Settlement Rate (such page currently being LIBOR01 page) for
deposits (for delivery on the first day of such period) with a term equivalent to such period in
Dollars, determined as of approximately 11:00 a.m. (London, England time) on such Interest
Rate Determination Date, or (b) in the event the rate referenced in the preceding clause (a) does
not appear on such page or service or if such page or service shall cease to be available, the rate
per annum equal to the rate determined by Administrative Agent to be the offered rate on such
other page or other service which displays an average British Bankers Association Interest
Settlement Rate for deposits (for delivery on the first day of such Interest Period) with a term
equivalent to such Interest Period in Dollars, determined as of approximately 11:00 a.m.
(London, England time) on such Interest Rate Determination Date, or (c) in the event the rates
referenced in the preceding clauses (a) and (b) are not available, the rate per annum equal to the
offered quotation rate to first class banks in the London interbank market by DBNY for deposits
(for delivery on the first day of the relevant period) in Dollars of amounts in same day funds
comparable to the principal amount of the applicable Loan of Administrative Agent, in its
capacity as a Lender, for which the Adjusted Eurodollar Rate is then being determined with
maturities comparable to such period as of approximately 11:00 a.m. (London, England time) on
such Interest Rate Determination Date, by (ii) an amount equal to (a) one minus (b) the
Applicable Reserve Requirement; provided, however, that notwithstanding the foregoing, (x) the
Adjusted Eurodollar Rate with respect to the Term Loan shall at no time be less than 1.00% per
annum and (y) in the event that any reference rate referred to in clause (i) is less than 0%, such
reference rate shall be deemed to be 0%.

                “Administrative Agent” as defined in the preamble hereto.

                “Adverse Proceeding” means any action, suit, proceeding, hearing (whether
administrative, judicial or otherwise), governmental investigation or arbitration (whether or not
purportedly on behalf of Holdings or any of its Restricted Subsidiaries) at law or in equity, or
before or by any Governmental Authority, domestic or foreign, whether pending or, to the actual
knowledge of Holdings or any of its Restricted Subsidiaries, threatened in writing against or
directly affecting Holdings or any of its Restricted Subsidiaries or any property of Holdings or
any of its Restricted Subsidiaries.

                “Affected Lender” as defined in Section 2.18(b).



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                “Affected Loans” as defined in Section 2.18(b).

               “Affiliate” means, as applied to any Person, any other Person directly or
indirectly controlling, controlled by, or under common control with, that Person. For the
purposes of this definition, “control” (including, with correlative meanings, the terms
“controlling”, “controlled by” and “under common control with”), as applied to any Person,
means the possession, directly or indirectly, of the power (i) to vote 10% or more of the
Securities having ordinary voting power for the election of directors of such Person or (ii) to
direct or cause the direction of the management and policies of that Person, whether through the
ownership of voting securities or by contract or otherwise.

               “Affiliate Assignment Agreement” means an Assignment and Assumption
Agreement substantially in the form of Annex C to Exhibit M, with such amendments or
modifications as may be approved by Administrative Agent and Borrower.

                “Affiliate Transaction” as defined in Section 6.11.

              “Affiliated Lender” means each Lender that is an Affiliate of Borrower (other
than Holdings and its Subsidiaries).

                 “Agent” means each of (i) Administrative Agent, (ii) Syndication Agent,
(iii) Collateral Trustee and (iv) any other Person appointed under the Credit Documents to serve
in an agent or similar capacity, including, without limitation, any Auction Manager.

                “Agent Affiliates” as defined in Section 10.1(b)(iii).

                “Aggregate Amounts Due” as defined in Section 2.17.

                “Aggregate Payments” as defined in Section 7.2.

               “Agreement” means this Credit and Guaranty Agreement, dated as of April 16,
2015, as it may be amended, restated, supplemented or otherwise modified from time to time.

                “American Coal” means The American Coal Company, a Delaware corporation.

               “Applicable Margin” means (i) (x) with respect to any Term B-1 Loan that is a
Base Rate Loan, a rate equal to 5.00%, per annum or (y) with respect to any Term B-1 Loan that
is a Eurodollar Rate Loan, a rate equal to 6.00%, per annum and (ii) with respect to any Term B-
2 Loan that is a Base Rate Loan, a rate equal to 5.50%, per annum or (y) with respect to any
Term B-2 Loan that is a Eurodollar Rate Loan, a rate equal to 6.50%, per annum.

                “Applicable Reserve Requirement” means, at any time, for any Eurodollar Rate
Loan, the maximum rate, expressed as a decimal, at which reserves (including any basic
marginal, special, supplemental, emergency or other reserves) are required to be maintained with
respect thereto against “Eurocurrency liabilities” (as such term is defined in Regulation D) under
regulations issued from time to time by the Board of Governors or other applicable banking
regulator. Without limiting the effect of the foregoing, the Applicable Reserve Requirement
shall reflect any other reserves required to be maintained by such member banks with respect to

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(i) any category of liabilities which includes deposits by reference to which the applicable
Adjusted Eurodollar Rate or any other interest rate of a Loan is to be determined, or (ii) any
category of extensions of credit or other assets which include Eurodollar Rate Loans. A
Eurodollar Rate Loan shall be deemed to constitute Eurocurrency liabilities and as such shall be
deemed subject to reserve requirements without benefits of credit for proration, exceptions or
offsets that may be available from time to time to the applicable Lender. The rate of interest on
Eurodollar Rate Loans shall be adjusted automatically on and as of the effective date of any
change in the Applicable Reserve Requirement.

               “Approved Electronic Communications” means any notice, demand,
communication, information, document or other material that any Credit Party provides to
Administrative Agent pursuant to any Credit Document or the transactions contemplated therein
which is distributed to Agents or Lenders by means of electronic communications pursuant to
Section 10.1(b).

                “Arrangers” as defined in the preamble hereto.

              “Asset Sale” means (a) the sale, lease, conveyance or other disposition of any
assets by Borrower or any of Borrower’s Restricted Subsidiaries and (b) the issuance of Equity
Interests by any of Borrower’s Restricted Subsidiaries or the sale by Borrower or any of
Borrower’s Restricted Subsidiaries of Equity Interests in any of Borrower’s Subsidiaries.
Notwithstanding the preceding, none of the following items will be deemed to be an “Asset
Sale”:

               (i)     any single transaction or series of related transactions that involve assets
        having a Fair Market Value of less than $20,000,000;

              (ii)  the sale, lease, conveyance or other disposition of assets between or
        among Borrower and Borrower’s Restricted Subsidiaries that are Domestic Subsidiaries;

              (iii) an issuance of Equity Interests by a Restricted Subsidiary of Borrower to
        Borrower or a Restricted Subsidiary of Borrower that is a Domestic Subsidiary;

               (iv)   an issuance of Equity Interests by a Restricted Subsidiary of Borrower that
        is a Foreign Subsidiary to another Restricted Subsidiary of Borrower that is a Foreign
        Subsidiary;

               (v)    the sale, lease or other transfer of inventory, products, services or accounts
        receivable in the ordinary course of business and any sale or other disposition of
        damaged, worn-out or obsolete assets in the ordinary course of business (including the
        abandonment or other disposition of intellectual property that is, in the reasonable
        judgment of Borrower, no longer economically practicable to maintain or useful in the
        conduct of the business of Borrower and Borrower’s Restricted Subsidiaries taken as
        whole);

               (vi)    licenses and sublicenses by Borrower or any of Borrower’s Restricted
        Subsidiaries of software or intellectual property in the ordinary course of business;


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                (vii) any surrender or waiver of contract rights or settlement, release, recovery
        on or surrender of contract, tort or other claims in the ordinary course of business;

                (viii) the granting of Liens not prohibited by Section 6.2;

                (ix)    the sale or other disposition of cash or Cash Equivalents;

               (x)    a Restricted Junior Payment that does not violate Section 6.4 and an
        Investment that does not violate Section 6.6;

                (xi)    dispositions of assets resulting from condemnation or casualty events; and

                (xii)   the Royalty Drop-Down Transaction.

              “Assignment Agreement” means, as applicable, (a) an Assignment and
Assumption Agreement substantially in the form of Exhibit D, with such amendments or
modifications as may be approved by Administrative Agent and Borrower or (b) an Affiliate
Assignment Agreement.

                “Assignment Effective Date” as defined in Section 10.6(b).

                “Auction” as defined in Section 10.6(i).

               “Auction Manager” means (a) either Administrative Agent or any Arranger, as
determined by Borrower, or any of their respective Affiliates or (b) any other financial institution
or advisor agreed by Borrower and Administrative Agent (whether or not an affiliate of
Administrative Agent) to act as an arranger in connection with any repurchases pursuant to
Section 10.6(i).

                “Authorized Officer” means, as applied to any Person, any individual holding
the position of chairman of the board (if an officer), chief executive officer, chief operating
officer, president or one of its vice presidents (or the equivalent thereof), and such Person’s chief
financial officer or treasurer (or other officer that is reasonably acceptable to Administrative
Agent).

               “Bankruptcy Code” means Title 11 of the United States Code entitled “Bank-
ruptcy,” as now and hereafter in effect, or any successor statute.
               “Base Rate” means, for any day, a rate per annum equal to the greatest of (i) the
Prime Rate in effect on such day, (ii) the Federal Funds Effective Rate in effect on such day plus
½ of 1% and (iii) the sum of (a) the Adjusted Eurodollar Rate (after giving effect to any Adjusted
Eurodollar Rate “floor”) that would be payable on such day for a Eurodollar Rate Loan with a
one-month Interest Period plus (b) 1.00%. Any change in the Base Rate due to a change in the
Prime Rate or the Federal Funds Effective Rate shall be effective on the effective day of such
change in the Prime Rate or the Federal Funds Effective Rate, respectively.

                “Base Rate Loan” means a Loan bearing interest at a rate determined by
reference to the Base Rate.


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               “Beneficial Owner” has the meaning assigned to such term in Rule 13d-3 and
Rule 13d-5 under the Exchange Act, except that in calculating the beneficial ownership of any
particular “person” (as that term is used in Section 13(d)(3) of the Exchange Act), such “person”
will be deemed to have beneficial ownership of all securities that such “person” has the right to
acquire by conversion or exercise of other securities, whether such right is currently exercisable
or is exercisable only after the passage of time. The terms “Beneficially Owns” and
“Beneficially Owned” have a corresponding meaning.

              “Beneficiary” means each Agent, Lender, Commodities Hedge Provider, Lender
Counterparty and Designated Coal Contract Counterparty.

                “Big Boy Representation” means a representation from a Lender acknowledging
that (a) an Affiliated Lender may have information regarding Borrower and its Subsidiaries, their
ability to perform the Obligations or any other material information that has not previously been
disclosed to Administrative Agent and the Lenders (“Excluded Information”), (b) the Excluded
Information may not be available to such Lender, (c) such Lender has independently and without
reliance on any other party made its own analysis and determined to assign Term Loans to an
Affiliated Lender pursuant to Section 10.6(j) notwithstanding its lack of knowledge of the
Excluded Information and (d) such Lender waives and releases any claims it may have against
Administrative Agent, such Affiliated Lender, Borrower and its Subsidiaries with respect to the
nondisclosure of the Excluded Information; or otherwise in form and substance reasonably
satisfactory to Administrative Agent, such Affiliated Lender and the assigning Lender.

               “Black Lung Act” means the Black Lung Benefits Act of 1972, 30 U.S.C. §§
901, et seq., the Federal Mine Safety and Health Act of 1977, 30 U.S.C. §§ 801, et seq., the
Black Lung Benefits Revenue Act of 1977, Pub. L. No. 95-227, 92 Stat. 11 (1978), the Black
Lung Benefits Reform Act of 1977, Pub. L. No. 95-239, 92 Stat. 95 (1978), and the Black Lung
Benefits Revenue Act of 1981 and the Black Lung Benefits Amendments of 1981, Pub. L. No.
97-119, 95 Stat. 1643 (1981) in each case as amended, if applicable.

              “Board of Governors” means the Board of Governors of the United States
Federal Reserve System, or any successor thereto.

                 “Bona Fide Lending Affiliate” means any bona fide debt fund, investment
vehicle, regulated banking entity or non-regulated lending entity that is primarily engaged in
making, purchasing, holding or otherwise investing in commercial loans and similar extensions
of credit in the ordinary course of business.

                “Borrower” as defined in the preamble hereto.

                “Business Day” means (i) any day excluding Saturday, Sunday and any day
which is a legal holiday under the laws of the State of New York or is a day on which banking
institutions located in such state are authorized or required by law or other Governmental Acts to
close and (ii) with respect to all notices, determinations, fundings and payments in connection
with the Adjusted Eurodollar Rate or any Eurodollar Rate Loans, the term “Business Day”
means any day which is a Business Day described in clause (i) and which is also a day for
trading by and between banks in Dollar deposits in the London interbank market.

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                “Calculation Date” as defined in Section 1.4.

              “Capital Lease” means, subject to Section 1.2, as applied to any Person, any
lease of any property (whether real, personal or mixed) by that Person as lessee that, in
conformity with GAAP, is required to be accounted for as a capital lease on the balance sheet of
that Person.

               “Capital Lease Obligation” means, at the time any determination is to be made,
the amount of the liability in respect of a capital lease that would at that time be required to be
capitalized on a balance sheet prepared in accordance with GAAP; provided that all obligations
of the Borrower and its Restricted Subsidiaries that are or would be characterized as an operating
lease as determined in accordance with GAAP as in effect on the Closing Date (whether or not
such operating lease was in effect on such date) shall continue to be accounted for as an
operating lease (and not as a Capital Lease Obligation) for purposes of this Agreement regardless
of any change in GAAP following the Closing Date that would otherwise require such obligation
to be recharacterized as a Capital Lease Obligation.

                “Capital Stock” means (i) in the case of a corporation, corporate stock; (ii) in the
case of an association or business entity, any and all shares, interests, participations, rights or
other equivalents (however designated) of corporate stock; (iii) in the case of a partnership or
limited liability company, partnership interests (whether general or limited or whether common
or subordinated), including any units in Foresight GP or Foresight LP, or membership interests;
and (iv) any other interest or participation that confers on a Person the right to receive a share of
the profits and losses of, or distributions of assets of, the issuing Person, but excluding from all
of the foregoing any debt securities convertible into Capital Stock, whether or not such debt
securities include any right of participation with Capital Stock.

                “Cash” means money, currency or a credit balance in any demand or Deposit
Account.

               “Cash Equivalents” means: (i) (a) United States dollars, euro, or any national
currency of any member state of the European Union; or (b) any other foreign currency held by
Borrower or its Restricted Subsidiaries in the ordinary course of business; (ii) securities issued or
directly and fully guaranteed or insured by the United States government or any agency or
instrumentality of the United States government (provided that the full faith and credit of the
United States is pledged in support of those securities) having maturities of not more than six
months from the date of acquisition; (iii) certificates of deposit and eurodollar time deposits with
maturities of six months or less from the date of acquisition, bankers’ acceptances with
maturities not exceeding six months and overnight bank deposits, in each case, with any
domestic commercial bank having capital and surplus in excess of $500.0 million and a
Thomson Bank Watch Rating of “B” or better; (iv) repurchase obligations with a term of not
more than seven days for underlying securities of the types described in clauses (ii) and (iii)
above entered into with any financial institution meeting the qualifications specified in clause
(iii) above; or (v) commercial paper having one of the two highest ratings obtainable from
Moody’s or S&P and, in each case, maturing within six months after the date of acquisition; and
money market funds at least 95% of the assets of which constitute Cash Equivalents of the kinds
described in clauses (i) through (v) of this definition.

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               “Cash Management Obligations” means obligations in respect of cash
management services (including treasury, depository, overdraft, credit or debit card, electronic
funds transfer and other cash management arrangements), including obligations for the payment
of fees, interest, charges, expenses and disbursements in connection therewith to the extent
provided for in the documents evidencing such cash management services.

                “CCC Company” as defined in the definition of the term “Acquisition”.

                “CCC Purchaser” as defined in the definition of the term “Acquisition”.

                “Certificate re Non-Bank Status” means a certificate substantially in the form
of Exhibit E.

                “Change of Control” means, (i) the direct or indirect sale, lease, transfer,
conveyance or other disposition (other than by way of merger or consolidation), in one or a
series of related transactions, of all or substantially all of the properties or assets of Borrower and
its Subsidiaries taken as a whole to any Person (including any “person” (as that term is used in
Section 13(d)(3) of the Exchange Act)) other than a Principal or a Related Party of a Principal;
(ii) the adoption of a plan relating to the liquidation or dissolution of Borrower; (iii) the
consummation of any transaction (including, without limitation, any merger or consolidation),
the result of which is that any Person (including any “person” (as defined above)), other than the
Principals and their Related Parties, becomes the Beneficial Owner, directly or indirectly, of
more than 50% of the Voting Stock in Borrower, measured by voting power rather than number
of shares; (iv) the first day on which 100% of the outstanding Capital Stock of Borrower ceases
to be owned directly or indirectly by Holdings or another entity that (a) is organized or existing
under the laws of the United States, any state of the United States or the District of Columbia,
(b) has guaranteed the Obligations and pledged all of its Equity Interests in Borrower as
Collateral and (c) is a newly formed entity that conducts no other material activities other than
holding Equity Interests in Borrower and has no other material assets or liabilities other than
such Equity Interests; or (v) any “change of control” or similar event under the Revolving Credit
Agreement, any of the Second Lien Documents or Additional Facilities.

               “Class” means (i) with respect to Lenders, each of the following classes of
Lenders: (a) Lenders having Term B-1 Loan Exposure, (b) Lenders having Term B-2 Loan
Exposure, (c) Lenders having New Term Loan Exposure of each applicable Series and (d)
Lenders having Incremental Revolving Commitments, and (ii) with respect to Loans, each of the
following classes of Loans: (a) Term B-1 Loans, (b) Term B-2 Loans, (c) each Series of New
Term Loans and (d) Incremental Revolving Loans (including any swingline loans thereunder).
Additional Classes of Loans, Borrowings, Commitments and Lenders may be created pursuant to
Sections 2.24, 2.25 and 2.26.

                “Closing Date” means April 16, 2015.

            “Closing Date Acquisition” means the purchase on the Closing Date by
Borrower of the Acquired Interests pursuant to and in accordance with the Acquisition
Agreement.



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              “Closing Date Certificate” means a Closing Date Certificate substantially in the
form of Exhibit F.

                “Closing Date Mortgaged Property” as defined in Section 3.1(h)(i).

             “Coal Contract” means any agreement pursuant to which Borrower or any
Guarantor Subsidiary agrees to sell and deliver (and/or purchase) a shipment of coal.

                “Coal Act” as defined in Section 4.20(b).

                “Coal Liens” means:

                (i) Liens incurred in the ordinary course of business on any specific coal
producing property or any interest therein, construction thereon or improvement thereto to secure
all or any part of the costs incurred for surveying, exploration, drilling, extraction, development,
operation, production, construction, alteration, repair or improvement of, in, under or on such
property and the plugging and abandonment of coal mines located thereon (understood that costs
incurred for “development” shall include costs incurred for all facilities relating to such coal
producing properties or to projects, ventures or other arrangements of which such properties
form a part or which relate to such coal producing properties or interests) as long as such Lien do
not secure obligations for the payment of borrowed money or other Indebtedness;

                (ii) Liens incurred in the ordinary course of business on a coal producing property
to secure obligations incurred or guarantees of obligations incurred in connection with or
necessarily incidental to commitments for the purchase or sale of, or the transportation or
distribution of, the products derived from such coal producing property as long as such Liens do
not secure obligations for the payment of borrowed money or other Indebtedness;

                (iii) Liens arising in the ordinary course of business under partnership agreements,
coal leases, joint operating agreements or similar agreements, net profits agreements, incentive
compensation programs on terms that are reasonably customary in the coal business for
geologists, geophysicists and other providers of technical services to any of Borrower or any of
its Subsidiaries, master limited partnership agreements, farm−out agreements, farm−in
agreements, division orders, contracts for the sale, purchase, exchange, transportation, gathering
or processing of coal, unitizations and pooling designations, declarations, orders and agreements,
development agreements, operating agreements, production sales contracts, area of mutual
interest agreements, gas balancing or deferred production agreements, injection, repressuring and
recycling agreements, salt water or other disposal agreements, seismic or geophysical permits or
agreements, and other agreements which are customary in the coal business as long as such Liens
do not secure obligations for the payment of borrowed money or other Indebtedness and attach
solely to the proceeds of sales of the products derived from such coal producing property;

               (iv) Liens pursuant to production payment obligations and other similar
obligations with respect to coal and other natural resources of such Person, royalties, dedication
of reserves under supply agreements or similar rights or interests granted, taken subject to, or
otherwise imposed on properties consistent with normal practices in the mining industry; and



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              (v) Liens pursuant to contract mining agreements and leases granted in the
ordinary course of business to others that do not interfere with the ordinary conduct of business
of Borrower or its Restricted Subsidiaries and do not secure obligations for the payment of
borrowed money or other Indebtedness;

provided, however, that in all instances such Liens are limited to the assets that are the subject of
the relevant agreement, program, order or contract.

              “Collateral” means, collectively, all of the real, personal and mixed property
(including Equity Interests) in which Liens are purported to be granted pursuant to the Collateral
Documents as security for all or any part of the Obligations under the Credit Documents (subject
to exceptions contained in the Collateral Documents), in each case excluding any Excluded
Assets.

                “Collateral Documents” means the Pledge and Security Agreement, the
Mortgages, the Intellectual Property Security Agreements, the Intercreditor Agreement, the
Collateral Trust Agreement, the Reaffirmation Agreement, and all other instruments, documents
and agreements delivered by or on behalf of any Credit Party pursuant to this Agreement or any
of the other Credit Documents in order to grant to, or perfect in favor of, Collateral Trustee, for
the benefit of Secured Parties, a Lien on any real, personal or mixed property of that Credit Party
as security for all or any part of the Obligations under the Credit Documents (subject to
exceptions contained in the Collateral Documents).

               “Collateral Questionnaire” means a certificate in form reasonably satisfactory
to Administrative Agent that provides information with respect to the personal or mixed property
of each Credit Party.

              “Collateral Trust Agreement” means the Amended and Restated Collateral
Trust Agreement dated as of December 5, 2013, by and among Borrower, the Guarantors, the
Collateral Trustee, and the additional parties thereto from time to time, as the same may be
further amended, restated, amended and restated, supplemented or otherwise modified from time
to time.

               “Collateral Trustee” means U.S. Bank National Association, its successors and
assigns as Collateral Trustee pursuant to the Collateral Trust Agreement.

            “Commitment” means any Term Loan Commitment, New Term Loan
Commitment and/or Incremental Revolving Commitment, as the case may be.

               “Commodities Agreement” means any commodity price hedging agreement or
other similar agreement or arrangement, which is for the purpose of hedging commodity price
exposure associated with Borrower’s and its Subsidiaries’ operations and not for speculative
purposes.

              “Commodities Hedge Provider” means (i) any Person that is a Lender, Agent,
Arranger or an Affiliate of a Lender, Agent or Arranger at the time it entered into a Secured
Commodities Agreement and (ii) each Lender, Agent, Arranger and each Affiliate of a Lender,
Agent or Arranger counterparty to a Secured Commodities Agreement as of the Closing Date.

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                “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1
et seq.), as amended from time to time, and any successor statute.

              “Compliance Certificate” means a Compliance Certificate substantially in the
form of Exhibit R.

              “Consolidated Adjusted EBITDA” means, for any period, an amount
determined for Borrower and its Restricted Subsidiaries on a consolidated basis equal to
Consolidated Net Income for such period, plus, without duplication:

              (i) an amount equal to any extraordinary loss plus any net loss realized by
Borrower or any of its Restricted Subsidiaries in connection with an Asset Sale, to the extent
such losses were deducted in computing such Consolidated Net Income; plus

              (ii) provision for taxes based on income or profits of Borrower and its Restricted
Subsidiaries for such period, to the extent that such provision for taxes was deducted in
computing such Consolidated Net Income; plus

                (iii) the Fixed Charges of Borrower and its Restricted Subsidiaries for such
period, to the extent that such Fixed Charges were deducted in computing such Consolidated Net
Income; plus

                (iv) any foreign currency translation losses (including losses related to currency
remeasurements of Indebtedness) of Borrower and its Restricted Subsidiaries for such period, to
the extent that such losses were taken into account in computing such Consolidated Net Income;
plus

                (v) depreciation, amortization (including amortization of intangibles but
excluding amortization of prepaid cash expenses that were paid in a prior period) and other non-
cash charges and expenses (excluding any such non-cash charge or expense to the extent that it
represents an accrual of or reserve for cash charges or expenses in any future period or
amortization of a prepaid cash charge or expense that was paid in a prior period) of Borrower
and its Restricted Subsidiaries for such period to the extent that such depreciation, amortization
and other non-cash charges or expenses were deducted in computing such Consolidated Net
Income; plus

               (vi) to the extent deducted in computing such Consolidated Net Income,
extraordinary, non-recurring or unusual losses for such period; plus

               (vii) to the extent deducted in computing such Consolidated Net Income, the
amortization of debt discount for such period; plus

                (viii) any expenses or charges (other than depreciation or amortization expense)
related to any Equity Offering, Permitted Investment, Permitted Acquisition, disposition,
recapitalization or the incurrence, amendment or waiver of Indebtedness permitted to be incurred
by this Agreement (including a refinancing thereof) (in each case, whether or not successful);
plus


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                (ix) the amount of any restructuring charge or reserve, integration cost or cost
associated with establishing new facilities that is deducted (and not added back) in such period in
computing Consolidated Net Income, including any one-time costs incurred in connection with
acquisitions after the Closing Date, and costs related to the closure and/or consolidation of
facilities; provided that the aggregate amount of cash charges and cash costs that are added to
Consolidated Adjusted EBITDA pursuant to this clause (ix) shall not exceed, together with (1)
the aggregate amount of cost savings and operating efficiencies added to Consolidated Adjusted
EBITDA pursuant to clause (vi) of Section 1.4 and pursuant to clause (x) of this definition and
(2) the aggregate amount of costs and expenses (including fees) added to Consolidated Adjusted
EBITDA pursuant to clause (xi) of this definition, 10% of Consolidated Adjusted EBITDA in
such four-Fiscal Quarter period; plus

                (x) the amount of cost savings, synergies and operating efficiencies anticipated to
result from the Transactions and any Specified Transaction (calculated on a pro forma basis as
though such cost savings, synergies and operating efficiencies had been realized on the first day
of such period as if such cost savings, synergies and operating efficiencies were realized during
the entirety of such period), net of the amount of actual benefits realized during such period from
such actions; provided that (A) such cost savings, synergies and operating efficiencies are
reasonably identifiable, (B) such cost savings, synergies and operating efficiencies have been
realized or are anticipated by Holdings to be realized within 12 months after the Closing Date or,
in the case of a Specified Transaction, within 12 months after the closing date of such Specified
Transaction, (C) no cost savings, synergies and operating efficiencies shall be added pursuant to
this clause (x) to the extent duplicative of any expenses or charges otherwise added to
Consolidated Adjusted EBITDA, whether through a pro forma adjustment or otherwise, for such
period and (D) the aggregate amount of cost savings and operating efficiencies added to
Consolidated Adjusted EBITDA pursuant to this clause (x) shall not exceed, together with (1)
the aggregate amount of cost savings, synergies and operating efficiencies added to Consolidated
Adjusted EBITDA pursuant to clause (vi) of Section 1.4, (2) the aggregate amount of cash
charges and cash costs added to Consolidated Adjusted EBITDA pursuant to clause (ix) of this
definition and (3) the aggregate amount of costs and expenses (including fees) added to
Consolidated Adjusted EBITDA pursuant to clause (xi) of this definition, 10% of Consolidated
Adjusted EBITDA in such four-Fiscal Quarter period; plus

               (xi) the extent deducted in computing such Consolidated Net Income, costs and
expenses, including fees, incurred directly in connection with the consummation of the
Transactions, including, without limitation, the Closing Date Acquisition, and any amendment or
other modification thereof, in each case, deducted (and not added back) in computing
Consolidated Net Income; provided that the aggregate amount of costs and expenses (including
fees) added to Consolidated Adjusted EBITDA pursuant to this clause (xi) shall not exceed,
together with (1) the aggregate amount of cost savings and operating efficiencies added to
Consolidated Adjusted EBITDA pursuant to clause (vi) of Section 1.4 and pursuant to clause (x)
of this definition and (2) the aggregate amount of cash charges and cash costs added to
Consolidated Adjusted EBITDA pursuant to clause (ix) of this definition, 10% of Consolidated
Adjusted EBITDA for such four-Fiscal Quarter period; minus

                (xii) non-cash items increasing such Consolidated Net Income for such period,
other than the accrual of revenue in the ordinary course of business,

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in each case, on a consolidated basis and determined in accordance with GAAP.

                Notwithstanding any of the foregoing to the contrary, (x) for purposes of
calculating all financial ratios and tests for any four-Fiscal Quarter period that includes the Fiscal
Quarter ending on December 31, 2014, March 31, 2015, June 30, 2015 or September 30, 2015,
Consolidated Adjusted EBITDA shall be based on the sum of (a) the applicable amounts
specified below for such Fiscal Quarter, and (b) Consolidated Adjusted EBITDA for the portion
of such four-Fiscal Quarter period not including such Fiscal Quarter:

    Fiscal Quarter Ending              Consolidated Adjusted EBITDA
    March 31, 2014                     $247,064,000
    June 30, 2014                      $200,716,000
    September 30, 2014                 $204,976,000
    December 31, 2014                  $178,877,000
and (y) for purposes of calculating all financial ratios and tests for any four-Fiscal Quarter period
that includes the Fiscal Quarter ending on March 31, 2015, Consolidated Adjusted EBITDA
shall be based on the actual financial statements delivered pursuant to Section 5.1(b) calculated
in a manner consistent with the calculation of Consolidated Adjusted EBITDA for the above-
referenced Fiscal Quarters ending on March 31, 2014, June 30, 2014, September 30, 2014 or
December 31, 2014.

               “Consolidated Capital Expenditures” means, for any period, the aggregate of
all expenditures of Borrower and its Restricted Subsidiaries during such period determined on a
consolidated basis that, in accordance with GAAP, are or should be included in “purchase of
property and equipment” or similar items, or which should otherwise be capitalized, reflected in
the consolidated statement of cash flows of Borrower and its Restricted Subsidiaries.

                “Consolidated Current Assets” means, as at any date of determination, the total
assets of Borrower and its Restricted Subsidiaries on a consolidated basis that may properly be
classified as current assets (other than deferred tax assets) in conformity with GAAP, excluding
Cash and Cash Equivalents.

                 “Consolidated Current Liabilities” means, as at any date of determination, the
total liabilities of Borrower and its Restricted Subsidiaries on a consolidated basis that may
properly be classified as current liabilities (other than deferred tax liabilities) in conformity with
GAAP, excluding the current portion of long term debt (including any revolving credit loans).

               “Consolidated Excess Cash Flow” means, for any period, an amount (if
positive) equal to:

               (i) the sum, without duplication, of the amounts for such period of (a)
Consolidated Net Income, plus, (b) to the extent reducing Consolidated Net Income, the sum,
without duplication, of amounts for non-Cash charges reducing Consolidated Net Income,
including for depreciation and amortization (excluding any such non-Cash charge to the extent
that it represents an accrual or reserve for potential Cash charge in any future period or


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amortization of a prepaid Cash gain that was paid in a prior period), plus (c) the Consolidated
Working Capital Adjustment, minus

                (ii) the sum, without duplication, of (a) the amounts for such period paid from
Internally Generated Cash except to the extent made using the Cumulative Amount representing
amounts allocated to clause (ii) of the definition of the term “Cumulative Amount” of
(1) scheduled repayments of Indebtedness (other than repayments of loans under the Revolving
Credit Agreement except to the extent commitments thereunder are permanently reduced in
connection with such repayments) and scheduled repayments of obligations under Capital Leases
(excluding any interest expense portion thereof), (2) Permitted Investments (including Permitted
Acquisitions), (3) Consolidated Capital Expenditures, (4) cash payments made by Borrower or
any of its Subsidiaries in such Fiscal Year in respect of any non-current mining-related liability
that is not expensed in such Fiscal Year, (5) amounts added back to Consolidated Net Income in
respect of cash losses, charges and expenses pursuant to clauses (i) and (vi) of the definition
thereof, (6) cash payments in respect of Restricted Junior Payments permitted by Sections 6.4(e),
(h) and (o), (7) deposits permitted under Section 6.2, including 6.2(d), and (8) without
duplication of amounts deducted from Consolidated Excess Cash Flow in prior periods, the
aggregate consideration required to be paid in cash by the Borrower or any of its Subsidiaries
pursuant to binding contracts or executed letters of intent (the “Contract Consideration”)
entered into prior to or during such period relating to Permitted Acquisitions, Permitted
Investments (other than Investments made pursuant to Section 6.6(a), (d) or (s)), Consolidated
Capital Expenditures or acquisitions of intellectual property (to the extent not expensed) to be
consummated or made, plus any restructuring cash expenses, pension payments or tax
contingency payments that have been added to Consolidated Excess Cash Flow pursuant to
clause (i)(b) above required to be made, in each case during the period of four consecutive Fiscal
Quarters of Borrower following the end of such period; provided that to the extent the aggregate
amount of Internally Generated Cash actually utilized to finance such acquisitions, Permitted
Investments, Consolidated Capital Expenditures, or acquisitions of intellectual property during
such period of four consecutive fiscal quarters is less than the Contract Consideration, the
amount of such shortfall shall be added to the calculation of Consolidated Excess Cash Flow at
the end of such period of four consecutive Fiscal Quarters, plus (b) other non-Cash gains
increasing Consolidated Net Income for such period (excluding any such non-Cash gain to the
extent it represents the reversal of an accrual or reserve for potential Cash gain in any prior
period plus (c) to the extent paid in such year, reclamation liabilities required under law to be
paid). As used in this clause (ii), “scheduled repayments of Indebtedness” does not include (x)
mandatory prepayments or voluntary prepayments of the Term Loans (but does include
prepayments of other Indebtedness), (y) repurchases of Term Loans pursuant to Section 10.6(i)
and (z) repayments of Loans made with the Cash proceeds of any Refinancing Indebtedness.

               “Consolidated Net Income” means, for any period, the aggregate of (a) the net
income (loss) of Borrower and its Restricted Subsidiaries for such period, on a consolidated basis
(for the avoidance of doubt, excluding the net income (loss) of any Unrestricted Subsidiary of
such Person) plus (b) without duplication of amounts included in clause (a), cash distributions
received by Borrower and its Restricted Subsidiaries from Foresight LP for such period,
determined in accordance with GAAP and for the avoidance of doubt including any variable
interest entity with financial results that are required by GAAP to be consolidated with


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Borrower’s financial results, and without any reduction in respect of preferred stock dividends;
provided that, for purposes of clause (a):

               (i) all extraordinary gains or losses and all gains (but not losses) realized in
connection with any Asset Sale or the disposition of securities or the early extinguishment of
Indebtedness, together with any related provision for taxes on any such gain, will be excluded;

                (ii) the net income (but not loss) of any Person that is not a Restricted Subsidiary
or that is accounted for by the equity method of accounting will be included only to the extent of
the amount of dividends or similar distributions paid in cash to the specified Person or a
Restricted Subsidiary of the Person;

                (iii) the net income (but not loss) of any Restricted Subsidiary will be excluded to
the extent that the declaration or payment of dividends or similar distributions by that Restricted
Subsidiary of that net income is not at the date of determination permitted without any prior
governmental approval (that has not been obtained) or, directly or indirectly, by operation of the
terms of its charter or any agreement, instrument, judgment, decree, order, statute, rule or
governmental regulation applicable to that Restricted Subsidiary or its stockholders;

                (iv) the cumulative effect of a change in accounting principles will be excluded;

                (v) any (i) extraordinary, exceptional, unusual or nonrecurring gain, loss, charge
or expense or any charges, expenses or reserves in respect of any restructuring, redundancy or
severance expense and any charge or expense constituting expenses relating to the Transactions
will be excluded, (ii) non-cash items in respect of reclamation liabilities, pension, OPEB and
workers’ compensation and other employee insurance related liabilities (excluding any active
employee medical, dental or related expenses), including any withdrawal liabilities, will be
excluded and (iii) cash payments (excluding the posting of letters of credit and cash collateral) in
respect of reclamation liabilities, pension, OPEB and workers’ compensation and other employee
insurance related liabilities (excluding any active employee medical, dental or related expenses),
including any withdrawal liabilities, will be deducted from Consolidated Net Income (but only to
the extent not already reducing Consolidated Net Income in accordance with GAAP);

               (vi) any non-cash compensation charge or expense arising from any grant of
stock, stock options or other equity based awards and any non-cash deemed finance charges in
respect of any pension liabilities or other provisions, will be excluded;

               (vii) non-cash gains and losses attributable to movement in the mark-to-market
valuation of obligations under Interest Rate Agreements, Commodities Agreements and Hedging
Obligations pursuant to Financial Accounting Standards Board Statement No. 133; and

              (viii) any expense (or income) as a result of adjustments recorded to earnout
obligations or other contingent consideration liabilities relating to any Acquisition or any
Permitted Acquisition or other Permitted Investment shall be excluded.

               “Consolidated Net Total Debt” means, as of any date of determination, (a) the
aggregate stated balance sheet amount of all Indebtedness described in clauses (i) through (iv) of
the definition of the term “Indebtedness” of Borrower and its Restricted Subsidiaries (for the

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avoidance of doubt, (i) excluding any undrawn portion of the Revolving Credit Agreement and
(ii) for this purpose, letters of credit will be deemed to have a principal amount equal to the
amount drawn and not reimbursed thereunder, if any) determined on a consolidated basis in
accordance with GAAP, minus (b) the aggregate amount of Unrestricted Cash included in the
consolidated balance sheet of Borrower and its Subsidiaries as of such date.

              “Consolidated Working Capital” means, as at any date of determination, the
excess of Consolidated Current Assets over Consolidated Current Liabilities.

                “Consolidated Working Capital Adjustment” means, for any period on a
consolidated basis, the amount (which may be a negative number) by which Consolidated
Working Capital as of the beginning of such period exceeds (or is less than) Consolidated
Working Capital as of the end of such period. In calculating the Consolidated Working Capital
Adjustment there shall be excluded the effect of reclassification during such period of current
assets to long term assets and current liabilities to long term liabilities and the effect of any
Permitted Acquisition, the designation of any Unrestricted Subsidiary as a Restricted Subsidiary
or any Restricted Subsidiary as an Unrestricted Subsidiary during such period; provided that (i)
there shall be included with respect to any Permitted Acquisition during such period an amount
(which may be a negative number) by which the Consolidated Working Capital acquired in such
Permitted Acquisition as at the time of such acquisition exceeds (or is less than) Consolidated
Working Capital at the end of such period and (ii) there shall be included with respect to any
Unrestricted Subsidiary that is designated as a Restricted Subsidiary during such period an
amount (which may be a negative number) by which the Consolidated Working Capital gained in
such designation as at the time of such designation exceeds (or is less than) Consolidated
Working Capital at the end of such period.

                “Contractual Obligation” means, as applied to any Person, any provision of any
Security issued by that Person or of any indenture, mortgage, deed of trust, contract, undertaking,
agreement or other instrument to which that Person is a party or by which it or any of its
properties is bound or to which it or any of its properties is subject.

                “Contributing Guarantors” as defined in Section 7.2.

               “Conversion/Continuation Date” means the effective date of a continuation or
conversion, as the case may be, as set forth in the applicable Conversion/Continuation Notice.

                “Conversion/Continuation Notice” means a Conversion/Continuation Notice
substantially in the form of Exhibit A-2.

              “Counterpart Agreement” means a Counterpart Agreement substantially in the
form of Exhibit G delivered by a Credit Party pursuant to Section 5.10.

                “Credit Date” means the date of a Credit Extension.

              “Credit Document” means any of this Agreement, the Notes, if any, the
Collateral Documents, and all other documents, certificates, instruments or agreements executed
and delivered by a Credit Party for the benefit of any Agent or any Lender in connection


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herewith (other than Hedge Agreements, Commodities Agreements, Coal Contracts (including
any Designated Coal Contracts)).

                “Credit Extension” means the making of a Loan.

             “Credit Party” means Borrower and each Guarantor from time to time party to a
Credit Document.

             “Cumulative Amount” means at any time (the “Cumulative Amount
Reference Time”), an amount (which shall not be less than zero) equal to:

                (i) $50,000,000; plus

               (ii) (x) the cumulative amount of Consolidated Excess Cash Flow of Borrower
and its Restricted Subsidiaries for all Fiscal Years completed after the Closing Date
(commencing with the Fiscal Year ending December 31, 2015) and prior to the Cumulative
Amount Reference Time, minus (y) the portion of such Consolidated Excess Cash Flow that has
been (or is required to be) applied after the Closing Date and prior to the Cumulative Amount
Reference Time to the prepayment of Term Loans in accordance with Section 2.14(d); plus

                (iii) the amount of any cash capital contributions or Net Equity Proceeds from (A)
the sale or issuance of any Equity Interests (other than Disqualified Equity Interests) received or
made by Holdings (or any direct or indirect parent thereof) and contributed to Borrower or (B)
the sale or issuance of Disqualified Equity Interest of Borrower or debt securities of Borrower, in
each case that have been converted into or exchanged for Equity Interests (other than
Disqualified Equity Interests) of Borrower (other than Equity Interests or debt securities sold to a
Subsidiary of Borrower) and contributed to Borrower; plus

                (iv) 50% of any dividends received in cash by Borrower or a Restricted
Subsidiary of Borrower that is a Guarantor Subsidiary during the period from and including the
Business Day immediately following the Closing Date through and including the Cumulative
Amount Reference Time from an Unrestricted Subsidiary of Borrower, to the extent such amount
is not already included in Consolidated Excess Cash Flow for purposes of clause (ii) of this
definition; plus

               (v) to the extent that any Unrestricted Subsidiary of Borrower designated as such
after the Closing Date is re-designated as a Restricted Subsidiary after the date of the Closing
Date or merged into a Restricted Subsidiary after the Closing Date, the Fair Market Value of
Borrower’s and Restricted Subsidiaries’ Investment in such Unrestricted Subsidiary as of the
date of such re-designation or merger, to the extent such amount is not already included in
Consolidated Excess Cash Flow for purposes of clause (ii) of this definition;

                  (vi) without duplication of any other clauses contained in this definition, to the
extent that any Investment that was made after the Closing Date pursuant to Sections 6.6(j), (r),
(s) or (t) is (a) sold for cash or otherwise cancelled, liquidated or repaid for cash, or (b) made in
an entity that subsequently becomes a Restricted Subsidiary of Borrower, the initial amount of
such Investment (if less, the amount of cash received upon repayment or sale); plus


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               (vii) the amounts of any prepayments of Term Loans required to be made by
Borrower pursuant to Section 2.14(a), (b) or (d) that Term Loan Lenders have declined pursuant
to Section 2.15(c), except to the extent such declined amounts are then required to be applied to
prepay other Indebtedness and are not declined by the holders of such other Indebtedness; minus

                (viii) the aggregate amount of any Investments made pursuant to Section 6.6(t),
any Restricted Junior Payment made pursuant to Section 6.4(f) (and any intercompany loan to a
Subsidiary that is not a Guarantor Subsidiary made pursuant to Section 6.6(d)(C) in reliance on
Section 6.4(f)) and any Restricted Junior Payment made pursuant to 6.4(g), in each case, during
the period commencing on the Business Days immediately following the Closing Date and
ending on or prior to the Cumulative Amount Reference Time (and, for purposes of this clause
(ix), without taking account of the intended usage of the Cumulative Amount at such Cumulative
Amount Reference Time).

                “DBNY” as defined in the preamble hereto.

                “DBSI” as defined in the preamble hereto.

               “Debtor Relief Laws” means the Bankruptcy Code, and all other liquidation,
conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement,
receivership, insolvency, reorganization, or similar debtor relief laws of the United States or
other applicable jurisdictions from time to time in effect.

                “Declining Lender” as defined in Section 2.23.

               “Default” means a condition or event that constitutes an Event of Default, or after
notice or expiration of any grace period set forth in Section 8 or both, would constitute an Event
of Default.

                 “Defaulting Lender” means subject to Section 2.22, any Lender that (a) has
failed to (i) fund all or any portion of its Loans within two Business Days of the date such Loans
were required to be funded hereunder unless such Lender notifies Administrative Agent and
Borrower in writing that such failure is the result of such Lender’s determination that one or
more conditions precedent to funding (which conditions precedent, together with the applicable
default, if any, shall be specifically identified in such writing) has not been satisfied, or (ii) pay
to Administrative Agent or any other Lender any other amount required to be paid by it
hereunder within two Business Days of the date when due, (b) has notified Borrower or
Administrative Agent in writing that it does not intend to comply with its funding obligations
hereunder, or has made a public statement to that effect (unless such writing or public statement
relates to such Lenders’ obligation to fund a Loan hereunder and states that such position is
based on such Lender’s determination that a condition precedent to funding (which condition
precedent, together with the applicable default, if any, shall be specifically identified in such
writing or public statement) cannot be satisfied), (c) has failed, within three Business Days after
written request by Administrative Agent or Borrower, to confirm in writing to Administrative
Agent and Borrower that it will comply with its prospective funding obligations hereunder
(provided that such Lender shall cease to be a Defaulting Lender pursuant to this clause (c) upon
receipt of such written confirmation by Administrative Agent and Borrower), or (d)


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Administrative Agent has received notification that such Lender is, or has a direct or indirect
parent company that is (i) insolvent, or is generally unable to pay its debts as they become due,
or admits in writing its inability to pay its debts as they become due, or makes a general
assignment for the benefit of its creditors or (ii) the subject of a bankruptcy, insolvency,
reorganization, liquidation or similar proceeding or otherwise subject to any proceeding under
Debtor Relief Laws, or a receiver, trustee, conservator, intervenor or sequestrator or the like has
been appointed for such Lender or its direct or indirect parent company, or such Lender or its
direct or indirect parent company has taken any action in furtherance of or indicating its consent
to or acquiescence in any such proceeding or appointment; provided that a Lender shall not be a
Defaulting Lender solely by virtue of the ownership or acquisition of any Equity Interest in that
Lender or any direct or indirect parent company thereof by a Governmental Authority so long as
such ownership interest does not result in or provide such Lender with immunity from the
jurisdiction of courts within the United States or otherwise or from the enforcement of judgments
or writs of attachment on its assets or permit such Lender (or such Governmental Authority or
instrumentality) to reject, repudiate, disavow or disaffirm any contracts or agreements made with
such Lender.

               “Deposit Account” means a demand, time, savings, passbook or like account
with a bank, savings and loan association, credit union or like organization, other than an account
evidenced by a negotiable certificate of deposit.

                “Designated Coal Contract” means (i) the Existing Designated Coal Contract
and (ii) any other Coal Contract entered into from time to time by Borrower or any of its
Guarantor Subsidiaries with a Designated Coal Contract Counterparty that has been designated
by Borrower and such Designated Coal Contract Counterparty as a “Designated Coal Contract”
by notice to Administrative Agent delivered on or prior to the tenth Business Day following the
later of (a) the Closing Date, (b) the date that such Coal Contract is entered into, or (c) the date
that the Person that is a party to such Coal Contract becomes a Lender, Agent or Arranger (or an
Affiliate of a Lender, Agent or Arranger).

               “Designated Coal Contract Counterparty” means (i) the Existing Designated
Coal Contract Counterparty and (ii) any other Person that is a Lender, an Agent or Arranger or
an Affiliate of a Lender, an Agent or Arranger at the time it entered into a Designated Coal
Contract and any Person who is an Agent, Arranger or a Lender (and any Affiliate thereof) as of
the Closing Date but subsequently, whether before or after entering into a Designated Coal
Contract, ceases to be an Agent, Arranger or a Lender, as the case may be.

               “Designated Non-Cash Consideration” means the Fair Market Value of non-
cash consideration received by Borrower or a Restricted Subsidiary of Borrower in connection
with an Asset Sale that is so designated as Designated Non-Cash Consideration in an officers’
certificate executed by the principal executive officer and the principal financial officer of
Borrower setting forth the basis of such valuation, less the amount of cash and Cash Equivalents
received in connection with any sale of such Designated Non-Cash Consideration.

               “Disqualified Equity Interests” means any Equity Interest which, by its terms
(or by the terms of any security or other Equity Interests into which it is convertible or for which
it is exchangeable), or upon the happening of any event or condition (i) matures or is mandatorily

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redeemable (other than solely for Equity Interests which are not otherwise Disqualified Equity
Interests), pursuant to a sinking fund obligation or otherwise, (ii) is redeemable at the option of
the holder thereof (other than solely for Equity Interests which are not otherwise Disqualified
Equity Interests), in whole or in part, (iii) provides for the scheduled payments or dividends in
cash, or (iv) is or becomes convertible into or exchangeable for Indebtedness or any other Equity
Interests that would constitute Disqualified Equity Interests, in each case of the foregoing clauses
(i) - (iv), prior to the date that is 91 days after the Latest Maturity Date at the time of issuance
thereof, except, in the case of clauses (i) and (ii), if as a result of a change of control, initial
public offering or asset sale, so long as any rights of the holders thereof upon the occurrence of
such a change of control or asset sale event are subject to compliance with Section 6.4 or the
prior payment in full of all Obligations under this Agreement.

                “Disqualified Lender” means (a) the Persons identified by name in writing to
Administrative Agent on or prior to March 20, 2015, (b) any competitor of Borrower or any of
its Subsidiaries or any affiliate of such Person, in the case of this clause (b), identified by
Borrower to Administrative Agent and Lenders by name in writing from time to time and (c) any
affiliates (other than affiliates that are Bona Fide Lending Affiliates) of the foregoing that are
readily identifiable on the basis of such affiliate’s name (it being acknowledged and agreed by
Borrower that all such disclosures under clauses (a) and (b) will be made available to any Lender
upon its request); provided that neither Administrative Agent nor any Arranger shall have any
responsibility for monitoring compliance with any provisions of this Agreement with respect to
Disqualified Lenders.

                “Dollars” and the sign “$” mean the lawful money of the United States.

               “Domestic Subsidiary” means any Subsidiary organized under the laws of the
United States, any State thereof or the District of Columbia.’

               “Drop-Down Transaction” means any Asset Sale by Borrower or its Restricted
Subsidiaries to Foresight GP, Foresight LP or any of its Subsidiaries; provided that (i) if, as of
the last day of the most recently ended Fiscal Quarter, the Secured Net Leverage Ratio
(calculated on a pro forma basis after giving effect to such Asset Sale and any related repayment
of Indebtedness from the proceeds thereof) (x) exceeds 2.50:1.00, Borrower or such Restricted
Subsidiary shall receive Cash consideration equal to not less than 75% of the Net Enterprise
Value of such assets and (y) otherwise, Borrower or such Restricted Subsidiary shall receive
Cash consideration equal to not less than 50% of the Net Enterprise Value of such assets, (ii) the
Net Asset Sale Proceeds thereof shall be applied as required by Section 2.14(a)(ii), (iii)
immediately prior to, and after giving effect to such transaction, no Default or Event of Default
shall have occurred and be continuing or would result therefrom, (iv) the consideration received
for such assets shall be in an amount at least equal to the Fair Market Value thereof, and (v) any
Capital Stock received by Borrower or any Guarantor in consideration for such Drop-Down
Transaction shall become Collateral in accordance with Section 5.10(a). For the avoidance of
doubt, the Royalty Drop-Down Transaction shall not constitute a Drop-Down Transaction.

              “Eligible Assignee” means (i) any Lender, any Affiliate of any Lender and any
Related Fund (any two or more Related Funds being treated as a single Eligible Assignee for all
purposes hereof) and (ii) any commercial bank, insurance company, investment or mutual fund

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or other fund or entity that is an “accredited investor” (as defined in Regulation D under the
Securities Act) and which extends credit, buys or invests in loans, securities or other financial
assets in the ordinary course of business; provided, no natural person, Defaulting Lender,
Disqualified Lender, Credit Party or Affiliate of a Credit Party shall be an Eligible Assignee
(except assignments to Borrower pursuant to Section 10.6(i) and assignments to Affiliated
Lenders pursuant to Section 10.6(j)).

                 “Employee Benefit Plan” means any “employee benefit plan” as defined in
Section 3(3) of ERISA, other than a Multiemployer Plan, which is sponsored, maintained or
contributed to by, or required to be contributed by a Credit Party or, with respect to employee
benefit plans for which a Credit Party could reasonably be expected to have any actual or
potential liability, any of their respective ERISA Affiliates.

                “Engagement Letter” as defined in Section 10.3(d).

                 “Environmental Claim” means any investigation, notice, notice of violation,
claim, action, suit, proceeding, demand, abatement order or other order or directive, by any
Governmental Authority or any other Person, arising (i) pursuant to or in connection with any
actual or alleged violation of any Environmental Law or any Governmental Authorization issued
thereto; (ii) in connection with any Release or threatened Release of any Hazardous Material or
any actual or alleged Hazardous Materials Activity; (iii) in connection with any actual or alleged
damage, injury, threat or harm to health, safety, natural resources or the environment that could
give rise to any liability or obligation under applicable Environmental Law or (iv) in connection
with any contractual agreement pursuant to which liability is assumed or imposed with respect to
any of the foregoing.

               “Environmental Laws” means, any and all applicable federal, state and local
laws, ordinances, regulations, and common law, or any enforceable administrative or judicial
order, consent, decree or judgment or Governmental Authorizations relating to (i) pollution or
the preservation and protection of the environment, including laws relating to the Release of any
Hazardous Materials; (ii) the generation, use, storage, transportation or disposal of, or exposure
to, Hazardous Materials; or (iii) occupational safety and health, industrial hygiene, land use or
the protection of human, plant or animal health or welfare (with respect to Hazardous Materials),
in any manner applicable to Borrower or any of its Restricted Subsidiaries or any Facility.

               “Environmental and Mining Laws” means any and all applicable federal, state
and local laws, ordinances, regulations and common law, or any enforceable administrative or
judicial order, consent, decree or judgment, relating to pollution or the protection of the
environment, including, without limitation, those relating to, regulating, or imposing liability or
standards of conduct concerning (i) the emission, discharge, release, generation, processing, use,
treatment, storage, disposal, transport or handling of, or exposure to, Hazardous Materials, (ii)
the investigation, remediation or cleanup of any Hazardous Materials, (iii) surface or
underground coal mining, including any related reclamation, or (iv) coal workers’
pneumoconiosis disease (black lung).




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              “Equity Interests” means Capital Stock and all warrants, options or other rights
to acquire Capital Stock (but excluding any debt security that is convertible into, or
exchangeable for, Capital Stock).

               “Equity Offering” means a sale either (a) of Equity Interests of Borrower by
Borrower (other than Disqualified Equity Interests and other than to a Subsidiary of Borrower or
a Guarantor) or (b) of Equity Interests of Holdings or a direct or indirect parent entity of
Borrower (other than to Holdings or a Subsidiary of Holdings) to the extent that the net proceeds
therefrom are contributed to the common equity capital of Borrower.

             “ERISA” means the Employee Retirement Income Security Act of 1974, as
amended from time to time, and any successor thereto.

                “ERISA Affiliate” means, as applied to any Person: (i) any corporation which is
a member of a controlled group of corporations within the meaning of Section 414(b) of the
Internal Revenue Code of which that Person is a member; (ii) any trade or business (whether or
not incorporated) which is a member of a group of trades or businesses under common control
within the meaning of Section 414(c) of the Internal Revenue Code of which that Person is a
member; and (iii) solely for purposes of Section 412 and 430 of the Internal Revenue Code, any
member of an affiliated service group within the meaning of Section 414(m) or (o) of the Internal
Revenue Code of which that Person is a member. Any former ERISA Affiliate of any Credit
Party shall continue to be considered an ERISA Affiliate of such Credit Party within the meaning
of this definition with respect to the period such entity was an ERISA Affiliate of such Credit
Party solely with respect to liabilities arising after such period for which such Credit Party could
reasonably be expected to be liable under the Internal Revenue Code or ERISA.

                 “ERISA Event” means: (i) a “reportable event” within the meaning of Section
4043 of ERISA and the regulations issued thereunder with respect to any Pension Plan
(excluding those for which the provision for 30-day notice to the PBGC has been waived by
regulation); (ii) the failure of any Pension Plan to meet the minimum funding standard of Section
412 or Section 430 of the Internal Revenue Code (or Section 302 or 303 of ERISA, in each case
whether or not waived) or the failure by a Credit Party or any of its ERISA Affiliates to make by
its due date a required installment under Section 430(j) of the Internal Revenue Code with
respect to any Pension Plan or the failure of any of the Credit Parties or any of their respective
ERISA Affiliates to make any required contribution to a Multiemployer Plan; (iii) the provision
by the administrator of any Pension Plan pursuant to Section 4041(a)(2) of ERISA of a notice of
intent to terminate such plan in a distress termination described in Section 4041(c) of ERISA;
(iv) the withdrawal by any Credit Party or any of their respective ERISA Affiliates from any
Pension Plan with two or more contributing sponsors or the termination of any such Pension Plan
resulting in liability to a Credit Party or any of its ERISA Affiliates pursuant to Section 4063 or
4064 of ERISA; (v) the institution by the PBGC of proceedings to terminate any Pension Plan, or
the occurrence of any event or condition which would reasonably be expected to constitute
grounds under ERISA for the termination of, or the appointment of a trustee to administer, any
Pension Plan; (vi) the imposition of liability on any of the Credit Parties or any of their
respective ERISA Affiliates pursuant to Section 4062 or 4069 of ERISA or by reason of the
application of Section 4212(c) of ERISA; (vii) the withdrawal of any of the Credit Parties or any
of their respective ERISA Affiliates in a complete or partial withdrawal (within the meaning of

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Sections 4203 and 4205 of ERISA) from any Multiemployer Plan if there is any potential
liability therefore, or the receipt by any of the Credit Parties or any of their respective ERISA
Affiliates of notice from any Multiemployer Plan that it is in reorganization or insolvency
pursuant to Section 4241 or 4245 of ERISA, or that it intends to terminate or has terminated
under Section 4041A or 4042 of ERISA; (viii) the occurrence of an act or omission which could
reasonably be expected to give rise to the imposition on Holdings, any of its Restricted
Subsidiaries or any of their respective ERISA Affiliates of fines, penalties, taxes or related
charges under Chapter 43 of the Internal Revenue Code or under Section 406, Section 409,
Sections 502(c), (i) or (l), or Section 4071 of ERISA in respect of any Employee Benefit Plan;
(ix) the assertion of a material claim (other than routine claims for benefits) against any
Employee Benefit Plan or the assets thereof, or against any of the Credit Parties or any of their
respective ERISA Affiliates in connection with any Employee Benefit Plan; (x) receipt from the
Internal Revenue Service of notice of the failure of any Pension Plan (or any other Employee
Benefit Plan intended to be qualified under Section 401(a) of the Internal Revenue Code) to
qualify under Section 401(a) of the Internal Revenue Code, or the failure of any trust forming
part of any Pension Plan to qualify for exemption from taxation under Section 501(a) of the
Internal Revenue Code; (xi) the imposition of a Lien on the assets of any of the Credit Parties or
any of their respective ERISA Affiliates pursuant to Section 430(k) of the Internal Revenue Code
or pursuant to Section 303(k) of ERISA with respect to any Pension Plan; (xii) a determination
that the aggregate benefit liabilities under any Pension Plan exceed the aggregate current value of
the assets of such Pension Plan, as of the end of any plan year, on the basis of the actuarial
assumptions specified for funding purposes in the most recent actuarial valuation for such
Pension Plan at the time of such determination; (xiii) a determination that any Multiemployer
Plan is, or is expected to be, in “critical” or “endangered” status under Section 432 of the Internal
Revenue Code or Section 305 of ERISA, to the extent such Multiemployer Plan is not in such
status as of the date hereof; or (xiv) failure of Holdings, any of its Restricted Subsidiaries or any
of their ERISA Affiliates to comply with the requirements of Section 515 of ERISA with respect
to a Multiemployer Plan.

                “Eurodollar Rate Loan” means a Loan bearing interest at a rate determined by
reference to the Adjusted Eurodollar Rate.

                “Event of Default” means each of the conditions or events set forth in
Section 8.1.

               “Exchange Act” means the Securities Exchange Act of 1934, as amended from
time to time, and any successor statute.

              “Excluded Asset” has the meaning ascribed to such term in the Pledge and
Security Agreement.

                “Excluded Damages” as defined in Section 10.3.

                “Excluded Hedge Obligation” means, with respect to any Guarantor, any
guarantee of any Swap Obligations under a Secured Hedge Agreement if, and only to the extent
that and for so long as, all or a portion of the guarantee of such Guarantor of, or the grant by such
Guarantor of a security interest to secure, such Swap Obligation under a Secured Hedge


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Agreement (or any guarantee thereof) or under Designated Coal Contract (or any guarantee
thereof) is or becomes illegal or unlawful under the Commodity Exchange Act or any rule,
regulation or order of the Commodity Futures Trading Commission (or the application or official
interpretation of any thereof) by virtue of such Guarantor’s failure for any reason to constitute an
“eligible contract participant” as defined in the Commodity Exchange Act at the time the
guarantee of such Guarantor or the grant of such security interest would otherwise have become
effective with respect to such Swap Obligation under a Secured Hedge Agreement or a
Designated Coal Contract but for such Guarantor’s failure to constitute an “eligible contract
participant”. If a Swap Obligation under a Secured Hedge Agreement or a Designated Coal
Contract arises under a master agreement governing more than one swap, such exclusion shall
apply only to the portion of such Swap Obligation under a Secured Hedge Agreement or a
Designated Coal Contract that is attributable to swaps for which such Guarantee or security
interest is or becomes illegal or unlawful under the Commodity Exchange Act or any rule,
regulation or order of the Commodity Future Trading Commission (or the application or official
interpretation of any thereof).

               “Excluded Subsidiary” means (i) a Foreign Subsidiary, (ii) any direct or indirect
Domestic Subsidiary of a Foreign Subsidiary, (iii) Unrestricted Subsidiaries, (iv) captive
insurance companies, (v) special purpose entities established for purposes of an accounts
receivable factoring arrangement, (vi) Immaterial Subsidiaries, (vii) any other Person to the
extent a guarantee by such Person is prohibited or restricted by contracts or applicable law
(including any requirement to obtain Governmental Authority or third party consent, approval,
license or authorization) or could result in adverse tax consequences as reasonably determined by
Borrower and (viii) those Persons listed on Schedule 1.1 hereto.

               “Excluded Taxes” means any of the following Taxes imposed on or with respect
to a Lender or Administrative Agent or required to be withheld or deducted from a payment to a
Lender or Administrative Agent: (i) Taxes imposed on or measured by net income (however
denominated), franchise Taxes, and branch profits Taxes, in each case, imposed as a result of
such Lender or the Administrative Agent being organized under the laws of, or having its
principal office or, in the case of any Lender, its applicable lending office located in, the
jurisdiction imposing such Tax (or any political subdivision thereof), (ii) in the case of a Lender,
U.S. federal withholding Taxes imposed on amounts payable to or for the account of such
Lender with respect to an applicable interest in a Loan or Commitment pursuant to a law in
effect on the date on which (a) such Lender acquires such interest in the Loan or Commitment
(other than pursuant to an assignment request by the Borrower under Section 2.23) or (b) such
Lender changes its lending office, except in each case to the extent that, pursuant to Section 2.20,
amounts with respect to such Taxes were payable either to such Lender's assignor immediately
before such Lender became a party hereto or to such Lender immediately before it changed its
lending office, (iii) Taxes attributable to such Lender’s or Administrative Agent’s failure to
comply with Section 2.20(d), (iv) any U.S. federal withholding Taxes imposed under FATCA
and (v) Taxes that are Other Connection Taxes.

                “Existing Class” as defined in Section 2.25(a).

             “Existing Designated Coal Contract” means General Terms & Conditions for
DES Sales and Purchase of Coal, dated May 24, 2013, including the Margin Annex thereto and

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all Confirmations thereunder, between American Coal and the Existing Designated Coal
Contract Counterparty, as amended by the Letter of Amendment, dated December 5, 2013 and as
the same may be further amended, restated, supplemented, replaced or otherwise modified from
time to time.

             “Existing Designated Coal Contract Counterparty” means J. Aron &
Company and its successors.

                “Existing Loans” as defined in Section 2.25(c).

               “Existing Term Loan Agreement” means the Credit and Guaranty Agreement,
dated as of December 5, 2013, by and among Borrower, Holdings, certain Subsidiaries of
Borrower as guarantors, the lenders party thereto from time to time, Goldman Sachs, as
administrative agent, and Goldman Sachs and DBSI as joint lead arrangers, joint bookrunners
and co-syndication agents, as the same may have been amended, supplemented or otherwise
modified prior to the date hereof.

                “Extended Loans” as defined in Section 2.25(c).

                “Extended Maturity Date” as defined in Section 2.25(a).

                “Extension” as defined in Section 2.25(a).

                “Extension Amendment” as defined in Section 2.25(e).

                “Extension Offer” as defined in Section 2.25(a).

              “Facility” means any real property (including all buildings, fixtures or other
improvements located thereon) now, hereafter or heretofore owned, leased, operated or used by
Borrower or any of its Restricted Subsidiaries.

                “Fair Market Value” means the value (which, for the avoidance of doubt, will
take into account any liabilities associated with related assets) that would be paid by a willing
buyer to an unaffiliated willing seller in a transaction not involving distress or necessity of either
party, determined in good faith by Borrower. Any determination of Fair Market Value in respect
of a transaction or series of related transactions involving aggregate consideration in excess of
$35.0 million shall be evidenced by a resolution of the Board of Directors of Borrower and shall
be approved by a majority of the disinterested members of the Board of Directors of Borrower.
Any determination of Fair Market Value in respect of a transaction or series of related
transactions involving aggregate consideration in excess of $100.0 million shall be accompanied
by an opinion supporting such valuation from a financial point of view issued by an accounting,
appraisal or investment banking firm of regional standing.

                “Fair Share” as defined in Section 7.2.

                “Fair Share Contribution Amount” as defined in Section 7.2.




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               “FATCA” means Sections 1471 through 1474 of the Internal Revenue Code as of
the date of this Agreement (and any successor or future version thereof that is substantially
comparable) and any current or future regulations or official interpretations thereof.

               “Federal Funds Effective Rate” means for any day, the rate per annum
(expressed as a decimal, rounded upwards, if necessary, to the next higher 1/100 of 1%) equal to
the weighted average of the rates on overnight Federal funds transactions with members of the
Federal Reserve System arranged by Federal funds brokers on such day, as published by the
Federal Reserve Bank of New York on the Business Day next succeeding such day; provided, (i)
if such day is not a Business Day, the Federal Funds Effective Rate for such day shall be such
rate on such transactions on the next preceding Business Day as so published on the next
succeeding Business Day, and (ii) if no such rate is so published on such next succeeding
Business Day, the Federal Funds Effective Rate for such day shall be the average rate charged to
Administrative Agent, in its capacity as a Lender, on such day on such transactions as reasonably
determined by Administrative Agent. If the Federal Funds Effective Rate is ever less than 0%,
then for purposes of this Agreement the Federal Funds Effective Rate shall be deemed to be 0%.

                “Financial Officer Certification” means, with respect to the financial statements
for which such certification is required, the certification of the chief financial officer, senior vice
president of finance or treasurer of Holdings or Borrower that such financial statements fairly
present, in all material respects, the financial condition of Borrower and its Subsidiaries as at the
dates indicated and the results of their operations and their cash flows for the periods indicated,
subject to changes resulting from audit and normal year-end adjustments and the absence of
footnotes.

                “Financial Plan” as defined in Section 5.1(i).

                “First Lien Net Leverage Ratio” means the ratio as of the last day of any Fiscal
Quarter of (i) Consolidated Net Total Debt that is secured by a Lien on the assets of Borrower or
any of its Restricted Subsidiaries (other than Indebtedness secured on a junior basis to the Liens
securing the Obligations under the Credit Documents, including Second Lien Indebtedness and
Second Lien Additional Facilities) as of such day to (ii) Consolidated Adjusted EBITDA for the
four-Fiscal Quarter period ending on such date.

                “First Priority” means, with respect to any Lien purported to be created in any
Collateral pursuant to any Collateral Document, that such Lien ranks first in priority to all other
Liens, other than Liens permitted under clauses (b), (c), (d), (i), (j), (k), (p), (q), (s), (x), (y) and
(z) of Section 6.2.

                “Fiscal Quarter” means a fiscal quarter of any Fiscal Year.

             “Fiscal Year” means the fiscal year of Borrower and its Subsidiaries ending on
December 31 of each calendar year.

                “Fixed Amounts” as defined in Section 1.7.




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               “Fixed Charges” means, with respect to Borrower or any of its Restricted
Subsidiaries for any period, the sum, without duplication, of:

                 (i) the consolidated interest expense of Borrower and its Restricted Subsidiaries
for such period, whether paid or accrued, including, without limitation, amortization of debt
issuance costs and original issue discount, non-cash interest payments, the interest component of
any deferred payment obligations, the interest component of all payments associated with Capital
Lease Obligations, commissions, discounts and other fees and charges incurred in respect of
letter of credit or bankers’ acceptance financings, and net of the effect of all payments made or
received pursuant to Interest Rate Agreements; plus

               (ii) the consolidated interest expense of Borrower and its Restricted Subsidiaries
that was capitalized during such period; plus

                (iii) any interest on Indebtedness of another Person that is guaranteed by
Borrower or one of its Restricted Subsidiaries or secured by a Lien on assets of such Person or
one of its Restricted Subsidiaries, whether or not such Guarantee or Lien is called upon; plus

               (iv) the product of (a) all dividends, whether paid or accrued and whether or not in
cash, on any series of preferred stock of Borrower or any of its Restricted Subsidiaries, other
than dividends on Equity Interests payable solely in Equity Interests of Borrower (other than
Disqualified Equity Interest) or to Borrower or a Restricted Subsidiary of Borrower, times (b) a
fraction, the numerator of which is one and the denominator of which is one minus the then
current combined federal, state and local statutory tax rate of such Person, expressed as a
decimal, in each case, determined on a consolidated basis in accordance with GAAP.

               “Flood Certificate” means a “Standard Flood Hazard Determination Form” of
the Federal Emergency Management Agency and any successor Governmental Authority
performing a similar function.

               “Flood Hazard Property” means any Real Estate Asset subject to a mortgage in
favor of Collateral Trustee, for the benefit of Secured Parties, with improvements located in an
area designated by the Federal Emergency Management Agency as having special flood or mud
slide hazards.

              “Flood Program” means the National Flood Insurance Program created by the
U.S. Congress pursuant to the National Flood Insurance Act of 1968, the Flood Disaster
Protection Act of 1973, the National Flood Insurance Reform Act of 1994 and the Flood
Insurance Reform Act of 2004, in each case as amended from time to time, and any successor
statutes.

              “Flood Zone” means areas having special flood hazards as described in the
National Flood Insurance Act of 1968, as amended from time to time, and any successor statute.

                “Foreign Subsidiary” means (i) any Subsidiary that is not a Domestic Subsidiary
and (ii) any direct or indirect Domestic Subsidiary the primary assets of which are Equity
Interests in Foreign Subsidiaries and, if applicable, Indebtedness of such Foreign Subsidiaries.


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              “Foresight Acquisition Option” means the option of Borrower to purchase 46%
of the voting interest of Foresight GP pursuant to and in accordance with the Foresight
Acquisition Option Agreement.

               “Foresight Acquisition Option Agreement” means that certain Option
Agreement, dated as of April 16, 2015, among Foresight Reserves and Michael J. Beyer, as
sellers, and Borrower, as purchaser (including the exhibits and schedules thereto), as may be
amended in accordance with the terms hereof.

                “Foresight GP” means Foresight Energy GP LLC, a Delaware limited liability
company.

                “Foresight LP” means Foresight Energy LP, a Delaware limited partnership.

                “Foresight Reserves” means Foresight Reserves, LP, a Nevada limited
partnership.

                “Funding Guarantors” as defined in Section 7.2.

                “Funding Notice” means a notice substantially in the form of Exhibit A-1.

               “GAAP” means, subject to the limitations on the application thereof set forth in
Section 1.2, United States generally accepted accounting principles in effect as of the date of
determination thereof.

                “Goldman Sachs” as defined in the preamble hereto.

               “Governmental Acts” means any act or omission, whether rightful or wrongful,
of any present or future de jure or de facto government or Governmental Authority.

                “Governmental Authority” means any foreign or domestic, federal, state,
municipal, supranational, national or other government, governmental department, commission,
board, bureau, court, agency or instrumentality or political subdivision thereof or any entity,
officer or examiner exercising executive, legislative, judicial, regulatory or administrative
functions of or pertaining to any government or any court, in each case whether associated with a
state of the United States, the United States, or a foreign entity or government.

               “Governmental Authorization” means any permit, license, authorization, plan,
directive, consent order or consent decree of or from any Governmental Authority.

                “Grantor” has the meaning ascribed to such term in the Pledge and Security
Agreement.

                “Guaranteed Obligations” as defined in Section 7.1.

               “Guarantor” means each of Holdings and each wholly-owned Restricted
Subsidiary of Holdings (other than Borrower and any Excluded Subsidiaries).



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                “Guarantor Subsidiary” means each Guarantor other than Holdings.

                “Guaranty” means the guaranty of each Guarantor set forth in Section 7.

                “Hazardous Materials” means all explosive or radioactive substances or wastes
and all hazardous or toxic materials, substances or wastes or other contaminants or pollutants,
including petroleum or petroleum distillates, asbestos or asbestos-containing materials,
polychlorinated biphenyls, radon gas, and all other materials, substances or wastes of any nature
prohibited, limited or regulated by any Governmental Authority or under any Environmental
Law or any Environmental and Mining Laws due to its toxic or deleterious properties or
characteristics (including, without limitation, any chemical, material or substance exposure to
which is prohibited, limited or regulated by Environmental and Mining Laws).

               “Hazardous Materials Activity” means any past, current, proposed or
threatened activity, event or occurrence involving any Hazardous Materials, including the use,
manufacture, possession, storage, holding, presence, existence, location, Release, threatened
Release, discharge, placement, generation, transportation, processing, construction, treatment,
abatement, removal, remediation, disposal, disposition or handling of any Hazardous Materials,
and any corrective action or response action with respect to any of the foregoing.

                “Hedge Agreement” means an Interest Rate Agreement entered into with a
Lender Counterparty that has been designated by Borrower and such Lender Counterparty as a
“Hedge Agreement” by notice to Administrative Agent delivered on or prior to the tenth
Business Day following the later of (a) the Closing Date, (b) the date that such Hedge Agreement
is entered into, or (c) the date that the Person party to such Hedge Agreement becomes a Lender
Counterparty.

                “Hedging Obligations” means, with respect to any specified Person, the
obligations of such Person under: (i) interest rate swap agreements (whether from fixed to
floating or from floating to fixed), interest rate cap agreements, and interest rate collar
agreements; (ii) other agreements or arrangements designed to manage interest rates or interest
rate risk; and (3) other agreements or arrangements designed to protect such Person against
fluctuations in currency exchange rates or commodity prices. For the avoidance of doubt,
Hedging Obligations do not include obligations under coal sales contracts requiring the delivery
of coal that is priced pursuant to an established index created for the purposes of establishing a
market price for the underlying commodity.

               “Highest Lawful Rate” means the maximum lawful interest rate, if any, that at
any time or from time to time may be contracted for, charged, or received under the laws
applicable to any Lender which are presently in effect or, to the extent allowed by law, under
such applicable laws which may hereafter be in effect and which allow a higher maximum
nonusurious interest rate than applicable laws now allow.

                “Historical Financial Statements” means as of the Closing Date, (i) the audited
financial statements of Borrower and its Subsidiaries, for the immediately preceding three Fiscal
Years, consisting of balance sheets and the related consolidated statements of income,
stockholders’ equity and cash flows for such Fiscal Years, and (ii) the unaudited financial


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statements of Borrower and its Subsidiaries for each of the first three Fiscal Quarters ended after
the date of the most recent audited financial statements and at least 45 days prior to the Closing
Date, consisting of a balance sheet and the related consolidated statements of income,
stockholders’ equity and cash flows for the three-, six- or nine-month period, as applicable,
ending on such date, and, in the case of clauses (i) and (ii), certified by the chief financial officer
of Borrower that they fairly present, in all material respects, the financial condition of Borrower
and its Subsidiaries as at the dates indicated and the results of their operations and their cash
flows for the periods indicated in each case on a consolidated basis, subject to changes resulting
from audit and normal year-end adjustments.

                “Holdings” as defined in the preamble hereto.

                “Immaterial Subsidiary” means each Restricted Subsidiary to the extent that (i)
the assets of all such Restricted Subsidiaries do not in the aggregate represent more than 4.00%
of Total Assets and (ii) the total revenues of all such Restricted Subsidiaries for the most recent
12 month period do not represent more than 4.00% of the total revenues of the Borrower and its
Restricted Subsidiaries, taken as a whole, for such 12-month period, determined on a pro forma
basis in accordance with Section 1.4.

                “Increased Amount” as defined in Section 6.2.

                “Increased Amount Date” as defined in Section 2.24.

                “Incremental Commitments” as defined in Section 2.24.

                “Increased-Cost Lenders” as defined in Section 2.23.

                “Incremental Creditor” as defined in Section 2.24.

            “Incremental Facility” means New Term Loans made pursuant to any New
Term Loan Commitments and Incremental Pari Notes issued pursuant to any Incremental Pari
Note Commitments, in each case in accordance with Section 2.24.

            “Incremental Facilities Amount” means, at any time, with respect to any New
Term Loan Commitments or any Incremental Pari Note Commitments:

                (a)     $150,000,000 minus the aggregate principal amount of all Indebtedness
        issued pursuant to Incremental Commitments pursuant to this clause (a) and Additional
        Facilities issued pursuant to clause (a) of the definition of the term “Additional Facilities
        Amount” prior to such New Term Loans or Incremental Pari Note Issuances, as
        applicable; plus

               (b)     unlimited additional amounts so long as immediately after giving effect to
        the making of such additional amounts, the First Lien Net Leverage Ratio (calculated on
        a pro forma basis after giving effect to such additional amounts and any transactions
        funded with the proceeds of such additional amounts and any related transactions but not
        including the proceeds of such additional amounts as Unrestricted Cash for the purposes


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        of calculating Consolidated Net Total Debt) does not exceed 1.50:1.00 as of the last day
        of the Fiscal Quarter most recently ended for which financial statements are available;

; it being understood that the amount set forth in clause (a) need not be utilized prior to the use of
the incurrence test set forth in clause (b), and that the First Lien Net Leverage Ratio set forth in
clause (b) may be exceeded following the utilization of amounts under clause (a).

                “Incremental Pari Note Agreement” as defined in Section 2.24.

                “Incremental Pari Note Commitments” as defined in Section 2.24.

                “Incremental Pari Note Issuance” as defined in Section 2.24.

                “Incremental Pari Notes” as defined in Section 2.24.

                “Incremental Revolver Amendment” as defined in Section 2.26.

                “Incremental Revolver Date” as defined in Section 2.26.

                “Incremental Revolving Commitment” as defined in Section 2.26.

               “Incremental Revolving Exposure” means, with respect to any Lender, as of
any date of determination, the outstanding principal amount of the Incremental Revolving Loan
of such Lender plus the unused Incremental Revolving Commitment of such Lender.

                “Incremental Revolving Lender” as defined in Section 2.26.

                “Incremental Revolving Loan” as defined in Section 2.26.

                “Incurrence Based Amounts” as defined in Section 1.7.

              “Indebtedness” means, with respect to any specified Person, any indebtedness of
such Person (excluding accrued expenses and trade payables), whether or not contingent:

                (i)     in respect of borrowed money;

               (ii)   evidenced by bonds, notes, debentures or similar instruments or letters of
credit (or reimbursement agreements in respect thereof);

                (iii)   in respect of banker’s acceptances;

                (iv)    representing Capital Lease Obligations;

               (v)    representing the balance deferred and unpaid of the purchase price of any
property or services due more than twelve months after such property is acquired or such
services are completed, other than trade payables incurred in the ordinary course of business; or

                (vi)    representing any Hedging Obligations.


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If and to the extent any of the preceding items (other than letters of credit and Hedging
Obligations) would appear as a liability upon a balance sheet of the specified Person prepared in
accordance with GAAP. In addition, the term “Indebtedness” includes all Indebtedness of others
secured by a Lien on any asset of the specified Person (whether or not such Indebtedness is
assumed by the specified Person) (provided that the amount of any such Indebtedness shall not
exceed the lesser of the amount of such Indebtedness and fair market value of the assets subject
to such Lien) and, to the extent not otherwise included, the Guarantee by the specified Person of
any Indebtedness of any other Person. Indebtedness shall be calculated without giving effect to
the effects of Statement of Financial Accounting Standards No. 133 and related interpretations to
the extent such effects would otherwise increase or decrease an amount of Indebtedness for any
purpose under the indenture as a result of accounting for any embedded derivatives created by
the terms of such Indebtedness. In no event shall obligations under any Designated Coal Contract
or any other Coal Contract be deemed “Indebtedness” or, except for the purposes of the
definition of “Excluded Hedge Obligation”, a Hedging Obligation for any purpose under this
Agreement.

               “Indemnified Liabilities” means, collectively, any and all liabilities, obligations,
losses, damages (including natural resource damages), penalties, claims (including
Environmental Claims), actions, judgments, suits, costs (including the reasonable and
documented costs of any investigation, study, sampling, testing, abatement, cleanup, removal,
remediation or other response action necessary to remove, remediate, clean up or abate any
Hazardous Materials Activity), expenses and disbursements of any kind or nature whatsoever
(including the reasonable and documented out-of-pocket fees and disbursements of counsel for
Indemnitees in connection with any investigative, administrative or judicial proceeding or
hearing commenced or threatened by any Person, whether or not any such Indemnitee shall be
designated as a party or a potential party thereto, and any reasonable and documented out of
pocket fees or expenses incurred by Indemnitees in enforcing this indemnity), whether direct,
indirect, special or consequential and whether based on any federal, state or foreign laws,
statutes, rules or regulations (including securities and commercial laws, statutes, rules or
regulations and Environmental Laws), on common law or equitable cause or on contract or
otherwise, that may be imposed on, incurred by, or asserted against any such Indemnitee, in any
manner relating to or arising out of (i) this Agreement or the other Credit Documents or the
transactions contemplated hereby or thereby (including the Lenders’ agreement to make Credit
Extensions, the syndication of the credit facilities provided for herein or the use or intended use
of the proceeds thereof, any amendments, waivers or consents with respect to any provision of
this Agreement or any of the other Credit Documents, or any enforcement of any of the Credit
Documents (including any sale of, collection from, or other realization upon any of the Collateral
or the enforcement of the Guaranty)); (ii) the Engagement Letter (and any related provisions for
fees) delivered by any Agent or any Lender to Borrower with respect to the transactions
contemplated by this Agreement to occur on the Closing Date; or (iii) any Environmental Claim
or any Hazardous Materials Activity relating to or arising from, directly or indirectly, any past or
present activity, operation, land ownership, or practice of Holdings or any of its Restricted
Subsidiaries; provided that “Indemnified Liabilities” shall not include any Taxes, which are the
subject of Section 2.20.

                “Indemnitee” as defined in Section 10.3(a).


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                “Installment” as defined in Section 2.12.

                “Intellectual Property” as defined in the Pledge and Security Agreement.

                “Intellectual Property Asset” means, at the time of determination, any interest
(fee, license or otherwise) then owned by any Credit Party in any Intellectual Property.

               “Intellectual Property Security Agreements” has the meaning assigned to that
term in the Pledge and Security Agreement.

              “Intercompany Note” means a promissory note substantially in the form of
Exhibit K evidencing Indebtedness owed among Credit Parties and their Subsidiaries.

             “Intercreditor Agreement” means an amended and restated intercreditor
agreement substantially in the form of Exhibit N, as the same may be amended, restated,
supplemented or otherwise modified from time to time.

                 “Interest Payment Date” means with respect to (i) any Loan that is a Base Rate
Loan, the last Business Day of March, June, September and December of each year,
commencing on the first such date to occur after the Closing Date and the final maturity date of
such Loan; and (ii) any Loan that is a Eurodollar Rate Loan, the last day of each Interest Period
applicable to such Loan; provided, in the case of each Interest Period of longer than three months
“Interest Payment Date” shall also include each date that is three months, or an integral multiple
thereof, after the commencement of such Interest Period.

                 “Interest Period” means, in connection with a Eurodollar Rate Loan, an interest
period of one, two, three or six-months (or to the extent available to, and not prohibited by the
customary lending policies applicable to similar credits of, all Lenders, two weeks or twelve
months), as selected by Borrower in the applicable Funding Notice or Conversion/Continuation
Notice, (i) initially, commencing on the Credit Date or Conversion/Continuation Date thereof, as
the case may be; and (ii) thereafter, commencing on the day on which the immediately preceding
Interest Period expires; provided, (a) if an Interest Period would otherwise expire on a day that is
not a Business Day, such Interest Period shall expire on the next succeeding Business Day unless
no further Business Day occurs in such month, in which case such Interest Period shall expire on
the immediately preceding Business Day; (b) any Interest Period that begins on the last Business
Day of a calendar month (or on a day for which there is no numerically corresponding day in the
calendar month at the end of such Interest Period) shall, subject to clause (c), of this definition,
end on the last Business Day of a calendar month; (c) no Interest Period with respect to any
portion of any Class of Loans shall extend beyond such Class’s Maturity Date.

               “Interest Rate Agreement” means any interest rate swap agreement, interest rate
cap agreement, interest rate collar agreement, interest rate hedging agreement or other similar
agreement or arrangement, each of which is for the purpose of hedging the interest rate exposure
associated with Borrower’s and its Subsidiaries’ operations and not for speculative purposes.

                 “Interest Rate Determination Date” means, with respect to any Interest Period,
the date that is two Business Days prior to the first day of such Interest Period.


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                “Internal Revenue Code” means the Internal Revenue Code of 1986, as
amended to the date hereof and from time to time hereafter, and any successor statute (in each
case, unless otherwise indicated).

               “Internally Generated Cash” means, with respect to any period, any cash of
Borrower or any Restricted Subsidiary generated during such period, excluding Net Asset Sale
Proceeds, Net Insurance/Condemnation Proceeds and any cash that is generated from an
incurrence of Indebtedness (other than proceeds of any revolving loans), an issuance of Equity
Interests by or a capital contribution to such Person (other than capital contributions among
Borrower and its Restricted Subsidiaries).

                “Investment” means (i) any direct or indirect purchase or other acquisition by
Borrower or any of its Restricted Subsidiaries of, or of a beneficial interest in, any of the Equity
Interests or Securities of any other Person (other than a Guarantor Subsidiary); (ii) any direct or
indirect loan, advance (other than advances to employees for moving, entertainment and travel
expenses, drawing accounts and similar expenditures in the ordinary course of business) or
capital contributions by Holdings or any of its Restricted Subsidiaries to any other Person (other
than Holdings or any Guarantor Subsidiary) and (iii) any purchase or other acquisition (other
than purchases or other acquisitions of inventory, materials and equipment in the ordinary course
of business and capital expenditures), of all or substantially all of the property and assets or
business of another Person or assets constituting a business unit, line of business or division of
such Person. The amount of any Investment of the type described in clauses (i), (ii) and (iii)
shall be the original cost of such Investment plus the cost of all additions thereto, without any
adjustments for increases or decreases in value, or write-ups, write-downs or write-offs with
respect to such Investment. Except as otherwise provided in the Agreement, the amount of an
Investment will be determined at the time the Investment is made and without giving effect to
subsequent changes in value and net of any dividends, distributions, repayments or redemptions
received in respect of such Investment.

               “Joinder Agreement” means an agreement substantially in the form of
Exhibit L, with such changes as are necessary to specify, in compliance with Section 2.24, the
terms of any New Term Loan Commitments, and extensions of credit thereunder.

                “Joint Venture” means a joint venture, partnership or other similar arrangement
with a third party non-Affiliate, whether in corporate, partnership or other legal form.

               “Latest Maturity Date” means, at any date of determination, the latest maturity
date applicable to any Loan hereunder at such time, including the latest maturity date of any New
Term Loans, in each case as extended in accordance with this Agreement from time to time.

              “LCA Election” means Borrower’s election to treat a specified Investment as a
Limited Condition Acquisition.

                “LCA Test Date” shall have the meaning assigned to such term in Section 1.05.

              “Leasehold Property” means any leasehold interest of any Credit Party as lessee
under any lease of real property, other than any such leasehold interest designated from time to


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time by Administrative Agent or Collateral Trustee in its sole discretion as not being required to
be included in the Collateral.

              “Lender” means each financial institution listed on the signature pages hereto as
a Lender, and any other Person that becomes a party hereto pursuant to an Assignment
Agreement, a Joinder Agreement or an Incremental Revolver Amendment.

               “Lender Counterparty” means each Lender, each Agent, Arranger and each of
their respective Affiliates counterparty to a Hedge Agreement (including any Person who is an
Agent, Arranger or a Lender (and any Affiliate thereof) as of the Closing Date but subsequently,
whether before or after entering into a Hedge Agreement, ceases to be an Agent, Arranger or a
Lender, as the case may be); provided, at the time of entering into a Hedge Agreement, no
Lender Counterparty shall be a Defaulting Lender.

               “Lien” means any lien, mortgage, pledge, collateral assignment, security interest,
charge or encumbrance of any kind (including any agreement to give any of the foregoing, any
conditional sale or other title retention agreement, and any lease or license in the nature thereof)
and any option, trust or other preferential arrangement having the practical effect of any of the
foregoing.

             “Limited Condition Acquisition” means any Permitted Acquisition or other
Permitted Investment by Borrower or one or more of its Restricted Subsidiaries whose
consummation is not conditioned on the availability of, or on obtaining, third party financing.

              “Loan” means a Term B-1 Loan, a Term B-2 Loan, a New Term Loan or an
Incremental Revolving Loan.

                “Margin Stock” as defined in Regulation U.

                “Material Adverse Effect” means a material adverse effect on (i) the business,
operations, properties, assets or financial condition of Holdings and its Restricted Subsidiaries
taken as a whole; (ii) the ability of the Credit Parties, taken as a whole, to fully and timely
perform their Obligations; (iii) the legality, validity, binding effect or enforceability against a
Credit Party of a Credit Document to which it is a party; or (iv) the rights, remedies and benefits
available to, or conferred upon, any Agent and any Lender or any Secured Party under any Credit
Document.

                “Material Real Estate Asset” means any fee-owned Real Estate Asset acquired
after the Closing Date having a fair market value equal to or in excess of $5,000,000 as of the
date of the acquisition thereof or any Leasehold Property leased after the Closing Date having
annual rent payments equal to or in excess of $5,000,000 as of the date of the lease thereof;
provided that if the aggregate amount of Real Estate Assets acquired or Leasehold Property
leased after the Closing Date with respect to which the Borrower has not complied with Section
5.11 exceeds $25,000,000 (determined in accordance with this definition), then the Borrower
shall comply with Section 5.11 with respect to Material Real Estate Assets with a value
(determined in accordance with this definition) at least equivalent to such excess amount.



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                “Maturity Date” means, except to the extent extended pursuant to Section 2.25,
(i) with respect to the Term B-1 Loan, the earlier of (a) the second anniversary of the Closing
Date and (b) the date on which all Term B-1 Loans shall become due and payable in full
hereunder, whether by acceleration or otherwise, (ii) with respect to the Term B-2 Loan, the
earlier of (a) the fifth anniversary of the Closing Date, and (b) the date on which all Term B-2
Loans shall become due and payable in full hereunder, whether by acceleration or otherwise, (iii)
with respect to New Term Loans, the date on which New Term Loans of a Series shall become
due and payable in full hereunder, as specified in the applicable Joinder Agreement, including by
acceleration or otherwise and (iv) with respect to Incremental Revolving Loans, the date on
which the Incremental Revolving Loans shall become due and payable in full hereunder, as
specified in the Incremental Revolver Amendment, including by acceleration or otherwise.

                “Mining Financial Assurances” means performance bonds for reclamation or
otherwise, surety bonds or escrow agreements and any payment or prepayment made with
respect to, or certificates of deposit or other sums or assets required to be posted by Borrower
under Mining Laws for reclamation or otherwise.

               “Mining Laws” means any and all current or future foreign or domestic, federal,
state or local statutes, ordinances, orders, rules, regulations, judgments, governmental
authorizations, or any other requirements of governmental authorities relating to surface or
subsurface mining operations and activities, including, but not limited to, the Federal Coal
Leasing Amendments Act; the Surface Mining Control and Reclamation Act; all other applicable
land reclamation and use statutes and regulations; the Federal Mine Safety Act of 1977; the
Black Lung Act; and the Coal Act; each as amended, and any comparable state and local laws or
regulations.

                “Moody’s” means Moody’s Investors Service, Inc.

             “Mortgage” means a mortgage in form and substance reasonably satisfactory to
Borrower and Administrative Agent.

               “Multiemployer Plan” means any “multiemployer plan” as defined in Section
4001(a)(3) of ERISA to which a Credit Party or any of its ERISA Affiliates is required to
contribute or could reasonably be expected to have any actual or potential liability.

                “NAIC” means The National Association of Insurance Commissioners, and any
successor thereto.

               “Narrative Report” means, with respect to the financial statements for which
such narrative report is required, a management’s summary describing the operations of
Borrower and its Restricted Subsidiaries for the applicable Fiscal Quarter and for the period from
the beginning of the then current Fiscal Year to the end of such period to which such financial
statements relate.

               “Net Asset Sale Proceeds” means, with respect to any Asset Sale, an amount
equal to: (i) Cash payments (including any Cash received by way of deferred payment pursuant
to, or by monetization of, a note receivable or otherwise, but only as and when so received)
received by Holdings or any of its Restricted Subsidiaries from such Asset Sale, minus (ii) any

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direct costs, fees and expenses relating to such Asset Sale, including (a) Taxes paid or payable by
the seller as a result of any gain recognized in connection with such Asset Sale, (b) all reasonable
fees, legal fees, brokerage fees, commissions, costs, relocation expenses and other expenses in
connection with such Asset Sale, (c) payment of the outstanding principal amount of, premium
or penalty, if any, and interest on any Indebtedness (other than the Loans) that is secured by a
Lien on the stock or assets in question and that is required to be repaid under the terms thereof as
a result of such Asset Sale and (d) cash held in escrow from the sale price and any reasonable
reserve taken in connection with such Asset Sale, including for any purchase price adjustments,
or any indemnification payments (fixed or contingent) attributable to seller’s indemnities and
representations and warranties to purchaser in respect of such Asset Sale undertaken by Holdings
or any of its Restricted Subsidiaries in connection with such Asset Sale; provided that upon
release of any such reserve, the amount released shall be considered Net Asset Sale Proceeds.

                “Net Enterprise Value” means, with respect to any Asset Sale, (a) the value
therefor, which shall not be less than the Fair Market Value of the assets (either in the form of
Equity Interests, physical assets or other assets) that are the subject of such Asset Sale minus (b)
the aggregate amount of liabilities (as determined in good faith by Borrower), of Borrower or
any of its Restricted Subsidiaries (other than contingent liabilities not reserved for on the balance
sheet and liabilities that are by their terms subordinated to the Obligations), that the transferee of
such assets or any of its Affiliates (other than Holdings, Borrower or any of its Restricted
Subsidiaries) agrees to assume or be responsible for in connection with such transaction (other
than by operation of the acquisition of Equity Interests).

                “Net Equity Proceeds” means an amount equal to any Cash proceeds from a
capital contribution to, or the issuance of any Equity Interests of, Holdings or any of its
Restricted Subsidiaries other than pursuant to any employee stock or stock option compensation
plan), net of underwriting discounts.

               “Net Insurance/Condemnation Proceeds” means an amount equal to: (i) any
Cash payments or proceeds received by Holdings or any of its Restricted Subsidiaries (a) under
any property or casualty insurance policy in respect of a covered loss thereunder or (b) as a result
of the taking of any assets of Holdings or any of its Restricted Subsidiaries by any Person
pursuant to the power of eminent domain, condemnation or otherwise, or pursuant to a sale of
any such assets to a purchaser with such power under threat of such a taking, minus (ii) (a) any
actual and reasonable costs incurred by Holdings or any of its Restricted Subsidiaries in
connection with the adjustment or settlement of any claims of Holdings or such Restricted
Subsidiary in respect thereof, (b) any bona fide direct costs, fees and expenses incurred in
connection with any sale of such assets as referred to in clause (i)(b) of this definition, including
Taxes payable as a result of any gain recognized or otherwise in connection therewith and (c)
payment of the outstanding principal amount of, premium or penalty, if any, and interest on any
Indebtedness (other than the Loans) that is secured by a Lien on the assets subject to the relevant
event described in clause (i)(a) or (b) above that is required that to be repaid as a result of such
event.

               “Net Leverage Ratio” means the ratio as of the last day of any Fiscal Quarter of
(i) Consolidated Net Total Debt as of such day to (ii) Consolidated Adjusted EBITDA for the
four-Fiscal Quarter period ending on such date.

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               “Net Mark-to-Market Exposure” means, in respect of any one or more Hedge
Agreements, Commodities Agreements or other Hedging Obligations, after taking into account
the effect of any legally enforceable netting agreement relating to such Hedge Agreements,
Commodities Agreements or other Hedging Obligations, (a) for any date on or after the date such
Hedge Agreements, Commodities Agreements or other Hedging Obligations have been closed
out and termination value(s) determined in accordance therewith, such termination value(s), and
(b) for any date prior to the date referenced in clause (a), the amount(s) determined as the mark
to market value(s) for such Hedge Agreements, Commodities Agreements or other Hedging
Obligations, as determined in accordance with the terms thereof and in accordance with
customary methods for calculating mark-to-market values under similar arrangements by the
Lender Counterparty or Commodities Hedge Provider (or the Borrower, if no Lender
Counterparty or Commodities Hedge Provider is party to such Hedge Agreements, Commodities
Agreements or other Hedging Obligations).

                “New Term Loan Commitments” as defined in Section 2.24.

               “New Term Loan Exposure” means, with respect to any Lender, as of any date
of determination, the outstanding principal amount of the New Term Loans of such Lender.

                “New Term Loan Lender” as defined in Section 2.24.

                “New Term Loans” as defined in Section 2.24.

                “Non-Consenting Lender” as defined in Section 2.23.

               “Non-Public Information” means material non-public information (within the
meaning of United States federal, state or other applicable securities laws) with respect to
Borrower or its Subsidiaries or their respective Securities.

              “Non-Public Lenders” means Lenders that wish to receive Non-Public
Information with respect to Holdings, its Subsidiaries or their Securities.

                “Non-Recourse Debt” means Indebtedness (i) as to which none of Borrower, any
Guarantor or any of Borrower’s Restricted Subsidiaries is directly or indirectly liable as a
guarantor (except as a Permitted Investment) and (ii) as to which the lenders with respect thereto
have been notified in writing that they will not have any recourse to the Equity Interests or assets
of Borrower, any Guarantor or any of Borrower’s Restricted Subsidiaries (other than the Equity
Interests of an Unrestricted Subsidiary).

                “Non-US Lender” as defined in Section 2.20(c).

                “Note” means a Term B-1 Loan Note or a Term B-2 Loan Note.

                “Notice” means a Funding Notice or a Conversion/Continuation Notice.

               “Obligations” means (i) all obligations of every nature of each Credit Party,
including obligations from time to time owed to Agents (including former Agents), Lenders or
any of them and Lender Counterparties, under any Credit Document or Hedge Agreement,

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whether for principal, interest (including interest which, but for the filing of a petition in
bankruptcy with respect to such Credit Party, would have accrued on any Obligation, whether or
not a claim is allowed against such Credit Party for such interest in the related bankruptcy
proceeding), payments for early termination of Hedge Agreements, fees, expenses,
indemnification or otherwise, (ii) all Secured Commodities Hedge Obligations and (iii) all
Secured Designated Coal Contract Obligations; provided that Obligations shall not include any
obligations with respect to any Commodities Agreement or Interest Rate Agreement that
constitute secured obligations under the Revolving Credit Agreement; provided, further, that
Obligations of any Guarantor shall not include any Excluded Hedge Obligations of such
Guarantor.

                “Obligee Guarantor” as defined in Section 7.7.

               “OPEB” means post-employment benefits other than pension benefits, including,
as applicable, medical, dental, vision, life and accidental death and dismemberment.

                “Organizational Documents” means (i) with respect to any corporation, its
certificate or articles of incorporation or organization, as amended, and its by-laws, as amended,
(ii) with respect to any limited partnership, its certificate of limited partnership, as amended, and
its partnership agreement, as amended, (iii) with respect to any general partnership, its
partnership agreement, as amended, and (iv) with respect to any limited liability company, its
articles of organization, as amended, and its operating agreement, as amended. In the event any
term or condition of this Agreement or any other Credit Document requires any Organizational
Document to be certified by a secretary of state or similar governmental official, the reference to
any such Organizational Document shall only be to a document of a type customarily certified by
such governmental official in such official’s relevant jurisdiction.

                “Other Applicable Indebtedness” as defined in Section 2.15(b).

                “Other Connection Taxes” means, with respect to any Lender or Administrative
Agent, Taxes imposed as a result of a present or former connection between such Lender or
Administrative Agent and the jurisdiction imposing such Tax (other than connections arising
solely from such Lender or Administrative Agent having executed, delivered, become a party to,
performed its obligations under, received payments under, received or perfected a security
interest under, or enforced any Credit Document).

                “Other Taxes” means all present or future stamp, court or documentary,
intangible, recording, filing or similar Taxes that arise from any payment made under, from the
execution, delivery, performance, enforcement or registration of, from the receipt or perfection
of a security interest under, or otherwise with respect to, any Credit Document, except any such
Taxes that are Other Connection Taxes imposed with respect to an assignment (other than an
assignment made pursuant to Section 2.23).

                “Participant Register” as defined in Section 10.6(g)(i).

                “PATRIOT Act” as defined in Section 3.1(r).



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                “PBGC” means the Pension Benefit Guaranty Corporation or any successor
thereto.

                “Pension Plan” means any Employee Benefit Plan, other than a Multiemployer
Plan, which is subject to Section 412 of the Internal Revenue Code or Section 302 of ERISA and
which a Credit Party or any of its ERISA Affiliates sponsors, maintains or is required to
contribute to or could reasonably be expected to have any actual or potential liability to.

               “Permitted Acquisition” means any acquisition by Borrower or any of its
Restricted Subsidiaries, whether by purchase, merger or otherwise, of all or substantially all of
the property and assets or businesses of (or the assets constituting a business line, unit or division
of) any Person, or any Equity Interests of any Person that, upon consummation thereof, will be a
Restricted Subsidiary of Borrower; provided that,

                       (i)     immediately prior to, and after giving effect thereto, no Event of
        Default shall have occurred and be continuing or would immediately result therefrom on
        the date of consummation of such Permitted Acquisition (or, at the Borrower’s option, at
        the time of execution of a binding agreement in respect thereof);

                        (ii)   Borrower shall have taken, or caused to be taken, each of the
        actions set forth in Sections 5.10 and/or 5.11, to the extent required thereby within the
        time periods specified therein; and

                       (iii) any Person or assets or division as acquired in accordance herewith
        shall be in same business or lines of business in which Borrower and/or its Subsidiaries
        are engaged as of the Closing Date or similar or related businesses or businesses
        ancillary, complementary, or incidental thereto or a reasonable extension or expansion
        thereof;

provided, further, that each Acquisition shall be deemed to be a Permitted Acquisition.

                “Permitted Business” means any business that is the same as, or reasonably
related, ancillary or complementary to, any of the businesses in which Borrower and its
Restricted Subsidiaries are engaged on the Closing Date.

               “Permitted First Lien Priority Refinancing Debt” means any secured
Indebtedness (including any Registered Equivalent Notes) incurred by Borrower in the form of
one or more series of senior secured notes or loans; provided that such Indebtedness (i) is
secured by Liens on the Collateral (x) on a pari passu basis (but without regard to the control of
remedies) with the Liens securing Obligations under the Credit Documents pursuant to the
Collateral Trust Agreement and (y) granted pursuant to security documents substantially similar
to the Collateral Documents, (ii) is not secured by any property or assets of Holdings, Borrower
or any Restricted Subsidiary other than the Collateral unless such property or assets are made a
portion of the Collateral hereunder and (iii) constitutes Refinancing Indebtedness.

                “Permitted Investments” means each of the Investments permitted pursuant to
Section 6.6.


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              “Permitted Joint Venture” means any agreement or other arrangement between
Borrower or its Restricted Subsidiary and any other Person engaged in any business that is a
Permitted Business consistent with the agreements and arrangements of Borrower and its
Restricted Subsidiaries in effect on the Closing Date, that permits one party to share risks or
costs, comply with regulatory requirements or satisfy other business objectives customarily
achieved through the conduct of such Permitted Business jointly with third parties.

                “Permitted Liens” means each of the Liens permitted pursuant to Section 6.2.

                “Permitted Payments to Holdings” means, without duplication as to amounts:

                       (i)     payments to Holdings to permit payment of reasonable
        accounting, legal and administrative expenses of Holdings when due, in an aggregate
        amount not to exceed $250,000 in any Fiscal Year; less the amount of Investments made
        in any such Fiscal Year pursuant to Section 6.6(d)(B) in reliance on this clause (i);

                        (ii)   for so long as Borrower is a member of a group filing a
        consolidated or combined tax return with Holdings, payments to Holdings in respect of
        an allocable portion of the tax liabilities of such group that is attributable to Borrower and
        its Subsidiaries (“Tax Payments”). The Tax Payments shall not exceed the lesser of (i)
        the amount of the relevant tax (including any penalties and interest) that Borrower would
        owe if Borrower were filing a separate tax return (or a separate consolidated or combined
        return with its Subsidiaries that are members of the consolidated or combined group),
        taking into account any carryovers and carrybacks of tax attributes (such as net operating
        losses) of Borrower and such Subsidiaries from other taxable years and (ii) the net
        amount of the relevant tax that Holdings actually owes to the appropriate taxing
        authority; provided that any Tax Payments received from Borrower shall be paid over to
        the appropriate taxing authority within 30 days of Holdings’ receipt of such Tax
        Payments or refunded to Borrower;

                       (iii) customary indemnification obligations of Holdings, directors’ fees
        and expense reimbursements, in each case, owing to directors, officers, employees or
        other Persons under its charter or by-laws or pursuant to written agreements with any
        such Person to the extent relating to Borrower and its Subsidiaries;

                      (iv)   obligations of Holdings in respect of director and officer insurance
        (including premiums therefor) to the extent relating to Borrower and its Subsidiaries; and

                        (v)     expenses incurred by Holdings in connection with any public
        offering or other sale of Capital Stock or Indebtedness (x) where the net proceeds of such
        offering or sale are intended to be received by or contributed to Borrower or a Restricted
        Subsidiary, (y) in a pro-rated amount of such expenses in proportion to the amount of
        such net proceeds intended to be so received or contributed or (z) otherwise on an interim
        basis prior to completion of such offering so long as Holdings shall cause the amount of
        such expenses to be repaid to Borrower or the relevant Restricted Subsidiary out of the
        proceeds of such offering promptly if completed.



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               “Permitted Refinancing Indebtedness” means any Indebtedness of Borrower or
any of Borrower’s Restricted Subsidiaries issued in exchange for, or the net proceeds of which
are used to renew, refund, refinance, replace, defease or discharge other Indebtedness of
Borrower or any of Borrower’s Restricted Subsidiaries (other than intercompany Indebtedness);
provided that:

        (i) the principal amount (or accreted value, if applicable) of such Permitted Refinancing
Indebtedness does not exceed the principal amount (or accreted value, if applicable) of the
Indebtedness renewed, refunded, refinanced, replaced, defeased or discharged (plus all accrued
interest on the Indebtedness and the amount of all fees and expenses, including penalties or
premiums, incurred in connection therewith);

       (ii) such Permitted Refinancing Indebtedness has a final maturity date later than the final
maturity date of, and has a weighted average life to maturity that is (a) equal to or greater than
the remaining weighted average life to maturity of, the Indebtedness being renewed, refunded,
refinanced, replaced, defeased or discharged or (b) more than 90 days after the Latest Maturity
Date;

       (iii) if the Indebtedness being renewed, refunded, refinanced, replaced, defeased or
discharged is subordinated in right of payment to the Obligations, such Permitted Refinancing
Indebtedness is subordinated in right of payment to the Obligations on terms at least as favorable
to the Lenders as those contained in the documentation governing the Indebtedness being
renewed, refunded, refinanced, replaced, defeased or discharged; and

       (iv) such Indebtedness is incurred either by Borrower or by the Restricted Subsidiary of
Borrower that was the obligor on the Indebtedness being renewed, refunded, refinanced,
replaced, defeased or discharged and is guaranteed only by Persons who were obligors on the
Indebtedness being renewed, refunded, refinanced, replaced, defeased or discharged.

                “Permitted Repricing Amendment” as defined in Section 10.5(c).

                 “Permitted Second Lien Priority Refinancing Debt” means any secured
Indebtedness (including any Registered Equivalent Notes) incurred by Borrower in the form of
one or more series of secured notes or loans; provided that such Indebtedness (i) is secured by
Liens on the Collateral (x) on a pari passu basis with the Liens securing Second Lien
Indebtedness but subordinated to the Lien securing Obligations under the Credit Documents
pursuant to the Collateral Trust Agreement and (y) granted pursuant to security documents
substantially similar to the security documents that are Second Lien Documents, (ii) is not
secured by any property or assets of Holdings, Borrower or any Restricted Subsidiary other than
the Collateral unless such property or assets are made a portion of the Collateral hereunder and
(iii) constitutes Refinancing Indebtedness.

              “Permitted Unsecured Refinancing Debt” means unsecured Indebtedness
(including any Registered Equivalent Notes) incurred by Borrower in the form of one or more
series of senior unsecured notes or loans; provided that such Indebtedness constitutes
Refinancing Indebtedness.



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              “Person” means and includes natural persons, corporations, limited partnerships,
general partnerships, limited liability companies, limited liability partnerships, joint stock
companies, Joint Ventures, associations, companies, trusts, banks, trust companies, land trusts,
business trusts or other organizations, whether or not legal entities, and Governmental
Authorities.

                “Platform” as defined in Section 5.1(o).

               “Pledge and Security Agreement” means the Second Amended and Restated
Priority Lien Pledge and Security Agreement executed by Borrower and each Guarantor, dated
as of the Closing Date, substantially in the form of Exhibit H, as it may be amended, restated,
supplemented or otherwise modified from time to time.

                “Prime Rate” means the rate of interest quoted in the print edition of The Wall
Street Journal, Money Rates Section as the Prime Rate (currently defined as the base rate on
corporate loans posted by at least 75% of the nation’s thirty (30) largest banks), as in effect from
time to time. The Prime Rate is a reference rate and does not necessarily represent the lowest or
best rate actually charged to any customer. Administrative Agent or any other Lender may make
commercial loans or other loans at rates of interest at, above or below the Prime Rate. If the
Prime Rate is ever less than 0%, then for purposes of this Agreement the Prime Rate shall be
deemed to be 0%.

                “Principals” means Robert E. Murray, Brenda L. Murray, Robert Edward
Murray (son), Jonathan Robert Murray and Ryan Michael Murray (or any of their estates, or
heirs or beneficiaries by will).

                “Principal Office” means, for Administrative Agent, such Person’s “Principal
Office” as set forth on Appendix B, or such other office or office of a third party or sub-agent, as
appropriate, as such Person may from time to time designate in writing to Borrower,
Administrative Agent and each Lender.

               “Pro Rata Share” means (i) with respect to all payments, computations and other
matters relating to the Term B-1 Loan of any Lender, the percentage obtained by dividing (a) the
Term B-1 Loan Exposure of that Lender by (b) the aggregate Term B-1 Loan Exposure of all
Lenders; (ii) with respect to all payments, computations and other matters relating to the Term B-
2 Loan of any Lender, the percentage obtained by dividing (a) the Term B-2 Loan Exposure of
that Lender by (b) the aggregate Term B-2 Loan Exposure of all Lenders; (iii) with respect to all
payments, computations, and other matters relating to New Term Loan Commitments or New
Term Loans of a particular Series, the percentage obtained by dividing (a) the New Term Loan
Exposure of that Lender with respect to that Series by (b) the aggregate New Term Loan
Exposure of all Lenders with respect to that Series; and (iv) with respect to all payments,
computations and other matters relating to the Incremental Revolving Commitment or
Incremental Revolving Loan of any Lender (or any letters of credit issued thereunder or
participations purchased therein by any Lender or any participations in any swingline loans
thereunder purchased by a Lender), the percentage obtained by dividing (a) the Incremental
Revolving Exposure of that Lender by (b) the Incremental Revolving Exposure of all Lenders.
For all other purposes with respect to each Lender, “Pro Rata Share” means the percentage


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obtained by dividing (A) an amount equal to the sum of the Term B-1 Loan Exposure, the Term
B-2 Loan Exposure, the New Term Loan Exposure and the Incremental Revolving Exposure of
that Lender, by (B) an amount equal to the sum of the aggregate Term B-1 Loan Exposure, the
aggregate Term B-2 Loan Exposure, the aggregate New Term Loan Exposure and the aggregate
Incremental Revolving Exposure of all Lenders.

               “Projections” means the projections of Borrower and its Subsidiaries for the
period of Fiscal Year 2015 through and including Fiscal Year 2019 delivered to Administrative
Agent prior to the Closing Date.

              “Public Lenders” means Lenders that do not wish to receive Non-Public
Information with respect to Holdings, its Subsidiaries or their Securities.

                “Qualified ECP Guarantor” means, in respect of any Swap Obligation under a
Secured Hedge Agreement, each Credit Party that has total assets exceeding $10,000,000 at the
time the relevant guarantee or grant of the relevant security interest becomes effective with
respect to such Swap Obligation under a Secured Hedge Agreement or such other person as
constitutes an “eligible contract participant” under the Commodity Exchange Act or any
regulations promulgated thereunder and can cause another person to qualify as an “eligible
contract participant” at such time by entering into a keepwell under Section 1a(18)(A)(v)(II) of
the Commodity Exchange Act.

                “Qualified IPO” means the issuance by Holdings or any direct or indirect parent
company of Holdings of its common Equity Interests (and the contribution of any proceeds of
such issuance to Borrower) in an underwritten primary public offering (other than a public
offering pursuant to a registration statement on Form S-8) pursuant to an effective registration
statement filed with the U.S. Securities and Exchange Commission (or any Governmental
Authority succeeding to any of its principal functions) in accordance with the Securities Act
(whether alone or in connection with a secondary public offering) and such Equity Interests are
listed on a nationally-recognized stock exchange in the United States.

             “Reaffirmation Agreement” means the Reaffirmation Agreement, substantially
in the form of Exhibit 1 to Additional Secured Debt Designation to the Collateral Trust
Agreement, executed by Borrower and each Guarantor as of the Closing Date.

               “Real Estate Asset” means, at any time of determination, any interest (fee,
leasehold or otherwise) then owned by any Credit Party in any real property.

                “Refinancing Indebtedness” means (i) Permitted First Lien Priority Refinancing
Debt, (ii) Permitted Second Lien Priority Refinancing Debt or (iii) Permitted Unsecured
Refinancing Debt in each case, issued, incurred or otherwise obtained (including by means of the
extension or renewal of existing Indebtedness) in exchange for, or to extend, renew, replace or
refinance, in whole or part, existing Term Loans, or any then existing Refinancing Indebtedness
(“Refinanced Debt”); provided that (a) such Indebtedness has a later maturity and a weighted
average life to maturity equal to or greater than the remaining weighted average life to maturity
of the Refinanced Debt, (b) such Indebtedness is not at any time incurred by any borrower other
than Borrower or guaranteed by any Subsidiaries other than Subsidiaries that are Guarantors


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(unless concurrently with or promptly after the closing of such Indebtedness, such Person
becomes a Borrower or Guarantor hereunder), and the terms of such guarantee shall be no more
favorable in any material respect to the secured parties in respect of such Indebtedness than the
terms of the Guaranty unless the Guaranty shall be amended to the extent required to ensure that
the Guaranty is as favorable to the Lenders in all material respects as such guarantee, (c) such
Indebtedness has covenants, default and remedy provisions and other terms and conditions (other
than interest, fees, premiums, funding discounts, other pricing terms or optional prepayment or
redemption provisions) that are substantially identical to, or not materially more favorable in the
aggregate to the investors providing such Indebtedness, taken as a whole, than those set forth in
this Agreement (except for covenants or other provisions applicable only to periods after the
Latest Maturity Date of the Loans existing at the time of incurrence of such Indebtedness) or
such terms and conditions that are, taken as a whole, on current market terms for such
Indebtedness as determined by Borrower, (d) such Indebtedness shall not have a greater principal
amount than the principal amount of the Refinanced Debt plus any undrawn commitments plus
accrued interest, capitalized interest, fees, premiums and penalties (if any) thereon, upfront fees,
original issue discount and reasonable fees and expenses associated with the refinancing and (e)
such Refinanced Debt shall be repaid, defeased or satisfied and discharged on a dollar-for-dollar
basis, and all accrued interest, fees and premiums (if any) in connection therewith shall be paid,
substantially concurrently with the incurrence of such Refinancing Indebtedness in accordance
with the provisions of Section 2.13, if applicable.

                “Refinanced Term Loans” as defined in Section 10.5(c).

                “Register” as defined in Section 2.7(b).

                “Registered Equivalent Notes” means, with respect to any notes originally
issued in a Rule 144A or other private placement transaction under the Securities Act,
substantially identical notes (having the same guaranties) issued in a dollar-for-dollar exchange
therefor pursuant to an exchange offer registered with the U.S. Securities and Exchange
Commission.

               “Regulation D” means Regulation D of the Board of Governors, as in effect from
time to time and all official rulings and interpretations thereunder or thereof.

             “Regulation FD” means Regulation FD as promulgated by the U.S. Securities
and Exchange Commission under the Securities Act and Exchange Act as in effect from time to
time.

               “Regulation T” means Regulation T of the Board of Governors, as in effect from
time to time and all official rulings and interpretations thereunder or thereof.

               “Regulation U” means Regulation U of the Board of Governors, as in effect from
time to time and all official rulings and interpretations thereunder or thereof.

               “Regulation X” means Regulation X of the Board of Governors, as in effect from
time to time and all official rulings and interpretations thereunder or thereof.



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              “Related Agreements” means, collectively, the Acquisition Agreement, the
Revolving Credit Agreement, the Revolving Credit Agreement Amendment and each Senior
Secured Notes Indenture.

               “Related Fund” means, with respect to any Lender that is an investment fund,
any other investment fund that invests in commercial loans and that is managed or advised by the
same investment advisor as such Lender or by an Affiliate of such investment advisor.

                 “Related Party” means (i) any controlling stockholder, majority owned
subsidiary, or immediate family member (in the case of an individual) of any Principal; or (ii)
any trust, corporation, partnership, limited liability company or other entity, the beneficiaries,
stockholders, partners, members, owners or Persons beneficially holding a majority (and
controlling) interest of which consist of any one or more Principals and/or such other Persons
referred to in the immediately preceding clause (i).

                “Release” means any release, spill, emission, leaking, pumping, pouring,
injection, escaping, deposit, disposal, discharge, dispersal, dumping, leaching or migration of any
Hazardous Material into the indoor or outdoor environment (including the abandonment or
disposal of any barrels, containers or other closed receptacles containing any Hazardous
Material), including the migration of any Hazardous Material through the air, soil, surface water
or groundwater.

                “Replacement Lender” as defined in Section 2.23.

                “Replacement Term Loans” as defined in Section 10.5(c).

                “Repricing Transaction” as defined in Section 2.13(b)(i).

                “Required Prepayment Date” as defined in Section 2.15(c).

              “Requisite Lenders” means one or more Lenders having or holding Term B-1
Loan Exposure, Term B-2 Loan Exposure, New Term Loan Exposure and/or Incremental
Revolving Exposure (if any) and representing more than 50% of the aggregate Voting Power
Determinants of all Lenders; provided that amount of Voting Power Determinants shall be
determined with respect to any Defaulting Lender by disregarding the Voting Power
Determinants of such Defaulting Lender.

               “Restricted Junior Payment” means (i) any dividend or other distribution, direct
or indirect, on account of any shares of any class of stock of Holdings or Borrower now or
hereafter outstanding, except a dividend payable solely in shares of that class of stock to the
holders of that class; (ii) any redemption, retirement, sinking fund or similar payment, purchase
or other acquisition for value, direct or indirect, of any shares of any class of Equity Interests of
Holdings or Borrower now or hereafter outstanding; (iii) any payment made to retire, or to obtain
the surrender of, any outstanding warrants, options or other rights to acquire shares of any class
of Equity Interests of Holdings or Borrower now or hereafter outstanding; (iv) [reserved] and (v)
any payment or prepayment of principal of, premium, if any, or interest on, or redemption,
purchase, retirement, defeasance (including covenant or legal defeasance), sinking fund or
similar payment with respect to the Second Lien Indebtedness or Additional Facilities (other than

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in exchange for or with proceeds of Permitted Refinancing Indebtedness in accordance with
Section 6.1). Solely for purposes of clause (ii) of the definition of the term “Permitted Payments
to Holdings” relating to Restricted Junior Payments, in the event that any Credit Party or
Restricted Subsidiary makes a cash distribution, such distribution shall not be a “Restricted
Junior Payment” to the extent that such distribution (x) discharges the federal, state, local and/or
foreign tax liabilities of an Unrestricted Subsidiary and (y) was funded in cash by an Unrestricted
Subsidiary.

               “Restricted Subsidiary” means any subsidiary other than an Unrestricted
Subsidiary; provided that upon the occurrence of any Unrestricted Subsidiary ceasing to be an
Unrestricted Subsidiary, such subsidiary shall be included in the definition of “Restricted
Subsidiary”.

                “Revolving Agent” means Goldman Sachs, in its capacities as the administrative
and collateral agent under the Revolving Credit Agreement and related collateral documents, and
any successor administrative or collateral agent permitted pursuant to the terms thereof, hereof
and in the Intercreditor Agreement or any similar agent under any replacement or refinancing of
the Revolving Credit Agreement.

               “Revolving Credit Agreement” means the Revolving Credit Agreement, dated
as of December 5, 2013, by and among Borrower, Holdings, certain Subsidiaries of Borrower, as
guarantors, the lenders party thereto from time to time, Revolving Agent, and the other parties
thereto, as amended through the Revolving Credit Agreement Amendment and as may hereafter
be amended, modified, supplemented, refinanced, restated, or replaced in accordance with the
terms of the Intercreditor Agreement; provided, that for the avoidance of doubt, the Incremental
Revolving Commitments and Incremental Revolving Loans shall not constitute the “Revolving
Credit Agreement”.

              “Revolving Credit Agreement Amendment” means that certain Amendment
No. 2 to Revolving Credit Agreement, dated as of the Closing Date, by and among Borrower,
Holdings, certain Subsidiaries of Borrower, as guarantors, Revolving Agent, the “Required
Lenders” (as defined in the Revolving Credit Agreement) and the other parties thereto.

                “Revolving Credit Documents” means the Revolving Credit Agreement and
each other instrument or agreement executed in connection with the Revolving Credit Agreement
(including all security agreements, collateral assignments, mortgages, control agreements or
other grants or transfers for security in favor of the Revolving Agent, for the benefit of the
holders of Revolving Credit Obligations) and any instrument or agreement executed in
connection with any refinancings and replacements thereof to the extent permitted under Section
6.1, as each such instrument or agreement may be amended, restated, supplemented, replaced or
otherwise modified from time to time.

              “Revolving Credit Obligations” means the “Secured Obligations” as defined in
the Security Agreement (as defined in the Revolving Credit Agreement).

                “Revolving Loan Priority Collateral” has the meaning assigned to “ABL
Collateral” in the Intercreditor Agreement.


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                “Royalty Drop-Down Transaction” means, collectively, (i) the sale to Foresight
GP, Foresight LP or any of its Subsidiaries of the preparation plant and certain other mine
infrastructure assets of American Energy Corporation’s Century Mine in exchange for
$75,000,000 in cash consideration, (ii) the lease of such assets from Foresight GP, Foresight LP
or any of its Subsidiaries to the Borrower for the Borrower’s continued use of the assets in
exchange for royalty payments payable by the Borrower to Foresight GP, Foresight LP or any of
its Subsidiaries in an aggregate amount not to exceed approximately $12,000,000 per year, and
(iii) to the extent funded with such cash consideration, the payment by Borrower to Foresight
Reserves in an aggregate amount not to exceed $75,000,000, in each case occurring on the
Closing Date in accordance with the terms of the Acquisition Agreement.

                “S&P” means Standard & Poor’s, a Division of The McGraw-Hill Companies,
Inc.

                “Sale and Leaseback Transaction” as defined in Section 6.10.

               “Second Priority” means, with respect to any Lien purported to be created in any
Collateral pursuant to any Collateral Document, that such Lien is the only Lien to which such
Collateral is subject, other than First Priority Liens to secure the Indebtedness under the
Revolving Credit Agreement and any other Permitted Lien.

                “Second Lien Additional Facility” as defined in Section 6.1(c).

               “Second Lien Documents” means each Senior Secured Notes Indenture and each
other instrument or agreement executed in connection with the Senior Secured Notes and any
instrument or agreement executed in connection with any refinancings and replacements thereof
to the extent permitted under Section 6.1, as each such material instrument or agreement may be
amended, restated, supplemented, replaced or otherwise modified from time to time in
accordance with Section 6.15.

                “Second Lien Indebtedness” means the Indebtedness of Borrower and the other
Credit Parties incurred pursuant to or evidenced by the Second Lien Documents.

               “Secured Designated Coal Contract Obligations” means obligations owed by
Borrower or any of its Guarantor Subsidiaries to any Designated Coal Contract Counterparty
pursuant to or evidenced by any Designated Coal Contract.

               “Secured Commodities Agreement” means any Commodities Agreement
entered into from time to time by Borrower or any of its Guarantor Subsidiaries with a
Commodities Hedge Provider that has been designated by Borrower and such Commodities
Hedge Provider as a “Secured Commodities Agreement” by notice to Administrative Agent
delivered on or prior to the tenth Business Day following the later of (a) the Closing Date, (b) the
date that such Commodities Agreement is entered into, or (c) the date that the Person providing
such Commodities Agreement becomes a Lender or Administrative Agent (or an Affiliate of a
Lender or Administrative Agent).




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              “Secured Commodities Hedge Obligations” means obligations owed by
Borrower or any of its Guarantor Subsidiaries to any Commodities Hedge Provider pursuant to
or evidenced by any Secured Commodities Agreement.

            “Secured Hedge Agreement” means any Hedge Agreement and any Secured
Commodities Agreement.

                “Secured Net Leverage Ratio” means the ratio as of the last day of any Fiscal
Quarter of (i) Consolidated Net Total Debt secured by a Lien on the assets of Borrower or any of
its Restricted Subsidiaries as of such day to (ii) Consolidated Adjusted EBITDA for the four-
Fiscal Quarter period ending on such date.

              “Secured Parties” has the meaning assigned to that term in the Pledge and
Security Agreement.

               “Securities” means any stock, shares, partnership interests, voting trust
certificates, certificates of interest or participation in any profit-sharing agreement or
arrangement, options, warrants, bonds, debentures, notes, or other evidences of indebtedness,
secured or unsecured, convertible, subordinated or otherwise, or in general any instruments
commonly known as “securities” or any certificates of interest, shares or participations in
temporary or interim certificates for the purchase or acquisition of, or any right to subscribe to,
purchase or acquire, any of the foregoing.

               “Securities Act” means the Securities Act of 1933, as amended from time to
time, and any successor statute.

               “Senior Secured Notes” means, collectively, (a) the 11.25% senior secured notes
of Borrower due 2021 issued from time to time pursuant to the Senior Secured Notes Indenture
under clause (a) of the definition thereof, (b) the 8.625% senior secured notes of Borrower due
2021 issued from time to time prior to the Closing Date pursuant to the Senior Secured Notes
Indenture under clause (b) of the definition thereof and (c) the 9.50% senior secured notes of
Borrower due 2020 issued from time to time prior to the Closing Date pursuant to the Senior
Secured Notes Indenture under clause (c) of the definition thereof.

               “Senior Secured Notes Indenture” means (a) the Indenture, dated as of April
16, 2015, among Borrower, the Guarantors (as defined therein) party thereto, The Bank of New
York Mellon Trust Company, N.A., as Trustee, and the Collateral Trustee, (b) the Indenture,
dated as of May 24, 2013, among Borrower, the Guarantors (as defined therein) party thereto,
The Bank of New York Mellon Trust Company, N.A., as Trustee, and the Collateral Trustee and
(c) the Indenture, dated as of May 8, 2014, among Borrower, the Guarantors (as defined therein)
party thereto, The Bank of New York Mellon Trust Company, N.A., as Trustee, and the
Collateral Trustee, in each case, as amended, restated, supplemented, replaced, refinanced or
otherwise modified from time to time in accordance with Section 6.15.

                “Series” as defined in Section 2.24.

              “Solvent” means, with respect to all Credit Parties, taken as a whole, on a
consolidated basis, that as of the date of determination, (a) the sum of the Credit Parties’ debt

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(including contingent liabilities) does not exceed the present fair saleable value, taken on a going
concern basis, of the Credit Parties’ present assets; (b) the Credit Parties’ capital is not
unreasonably small in relation to its business as contemplated on the Closing Date and reflected
in the Projections or with respect to any transaction contemplated or undertaken after the Closing
Date; and (c) the Credit Parties have not incurred and do not intend to incur, or believe (nor
should they reasonably believe) that they will incur, debts beyond their ability to pay such debts
as they become due (whether at maturity or otherwise). For purposes of this definition, the
amount of any contingent liability at any time shall be computed as the amount that, in light of
all of the facts and circumstances existing at such time, represents the amount that can
reasonably be expected to become an actual or matured liability (irrespective of whether such
contingent liabilities meet the criteria for accrual under Statement of Financial Accounting
Standards No. 5).

                “Specified Transaction” means any Investment that results in a Person becoming
a Restricted Subsidiary, any designation of a Subsidiary as a Restricted Subsidiary or an
Unrestricted Subsidiary, any Permitted Acquisition or any Disposition that results in a Restricted
Subsidiary ceasing to be a Subsidiary of the Borrower, any Investment constituting an
acquisition of assets constituting a business unit, line of business or division of, or all or
substantially all of the Equity Interests of, another Person or any disposition of a business unit,
line of business or division of the Borrower or a Restricted Subsidiary, in each case whether by
merger, consolidation, amalgamation or otherwise.

               “subsidiary” means, with respect to any Person, (1) any corporation, association
or other business entity (other than a partnership) of which more than 50% of the total voting
power of shares of Capital Stock entitled to vote in the election of directors, managers or trustees
of the corporation, association or other business entity is at the time owned or controlled, directly
or indirectly, by that Person or one or more of the other subsidiaries of that Person (or a
combination thereof), or (2) any partnership of which such Person or any subsidiary of such
Person is a controlling general partner or otherwise controls such entity.

                “Subsidiary” means, unless the context otherwise requires, a subsidiary of
Borrower.

              “Swap Obligation” means, with respect to any Guarantor, any obligation to pay
or perform under any agreement, contract or transaction that constitutes a “swap” within the
meaning of section 1a(47) of the Commodity Exchange Act.

                “Syndication Agent” as defined in the preamble hereto.

               “Taxes” means all present or future taxes, levies, imposts, duties, deductions,
withholdings (including backup withholding), assessments, fees or other charges imposed by any
Governmental Authority, including any interest, additions to tax or penalties applicable thereto.

               “Term B-1 Loan” means a Term B-1 Loan made by a Lender to Borrower
pursuant to Section 2.1(a)(i).

             “Term B-1 Loan Commitment” means the commitment of a Lender to make or
otherwise fund a Term B-1 Loan and “Term B-1 Loan Commitments” means such

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commitments of all Lenders in the aggregate. The amount of each Lender’s Term B-1 Loan
Commitment, if any, is set forth on Appendix A-1 or in the applicable Assignment Agreement,
subject to any adjustment or reduction pursuant to the terms and conditions hereof. The
aggregate amount of the Term B-1 Loan Commitments as of the Closing Date is $300,000,000.

               “Term B-1 Loan Exposure” means, with respect to any Lender, as of any date of
determination, the outstanding principal amount of the Term B-1 Loans of such Lender;
provided, at any time prior to the making of the Term B-1 Loans, the Term B-1 Loan Exposure
of any Lender shall be equal to such Lender’s Term B-1 Loan Commitment.

            “Term B-1 Loan Note” means a promissory note in the form of Exhibit B-1, as it
may be amended, restated, supplemented or otherwise modified from time to time.

               “Term B-2 Loan” means a Term B-2 Loan made by a Lender to Borrower
pursuant to Section 2.1(a)(ii).

              “Term B-2 Loan Commitment” means the commitment of a Lender to make or
otherwise fund a Term B-2 Loan and “Term B-2 Loan Commitments” means such
commitments of all Lenders in the aggregate. The amount of each Lender’s Term B-2 Loan
Commitment, if any, is set forth on Appendix A-2 or in the applicable Assignment Agreement,
subject to any adjustment or reduction pursuant to the terms and conditions hereof. The
aggregate amount of the Term B-2 Loan Commitments as of the Closing Date is $1,700,000,000.

               “Term B-2 Loan Exposure” means, with respect to any Lender, as of any date of
determination, the outstanding principal amount of the Term B-2 Loans of such Lender;
provided, at any time prior to the making of the Term B-2 Loans, the Term B-2 Loan Exposure
of any Lender shall be equal to such Lender’s Term B-2 Loan Commitment.

            “Term B-2 Loan Note” means a promissory note in the form of Exhibit B-2, as it
may be amended, restated, supplemented or otherwise modified from time to time.

                “Term Loan” means a Term B-1 Loan and a Term B-2 Loan.

               “Term Loan Asset Proceeds Account” has the meaning assigned to “Fixed
Asset Collateral Proceeds Account” in the Intercreditor Agreement.

             “Term Loan Commitment” means the Term B-1 Loan Commitment or the
Term B-2 Loan Commitment of a Lender, as applicable, and “Term Loan Commitments”
means such commitments of all Lenders.

                “Term Loan Priority Collateral” has the meaning assigned to “Fixed Asset
Collateral” in the Intercreditor Agreement.

                “Terminated Lender” as defined in Section 2.23.

               “Termination Amount” has the meaning assigned to such term in the Existing
Designated Coal Contract or any other similar amount to be received or paid as a result of a
termination, breach or default of a Designated Coal Contract.

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                “Total Assets” means, as of any date, the total consolidated assets of Borrower
and its Restricted Subsidiaries on a consolidated basis, as shown on the most recent consolidated
balance sheet of Borrower and its Restricted Subsidiaries, determined on a pro forma basis in a
manner consistent with the pro forma basis contained in Section 1.4.

                “Trading Counterparties” as defined in Section 10.23.

                “Trading Transactions” as defined in Section 10.23.

                “Transactions” means the transactions contemplated by the Credit Documents
and the Related Agreements, including the Closing Date Acquisition, to be consummated on or
prior to the Closing Date.

                “Type of Loan” means a Base Rate Loan or a Eurodollar Rate Loan.

                 “UCC” means the Uniform Commercial Code (or any similar or equivalent
legislation) as in effect in any applicable jurisdiction.

                “Unrestricted Cash” means the aggregate amount of cash and Cash Equivalents
held in accounts on the consolidated balance sheet of Borrower and its Restricted Subsidiaries
that is “unrestricted” in accordance with GAAP.

               “Unrestricted Subsidiary” means (a) any subsidiary of Borrower designated by
the Borrower as an Unrestricted Subsidiary pursuant to Section 5.15 subsequent to the date
hereof, but only to the extent that such Subsidiary (i) has no Indebtedness other than Non-
Recourse Debt; (ii) except as permitted by Section 6.11 hereof, is not party to any agreement,
contract, arrangement or understanding with Borrower or any Restricted Subsidiary unless the
terms of any such agreement, contract, arrangement or understanding are no less favorable to
Borrower or such Restricted Subsidiary than those that might be obtained at the time from
Persons who are not Affiliates of Borrower; and (iii) is a Person with respect to which neither
Borrower nor any of its Restricted Subsidiaries has any direct or indirect obligation (A) to
subscribe for additional Equity Interests or (B) to maintain or preserve such Person’s financial
condition or to cause such Person to achieve any specified levels of operating results; and (b)
Foresight GP, Foresight LP and their subsidiaries, to the extent any such entity is a Subsidiary of
Borrower, until any such entity is designated as a Restricted Subsidiary pursuant to Section 5.15.

                “Unsecured Additional Facility” as defined in Section 6.1(c).

              “Voting Power Determinants” means, collectively, the sum of the Term B-1
Loan Exposure, the Term B-2 Loan Exposure, the New Term Loan Exposure and the
Incremental Revolving Exposure.

               “Voting Stock” of any specified Person as of any date means the Equity Interest
of such Person that is at the time entitled to vote in the election of the Board of Directors of such
Person.

                “Waivable Mandatory Prepayment” as defined in Section 2.15(c).


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                “Weighted Average Yield” means with respect to any loan or note, on any date
of determination, the weighted average yield to maturity, in each case, based on the interest rate
applicable to such loan or note on such date and giving effect to any applicable interest rate floor
as well as original issue discount and all upfront or similar fees (which shall be deemed to
constitute like amounts of original issue discount) payable by Borrower to all of the lenders or
note holders generally with respect to such loan or note in the initial primary syndication thereof
(with original issue discount being equated to interest based on assumed four-year life to
maturity), but excluding customary arrangement, structuring, underwriting, amendment,
commitment fees or other fees not paid generally to all lenders of such Loans or payable to the
Arrangers (or their affiliates) or other arranger or agent (or their respective affiliates) in
connection with such loans or note (and not payable to lenders or note holders generally).

        1.2. Accounting Terms. Except as otherwise expressly provided herein, all accounting
terms not otherwise defined herein shall have the meanings assigned to them in conformity with
GAAP. Financial statements and other information required to be delivered by Borrower to
Lenders pursuant to Sections 5.1(b) and 5.1(c) shall be prepared in accordance with GAAP as in
effect at the time of such preparation (and delivered together with the reconciliation statements
provided for in Section 5.1(e), if applicable). In the event that any Accounting Change (as
defined below) results in a change in the method of calculation of financial covenants, standards
or terms in this Agreement, then Borrower and Administrative Agent agree to enter into good
faith negotiations in order to amend such provisions of this Agreement so as to equitably reflect
such Accounting Change with the desired result that the criteria for evaluating Borrower’s
financial condition shall be the same after such Accounting Change as if such Accounting
Change had not been made. Until such time as such an amendment shall have been executed and
delivered by Borrower and the Requisite Lenders, all financial covenants, standards and terms in
this Agreement shall continue to be calculated or construed as if such Accounting Change had
not occurred. “Accounting Change” refers to any change in accounting principles required by
the promulgation of any rule, regulation, pronouncement or opinion by the Financial Accounting
Standards Board of the American Institute of certified Public Accountants or, if applicable, the
U.S. Securities and Exchange Commission and/or the Public Company Accounting Oversight
Board (or successors thereto or agencies with similar functions). Anything in this Agreement to
the contrary notwithstanding, any obligation of a Person under a lease (whether existing now or
entered into in the future) that is not (or would not be) required to be classified and accounted for
as a capital lease on the balance sheet of such Person under GAAP as in effect on the Closing
Date shall not be treated as a capital lease solely as a result of (a) the adoption of any changes in,
or (b) changes in the application of, GAAP after the Closing Date.

        1.3. Interpretation, Etc. Any of the terms defined herein may, unless the context
otherwise requires, be used in the singular or the plural, depending on the reference. References
herein to any Section, Appendix, Schedule or Exhibit shall be to a Section, an Appendix, a
Schedule or an Exhibit, as the case may be, hereof unless otherwise specifically provided. The
use herein of the word “include” or “including”, when following any general statement, term or
matter, shall not be construed to limit such statement, term or matter to the specific items or
matters set forth immediately following such word or to similar items or matters, whether or not
non-limiting language (such as “without limitation” or “but not limited to” or words of similar
import) is used with reference thereto, but rather shall be deemed to refer to all other items or
matters that fall within the broadest possible scope of such general statement, term or matter.

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The terms “lease” and “license” shall include sub-lease and sub-license, as applicable.
References to the “Arranger,” any “Agent,” the “Collateral Trustee,” any “Credit Party,” any
“Lender,” any “obligor,” any “party” or any other persons shall be construed so as to include
successors in title, permitted assigns and permitted transferees. References to “assets” include
present and future properties, revenues and rights of every description. Unless otherwise
specifically indicated, the term “consolidated” with respect to any Person refers to such Person
consolidated with its Restricted Subsidiaries, and excludes from such consolidation any
Unrestricted Subsidiary as if such Unrestricted Subsidiary were not an Affiliate of such Person.
References to a “Credit Document” or any other agreement or instrument is a reference to that
Credit Document or other agreement or instrument as amended, novated, supplemented,
extended or restated, strictly in accordance with the terms thereof.

       1.4. Certain Calculations. For purposes of calculating the Net Leverage Ratio,
Secured Net Leverage Ratio, the First Lien Net Leverage Ratio, Consolidated Adjusted
EBITDA, revenue and Total Assets:

        (i)    acquisitions that have been made by the specified Person or any of its Restricted
Subsidiaries, including the Closing Date Acquisition and including through mergers or
consolidations, or any Person or any of its Restricted Subsidiaries acquired by the specified
Person or any of its Restricted Subsidiaries, and including all related financing transactions and
including increases in ownership of Restricted Subsidiaries, during the four-Fiscal Quarter
reference period or subsequent to such reference period and on or prior to the date on which the
event for which the calculation of the Net Leverage Ratio, the Secured Net Leverage Ratio, the
First Lien Net Leverage Ratio, Consolidated Adjusted EBITDA, revenue and Total Assets is
made (the “Calculation Date”), or that are to be made on the Calculation Date, will be given pro
forma effect as if they had occurred on the first day of the four-Fiscal Quarter reference period;

        (ii)   the Consolidated Adjusted EBITDA attributable to discontinued operations, as
determined in accordance with GAAP, and operations or businesses (and ownership interests
therein) disposed of prior to the Calculation Date, will be excluded;

        (iii) the Fixed Charges attributable to discontinued operations, as determined in
accordance with GAAP, and operations or businesses (and ownership interests therein) disposed
of prior to the Calculation Date, will be excluded, but only to the extent that the obligations
giving rise to such Fixed Charges will not be obligations of the specified Person or any of its
Restricted Subsidiaries following the Calculation Date:

       (iv)    any Person that is a Restricted Subsidiary on the Calculation Date will be deemed
to have been a Restricted Subsidiary at all times during such four-Fiscal Quarter period;

        (v)  any Person that is not a Restricted Subsidiary on the Calculation Date will be
deemed not to have been a Restricted Subsidiary at any time during such four-Fiscal Quarter
period;

        (vi)   whenever pro forma effect is to be given to a transaction, the pro forma
calculations shall be made in good faith by a responsible financial or chief accounting officer of
Holdings (and may include cost savings, synergies and operating efficiencies that are reasonably


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identifiable and expected to result from such transaction which is being given pro forma effect
that have been realized or are anticipated by Holdings to be realized within 12 months after the
date of such transaction; provided that the aggregate amount of such cost savings, synergies and
operating efficiencies added to Consolidated Adjusted EBITDA pursuant to this clause (vi) shall
not exceed, together with (a) the aggregate amount of cash charges and cash costs added to
Consolidated Adjusted EBITDA pursuant to clause (ix) of the definition thereof, (b) the
aggregate amount of cost savings, synergies and operating efficiencies added to Consolidated
Adjusted EBITDA pursuant to clause (x) of the definition thereof and (c) the aggregate amount
of costs and expenses, including fees, added to Consolidated Adjusted EBITDA pursuant to
clause (xi) of the definition thereof, 10% of Consolidated Adjusted EBITDA in any four-Fiscal
Quarter period). If any Indebtedness bears a floating rate of interest and is being given pro forma
effect, the interest on such Indebtedness shall be calculated as if the rate in effect on the
Calculation Date had been the applicable rate for the entire period (taking into account any
Hedging Obligations applicable to such Indebtedness). Interest on a Capital Lease Obligation
shall be deemed to accrue at an interest rate reasonably determined by a responsible financial or
accounting officer of Holdings to be the rate of interest implicit in such Capital Lease Obligation
in accordance with GAAP; and

       (vii) if any Indebtedness bears a floating rate of interest, the interest expense on such
Indebtedness will be calculated as if the rate in effect on the Calculation Date had been the
applicable rate for the entire period (taking into account any Hedging Obligation applicable to
such Indebtedness if such Hedging Obligation has a remaining term as at the Calculation Date in
excess of 12 months).

        1.5. Limited Conditionality Acquisitions. Notwithstanding anything to the contrary in
this Agreement, solely for the purpose of (A) measuring the relevant financial ratios and basket
availability with respect to the incurrence of any Indebtedness (including any New Term Loans
or New Term Loan Commitments) or Liens or the making of any Investments or Dispositions or
the designation of any Restricted Subsidiaries or Unrestricted Subsidiaries or (B) determining
compliance with representations and warranties or the occurrence of any Default or Event of
Default, in each case, in connection with a Limited Condition Acquisition, if Borrower has made
an LCA Election with respect to such Limited Condition Acquisition, the date of determination
of whether any such action is permitted hereunder shall be deemed to be the date on which the
definitive agreements for such Limited Condition Acquisition are entered into (the “LCA Test
Date”), and if, after giving effect on a pro forma basis to the Limited Condition Acquisition and
the other transactions to be entered into in connection therewith as if they had occurred at the
beginning of the most recent test period ending prior to the LCA Test Date, Borrower could have
taken such action on the relevant LCA Test Date in compliance with such financial ratio, basket,
representation or warranty, such financial ratio, basket, representation or warranty shall be
deemed to have been complied with. For the avoidance of doubt, if Borrower has made an LCA
Election and any of the ratios or baskets for which compliance was determined or tested as of
the LCA Test Date are exceeded as a result of fluctuations in any such ratio or basket, including
due to fluctuations in Consolidated EBITDA or Total Assets of the Borrower or the Person
subject to such Limited Condition Transaction, at or prior to the consummation of the relevant
transaction or action, such baskets or ratios will not be deemed to have been exceeded as a result
of such fluctuations solely for purposes of determining whether the relevant transaction or action
is permitted to be consummated or taken. If Borrower has made an LCA Election for any

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Limited Condition Acquisition, then in connection with any subsequent calculation of any
financial ratio (except the financial covenant in Section 6.7) or basket availability with respect to
any other Specified Transaction on or following the relevant LCA Test Date and prior to the
earlier of (x) the date on which such Limited Condition Acquisition is consummated or (y) the
date that the definitive agreement for such Limited Condition Acquisition is terminated or
expires without consummation of such Limited Condition Acquisition, any such financial ratio
or basket availability shall be calculated on a pro forma basis assuming such Limited Condition
Acquisition and other transactions in connection therewith (including any incurrence of
Indebtedness and the use of proceeds thereof) have been consummated until such time as the
applicable Limited Condition Acquisition has actually closed or the definitive agreement with
respect thereto has been terminated or has expired.

        1.6. Unrestricted Subsidiaries. For the avoidance of doubt, the Indebtedness and
preferred stock and Fixed Charges of any Unrestricted Subsidiary shall not be treated as
Indebtedness, preferred stock or Fixed Charges of Borrower and its Restricted Subsidiaries, and
Investments of, or dividends or distributions by, an Unrestricted Subsidiary shall not be treated
as Investments of, or dividends or distributions by, Borrower and its Restricted Subsidiaries.

        1.7. Compliance with Certain Covenants. Notwithstanding anything to the contrary
herein, with respect to any amounts incurred or transactions entered into (or consummated) in
reliance on a provision of this Agreement that does not require compliance with a financial ratio
or test (including, without limitation, pro forma compliance with Section 6.7 hereof, any Net
Leverage Ratio test, any Secured Net Leverage Ratio test and any First Lien Net Leverage Ratio
test) (any such amounts, the “Fixed Amounts”) substantially concurrently with any amounts
incurred or transactions entered into (or consummated) in reliance on a provision of this
Agreement that requires compliance with any such financial ratio or test (any such amounts, the
“Incurrence Based Amounts”), it is understood and agreed that the Fixed Amounts (and any
cash proceeds thereof) shall be disregarded in the calculation of the financial ratio or test
applicable to the Incurrence-Based Amounts in connection with such substantially concurrent
incurrence.

                SECTION 2. LOANS

        2.1. Term Loans.

                       (a) Loan Commitments. Subject to the terms and conditions hereof,

                      (i) each Lender severally agrees to make, on the Closing Date, a Term B-
        1 Loan to Borrower in an amount equal to such Lender’s Term B-1 Loan Commitment;
        and

                      (ii) each Lender agrees to make, on the Closing Date, a Term B-2 Loan
        to Borrower in an amount equal to such Lender’s Term B-2 Loan Commitment.

Borrower may make only one borrowing under each of the Term B-1 Loan Commitment and the
Term B-2 Loan Commitment, which shall be on the Closing Date. Any amount borrowed under
this Section 2.1(a) and subsequently repaid or prepaid may not be reborrowed. Subject to


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Sections 2.13(a) and 2.14, all amounts owed hereunder with respect to the Term Loans shall be
paid in full no later than the Maturity Date applicable to such Term Loans. Each Lender’s Term
Loan Commitment shall terminate immediately and without further action on the Closing Date
after giving effect to the funding of such Lender’s Term Loan Commitment on such date.

                       (b) Borrowing Mechanics for Term Loans.

                       (i) Borrower shall deliver to Administrative Agent a fully executed
        Funding Notice no later than (x) the Closing Date with respect to Base Rate Loans and
        (y) three days prior to the Closing Date with respect to Eurodollar Rate Loans (or such
        shorter period as may be acceptable to Administrative Agent). Promptly upon receipt by
        Administrative Agent of such Funding Notice, Administrative Agent shall notify each
        Lender of the proposed borrowing.

                       (ii) Each Lender shall make its Term Loan available to Administrative
        Agent not later than 12:00 p.m. (New York City time) on the Closing Date, by wire
        transfer of same day funds in Dollars, at the principal office designated by Administrative
        Agent. Upon satisfaction or waiver of the conditions precedent specified herein,
        Administrative Agent shall make the proceeds of the Term Loans available to Borrower
        on the Closing Date by causing an amount of same day funds in Dollars equal to the
        proceeds of all such Loans received by Administrative Agent from Lenders to be credited
        to the account of Borrower at the Principal Office designated by Administrative Agent or
        to such other account as may be designated in writing to Administrative Agent by
        Borrower.

        2.2. [Reserved].

        2.3. [Reserved].

        2.4. [Reserved].

        2.5. Pro Rata Shares; Availability of Funds.

                       (a) Pro Rata Shares. All Loans shall be made by Lenders simultaneously
        and proportionately to their respective Pro Rata Shares, it being understood that no
        Lender shall be responsible for any default by any other Lender in such other Lender’s
        obligation to make a Loan requested hereunder nor shall any Term Loan Commitment of
        any Lender be increased or decreased as a result of a default by any other Lender in such
        other Lender’s obligation to make a Loan requested hereunder.

                      (b) Availability of Funds. Unless Administrative Agent shall have been
        notified by any Lender prior to the applicable Credit Date that such Lender does not
        intend to make available to Administrative Agent the amount of such Lender’s Loan
        requested on such Credit Date, Administrative Agent may assume that such Lender has
        made such amount available to Administrative Agent on such Credit Date and
        Administrative Agent may, in its sole discretion, but shall not be obligated to, make
        available to Borrower a corresponding amount on such Credit Date. If such
        corresponding amount is not in fact made available to Administrative Agent by such

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        Lender, Administrative Agent shall be entitled to recover such corresponding amount on
        demand from such Lender together with interest thereon, for each day from such Credit
        Date until the date such amount is paid to Administrative Agent, at the customary rate set
        by Administrative Agent for the correction of errors among banks for three Business
        Days and thereafter at the Base Rate. In the event that (i) a Lender fails to fund to
        Administrative Agent all or any portion of the Loans required to be funded by such
        Lender hereunder prior to the time specified in this Agreement and (ii) such Lender’s
        failure results in Administrative Agent failing to make a corresponding amount available
        to Borrower on the Credit Date, at Administrative Agent’s option, such Lender shall not
        receive interest hereunder with respect to the requested amount of such Lender’s Loans
        for the period commencing with the time specified in this Agreement for receipt of
        payment by Borrower through and including the time of Borrower’s receipt of the
        requested amount. If such Lender does not pay such corresponding amount forthwith
        upon Administrative Agent’s demand therefor, Administrative Agent shall promptly
        notify Borrower and Borrower shall promptly pay such corresponding amount to
        Administrative Agent together with interest thereon, for each day from such Credit Date
        until the date such amount is paid to Administrative Agent, at the rate payable hereunder
        for Base Rate Loans for such Class of Loans. Nothing in this Section 2.5(b) shall be
        deemed to relieve any Lender from its obligation to fulfill its Term Loan Commitments
        hereunder or to prejudice any rights that Borrower may have against any Lender as a
        result of any default by such Lender hereunder.

        2.6. Use of Proceeds. The proceeds of the Loans shall be applied by Borrower to fund,
in part, the refinancing of the Existing Term Loan Agreement, including the payment of fees,
premiums, commissions and expenses in connection therewith, and the Closing Date Acquisition
(including paying fees, commissions and expenses in connection with the Closing Date
Acquisition) and for general corporate purposes of Borrower and its Subsidiaries, including
Permitted Acquisitions.

        2.7. Evidence of Debt; Register; Lenders’ Books and Records; Notes.

                        (a) Lenders’ Evidence of Debt. Each Lender shall maintain on its
        internal records an account or accounts evidencing the Obligations of Borrower to such
        Lender, including the amounts of the Loans made by it and each repayment and
        prepayment in respect thereof. Any such recordation shall be conclusive and binding on
        Borrower, absent manifest error; provided, that the failure to make any such recordation,
        or any error in such recordation, shall not affect Borrower’s Obligations in respect of any
        applicable Loans; and provided further, in the event of any inconsistency between the
        Register and any Lender’s records, the recordations in the Register shall govern.

                        (b) Register. Administrative Agent (or its agent or sub-agent appointed
        by it, acting for this purpose as agent of Borrower) shall maintain at its Principal Office a
        register for the recordation of the names and addresses of Lenders and Loans (and any
        interest thereon) of each Lender from time to time (the “Register”). The Register shall
        be available for inspection at Administrative Agent’s Principal Office (or via delivery by
        Administrative Agent) by (1) any Lender (with respect to (i) any entry relating to such
        Lender’s Loans and (ii) the identity of the other Lenders (but not any information with

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        respect to such other Lenders’ Loans)) and (2) by Borrower, in each case at any
        reasonable time and from time to time upon reasonable prior notice. Administrative
        Agent shall record, or shall cause to be recorded, in the Register the Loans and any
        interest outstanding in accordance with the provisions of Section 10.6, and each
        repayment or prepayment in respect of the principal amount of the Loans and any interest
        outstanding, and any such recordation shall be conclusive and binding on Borrower and
        each Lender, absent manifest error; provided, failure to make any such recordation, or
        any error in such recordation, shall not affect Borrower’s Obligations in respect of any
        Loan. Borrower hereby designates Administrative Agent to serve as Borrower’s agent
        solely for purposes of maintaining the Register as provided in this Section 2.7, and
        Borrower hereby agrees that, to the extent Administrative Agent serves in such capacity,
        Administrative Agent and its officers, directors, employees, agents, sub-agents and
        affiliates shall constitute “Indemnitees.”

                        (c) Notes. If so requested by any Lender by written notice to Borrower
        (with a copy to Administrative Agent) at least two Business Days prior to the Closing
        Date, or at any time thereafter, Borrower shall execute and deliver to such Lender
        (and/or, if applicable and if so specified in such notice, to any Person who is an assignee
        of such Lender pursuant to Section 10.6) on the Closing Date (or, if such notice is
        delivered after the Closing Date, promptly after Borrower’s receipt of such notice) a Note
        or Notes to evidence such Lender’s Term B-1 Loan, Term B-2 Loan or New Term Loan
        to Borrower, as the case may be.

        2.8. Interest on Loans.

                       (a) Except as otherwise set forth herein, each Class of Loan shall bear
        interest on the unpaid principal amount thereof from the date made through repayment
        (whether by acceleration or otherwise) thereof as follows:

                                          (1) if a Base Rate Loan, at the Base
                   Rate plus the Applicable Margin; or

                                         (2) if a Eurodollar Rate Loan, at the
                   Adjusted Eurodollar Rate plus the Applicable Margin;

                       (b) The basis for determining the rate of interest with respect to any Loan
        and the Interest Period with respect to any Eurodollar Rate Loan shall be selected by
        Borrower and notified to Administrative Agent pursuant to the applicable Funding Notice
        or Conversion/Continuation Notice, as the case may be; provided, until the earlier of the
        date on which Syndication Agent notifies Borrower that the primary syndication of the
        Loans has been completed, as determined by Syndication Agent, and 90 days after the
        Closing Date, the Term Loans shall be maintained as either (1) Eurodollar Rate Loans
        having an Interest Period of no longer than one month or (2) Base Rate Loans.

                       (c) In connection with Eurodollar Rate Loans there shall be no more than
        seven (7) Interest Periods outstanding at any time. In the event Borrower fails to specify
        between a Base Rate Loan or a Eurodollar Rate Loan in the applicable Funding Notice or


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        Conversion/Continuation Notice, such Loan (if outstanding as a Eurodollar Rate Loan)
        will be automatically converted into a Base Rate Loan on the last day of the then-current
        Interest Period for such Loan (or if outstanding as a Base Rate Loan will remain as, or (if
        not then outstanding) will be made as, a Base Rate Loan). In the event Borrower fails to
        specify an Interest Period for any Eurodollar Rate Loan in the applicable Funding Notice
        or Conversion/Continuation Notice, Borrower shall be deemed to have selected an
        Interest Period of one month. As soon as practicable after 10:00 a.m. (New York City
        time) on each Interest Rate Determination Date, Administrative Agent shall determine
        (which determination shall, absent manifest error, be final, conclusive and binding upon
        all parties) the interest rate that shall apply to the Eurodollar Rate Loans for which an
        interest rate is then being determined for the applicable Interest Period and shall promptly
        give notice thereof (in writing or by telephone confirmed in writing) to Borrower and
        each Lender.

                         (d) Interest payable pursuant to Section 2.8(a) shall be computed (i) in
        the case of Base Rate Loans on the basis of a 365-day or 366-day year, as the case may
        be, and (ii) in the case of Eurodollar Rate Loans, on the basis of a 360-day year, in each
        case for the actual number of days elapsed in the period during which it accrues. In
        computing interest on any Loan, the date of the making of such Loan or the first day of
        an Interest Period applicable to such Loan or, with respect to a Term Loan, the last
        Interest Payment Date with respect to such Term Loan or, with respect to a Base Rate
        Loan being converted from a Eurodollar Rate Loan, the date of conversion of such
        Eurodollar Rate Loan to such Base Rate Loan, as the case may be, shall be included, and
        the date of payment of such Loan or the expiration date of an Interest Period applicable to
        such Loan or, with respect to a Base Rate Loan being converted to a Eurodollar Rate
        Loan, the date of conversion of such Base Rate Loan to such Eurodollar Rate Loan, as the
        case may be, shall be excluded; provided, if a Loan is repaid on the same day on which it
        is made, one day’s interest shall be paid on that Loan.

                        (e) Except as otherwise set forth herein, interest on each Loan (i) shall
        accrue on a daily basis and shall be payable in arrears on each Interest Payment Date with
        respect to interest accrued on and to each such Interest Payment Date; (ii) shall accrue on
        a daily basis and shall be payable in arrears upon any prepayment of that Loan, whether
        voluntary or mandatory, to the extent accrued on the amount being prepaid; and (iii) shall
        accrue on a daily basis and shall be payable in arrears at maturity of the Loans, including
        final maturity of the Loans; provided, however, with respect to any voluntary prepayment
        of a Base Rate Loan, accrued interest shall instead be payable on the applicable Interest
        Payment Date.

        2.9. Conversion/Continuation.

                       (a) Subject to Section 2.18, Borrower shall have the option:

                      (i) to convert at any time all or any part of any Loan equal to $1,000,000
        and integral multiples of $500,000 in excess of that amount from one Type of Loan to
        another Type of Loan; provided, a Eurodollar Rate Loan may only be converted on the



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        expiration of the Interest Period applicable to such Eurodollar Rate Loan unless Borrower
        shall pay all amounts due under Section 2.18 in connection with any such conversion; or

                      (ii) upon the expiration of any Interest Period applicable to any
        Eurodollar Rate Loan, to continue all or any portion of such Loan equal to $1,000,000
        and integral multiples of $500,000 in excess of that amount as a Eurodollar Rate Loan.

        If an Event of Default has occurred and is continuing and the Requisite Lenders have
        determined, in their sole discretion, not to permit such conversion or continuation and
        have notified Borrower of such determination, then no conversion of any such Loan to, or
        continuation of such Loan as, a Eurodollar Rate Loan shall be permitted and, upon the
        expiration of any Interest Period applicable to any Eurodollar Rate Loan, such Loan shall
        be converted to a Base Rate Loan.

                      (b) Borrower shall deliver a Conversion/Continuation Notice to
        Administrative Agent no later than 10:00 a.m. (New York City time) at least one
        Business Day in advance of the proposed conversion date (in the case of a conversion to a
        Base Rate Loan) and at least three Business Days in advance of the proposed
        conversion/continuation date (in the case of a conversion to, or a continuation of, a
        Eurodollar Rate Loan (or telephonic notice in lieu thereof)). Except as otherwise
        provided herein, a Conversion/Continuation Notice for conversion to, or continuation of,
        any Eurodollar Rate Loans shall be irrevocable on and after the related Interest Rate
        Determination Date, and Borrower shall be bound to effect a conversion or continuation
        in accordance therewith. If on any day a Loan is outstanding with respect to which a
        Funding Notice or Conversion/Continuation Notice has not been delivered to
        Administrative Agent in accordance with the terms hereof specifying the applicable basis
        for determining the rate of interest, then for that day such Loan shall be a Base Rate
        Loan.

                       (c) Any Notice shall be executed by an Authorized Officer in a writing
        delivered to Administrative Agent. In lieu of delivering a Notice, Borrower may give
        Administrative Agent telephonic notice by the required time of any proposed borrowing
        or conversion/continuation, as the case may be; provided each such telephonic notice
        shall be promptly confirmed in writing by delivery of the applicable Notice to
        Administrative Agent on or before the applicable date of borrowing or
        continuation/conversion. In the event of a discrepancy between the telephonic notice and
        the written Notice, the written Notice shall govern. In the case of any Notice that is
        irrevocable once given, if Borrower provides telephonic notice in lieu thereof, such
        telephonic notice shall also be irrevocable once given. Neither Administrative Agent nor
        any Lender shall incur any liability to Borrower in acting upon any telephonic notice
        referred to above that Administrative Agent believes in good faith to have been given by
        an Authorized Officer or other person authorized on behalf of Borrower or for otherwise
        acting in good faith.

       2.10. Default Interest. Upon the occurrence and during the continuance of an Event of
Default under Section 8.1(a), (f) or (g), any overdue amounts in respect of the Loans and, to the
extent permitted by applicable law, any overdue interest payments on the Loans or any overdue

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fees or other amounts owed hereunder, shall thereafter bear interest (including post-petition
interest in any proceeding under Debtor Relief Laws) payable on demand at a rate that is 2% per
annum in excess of the interest rate otherwise payable hereunder with respect to the applicable
Loans (or, in the case of any such fees and other amounts, at a rate which is 2% per annum in
excess of the interest rate otherwise payable hereunder for Base Rate Loans); provided, in the
case of Eurodollar Rate Loans, upon the expiration of the Interest Period in effect at the time any
such increase in interest rate is effective such Eurodollar Rate Loans shall upon the request of the
Required Lenders become Base Rate Loans and shall thereafter bear interest payable upon
demand at a rate which is 2% per annum in excess of the interest rate otherwise payable
hereunder for Base Rate Loans. Payment or acceptance of the increased rates of interest
provided for in this Section 2.10 is not a permitted alternative to timely payment and shall not
constitute a waiver of any Event of Default or otherwise prejudice or limit any rights or remedies
of Administrative Agent or any Lender.

        2.11. Fees.

                        (a) Borrower agrees to pay on the Closing Date to each Lender party to
        this Agreement as a Lender on the Closing Date, as fee compensation for the funding of
        (i) such Lender’s Term B-1 Loan, a closing fee in an amount equal to 1.00% of the stated
        principal amount of such Lender’s Term B-1 Loan, payable to such Lender from the
        proceeds of its Term B-1 Loan as and when funded on the Closing Date and (ii) such
        Lender’s Term B-2 Loan, a closing fee in an amount equal to 3.00% of the stated
        principal amount of such Lender’s Term B-2 Loan, payable to such Lender from the
        proceeds of its Term B-2 Loan as and when funded on the Closing Date. Such closing
        fees will be in all respects fully earned, due and payable upon the funding of the Loans on
        the Closing Date and non-refundable and non-creditable thereafter.

                      (b) In addition to any of the foregoing fees, Borrower agrees to pay to
        Agents such other fees in the amounts and at the times separately agreed upon.

       2.12. Scheduled Payments. The principal amounts of the Term Loans shall be repaid
in consecutive quarterly installments and at final maturity (each such payment, an
“Installment”) (a) in the case of the Term B-1 Loans, in the aggregate amounts set forth below
on the four quarterly scheduled Interest Payment Dates applicable to Term B-1 Loans,
commencing September 30, 2015:
                   Amortization Date                   Installments
               September 30, 2015            $750,000.00
               December 31, 2015             $750,000.00
               March 31, 2016                $750,000.00
               June 30, 2016                 $750,000.00
               September 30, 2016            $750,000.00
               December 31, 2016             $750,000.00
               Maturity Date                 Remainder

and (b) in the case of the Term B-2 Loans, in the aggregate amounts set forth below on the four

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quarterly scheduled Interest Payment Dates applicable to Term B-2 Loans, commencing
September 30, 2015:


                   Amortization Date                     Installments
                September 30, 2015             $4,250,000.00
                December 31, 2015              $4,250,000.00
                March 31, 2016                 $4,250,000.00
                June 30, 2016                  $4,250,000.00
                September 30, 2016             $4,250,000.00
                December 31, 2016              $4,250,000.00
                March 31, 2017                 $4,250,000.00
                June 30, 2017                  $4,250,000.00
                September 30, 2017             $4,250,000.00
                December 31, 2017              $4,250,000.00
                March 31, 2018                 $4,250,000.00
                June 30, 2018                  $4,250,000.00
                September 30, 2018             $4,250,000.00
                December 31, 2018              $4,250,000.00
                March 31, 2019                 $4,250,000.00
                June 30, 2019                  $4,250,000.00
                September 30, 2019             $4,250,000.00
                December 31, 2019              $4,250,000.00
                March 31, 2020                 $4,250,000.00
                Maturity Date                  Remainder


; provided, in the event any New Term Loans are made, such New Term Loans shall be repaid on
each Amortization Date occurring on or after the applicable Increased Amount Date to the extent
and in the manner specified in the Joinder Agreement.

Notwithstanding the foregoing, (x) such Installments shall be reduced in connection with any
voluntary or mandatory prepayments of the Term Loans, as the case may be, in accordance with
Sections 2.13, 2.14 and 2.15, as applicable; and (y) the Term Loans, together with all other
amounts owed hereunder with respect thereto, shall, in any event, be paid in full no later than the
Maturity Date applicable to such Term Loans.

        2.13. Voluntary Prepayments.

                      (a) Voluntary Prepayments.



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                       (i) Any time and from time to time:

                                            (1)      with respect to Base Rate
                    Loans, Borrower may prepay any such Loans on any Business
                    Day in whole or in part, in an aggregate minimum amount of
                    $1,000,000 and integral multiples of $500,000 in excess of that
                    amount (unless a lesser amount is required to repay such Loan
                    in full); and

                                            (2)    with respect to Eurodollar
                    Rate Loans, Borrower may prepay any such Loans on any
                    Business Day in whole or in part in an aggregate minimum
                    amount of $1,000,000 and integral multiples of $500,000 in
                    excess of that amount (unless a lesser amount is required to
                    repay such Loan in full).

                       (ii) All such prepayments shall be made:

                                           (1)       upon not less than one
                    Business Day’s prior written or telephonic notice in the case of
                    Base Rate Loans; and

                                           (2)       upon not less than three
                    Business Days’ prior written or telephonic notice in the case of
                    Eurodollar Rate Loans;

in each case given to Administrative Agent, as the case may be, by 1:00 p.m. (New York City
time) on the date required and, if given by telephone, promptly confirmed in writing to
Administrative Agent (and Administrative Agent will promptly transmit such telephonic or
written notice by telefacsimile or telephone to each Lender). Upon the giving of any such notice,
the principal amount of the Loans specified in such notice shall become due and payable on the
prepayment date specified therein. Any such voluntary prepayment shall be applied as specified
in Section 2.15(a).

                (b) Call Protection.

                (i) In the event that all or any portion of the Term B-1 Loans are (x) repaid,
        prepaid, refinanced or replaced or (y) repriced or effectively refinanced through any
        waiver, consent or amendment (in the case of clause (x) and clause (y), in connection
        with any waiver, consent or amendment to the Term B-1 Loans the primary result of
        which is the lowering of the effective interest cost or the Weighted Average Yield of the
        Term B-1 Loans or the incurrence of any syndicated term loans that are secured by Liens
        on a pari passu basis with the Liens securing the Obligations having an effective interest
        cost or Weighted Average Yield that is less than the effective interest cost or Weighted
        Average Yield of the Term B-1 Loans (or portion thereof) so repaid, prepaid, refinanced,
        replaced or repriced (in each case other than in connection with a change of control) (a
        “Repricing Transaction”)) occurring on or prior to the first anniversary of the Closing


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        Date, such repayment, prepayment, refinancing, replacement or repricing will be made at
        101.0% of the principal amount so repaid, prepaid, refinanced, replaced or repriced. If all
        or any portion of the Term B-1 Loans held by any Lender is repaid, prepaid, refinanced
        or replaced pursuant to a “yank-a-bank” or similar provision in the Credit Documents as a
        result of, or in connection with, such Lender not agreeing or otherwise consenting to any
        waiver, consent or amendment referred to in clause (y) above (or otherwise in connection
        with a Repricing Transaction), such repayment, prepayment, refinancing or replacement
        will be made at 101.0% of the principal amount so repaid, prepaid, refinanced or
        replaced.

                (ii) In the event that all or any portion of the Term B-2 Loans are (x) repaid,
        prepaid, refinanced or replaced (other than pursuant to Section 2.14, but including
        pursuant to Section 2.14(c)) or (y) repriced or effectively refinanced through any waiver,
        consent or amendment occurring on or prior to the second anniversary of the Closing
        Date, such repayment, prepayment, refinancing, replacement or repricing shall be made
        at (A) on or prior to the first anniversary of the Closing Date, 102.0% of the principal
        amount so repaid, prepaid, refinanced, replaced or repriced and (B) after the first
        anniversary of the Closing Date but on or prior to the second anniversary of the Closing
        Date, 101.0% of the principal amount so repaid, prepaid, refinanced, replaced or repriced.
        If all or any portion of the Term B-2 Loans held by any Lender are repaid, prepaid,
        refinanced, replaced or repriced pursuant to a “yank-a-bank” or similar provision in the
        Credit Documents as a result of, or in connection with, such Lender not agreeing or
        otherwise consenting to any waiver, consent or amendment referred to in clause (y) above
        (or otherwise in connection with any such repayment, prepayment, refinancing,
        replacement or repricing), such repayment, prepayment, refinancing, replacement or
        repricing will be made (x) on or prior to the first anniversary of the Closing Date, at
        102.0% and (y) after the first anniversary of the Closing Date but on or prior to the
        second anniversary of the Closing Date, 101.0%, in each case, of the principal amount so
        repaid, prepaid, refinanced, replaced or repriced.

        2.14. Mandatory Prepayments.

                       (a) Asset Sales.

                       (i) No later than five Business Days following the date of receipt by
        Borrower or any of its Restricted Subsidiaries of any Net Asset Sale Proceeds (other than
        Net Asset Sale Proceeds in respect of a Drop-Down Transaction or the Royalty Drop-
        Down Transaction) in an aggregate amount in excess of $5,000,000 in any Fiscal Year,
        Borrower shall prepay the Loans as set forth in Section 2.15(b) in an aggregate amount
        equal to such Net Asset Sale Proceeds; provided, so long as no Event of Default shall
        have occurred and be continuing on the date such Net Asset Sale Proceeds are received,
        Borrower shall have the option, directly or through one or more of its Restricted
        Subsidiaries, to invest such Net Asset Sale Proceeds within one year of receipt thereof
        (or, if committed to be reinvested within such year, within one hundred eighty days
        thereafter) in assets that are useful in the business of Borrower and its Restricted
        Subsidiaries, in Permitted Acquisitions and in Permitted Investments; provided further,
        that pending any such investment all such Net Asset Sale Proceeds shall be held in the

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        Term Loan Asset Proceeds Account.

                       (ii) No later than five Business Days following the date of receipt by
        Borrower or any of its Restricted Subsidiaries of any Net Asset Sale Proceeds in respect
        of a Drop-Down Transaction, Borrower shall prepay the Loans as set forth in Section
        2.15(b) in an aggregate amount equal to 100% of such Net Asset Sale Proceeds.

                         (b) Insurance/Condemnation Proceeds. No later than five Business Days
        following the date of receipt by Borrower or any of its Restricted Subsidiaries, or
        Administrative Agent as loss payee, of any Net Insurance/Condemnation Proceeds in an
        aggregate amount in excess of $5,000,000 in any Fiscal Year, Borrower shall prepay the
        Loans as set forth in Section 2.15(b) in an aggregate amount equal to such Net
        Insurance/Condemnation Proceeds; provided, so long as no Event of Default shall have
        occurred and be continuing on the date of receipt of such proceeds, Borrower shall have
        the option, directly or through one or more of its Restricted Subsidiaries to invest such
        Net Insurance/Condemnation Proceeds within one year of receipt thereof (or, if
        committed to be reinvested within such year, within one hundred eighty days thereafter)
        in assets that are useful in the business of Borrower and its Restricted Subsidiaries (which
        investment may include the repair, restoration or replacement of the applicable assets
        thereof) or in Permitted Acquisitions and in Permitted Investments; provided further,
        pending any such investment all such Net Asset Sale Proceeds shall be held in the Term
        Loan Asset Proceeds Account.

                       (c) Issuance of Debt. Within five Business Days of receipt by Holdings
        or any of its Restricted Subsidiaries of any Cash proceeds from the incurrence of any
        Indebtedness of Holdings or any of its Subsidiaries (other than with respect to any
        Indebtedness permitted to be incurred pursuant to Section 6.1), Borrower shall prepay the
        Loans as set forth in Section 2.15(b) in an aggregate amount equal to 100% of such
        proceeds, net of underwriting discounts, debt issuance and commitment fees and
        commissions and other reasonable costs and expenses associated therewith, including
        reasonable legal fees and expenses.

                       (d) Consolidated Excess Cash Flow. In the event that there shall be
        Consolidated Excess Cash Flow for any Fiscal Year (commencing with the Fiscal Year
        ending December 31, 2015), Borrower shall, no later than one hundred days after the end
        of such Fiscal Year, prepay the Loans as set forth in Section 2.15(b) in an aggregate
        amount equal to (i) 75% of such Consolidated Excess Cash Flow minus (ii) the sum of
        (x) voluntary repayments of the Loans made with Internally Generated Cash (including
        the amounts actually paid to repurchase Loans pursuant to Section 10.6(i) but excluding,
        for the avoidance of doubt, repayments of Loans made with the Cash proceeds of any
        Refinancing Indebtedness), (y) repayments of Permitted First Lien Priority Refinancing
        Debt and (z) repayments of Incremental Pari Notes, in each case made on or prior to the
        date such prepayment is due; provided, that if, as of the last day of the most recently
        ended Fiscal Year, the Secured Net Leverage Ratio (determined for any such period by
        reference to the Compliance Certificate delivered pursuant to Section 5.1(d) calculating
        the Secured Net Leverage Ratio as of the last day of such Fiscal Year) shall be
        (1) 2.50:1.00 or less, Borrower shall only be required to make the prepayments and/or

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        reductions otherwise required hereby in an amount equal to 50% of such Consolidated
        Excess Cash Flow or (2) 2.00:1.00 or less, Borrower shall only be required to make the
        prepayments and/or reductions otherwise required hereby in an amount equal to 25% of
        such Consolidated Excess Cash Flow, in each case, minus the sum of (x) voluntary
        repayments of the Loans made with Internally Generated Cash (including the amounts
        actually paid to repurchase Loans pursuant to Section 10.6(i) but excluding, for the
        avoidance of doubt, repayments of Loans made with the Cash proceeds of any
        Refinancing Indebtedness), (y) repayments of Permitted First Lien Priority Refinancing
        Debt and (z) repayments of Incremental Pari Notes, in each case made on or prior to the
        date such prepayment is due.

                      (e) Prepayment Certificate. Concurrently with any prepayment of the
        Loans pursuant to Sections 2.14(a) through 2.14(d), Borrower shall deliver to
        Administrative Agent a certificate of an Authorized Officer demonstrating the calculation
        of the amount of the applicable net proceeds or Consolidated Excess Cash Flow, as the
        case may be. In the event that Borrower shall subsequently determine that the actual
        amount received exceeded the amount set forth in such certificate, Borrower shall
        promptly make an additional prepayment of the Loans in an amount equal to such excess
        to the extent not otherwise permitted to be reinvested in the case of Net Asset Sale
        Proceeds and Net Insurance/Condemnation Proceeds, and Borrower shall concurrently
        therewith deliver to Administrative Agent a certificate of an Authorized Officer
        demonstrating the derivation of such excess.

                        (f) Revolving Credit Agreement. Notwithstanding anything to the
        contrary in Sections 2.14(a) and 2.14(b), if any Indebtedness under the Revolving Credit
        Agreement is outstanding, to the extent a prepayment or cash collateralization of letters
        of credit is required under the Revolving Credit Agreement due to any Net Asset Sale
        Proceeds or Net Insurance/Condemnation Proceeds constituting the proceeds of
        Revolving Loan Priority Collateral, no prepayment shall be required under Sections
        2.14(a) and 2.14(b).

        2.15. Application of Prepayments.

                        (a) Application of Voluntary Prepayments by Type of Loans. Any
        prepayment of any Loan pursuant to Section 2.13(a) shall be applied as specified by
        Borrower in the applicable notice of prepayment; provided in the event Borrower fails to
        specify the Loans to which any such prepayment shall be applied, such prepayment shall
        be applied, first to repay outstanding Incremental Revolving Loans (if any, including any
        swingline loans made thereunder in the order set forth in the Incremental Revolver
        Amendment) to the full extent thereof (without a corresponding reduction in the
        Incremental Revolving Commitments), and, second, to prepay the Term Loans on a pro
        rata basis (in accordance with the respective outstanding principal amounts thereof); and
        further applied in direct order of maturity to reduce the scheduled remaining Installments
        of principal of the Term Loans.

                      (b) Application of Mandatory Prepayments by Type of Loans. Any
        amount required to be paid pursuant to Sections 2.14(a) through 2.14(d) shall be applied

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        to prepay Term Loans on a pro rata basis (in accordance with the respective outstanding
        principal amounts thereof) and further applied first in direct order of maturity to the next
        eight remaining Installments of principal of the Term Loans (or such fewer remaining
        Installments thereof as applicable) and second on a pro rata basis to the scheduled
        Installments of principal of the Term Loans remaining thereafter; provided that so long as
        any Term B-1 Loans are outstanding, any amount required to be paid pursuant to Section
        2.14(a)(ii) first shall be applied to prepay Term B-1 Loans in direct order of maturity to
        the remaining Installments of principal of the Term B-1 Loans until the Term B-1 Loans
        are repaid in full and then to prepay Term B-2 Loans in accordance with the preceding
        sentence; provided, further that if at the time any amount is required to be paid pursuant
        to Section 2.14(a) through (d) (excluding any amounts required to be paid pursuant to
        Section 2.14(a)(ii)), Borrower is required to offer to repurchase Permitted First Lien
        Priority Refinancing Debt or Incremental Pari Notes pursuant to the terms of the
        documentation governing such Indebtedness (such Permitted First Lien Priority
        Refinancing Debt or Incremental Pari Notes required to be offered to be so repurchased,
        “Other Applicable Indebtedness”), then Borrower may apply such prepayment on a pro
        rata basis (determined on the basis of the aggregate outstanding principal amount of the
        Term Loans and Other Applicable Indebtedness at such time; provided, further that the
        portion of such Cash proceeds allocated to Other Applicable Indebtedness shall not
        exceed the amount of such Cash proceeds required to be allocated to the Other
        Applicable Indebtedness pursuant to the terms thereof, and the remaining amount, if any,
        of such Cash proceeds shall be allocated to the Term Loans in accordance with the terms
        hereof) to the prepayment of the Term Loans and to the repurchase of Other Applicable
        Indebtedness, and the amount of prepayment of the Loans that would have otherwise
        been required pursuant to Section 2.14(a)(i), (b), (c) or (d) as applicable, shall be reduced
        accordingly; provided further that to the extent the holders of Other Applicable
        Indebtedness decline to have such Indebtedness repaid, the declined amount shall
        promptly (and in any event within 10 Business Days after the date of such rejection) be
        applied to prepay the Term Loans in accordance with the terms hereof.

                       (c) Waivable Mandatory Prepayment. Anything contained herein to the
        contrary notwithstanding, so long as any Term B-2 Loans are outstanding, in the event
        Borrower is required to make any mandatory prepayment pursuant to Section 2.14(a), (b)
        or (d) (a “Waivable Mandatory Prepayment”) of the Term B-2 Loans, not less than
        five Business Days prior to the date (the “Required Prepayment Date”) on which
        Borrower is required to make such Waivable Mandatory Prepayment, Borrower shall
        notify Administrative Agent of the amount of such prepayment, and Administrative
        Agent will promptly thereafter notify each Lender holding an outstanding Term B-2 Loan
        of the amount of such Lender’s Pro Rata Share of such Waivable Mandatory Prepayment
        and such Lender’s option to refuse such amount. Each such Lender may exercise such
        option by giving written notice to Borrower and Administrative Agent of its election to
        do so on or before the Business Day prior to the Required Prepayment Date (it being
        understood that any Lender which does not notify Borrower and Administrative Agent of
        its election to exercise such option on or before the third Business Day prior to the
        Required Prepayment Date shall be deemed to have elected, as of such date, not to
        exercise such option). On the Required Prepayment Date, Borrower shall pay to
        Administrative Agent the amount of the Waivable Mandatory Prepayment, which amount

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        shall be applied (i) in an amount equal to that portion of the Waivable Mandatory
        Prepayment payable to those Lenders that have not elected to exercise such option to
        decline, to prepay the Term B-2 Loans of such Lenders (which prepayment shall be
        applied to the scheduled Installments of principal of the Term B-2 Loans in accordance
        with Section 2.15(b)), (ii) in an amount equal to that portion of the Waivable Mandatory
        Prepayment otherwise payable to those Lenders that have elected to exercise such option
        with respect to any mandatory prepayment pursuant to Section 2.14(d), to prepay the
        Term B-2 Loans of the Lenders who have not elected to exercise such option and the
        Term B-1 Loans, on a pro rata basis (which prepayment shall be further applied to the
        scheduled Installments of principal of the Term Loans in accordance with Section
        2.15(b)), (iii) in an amount equal to that portion of the Waivable Mandatory Prepayment
        otherwise payable to those Lenders that have elected to exercise such option with respect
        to any mandatory prepayment other than a mandatory prepayment pursuant to Section
        2.14(d), to prepay the Term B-1 Loans (which prepayment shall be further applied to the
        scheduled Installments of principal of the Term B-1 Loans in accordance with Section
        2.15(b)) and (iv) Borrower may, subject to any requirement to offer such prepayment
        amount to the holders of Term Loans (as contemplated by clauses (ii) and (iii) above) or
        Second Lien Indebtedness, retain an amount equal to that portion of the Waivable
        Mandatory Prepayment otherwise payable to those Lenders that have elected to exercise
        such option with respect to any mandatory prepayment pursuant to Section 2.14(a) or (b).

                       (d) Application of Prepayments of Loans to Base Rate Loans and
        Eurodollar Rate Loans. Considering each Class of Loans being prepaid separately, any
        prepayment thereof shall be applied first to Base Rate Loans to the full extent thereof
        before application to Eurodollar Rate Loans, in each case in a manner which minimizes
        the amount of any payments required to be made by Borrower pursuant to Section
        2.18(c).

        2.16. General Provisions Regarding Payments.

                       (a) All payments by Borrower of principal, interest, fees and other
        Obligations shall be made in Dollars in same day funds, without defense, recoupment,
        setoff or counterclaim, free of any restriction or condition, and delivered to
        Administrative Agent not later than 2:00 p.m. (New York City time) on the date due at
        the Principal Office of Administrative Agent for the account of Lenders; for purposes of
        computing interest and fees, funds received by Administrative Agent after that time on
        such due date shall be deemed to have been paid by Borrower on the next succeeding
        Business Day.

                       (b) All payments in respect of the principal amount of any Loan shall be
        accompanied by payment of accrued interest on the principal amount being repaid or
        prepaid, and all such payments (and, in any event, any payments in respect of any Loan
        on a date when interest is due and payable with respect to such Loan) shall be applied to
        the payment of interest then due and payable before application to principal.

                      (c) Administrative Agent (or its agent or sub-agent appointed by it) shall
        promptly distribute to each Lender at such address as such Lender shall indicate in

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        writing, such Lender’s applicable Pro Rata Share of all payments and prepayments of
        principal and interest due hereunder, together with all other amounts due thereto,
        including all fees payable with respect thereto, to the extent received by Administrative
        Agent.

                      (d) Notwithstanding the foregoing provisions hereof, if any Conversion/
        Continuation Notice is withdrawn as to any Affected Lender or if any Affected Lender
        makes Base Rate Loans in lieu of its Pro Rata Share of any Eurodollar Rate Loans,
        Administrative Agent shall give effect thereto in apportioning payments received
        thereafter.

                       (e) Whenever any payment to be made hereunder with respect to any
        Loan shall be stated to be due on a day that is not a Business Day, such payment shall be
        made on the next succeeding Business Day; provided, that if such extension would cause
        such payment to be made in the next succeeding Fiscal Quarter, such payment shall be
        made on the immediately preceding Business Day instead.

                        (f) Administrative Agent shall deem any payment by or on behalf of
        Borrower hereunder that is not made in same day funds prior to 4:00 p.m. (New York
        City time) to be a non-conforming payment. Any such payment shall not be deemed to
        have been received by Administrative Agent until the later of (i) the time such funds
        become available funds, and (ii) the applicable next Business Day. Administrative Agent
        shall give prompt telephonic notice to Borrower and each applicable Lender (confirmed
        in writing) if any payment is non-conforming. To the extent not made in same day funds
        no later than 6:00 p.m. (New York City time), any non-conforming payment may
        constitute or become a Default or Event of Default in accordance with the terms of
        Section 8.1(a). Interest shall continue to accrue on any principal as to which a
        non-conforming payment is made until such funds become available funds (but in no
        event less than the period from the date of such payment to the next succeeding
        applicable Business Day) at the rate determined pursuant to Section 2.10 from the date
        such amount was due and payable until the date such amount is paid in full.

                        (g) If an Event of Default shall have occurred and not otherwise been
        waived, and the maturity of the Obligations shall have been accelerated pursuant to
        Section 8.1 or pursuant to any sale of, any collection from, or other realization upon all or
        any part of the Collateral as a result thereof, all payments or proceeds received by Agents
        hereunder in respect of any of the Obligations shall be applied in accordance with the
        application arrangements described in Section 9.2 of the Pledge and Security Agreement.

        2.17. Ratable Sharing. Lenders hereby agree among themselves that if any of them
shall, whether by voluntary payment (other than a voluntary prepayment of Loans or non pro rata
purchase permitted by Section 10.6(i), in each case made and applied in accordance with the
terms hereof), through the exercise of any right of set-off or banker’s lien, by counterclaim or
cross action or by the enforcement of any right under the Credit Documents or otherwise, or as
adequate protection of a deposit treated as cash collateral under the Bankruptcy Code or any
other applicable legislation, receive payment or reduction of a proportion of the aggregate
amount of principal, interest, fees and other amounts then due and owing to such Lender

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hereunder or under the other Credit Documents (collectively, the “Aggregate Amounts Due” to
such Lender) resulting in such Lender receiving payment of a greater proportion of the
Aggregate Amounts due to such Lender than the proportion received by any other Lender in
respect of the Aggregate Amounts Due to such other Lender, then the Lender receiving such
proportionately greater payment shall (a) notify Administrative Agent and each other Lender of
the receipt of such payment and (b) apply a portion of such payment to purchase participations
(which it shall be deemed to have purchased from each seller of a participation simultaneously
upon the receipt by such seller of its portion of such payment) in the Aggregate Amounts Due to
the other Lenders so that all such recoveries of Aggregate Amounts Due shall be shared by all
Lenders ratably in accordance with the Aggregate Amounts Due to them; provided, if all or part
of such proportionately greater payment received by such purchasing Lender is thereafter
recovered from such Lender upon the bankruptcy or reorganization of Borrower or otherwise,
those purchases shall be rescinded and the purchase prices paid for such participations shall be
returned to such purchasing Lender ratably to the extent of such recovery, but without interest.
Borrower expressly consents to the foregoing arrangement and agrees that any holder of a
participation so purchased may exercise any and all rights of banker’s lien, set-off or
counterclaim with respect to any and all monies owing by Borrower to that holder with respect
thereto as fully as if that holder were owed the amount of the participation held by that holder.
The provisions of this Section 2.17 shall not be construed to apply to (a) any payment made by
Borrower pursuant to and in accordance with the express terms of this Agreement (for the
avoidance of doubt, as in effect from time to time) (including the application of funds arising
from the existence of a Defaulting Lender) or (b) any payment obtained by any Lender as
consideration for the assignment or sale of a participation in any of its Loans or other Obligations
owed to it.

        2.18. Making or Maintaining Eurodollar Rate Loans.

                      (a) Inability to Determine Applicable Interest Rate. In the event that
        Administrative Agent shall have determined (which determination shall be final and
        conclusive and binding upon all parties hereto but shall be made only after consultation
        with Borrower), on any Interest Rate Determination Date with respect to any Eurodollar
        Rate Loans, that by reason of circumstances affecting the London interbank market
        adequate and fair means do not exist for ascertaining the interest rate applicable to such
        Loans on the basis provided for in the definition of “Adjusted Eurodollar Rate”,
        Administrative Agent shall on such date give notice (by telefacsimile or by telephone
        confirmed in writing) to Borrower and each Lender of such determination, whereupon
        (i) no Loans may be made as, or converted to, Eurodollar Rate Loans until such time as
        Administrative Agent notifies Borrower and Lenders that the circumstances giving rise to
        such notice no longer exist, and (ii) any Funding Notice or Conversion/Continuation
        Notice given by Borrower with respect to the Loans in respect of which such
        determination was made shall be deemed to be rescinded by Borrower.

                       (b) Illegality or Impracticability of Eurodollar Rate Loans. In the event
        that on any date (i) any Lender shall have determined (which determination shall be final
        and conclusive and binding upon all parties hereto but shall be made only after
        consultation with Borrower and Administrative Agent) that the making, maintaining,
        converting to or continuation of its Eurodollar Rate Loans has become unlawful as a

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        result of compliance by such Lender in good faith with any law, treaty, governmental
        rule, regulation, guideline or order (or would conflict with any such treaty, governmental
        rule, regulation, guideline or order not having the force of law even though the failure to
        comply therewith would not be unlawful), or (ii) Administrative Agent is advised by the
        Requisite Lenders (which determination shall be final and conclusive and binding upon
        all parties hereto) that the making, maintaining, converting to or continuation of its
        Eurodollar Rate Loans has become impracticable, as a result of contingencies occurring
        after the date hereof which materially and adversely affect the London interbank market
        or the position of the Lenders in that market, then, and in any such event, such Lenders
        (or in the case of the preceding clause (i), such Lender) shall be an “Affected Lender”
        and such Affected Lender shall on that day give notice (in writing by telefacsimile or by
        telephone confirmed in writing) to Borrower and Administrative Agent of such
        determination (which notice Administrative Agent shall promptly transmit to each other
        Lender). If Administrative Agent receives a notice from (x) any Lender pursuant to
        clause (i) of the preceding sentence or (y) Lenders constituting Requisite Lenders
        pursuant to clause (ii) of the preceding sentence, then (1) the obligation of the Lenders
        (or, in the case of any notice pursuant to clause (i) of the preceding sentence, such
        Lender) to make Loans as, or to convert Loans to, Eurodollar Rate Loans shall be
        suspended until such notice shall be withdrawn by each Affected Lender, (2) to the extent
        such determination by the Affected Lender relates to a Eurodollar Rate Loan then being
        requested by Borrower pursuant to a Funding Notice or a Conversion/Continuation
        Notice, the Lenders (or in the case of any notice pursuant to clause (i) of the preceding
        sentence, such Lender) shall make such Loan as (or continue such Loan as or convert
        such Loan to, as the case may be) a Base Rate Loan, (3) the Lenders’ (or in the case of
        any notice pursuant to clause (i) of the preceding sentence, such Lender’s) obligations to
        maintain their respective outstanding Eurodollar Rate Loans (the “Affected Loans”)
        shall be terminated at the earlier to occur of the expiration of the Interest Period then in
        effect with respect to the Affected Loans or when required by law, and (4) the Affected
        Loans shall automatically convert into Base Rate Loans on the date of such termination.
        Notwithstanding the foregoing, to the extent a determination by an Affected Lender as
        described above relates to a Eurodollar Rate Loan then being requested by Borrower
        pursuant to a Funding Notice or a Conversion/Continuation Notice, Borrower shall have
        the option, subject to the provisions of Section 2.18(c), to rescind such Funding Notice or
        Conversion/Continuation Notice as to all Lenders by promptly giving notice (in writing
        by telefacsimile or by telephone confirmed in writing) to Administrative Agent of such
        rescission on the date on which the Affected Lender gives notice of its determination as
        described above (which notice of rescission Administrative Agent shall promptly transmit
        to each other Lender). Except as provided in the immediately preceding sentence,
        nothing in this Section 2.18(b) shall affect the obligation of any Lender other than an
        Affected Lender to make or maintain Loans as, or to convert Loans to, Eurodollar Rate
        Loans in accordance with the terms hereof.

                       (c) Compensation for Breakage or Non-Commencement of Interest
        Periods. Borrower shall compensate each Lender, upon written request by such Lender
        (which request shall set forth the basis for requesting such amounts), for all reasonable,
        actual out-of-pocket losses, expenses and liabilities (including any interest paid by such
        Lender to Lenders of funds borrowed by it to make or carry its Eurodollar Rate Loans

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        and any actual out-of-pocket loss, expense or liability sustained by such Lender in
        connection with the liquidation or re-employment of such funds but excluding loss of
        anticipated profits and excluding any interest rate floor in such determination) which such
        Lender sustains: (i) if for any reason (other than a default by such Lender) a borrowing of
        any Eurodollar Rate Loan does not occur on a date specified therefor in a Funding Notice
        or a telephonic request for borrowing, or a conversion to or continuation of any
        Eurodollar Rate Loan does not occur on a date specified therefor in a
        Conversion/Continuation Notice or a telephonic request for conversion or continuation;
        (ii) if any prepayment or other principal payment of, or any conversion of, any of its
        Eurodollar Rate Loans occurs on a date prior to the last day of an Interest Period
        applicable to that Loan; or (iii) if any prepayment of any of its Eurodollar Rate Loans is
        not made on any date specified in a notice of prepayment given by Borrower.

                      (d) Booking of Eurodollar Rate Loans. Subject to Sections 2.20 and
        2.21, any Lender may make, carry or transfer Eurodollar Rate Loans at, to, or for the
        account of any of its branch offices or the office of an Affiliate of such Lender.

                       (e) Assumptions Concerning Funding of Eurodollar Rate Loans.
        Calculation of all amounts payable to a Lender under this Section 2.18 and under Section
        2.19 shall be made as though such Lender had actually funded each of its relevant
        Eurodollar Rate Loans through the purchase of a Eurodollar deposit bearing interest at
        the rate obtained pursuant to clause (i) of the definition of “Adjusted Eurodollar Rate” in
        an amount equal to the amount of such Eurodollar Rate Loan and having a maturity
        comparable to the relevant Interest Period and through the transfer of such Eurodollar
        deposit from an offshore office of such Lender to a domestic office of such Lender in the
        United States; provided, however, each Lender may fund each of its Eurodollar Rate
        Loans in any manner it sees fit and the foregoing assumptions shall be utilized only for
        the purposes of calculating amounts payable under this Section 2.18 and under Section
        2.19.

        2.19. Increased Costs; Capital Adequacy.

                        (a) Compensation For Increased Costs and Taxes. Subject to the
        provisions of Section 2.20 (which shall be controlling with respect to the matters covered
        thereby), in the event that any Lender shall determine (which determination shall, absent
        manifest error, be final and conclusive and binding upon all parties hereto) that (A) any
        law, treaty or governmental rule, regulation or order, or any change therein or in the
        interpretation, administration or application thereof (regardless of whether the underlying
        law, treaty or governmental rule, regulation or order was issued or enacted prior to the
        date hereof), including the introduction of any new law, treaty or governmental rule,
        regulation or order but excluding solely proposals thereof, or any determination of a court
        or Governmental Authority, in each case that becomes effective after the date hereof
        (provided that the introduction of any new law, treaty or governmental rule, regulation or
        order, or any determination of a court or Governmental Authority with respect to the
        Dodd-Frank Wall Street Reform and Consumer Protection Act and all requests, rules,
        guidelines or directives thereunder or issued in connection therewith and all requests,
        rules, guidelines or directives promulgated by the Bank for International Settlements, the

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        Basel Committee on Banking Supervision (or any successor or similar authority) or the
        United States regulatory authorities, in each case pursuant to Basel III, in each case that
        becomes effective after the Closing Date shall be considered a change in law whether
        promulgated before or after the Closing Date), or (B) any guideline, request or directive
        by any central bank or other governmental or quasi-governmental authority (whether or
        not having the force of law) or any implementation rules or interpretations of previously
        issued guidelines, requests or directives, in each case that is issued or made after the date
        hereof: (i) subjects such Lender (or its applicable lending office) to any additional Tax
        (other than any Excluded Taxes or any tax in respect of which such Lender is
        indemnified or receives additional amounts pursuant to Section 2.20) with respect to this
        Agreement or any of the other Credit Documents or any of its obligations hereunder or
        thereunder or any payments to such Lender (or its applicable lending office) of principal,
        interest, fees or any other amount payable hereunder or thereunder; (ii) imposes, modifies
        or holds applicable any reserve (including any marginal, emergency, supplemental,
        special or other reserve), special deposit, liquidity, compulsory loan, FDIC insurance or
        similar requirement against assets held by, or deposits or other liabilities in or for the
        account of, or advances or loans by, or other credit extended by, or any other acquisition
        of funds by, any office of such Lender (other than any such reserve or other requirements
        with respect to Eurodollar Rate Loans that are reflected in the definition of “Adjusted
        Eurodollar Rate”) or any company controlling such Lender; or (iii) imposes any other
        condition (other than with respect to Taxes) on or affecting such Lender (or its applicable
        lending office) or any company controlling such Lender or such Lender’s obligations
        hereunder or the London interbank market; and the result of any of the foregoing is to
        increase the cost to such Lender of agreeing to make, making or maintaining Eurodollar
        Rate Loans hereunder or to reduce any amount received or receivable by such Lender (or
        its applicable lending office) with respect thereto; then, in any such case, Borrower shall
        promptly pay to such Lender, upon receipt of the statement referred to in the next
        sentence, such additional amount or amounts (in the form of an increased rate of, or a
        different method of calculating, interest or in a lump sum or otherwise as such Lender in
        its sole discretion shall determine) as may be necessary to compensate such Lender for
        any such increased cost or reduction in amounts received or receivable hereunder. Such
        Lender shall deliver to Borrower (with a copy to Administrative Agent) a written
        statement, setting forth in reasonable detail the basis for calculating the additional
        amounts owed to such Lender under this Section 2.19(a), which statement shall be
        conclusive and binding upon all parties hereto absent manifest error; provided, that, with
        respect to a Lender other than a Lender listed on the signature pages hereof on the
        Closing Date, no such additional amount shall be required to be paid unless such law,
        treaty, governmental rule, regulation, order, change therein, interpretation, administration
        or application thereof, or determination becomes effective, or such guideline, request or
        directive is issued or made, after the effective date of the Assignment Agreement
        pursuant to which such Lender became a Lender.

                       (b) Capital Adequacy Adjustment. In the event that any Lender shall
        have determined (which determination shall, absent manifest error, be final and
        conclusive and binding upon all parties hereto) that (A) the adoption, effectiveness,
        phase-in or applicability after the Closing Date of any law, rule or regulation (or any
        provision thereof) regarding capital adequacy, but including the Dodd-Frank Wall Street

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        Reform and Consumer Protection Act and all requests, rules, guidelines or directives
        thereunder or issued in connection therewith (whether or not promulgated before or after
        the Closing Date) and all requests, rules, guidelines or directives promulgated by the
        Bank for International Settlements, the Basel Committee on Banking Supervision (or any
        successor or similar authority) or the United States regulatory authorities, in each case
        pursuant to Basel III (whether or not promulgated before or after the Closing Date), or
        any change therein or in the interpretation or administration thereof by any Governmental
        Authority, central bank or comparable agency charged with the interpretation or
        administration thereof, or (B) compliance by any Lender (or its applicable lending office)
        or any company controlling such Lender with any guideline, request or directive
        regarding capital adequacy or liquidity (whether or not having the force of law) of any
        such Governmental Authority, central bank or comparable agency, in each case after the
        date hereof, has or would have the effect of reducing the rate of return on the capital of
        such Lender or any company controlling such Lender as a consequence of, or with
        reference to, such Lender’s Loans or other obligations hereunder with respect to the
        Loans to a level below that which such Lender or such controlling company could have
        achieved but for such adoption, effectiveness, phase-in, applicability, change or
        compliance (taking into consideration the policies of such Lender or such controlling
        company with regard to capital adequacy), then from time to time, within five Business
        Days after receipt by Borrower from such Lender of the statement referred to in the next
        sentence, Borrower shall pay to such Lender such additional amount or amounts as will
        compensate such Lender or such controlling company on an after-tax basis for such
        reduction. Such Lender shall deliver to Borrower (with a copy to Administrative Agent) a
        written statement, setting forth in reasonable detail the basis for calculating the additional
        amounts owed to Lender under this Section 2.19(b), which statement shall be conclusive
        and binding upon all parties hereto absent manifest error.

        2.20. Taxes; Withholding, Etc.

                   (a) Payments to Be Free and Clear. Subject to Section 2.20(b), all sums
    payable by any Credit Party hereunder and under the other Credit Documents shall (except to
    the extent required by law) be paid free and clear of, and without any deduction or
    withholding on account of, any Tax (other than Excluded Taxes) imposed, levied, collected,
    withheld or assessed by any Governmental Authority or any political subdivision or taxing
    authority thereof or therein.

                   (b) Withholding of Taxes. If any Credit Party or the Administrative Agent is
    required by law to make any deduction or withholding on account of any Tax from any sum
    paid or payable by or on behalf of any Credit Party to Administrative Agent, or any Lender
    under any of the Credit Documents: (i) Borrower shall notify Administrative Agent or
    Administrative Agent shall notify Borrower, as applicable, of any such requirement or any
    change in any such requirement as soon as reasonably possible after Borrower or
    Administrative Agent becomes aware of it; (ii) Borrower or Administrative Agent (or other
    relevant Credit Party) shall pay any such Tax before the date on which penalties attach
    thereto, such payment to be made (if the liability to pay is imposed on any Credit Party) for
    its own account or (if that liability is imposed on Administrative Agent or such Lender, as the
    case may be) on behalf of and in the name of Administrative Agent or such Lender; (iii) the

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    sum payable by such Credit Party in respect of which the relevant deduction or withholding
    is required shall be increased to the extent necessary to ensure that, after the making of that
    deduction or withholding, Administrative Agent or such Lender, as the case may be, receives
    on the relevant due date a net sum equal to what it would have received had no such
    deduction or withholding been required or made; and (iv) within thirty days after paying any
    sum from which any deduction or withholding has been made, Borrower shall deliver to
    Administrative Agent evidence reasonably satisfactory to Administrative Agent of such
    deduction or withholding and of the remittance thereof to the relevant tax or other authority;
    provided, no such additional amount shall be required to be paid under clause (iii) above with
    respect to any Excluded Taxes.

                  (c) Payment of Other Taxes. In addition, Borrower shall indemnify
    Administrative Agent and Lenders for and pay any Other Taxes.

                    (d) Evidence of Exemption From U.S. Withholding Tax. Each Lender that is
    not a United States person (as such term is defined in Section 7701(a)(30) of the Internal
    Revenue Code) for U.S. federal income tax purposes (a “Non-US Lender”) shall deliver to
    Administrative Agent and Borrower, on or prior to the Closing Date (in the case of each
    Lender listed on the signature pages hereof on the Closing Date) or on or prior to the date of
    the Assignment Agreement pursuant to which it becomes a Lender (in the case of each other
    Lender), and at such other times as may be necessary in the determination of Borrower or
    Administrative Agent (each in the reasonable exercise of its discretion), (i) two original
    copies of Internal Revenue Service Form W-8BEN (claiming the benefits of any applicable
    income tax treaty), W-8EXP, W-8ECI and/or W-8IMY (or any successor forms), properly
    completed and duly executed by such Lender, and such other documentation required under
    the Internal Revenue Code or reasonably requested by Borrower or Administrative Agent to
    establish that such Lender is not subject to (or is subject to a reduced rate of) deduction or
    withholding of United States federal income tax with respect to any payments to such Lender
    of principal, interest, fees or other amounts payable under any of the Credit Documents, or
    (ii) if such Lender is not a “bank” or other Person described in Section 881(c)(3) of the
    Internal Revenue Code and is relying on the so-called “portfolio interest exemption,” a
    Certificate re Non-Bank Status together with two original copies of Internal Revenue Service
    Form W-8BEN and/or W-8IMY (or any successor form), properly completed and duly
    executed by such Lender, and such other documentation required under the Internal Revenue
    Code or reasonably requested by Borrower or Administrative Agent to establish that such
    Lender is not subject to deduction or withholding of United States federal income tax with
    respect to any payments to such Lender of interest payable under any of the Credit
    Documents. If any Lender provides an Internal Revenue Service Form W-8IMY, such
    Lender must also attach the additional documentation that must be transmitted with Internal
    Revenue Service Form W-8IMY, including the appropriate forms described in this Section
    2.20(d). Each Lender that is a United States person (as such term is defined in Section
    7701(a)(30) of the Internal Revenue Code) and whose name does not indicate that it is an
    “exempt recipient” (as such term is defined in Section 1.6049-4(c) of the United States
    Treasury Regulations) shall deliver to Borrower and Administrative Agent on or prior to the
    Closing Date (in the case of each Lender listed on the signature pages hereof on the Closing
    Date) or on or prior to the date of the Assignment Agreement pursuant to which it becomes a
    Lender (in the case of each other Lender), and at such other times as may be necessary in the

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    determination of Borrower and Administrative Agent (each in the reasonable exercise of its
    discretion) two original copies of Internal Revenue Service Form W-9 (or successor forms).
    Notwithstanding anything to the contrary contained herein, a Non-US Lender shall not be
    required to deliver any form or statement pursuant to this Section 2.20(d) that such Non-US
    Lender is not legally able to deliver. Each Lender required to deliver any forms, certificates
    or other evidence with respect to United States federal income tax withholding matters
    pursuant to this Section 2.20(d) hereby agrees, from time to time after the initial delivery by
    such Lender of such forms, certificates or other evidence, whenever a lapse in time or change
    in circumstances renders such forms, certificates or other evidence obsolete or inaccurate in
    any material respect, that such Lender shall promptly deliver to Administrative Agent for
    transmission to Borrower two new original copies of Internal Revenue Service Form W-
    8BEN, W-8EXP, W-8ECI, W-8IMY or W-9, or a Certificate re Non-Bank Status and two
    original copies of Internal Revenue Service Form W-8BEN or W-8IMY (or any successor
    form), as the case may be, properly completed and duly executed by such Lender, and such
    other documentation required under the Internal Revenue Code or reasonably requested by
    Borrower or Administrative Agent to confirm or establish that such Lender is not subject to
    (or is subject to a reduced rate of) deduction or withholding of United States federal income
    tax with respect to payments to such Lender under the Credit Documents, or notify
    Administrative Agent and Borrower of its inability to deliver any such forms, certificates or
    other evidence. Borrower shall not be required to pay any additional amount to any Non-US
    Lender under Section 2.20(b)(iii) if such Lender shall have failed (1) to deliver the forms,
    certificates or other evidence in accordance with this Section 2.20(d), or (2) to notify
    Administrative Agent and Borrower of its inability to deliver any such forms, certificates or
    other evidence, as the case may be; provided, if such Lender shall have satisfied the
    requirements of the first and second sentences of this Section 2.20(d) on the Closing Date or
    on the date of the Assignment Agreement pursuant to which it became a Lender, as
    applicable, nothing in this last sentence of this Section 2.20(d) shall relieve Borrower of its
    obligation to pay any additional amounts pursuant this Section 2.20 in the event that, as a
    result of any change in any applicable law, treaty or governmental rule, regulation or order,
    or any change in the interpretation, administration or application thereof, such Lender is no
    longer properly entitled to deliver forms, certificates or other evidence at a subsequent date
    establishing the fact that such Lender is not subject to withholding as described herein.
    Administrative Agent shall provide documentation to Borrower pursuant to this Section
    2.20(d) as if it were Lender.

                    (e) Evidence of Exemption from Non-U.S. Withholding Tax. A Lender that
    is entitled to an exemption from or reduction of non-U.S. withholding tax under the law of
    the jurisdiction in which Borrower is subject to tax, or any tax treaty to which such
    jurisdiction is a party, with respect to payments under this Agreement shall deliver, within a
    reasonable period of time, to Borrower (with a copy to Administrative Agent), as reasonably
    requested by Borrower, such properly completed and executed documentation prescribed by
    applicable law (including, if relevant, a certificate of residence) as will permit such payments
    to be made without withholding or at a reduced rate, provided that such Lender is able to
    complete, execute and deliver such documentation legally and without undue prejudice.

                  (f) Borrower Indemnification for Failure to Pay Required Taxes, etc. If
    Borrower fails to pay (or cause to be paid) any Taxes required to be paid by it pursuant to

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    Section 2.20(b)(ii) or (c) when due to the appropriate tax authority or fails to remit to
    Administrative Agent the required receipts or other required documentary evidence,
    Borrower shall indemnify Administrative Agent and the Lenders for any Taxes that may
    become payable by Administrative Agent or any Lender as a result of any such failure.
    Payment under this indemnification must be made within fifteen days from the date any of
    Administrative Agent or any Lender or any of their respective Affiliates makes written
    demand therefore accompanied by appropriate evidence of the Tax and its payment.

                   (g) Treatment of Certain Refunds. If Administrative Agent or a Lender
    determines, in its sole discretion, that it has received a refund of any Taxes or Other Taxes as
    to which it has been indemnified by a Credit Party or with respect to which the Credit Party
    has paid additional amounts pursuant to this Section 2.20, it shall pay to such Credit Party an
    amount equal to such refund (but only to the extent of indemnity payments made, or
    additional amounts paid, by the Credit Party under this Section 2.20 with respect to the Taxes
    or Other Taxes giving rise to such refund), net of all out-of-pocket expenses of
    Administrative Agent or such Lender, as applicable, and without interest (other than any
    interest paid by the relevant Governmental Authority with respect to such refund), provided
    that the Credit Party, upon the request of Administrative Agent or such Lender, agrees to
    repay the amount paid over to the Credit Party (plus any penalties, interest or other charges
    imposed by the relevant Governmental Authority) to Administrative Agent or such Lender in
    the event Administrative Agent or such Lender is required to repay such refund to such
    Governmental Authority. Notwithstanding anything to the contrary in this paragraph (g), in
    no event will Administrative Agent or any Lender be required to pay any amount to any
    Credit Party pursuant to this paragraph (g) the payment of which would place Administrative
    Agent or such Lender, as applicable, in a less favorable net after-Tax position than
    Administrative Agent or such Lender would have been in if the indemnification payments or
    additional amounts giving rise to such refund had never been paid. This paragraph shall not
    be construed to require Administrative Agent or any Lender to make available its tax returns
    (or any other information relating to its taxes that it deems confidential) to any Credit Party
    or any other Person.

                   (h) FATCA. If a payment made to a Lender under any Credit Document
    would be subject to U.S. federal withholding Tax imposed by FATCA if such Lender were to
    fail to comply with the applicable reporting requirements of FATCA (including those
    contained in Section 1471(b) or 1472(b) of the Internal Revenue Code, as applicable), such
    Lender shall deliver to Borrower and Administrative Agent at the time or times prescribed by
    law and at such time or times reasonably requested by Borrower or Administrative Agent
    such documentation prescribed by applicable law (including as prescribed by Section
    1471(b)(3)(C)(i) of the Internal Revenue Code) and such additional documentation
    reasonably requested by Borrower or Administrative Agent as may be necessary for
    Borrower and Administrative Agent to comply with their obligations under FATCA and to
    determine whether such Lender has complied with such Lender’s obligations under FATCA
    or to determine the amount to deduct and withhold from such payment. Solely for purposes
    of this Section 2.20(h), “FATCA” shall include any amendments made to FATCA after the
    Closing Date that are not already included in the definition of “FATCA”.

                   (i) Survival. Each party’s obligations under this Section 2.20 shall survive

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    the resignation or replacement of Administrative Agent or any assignment of rights by, or the
    replacement of, a Lender, the termination of any Commitment and the repayment,
    satisfaction or discharge of all obligations under any Credit Document.

        2.21. Obligation to Mitigate; Limitation on Additional Amounts, etc..

                    (a) Obligation to Mitigate. Each Lender agrees that, as promptly as
    practicable after the officer of such Lender responsible for administering its Loans becomes
    aware of the occurrence of an event or the existence of a condition that would cause such
    Lender to become an Affected Lender or that would entitle such Lender to receive payments
    under Section 2.18, 2.19 or 2.20, it will, to the extent not inconsistent with the internal
    policies of such Lender and any applicable legal or regulatory restrictions, use reasonable
    efforts to (a) make, issue, fund or maintain its Credit Extensions, including any Affected
    Loans, through another office of such Lender, or (b) take such other measures as such Lender
    may deem reasonable, if as a result thereof the circumstances which would cause such
    Lender to be an Affected Lender would cease to exist or the additional amounts which would
    otherwise be required to be paid to such Lender pursuant to Section 2.18, 2.19 or 2.20 would
    be materially reduced and if, as determined by such Lender in its sole discretion, the making,
    issuing, funding or maintaining of such Loans through such other office or in accordance
    with such other measures, as the case may be, would not otherwise adversely affect such
    Loans or the interests of such Lender; provided, such Lender will not be obligated to utilize
    such other office pursuant to this Section 2.21 unless Borrower agrees to pay all incremental
    expenses incurred by such Lender as a result of utilizing such other office as described
    above. A certificate as to the amount of any such expenses payable by Borrower pursuant to
    this Section 2.21 (setting forth in reasonable detail the basis for requesting such amount)
    submitted by such Lender to Borrower (with a copy to Administrative Agent) shall be
    conclusive absent manifest error.

                    (b) Limitation on Additional Amounts, etc. Notwithstanding anything to the
    contrary contained in Sections 2.18(c), 2.19 and 2.20 of this Agreement, unless
    Administrative Agent or a Lender gives notice to Borrower that it is obligated to pay an
    amount under any such Section within 180 days after the later of (x) the date the Lender
    incurs the respective increased costs, taxes, loss, expense or liability, reduction in amounts
    received or receivable or reduction in return on capital or (y) the date such Lender has actual
    knowledge of its incurrence of the respective increased costs, taxes, loss, expense or liability
    reductions in amounts received or receivable or reduction in return on capital, then such
    Lender shall only be entitled to be compensated for such amount by Borrower pursuant to
    Sections 2.18(c), 2.19 and 2.20, as the case may be, to the extent the costs, taxes, loss,
    expense or liability, reduction in amounts received or receivable or reduction in return on
    capital are incurred or suffered on or after the date which occurs 180 days prior to such
    Lender giving notice to Borrower that it is obligated to pay the respective amounts pursuant
    to Sections 2.18(c), 2.19 and 2.20, as the case may be. This Section 2.21(b) shall have no
    applicability to any Section of this Agreement other than Sections 2.18(c), 2.19 and 2.20.

        2.22. Defaulting Lender Cure. If Borrower and Administrative Agent agree in writing
that a Lender is no longer a Defaulting Lender, Administrative Agent will so notify the parties
hereto, whereupon as of the effective date specified in such notice and subject to any conditions

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set forth therein, that Lender will, to the extent applicable, fund any Loans that such Lender has
failed to fund, whereupon such Lender will cease to be a Defaulting Lender; provided that no
adjustments will be made retroactively with respect to fees accrued or payments made by or on
behalf of Borrower while that Lender was a Defaulting Lender; and provided further, that except
to the extent otherwise expressly agreed by the affected parties, no change hereunder from
Defaulting Lender to Lender will constitute a waiver or release of any claim of any party
hereunder arising from that Lender having been a Defaulting Lender.

         2.23. Removal or Replacement of a Lender. Anything contained herein to the
contrary notwithstanding, in the event that: (a) (i) any Lender (an “Increased-Cost Lender”)
shall give notice to Borrower that such Lender is an Affected Lender or that such Lender is
entitled to receive payments under Section 2.18, 2.19 or 2.20, (ii) the circumstances which have
caused such Lender to be an Affected Lender or which entitle such Lender to receive such
payments shall remain in effect, and (iii) such Lender shall fail to withdraw such notice within
five Business Days after Borrower’s request for such withdrawal; or (b) (i) any Lender shall
become and continues to be a Defaulting Lender, and (ii) such Defaulting Lender shall fail to
cure the default pursuant to Section 2.22 within five Business Days after Borrower’s request that
it cure such default; (c) any Lender refuses to accept an Extension Offer pursuant to Section 2.25
(each a “Declining Lender”) or (d) (i) the Borrower or the Administrative Agent has requested
that the Lenders consent to a departure or waiver of any provisions of the Credit Documents or
agree to any amendment thereto (including a Permitted Repricing Amendment), (ii) the consent,
waiver or amendment in question requires the agreement of each affected Lender or each Lender
of a Class in accordance with the terms of Section 10.5 or all the Lenders with respect to a
certain Class of the Loans or each Lender holding Loans subject to a Permitted Repricing
Amendment and (iii) the Required Lenders (or, in the case of a consent, waiver or amendment
(1) involving all the Lenders with respect to a certain Class, the Lenders required to consent
thereto or (2) involving a Permitted Repricing Amendment, all other Lenders holding Loans
actually subject to such repricing that will continue as repriced or modified Term Loans) have
agreed to such consent, waiver or amendment, then any Lender who does not agree to such
consent, waiver or amendment shall be deemed a “Non-Consenting Lender”, and with respect
to each such Increased-Cost Lender, Defaulting Lender, Declining Lender or Non-Consenting
Lender (the “Terminated Lender”), Borrower may, by giving written notice to Administrative
Agent and any Terminated Lender of its election to do so, elect to cause such Terminated Lender
(and such Terminated Lender hereby irrevocably agrees) to assign its outstanding Loans (or the
relevant Class of its outstanding Loans) in full to one or more Eligible Assignees (each a
“Replacement Lender”) in accordance with the provisions of Section 10.6 except no fee shall
be payable thereunder in connection with any such assignment from an Increased Cost Lender or
a Non-Consenting Lender and the Defaulting Lender shall pay the fees, if any, payable
thereunder in connection with any such assignment from such Defaulting Lender; provided, (1)
on the date of such assignment, the Replacement Lender shall pay to Terminated Lender an
amount equal to the principal of, and all accrued but unpaid interest on, all outstanding Loans of
the Terminated Lender; (2) on the date of such assignment, Borrower shall pay any amounts
payable to such Terminated Lender pursuant to Section 2.18(c), 2.19 or 2.20; or otherwise as if it
were a prepayment (including a prepayment pursuant to Section 2.13(b)) and (3) in the event
such Terminated Lender is a Non-Consenting Lender, each Replacement Lender shall consent, at
the time of such assignment, to each matter in respect of which such Terminated Lender was a
Non-Consenting Lender. Upon the prepayment of all amounts owing to any Terminated Lender,

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such Terminated Lender shall no longer constitute a “Lender” for purposes hereof; provided, any
rights of such Terminated Lender to indemnification hereunder shall survive as to such
Terminated Lender. Each Lender agrees that if Borrower exercises its option hereunder to cause
an assignment by such Lender as a Terminated Lender, such Lender shall, promptly after receipt
of written notice of such election, execute and deliver all documentation necessary to effectuate
such assignment in accordance with Section 10.6. In the event that a Lender does not comply
with the requirements of the immediately preceding sentence within one Business Day after
receipt of such notice, each Lender hereby authorizes and directs Administrative Agent to
execute and deliver such documentation as may be required to give effect to an assignment in
accordance with Section 10.6 on behalf of a Terminated Lender and any such documentation so
executed by Administrative Agent shall be effective for purposes of documenting an assignment
pursuant to Section 10.6. Any removal of DBNY or its successor as a Defaulting Lender
pursuant to this Section shall, at the option of the Borrower, constitute the removal of DBNY or
its successor as Administrative Agent pursuant to Section 9.7.

        2.24. Incremental Facilities. Borrower may from time to time on one or more
occasions by written notice to Administrative Agent elect to request, the establishment of one or
more new term loan commitments (which may be in the form of an increase or addition to the
Term Loans or any New Term Loan hereunder (the “New Term Loan Commitments”) or an
issuance of or addition of, or an increase to, notes under one or more separate secured pari passu
note facilities (the “Incremental Pari Note Commitments”; and together with the New Term
Loan Commitments, the “Incremental Commitments”), by an amount not in excess of the
Incremental Facilities Amount in the aggregate and, in the case of the New Term Loan
Commitments, not less than $10,000,000 individually (or such lesser amount which shall be
approved by Administrative Agent), and integral multiples of $5,000,000 in excess of that
amount. Each such notice shall specify (A) the date (each, an “Increased Amount Date”) on
which Borrower proposes that the Incremental Commitments shall be effective, which shall be a
date not less than 5 Business Days after the date on which such notice is delivered to
Administrative Agent; provided that if Borrower requests Administrative Agent to arrange such
New Term Loan Commitment Administrative Agent may elect or decline to arrange such New
Term Loan Commitments in its sole discretion and any Lender approached to provide all or a
portion of the New Term Loan Commitments may elect or decline, in its sole discretion, to
provide a New Term Loan Commitment and any Person that Borrower proposes to become a
New Term Lender, if such Person is not then a Lender, must be an Eligible Assignee and (B) in
the case of the Incremental Pari Note Commitments, the amount thereof together with a
reasonably detailed description of the other material terms and conditions of such Indebtedness
or drafts of the documentation relating thereto. Such New Term Loan Commitments shall
become effective, and notes may be issued pursuant to the Incremental Pari Note Commitments
(each such issuance, an “Incremental Pari Note Issuance” and collectively, the “Incremental
Pari Note Issuances”; and the Persons making such loan or purchasing such notes, each, an
“Incremental Creditor” and collectively, the “Incremental Creditors”), as of such Increased
Amount Date; provided that (1) no Default or Event of Default shall exist on such Increased
Amount Date immediately before or after giving effect to such Incremental Commitments,
(2) both before and after giving effect to the making of any Series of New Term Loans, the
representations and warranties contained herein and in the other Credit Documents shall be true
and correct in all material respects on and as of such Increased Amount Date to the same extent
as though made on and as of that date, except to the extent such representations and warranties

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specifically relate to an earlier date, in which case such representations and warranties shall have
been true and correct in all material respects on and as of such earlier date; provided that, in each
case, such materiality qualifier shall not be applicable to any representations and warranties that
already are qualified or modified by materiality in the text thereof; provided further that if agreed
by the relevant New Term Loan Lenders, or, in the case of an Incremental Note Issuance, at the
election of Borrower such conditions in clauses (1) and (2) shall be subject to customary
“Sungard” limitations if the proceeds of such New Term Loans or Incremental Pari Note
Issuances are used to fund Permitted Acquisitions; (3) the New Term Loan Commitments shall
be effected pursuant to one or more Joinder Agreements executed and delivered by Borrower,
each Lender or other Person to whom any portion of such New Term Loan Commitments is
allocated (each, a “New Term Loan Lender”) and Administrative Agent, and each of which
shall be recorded in the Register and each New Term Loan Lender shall be subject to the
requirements set forth in Section 2.20(c); (4) Borrower shall make any payments required
pursuant to Section 2.18(c) in connection with the New Term Loan Commitments; (5) in the case
of any New Term Loan Commitment, Borrower shall deliver or cause to be delivered any legal
opinions or other customary closing documents of the type required by Section 3.1(b) reasonably
requested by Administrative Agent in connection with any such transaction; (6) any Incremental
Note Issuance shall be secured by Liens on the Collateral on a pari passu basis (but without
regard to the control of remedies) with the Liens securing Obligations pursuant to the Collateral
Trust Agreement and such Liens shall be granted pursuant to security documents substantially
similar to the Collateral Documents (such Incremental Note Issuance as so secured, the
“Incremental Pari Notes”); (7) such Incremental Notes shall not be secured by any property or
assets of Holdings, Borrower or any Restricted Subsidiary other than the Collateral unless such
property or assets are made a portion of the Collateral hereunder; and (8) such Incremental Notes
shall not at any time be guaranteed by any Restricted Subsidiaries other than Restricted
Subsidiaries that are Guarantors or will become Guarantors and the terms of such guarantee shall
be no more favorable to the secured parties in respect of such Indebtedness than the terms of the
Guaranty.

        Any New Term Loans made on an Increased Amount Date shall be designated a separate
series (a “Series”) of New Term Loans (or a part of an existing Series of Term Loan or New
Term Loans, as applicable) for all purposes of this Agreement.

       On any Increased Amount Date on which any New Term Loan Commitments of any
Series are effective, subject to the satisfaction of the foregoing terms and conditions, (i) each
New Term Loan Lender of any Series shall make a Loan to Borrower (a “New Term Loan”) in
an amount equal to its New Term Loan Commitment of such Series (provided that, if Borrower
and the applicable New Term Loan Lenders shall agree, such New Term Loans may be funded
on a date following the applicable Increased Amount Date), and (ii) each New Term Loan
Lender of any Series shall become a Lender hereunder with respect to the New Term Loan
Commitment of such Series and the New Term Loans of such Series made pursuant thereto.

      Administrative Agent shall notify Lenders promptly upon receipt of Borrower’s notice of
each Increased Amount Date and, in respect thereof, the Series of New Term Loan
Commitments.



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         The terms and provisions of the New Term Loans and New Term Loan Commitments of
any Series shall be as set forth herein or in the Joinder Agreement and the terms and provisions
of the Incremental Notes Issuances and Incremental Pari Note Commitments shall be set forth in
the note purchase agreement or indenture or other definitive agreement for such Incremental Pari
Notes (each, an “Incremental Pari Note Agreement”). In any event (i) the weighted average
life to maturity of all New Term Loans of any Series and of all Incremental Pari Notes issued
pursuant to any Incremental Pari Note Commitment shall be no shorter than the remaining
weighted average life to maturity of the Term B-1 Loans and the Term B-2 Loans (whichever is
longest), (ii) the applicable Maturity Date of each Series of New Term Loans and the applicable
maturity date of all Incremental Pari Notes issued pursuant to each Incremental Pari Note
Commitment shall be no shorter than the Latest Maturity Date at the time the New Term Loan is
made under such Series or at the time such Incremental Pari Notes are issued, (iii) the Weighted
Average Yield applicable to the New Term Loans of each Series shall be determined by
Borrower and the applicable New Term Loan Lenders and shall be set forth in each applicable
Joinder Agreement and the Weighted Average Yield applicable to each Incremental Pari Note
Issuance shall be determined by Borrower and the applicable Incremental Creditors and shall be
set forth in each applicable Incremental Pari Note Agreement; provided, however, that the
Weighted Average Yield applicable to the New Term Loans shall not be greater than the
applicable Weighted Average Yield payable pursuant to the terms of this Agreement as amended
through the date of such calculation with respect to Term B-2 Loans, plus 0.50% per annum
unless the interest rate with respect to the Term B-2 Loan is increased so as to cause the then
applicable Weighted Average Yield under this Agreement on the Term B-2 Loans to equal the
Weighted Average Yield then applicable to the New Term Loans minus 0.50% per annum;
provided, that if any increase in interest rate is required to achieve the foregoing due to interest
rate floors, such increase shall be effected solely by the increase in the interest rate floors, and
(iv) all other terms of the New Term Loans and New Term Loan Commitments, if not consistent
with the terms of the Term B-2 Loans shall be as agreed by Borrower and the New Term Loan
Lenders providing such New Term Loans and New Term Loan Commitments. Each Joinder
Agreement may, without the consent of any other Lenders, effect such amendments to this
Agreement and the other Credit Documents as may be necessary or appropriate, in the opinion of
Administrative Agent to effect the provision of this Section 2.24.

        2.25. Extensions of Loans.

                        (a) Borrower may from time to time, pursuant to the provisions of this
        Section 2.25, agree with one or more Lenders holding Loans of any Class (“Existing
        Class”) to extend the Maturity Date and to provide for other terms consistent with this
        Section 2.25 (each such modification, an “Extension”) pursuant to one or more written
        offers (each an “Extension Offer”) made from time to time by Borrower to all Lenders
        under any Class that is proposed to be extended under this Section 2.25, in each case on a
        pro rata basis (based on the relative principal amounts of the outstanding Loans of each
        Lender in such Class) and on the same terms to each such Lender. In connection with
        each Extension, Borrower will provide notification to Administrative Agent (for
        distribution to the Lenders of the applicable Class), no later than 30 days prior to the
        maturity of the applicable Class or Classes to be extended of the requested new maturity
        date for the extended Loans of each such Class (each an “Extended Maturity Date”)
        and the due date for Lender responses (or such later date acceptable to Administrative

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        Agent). In connection with any Extension, each Lender of the applicable Class wishing
        to participate in such Extension shall, prior to such due date, provide Administrative
        Agent with a written notice thereof. Any Lender that does not respond to an Extension
        Offer by the applicable due date shall be deemed to have rejected such Extension. Any
        Extension shall be effected pursuant to such procedure, if any, as may be reasonably
        established by Administrative Agent and acceptable to the Borrower to accomplish the
        purposes of this Section 2.25.

                       (b) After giving effect to any Extension, the Loans so extended shall
        cease to be a part of the Class that they were a part of immediately prior to the Extension
        and shall be a new Class hereunder; provided that at no time shall there be more than
        seven different Classes of Loans.

                        (c) The consummation and effectiveness of each Extension shall be
        subject to the following:

                        (i) no Default or Event of Default shall have occurred and be continuing
        at the time of the effectiveness of such Extension;

                        (ii) the Loans of any Lender extended pursuant to any Extension
        (“Extended Loans”) shall have the same or less restrictive terms as the Class of Loans,
        subject to the related Extension Amendment (“Existing Loans”); except (A) the final
        maturity date of any Extended Loans of a Class to be extended pursuant to an Extension
        shall be later than the Latest Maturity Date at the time of such Extension, and the
        weighted average life to maturity of any Extended Loans of a Class to be extended
        pursuant to an Extension shall be no shorter than the weighted average life to maturity of
        the Class of Existing Loans subject to the Latest Maturity Date of the related Existing
        Loans at the time of such Extension; (B) the all-in pricing (including, without limitation,
        margins, fees and premiums) with respect to the Extended Loans may be higher or lower
        than the all-in pricing (including, without limitation, margins, fees and premiums) for the
        Existing Loans; (C) no repayment of any Extended Loans shall be permitted unless such
        repayment is accompanied by an at least pro rata repayment of the applicable Existing
        Loans; (D) any modification of the scheduled amortization applicable thereto, provided
        that the Weighted Average Life to Maturity of such Extended Loans shall be no shorter
        than the remaining Weighted Average Life to Maturity (determined at the time of such
        Extension Offer) of the Term Loans; (E) a modification of voluntary or mandatory
        prepayments applicable thereto, provided that voluntary and mandatory prepayments
        applicable to any other Loans shall not be affected by the terms thereof; (F) any addition
        to or change of call protection; (G) an increase in the fees payable to, or the inclusion of
        new fees to be payable to, the Extending Lenders in respect of such Extension Offer or
        their Extended Loans or Extended Commitments; and/or (H) the other terms and
        conditions applicable to Extended Loans may be terms more restrictive than those with
        respect to the Existing Loans, so long as such terms and conditions only apply after the
        Latest Maturity Date; provided further, each Extension Amendment may, without the
        consent of any Lender other than the applicable extending Lenders, effect such
        amendments to this Agreement and the other Credit Documents as may be necessary or
        appropriate, in the opinion of Administrative Agent, to give effect to the provisions of

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        this Section 2.25, including any amendments necessary to treat the applicable Loans of
        the extending Lenders as a new “Class” of loans and/or commitments hereunder;
        provided however, no Extension Amendment may provide for any Class of Extended
        Loans to be secured by any Collateral or other assets of any Credit Party that does not
        also secure the Existing Loans;

                      (iii) a minimum amount in respect of such Extension (to be determined in
        Borrower’s discretion and specified in the relevant Extension Offer, but in no event less
        than $25,000,000, unless another amount is agreed to by Borrower) shall be satisfied; and

                        (iv) no Extension shall become effective unless, on the proposed
        effective date of such Extension, (x) no Default or Event of Default shall exist on such
        date before or after giving effect to such Extension, (y) both before and after giving effect
        to such Extension, the representations and warranties contained herein and in the other
        Credit Documents shall be true and correct in all material respects on and as of such date
        to the same extent as though made on and as of that date, except to the extent such
        representations and warranties specifically relate to an earlier date, in which case such
        representations and warranties shall have been true and correct in all material respects on
        and as of such earlier date; provided that, in each case, such materiality qualifier shall not
        be applicable to any representations and warranties that already are qualified or modified
        by materiality in the text thereof, and (z) Administrative Agent shall have received a
        certificate certifying as to the conditions set forth in the foregoing clauses (x) and (y)
        dated the applicable date of such Extension and executed by an Authorized Officer of
        Borrower.

                       (d) For the avoidance of doubt, it is understood and agreed that the
        provisions of Section 2.17 and Section 10.5 will not apply to Extensions of Loans
        pursuant to Extension Offers made pursuant to and in accordance with the provisions of
        this Section 2.25, including to any payment of interest or fees in respect of any Extended
        Loans that have been extended pursuant to an Extension at a rate or rates different from
        those paid or payable in respect of Loans of any other Class, in each case as is set forth in
        the relevant Extension Offer.

                      (e) The Lenders hereby irrevocably authorize Administrative Agent to
        enter into amendments (collectively, “Extension Amendments”) to this Agreement and
        the other Credit Documents as may be necessary in order to establish new Classes of
        Loans created pursuant to an Extension, in each case on terms consistent with this
        Section 2.25. All such Extension Amendments entered into with Borrower by
        Administrative Agent hereunder shall be binding on the Lenders.

                      (f) Promptly following the consummation and effectiveness of any
        Extension, the Administrative Agent shall notify each Lender as to the effectiveness of
        each Extension Amendment.

       2.26. Incremental Revolving Commitments. Borrower may by written notice (it
being understood and agreed that Borrower shall not deliver more than one such written notice)
to Administrative Agent elect to request the establishment of revolving credit commitments (the


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“Incremental Revolving Commitments” and the loans thereunder, when borrowed, the
“Incremental Revolving Loans”) in an aggregate amount not to exceed $225,000,000; provided
that Incremental Revolving Commitments may not be incurred if, at the time of such incurrence,
any Indebtedness remains outstanding pursuant to Section 6.1(m). Such notice shall specify (A)
the date (the “Incremental Revolver Date”) on which Borrower proposes that the Incremental
Revolving Commitments shall be effective, which shall be a date not less than 10 Business Days
(or such shorter period as agreed by Administrative Agent) after the date on which such notice is
delivered to Administrative Agent, (B) the amount of the Incremental Revolving Commitments,
(C) the identity of each Lender or other Person that is an Eligible Assignee (each, an
“Incremental Revolving Lender”) to whom Borrower proposes any portion of such
Incremental Revolving Commitments be allocated and the amounts of such allocations; provided
that Administrative Agent may elect or decline to arrange such Incremental Revolving
Commitments in its sole discretion and any Lender approached to provide all or a portion of such
Incremental Revolving Commitments may elect or decline, in its sole discretion, to provide an
Incremental Revolving Commitments. The Incremental Revolving Commitments shall become
effective as of the Incremental Revolver Date; provided that (1) no Default or Event of Default
shall exist on the Incremental Revolver Date after giving effect to the Incremental Revolving
Commitments and the funding of the Incremental Revolving Loans thereunder; (2) both before
and after giving effect to the Incremental Revolving Commitments and the funding any
Incremental Revolving Loans thereunder, the representations and warranties contained herein
and in the other Credit Documents shall be true and correct in all material respects on and as of
the Incremental Revolver Date to the same extent as though made on and as of that date, except
to the extent such representations and warranties specifically relate to an earlier date, in which
case such representations and warranties shall have been true and correct in all material respects
on and as of such earlier date; provided that, in each case, such materiality qualifier shall not be
applicable to any representations and warranties that already are qualified or modified by
materiality in the text thereof; (3) the Incremental Revolving Commitments shall be effected
pursuant to an Incremental Revolver Amendment executed and delivered by Borrower, the
Incremental Revolving Lenders and Administrative Agent, which shall be recorded in the
Register, and each Incremental Revolving Lender shall be subject to the requirements set forth in
Section 2.20(d); (4) Borrower shall make any payments required pursuant to Section 2.18(c) in
connection with the Incremental Revolving Commitments; and (5) Borrower shall deliver or
cause to be delivered within the time period requested by the Administrative Agent any legal
opinions, mortgage modifications, amendments to Collateral Documents or other documents
reasonably requested by Administrative Agent in connection with any such transaction.
Borrower will use the proceeds of the Incremental Revolving Commitments for working capital
and general corporate purposes, including capital expenditures and Permitted Acquisitions.

       On the Incremental Revolver Date, subject to the satisfaction of the foregoing terms and
conditions, (i) each Incremental Revolving Lender shall make an Incremental Revolving
Commitment available to Borrower and (ii) each Incremental Revolving Lender shall become a
Lender hereunder with respect to its Incremental Revolving Commitment and the Incremental
Revolving Loan made pursuant thereto.

      The terms, provisions and documentation of the Incremental Revolving Loans and
Incremental Revolving Commitments shall be as agreed between Borrower and the Incremental
Revolving Lenders providing such Incremental Revolving Commitment, and except as otherwise

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set forth herein, to the extent not identical to the Term Loans existing as of the Incremental
Revolver Date, shall be reasonably satisfactory to Administrative Agent. In any event, the
Incremental Revolving Commitments and Incremental Revolving Loans shall rank pari passu in
right of payment and of security with the Term Loans, shall not be secured by any asset other
than the Collateral and shall not be guaranteed by any Person other than the Guarantors.

        The Incremental Revolving Commitments shall become Commitments under this
Agreement pursuant to an amendment (an “Incremental Revolver Amendment”) to this
Agreement and, as appropriate, the other Credit Documents, executed by Borrower, each
Incremental Revolving Lender providing the Incremental Revolving Commitments and the
Administrative Agent. The Incremental Revolver Amendment may, without the consent of any
other Credit Party, Agent or Lender, effect such amendments to this Agreement and the other
Credit Documents as may be necessary or appropriate, in the reasonable opinion of
Administrative Agent, Borrower and the Incremental Revolving Lenders, to effect the provisions
of this Section 2.26. The Incremental Revolver Amendment may include, among other things,
customary provisions regarding (i) letters of credit and reimbursement obligations with respect
thereto, (ii) cash collateral obligations with respect to letters of credit, (iii) swing line loans and
participations therein and (iv) Incremental Revolving Lenders that are Defaulting Lenders.

       This Section 2.26 shall supersede any provisions in Section 2.17 or Section 10.5 to the
contrary.


                SECTION 3. CONDITIONS PRECEDENT

       3.1. Closing Date. The obligation of each Lender to make a Credit Extension on the
Closing Date is subject to the satisfaction, or waiver in accordance with Section 10.5, of the
following conditions on or before the Closing Date:

                       (a) Credit Documents. Administrative Agent shall have received each
        Credit Document required to be delivered on the Closing Date, originally executed and
        delivered by each applicable Credit Party.

                       (b) Organizational Documents; Incumbency. Administrative Agent shall
        have received, in respect of each Credit Party, (i) the Organizational Documents of such
        Credit Party and, to the extent applicable; (ii) signature and incumbency certificates of
        the officers of such Credit Party; (iii) resolutions of the Board of Directors or similar
        governing body of such Credit Party approving and authorizing the execution, delivery
        and performance of this Agreement and the other Credit Documents and the Related
        Agreements to which it is a party as of the Closing Date, certified as of the Closing Date
        by its secretary or an assistant secretary as being in full force and effect without
        modification or amendment; and (iv) a good standing certificate from the applicable
        Governmental Authority of such Credit Party’s jurisdiction of incorporation, organization
        or formation, each dated the Closing Date or a recent date prior thereto (other than with
        respect to The Oklahoma Coal Company).

                       (c) Organizational and Capital Structure. The organizational structure
        and capital structure of Holdings and its Subsidiaries, after giving effect to transactions

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        contemplated by this Agreement and the Related Agreements, shall be as set forth on
        Schedule 4.1.

                       (d) Consummation        of     Transactions   Contemplated      by    Related
        Agreements.

                      (i) The Transactions contemplated by the Related Agreements shall have
        become effective in accordance with the terms of the Related Agreement.

                      (ii) Administrative Agent shall have received a fully executed or
        conformed copy of each Related Agreement and any material agreements executed in
        connection therewith. Each Related Agreement shall be in full force and effect.

                       (e) Existing Indebtedness.

                        (i) On the Closing Date, Holdings and its Subsidiaries shall have (i)
        repaid in full all Indebtedness and other obligations outstanding evidenced by or related
        to the Existing Term Loan Agreement and (ii) delivered to Administrative Agent all
        documents or instruments necessary to confirm that the Liens granted to the Collateral
        Trustee no longer secure Indebtedness and other obligations outstanding under,
        evidenced by or related to the Existing Term Loan Agreement.

                       (ii) Pro forma for the Closing Date Acquisition, repayment of
        Indebtedness and other obligations under the Existing Term Loan Agreement referenced
        in clause (i) above and the transactions contemplated by the Related Agreements,
        Borrower and its Restricted Subsidiaries shall have no outstanding third party
        indebtedness for borrowed money other than (a) under this Agreement, the Revolving
        Credit Agreement and the Senior Secured Notes, (b) replacements, extensions and
        renewals of existing indebtedness that matures prior to the Closing Date, (c) ordinary
        course capital leases, (d) ordinary course letter of credit facilities, (e) ordinary course
        purchase money, mortgage and equipment financings, (f) indebtedness permitted under
        this Agreement and (g) other debt in amounts and on terms and conditions reasonably
        acceptable to the Administrative Agent.

                      (f) Royalty Drop-Down Transaction.               The Royalty Drop-Down
        Transaction shall have been consummated.

                       (g) [Reserved.]

                       (h) Real Estate Assets. In order to create in favor of Collateral Trustee,
        for the benefit of Secured Parties, a valid and, subject to any filing and/or recording
        referred to herein, perfected First Priority security interest in certain Real Estate Assets,
        Collateral Trustee shall have received from Borrower and each applicable Guarantor:

                        (i) fully executed and notarized Mortgages, in proper form for recording
        in all appropriate places in all applicable jurisdictions, encumbering each Real Estate
        Asset listed in Schedule 3.1(h) (each, a “Closing Date Mortgaged Property”);


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                       (ii) an opinion of counsel (which counsel shall be reasonably satisfactory
        to Administrative Agent) in each state in which a Closing Date Mortgaged Property is
        located with respect to the enforceability of the form(s) of Mortgages to be recorded in
        such state and such other matters as Administrative Agent may reasonably request, in
        each case in form and substance reasonably satisfactory to Administrative Agent or
        Collateral Trustee; and

                        (iii) (A) a completed Flood Certificate with respect to each Closing Date
        Mortgaged Property, which Flood Certificate shall (x) be addressed to the Collateral
        Trustee and (y) otherwise comply with the Flood Program; (B) if the Flood Certificate
        states that such Closing Date Mortgaged Property is located in a Flood Zone, Borrower’s
        written acknowledgment of receipt of written notification from the Collateral Trustee (x)
        as to the existence of such Closing Date Mortgaged Property and (y) as to whether the
        community in which each Closing Date Mortgaged Property is located is participating in
        the Flood Program; and (C) if such Closing Date Mortgaged Property is located in a
        Flood Zone and is located in a community that participates in the Flood Program,
        evidence that Borrower has obtained a policy of flood insurance that is in compliance
        with all applicable requirements of the Flood Program.

                       (i) Personal Property Collateral. In order to create in favor of Collateral
        Trustee, for the benefit of Secured Parties, a valid, perfected First Priority security
        interest in the personal property Collateral (subject to the limitations set forth in the
        Collateral Documents), each Credit Party shall have delivered to Collateral Trustee:

                       (i) evidence reasonably satisfactory to Administrative Agent of the
        compliance by each Credit Party of their obligations under the Pledge and Security
        Agreement and the other Collateral Documents (including their obligations to execute or
        authorize, as applicable, and deliver UCC financing statements, originals of securities,
        instruments and chattel paper and any agreements governing deposit and/or securities
        accounts (other than Excluded Assets) as provided therein);

                      (ii) a completed Collateral Questionnaire dated the Closing Date and
        executed by an Authorized Officer of each Credit Party, together with all attachments
        contemplated thereby;

                       (iii) fully executed Intellectual Property Security Agreements, in proper
        form for filing or recording in the United States Patent and Trademark Office and the
        United States Copyright Office, as applicable, memorializing and recording the
        encumbrance of the Intellectual Property Assets listed in Schedule 5.2 to the Pledge and
        Security Agreement; and

                      (iv) evidence that each Credit Party shall have taken or caused to be
        taken any other action, executed and delivered or caused to be executed and delivered
        any other agreement, document and instrument (including any intercompany notes
        evidencing Indebtedness permitted to be incurred pursuant to Section 6.1(b)) and made or
        caused to be made any other filing and recording (other than as set forth herein)
        reasonably required by Administrative Agent.


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                       (j) Financial Statements; Projections.          Administrative Agent and
        Arranger shall have received from Borrower (i) the Historical Financial Statements, (ii)
        pro forma consolidated balance sheet and related pro forma consolidated statement of
        income of Borrower and its Subsidiaries on a consolidated basis as of and for the twelve-
        month period ending on the last day of the most recently completely four-fiscal quarter
        period for which financial statements were delivered under clause (i) of the definition of
        the term “Historical Financial Statements”, reflecting the consummation of the
        transactions contemplated by Related Agreements, the related financings and the other
        transactions contemplated by the Credit Documents to occur on or prior to the Closing
        Date as if such transactions occurred as of such date, and (iii) the Projections.

                       (k) [Reserved.]

                        (l) Opinions of Counsel to Credit Parties. Administrative Agent shall
        have received executed copies of the favorable written opinions of counsel for Credit
        Parties, as to such matters as Administrative Agent may reasonably request, dated as of
        the Closing Date and in form and substance reasonably satisfactory to Administrative
        Agent and Arranger (and each Credit Party hereby instructs such counsel to deliver such
        opinions to Administrative Agent).

                      (m) Fees. Borrower shall have paid to each Agent the fees payable on or
        before the Closing Date referred to in Section 2.11 and all expenses payable pursuant to
        Section 10.2 which have accrued and invoiced to the Closing Date.

                       (n) Solvency Certificate. On the Closing Date, Administrative Agent
        shall have received a solvency certificate from the chief financial officer of Holdings,
        dated the Closing Date and addressed to Administrative Agent, in form of Exhibit Q.

                      (o) Closing Date Certificate.      Borrower shall have delivered to
        Administrative Agent an originally executed Closing Date Certificate, together with all
        attachments thereto.

                       (p) [Reserved.]

                       (q) [Reserved.]

                        (r) USA PATRIOT Act. At least three (3) days prior to the Closing Date,
        the Lenders shall have received all documentation and other information with respect to
        the Credit Parties that shall have been reasonably requested by the Administrative Agents
        or the Arrangers in writing at least 10 business days prior to the Closing Date and that the
        Administrative Agents and the Arrangers reasonably determine is required by regulatory
        authorities under applicable “know your customer” and anti-money laundering rules and
        regulations, including, without limitation, the Uniting and Strengthening America by
        Providing Appropriate Tools Required to Intercept and Obstruct Terrorism Act (Title III
        of Pub. L. 107-56 (signed into law October 26, 2001) the “PATRIOT Act”).

                      (s) Funding Notice. Administrative Agent shall have received a fully
        executed and delivered Funding Notice executed by an Authorized Officer no later than

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        one Business Day prior to the Closing Date or such shorter period of time acceptable to
        Administrative Agent.

                       (t) No Default. As of the Closing Date, no event shall have occurred and
        be continuing or would result from the consummation of the transactions contemplated
        by the Related Agreements that would constitute a Default or an Event of Default.

                        (u) Accuracy of Representations.          As of the Closing Date, the
        representations and warranties set forth in Section 4 and in the other Credit Documents
        shall be true and correct in all material respects on and as of the Closing Date (both
        immediately prior to and after giving effect to the funding of the Term Loans) to the same
        extent as though made on and as of that date, except to the extent such representations
        and warranties specifically relate to an earlier date, in which case such representations
        and warranties shall have been true and correct in all material respects on and as of such
        earlier date; provided that, in each case, such materiality qualifier shall not be applicable
        to any representations and warranties that already are qualified or modified by materiality
        in the text thereof.

                       (v) [Reserved.]

                       (w) Material Adverse Effect. Since December 31, 2014, no event,
        change or circumstance shall have occurred that has caused or would reasonably be
        expected to cause, either individually or in the aggregate, a Material Adverse Effect.

Notwithstanding anything to the contrary in this Section 3.1, to the extent any security interest in
any of the intended Collateral is not or cannot be provided and/or perfected on the Closing Date
(other than any Collateral the security interest in which may be perfected by the filing of a UCC
financing statement or the delivery of certificated stock certificates) after Credit Parties’ use of
commercially reasonable efforts to do so, then the provision and/or perfection of a security
interest in such Collateral will not constitute a condition precedent to the obligation of each
Lender to make a Credit Extension on the Closing Date but such security interest(s) will be
perfected as required by Section 5.16.


                SECTION 4. REPRESENTATIONS AND WARRANTIES

       In order to induce Agents and Lenders to enter into this Agreement and to make each
Credit Extension to be made thereby, each Credit Party represents and warrants to each Agent,
on the Closing Date, that the following statements are true and correct (it being understood and
agreed that the representations and warranties made on the Closing Date are deemed to be made
concurrently with the consummation of the transactions contemplated by the Related
Agreements contemplated to occur on the Closing Date):

        4.1. Organization; Requisite Power and Authority; Qualification. Each of Holdings
and its Restricted Subsidiaries (a) is duly organized, validly existing and (except in the case of
Immaterial Subsidiaries) in good standing under the laws of its jurisdiction of organization as
identified in Schedule 4.1, (b) has all requisite power and authority to (i) own and operate its
properties, to carry on its business as now conducted and as proposed to be conducted and (ii)

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enter into the Credit Documents to which it is a party and to carry out the transactions
contemplated thereby, and (c) is qualified to do business and in good standing in every
jurisdiction necessary to carry out its business and operations, except in jurisdictions where the
failure to be so qualified or in good standing has not had, and could not be reasonably expected
to have, a Material Adverse Effect.

        4.2. Equity Interests and Ownership. The Equity Interests of each of Borrower and
its Restricted Subsidiaries has been duly authorized and validly issued and is fully paid and to the
extent applicable thereto, non-assessable. Except as set forth on Schedule 4.2, as of the Closing
Date, there is no existing option, warrant, call, right, commitment or other agreement to which
Borrower or any of its Restricted Subsidiaries is a party requiring, and there is no membership
interest or other Equity Interests of Borrower or any of its Restricted Subsidiaries outstanding
which upon conversion or exchange would require, the issuance by Borrower or any of its
Restricted Subsidiaries of any additional membership interests or other Equity Interests of
Borrower or any of its Restricted Subsidiaries or other Securities convertible into, exchangeable
for or evidencing the right to subscribe for or purchase, a membership interest or other Equity
Interests of Borrower or any of its Restricted Subsidiaries. Schedule 4.2 correctly sets forth the
ownership interest of Borrower and each of its Subsidiaries (including Unrestricted Subsidiaries)
in their respective Subsidiaries (including Unrestricted Subsidiaries) as of the Closing Date after
giving effect to transactions contemplated by this Agreement and the Related Agreements to
occur on the Closing Date.

        4.3. Due Authorization. The execution, delivery and performance of the Credit
Documents have been duly authorized by all necessary corporate, limited liability company or
other action on the part of each Credit Party that is a party thereto.

        4.4. No Conflict. The execution, delivery and performance by Credit Parties of the
Credit Documents to which they are parties and the consummation of the transactions
contemplated by the Credit Documents do not and will not (a) violate (i) any provision of any
law or any governmental rule or regulation applicable to Holdings or any of its Restricted
Subsidiaries, (ii) any of the Organizational Documents of Holdings or any of its Restricted
Subsidiaries, or (iii) any order, judgment or decree of any court or other agency of government
binding on Holdings or any of its Restricted Subsidiaries, except in the case of clauses (i) or (iii),
such violations as would not, individually or in the aggregate, reasonably be expected to have a
Material Adverse Effect; (b) conflict with, result in a breach of or constitute (with due notice or
lapse of time or both) a default under any Contractual Obligation of Holdings or any of its
Restricted Subsidiaries except to the extent such conflict, breach or default could not reasonably
be expected to have a Material Adverse Effect; (c) result in or require the creation or imposition
of any Lien upon any of the properties or assets of Holdings or any of its Restricted Subsidiaries
(other than any Liens created under any of the Credit Documents in favor of Collateral Trustee,
for the benefit of the Secured Parties); or (d) require any approval of stockholders, members or
partners or any approval or consent of any Person under any Contractual Obligation of Holdings
or any of its Restricted Subsidiaries, except for such approvals or consents which will be
obtained on or before the Closing Date and except for any such approvals or consents the failure
of which to obtain will not have a Material Adverse Effect.



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         4.5. Governmental Consents. Except as would not be reasonably expected to result in
a Material Adverse Effect, the execution, delivery and performance by Credit Parties of the
Credit Documents to which they are parties and the consummation of the transactions
contemplated by the Credit Documents to which they are a party do not and will not require any
registration with, consent or approval of, or notice to, or other action to, with or by, any
Governmental Authority except as otherwise set forth herein, and except for filings and
recordings with respect to the Collateral to be made, or otherwise delivered to Collateral Trustee
for filing and/or recordation, as of the Closing Date.

        4.6. Binding Obligation. Each Credit Document has been duly executed and delivered
by each Credit Party that is a party thereto and is the legally valid and binding obligation of such
Credit Party, enforceable against such Credit Party in accordance with its respective terms,
except as may be limited by bankruptcy, insolvency, reorganization, moratorium or similar laws
relating to or limiting creditors’ rights generally or by general equitable principles relating to
enforceability (whether enforcement is sought by proceedings in equity or at law).

        4.7. Historical Financial Statements. The Historical Financial Statements were
prepared in conformity with GAAP (except as indicated in any notes thereto) and fairly present,
in all material respects, the financial position, on a consolidated basis, of the Persons described in
such financial statements as at the respective dates thereof and the results of operations and cash
flows, on a consolidated basis, of the entities described therein for each of the periods then
ended, subject, in the case of any such unaudited financial statements, to changes resulting from
audit and normal year-end adjustments.

        4.8. Security Interest in Collateral. The provisions of this Agreement and the other
Credit Documents create legal and valid Liens on all the Collateral in favor of the Collateral
Trustee, for the benefit of the Secured Parties, and so long as such filings and other actions
required to be taken hereby or by the applicable Collateral Documents (including the filings of
appropriate financing statements with the office of the Secretary of State of the state of
organization of each Credit Party, the filing of the Intellectual Property Security Agreements
with the U.S. Patent and Trademark Office and the U.S. Copyright Office, and the proper
recordation of Mortgages and fixture filings with respect to Material Real Estate Assets, in each
case in favor of the Collateral Trustee and the delivery to the Collateral Trustee (or to the
Revolving Agent as bailee for the Collateral Trustee pursuant to the Intercreditor Agreement) of
any Pledged Debt (as defined in the Pledge and Security Agreement) and any Pledged Equity
Interest (as defined in the Pledge and Security Agreement) required to be delivered pursuant to
the applicable Collateral Documents), such Liens constitute perfected and continuing Liens on
the Collateral (to the extent that a Lien thereon can be perfected by the foregoing actions),
securing the Secured Obligations (as defined in any applicable Collateral Document),
enforceable (except as enforceability may be limited by bankruptcy, insolvency, fraudulent
conveyance or similar laws affecting creditors’ rights generally and general principles of equity
(regardless of whether the application of such principles is considered in a proceeding in equity
or at law)) against the applicable Credit Party and all third parties, and (a) in the case of Term
Loan Priority Collateral, having priority over all other Liens on such Term Loan Priority
Collateral subject to Permitted Liens and (b) in the case of Revolving Loan Priority Collateral,
having Second Priority on such Revolving Loan Priority Collateral subject to Permitted Liens.


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       4.9. No Material Adverse Effect. Since the Closing Date, no event, circumstance or
change has occurred that has caused a Material Adverse Effect.

        4.10. [Reserved].

        4.11. Adverse Proceedings, Etc. There are no Adverse Proceedings that could
reasonably be expected to have a Material Adverse Effect. Neither Holdings nor any of its
Restricted Subsidiaries (a) is in violation of any applicable laws that could reasonably be
expected to have a Material Adverse Effect, or (b) is subject to or in default with respect to any
final judgments, writs, injunctions, decrees, rules or regulations of any court or any federal, state,
municipal or other governmental department, commission, board, bureau, agency or
instrumentality, domestic or foreign, that could reasonably be expected to have a Material
Adverse Effect.

        4.12. Payment of Taxes. Except as otherwise permitted under Section 5.3, all material
tax returns and reports of Holdings and its Restricted Subsidiaries required to be filed by any of
them have been timely filed, and all material Taxes shown on such returns to be due and payable
and all other material assessments, fees and other governmental charges upon Holdings and its
Restricted Subsidiaries and upon their respective properties, assets, income, businesses and
franchises which are due and payable have been paid when due and payable except those which
are being actively contested by Holdings or such Restricted Subsidiary in good faith by
appropriate proceedings and for which reserves or other appropriate provisions, if any, required
by GAAP shall have been made or provided therefor.

        4.13. Properties.

                         (a) Title. Each of Holdings and its Restricted Subsidiaries has (i) good
        and legal title to (in the case of fee interests in real property), (ii) valid leasehold interests
        in (in the case of leasehold interests in real or personal property), (iii) valid ownership of,
        valid licensed rights in or the valid right to use (in the case of interests in Intellectual
        Property) or (iv) good title to (in the case of all other personal property), all of their
        respective properties and assets; in each case of the foregoing except where failure to do
        so would not reasonably be expected to result in a Material Adverse Effect. Except as
        permitted by this Agreement, all such properties and assets are free and clear of Liens
        other than Permitted Liens.

                       (b) Real Estate. As of the Closing Date, Schedule 4.13 contains a true,
        accurate and complete list of (i) all Real Estate Assets, and (ii) all leases, subleases or
        assignments of leases (together with all amendments, modifications, supplements,
        renewals or extensions of any thereof) affecting each Real Estate Asset of any Credit
        Party, regardless of whether such Credit Party is the landlord or tenant (whether directly
        or as an assignee or successor in interest) under such lease, sublease or assignment. Each
        agreement listed in clause (ii) of the immediately preceding sentence is in full force and
        effect, and each such agreement constitutes the legally valid and binding obligation of
        each applicable Credit Party, enforceable against such Credit Party in accordance with its
        terms, except as enforcement may be limited by bankruptcy, insolvency, reorganization,



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        moratorium or similar laws relating to or limiting creditors’ rights generally or by
        equitable principles relating to enforceability.

        4.14. Environmental Matters. Except as would not, individually or in the aggregate,
reasonably be expected to have a Material Adverse Effect, there are no pending or, to the
knowledge of Holdings and any of its Restricted Subsidiaries threatened Environmental Claims
against Holdings or any of its Restricted Subsidiaries. Neither Holdings nor any of its Restricted
Subsidiaries nor any of their respective Facilities or operations are subject to any outstanding
written order, notice, consent decree or settlement agreement with any Person relating to any
Environmental Law, any Environmental Claim, or any Hazardous Materials Activity that,
individually or in the aggregate, would reasonably be expected to have a Material Adverse
Effect. Holdings and each of its Restricted Subsidiaries have received all Governmental
Authorizations required pursuant to Environmental Law for its business as currently conducted
and are, and at all times have been, in compliance with all applicable Environmental Laws
(including compliance with Environmental Laws with respect to any Real Estate Asset or
governing its business and the requirements of any Governmental Authorizations issued under
such Environmental Laws with respect to any such Real Estate Asset or the operations of
Holdings or any of its Restricted Subsidiaries) except for such failure to receive or such non-
compliance which would not reasonably be expected to have a Material Adverse Effect. There
are and, to each of Holdings’ and its Restricted Subsidiaries’ knowledge, have been, no
conditions, occurrences, or Hazardous Materials Activities which would reasonably be expected
to form the basis of an Environmental Claim against Holdings or any of its Restricted
Subsidiaries that would reasonably be expected to have a Material Adverse Effect. None of
Holdings’ or any of its Restricted Subsidiaries’ operations involves the transportation, treatment,
storage or disposal of hazardous waste, as defined under 40 C.F.R. Parts 260-270 or any state
equivalent, that, individually or in the aggregate, would reasonably be expected to have a
Material Adverse Effect. To the knowledge of Holdings or any of its Restricted Subsidiaries, no
event or condition has occurred or is occurring with respect to Holdings or any of its Restricted
Subsidiaries or on any Real Estate Asset relating to any Environmental Law, any Release of
Hazardous Materials, or any Hazardous Materials Activity which event or condition individually
or in the aggregate has had, or would reasonably be expected to have, a Material Adverse Effect.

        4.15. Permits and Monitoring of the Environmental and Mining Laws.

                       (a) Holdings and its Restricted Subsidiaries possess, maintain in full
        force and effect, and are in compliance with all Governmental Authorizations required by
        the United States Environmental Protection Agency, the United States Army Corps of
        Engineers, the United States Department of Interior, the United States Office of Surface
        Mining Reclamation and Enforcement and corresponding state agencies, as are necessary
        under applicable law (including, without limitation, any Environmental and Mining Law)
        to own, lease or operate their current properties and conduct their current businesses,
        except to the extent that the failure to possess, maintain or be in compliance with any
        such Governmental Authorizations would not reasonably be expected to result in a
        Material Adverse Effect. Each of Holdings and its Restricted Subsidiaries has fulfilled
        and performed all of its obligations with respect to the Governmental Authorizations, and
        no event has occurred that allows, or after notice or lapse of time would allow, revocation
        or termination thereof or results in any other impairment of the rights of the holder or any

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        such Governmental Authorizations, except to the extent that any such failure to fulfill or
        perform, revocation, termination or impairment would not reasonably be expected to
        result in a Material Adverse Effect.

                        (b) Except as would not be reasonably expected to result in a Material
        Adverse Effect, Holdings and its Restricted Subsidiaries: (i) are conducting their
        businesses and operations in compliance with Environmental and Mining Laws; (ii) have
        not received any written notice from a governmental authority or any other third party
        alleging any violation of Environmental and Mining Law or liability thereunder
        (including, without limitation, liability as a “potentially responsible party” and/or for
        costs of investigating or remediating sites containing Hazardous Materials and/or
        reclamation or damages to natural resources and/or for fines or penalties and/or exposure
        to Hazardous Materials); (iii) do not have knowledge of any release of Hazardous
        Materials that, individually or in the aggregate, can reasonably be expected to require any
        material capital expenditures by Holdings or any of its Restricted Subsidiaries regarding
        the investigation, remediation or cleanup thereof; (iv) are not subject to any pending or,
        to the knowledge of Holdings or any of its Restricted Subsidiaries, threatened claim or
        other legal proceeding under any Environmental and Mining Laws against Holdings or
        any of its Restricted Subsidiaries; (v) possess and maintain in full force and effect all
        bonds, letters of credit, and other financial assurances required under Environmental and
        Mining Laws; (vi) have not agreed to assume, undertake or provide indemnification for
        any liability of any other Person under any Environmental and Mining Law, including
        any obligation of any other Person for reclamation, cleanup or remedial action, except as
        set forth on Schedule 4.15(b); and (vii) are not aware of any facts or issues with respect to
        Holdings or any of its Restricted Subsidiaries regarding compliance with Environmental
        and Mining Laws, pending legal proceedings or liabilities under the Environmental and
        Mining Laws or other obligations under Environmental and Mining Laws, including the
        release or threatened release of Hazardous Materials.

 The representations and warranties in Sections 4.14, 4.15 and 4.20(b) are the sole
 representations and warranties with respect to Environmental Law, Environmental and Mining
 Laws, Mining Laws, Hazardous Materials, and Hazardous Materials Activities.

        4.16. [Reserved].

        4.17. Governmental Regulation.             Neither Holdings nor any of its Restricted
Subsidiaries is subject to regulation under the Investment Company Act of 1940 or under any
other federal or state statute or regulation which may limit its ability to incur Indebtedness such
that it will render all or any portion of the Obligations unenforceable. Neither Holdings nor any
of its Restricted Subsidiaries is a “registered investment company” or a company “controlled” by
a “registered investment company” or a “principal underwriter” of a “registered investment
company” as such terms are defined in the Investment Company Act of 1940.

        4.18. Federal Reserve Regulations; Exchange Act. Neither Holdings nor any of its
Restricted Subsidiaries is engaged principally, or as one of its important activities, in the
business of extending credit for the purpose of purchasing or carrying any Margin Stock. No
part of the proceeds of the Loans made to such Credit Party will be used to purchase or carry any

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such Margin Stock in violation of Regulation T, Regulation U or Regulation X of the Board of
Governors or to extend credit to others for the purpose of purchasing or carrying any such
Margin Stock or for any purpose that violates the provisions of Regulation T, Regulation U or
Regulation X of the Board of Governors.

        4.19. [Reserved].

       4.20. Employee Benefit Plans and the Coal Industry Retiree Health Benefit Act and
the Black Lung Benefits Act.

                       (a) Except as would not, individually or in the aggregate, reasonably be
        expected to result in a Material Adverse Effect, no ERISA Event has occurred or is
        reasonably expected to occur. There has been no final determination (after completion
        or exhaustion of any dispute resolution procedure in accordance with Section 4221 of
        ERISA and any rules of the applicable Multiemployer Plan) that Holdings, any of its
        Restricted Subsidiaries or any of their ERISA Affiliates is in “default” (as defined in
        Section 4219(c)(5) of ERISA and any rules of the United Mine Workers of America 1974
        Pension Plan (the “1974 Plan”)) with respect to the 1974 Plan, which has resulted in or
        could reasonably be expected to result in immediate payment by Holdings, any of its
        Restricted Subsidiaries or any of their ERISA Affiliates of withdrawal liability with
        respect to the 1974 Plan which (together with accrued interest (as described in Section
        4219(c)(5) of ERISA) and any liquidated damages (as described in the 1974 Plan)) is in
        an amount in excess of $900,000,000.

                        (b) Except as would not, individually or in the aggregate, reasonably be
        expected to result in a Material Adverse Effect: (i) each of Holdings and its Restricted
        Subsidiaries are in compliance with the Coal Industry Retiree Health Benefit Act (the
        “Coal Act”) and the regulations promulgated thereunder, and none of Holdings or any of
        its Restricted Subsidiaries has incurred or reasonably expects to incur any liability under
        the Coal Act (including any liability due to non-compliance with the Coal Act by any of
        their respective “related persons” (within the meaning of Section 9701(c) of the Internal
        Revenue Code)), except with respect to premiums, benefit plans under Section 9711 and
        other payments required thereunder which have been paid when due; and (ii) each of
        Holdings and its Restricted Subsidiaries is in compliance with the Black Lung Act and
        the regulations promulgated thereunder.

       4.21. Certain Fees. Except as set forth on Schedule 4.21, no broker’s or finder’s fee or
commission will be payable with respect to the transactions contemplated by the Closing Date
Acquisition Agreement, except as payable to Agents and Lenders.

       4.22. Solvency. Immediately upon the consummation of the Transactions on the
Closing Date, after taking into account rights of contribution, the Credit Parties, on a
consolidated basis, are Solvent.

        4.23. [Reserved].




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         4.24. Compliance with Statutes, Etc. Each of Holdings and its Restricted Subsidiaries
is in compliance with all applicable statutes, regulations and orders of, and all applicable
restrictions imposed by, all Governmental Authorities, in respect of the conduct of its business
and the ownership of its property, except such non-compliance that, individually or in the
aggregate, would not reasonably be expected to result in a Material Adverse Effect.

         4.25. Disclosure. The representations and warranties of any Credit Party contained in
any Credit Document or in any other documents, certificates or written statements furnished to
any Agent or Lender by or on behalf of Holdings or any of its Restricted Subsidiaries for use in
connection with the transactions contemplated hereby (other than Projections, pro forma
financial information, other forward-looking information and general economic or industry data
or third party data), when taken as a whole, do not contain any untrue statement of a material fact
or omits to state a material fact (known to Holdings or Borrower, in the case of any document
not furnished by either of them) necessary in order to make the statements contained herein or
therein not materially misleading in light of the circumstances in which the same were made.
Any projections and pro forma financial information of the Credit Parties contained in such
materials are based upon good faith estimates and assumptions believed by Holdings or
Borrower to be reasonable at the time made, it being recognized by Agents and Lenders that such
projections as to future events are not to be viewed as facts and that actual results during the
period or periods covered by any such projections may differ materially from the projected
results.

        4.26. Foreign Corrupt Practices Act. Neither Holdings nor any of its Restricted
Subsidiaries, nor, to the knowledge of Holdings and its Restricted Subsidiaries, any director,
officer, agent, employee or other person associated with or acting on behalf of Holdings or any
its Subsidiaries has (i) used any corporate funds for any unlawful contribution, gift,
entertainment or other unlawful expense relating to political activity, (ii) made any direct or
indirect unlawful payment to any foreign or domestic government official or employee from
corporate funds, (iii) violated or is in violation of any provision of the Foreign Corrupt Practices
Act of 1977 or (iv) made any bribe, rebate, payoff, influence payment, kickback or other
unlawful payment.

        4.27. PATRIOT Act. To the extent applicable, each Credit Party and each Subsidiary
thereof is in compliance, in all material respects, with (i) the Trading with the Enemy Act, as
amended, and each of the foreign assets control regulations of the United States Treasury
Department (31 C.F.R., Subtitle B, Chapter V, as amended) and any other enabling legislation or
executive order relating thereto, and (ii) the PATRIOT Act. No part of the proceeds of the Loans
will be used, directly or indirectly, for any payments to any governmental official or employee,
political party, official of a political party, candidate for political office, or anyone else acting in
an official capacity, in order to obtain, retain or direct business or obtain any improper
advantage, in violation of the United States Foreign Corrupt Practices Act of 1977, as amended.


                SECTION 5. AFFIRMATIVE COVENANTS

      Each of Borrower and each Guarantor Subsidiary covenants and agrees that, until
payment in full of all Obligations (other than (i) contingent indemnification obligations for


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which no claim has been asserted and (ii) obligations and liabilities in respect of any Hedge
Agreement or Designated Coal Contract), each such Person shall perform, and shall cause each
of its Restricted Subsidiaries to perform, all covenants in this Section 5.

      5.1. Financial Statements and Other Reports.                    Borrower will deliver to
Administrative Agent:

                       (a) [Reserved];

                         (b) Quarterly Financial Statements. Within 45 days after the end of each
        of the first three Fiscal Quarters of each Fiscal Year, commencing with the Fiscal Quarter
        ending March 31, 2015, the consolidated balance sheets of Borrower and its Subsidiaries
        as at the end of such Fiscal Quarter and the related consolidated statements of income,
        stockholders’ equity and cash flows of Borrower and its Subsidiaries for such Fiscal
        Quarter and for the period from the beginning of the then current Fiscal Year to the end
        of such Fiscal Quarter, setting forth in each case in comparative form the corresponding
        figures for the corresponding periods of the previous Fiscal Year and, commencing with
        the financial statements for the Fiscal Quarter ending March 31, 2016, (i) the
        corresponding figures from the Financial Plan for the current Fiscal Year, all in
        reasonable detail, together with a Financial Officer Certification and a Narrative Report
        with respect thereto and (ii) consolidated balance sheets of Borrower and its Subsidiaries
        and the related consolidated statements of income, stockholders’ equity and cash flows of
        Borrower and its Subsidiaries covering the same periods reflecting adjustments necessary
        to eliminate the accounts of Unrestricted Subsidiaries, if any, from such financial
        statements delivered under this clause (b);

                        (c) Annual Financial Statements. Within 90 days after the end of each
        Fiscal Year, commencing with the Fiscal Year in which the Closing Date occurs, (i) the
        consolidated balance sheets of Borrower and its Subsidiaries as at the end of such Fiscal
        Year and the related consolidated statements of income, stockholders’ equity and cash
        flows of Borrower and its Subsidiaries for such Fiscal Year, setting forth in each case in
        comparative form the corresponding figures for the previous Fiscal Year and,
        commencing with the financial statements for the Fiscal Year ending December 31, 2016,
        the corresponding figures from the Financial Plan for the Fiscal Year covered by such
        financial statements, in reasonable detail, together with a Financial Officer Certification
        and a Narrative Report with respect thereto; (ii) with respect to such consolidated
        financial statements a report thereon of Ernst & Young LLP or other independent
        certified public accountants of recognized national standing selected by Borrower (which
        report shall not be subject to any going concern or scope of audit qualification (except for
        qualifications relating to changes in accounting principles or practices reflecting changes
        in GAAP and required or approved by Borrower’s independent certified public
        accountants or with respect to, or resulting from, an upcoming maturity date of any
        Indebtedness occurring within one year from the time such opinion is delivered), and
        shall state that such consolidated financial statements fairly present, in all material
        respects, the consolidated financial position of Borrower and its Subsidiaries as at the
        dates indicated and the results of their operations and their cash flows for the periods
        indicated in conformity with GAAP applied on a basis consistent with prior years (except

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        as otherwise disclosed in such financial statements) and that the examination by such
        accountants in connection with such consolidated financial statements has been made in
        accordance with generally accepted auditing standards) and (iii) consolidated balance
        sheets of Borrower and its Subsidiaries and the related consolidated statements of
        income, stockholders’ equity and cash flows of Borrower and its Subsidiaries covering
        the same periods reflecting adjustments necessary to eliminate the accounts of
        Unrestricted Subsidiaries, if any, from such financial statements delivered under this
        clause (c);

                       (d) Compliance Certificate. Together with each delivery of financial
        statements of Borrower pursuant to Sections 5.1(b) and 5.1(c), commencing with the
        financial statements for the Fiscal Quarter ending September 30, 2015, a duly executed
        and completed Compliance Certificate.

                         (e) Statements of Reconciliation after Change in Accounting Principles.
        If, as a result of any change in accounting principles and policies from those used in the
        preparation of the Historical Financial Statements, the consolidated financial statements
        of Borrower delivered pursuant to Section 5.1(b) or 5.1(c) will differ in any material
        respect from the consolidated financial statements that would have been delivered
        pursuant to such subdivisions had no such change in accounting principles and policies
        been made, then, together with the first delivery of such financial statements after such
        change, one or more statements of reconciliation reflecting such change;

                        (f) Notice of Default. Promptly upon any Authorized Officer of
        Borrower obtaining knowledge (i) of any condition or event that constitutes a Default or
        an Event of Default or that written notice has been given by Administrative Agent or any
        Lender to Borrower with respect thereto; (ii) of any condition or event that constitutes a
        “Default” or an “Event of Default” under the Revolving Credit Agreement or any of the
        Second Lien Documents; (iii) that any Person has given any default notice to Borrower or
        any of its Restricted Subsidiaries, in each case, with respect to any event or condition set
        forth in Section 8.1(b); or (iv) of the occurrence of any event or change that has caused or
        evidences, either in any case or in the aggregate, a Material Adverse Effect, a certificate
        of its Authorized Officer specifying the nature and period of existence of such condition,
        event or change, or specifying the notice given and action taken by any such Person and
        the nature of such claimed Event of Default, Default, default, event or condition, and
        what action Borrower has taken, is taking and proposes to take with respect thereto;

                        (g) Notice of Litigation. Promptly upon any Authorized Officer of
        Borrower obtaining knowledge of (i) the institution of, or non-frivolous threat of, any
        Adverse Proceeding not previously disclosed in writing by Borrower to Lenders, or (ii)
        any material development in any Adverse Proceeding that, in the case of either clause (i)
        or (ii) as to which there is a reasonable possibility of adverse determination and which, if
        adversely determined would be reasonably expected to have a Material Adverse Effect,
        or seeks to enjoin or otherwise prevent the consummation of, or to recover any damages
        or obtain relief as a result of, the transactions contemplated hereby, written notice thereof
        together with such other information as may be reasonably available to Borrower to
        enable Lenders and their counsel to evaluate such matters;

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                        (h) ERISA. (i) Promptly upon any Authorized Officer of Borrower
        obtaining knowledge of the occurrence of or forthcoming occurrence of any ERISA
        Event that would result in a Material Adverse Effect, a written notice specifying the
        nature thereof, what action the Credit Parties or any of their respective ERISA Affiliates
        has taken, is taking or proposes to take with respect thereto and, when known, any action
        taken or threatened by the Internal Revenue Service, the Department of Labor or the
        PBGC with respect thereto; and (ii) with reasonable promptness after a request has been
        made by the Administrative Agent, copies of (1) all notices received by the Credit Parties
        or any of their respective ERISA Affiliates from a Multiemployer Plan sponsor
        concerning an ERISA Event; and (2) copies of such other documents or governmental
        reports or filings relating to any Pension Plan or any Multiemployer Plan as
        Administrative Agent shall reasonably request;

                        (i) Financial Plan. Commencing with the 2016 Fiscal Year, no later than
        60 days after the beginning of each Fiscal Year, a consolidated plan and financial forecast
        for such Fiscal Year (prepared on a monthly or quarterly basis) (a “Financial Plan”),
        including (i) a forecasted consolidated balance sheet and forecasted consolidated
        statements of income and cash flows of Borrower and its Restricted Subsidiaries for such
        Fiscal Year and (ii) forecasted consolidated statements of income and cash flows of
        Borrower and its Restricted Subsidiaries for each month or each Fiscal Quarter, as
        applicable, of such Fiscal Year;

                        (j) Insurance Report. At Administrative Agent’s reasonable request (but
        no more than once per year other than during the continuance of an Event of Default), a
        certificate from Borrower’s insurance broker(s) in form and substance reasonably
        satisfactory to Administrative Agent outlining all material insurance coverage maintained
        as of the date of such certificate by Borrower and its Restricted Subsidiaries;

                        (k) Notice of Foresight Acquisition Option.   Promptly upon the
        consummation thereof, Borrower will furnish to Administrative Agent notice of the
        exercise of the Foresight Acquisition Option.

                        (l) Information Regarding Collateral.          Borrower will furnish to
        Administrative Agent and Collateral Trustee reasonable prior written notice of any
        change (i) in any Credit Party’s corporate name, (ii) in any Credit Party’s form of
        formation or incorporation, (iii) in any Credit Party’s jurisdiction of organization or (iv)
        in any Credit Party’s Federal Taxpayer Identification Number or state organizational
        identification number. Borrower also agrees promptly to notify Administrative Agent
        and Collateral Trustee if any material portion of the Collateral is damaged or destroyed;

                       (m) Annual Collateral Verification. Each year, at the time of delivery of
        annual financial statements with respect to the preceding Fiscal Year pursuant to Section
        5.1(c), Borrower shall deliver to Administrative Agent and Collateral Trustee a certificate
        of its Authorized Officer either confirming that there has been no change in the
        information required by Sections 2(b), 3, 4, 6, 7, 8, 11, 13, 14, 15 and 16 of the Collateral
        Questionnaire since the date of the Collateral Questionnaire delivered on the Closing



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        Date or the date of the most recent certificate delivered pursuant to this Section 5.1 and/or
        identifying such changes;

                        (n) Other Information. (A) Promptly upon their becoming available,
        copies of (i) all financial statements, reports, notices and proxy statements sent or made
        available generally by Holdings to its security holders acting in such capacity or by any
        Restricted Subsidiary of Holdings to its security holders other than Holdings or another
        Subsidiary of Holdings, (ii) all regular and periodic reports and all registration statements
        and prospectuses, if any, filed by Borrower or any of its Restricted Subsidiaries with any
        securities exchange or with the Securities and Exchange Commission or any other
        Governmental Authority, (iii) all press releases made available generally by Holdings or
        any of its Restricted Subsidiaries to the public concerning material developments in the
        business of Holdings or any of its Restricted Subsidiaries, and (B) such other information
        and data with respect to Holdings or any of its Restricted Subsidiaries as from time to
        time may be reasonably requested by Administrative Agent or any Lender (through the
        Administrative Agent) that is reasonably available without undue cost or burden; and

                        (o) Public Information.     Holdings, Borrower and each Lender
        acknowledge that certain of the Lenders may be Public Lenders and, if documents or
        notices required to be delivered pursuant to this Section 5.1 or otherwise are being
        distributed through IntraLinks/IntraAgency, SyndTrak or another relevant website or
        other information platform (the “Platform”), any document or notice that Holdings or
        Borrower has indicated contains Non-Public Information shall not be posted on that
        portion of the Platform designated for such Public Lenders. If Borrower has not
        indicated whether a document or notice delivered pursuant to this Section 5.1 contains
        Non-Public Information, Administrative Agent reserves the right to post such document
        or notice solely on that portion of the Platform designated for Lenders who wish to
        receive material Non-Public Information with respect to Holdings, its Subsidiaries and
        their Securities.

        Documents required to be delivered pursuant to Section 5.1(b) through (o) may be
delivered electronically and if so delivered, shall be deemed to have been delivered on the date
on which such documents are sent via e-mail to Administrative Agent for posting on Borrower’s
behalf on IntraLinks/IntraAgency or another relevant website, if any, established on its behalf by
Administrative Agent and to which each Lender and Administrative Agent have access or
Borrower has posted on its own website to which each Lender and Administrative Agent have
access. Each Lender shall be solely responsible for timely accessing posted documents. If the
delivery of any of the foregoing shall fall on a day that is not a Business Day, such deliverable
shall be due on the next succeeding Business Day.

       5.2. Existence. Except as otherwise permitted under Section 6.8, each Credit Party will,
and will cause each of its Restricted Subsidiaries to, at all times preserve and keep in full force
and effect its existence and all rights and franchises, licenses and permits material to its business;
provided, no Credit Party (other than Borrower with respect to existence) or any of its Restricted
Subsidiaries shall be required to preserve any such existence, right or franchise, licenses and
permits if such Credit Party shall determine that the preservation thereof is no longer desirable in


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the conduct of the business of such Person, and that the loss thereof would not reasonably be
expect to result in a Material Adverse Effect.

        5.3. Payment of Taxes. Except as would not reasonably be expected to have a Material
Adverse Effect, each Credit Party will, and will cause each of its Restricted Subsidiaries to, file
all material tax returns and pay all material taxes imposed upon it or any of its properties or
assets or in respect of any of its income, businesses or franchises before any penalty or fine
accrues thereon; provided, no such tax need be paid if it is being contested in good faith by
appropriate proceedings promptly instituted and diligently conducted, so long as (a) adequate
reserve or other appropriate provision, as shall be required in conformity with GAAP shall have
been made therefor, and (b) in the case of a tax which has or may become a Lien against any of
the Collateral, such contest proceedings conclusively operate to stay the sale of any portion of
the Collateral to satisfy such tax. No Credit Party will, nor will it permit any of its Restricted
Subsidiaries to, file or consent to the filing of any consolidated, combined or unitary income tax
return with any Person (other than Holdings or any of its current or future Restricted
Subsidiaries).

        5.4. Maintenance of Properties. Each of Borrower and Guarantor Subsidiaries will,
and will cause each of its Restricted Subsidiaries to, maintain or cause to be maintained in
working order and condition, ordinary wear and tear, casualty and condemnation excepted, all
material tangible properties used or useful in the business of Borrower and its Restricted
Subsidiaries and from time to time will make or cause to be made all appropriate repairs,
renewals and replacements thereof in its commercially reasonable business judgment, except
where the failure to do so would not reasonably be expected to result in a Material Adverse
Effect.

         5.5. Insurance. Borrower will maintain or cause to be maintained, with financially
sound and reputable insurers (or pursuant to self-insurance to the extent commercially
reasonable), such public liability insurance, third party property damage insurance, business
interruption insurance and casualty insurance with respect to liabilities, losses or damage in
respect of the assets, properties and businesses of Borrower and its Restricted Subsidiaries, in
each case in such amounts (giving effect to self-insurance) and with such deductibles, covering
such risks and otherwise, in each case, as are prudent in the good faith judgment of the officers
of Borrower and its Restricted Subsidiaries (after giving effect to any reasonable and customary
self-insurance). Without limiting the generality of the foregoing, Borrower will maintain or
cause to be maintained (a) flood insurance with respect to each Flood Hazard Property that is
located in a community that participates in the Flood Program, in each case in compliance with
any applicable regulations of the Board of Governors, and (b) replacement value casualty
insurance on the Collateral under such policies of insurance, with such insurance companies (or
pursuant to self-insurance to the extent commercially reasonable), in such amounts, with such
deductibles, and covering such risks as are prudent in the good faith judgment of the officers of
Borrower and its Subsidiaries. Each such policy of insurance (other than directors and officers
liability, workers compensation insurance, other employee benefits related insurance and
business interruption insurance) shall (i) name Collateral Trustee, for the benefit of the Secured
Parties as an additional insured thereunder as its interests may appear and (ii) in the case of each
casualty insurance policy, contain a loss payable clause or endorsement, reasonably satisfactory
in form and substance to Collateral Trustee, that names Collateral Trustee, for the benefit of the

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Secured Parties, as the loss payee thereunder and Borrower will use commercially reasonable
efforts to cause such policy to provide for at least 30 days’ prior written notice to Collateral
Trustee of any material modification or cancellation of such policy.

        5.6. Books and Records; Inspections. Each Credit Party will, and will cause each of
its Restricted Subsidiaries to, keep proper books of record and accounts in which complete, true
and correct entries in conformity in all material respects with GAAP shall be made of all
dealings and transactions in relation to its business and activities. Each Credit Party will, and
will cause each of its Restricted Subsidiaries to, permit any authorized representatives designated
by any Lender (coordinated through Administrative Agent), upon reasonable advance notice, to
visit and inspect any of the properties of any Credit Party and any of its respective Restricted
Subsidiaries, to inspect, copy and take extracts from its and their financial and accounting
records, and to discuss its and their affairs, finances and accounts with its and their officers and
(so long as Borrower is afforded an opportunity to be present) independent public accountants,
all upon reasonable notice and at such reasonable times during normal business hours and as
often as may reasonably be requested; provided, so long as no Event of Default is continuing,
Borrower shall not be required to pay or reimburse the expenses (to the extent otherwise required
to do so hereunder) of more than one such visit and inspection during any Fiscal Year.

       5.7. Lenders Calls. Borrower will, upon the request of Administrative Agent or
Requisite Lenders, participate in a telephonic conference call with Administrative Agent and
Lenders once during each Fiscal Quarter (or more frequently during the continuance of an Event
of Default) at such time as may be agreed to by Borrower and Administrative Agent.

      5.8. Compliance with Laws. Borrower and each of its Restricted Subsidiaries will
comply with the requirements of all applicable laws, rules, regulations and orders of any
Governmental Authority (including all Environmental Laws), except for any noncompliance
which would not reasonably be expected to have, in the aggregate, a Material Adverse Effect.

        5.9. Environmental.

                       (a) Environmental Disclosure. Borrower will deliver to Administrative
        Agent:

                        (i) as soon as practicable following receipt thereof, copies of all material
        environmental audits, investigations, analyses and reports of any kind or character,
        whether prepared by personnel of Borrower or any of its Restricted Subsidiaries or by
        independent consultants, Governmental Authorities or any other Persons, with respect to
        environmental matters at any Facility or with respect to any Environmental Claims that,
        in either case, would reasonably be expected to result in liability of Borrower or any of its
        Restricted Subsidiaries in excess of $10,000,000;

                        (ii) promptly upon the occurrence thereof, written notice describing in
        reasonable detail any of the following that would reasonably be expected to results in
        liabilities of Borrower or any of its Restricted Subsidiaries in excess of $10,000,000: (1)
        any Release of Hazardous Materials required to be reported to any federal, state or local
        governmental or regulatory agency under any applicable Environmental Laws, (2) any


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        remedial action taken by Borrower or any other Person in response to (A) any Hazardous
        Materials Activities the existence of which has a reasonable possibility of resulting in one
        or more Environmental Claims, or (B) any Environmental Claims and (3) Borrower’s
        discovery of any occurrence or condition on any real property adjoining or in the vicinity
        of any Facility that would reasonably be expected to cause such Facility or any part
        thereof to be subject to any material restrictions on the ownership, occupancy,
        transferability or use thereof under any Environmental Laws;

                       (iii) as soon as practicable following the sending or receipt thereof by
        Holdings or any of its Restricted Subsidiaries, a copy of any and all material written
        communications with respect to any of the following that would reasonably be expected
        to result in liabilities of Holdings or any of its Restricted Subsidiaries in excess of
        $10,000,000 (1) any Environmental Claims, (2) any Release required to be reported to
        any Governmental Authority, and (3) any request for information from any Governmental
        Authority that suggests such Governmental Authority is investigating whether Holdings
        or any of its Restricted Subsidiaries may be potentially responsible for any liability
        (including penalties, fine or enforcement actions) arising from any Hazardous Materials
        Activity;

                        (iv) reasonably prompt written notice describing in reasonable detail
        (1) any proposed acquisition of stock, assets, or property by Holdings or any of its
        Restricted Subsidiaries that would reasonably be expected to (A) expose Holdings or any
        of its Restricted Subsidiaries to, or result in, Environmental Claims that would reasonably
        be expected to result in liabilities of Holdings or any of its Restricted Subsidiaries in
        excess of $10,000,000 or (B) affect the ability of Holdings or any of its Restricted
        Subsidiaries to maintain in full force and effect all material Governmental Authorizations
        required under any Environmental Laws for their respective operations that would
        reasonably be expected to result in liabilities of Holdings or any of its Restricted
        Subsidiaries in excess of $10,000,000 and (2) any proposed action to be taken by
        Holdings or any of its Restricted Subsidiaries to modify current operations in a manner
        that would reasonably be expected to subject Holdings or any of its Restricted
        Subsidiaries to any additional material obligations or requirements under any
        Environmental Laws resulting in liabilities of Holdings or any of its Restricted
        Subsidiaries in excess of $10,000,000; and

                       (v) with reasonable promptness, such other documents and information
        as from time to time may be reasonably requested by Administrative Agent in relation to
        any matters disclosed pursuant to this Section 5.9(a).

                       (b) Hazardous Materials Activities, Etc. Each Credit Party shall
        promptly take, and shall cause each of its Restricted Subsidiaries promptly to take, any
        and all actions necessary to (i) cure any violation of applicable Environmental Laws by
        such Credit Party or its Restricted Subsidiaries that would reasonably be expected to
        have, individually or in the aggregate, a Material Adverse Effect, and (ii) make an
        appropriate response to any Environmental Claim against such Credit Party or any of its
        Restricted Subsidiaries and discharge any obligations it may have to any Person


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        thereunder, except where failure to do so would not reasonably be expected to have,
        individually or in the aggregate, a Material Adverse Effect.

        5.10. Subsidiaries.

                (a) In the event that any Person becomes a wholly-owned subsidiary of
Borrower (other than an Excluded Subsidiary) or any Unrestricted Subsidiary is converted into a
Restricted Subsidiary that is a wholly-owned subsidiary (other than an Excluded Subsidiary)
after the Closing Date, Borrower shall (i) within 15 days (or such later date as Administrative
Agent may agree) cause such subsidiary to become a Guarantor hereunder and a Grantor under
the Pledge and Security Agreement by executing and delivering to Administrative Agent and
Collateral Trustee a Counterpart Agreement and (ii) cause such Subsidiary within 15 days (or
such later date as Administrative Agent may agree in its sole discretion), to take all such actions
and execute and deliver, or cause to be executed and delivered, all such documents, instruments,
agreements, and certificates reasonably requested by Administrative Agent or Collateral Trustee,
including those which are similar to those described in Sections 3.1(b), 3.1(h), 3.1(i) and 3.1(l).
In the event that any Person becomes a Foreign Subsidiary (other than an Immaterial Subsidiary)
of Borrower or any Unrestricted Subsidiary is converted into a Restricted Subsidiary that is a
Foreign Subsidiary (other than an Immaterial Subsidiary) after the Closing Date, and the
ownership interests of such Foreign Subsidiary are directly owned by Borrower or by any
Guarantor Subsidiary thereof, Borrower shall, or shall cause such Guarantor Subsidiary to,
deliver all such documents, instruments, agreements, and certificates as are similar to those
described in Section 3.1(b), and Borrower shall take, or shall cause such Domestic Subsidiary to
take, all of the actions referred to in Section 3.1(i)(i) necessary to grant and to perfect a First
Priority Lien in favor of Collateral Trustee, for the benefit of Secured Parties, under the Pledge
and Security Agreement in 65% of such ownership interests. In the event that Borrower or any
Guarantor Subsidiary acquires any Equity Interests of Foresight GP or Foresight LP after the
Closing Date, Borrower shall take, or shall cause such Guarantor Subsidiary to take, all of the
actions referred to in Section 3.1(i)(i) necessary to grant and to perfect a First Priority Lien in
favor of Collateral Trustee, for the benefit of Secured Parties, under the Pledge and Security
Agreement in 100% of such ownership interests. With respect to each such Subsidiary,
Borrower shall promptly send to Administrative Agent written notice setting forth with respect to
such Person (i) the date on which such Person became a Subsidiary of Borrower or was
converted into a Restricted Subsidiary, as applicable, and (ii) all of the data required to be set
forth in Schedules 4.1 and 4.2 with respect to all Subsidiaries of Borrower; and such written
notice shall be deemed to supplement Schedule 4.1 and 4.2 for all purposes hereof.
Notwithstanding anything to the contrary herein or in the other Credit Documents, neither
Holdings nor any of its Subsidiaries shall be required to grant a security interest in the Equity
Interests of any Unrestricted Subsidiary (other than the Acquired Interests and any Equity
Interests of Foresight GP or Foresight LP acquired by Borrower or the Guarantor Subsidiaries
from time to time).

               (b) Notwithstanding anything in Section 5.10 or 5.11 or in any other Credit
Document to the contrary, neither Holdings nor any of its Restricted Subsidiaries shall be
required to take any actions in order to perfect the security interest in the Collateral granted to
Collateral Trustee for the ratable benefit of the Secured Parties under the laws of any jurisdiction
outside the United States.

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        5.11. Additional Material Real Estate Assets. In the event that any Credit Party
acquires a Material Real Estate Asset or a Real Estate Asset owned or leased on the Closing Date
becomes a Material Real Estate Asset or any Unrestricted Subsidiary that owns or leases a
Material Real Estate Asset is converted into a Restricted Subsidiary after the Closing Date and
such interest in such Material Real Estate Asset has not otherwise been made subject to the Lien
of the Collateral Documents in favor of Collateral Trustee, for the benefit of Secured Parties,
then such Credit Party shall (and with respect to any leased Material Real Estate Asset, shall use
commercially reasonable efforts (without any requirement to make concessions or payments) to
do the following) promptly take all such actions and execute and deliver, or cause to be executed
and delivered, all such mortgages, documents, instruments, agreements, opinions and certificates,
including those which are similar to those described in Section 3.1(h) with respect to each such
Material Real Estate Asset that Collateral Trustee or Administrative Agent shall reasonably
request to create in favor of Collateral Trustee, for the benefit of Secured Parties, a valid and,
subject to any filing and/or recording referred to herein, perfected First Priority security interest
in such Material Real Estate Assets. In addition to the foregoing, Borrower shall, at the
reasonable request of Administrative Agent or Collateral Trustee, deliver to Administrative
Agent and Collateral Trustee such appraisals as are required by law or regulation of Real Estate
Assets with respect to which Collateral Trustee has been granted a Lien.

        5.12. [Reserved].

       5.13. Further Assurances. At any time or from time to time upon the reasonable
request of Administrative Agent, each Credit Party will, at its expense, promptly execute,
acknowledge and deliver such further documents and do such other acts and things as
Administrative Agent or Collateral Trustee may reasonably request in order to effect fully the
purposes of the Credit Documents. In furtherance and not in limitation of the foregoing, each
Credit Party shall take such actions as Administrative Agent or Collateral Trustee may
reasonably request from time to time to ensure that the Obligations are guaranteed by the
Guarantors and are secured by substantially all of the assets of Holdings, and its Restricted
Subsidiaries (except for the Excluded Subsidiaries and other than Excluded Assets) and all of the
outstanding Equity Interests of Borrower and its Restricted Subsidiaries (other than Excluded
Subsidiaries (other than the Acquired Interests and any Equity Interests of Foresight GP or
Foresight LP acquired by Borrower or the Guarantor Subsidiaries from time to time)) subject to
the limitation set forth herein and in the other Credit Documents and subject to the priorities in
the Collateral Trust Agreement and the Intercreditor Agreement.

        5.14. Maintenance of Ratings. Unless otherwise consented to by Administrative
Agent or Requisite Lenders, at all times, Borrower shall use commercially reasonable efforts to
maintain (i) a public corporate family rating issued by Moody’s and a public corporate credit
rating issued by S&P and (ii) a public credit rating from each of Moody’s and S&P with respect
to the Loans.

        5.15. Designation of Subsidiaries. The Borrower may at any time designate any
Restricted Subsidiary as an Unrestricted Subsidiary or any Unrestricted Subsidiary as a
Restricted Subsidiary; provided that (i) immediately before and after such designation, no
Default or Event of Default shall have occurred and be continuing, (ii) no Subsidiary may be
designated as an Unrestricted Subsidiary if it is a “Restricted Subsidiary” for the purpose of any

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of the Second Lien Documents, the Revolving Credit Agreement, any Incremental Pari Note
Issuance, any Additional Facility, any Refinancing Indebtedness or any Indebtedness
subordinated in right of payment to the Obligations and (iii) Borrower shall deliver to
Administrative Agent a certificate of an Authorized Officer of Borrower certifying compliance
with the foregoing clauses (i) and (ii) of this Section 5.15. The designation of any subsidiary as
an Unrestricted Subsidiary shall constitute an Investment by Borrower therein at the date of
designation in an amount equal to the fair market value of Borrower’s Investment therein;
provided that upon a redesignation of such subsidiary as a Restricted Subsidiary, Borrower shall
be deemed to continue to have a permanent Investment in an Unrestricted Subsidiary in an
amount (if positive) equal to (i) the lesser of (A) the fair market value of Investments of
Borrower and its Subsidiaries in such Unrestricted Subsidiary at the time of such redesignation,
combination or transfer (or of the assets transferred or conveyed, as applicable) and (B) the fair
market value of Investments of Borrower and its Subsidiaries made in connection with the
designation of such Subsidiary as an Unrestricted Subsidiary minus (ii) the portion
(proportionate to Borrower’s and its Subsidiaries’ Equity Interest in such Subsidiary) of the fair
market value of the net assets of such Subsidiary at the time of such redesignation. The
designation of any Unrestricted Subsidiary as a Restricted Subsidiary shall constitute the
incurrence at the time of designation of any Indebtedness or Liens of such Subsidiary existing at
such time.

        5.16. Post-Closing Covenants. Each of the Credit Parties shall satisfy the requirements
set forth on Schedule 5.16 on or before the date specified for such requirement or such later date
to be determined by Administrative Agent.


                SECTION 6. NEGATIVE COVENANTS

       Each of Borrower and each Guarantor Subsidiary (and with respect to Section 6.13
Holdings) covenants and agrees that, until payment in full of all Obligations under the Credit
Documents (other than (i) contingent indemnity obligations for which no claim has been asserted
and (ii) obligations and liabilities in respect of any Hedge Agreement or Designated Coal
Contract), such Person shall perform, and shall cause each of its Restricted Subsidiaries to
perform, all covenants in this Section 6.

       6.1. Indebtedness. Neither Borrower nor any Guarantor Subsidiary shall, nor shall it
permit any of its Restricted Subsidiaries to, directly or indirectly, create, incur, assume or
guaranty, or otherwise become or remain directly or indirectly liable with respect (collectively,
“incur”) to any Indebtedness, except:

                      (a) the Obligations;

                       (b) (A) Indebtedness of any Restricted Subsidiary to Borrower or to any
        other Subsidiary, or of Borrower to any Subsidiary and (B) Indebtedness of Holdings to
        Borrower or to any other Subsidiary; provided, (i) all such Indebtedness shall be
        evidenced by the Intercompany Note, and, if owed to a Credit Party, shall be subject to a
        First Priority Lien pursuant to the Pledge and Security Agreement, (ii) all such
        Indebtedness shall be unsecured and subordinated in right of payment to the payment in


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        full of the Obligations pursuant to the terms of the Intercompany Note and (iii) such
        Indebtedness is permitted as an Investment under Section 6.6;

                       (c) second lien or unsecured term loan or second lien or unsecured note
        facilities in an aggregate principal amount, including all Permitted Refinancing
        Indebtedness incurred to renew, refund, refinance, replace, defease or discharge any
        Indebtedness incurred pursuant to this clause (c), not to exceed the Additional Facilities
        Amount (plus an amount equal to any accrued and unpaid interest, penalty or premium
        paid in connection with the refinancing or replacement of any Indebtedness incurred
        under this clause (c) plus any transaction fees and expenses relating to such refinancing
        or replacement) (the “Additional Facilities”; provided that (i) Administrative Agent
        shall have received a written notice thereof from Borrower no less than three Business
        Days prior to the establishment of each such Additional Facility, which notice shall
        specify whether such Additional Facility is an unsecured term loan or note facility (each,
        an “Unsecured Additional Facility”) or a second lien secured term loan or note facility
        (each, a “Second Lien Additional Facility”) and the amount thereof, together with a
        reasonably detailed description of the other material terms and conditions of such
        Indebtedness or drafts of the documentation relating thereto, (ii) such Second Lien
        Additional Facility shall be secured by Liens on the Collateral on a pari passu basis with
        the Liens securing Second Lien Indebtedness but subordinated to the Lien securing
        Obligations pursuant to the Collateral Trust Agreement and such Liens shall be granted
        pursuant to security documents substantially similar to the security documents that are
        Second Lien Documents, (iii) such Second Lien Additional Facility shall not be secured
        by any property or assets of Holdings, Borrower or any Restricted Subsidiary other than
        the Collateral unless such property or assets become Collateral hereunder, (iv) such
        Additional Facility incurred by the Borrower or a Domestic Subsidiary shall not at any
        time be guaranteed by any Restricted Subsidiaries other than Restricted Subsidiaries that
        are Guarantors unless such Restricted Subsidiary shall become a Guarantor Subsidiary
        and the terms of such guarantee shall be no more favorable in any material respects to the
        secured parties in respect of such Indebtedness than the terms of the Guaranty, (v) the
        weighted average life to maturity of such Additional Facility shall be no shorter than the
        remaining weighted average life to maturity of the Term Loans, (vi) the maturity date of
        such Additional Facility shall be no shorter than the Latest Maturity Date at the time such
        Additional Facility is established, and (vii) both immediately prior and after giving effect
        to the incurrence thereof, no Event of Default shall exist or result therefrom;

                        (d) Indebtedness incurred by Borrower or any of its Restricted
        Subsidiaries arising from agreements providing for indemnification, holdbacks, working
        capital or other purchase price adjustments, earn-outs, non-compete agreements, deferred
        compensation or similar obligations, or from guaranties or letters of credit, surety bonds
        or performance bonds securing the performance of Borrower or any such Restricted
        Subsidiary pursuant to such agreements, in connection with acquisitions permitted
        pursuant to Section 6.6;

                      (e) the incurrence by Borrower or its Restricted Subsidiaries of
        Indebtedness in respect of Mining Financial Assurances, reclamation liabilities, water
        treatment, workers’ compensation claims, payment obligations in connection with health

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        or social security benefits, unemployment or other insurance obligations, statutory
        obligations, bankers’ acceptances, performance, letter of credit or completion or
        performance guarantees (including, without limitation, performance guarantees pursuant
        to coal supply agreements or equipment leases) and surety, performance, utility, bid, stay,
        statutory, appeal bonds or similar obligations in the ordinary course of business;

                       (f) Indebtedness in respect of any customary cash management, cash
        pooling or netting or setting off arrangements in the ordinary course of business;

                       (g) the incurrence by Borrower or any Restricted Subsidiary of
        Indebtedness arising from agreements providing for indemnification, adjustment of
        purchase price or similar obligations, incurred in connection with the disposition of any
        business, assets or Restricted Subsidiary (other than Guarantees of Indebtedness incurred
        by any Person acquiring all or any portion of such business, assets or Restricted
        Subsidiary for the purpose of financing such acquisition), so long as the principal amount
        does not exceed the gross proceeds actually received by Borrower or any Restricted
        Subsidiary in connection with such disposition;

                        (h) (i) the guarantee by Borrower or any Restricted Subsidiary of
        Indebtedness of Borrower or a Guarantor Subsidiary of Borrower and (ii) the guarantee
        by a Restricted Subsidiary that is not a Subsidiary Guarantor of Indebtedness of another
        Restricted Subsidiary that is not a Subsidiary Guarantor, in each case to the extent that
        the guaranteed Indebtedness was permitted to be incurred by another provision of this
        Section 6.1; provided that if the Indebtedness being guaranteed is subordinated to or pari
        passu with the Obligations, then the guarantee must be subordinated or pari passu, as
        applicable, to the same extent as the Indebtedness guaranteed;

                      (i) the incurrence by Borrower and Borrower’s Restricted Subsidiaries of
        Indebtedness described in Schedule 6.1;

                       (j) the incurrence by Borrower or any of its Restricted Subsidiaries of
        Permitted Refinancing Indebtedness in exchange for, or the net proceeds of which are
        used to renew, refund, refinance, replace, defease or discharge any Indebtedness (other
        than intercompany Indebtedness) that was permitted by this Agreement to be incurred
        pursuant to clauses (c), (i), (j), (k), (n) or (o) of this Section;

                       (k) the incurrence by Borrower or any of its Restricted Subsidiaries of
        Indebtedness represented by Capital Lease Obligations, mortgage financings, Acquired
        Debt or purchase money obligations, in each case, incurred for the purpose of financing
        all or any part of the purchase price or cost of design, construction, installation or
        improvement of property, plant or equipment used in the business of Borrower or any of
        its Restricted Subsidiaries, in an aggregate principal amount, including Permitted
        Refinancing Indebtedness incurred to renew, refund, refinance, replace, defease or
        discharge any Indebtedness incurred pursuant to this clause (k), not to exceed
        $150,000,000 at any time outstanding.

                       (l) [reserved];


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                       (m) solely in the event that the Incremental Revolving Commitments are
        not outstanding and subject to the Intercreditor Agreement, Indebtedness governed by
        and arising pursuant to the Revolving Credit Agreement in an aggregate principal amount
        not to exceed $225,000,000 (plus an amount equal to any accrued and unpaid interest,
        penalty or premium paid in connection with the refinancing or replacement of any
        Indebtedness incurred and outstanding under this clause (m), in each case in accordance
        with the terms of such Indebtedness, plus any transaction fees and expenses relating to
        such refinancing or replacement) at any one time outstanding;

                       (n) Second Lien Indebtedness in an aggregate principal amount,
        including all Permitted Refinancing Indebtedness incurred to renew, refund, refinance,
        replace, defease or discharge any Indebtedness incurred pursuant to this clause (n), not to
        exceed $1,315,815,000 (plus an amount equal to any accrued and unpaid interest, penalty
        or premium paid in connection with any Permitted Refinancing Indebtedness, in each
        case, in accordance with the terms of the Second Lien Indebtedness being so refinanced,
        plus any transaction fees and expenses relating to such Permitted Refinancing
        Indebtedness) at any one time outstanding;

                       (o) Indebtedness governed by and arising pursuant to the Incremental
        Pari Notes, including all Permitted Refinancing Indebtedness incurred to renew, refund,
        refinance, replace, defease or discharge any Indebtedness incurred pursuant to this clause
        (o);

                       (p) the incurrence of royalties, the dedication of reserves under supply
        agreement or similar rights or interests granted, taken subject to, or otherwise imposed on
        properties consistent with the normal practices in the mining industry in an aggregate
        principal amount not to exceed the greater of (i) $50,000,000 and (ii) 2.5% of Total
        Assets at any one time outstanding (measured at the time of incurrence);

                        (q) other Indebtedness of Borrower or its Guarantor Subsidiaries in an
        aggregate amount not to exceed at any time $100,000,000 plus an amount equal to any
        accrued and unpaid interest, penalty or premium paid in connection with the refinancing
        or replacement of any Indebtedness incurred in reliance on this clause; provided, that no
        more than $50,000,000 (plus an amount equal to any accrued and unpaid interest, penalty
        or premium, and fees and expenses paid in connection with any refinancing or
        replacement of any Indebtedness incurred in reliance on this clause (q) in an aggregate
        amount not to exceed $5,000,000) of such Indebtedness under this clause (q) may be
        secured unless at the time such Indebtedness is incurred the Secured Net Leverage Ratio
        (calculated on a pro forma basis giving effect to the incurrence of such Indebtedness and
        the use of proceeds thereof and all related transactions) does not exceed 3.00:1.00 as of
        the last day of the Fiscal Quarter most recently ended for which financial statements are
        available; provided, further that in no event shall the aggregate amount of such
        Indebtedness under this clause (q) that may be secured exceed $100,000,000 (plus an
        amount equal to any accrued and unpaid interest, penalty or premium, and fees and
        expenses paid in connection with any refinancing or replacement of any Indebtedness
        incurred in reliance on this clause (q) in an aggregate amount not to exceed $10,000,000);


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                       (r) other Indebtedness of Restricted Subsidiaries of Borrower that are not
        Guarantors in an aggregate amount not to exceed at any time $25,000,000; and

                       (s) Refinancing Indebtedness incurred by Borrower pursuant to
        procedures reasonably specified by Administrative Agent and reasonably acceptable to
        Borrower to the extent that 100% of the cash proceeds therefrom (net of underwriting
        discounts and commissions and other reasonable costs and expenses associated therewith,
        including reasonable legal fees and expenses) are, substantially concurrently with the
        receipt thereof, applied solely to the prepayment of Term Loans being so refinanced in
        accordance with Section 2.13 on a dollar-for-dollar basis (including all accrued interest,
        fees and premiums (if any)); provided that (A) no Default or Event of Default shall have
        occurred and be continuing or would result therefrom, and (B) with respect to
        Refinancing Indebtedness issued under the Credit Documents, Borrower shall deliver to
        Administrative Agent at least five Business Days prior to the incurrence of such
        Refinancing Indebtedness any customary legal opinions, board resolutions, officers’
        certificates and/or reaffirmation agreements reasonably requested by Administrative
        Agent;

                      (t) Indebtedness supported by letters of credit in a principal amount
        outstanding not in excess of the stated amount of such letter of credit to finance insurance
        policy premiums in the ordinary course of business;

                       (u) the incurrence by Borrower or any of its Restricted Subsidiaries of
        Hedging Obligations in the ordinary course of business and Hedging Obligations incurred
        to hedge any interest rate, commodity price, or currency rate, risk;

                        (v) the incurrence by Borrower or its Restricted Subsidiaries of
        Indebtedness arising from the honoring by a bank or other financial institution of a check,
        draft or similar instrument inadvertently drawn against insufficient funds, so long as such
        Indebtedness is covered within five Business Days; and

                        (w) the incurrence by Borrower or any of its Restricted Subsidiaries of
        Acquired Debt so long as immediately after giving effect to the incurrence thereof and
        related transactions, the Net Leverage Ratio (calculated on a pro forma basis giving effect
        to the incurrence thereof) does not exceed 3.50:1.00 as of the last day of the Fiscal
        Quarter most recently ended for which financial statements are available; provided,
        however, that on the date of such occurrence, if such Acquired Debt is incurred in
        connection with or in contemplation of the applicable transaction, such Acquired Debt is
        not incurred by a Restricted Subsidiary that is not a Guarantor Subsidiary.

               For purposes of determining compliance with this Section 6.1 in the event that an
item of Indebtedness meets the criteria of more than one of the categories of Indebtedness
described in clauses (a) through (w) above, Borrower will be permitted to classify such item of
Indebtedness on the date of its incurrence, or later reclassify all or a portion of such item of
Indebtedness, in any manner that complies with this Section 6.1. Notwithstanding the foregoing,
all Second Lien Indebtedness will be deemed to have been incurred in reliance on the exception
provided by clause (n) above and all Indebtedness governed by the Revolving Credit Agreement


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will be deemed to have been incurred in reliance on the exception provided by clause (m) above.
The accrual of interest or preferred stock dividends, the accretion or amortization of original
issue discount, the payment of interest on any Indebtedness in the form of additional
Indebtedness with the same terms, the reclassification of preferred stock as Indebtedness due to a
change in accounting principles, and the payment of dividends on preferred stock or Disqualified
Equity Interests in the form of additional shares of the same class of preferred stock or
Disqualified Equity Interests will not be deemed to be an incurrence of Indebtedness or an
issuance of preferred stock or Disqualified Equity Interests for purposes of this Section 6.1. For
purposes of determining compliance with any U.S. dollar-denominated restriction on the
incurrence of Indebtedness, the U.S. dollar-equivalent principal amount of Indebtedness
denominated in a foreign currency shall be utilized, calculated based on the relevant currency
exchange rate in effect on the date such Indebtedness was incurred. Notwithstanding any other
provision of this covenant, the maximum amount of Indebtedness that Borrower or any
Restricted Subsidiary may incur pursuant to this Section 6.1 shall not be deemed to be exceeded
solely as a result of fluctuations in exchange rates or currency values.

                The amount of any Indebtedness outstanding as of any date will be:

                (1)     the accreted value of the Indebtedness, in the case of any Indebtedness
                       issued with original issue discount;

                (2)    the principal amount of the Indebtedness, in the case of any other
                       Indebtedness; and

                (3)     in respect of Indebtedness of another Person secured by a Lien on the
                       assets of the specified Person, the lesser of:

                                 (a) the Fair Market Value of such assets at the date of
                                 determination; and

                                 (b) the amount of the Indebtedness of the other Person.

        6.2. Liens. Neither Borrower nor any Guarantor Subsidiary shall, nor shall it permit
any of its Restricted Subsidiaries to, directly or indirectly, create, incur, assume or permit to exist
any Lien on or with respect to any property or asset of any kind (including any document or
instrument in respect of goods or accounts receivable) of Borrower or any of its Restricted
Subsidiaries, whether now owned or hereafter acquired (and including any license right), or any
income or profits therefrom, except:

                      (a) Liens in favor of Collateral Trustee for the benefit of Secured Parties
        granted pursuant to any Credit Document;

                        (b) Liens for taxes, assessments or government charges or claims or
        unpaid utilities that are not yet delinquent or that are being contested in good faith by
        appropriate proceedings promptly instituted and diligently concluded; provided that any
        reserve or other appropriate provision as is required in conformity with GAAP has been
        made therefor;


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                        (c) Liens imposed by law, such as carriers’, warehousemen’s, landlord’s,
        mechanics’ Liens, repairmen’s and other like Liens, (other than any such Lien imposed
        on the assets of a Credit Party pursuant to Section 430(k) of the Internal Revenue Code or
        Section 303(k) ERISA with respect to a Pension Plan), in each case incurred in the
        ordinary course of business;

                        (d) Liens to secure the performance of Mining Financial Assurances,
        statutory obligations, insurance, performance, trade contracts, utility services,
        government contracts, return of money bonds, surety or appeal bonds and other
        obligations of like nature (including surety bonds obtained as required in connection with
        federal coal leases), reclamation liabilities, workers compensation obligations,
        unemployment insurance and other types of social security and deposits securing liability
        to insurance carriers under insurance or self-insurance arrangements, performance bonds
        or other obligations of a like nature incurred in the ordinary course of business (including
        Liens to secure letters of credit issued to assure payment of such obligations);

                        (e) survey exceptions, easements or reservations of, rights of others for,
        licenses, rights-of-way, sewers, electric lines, telegraph and telephone lines and other
        similar purposes, or zoning or other restrictions or similar encumbrances as to the use of
        real property that were not incurred in connection with Indebtedness and that do not in
        the aggregate materially adversely affect the value of said properties or materially impair
        their use in the operation of the business of Borrower or any of its Restricted
        Subsidiaries;

                        (f) any interest or title of a lessor, licensor, sublicensor or sublessor under
        any lease or license agreement entered into in the ordinary course of business, and rights
        of owners of interest in overlying, underlying or intervening strata and/or mineral
        interests not owned by Borrower or one of its Restricted Subsidiaries with respect to
        tracts of real property where Borrower or the applicable Restricted Subsidiary’s
        ownership is only surface or severed mineral or is otherwise subject to mineral
        severances of one or more third parties; other defects and exceptions to title of real
        property where such defects or exceptions are not material to the value of such real
        property;

                      (g) Liens arising from (i) protective filings of UCC financing statements
        regarding operating leases entered into by Borrower and its Restricted Subsidiaries in the
        ordinary course of business and (ii) filings of UCC financing statements as a
        precautionary measure in connection with operating leases;

                       (h) Liens described in Schedule 6.2;

                       (i) Liens securing Indebtedness permitted pursuant to Section 6.1(k);
        provided, in the case of such Liens other than Liens securing Acquired Debt, such Liens
        shall encumber only the asset acquired with the proceeds of such Indebtedness and, in the
        case of Liens securing Acquired Debt, such Liens shall encumber only those assets which
        secured such Indebtedness at the time such assets were acquired by Borrower or its
        Restricted Subsidiaries;


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                       (j) Liens securing Indebtedness permitted by Section 6.1(w), provided
        any such Lien shall encumber only those assets which secured such Indebtedness at the
        time such assets were acquired by Borrower or its Subsidiaries;

                      (k) Liens on Borrower’s or its Subsidiaries cash resulting from deposits
        or prepayments of royalties securing Indebtedness permitted by Section 6.1(p);

                       (l) Liens securing (x) Indebtedness or other liabilities in an aggregate
        amount not to exceed $50,000,000 at any one time outstanding plus (y) additional
        Indebtedness or other liabilities so long as (in the case of this clause (y)), at the time such
        Indebtedness or liability is incurred, the Secured Net Leverage Ratio (calculated on a pro
        forma basis giving effect to the incurrence of such Indebtedness and the use of proceeds
        thereof and all related transactions) does not exceed 3.00:1.00 as of the last day of the
        Fiscal Quarter most recently ended for which financial statements are available; provided
        that in no event shall the aggregate amount of Indebtedness or other liabilities that may
        be secured by Liens under this clause (l) exceed $100,000,000 at any one time
        outstanding (plus an amount equal to any accrued and unpaid interest, penalty or
        premium, and fees and expenses paid in connection with any refinancing or replacement
        of any Indebtedness with Indebtedness secured in reliance on this clause (l) in an
        aggregate amount not to exceed $10,000,000);

                      (m) solely in the event that the Incremental Revolving Commitments are
        not outstanding and subject to the Intercreditor Agreement, Liens in favor of the
        Revolving Agent securing (i) Indebtedness permitted pursuant to Section 6.1(m) and (ii)
        all “Bank Product Liability” (as defined in the Revolving Credit Agreement) and all
        “Hedging Liability” (as defined in the Revolving Credit Agreement) and guarantees
        thereof that are secured, or intended to be secured, under the Revolving Credit
        Documents;

                       (n) Liens (subordinated to the Liens securing Obligations) in favor of
        Collateral Trustee for the benefit of holders of Second Lien Indebtedness and subject to
        the Collateral Trust Agreement securing Indebtedness permitted pursuant to Section
        6.1(n);

                       (o) subject to the Collateral Trust Agreement, Liens on the Collateral
        securing (i) Permitted First Lien Priority Refinancing Debt; (ii) Permitted Second Lien
        Priority Refinancing Debt; (iii) Incremental Pari Notes; and (iv) Second Lien Additional
        Facilities;

                      (p) Liens on mineral rights and/or constructed coal mine assets, in each
        case securing installment notes issued to governmental authorities for the purchase of
        such mineral rights and/or rights to construct coal mines not in excess of the maximum
        principal amount of $10,000,000 in the aggregate at any time outstanding for all such
        notes);

                      (q) Liens securing Cash Management Obligations with an aggregate
        principal amount that do not exceed $2,500,000 at any one time outstanding;


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                       (r) Liens securing judgments for the payment of money not constituting
        an Event of Default, so long as such Liens are adequately bonded and notices of lis
        pendens and associated rights related to litigation being contested in good faith by
        appropriate proceedings and for which adequate reserves have been made;

                       (s) Liens on insurance policies and proceeds thereof, or other deposits, to
        secure insurance premium financings;

                        (t) Liens on specific items of inventory or other goods (and the proceeds
        thereof) of any Person securing such Person’s obligations in respect of bankers’
        acceptances issued or created in the ordinary course of business for the account of such
        Person to facilitate the purchase, shipment or storage of such inventory or other goods;

                       (u) Liens arising out of conditional sale, title retention, consignment or
        similar arrangements for the sale of goods entered into in the ordinary course of business;

                      (v) Liens on Equity Interest of an Unrestricted Subsidiary (other than
        Foresight LP or Foresight GP) that secure Indebtedness of such Unrestricted Subsidiary;

                      (w) Liens in favor of banking institutions arising as a matter of law or
        contract encumbering deposits (including the right of set off) which are within the
        general parameters customary in the banking industry;

                       (x) Coal Liens;

                      (y) Liens on property (other than Collateral) of a Restricted Subsidiary
        that is not a Guarantor Subsidiary securing Indebtedness and other liabilities of such
        Restricted Subsidiary;

                       (z) Liens on property of a Person existing at the time such Person
        becomes a Restricted Subsidiary of Borrower or is merged with or into or consolidated
        with Borrower or any Restricted Subsidiary of Borrower; provided that such Liens were
        in existence prior to the contemplation of such Person becoming a Restricted Subsidiary
        of Borrower or such merger or consolidation and do not extend to any assets other than
        those of the Person that becomes a Restricted Subsidiary of Borrower or is merged with
        or into or consolidated with Borrower or any Restricted Subsidiary of Borrower; and

                       (aa) Liens on property (including Capital Stock) existing at the time of
        acquisition of the property by Borrower or any Subsidiary of Borrower; provided that
        such Liens were in existence prior to such acquisition and not incurred in contemplation
        of such acquisition.

Notwithstanding any other provision of this covenant, the maximum amount of liabilities that
may be secured by Liens pursuant to this Section 6.2 shall not be deemed to be exceeded solely
as a result of fluctuations in exchange rates or currency values. In addition, (i) with respect to
any Lien securing Indebtedness that was permitted to secure such Indebtedness or other
obligation at the time of the Incurrence of such Indebtedness or obligation, such Lien shall also
be permitted to secure any Increased Amount of such Indebtedness or other obligation; and (ii) in

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the event that a Permitted Lien meets the criteria of more than one of the types of Permitted
Liens (at the time of incurrence or at a later date), the Borrower in its sole discretion may divide,
classify or from time to time reclassify all or any portion of such Permitted Lien in any manner
that complies with this Section 6.2 and such Permitted Lien shall be treated as having been made
pursuant only to the clause or clauses of this Section 6.2 to which such Permitted Lien has been
classified or reclassified. The “Increased Amount” of any Indebtedness shall mean any increase
in the amount of such Indebtedness in connection with any accrual of interest, the accretion of
accreted value, the amortization of original issue discount, the payment of interest in the form of
additional Indebtedness with the same terms, accretion of original issue discount or liquidation
preference and increases in the amount of Indebtedness outstanding solely as a result of
fluctuations in the exchange rate of currencies or increases in the value of property securing
Indebtedness.

         6.3. No Further Negative Pledges. Except with respect to (a) specific property
encumbered to secure payment of particular Indebtedness or to be sold pursuant to an executed
agreement with respect to a permitted Asset Sale, (b) restrictions by reason of customary
provisions restricting assignments, subletting or other transfers contained in leases, licenses and
similar agreements entered into in the ordinary course of business (provided that such restrictions
are limited to the property or assets secured by such Liens or the property or assets subject to
such leases, licenses or similar agreements, as the case may be) (c) restrictions in any
Refinancing Indebtedness, (d) restrictions in the Revolving Credit Agreement, (e) restrictions in
the Second Lien Documents, (f) restrictions in Incremental Pari Agreements, (g) restrictions in
the documentation governing Additional Facilities, (h) restrictions in the Credit Documents, (i)
restrictions in any Permitted Refinancing Indebtedness of Indebtedness described in clauses (c)
through (h) above, provided such restrictions are no less favorable to the Credit Parties and the
Lenders than those in the debt so refinanced and (j) any restrictions permitted pursuant to Section
6.5, neither Borrower nor any Guarantor Subsidiary nor any of their Restricted Subsidiaries shall
enter into any agreement prohibiting the creation or assumption of any Lien upon any of its
properties or assets, whether now owned or hereafter acquired, to secure the Obligations.

        6.4. Restricted Junior Payments. Neither Borrower nor any Guarantor Subsidiary
shall, nor shall it permit any of its Restricted Subsidiaries through any manner or means or
through any other Person to, directly or indirectly, declare, order, pay, make or set apart, or agree
to declare, order, pay, make or set apart, any sum for any Restricted Junior Payment except that:

                      (a) Any Restricted Subsidiary of Borrower may declare and pay
        dividends or make other distributions ratably to its equity holders;

                       (b) Borrower may make regularly scheduled payments of principal and
        interest in respect of any of the Additional Facilities or any other Indebtedness in
        accordance with the terms of the documentation governing such Additional Facilities or
        such other Indebtedness (including, for the avoidance of doubt, any AHYDO
        prepayments required pursuant to the terms of such Indebtedness);

                      (c) Borrower may make regularly scheduled payments of interest in
        respect of any of the Second Lien Indebtedness in accordance with the terms of the
        applicable Second Lien Documents;

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                      (d) the payment of any dividend or the consummation of any irrevocable
        redemption within 60 days after the date of declaration of the dividend or giving of the
        redemption notice, as the case may be, if at the date of declaration or notice, the dividend
        or redemption payment would have complied with the provisions of this Agreement;

                       (e) Permitted Payments to Holdings;

                        (f) Borrower may (i) make Restricted Junior Payments to Holdings so
        that Holdings may make Restricted Junior Payments to its equity holders or the equity
        holders of any parent company of Holdings or (ii) make payments or prepayments of
        principal of, premium, if any, or interest on, or redeem, purchase, retire, defease
        (including in-substance or legal defeasance), or make similar payments (including on
        account of any sinking fund) with respect to, any Indebtedness in each case up to an
        amount not to exceed the Cumulative Amount as in effect immediately prior to the
        making of such Restricted Junior Payment; provided that (A) immediately prior to, and
        after giving effect thereto, (i) no Default or Event of Default shall have occurred and be
        continuing or would result therefrom and (ii) Borrower and its Restricted Subsidiaries
        shall be in compliance on a pro forma basis after giving effect to such Restricted Payment
        and all related transactions with a Net Leverage Ratio of 2.50:1.00 or less, in each case,
        as of the last day of the Fiscal Quarter most recently ended for which financial statements
        are available and (B) Borrower shall have delivered to Administrative Agent a
        Compliance Certificate, together with all relevant financial information reasonably
        requested by Administrative Agent, demonstrating in reasonable detail the calculation of
        the Cumulative Amount immediately prior to the making of such Restricted Junior
        Payment and the amount thereof elected to be so applied and evidencing compliance with
        the Net Leverage Ratio as required under clause (A)(ii) above;

                       (g) after a Qualified IPO, Borrower may make Restricted Junior
        Payments to Holdings so that Holdings may make Restricted Junior Payments to its
        equity holders or the equity holders of any direct or indirect parent company of Holdings
        in an aggregate amount not exceeding 6.0% per annum of the Net Equity Proceeds
        received by Borrower from such Qualified IPO; provided that (i) the Cumulative Amount
        shall be reduced by a corresponding amount of any such Restricted Junior Payments (to
        the extent such Net Equity Proceeds are included therein) and (ii) immediately prior to,
        and after giving effect thereto, no Event of Default shall have occurred and be continuing
        or would result therefrom;

                        (h) so long as no Default or Event of Default shall have occurred and be
        continuing or shall be caused thereby, Borrower may make Restricted Junior Payments to
        Holdings in an aggregate amount not to exceed $3,000,000 in any twelve-month period,
        less the amount of Investments made in any such twelve month period pursuant to
        Section 6.6(d)(B) in reliance on this clause (h), to the extent necessary to permit Holdings
        to repurchase, redeem or otherwise acquire or retire for value any Equity Interests in
        Holdings held by any current or former officer, director or employee of Borrower or any
        of its Subsidiaries pursuant to any equity subscription agreement, stock option agreement,
        shareholders’ agreement or similar agreement; provided, that Borrower may carry over
        and make in subsequent twelve-month periods, in addition to the amounts permitted for

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        such twelve-month period, all of the unutilized capacity under this clause (h) attributable
        to the immediately preceding twelve-month period;

                       (i) Borrower and its Restricted Subsidiaries may make payments to any
        Principal in connection with the contribution of American Equipment & Machine, Inc. in
        an amount not to exceed $1,000,000 since the Closing Date;

                       (j) Borrower may make Restricted Junior Payment in exchange for, or
        out of or with the net cash proceeds of the sale of, Equity Interests in Borrower (other
        than Disqualified Equity Interest) to Holdings or from the contribution of common equity
        capital to Borrower; provided that the making of any such Restricted Junior Payment
        occurs within 20 days of the sale of Equity Interests or contribution of common equity
        capital;

                      (k) so long as no Default or Event of Default has occurred and is
        continuing, any other Restricted Junior Payment in an aggregate amount not to exceed
        $15,000,000 since the Closing Date, less the amount of Investments made since the
        Closing Date pursuant to Section 6.6(d)(B) in reliance on this clause (k).

                        (l) Borrower and its Restricted Subsidiaries may make cash advances or
        other Restricted Junior Payments to Holdings so that Holdings may repurchase Equity
        Interests deemed to occur upon the exercise of stock options to the extent such Equity
        Interests represent a portion of the exercise price of those stock options;

                        (m) Borrower may make Restricted Junior Payments to Holdings so that
        Holdings may make payments of cash in lieu of the issuance of fractional shares upon
        (i) the exercise of options or warrants or (ii) the conversion or exchange of Equity
        Interest in Holdings;

                       (n) the repurchase, redemption, defeasance or other acquisition or
        retirement for value of Indebtedness of Borrower or any Guarantor Subsidiary that is
        unsecured or contractually subordinated to the Obligations with the net cash proceeds
        from a substantially concurrent incurrence of Permitted Refinancing Indebtedness; and

                       (o) prepayments in respect of deferred purchase arrangements consistent
        with past practices in an aggregate amount not to exceed the greater of (i) $20,000,000 or
        (ii) 1.75% of Total Assets outstanding at any one time.

              For purposes of determining compliance with this Section 6.4, in the event that a
Restricted Junior Payment meets criteria of more than one of the categories of Restricted Junior
Payments described in clauses (a) through (o) above, Borrower will be entitled to classify such
Restricted Junior Payment (or a portion thereof) on the date of its payment or later reclassify
such Restricted Junior Payments (or a portion thereof) in any manner that complies with this
Section 6.4.

              The amount of all Restricted Junior Payments (other than cash) will be the Fair
Market Value on the date of the Restricted Junior Payment of the asset(s) or securities proposed
to be transferred or issued by Borrower or such Restricted Subsidiary, as the case may be,

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pursuant to the Restricted Junior Payment. The Fair Market Value of any assets or securities
that are required to be valued by this covenant will be determined by Borrower (subject to
Board of Directors approval or an opinion as required by the definition of Fair Market Value).

        6.5. Restrictions on Subsidiary Distributions. Except as provided herein, neither
Borrower nor any Guarantor Subsidiary shall, nor shall it permit any of its Restricted
Subsidiaries to, create or otherwise cause or suffer to exist or become effective any consensual
encumbrance or restriction of any kind on the ability of any Restricted Subsidiary of Borrower to
(a) pay dividends or make any other distributions on any of such Restricted Subsidiary’s Equity
Interests owned by Borrower or any other Restricted Subsidiary of Borrower, (b) repay or prepay
any Indebtedness owed by such Restricted Subsidiary to Borrower or any other Restricted
Subsidiary of Borrower, (c) make loans or advances to Borrower or any other Restricted
Subsidiary of Borrower, or (d) transfer, lease or sell any of its property or assets to Borrower or
any other Restricted Subsidiary of Borrower.

         Notwithstanding the foregoing, the preceding restrictions will not apply to encumbrances
or restrictions existing under or by reason of (i) agreements governing Indebtedness described on
Schedule 6.1 as in effect on the Closing Date and the Credit Documents and any amendments,
restatements, modifications, renewals, supplements, refundings, replacements or refinancings of
those agreements; provided that the amendments, restatements, modifications, renewals,
supplements, refundings, replacements or refinancings are not materially more restrictive, taken
as a whole, with respect to such dividend and other payment restrictions than those contained in
those agreements on the Closing Date; (ii) agreements evidencing Indebtedness permitted by
(A) Sections 6.1(c), 6.1(m), 6.1(n), 6.1(o) and 6.1(w) and (B) Sections 6.1(l), 6.1(j) and 6.1(k)
that impose restrictions on the property so acquired, and (C) Section 6.1(c) or (r) that impose
restrictions only on Restricted Subsidiaries that are not Guarantors; (iii) any agreement or Equity
Interest of a Person acquired by Borrower or any of its Restricted Subsidiaries as in effect at the
time of such acquisition (except to the extent such agreement was entered into or Equity Interests
were incurred in connection with or in contemplation of such acquisition), which encumbrance
or restriction is not applicable to any Person, or the properties or assets of any Person, other than
the Person, or the property or assets of the Person, so acquired; provided that, in the case of
Indebtedness, such Indebtedness was permitted by the terms of the agreement to be incurred; (iv)
customary non-assignment provisions in contracts, leases, sub-leases and licenses entered into in
the ordinary course of business; (v) purchase money obligations for property acquired in the
ordinary course of business and Capital Lease Obligations that impose restrictions on the
property purchased or leased of the nature described in Section 6.2(k); (vi) any agreement for the
sale or other disposition of a Restricted Subsidiary that restricts distributions by that Restricted
Subsidiary pending its sale or other disposition; (vii) agreements evidencing Refinancing
Indebtedness and Permitted Refinancing Indebtedness; provided that the restrictions contained in
the agreements governing such Refinancing Indebtedness or Permitted Refinancing
Indebtedness, as applicable, are not materially more restrictive, taken as a whole, than those
contained in the agreements governing the Indebtedness being refinanced; (viii) Liens, including
real property mortgages, permitted to be incurred pursuant to Section 6.2 that limit the right of
the debtor to dispose of the assets subject to such Liens; (ix) provisions limiting the disposition
or distribution of assets or property in joint venture agreements, asset sale agreements, sale-
leaseback agreements, stock sale agreements and other similar agreements, which limitation is
applicable only to the assets that are the subject of such agreements; and (x) restrictions on cash

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or other deposits or net worth imposed by customers under contracts entered into in the ordinary
course of business.

       6.6. Investments. Neither Borrower nor any Guarantor Subsidiary shall, nor shall it
permit any of its Restricted Subsidiaries to, directly or indirectly, make or own any Investment in
any Person, including any Joint Venture, except:

                     (a) Investments in Cash and assets that were Cash Equivalents when such
        Investments were made;

                      (b) equity Investments owned as of the Closing Date in any Subsidiary
        (including Equity Interests of Foresight GP and Foresight LP);

                      (c) Investments by and among the Borrower and its Restricted
        Subsidiaries made in the ordinary course of business;

                         (d) (A) other Investments by and among Borrower and its Restricted
        Subsidiaries and Unrestricted Subsidiaries; provided that Investments by Credit Parties in
        non-Credit Parties and Investments by Borrower and its Restricted Subsidiaries in
        Unrestricted Subsidiaries shall not exceed $50,000,000 in the aggregate outstanding at
        any time, (B) intercompany loans by Borrower or a Restricted Subsidiary of Borrower to
        Holdings as long as had such intercompany loan been made as a Restricted Junior
        Payment to Holdings, it would have been permitted by clause (i), (ii) or (iii) of the
        definition of the term “Permitted Payment to Holdings”, Section 6.4(f), 6.4(g), 6.4(h),
        6.4(j), 6.4(k), 6.4(l), or 6.4(m) and (C) intercompany Loans and other Investments in any
        Subsidiary that is not a Guarantor for the purpose of making an Investment permitted
        under Section 6.6(j);

                       (e) the exercise of the Foresight Acquisition Option in accordance with
        the terms thereof and the corresponding Equity Interests owned following the exercise of
        the Foresight Acquisition Option;

                       (f) loans and advances to employees of Borrower and its Subsidiaries
        made in the ordinary course of business in an aggregate principal amount not to exceed
        $3,000,000 at any one time outstanding;

                        (g) Permitted Acquisitions so long as (1) Borrower shall be in
        compliance with the financial covenant set forth in Section 6.7 (calculated on a pro forma
        basis after giving effect to such acquisition and reducing Consolidated Net Total Debt for
        the purposes of calculating the Net Leverage Ratio under this Section 6.6(g) by the
        aggregate amount of Unrestricted Cash acquired in such acquisition) as of the last day of
        the Fiscal Quarter most recently ended for which financial statements have been
        delivered hereunder (and Borrower shall deliver a Compliance Certificate evidencing
        compliance with Section 6.7 as required under this clause (1)) and (2) in respect of any
        acquisition of targets that will not become Guarantor Subsidiaries or assets that will not
        be acquired by Borrower or a Guarantor Subsidiary, the aggregate amount of Investments
        by Credit Parties in such Persons or assets shall not exceed $50,000,000 in the aggregate
        from the Closing Date to the date of determination;

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                        (h) Investments described in Schedule 6.6 or made pursuant to binding
        Commitments existing on the Closing Date and any Investment consisting of an
        extension, modification or renewal of any Investment described in Schedule 6.6 or made
        pursuant to binding Commitments existing on the Closing Date; provided that the amount
        of any such Investment may be increased (a) as required by the terms of such Investment
        as in existence on the Closing Date or (b) as otherwise permitted under this Agreement;

                     (i) Secured Hedge Agreements and other Hedging Obligations and
        Designated Coal Contracts which constitute Investments;

                        (j) Investments in Permitted Joint Ventures (A) existing on the Closing
        Date, and (B) after the Closing Date in an amount at any one time outstanding, together
        with all other Investments made pursuant to clause (B) of this clause (j) not to exceed the
        greater of (i) $10,000,000 or (ii) 0.75% of Total Assets measured on the date such
        Investment was made and without giving effect to subsequent changes in value;

                      (k) Borrower and its Subsidiaries may make Investments consisting of
        prepayments in respect of deferred purchase arrangements in an aggregate amount not to
        exceed the greater of (i) $20,000,000 and (ii) 1.75% of Total Assets at any one time
        outstanding;

                       (l) Investments made as a result of the receipt of non-cash consideration
        from any disposition of property or assets including an Asset Sale, in each case that was
        not made in violation of this Agreement (including Equity Interests of Foresight GP and
        Foresight LP);

                        (m) Investments received in compromise or resolution of (A) obligations
        of trade creditors or customers that were incurred in the ordinary course of business of
        Borrower or any of its Subsidiaries, including pursuant to any plan of reorganization or
        similar arrangement upon the bankruptcy or insolvency of any trade creditor or customer;
        or (B) litigation, arbitration or other disputes;

                       (n) any guaranty of Indebtedness and obligations permitted to be incurred
        pursuant to Section 6.1 or not prohibited by this Agreement;

                       (o) Investments acquired after the Closing Date as a result of the
        acquisition by Borrower or any of its Subsidiaries of another Person, including by way of
        a merger, amalgamation or consolidation with or into Borrower or any of its Subsidiaries
        in a Permitted Acquisition or other Permitted Investment after the Closing Date to the
        extent that such Investments were not made in contemplation of such acquisition, merger,
        amalgamation or consolidation and were in existence on the date of such acquisition,
        merger, amalgamation or consolidation;

                      (p) Investments consisting of purchases and acquisitions of inventory or
        supplies or the licensing or contribution or intellectual property pursuant to joint
        marketing arrangements with other Persons, in each case in the ordinary course of
        business;


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                       (q) Investments of a Subsidiary of Borrower acquired after the Closing
        Date in a transaction that is expressly permitted by Section 6.8 or of an entity merged into
        Borrower or merged into or consolidated with a Subsidiary of Borrower in a Permitted
        Acquisition or other Permitted Investment after the Closing Date to the extent that such
        Investments were not made in contemplation of or in connection with such acquisition,
        merger or consolidation and were in existence on the date of such acquisition, merger or
        consolidation;

                       (r) other Investments in any Person having an aggregate fair market value
        (measured on the date each such Investment was made and without giving effect to
        subsequent changes in value), when taken together with all other Investments made
        pursuant to this clause (r) that are at the time outstanding not to exceed the greater of
        (i) $50,000,000 or (ii) 4% of Total Assets measured on the date such Investment was
        made and without giving effect to subsequent changes in value;

                       (s) any acquisition of assets or Equity Interests solely in exchange for, or
        out of the net proceeds from, the issuance of Equity Interests (other than Disqualified
        Equity Interests) of Borrower, Holdings or any other direct or indirect parent company of
        Borrower;

                       (t) other Investments in an aggregate amount not to exceed the
        Cumulative Amount as in effect immediately prior to the making of such Investment;
        provided that immediately prior to, and after giving effect thereto, no Default or Event of
        Default shall have occurred and be continuing or would result therefrom;

                       (u) repurchases of any of the Second Lien Indebtedness and any other
        Restricted Junior Payments permitted pursuant to Section 6.4;

                       (v) the granting of Liens pursuant to Section 6.2;

                       (w) any Investment in the Capital Stock of Foresight GP, Foresight LP or
        any of their Subsidiaries after the Closing Date in an aggregate amount (when taken
        together with the aggregate principal amount of any Indebtedness then outstanding under
        Section 6.6(x)) not to exceed $75,000,000 outstanding at any one time;

                        (x) Indebtedness of Foresight LP or any of its Subsidiaries owed to the
        Borrower or any of its Restricted Subsidiaries, in an aggregate principal amount (when
        taken together with the aggregate amount of Investments then outstanding under Section
        6.6(w)) not to exceed $75,000,000 outstanding at any one time;

                        (y) any Investments received in exchange for providing management and
        other related services;

                     (z) Investments consummated pursuant to the Call and Put Option
        Agreement by and between Colt LLC and Borrower, dated as of April 16, 2015.

                       (aa) other Investments in any Person so long as the Net Leverage Ratio
        (calculated on a pro forma basis after giving effect to such Investment) does not exceed

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        2.00:1.00 as of the last day of the Fiscal Quarter most recently ended for which financial
        statements are available.

               In addition, in the event that a Permitted Investment meets the criteria of more
than one of the types of Permitted Investment (at the time of incurrence or at a later date),
Borrower in its sole discretion may divide, classify or from time to time reclassify all or any
portion of such Permitted Investment in any manner that complies with this Section 6.6 and such
Permitted Investment shall be treated as having been made pursuant only to the clause or clauses
of this Section 6.6 to which such Permitted Investment has been classified or reclassified.
Notwithstanding the foregoing, in no event shall Borrower or any Guarantor Subsidiary make
any Investment which results in or facilitates in any manner any Restricted Junior Payment not
otherwise permitted under the terms of Section 6.4.

        6.7. Financial Covenant. Borrower shall not permit the First Lien Net Leverage Ratio
as of the last day of any Fiscal Quarter, beginning with the Fiscal Quarter ending September 30,
2015, to exceed the correlative ratio indicated:


                            Fiscal Quarter       First Lien Net
                                 ending          Leverage Ratio
                             September 30,          3.25:1.00
                                  2015
                             December 31,             3.00:1.00
                                  2015
                            March 31, 2016            2.75:1.00
                             June 30, 2016            2.75:1.00
                             September 30,            2.50:1.00
                                  2016
                             December 31,             2.50:1.00
                                  2016
                            March 31, 2017            2.50:1.00
                             June 30, 2017            2.50:1.00
                             September 30,            2.25:1.00
                             2017 and each
                           Fiscal Quarter end
                               thereafter

       6.8. Fundamental Changes; Disposition of Assets. Neither Borrower nor any
Guarantor Subsidiary shall, nor shall it permit any of its Restricted Subsidiaries to, merge or
consolidate, liquidate, wind-up or dissolve itself (or suffer any liquidation or dissolution), or
consummate an Asset Sale, except:

                     (a) (A) any Subsidiary of Borrower may be merged with or into
        Borrower or any Restricted Subsidiary of Borrower, or be liquidated, wound up or

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        dissolved; provided, that (i) (x) in the case of such a merger, if Borrower is a party to
        such merger then Borrower shall be the continuing or surviving Person, (y) if Borrower is
        not a party but a Guarantor Subsidiary is a party to such merger, then a Guarantor
        Subsidiary shall be the continuing or surviving Person, and (z) if neither Borrower nor
        Guarantor Subsidiary is a party but a Restricted Subsidiary is a party to such merger, then
        a Restricted Subsidiary shall be the continuing or surviving person or (B) (x) in the case
        of a Restricted Subsidiary all or any part of such Restricted Subsidiary’s business,
        property or assets may be conveyed, sold, leased, transferred or otherwise disposed of, in
        one transaction or a series of transactions, to Borrower or any Guarantor Subsidiary of
        Borrower or (y) in the case of a Restricted Subsidiary that is not a Guarantor, all or any
        part of such Restricted Subsidiary’s business, property or assets may be conveyed, sold,
        leased, transferred or otherwise disposed of, in one transaction or a series of transactions,
        to a Restricted Subsidiary that is not a Guarantor; provided that any such conveyance,
        sale, lease, transfer or other disposition by a Guarantor Subsidiary to a Restricted
        Subsidiary that is not a Guarantor that does not comply with this Section 6.8 shall, to the
        extent of such non-compliance, be treated as an Investment in such Restricted Subsidiary
        (and permitted only if made in compliance with Section 6.6);

                       (b) sales or other dispositions of assets that do not constitute Asset Sales;

                       (c) (x) Asset Sales (other than Asset Sales to Foresight GP, Foresight LP
        or any of its Subsidiaries) where the book value of the assets subject thereto, when
        aggregated with the book value of all other assets subject to Asset Sales made within the
        same Fiscal Year are less than $100,000,000, plus (y) additional Asset Sales (other than
        Asset Sales to Foresight GP, Foresight LP or any of its Subsidiaries) at any time when the
        First Lien Net Leverage Ratio (calculated on a pro forma basis after giving effect to such
        Asset Sale and any related repayment of Indebtedness from the proceeds thereof) does
        not exceed 1.00:1.00 as of the last day of the Fiscal Quarter most recently ended for
        which financial statements are available; provided (1) the consideration received for such
        assets shall be in an amount at least equal to the Fair Market Value thereof, (2) no less
        than 75% thereof shall be paid in Cash, and (3) the Net Asset Sale Proceeds thereof shall
        be applied as required by Section 2.14(a)(i). For purposes of this Section 6.8(c), each of
        the following will be deemed to be cash:

                (i) any liabilities, as shown on Borrower’s most recent consolidated balance sheet,
        of Borrower or any Restricted Subsidiary of Borrower (other than contingent liabilities
        and liabilities that are by their terms subordinated to the Obligations) that are assumed by
        the transferee of any such assets pursuant to a customary novation or indemnity
        agreement that releases Borrower or such Restricted Subsidiary from or indemnifies
        against further liability;

               (ii) (A) any securities, notes or other obligations received by Borrower or any
        such Restricted Subsidiary from such transferee that are, within 180 days of that Asset
        Sale, converted by Borrower or such Restricted Subsidiary into cash, and (B) any
        payments received with respect thereto within 180 days of that Asset Sale;




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               (iii) any Capital Stock or assets of the kind in which Borrower is permitted to
        reinvest proceeds of Asset Sales pursuant to Section 2.14; and

                (iv) any Designated Non-Cash Consideration received by Borrower or such
        Restricted Subsidiary having an aggregate Fair Market Value, taken together with all
        other Designated Non-Cash Consideration received pursuant to this clause (d), at any
        time outstanding, does not exceed the greater of (x) $25,000,000 and (y) 1% of Total
        Assets, with the Fair Market Value of each item of Designated Non-Cash Consideration
        being measured at the time received;

                       (d) sales, licenses, abandonments, or other dispositions of Intellectual
        Property that is immaterial and no longer used in or necessary for the conduct of the
        business;

                       (e) Drop-Down Transactions;

                        (f) Investments made in accordance with Section 6.6 and, to the extent
        Investments pursuant to the Designated Coal Contracts under Section 6.6(i) involve sales
        of coal, sales of coal made pursuant thereto;

                        (g) sales, transfers and other dispositions of Investments in joint ventures
        to the extent required by, or made pursuant to customary buy/sell arrangement between,
        the joint venture parties set forth in joint venture arrangements and similar binding
        arrangements (it being understood that Foresight GP, Foresight LP and its Subsidiaries
        shall not constitute joint ventures of the Borrower or any Restricted Subsidiary for
        purposes of this clause (g)); and

                        (h) Borrower or any Subsidiary may merge with any other Person in
        order to effect a Permitted Acquisition or other Permitted Investment or the designation
        of a Restricted Subsidiary as an Unrestricted Subsidiary or an Unrestricted Subsidiary as
        a Restricted Subsidiary in accordance with Section 5.15.

        6.9. [Reserved].

         6.10. Sales and Lease-Backs. Neither Borrower nor any Guarantor Subsidiary, nor
shall it permit any of its Restricted Subsidiaries to, directly or indirectly, become or remain liable
as lessee or as a guarantor or other surety with respect to any lease of any property (whether real,
personal or mixed), whether now owned or hereafter acquired, which such Person (a) has sold or
transferred or is to sell or to transfer to any other Person (other than Holdings or any of its
Subsidiaries), or (b) intends to use for substantially the same purpose as any other property
which has been or is to be sold or transferred by such Person to any Person (other than Holdings
or any of its Subsidiaries) in connection with such lease (such transaction, a “Sale and
Leaseback Transaction”); provided that the foregoing shall not prohibit any such Sale and
Leaseback Transaction in which such lease, to the extent constituting Indebtedness, is permitted
to be incurred under Section 6.1 and in which the leased property is permitted to be sold or
disposed of by Section 6.8.



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        6.11. Transactions with Affiliates. Neither Borrower nor any Guarantor Subsidiary,
nor shall it permit any of its Restricted Subsidiaries to, directly or indirectly, enter into or permit
to exist any transaction (including the purchase, sale, lease or exchange of any property or the
rendering of any service) with any Affiliate of Borrower or Holdings (each, an “Affiliate
Transaction”) involving aggregate payments or consideration in excess of $5,000,000 unless the
Affiliate Transaction is on terms, taken as a whole, that are no less favorable to Borrower or the
relevant Restricted Subsidiary than those that would have been obtained in a comparable
transaction by Borrower or such Restricted Subsidiary with an unrelated Person; provided, the
foregoing restriction shall not apply to

                       (a) any employment agreement, consulting agreement, severance
        agreement, employee benefit plan, officer or director indemnification agreement or any
        similar arrangement entered into by Borrower or any of its Restricted Subsidiaries in
        effect on the Closing Date or, if entered into after the Closing Date, in the ordinary course
        of business, and payments pursuant thereto;

                        (b) transactions between or among Borrower and/or its Restricted
        Subsidiaries;

                         (c) transactions with a Person (other than an Unrestricted Subsidiary of
        Borrower except as provided in clause (f) below) that is an Affiliate of Borrower solely
        because Borrower owns, directly or through a Restricted Subsidiary, an Equity Interest
        in, or controls, such Person;

                      (d) payment of reasonable and customary fees and reimbursements of
        expenses (pursuant to indemnity arrangements or otherwise) of officers, directors,
        employees or consultants of Borrower or any of its Restricted Subsidiaries;

                       (e) any issuance of Equity Interests (other than Disqualified Equity
        Interest) of Borrower or any capital contribution to Borrower or any of its Restricted
        Subsidiaries;

                        (f) any transactions with Foresight GP, Foresight LP and any of their
        Subsidiaries;

                        (g) Restricted Payments that do not violate Section 6.4;

                       (h) loans or advances to employees in the ordinary course of business not
        to exceed $2.0 million in the aggregate at any one time outstanding;

                        (i) Permitted Payments to Holdings;

                      (j) payments and other agreements set forth in the lease agreement with
        Chagrin Executive Offices LLC, regarding Borrower’s principal executive office located
        in Pepper Pike, Ohio, as in effect on the Closing Date, and as such lease agreement may
        be amended and renewed on an arms-length basis;



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                       (k) any transaction entered into by an Unrestricted Subsidiary with an
        Affiliate (other than Borrower or any of its Restricted Subsidiaries) prior to the
        redesignation of any such Unrestricted Subsidiary as a Restricted Subsidiary in
        accordance with Section 5.15; provided that such transaction was not entered into in
        connection with or in contemplation of such redesignation; and

                        (l) any (x) purchases of any class of Indebtedness from, or lending of any
        class of Indebtedness to, Borrower or any of its Restricted Subsidiaries so long as the
        amount of Indebtedness of such class loaned or purchased by such Affiliates does not
        exceed 25% of the applicable class of Indebtedness and the terms of the loan or purchase
        are the same as the terms with respect to investors or lenders that are not Affiliates and
        (y) repurchases, redemptions or other retirements for value by Borrower or any of its
        Restricted Subsidiaries of Indebtedness of any class held by any Affiliate of Holdings so
        long as such repurchase, redemption or other retirement for value is on the same terms as
        are made available to investors holding such class of Indebtedness generally and
        Affiliates hold no more than 25% of such class of Indebtedness.

       6.12. Conduct of Business. From and after the Closing Date, neither Borrower nor any
Guarantor Subsidiary shall, nor shall it permit any of its Restricted Subsidiaries to, engage in any
business other than Permitted Business, except to such extent as would not be material to
Borrower and its Restricted Subsidiaries taken as a whole.

        6.13. Permitted Activities of Holdings. Holdings shall not (a) incur, directly or
indirectly, any Indebtedness or any other obligation or liability whatsoever other than the
Indebtedness and obligations under this Agreement, the other Credit Documents, the Related
Agreements and the Revolving Credit Agreement, Incremental Facilities, Refinancing
Indebtedness, Additional Facilities and other Indebtedness that Holdings is expressly permitted
to incur by the terms of this Agreement; (b) create or suffer to exist any Lien upon any property
or assets now owned or hereafter acquired by it other than (i) the Liens created under the
Collateral Documents to which it is a party, (ii) Liens pursuant to the Second Lien Documents,
the Revolving Credit Agreement, the Incremental Facilities, Refinancing Indebtedness,
Additional Facilities or (iii) Liens permitted pursuant to Section 6.2 as if such Section is
applicable to Holdings; (c) engage in any business or activity or own any assets other than (i)
holding Cash, Cash Equivalents, and 100% of the Equity Interests of Borrower and activities
incidental thereto, (ii) performing its obligations and activities under the Credit Documents, and
to the extent not inconsistent therewith, the Related Agreements and the Revolving Credit
Agreement, Incremental Facilities, Refinancing Indebtedness or Additional Facilities and other
Indebtedness that Holdings is expressly permitted to incur by the terms of this Agreement; (iii)
issuing its own Equity Interests subject to the terms hereof; (iv) filing tax reports and paying
taxes in the ordinary course (and contesting any taxes); (v) preparing reports to Governmental
Authorities and to its shareholders; (vi) holding directors and shareholders meetings, preparing
corporate records and other corporate activities required to maintain its separate corporate
structure or to comply with applicable Requirements of Law; (vii) effecting an Initial Public
Offering and (viii) making Restricted Junior Payments; (d) consolidate with or merge with or
into, or convey, transfer, lease or license all or substantially all its assets to, any Person; (e) sell
or otherwise dispose of any Equity Interests of any of its Restricted Subsidiaries or (f) create or
acquire any Subsidiary or make or own any Investment in any Person other than Borrower.

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        6.14. Amendments or Waivers of Organizational Documents or Foresight
Acquisition Option Agreement. Neither Borrower nor any Guarantor Subsidiary shall, nor
shall it permit any of its Restricted Subsidiaries to, agree to any material amendment,
restatement, supplement or other modification to, or waiver of, any of its Organizational
Documents or the Foresight Acquisition Option Agreement after the Closing Date that is
materially adverse to the Lenders without in each case obtaining the prior written consent of
Administrative Agent to such amendment, restatement, supplement or other modification or
waiver.

        6.15. Amendments or Waivers with Respect to Certain Indebtedness. Neither
Borrower nor any Guarantor Subsidiary shall, nor shall it permit any of its Restricted
Subsidiaries to, amend or otherwise change the terms of any of the Second Lien Indebtedness or
the applicable Second Lien Documents or any of the Additional Facilities (it being understood
that this Section 6.15 shall not apply to any refinancing or replacement of the Second Lien
Indebtedness or any Additional Facility otherwise permitted hereunder), if the effect of such
amendment or change is to:

                       (a) increase the interest rate on the Second Lien Indebtedness or any such
        Additional Facility in any amount in excess of 400 basis points (which such increase shall
        not include the imposition of default interest),

                        (b) change (to earlier dates) any scheduled dates upon which payments of
        principal or interest are due thereon,

                        (c) make more restrictive any event of default or condition to an event of
        default with respect thereto (other than to waive or eliminate any such event of default or
        increase any grace period related thereto) if as a result of such change, the events of
        default, taken as a whole, would be more restrictive than the Events of Default in Section
        8.1,

                      (d) change the redemption, prepayment or defeasance provisions thereof
        in any manner adverse to Borrower,

                       (e) together with all other amendments or changes made, increase
        materially the obligations of the obligor thereunder or to confer any material additional
        rights on the holders of the Second Lien Indebtedness or any such Additional Facility (or
        a trustee or other representative on their behalf) which would be adverse to Borrower,
        any Guarantor Subsidiary or Lenders;

                      (f) change any scheduled dates upon which payments of principal are due
        pursuant to any such Additional Facility so that the weighted average life to maturity of
        such Additional Facility is shorter than the weighted average life to maturity of the Term
        Loans,

                        (g) change the applicable maturity date of any such Additional Facility to
        a date that is earlier than the Latest Maturity Date at the time such Additional Facility
        was established,


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                      (h) render any such Additional Facility secured by any property or assets
        of Holdings, Borrower or any Subsidiary other than the Collateral unless such property or
        asset becomes Collateral hereunder), or

                      (i) add any Subsidiaries as a guarantor of the Second Lien Indebtedness
        or of any such Additional Facility of a Domestic Subsidiary and that is not a Guarantor
        hereunder unless such Subsidiary becomes a Guarantor Subsidiary.

       6.16. Fiscal Year. Neither Borrower nor any Guarantor Subsidiary shall, nor shall it
permit any of its Restricted Subsidiaries to change its Fiscal Year-end from December 31.


                SECTION 7. GUARANTY

        7.1. Guaranty of the Obligations. Subject to the provisions of Section 7.2, Guarantors
jointly and severally hereby irrevocably and unconditionally guaranty to Administrative Agent,
for the ratable benefit of the Beneficiaries, the due and punctual payment in full of all
Obligations when the same shall become due, whether at stated maturity, by required
prepayment, declaration, acceleration, demand or otherwise (including amounts that would
become due but for the operation of the automatic stay under Section 362(a) of the Bankruptcy
Code, 11 U.S.C. § 362(a)) (collectively, the “Guaranteed Obligations”).

        7.2. Contribution by Guarantors. All Guarantors desire to allocate among themselves
(collectively, the “Contributing Guarantors”), in a fair and equitable manner, their obligations
arising under this Guaranty. Accordingly, in the event any payment or distribution is made on
any date by a Guarantor (a “Funding Guarantor”) under this Guaranty such that its Aggregate
Payments exceeds its Fair Share as of such date, such Funding Guarantor shall be entitled to a
contribution from each of the other Contributing Guarantors in an amount sufficient to cause
each Contributing Guarantor’s Aggregate Payments to equal its Fair Share as of such date.
“Fair Share” means, with respect to a Contributing Guarantor as of any date of determination,
an amount equal to (a) the ratio of (i) the Fair Share Contribution Amount with respect to such
Contributing Guarantor to (ii) the aggregate of the Fair Share Contribution Amounts with respect
to all Contributing Guarantors multiplied by (b) the aggregate amount paid or distributed on or
before such date by all Funding Guarantors under this Guaranty in respect of the Guaranteed
Obligations. “Fair Share Contribution Amount” means, with respect to a Contributing
Guarantor as of any date of determination, the maximum aggregate amount of the obligations of
such Contributing Guarantor under this Guaranty that would not render its obligations hereunder
or thereunder subject to avoidance as a fraudulent transfer or conveyance under Section 548 of
Title 11 of the United States Code or any comparable applicable provisions of state law;
provided, solely for purposes of calculating the “Fair Share Contribution Amount” with
respect to any Contributing Guarantor for purposes of this Section 7.2, any assets or liabilities of
such Contributing Guarantor arising by virtue of any rights to subrogation, reimbursement or
indemnification or any rights to or obligations of contribution hereunder shall not be considered
as assets or liabilities of such Contributing Guarantor. “Aggregate Payments” means, with
respect to a Contributing Guarantor as of any date of determination, an amount equal to (1) the
aggregate amount of all payments and distributions made on or before such date by such
Contributing Guarantor in respect of this Guaranty (including, without limitation, in respect of


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this Section 7.2), minus (2) the aggregate amount of all payments received on or before such date
by such Contributing Guarantor from the other Contributing Guarantors as contributions under
this Section 7.2. The amounts payable as contributions hereunder shall be determined as of the
date on which the related payment or distribution is made by the applicable Funding Guarantor.
The allocation among Contributing Guarantors of their obligations as set forth in this Section 7.2
shall not be construed in any way to limit the liability of any Contributing Guarantor hereunder.
Each Guarantor is a third party beneficiary to the contribution agreement set forth in this Section
7.2.

        7.3. Payment by Guarantors. Subject to Section 7.2, Guarantors hereby jointly and
severally agree, in furtherance of the foregoing and not in limitation of any other right which any
Beneficiary may have at law or in equity against any Guarantor by virtue hereof, that upon the
failure of Borrower to pay any of the Guaranteed Obligations when and as the same shall become
due, whether at stated maturity, by required prepayment, declaration, acceleration, demand or
otherwise (including amounts that would become due but for the operation of the automatic stay
under Section 362(a) of the Bankruptcy Code, 11 U.S.C. § 362(a)), Guarantors will upon
demand pay, or cause to be paid, in Cash, to Administrative Agent for the ratable benefit of
Beneficiaries, an amount equal to the sum of the unpaid principal amount of all Guaranteed
Obligations then due as aforesaid, accrued and unpaid interest on such Guaranteed Obligations
(including interest which, but for Borrower’s becoming the subject of a case under the
Bankruptcy Code, would have accrued on such Guaranteed Obligations, whether or not a claim
is allowed against Borrower for such interest in the related bankruptcy case) and all other
Guaranteed Obligations then owed to Beneficiaries as aforesaid.

        7.4. Liability of Guarantors Absolute. Each Guarantor agrees that its obligations
hereunder are irrevocable, absolute, independent and unconditional and shall not be affected by
any circumstance which constitutes a legal or equitable discharge of a guarantor or surety other
than payment in full of the Guaranteed Obligations. In furtherance of the foregoing and without
limiting the generality thereof, each Guarantor agrees as follows:

                        (a) this Guaranty is a guaranty of payment when due and not of
        collectability. This Guaranty is a primary obligation of each Guarantor and not merely a
        contract of surety;

                       (b) Administrative Agent may enforce this Guaranty upon the
        occurrence, but only during the continuance, of an Event of Default notwithstanding the
        existence of any dispute between Borrower and any Beneficiary with respect to the
        existence of such Event of Default;

                       (c) the obligations of each Guarantor hereunder are independent of the
        obligations of Borrower and the obligations of any other guarantor (including any other
        Guarantor) of the obligations of Borrower, and a separate action or actions may be
        brought and prosecuted against such Guarantor whether or not any action is brought
        against Borrower or any of such other guarantors and whether or not Borrower is joined
        in any such action or actions;




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                       (d) payment by any Guarantor of a portion, but not all, of the Guaranteed
        Obligations shall in no way limit, affect, modify or abridge any Guarantor’s liability for
        any portion of the Guaranteed Obligations which has not been paid. Without limiting the
        generality of the foregoing, if Administrative Agent is awarded a judgment in any suit
        brought to enforce any Guarantor’s covenant to pay a portion of the Guaranteed
        Obligations, such judgment shall not be deemed to release such Guarantor from its
        covenant to pay the portion of the Guaranteed Obligations that is not the subject of such
        suit, and such judgment shall not, except to the extent satisfied by such Guarantor, limit,
        affect, modify or abridge any other Guarantor’s liability hereunder in respect of the
        Guaranteed Obligations;

                        (e) any Beneficiary, upon such terms as it deems appropriate, without
        notice or demand and without affecting the validity or enforceability hereof or giving rise
        to any reduction, limitation, impairment, discharge or termination of any Guarantor’s
        liability hereunder, from time to time may (i) renew, extend, accelerate, increase the rate
        of interest on, or otherwise change the time, place, manner or terms of payment of the
        Guaranteed Obligations; (ii) settle, compromise, release or discharge, or accept or refuse
        any offer of performance with respect to, or substitutions for, the Guaranteed Obligations
        or any agreement relating thereto and/or subordinate the payment of the same to the
        payment of any other obligations; (iii) request and accept other guaranties of the
        Guaranteed Obligations and take and hold security for the payment hereof or the
        Guaranteed Obligations; (iv) release, surrender, exchange, substitute, compromise, settle,
        rescind, waive, alter, subordinate or modify, with or without consideration, any security
        for payment of the Guaranteed Obligations, any other guaranties of the Guaranteed
        Obligations, or any other obligation of any Person (including any other Guarantor) with
        respect to the Guaranteed Obligations; (v) enforce and apply any security now or
        hereafter held by or for the benefit of such Beneficiary in respect hereof or the
        Guaranteed Obligations and direct the order or manner of sale thereof, or exercise any
        other right or remedy that such Beneficiary may have against any such security, in each
        case as such Beneficiary in its discretion may determine consistent herewith or the
        applicable Hedge Agreement and any applicable security agreement, including
        foreclosure on any such security pursuant to one or more judicial or nonjudicial sales,
        whether or not every aspect of any such sale is commercially reasonable, and even
        though such action operates to impair or extinguish any right of reimbursement or
        subrogation or other right or remedy of any Guarantor against any other Credit Party or
        any security for the Guaranteed Obligations; and (vi) exercise any other rights available
        to it under the Credit Documents, any Secured Hedge Agreements or any Designated
        Coal Contract; and

                       (f) this Guaranty and the obligations of Guarantors hereunder shall be
        valid and enforceable and shall not be subject to any reduction, limitation, impairment,
        discharge or termination for any reason (other than payment in full of the Guaranteed
        Obligations (other than contingent indemnity obligations not then due and payable),
        including the occurrence of any of the following, whether or not any Guarantor shall have
        had notice or knowledge of any of them: (i) any failure or omission to assert or enforce or
        agreement or election not to assert or enforce, or the stay or enjoining, by order of court,
        by operation of law or otherwise, of the exercise or enforcement of, any claim or demand

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        or any right, power or remedy (whether arising under the Credit Documents, any Secured
        Hedge Agreements or any Designated Coal Contracts, at law, in equity or otherwise) with
        respect to the Guaranteed Obligations or any agreement relating thereto, or with respect
        to any other guaranty of or security for the payment of the Guaranteed Obligations;
        (ii) any rescission, waiver, amendment or modification of, or any consent to departure
        from, any of the terms or provisions (including provisions relating to events of default)
        hereof, any of the other Credit Documents, any of the Secured Hedge Agreements, any of
        the Designated Coal Contracts, or any agreement or instrument executed pursuant
        thereto, or of any other guaranty or security for the Guaranteed Obligations, in each case
        whether or not in accordance with the terms hereof or such Credit Document, such
        Secured Hedge Agreement, such Designated Coal Contract or any agreement relating to
        such other guaranty or security; (iii) the Guaranteed Obligations, or any agreement
        relating thereto, at any time being found to be illegal, invalid or unenforceable in any
        respect; (iv) the application of payments received from any source (other than payments
        received pursuant to the other Credit Documents, any of the Secured Hedge Agreements,
        any of the Designated Coal Contracts or from the proceeds of any security for the
        Guaranteed Obligations, except to the extent such security also serves as collateral for
        indebtedness other than the Guaranteed Obligations) to the payment of indebtedness
        other than the Guaranteed Obligations, even though any Beneficiary might have elected
        to apply such payment to any part or all of the Guaranteed Obligations; (v) any
        Beneficiary’s consent to the change, reorganization or termination of the corporate
        structure or existence of Holdings or any of its Subsidiaries and to any corresponding
        restructuring of the Guaranteed Obligations; (vi) any failure to perfect or continue
        perfection of a security interest in any collateral which secures any of the Guaranteed
        Obligations (subject to the limitations set forth in the Collateral Documents); (vii) any
        defenses, set-offs or counterclaims which Borrower may allege or assert against any
        Beneficiary in respect of the Guaranteed Obligations, including failure of consideration,
        breach of warranty, payment, statute of frauds, statute of limitations, accord and
        satisfaction and usury; and (viii) any other act or thing or omission, or delay to do any
        other act or thing, which may or might in any manner or to any extent vary the risk of any
        Guarantor as an obligor in respect of the Guaranteed Obligations.

        7.5. Waivers by Guarantors. Each Guarantor hereby waives, to the extent permitted
by applicable law, for the benefit of Beneficiaries: (a) any right to require any Beneficiary, as a
condition of payment or performance by such Guarantor, to (i) proceed against Borrower, any
other guarantor (including any other Guarantor) of the Guaranteed Obligations or any other
Person, (ii) proceed against or exhaust any security held from Borrower, any such other
guarantor or any other Person, (iii) proceed against or have resort to any balance of any Deposit
Account or credit on the books of any Beneficiary in favor of any Credit Party or any other
Person, or (iv) pursue any other remedy in the power of any Beneficiary whatsoever; (b) any
defense arising by reason of the incapacity, lack of authority or any disability or other defense of
Borrower or any other Guarantor including any defense based on or arising out of the lack of
validity or the unenforceability of the Guaranteed Obligations or any agreement or instrument
relating thereto or by reason of the cessation of the liability of Borrower or any other Guarantor
from any cause other than payment in full of the Guaranteed Obligations; (c) any defense based
upon any statute or rule of law which provides that the obligation of a surety must be neither
larger in amount nor in other respects more burdensome than that of the principal; (d) any

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defense based upon any Beneficiary’s errors or omissions in the administration of the
Guaranteed Obligations, except behavior which amounts to bad faith; (e) (i) any principles or
provisions of law, statutory or otherwise, which are or might be in conflict with the terms hereof
and any legal or equitable discharge of such Guarantor’s obligations hereunder, (ii) the benefit of
any statute of limitations affecting such Guarantor’s liability hereunder or the enforcement
hereof, (iii) any rights to set-offs, recoupments and counterclaims, and (iv) promptness, diligence
and any requirement that any Beneficiary protect, secure, perfect or insure any security interest
or lien or any property subject thereto; (f) notices, demands, presentments, protests, notices of
protest, notices of dishonor and notices of any action or inaction, including acceptance hereof,
notices of default hereunder, the Secured Hedge Agreements, the Designated Coal Contracts or
any agreement or instrument related thereto, notices of any renewal, extension or modification of
the Guaranteed Obligations or any agreement related thereto, notices of any extension of credit
to Borrower and notices of any of the matters referred to in Section 7.4 and any right to consent
to any thereof; and (g) any defenses or benefits that may be derived from or afforded by law
which limit the liability of or exonerate guarantors or sureties, or which may conflict with the
terms hereof.

        7.6. Guarantors’ Rights of Subrogation, Contribution, Etc. Until the Guaranteed
Obligations (other than contingent obligations under general indemnification provisions as to
which no claim is pending) shall have been paid in full, each Guarantor hereby waives, to the
extent permitted by law, any claim, right or remedy, direct or indirect, that such Guarantor now
has or may hereafter have against Borrower or any other Guarantor or any of its assets in
connection with this Guaranty or the performance by such Guarantor of its obligations
hereunder, in each case whether such claim, right or remedy arises in equity, under contract, by
statute, under common law or otherwise and including (a) any right of subrogation,
reimbursement or indemnification that such Guarantor now has or may hereafter have against
Borrower with respect to the Guaranteed Obligations, (b) any right to enforce, or to participate
in, any claim, right or remedy that any Beneficiary now has or may hereafter have against
Borrower, and (c) any benefit of, and any right to participate in, any collateral or security now or
hereafter held by any Beneficiary. In addition, until the Guaranteed Obligations (other than
contingent obligations under general indemnification provisions as to which no claim is pending)
shall have been paid in full, each Guarantor shall withhold exercise of any right of contribution
such Guarantor may have against any other guarantor (including any other Guarantor) of the
Guaranteed Obligations, including any such right of contribution as contemplated by Section 7.2.
Each Guarantor further agrees that, to the extent the waiver or agreement to withhold the
exercise of its rights of subrogation, reimbursement, indemnification and contribution as set forth
herein is found by a court of competent jurisdiction to be void or voidable for any reason, any
rights of subrogation, reimbursement or indemnification such Guarantor may have against
Borrower or against any collateral or security, and any rights of contribution such Guarantor may
have against any such other guarantor, shall be junior and subordinate to any rights any
Beneficiary may have against Borrower, to all right, title and interest any Beneficiary may have
in any such collateral or security, and to any right any Beneficiary may have against such other
guarantor. If any amount shall be paid to any Guarantor on account of any such subrogation,
reimbursement, indemnification or contribution rights at any time when all Guaranteed
Obligations (other than contingent obligations under general indemnification provisions as to
which no claim is pending) shall not have been finally and paid in full, such amount shall, to the
extent possible under applicable law, be held in trust for Administrative Agent on behalf of

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Beneficiaries and shall forthwith be paid over to Administrative Agent for the benefit of
Beneficiaries to be credited and applied against the Guaranteed Obligations, whether matured or
unmatured, in accordance with the terms hereof.

        7.7. Subordination of Other Obligations. Any Indebtedness of Borrower or any
Guarantor now or hereafter held by any Guarantor (the “Obligee Guarantor”) is hereby
subordinated in right of payment to the Guaranteed Obligations, and any such Indebtedness
collected or received by the Obligee Guarantor after an Event of Default has occurred and is
continuing shall, to the extent permitted by applicable law, be held in trust for Administrative
Agent on behalf of Beneficiaries and shall forthwith be paid over to Administrative Agent for the
benefit of Beneficiaries to be credited and applied against the Guaranteed Obligations but
without affecting, impairing or limiting in any manner the liability of the Obligee Guarantor
under any other provision hereof.

        7.8. Continuing Guaranty. This Guaranty is a continuing guaranty and shall remain in
effect until all of the Guaranteed Obligations (other than contingent obligations under general
indemnification provisions as to which no claim is pending) shall have been paid in full. Each
Guarantor hereby irrevocably waives, to the extent permitted by applicable law, any right to
revoke this Guaranty as to future transactions giving rise to any Guaranteed Obligations.

        7.9. Authority of Guarantors or Borrower. It is not necessary for any Beneficiary to
inquire into the capacity or powers of any Guarantor or Borrower or the officers, directors or any
agents acting or purporting to act on behalf of any of them.

        7.10. Financial Condition of Borrower. Any Credit Extension may be made to
Borrower or continued from time to time, and any Secured Hedge Agreements and Designated
Coal Contracts may be entered into from time to time, in each case without notice to or
authorization from any Guarantor regardless of the financial or other condition of Borrower at
the time of any such grant or continuation or at the time such Secured Hedge Agreement or
Designated Coal Contract is entered into, as the case may be. No Beneficiary shall have any
obligation to disclose or discuss with any Guarantor its assessment, or any Guarantor’s
assessment, of the financial condition of Borrower. Each Guarantor has adequate means to
obtain information from Borrower on a continuing basis concerning the financial condition of
Borrower and its ability to perform its obligations under the Credit Documents, the Secured
Hedge Agreements and the Designated Coal Contracts, and each Guarantor assumes the
responsibility for being and keeping informed of the financial condition of Borrower and of all
circumstances bearing upon the risk of nonpayment of the Guaranteed Obligations. Each
Guarantor hereby waives, to the extent permitted by applicable law, and relinquishes any duty on
the part of any Beneficiary to disclose any matter, fact or thing relating to the business,
operations or conditions of Borrower now known or hereafter known by any Beneficiary.

        7.11. Bankruptcy, Etc.        (a) So long as any Guaranteed Obligations remain
outstanding (other than contingent obligations under general indemnification provisions as to
which no claim is pending or reasonably foreseeable), no Guarantor shall, without the prior
written consent of Administrative Agent acting pursuant to the instructions of Requisite Lenders,
commence or join with any other Person in commencing any bankruptcy, reorganization or
insolvency case or proceeding of or against Borrower or any other Guarantor. The obligations of

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Guarantors hereunder shall not be reduced, limited, impaired, discharged, deferred, suspended or
terminated by any case or proceeding, voluntary or involuntary, involving the bankruptcy,
insolvency, receivership, reorganization, liquidation or arrangement of Borrower or any other
Guarantor or by any defense which Borrower or any other Guarantor may have by reason of the
order, decree or decision of any court or administrative body resulting from any such proceeding.

                       (b) Each Guarantor acknowledges and agrees that any interest on any
        portion of the Guaranteed Obligations which accrues after the commencement of any
        case or proceeding referred to in clause (a) above (or, if interest on any portion of the
        Guaranteed Obligations ceases to accrue by operation of law by reason of the
        commencement of such case or proceeding, such interest as would have accrued on such
        portion of the Guaranteed Obligations if such case or proceeding had not been
        commenced) shall be included in the Guaranteed Obligations because it is the intention of
        Guarantors and Beneficiaries that the Guaranteed Obligations which are guaranteed by
        Guarantors pursuant hereto should be determined without regard to any rule of law or
        order which may relieve Borrower of any portion of such Guaranteed Obligations.
        Guarantors will permit any trustee in bankruptcy, receiver, debtor in possession, assignee
        for the benefit of creditors or similar Person to pay Administrative Agent, or allow the
        claim of Administrative Agent in respect of, any such interest accruing after the date on
        which such case or proceeding is commenced.

                       (c) In the event that all or any portion of the Guaranteed Obligations are
        paid by Borrower, the obligations of Guarantors hereunder shall continue and remain in
        full force and effect or be reinstated, as the case may be, in the event that all or any part
        of such payment(s) are rescinded or recovered directly or indirectly from any Beneficiary
        as a preference, fraudulent transfer or otherwise, and any such payments which are so
        rescinded or recovered shall constitute Guaranteed Obligations for all purposes
        hereunder.

        7.12. Discharge of Guaranty Upon Sale of Guarantor. If (A) all of the Equity
Interests of any Guarantor or any of its successors in interest hereunder shall be sold or otherwise
disposed of (including by merger or consolidation) in accordance with the terms and conditions
hereof or (B) if a Guarantor is designated as an Unrestricted Subsidiary in accordance with
Section 5.15, then in the case of each of clauses (A) and (B), the Guaranty of such Guarantor or
such successor in interest, as the case may be, hereunder shall automatically be discharged and
released without any further action by any Beneficiary or any other Person effective as of the
time of such Asset Sale.

        7.13. Keepwell. Each Qualified ECP Guarantor hereby jointly and severally absolutely,
unconditionally and irrevocably undertakes to provide such funds or other support as may be
needed from time to time by each other Credit Party to honor all of its obligations under this
Guaranty or the Pledge and Security Agreement in respect of Swap Obligations under any
Secured Hedge Agreement (provided, however, that each Qualified ECP Guarantor shall only be
liable under this Guaranty for the maximum amount of such liability that can be hereby incurred
without rendering its obligations under this Section 7.13, or otherwise under this Guaranty or the
Pledge and Security Agreement, voidable under applicable law relating to fraudulent conveyance
or fraudulent transfer, and not for any greater amount). The obligations of each Qualified ECP

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Guarantor under this Section 7.13 shall remain in full force and effect until the guarantees in
respect of Swap Obligations under each Secured Hedge Agreement have been discharged, or
otherwise released or terminated in accordance with the terms of this Agreement (other than
contingent obligations under general indemnification provisions as to which no claim is
pending). Each Qualified ECP Guarantor intends that this Section 7.13 constitute, and this
Section 7.13 shall be deemed to constitute, a “keepwell, support, or other agreement” for the
benefit of each other Credit Party for all purposes of Section 1a(18)(A)(v)(II) of the Commodity
Exchange Act.


                SECTION 8. EVENTS OF DEFAULT

         8.1. Events of Default. If any one or more of the following conditions or events shall
occur:

                        (a) Failure to Make Payments When Due. Failure by Borrower to pay (i)
         when due any amount of principal of any Loan, whether at stated maturity, by
         acceleration, by mandatory prepayment or otherwise; or (ii) any interest on any Loan or
         any fee or any other amount due hereunder and such payment is not made within five
         Business Days after the date due; or

                         (b) Default in Other Agreements. (i) Failure of any Credit Party or any
         of their respective Restricted Subsidiaries to pay when due any principal of or interest on
         or any other amount, including any payment in settlement, payable in respect of one or
         more items of Indebtedness (other than Indebtedness referred to in Section 8.1(a)) with an
         aggregate principal amount (or Net Mark-to-Market Exposure) of $30,000,000 or more,
         in each case beyond the grace period, if any, provided therefor; (ii) breach or default by
         any Credit Party with respect to any other material term of (1) one or more items of
         Indebtedness in the individual or aggregate principal amounts (or Net Mark-to-Market
         Exposure) referred to in clause (i) above or (2) any loan agreement, mortgage, indenture
         or other agreement relating to such item(s) of Indebtedness, in each case beyond the
         grace period, if any, provided therefor, if the effect of such breach or default is to cause,
         or to permit the holder or holders of that Indebtedness (or a trustee on behalf of such
         holder or holders), to cause, that Indebtedness to become or be declared due and payable
         (or subject to a compulsory repurchase or redeemable) prior to its stated maturity or the
         stated maturity of any underlying obligation, as the case may be; provided, that any
         breach or default or event of default under the Revolving Credit Agreement as a result of
         a breach of a financial covenant set forth in Section 7.17 of the Revolving Credit
         Agreement shall not constitute an Event of Default under clause (ii) until the acceleration
         of the Indebtedness under the Revolving Credit Agreement; or (iii) any termination of a
         Designated Coal Contract resulting in a Termination Amount payable by the applicable
         Credit Parties, together with the aggregate Termination Amount payable by applicable
         Credit Parties with respect to all other Designated Coal Contracts, in an aggregate amount
         of $30,000,000 or more; provided further that this clause (b) shall not apply to (i) secured
         Indebtedness that becomes due as a result of the voluntary sale or transfer of the property
         or assets securing such Indebtedness, if such sale or transfer is permitted hereunder and
         (ii) any Indebtedness if the sole remedy of the holder thereof in the event of the non-

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        payment of such Indebtedness or the non-payment or non-performance of obligations
        related thereto is to convert such Indebtedness into Equity Interests (other than
        Disqualified Equity Interests) and cash in lieu of fractional shares; provided, further, that
        such failure is unremedied and is not waived by the holders of such Indebtedness prior to
        any termination of the Commitments or acceleration of the Loans pursuant to
        this Section 8.1; or

                       (c) Breach of Certain Covenants. Failure of any Credit Party to perform
        or comply with any term or condition contained in (a) Section 2.6, Section 5.1(f)(i),
        Section 5.2 (with respect to Borrower) or Section 6 or (b) Section 5.16 and such failure
        under this clause (b) shall continue for 15 days; or

                        (d) Breach of Representations, Etc. Any representation, warranty,
        certification or other statement of fact made or deemed made by any Credit Party in any
        Credit Document shall be false in any material respect as of the date made or deemed
        made; or

                        (e) Other Defaults Under Credit Documents. Any Credit Party shall
        default in the performance of or compliance with any term contained herein or any of the
        other Credit Documents, other than any such term referred to in any other paragraph of
        this Section 8.1, such default shall not have been remedied or waived within thirty days
        after receipt by Borrower of notice from Administrative Agent or the Required Lenders
        of such default; or

                        (f) Involuntary Bankruptcy; Appointment of Receiver, Etc. (i) A court of
        competent jurisdiction shall enter a decree or order for relief in respect of Holdings or
        any of its Restricted Subsidiaries (other than any Immaterial Subsidiary) in an
        involuntary case under any Debtor Relief Laws now or hereafter in effect, which decree
        or order is not stayed; or any other similar relief shall be granted under any applicable
        federal or state law; or (ii) an involuntary case shall be commenced against Holdings or
        any of its Restricted Subsidiaries (other than any Immaterial Subsidiary) under any
        Debtor Relief Laws now or hereafter in effect; or a decree or order of a court having
        jurisdiction in the premises for the appointment of a receiver, liquidator, sequestrator,
        trustee, custodian or other officer having similar powers over Holdings or any of its
        Restricted Subsidiaries (other than any Immaterial Subsidiary), or over all or a substantial
        part of its property, shall have been entered; or there shall have occurred the involuntary
        appointment of an interim receiver, trustee or other custodian of Holdings or any of its
        Restricted Subsidiaries (other than any Immaterial Subsidiary) for all or a substantial part
        of its property; or a warrant of attachment, execution or similar process shall have been
        issued against any substantial part of the property of Holdings or any of its Restricted
        Subsidiaries (other than any Immaterial Subsidiary), and any such event described in this
        clause (ii) shall continue for sixty days without having been dismissed, bonded or
        discharged; or

                        (g) Voluntary Bankruptcy; Appointment of Receiver, Etc. (i) Holdings
        or any of its Restricted Subsidiaries (other than any Immaterial Subsidiary) shall have an
        order for relief entered with respect to it or shall commence a voluntary case under any

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        Debtor Relief Laws now or hereafter in effect, or shall consent to the entry of an order for
        relief in an involuntary case, or to the conversion of an involuntary case to a voluntary
        case, under any such law, or shall consent to the appointment of or taking possession by a
        receiver, trustee or other custodian for all or a substantial part of its property; or Holdings
        or any of its Restricted Subsidiaries (other than any Immaterial Subsidiary) shall make
        any assignment for the benefit of creditors; or (ii) Holdings or any of its Restricted
        Subsidiaries (other than any Immaterial Subsidiary) shall be unable, or shall fail
        generally, or shall admit in writing its inability, to pay its debts as such debts become
        due; or the board of directors (or similar governing body) of Holdings or any of its
        Restricted Subsidiaries (other than any Immaterial Subsidiary) (or any committee thereof)
        shall adopt any resolution or otherwise authorize any action to approve any of the actions
        referred to herein or in Section 8.1(f); or

                       (h) Judgments and Attachments. Any judgment, order or decree for the
        payment of money involving in the aggregate at any time an amount in excess of
        $30,000,000 (to the extent not covered by independent, third party insurance that has not
        denied coverage in writing) shall be entered or filed against Holdings or any of its
        Restricted Subsidiaries (other than any Immaterial Subsidiary) or any of their respective
        assets and shall remain undischarged, unvacated, unbonded or unstayed for a period of
        sixty days; or

                       (i) Dissolution. Any order, judgment or decree shall be entered against
        any Credit Party decreeing the dissolution or split up of such Credit Party and such order
        shall remain undischarged or unstayed for a period in excess of thirty days; or

                       (j) Employee Benefit Plans. There shall occur (i) one or more ERISA
        Events which individually or in the aggregate results in or would reasonably be expected
        to result in a Material Adverse Effect or (ii) a final determination (after completion or
        exhaustion of any dispute resolution procedure in accordance with Section 4221 of
        ERISA and any rules of the applicable Multiemployer Plan) that Holdings, any of its
        Restricted Subsidiaries and any of their ERISA Affiliates is in “default” (as defined in
        Section 4219(c)(5) of ERISA and any rules of the 1974 Plan) with respect to the 1974
        Plan, which results in or could reasonably be expected to result in immediate payment by
        Holdings, any of its Restricted Subsidiaries or any of their ERISA Affiliates of
        withdrawal liability with respect to the 1974 Plan which (together with accrued interest
        (as described in Section 4219(c)(5) of ERISA) and any liquidated damages (as described
        in the 1974 Plan)) is in an amount in excess of $900,000,000; or

                       (k) Change of Control. A Change of Control shall occur; or

                        (l) Guaranties, Collateral Documents and other Credit Documents. At
        any time after the execution and delivery thereof, (i) any material portion of the Guaranty
        for any reason, other than the satisfaction in full of all Obligations (other than contingent
        indemnity obligations), shall cease to be in full force and effect (other than in accordance
        with its terms or in connection with a transaction permitted by Section 6.8) or shall be
        declared to be null and void or any Guarantor shall repudiate its obligations thereunder,
        (ii) any portion of this Agreement or any material Collateral Document ceases to be in

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        full force and effect (other than by reason of a release of Collateral in accordance with the
        terms hereof or thereof or the satisfaction in full of the Obligations (other than contingent
        indemnity obligations) or in connection with a transaction permitted by Section 6.8) or
        shall be declared null and void, or Collateral Trustee shall not have or shall cease to have
        a valid and perfected First Priority Lien (to the extent required by the Pledge and Security
        Agreement), subject to Permitted Liens, in any material portion of the Collateral in which
        the Secured Parties are meant to have a First Priority Lien pursuant to the Collateral Trust
        Agreement and the Intercreditor Agreement purported to be covered by the Collateral
        Documents with the priority required by the relevant Collateral Document, in each case
        for any reason other than the failure of Collateral Trustee or any Secured Party to take
        any action within its control, or (iii) any Credit Party shall contest the validity or
        enforceability of any Credit Document in writing or repudiate or rescind (or purport to
        repudiate or rescind) or deny in writing that it has any further liability, including with
        respect to future advances by Lenders, under any provision of any Credit Document to
        which it is a party or shall contest the validity or perfection of any Lien in any Collateral
        purported to be covered by the Collateral Documents;

THEN, (1) upon the occurrence of any Event of Default described in Section 8.1(f) or 8.1(g),
automatically, and (2) upon the occurrence and during the continuance of any other Event of
Default, at the request of (or with the consent of) Requisite Lenders, upon notice to Borrower by
Administrative Agent, (A) each of the following shall immediately become due and payable, in
each case without presentment, demand, protest or other requirements of any kind, all of which
are hereby expressly waived by each Credit Party: (I) the unpaid principal amount of and accrued
interest and premium on the Loans, and (II) all other Obligations under the Credit Documents;
and (B) Administrative Agent may cause Collateral Trustee to enforce any and all Liens and
security interests created pursuant to Collateral Documents.


                SECTION 9. AGENTS

        9.1. Appointment of Agents. Goldman Sachs is hereby appointed Syndication Agent
hereunder, and each Lender hereby authorizes Goldman Sachs to act as Syndication Agent in
accordance with the terms hereof and the other Credit Documents. DBNY is hereby appointed
Administrative Agent hereunder and under the other Credit Documents and each Lender hereby
authorizes DBNY to act as Administrative Agent in accordance with the terms hereof and the
other Credit Documents. Each such Agent hereby agrees to act in its capacity as such upon the
express conditions contained herein and the other Credit Documents, as applicable. The
provisions of this Section 9 are solely for the benefit of Agents and Lenders and no Credit Party
shall have any rights as a third party beneficiary of any of the provisions thereof. In performing
its functions and duties hereunder, each Agent shall act solely as an agent of Lenders and does
not assume and shall not be deemed to have assumed any obligation towards or relationship of
agency or trust with or for Holdings or any of its Subsidiaries. The Syndication Agent, upon
written notice to Borrower and Administrative Agent, may assign any and all of its rights or
obligations hereunder to any of its Affiliates. As of the Closing Date, Goldman Sachs, in its
capacity as Syndication Agent, shall not have any obligations but shall be entitled to all benefits
of this Section 9. Each of Syndication Agent and any Agent described in clause (iv) of the


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definition thereof may resign from such role at any time, with immediate effect, by giving prior
written notice thereof to Administrative Agent and Borrower.

        9.2. Powers and Duties. Each Lender irrevocably authorizes each Agent to take such
action on such Lender’s behalf and to exercise such powers, rights and remedies hereunder and
under the other Credit Documents as are specifically delegated or granted to such Agent by the
terms hereof and thereof, together with such powers, rights and remedies as are reasonably
incidental thereto. Each Agent shall have only those duties and responsibilities that are expressly
specified herein and the other Credit Documents. Each Agent may exercise such powers, rights
and remedies and perform such duties by or through its agents or employees. No Agent shall
have, by reason hereof or any of the other Credit Documents, a fiduciary relationship in respect
of any Lender or any other Person; and nothing herein or any of the other Credit Documents,
expressed or implied, is intended to or shall be so construed as to impose upon any Agent any
obligations in respect hereof or any of the other Credit Documents except as expressly set forth
herein or therein.

        Each Secured Party irrevocably authorizes the Collateral Trustee to execute and deliver
the Pledge and Security Agreement, the Intercreditor Agreement and the Collateral Trust
Agreement (including any joinders thereto) and each other Collateral Document and to take such
action, and to exercise the powers, rights and remedies granted to the Collateral Trustee
thereunder and with respect thereto.

        Each Secured Party authorizes and directs Administrative Agent to execute and deliver
the Intercreditor Agreement for the benefit of such Secured Party and any amendment to or
restatement of the Intercreditor Agreement necessary to reflect any Indebtedness permitted
hereunder. Each Secured Party authorizes and directs Administrative Agent to execute and
deliver the Collateral Trust Agreement (including any joinders thereto) for the benefit of each
Secured Party and any amendment to or restatement of the Collateral Trust Agreement necessary
to reflect any Indebtedness permitted hereunder and to evidence that each Secured Party is bound
by the terms and provisions of the Collateral Trust Agreement, including the provisions relating
to the ranking of Priority Liens (as defined in the Collateral Trust Agreement) and the order of
application of proceeds from enforcement of such Priority Liens (as defined in the Collateral
Trust Agreement) and hereby appoints Administrative Agent as a representative of the Priority
Lien Debt (as defined in the Collateral Trust Agreement) for purposes related to the
administration of the security documents.

       Each Secured Party agrees (a) to be bound by, and consents to, the terms and provisions
of the Pledge and Security Agreement, the Collateral Trust Agreement and the Intercreditor
Agreement and (b) that it will take no actions contrary to the provisions of the Pledge and
Security Agreement, the Intercreditor Agreement and the Collateral Trust Agreement.

        9.3. General Immunity.

                        (a) No Responsibility for Certain Matters. Neither any Agent nor any
        Arranger shall be responsible to any Lender for the execution, effectiveness, genuineness,
        validity, enforceability, collectability or sufficiency hereof or any other Credit Document
        or for any representations, warranties, recitals or statements made herein or therein or

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        made in any written or oral statements or in any financial or other statements,
        instruments, reports or certificates or any other documents furnished or made by any
        Agent or any Arranger to Lenders or by or on behalf of any Credit Party to any Agent,
        any Arranger or any Lender in connection with the Credit Documents and the
        transactions contemplated thereby or for the financial condition or business affairs of any
        Credit Party or any other Person liable for the payment of any Obligations, nor shall any
        Agent or any Arranger be required to ascertain or inquire as to the performance or
        observance of any of the terms, conditions, provisions, covenants or agreements
        contained in any of the Credit Documents or as to the use of the proceeds of the Loans or
        as to the existence or possible existence of any Event of Default or Default or to make
        any disclosures with respect to the foregoing. Anything contained herein to the contrary
        notwithstanding, Administrative Agent shall not have any liability arising from
        confirmations of the amount of outstanding Loans or the component amounts thereof.

                        (b) Exculpatory Provisions. None of any Agent, any Arranger or any of
        their respective officers, partners, directors, employees or agents shall be liable to
        Lenders for any action taken or omitted by any Agent or any Arranger under or in
        connection with any of the Credit Documents except to the extent caused by such Agent’s
        or such Arranger’s gross negligence or willful misconduct, as determined by a final, non-
        appealable judgment of a court of competent jurisdiction. Each Agent and each Arranger
        shall be entitled to refrain from any act or the taking of any action (including the failure
        to take an action) in connection herewith or any of the other Credit Documents or from
        the exercise of any power, discretion or authority vested in it hereunder or thereunder
        unless and until such Agent or such Arranger shall have received instructions in respect
        thereof from Requisite Lenders (or such other Lenders as may be required to give such
        instructions under Section 10.5) and, upon receipt of such instructions from Requisite
        Lenders (or such other Lenders, as the case may be), such Agent or such Arranger shall
        be entitled to act or (where so instructed) refrain from acting, or to exercise such power,
        discretion or authority, in accordance with such instructions, including for the avoidance
        of doubt refraining from any action that, in its opinion or the opinion of its counsel, may
        be in violation of the automatic stay under any Debtor Relief Law or that may effect a
        forfeiture, modification or termination of property of a Defaulting Lender in violation of
        any Debtor Relief Law. Without prejudice to the generality of the foregoing, (i) each
        Agent and each Arranger shall be entitled to rely, and shall be fully protected in relying,
        upon any communication, instrument or document believed by it to be genuine and
        correct and to have been signed or sent by the proper Person or Persons, and shall be
        entitled to rely and shall be protected in relying on opinions and judgments of attorneys
        (who may be attorneys for Holdings and its Subsidiaries), accountants, experts and other
        professional advisors selected by it; and (ii) no Lender shall have any right of action
        whatsoever against any Agent or any Arranger as a result of such Agent or such Arranger
        acting or (where so instructed) refraining from acting hereunder or any of the other Credit
        Documents in accordance with the instructions of Requisite Lenders (or such other
        Lenders as may be required to give such instructions under Section 10.5).

                        (c) Delegation of Duties. Administrative Agent may perform any and all
        of its duties and exercise its rights and powers under this Agreement or under any other
        Credit Document by or through any one or more sub-agents appointed by Administrative

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        Agent. Administrative Agent and any such sub-agent may perform any and all of its
        duties and exercise its rights and powers by or through their respective Affiliates. The
        exculpatory, indemnification and other provisions of this Section 9.3 and of Section 9.6
        and Section 10.2 shall apply to any the Affiliates of Administrative Agent and shall apply
        to their respective activities in connection with the syndication of the credit facilities
        provided for herein as well as activities as Administrative Agent. All of the rights,
        benefits, and privileges (including the exculpatory and indemnification provisions) of this
        Section 9.3 and of Section 9.6 and Section 10.2 shall apply to any such sub-agent and to
        the Affiliates of any such sub-agent, and shall apply to their respective activities as sub-
        agent as if such sub-agent and Affiliates were named herein. Notwithstanding anything
        herein to the contrary, with respect to each sub-agent appointed by Administrative Agent,
        (i) such sub-agent shall be a third party beneficiary under this Agreement with respect to
        all such rights, benefits and privileges (including exculpatory rights and rights to
        indemnification) and shall have all of the rights and benefits of a third party beneficiary,
        including an independent right of action to enforce such rights, benefits and privileges
        (including exculpatory rights and rights to indemnification) directly, without the consent
        or joinder of any other Person, against any or all of Credit Parties and the Lenders, (ii)
        such rights, benefits and privileges (including exculpatory rights and rights to
        indemnification) shall not be modified or amended without the consent of such sub-agent,
        and (iii) such sub-agent shall only have obligations to Administrative Agent and not to
        any Credit Party, Lender or any other Person and no Credit Party, Lender or any other
        Person shall have any rights, directly or indirectly, as a third party beneficiary or
        otherwise, against such sub-agent.

        9.4. Agents Entitled to Act as Lender. The agency hereby created shall in no way
impair or affect any of the rights and powers of, or impose any duties or obligations upon, any
Agent in its individual capacity as a Lender hereunder. With respect to its participation in the
Loans, each Agent shall have the same rights and powers hereunder as any other Lender and may
exercise the same as if it were not performing the duties and functions delegated to it hereunder,
and the term “Lender” shall, unless the context clearly otherwise indicates, include each Agent in
its individual capacity. Any Agent and its Affiliates may accept deposits from, lend money to,
own securities of, and generally engage in any kind of banking, trust, financial advisory or other
business with Holdings or any of its Affiliates as if it were not performing the duties specified
herein, and may accept fees and other consideration from Borrower for services in connection
herewith and otherwise without having to account for the same to Lenders.

        9.5. Lenders’ Representations, Warranties and Acknowledgment.

                       (a) Each Lender represents and warrants that it has made its own
        independent investigation of the financial condition and affairs of Holdings and its
        Subsidiaries in connection with Credit Extensions hereunder and that it has made and
        shall continue to make its own appraisal of the creditworthiness of Holdings and its
        Subsidiaries. No Agent shall have any duty or responsibility, either initially or on a
        continuing basis, to make any such investigation or any such appraisal on behalf of
        Lenders or to provide any Lender with any credit or other information with respect
        thereto, whether coming into its possession before the making of the Loans or at any time


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        or times thereafter, and no Agent shall have any responsibility with respect to the
        accuracy of or the completeness of any information provided to Lenders.

                      (b) Each Lender, by delivering its signature page to this Agreement, an
        Assignment Agreement or a Joinder Agreement and funding its Term Loan on the
        Closing Date or by the funding of any New Term Loans, as the case may be, shall be
        deemed to have acknowledged receipt of, and consented to and approved, each Credit
        Document and each other document required to be approved by any Agent, Requisite
        Lenders or Lenders, as applicable, on the Closing Date or as of the date of funding of
        such New Term Loans.

         9.6. Right to Indemnity. Each Lender, in proportion to its Pro Rata Share, severally
agrees to indemnify each Agent and each Arranger, to the extent that such Agent or such
Arranger shall not have been reimbursed by any Credit Party, for and against any and all
liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses
(including counsel fees and disbursements) or disbursements of any kind or nature whatsoever
which may be imposed on, incurred by or asserted against such Agent or such Arranger in
exercising its powers, rights and remedies or performing its duties hereunder or under the other
Credit Documents or otherwise in its capacity as such Agent or such arranger in any way relating
to or arising out of this Agreement or the other Credit Documents; provided, no Lender shall be
liable for any portion of such liabilities, obligations, losses, damages, penalties, actions,
judgments, suits, costs, expenses or disbursements resulting from such Agent’s or such
Arranger’s gross negligence or willful misconduct, as determined by a final, non-appealable
judgment of a court of competent jurisdiction. If any indemnity furnished to any Agent or any
Arranger for any purpose shall, in the opinion of such Agent or such Arranger, be insufficient or
become impaired, such Agent or such Arranger may call for additional indemnity and cease, or
not commence, to do the acts indemnified against until such additional indemnity is furnished;
provided, in no event shall this sentence require any Lender to indemnify any Agent or any
Arranger gainst any liability, obligation, loss, damage, penalty, action, judgment, suit, cost,
expense or disbursement in excess of such Lender’s Pro Rata Share thereof; and provided
further, this sentence shall not be deemed to require any Lender to indemnify any Agent or any
Arranger against any liability, obligation, loss, damage, penalty, action, judgment, suit, cost,
expense or disbursement described in the proviso in the immediately preceding sentence.

        9.7. Successor Administrative Agent. Administrative Agent shall have the right to
resign at any time by giving 30 days’ prior written notice thereof to Lenders and Borrower and
Administrative Agent may be removed at any time with or without cause by an instrument or
concurrent instruments in writing delivered to Borrower and Administrative Agent and signed by
Requisite Lenders. Upon any such notice of resignation or any such removal, Requisite Lenders
shall have the right, with the Borrower’s consent (not to be unreasonably withheld or delayed;
provided that Borrower consent shall not be required if an Event of Default pursuant to Section
8.1(a), (f) or (g) has occurred and is continuing), to appoint a successor Administrative Agent. If
no successor shall have been so appointed by the Requisite Lenders (and consented to by
Borrower, if applicable) and shall have accepted such appointment within 15 days after the
retiring Administrative Agent gives notice of its intent to resign, then the retiring Administrative
Agent may, on behalf of the Lenders, appoint a successor (subject to the same Borrower consent
right set forth above). Upon the acceptance of any appointment as Administrative Agent

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hereunder by a successor Administrative Agent, that successor Administrative Agent shall
thereupon succeed to and become vested with all the rights, powers, privileges and duties of the
retiring or removed Administrative Agent and the retiring or removed Administrative Agent shall
promptly transfer to such successor Administrative Agent all records and other documents
necessary or appropriate in connection with the performance of the duties of the successor
Administrative Agent under the Credit Documents, whereupon such retiring or removed
Administrative Agent shall be discharged from its duties and obligations hereunder.
Notwithstanding the foregoing, in the event no successor shall have been so appointed and shall
have accepted such appointment within 15 days after the retiring Administrative Agent gives
notice of its intent to resign, the retiring Administrative Agent may give notice of the
effectiveness of its resignation to the Lenders and Borrower, whereupon, on the date of
effectiveness of such resignation stated in such notice, (a) the retiring Administrative Agent shall
be discharged from its duties and obligations hereunder and under the other Credit Documents
and (b) the Requisite Lenders shall succeed to and become vested with all the rights, powers,
privileges and duties of the retiring Administrative Agent, provided that all payments required to
be made hereunder or under any other Credit Document to the Administrative Agent for the
account of any Person other than the Administrative Agent shall be made directly to such Person.
After any retiring or removed Administrative Agent’s resignation or removal hereunder as
Administrative Agent, the provisions of this Section 9 shall inure to its benefit as to any actions
taken or omitted to be taken by it while it was Administrative Agent hereunder.

        9.8. Collateral Documents and Guaranty.

                        (a) Collateral Trustee and Agents under Collateral Documents and
        Guaranty. Each Secured Party hereby further authorizes Administrative Agent to appoint
        the Collateral Trustee under the Collateral Trust Agreement to act on behalf of the
        Secured Parties. Each Secured Party hereby further authorizes Administrative Agent or
        Collateral Trustee, as applicable, on behalf of and for the benefit of Secured Parties, to be
        the agent for and representative of Secured Parties with respect to the Guaranty, the
        Collateral and the Collateral Documents; provided that, without limiting the express
        obligations of Administrative Agent or Collateral Trustee under any Collateral Document
        to holders of Obligations under any Designated Coal Contract, neither Administrative
        Agent nor Collateral Trustee shall owe any fiduciary duty, duty of loyalty, duty of care,
        duty of disclosure or any other obligation whatsoever to any holder of Obligations with
        respect to any Secured Hedge Agreement or Designated Coal Contract. Subject to
        Section 10.5, without further written consent or authorization from any Secured Party,
        Administrative Agent or Collateral Trustee, as applicable, may execute any documents or
        instruments necessary to (i) in connection with a sale or disposition of assets permitted by
        this Agreement or designation of a Guarantor as an Unrestricted Subsidiary in accordance
        with Section 5.15, release any Lien encumbering any item of Collateral that is the subject
        of such sale or other disposition of assets or to which Requisite Lenders (or such other
        Lenders as may be required to give such consent under Section 10.5) have otherwise
        consented, (ii) release any Guarantor from the Guaranty pursuant to Section 7.12 or with
        respect to which Requisite Lenders (or such other Lenders as may be required to give
        such consent under Section 10.5) have otherwise consented or (iii) subordinate any Lien
        encumbering Collateral to any Permitted Lien thereon that may be prior to such Lien in
        accordance with the terms of this Agreement (subject to the discretion of Collateral

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        Trustee as to whether such Permitted Lien is intended to be prior to the Liens securing the
        Secured Obligations (as defined in any applicable Collateral Document)), it being agreed
        that the Lien of the Collateral Trustee encumbering any item of Collateral may be
        subordinated to any Lien permitted under Section 6.2(e), (h) (solely with respect to item 1
        described on Schedule 6.2), (i), (j) and (p). Subject to Section 10.5 to the extent
        applicable, without further written consent or authorization from any Secured Party,
        Administrative Agent or Collateral Trustee, as applicable, may execute any documents or
        instruments necessary to enter into any intercreditor or subordination arrangement in
        connection with any Indebtedness permitted to be incurred under this Agreement
        including any Refinancing Indebtedness, Incremental Pari Notes, Additional Facilities
        and Indebtedness under the Revolving Credit Agreement.

                        (b) Right to Realize on Collateral and Enforce Guaranty. Anything
        contained in any of the Credit Documents to the contrary notwithstanding, Borrower,
        Administrative Agent, Collateral Trustee and each Secured Party hereby agree that (i) no
        Secured Party shall have any right individually to realize upon any of the Collateral or to
        enforce the Guaranty, it being understood and agreed that all powers, rights and remedies
        hereunder and under any of the other Credit Documents (other than Collateral
        Documents) may be exercised solely by Administrative Agent, for the benefit of Secured
        Parties in accordance with the terms hereof or thereof, and all powers, rights and
        remedies under the Collateral Documents may be exercised solely by Collateral Trustee
        for the benefit of the Secured Parties in accordance with the terms thereof, and (ii) in the
        event of a foreclosure or similar enforcement action by Collateral Trustee on any of the
        Collateral pursuant to a public or private sale or other disposition (including, without
        limitation, pursuant to Section 363(k), Section 1129(b)(2)(a)(ii) or otherwise of the
        Bankruptcy Code), Collateral Trustee (or any Lender, except with respect to a “credit
        bid” pursuant to Section 363(k), Section 1129(b)(2)(a)(ii) or otherwise of the Bankruptcy
        Code,) may be the purchaser or licensor of any or all of such Collateral at any such sale
        or other disposition and Collateral Trustee, as agent for and representative of Secured
        Parties (but not any Lender or Lenders in its or their respective individual capacities)
        shall be entitled, upon instructions from Requisite Lenders, for the purpose of bidding
        and making settlement or payment of the purchase price for all or any portion of the
        Collateral sold at any such sale or disposition, to use and apply any of the Obligations as
        a credit on account of the purchase price for any collateral payable by Collateral Trustee
        at such sale or other disposition.

                       (c) Rights under Hedge Agreements, Secured Commodities Agreements
        and Designated Coal Contracts. No Hedge Agreement will create (or be deemed to
        create) in favor of any Lender Counterparty that is a party thereto any rights in
        connection with the management or release of any Collateral or of the obligations of any
        Guarantor under the Credit Documents except as expressly provided in Sections
        10.5(c)(iv) and 10.5(c)(v) of this Agreement and Section 9.2 of the Pledge and Security
        Agreement. By accepting the benefits of the Collateral, such Lender Counterparty shall
        be deemed to have appointed Collateral Trustee as its agent and agreed to be bound by
        the Credit Documents as a Secured Party, subject to the limitations set forth in this clause
        (c). No Secured Commodities Agreement will create (or be deemed to create) in favor of
        any Commodities Hedge Provider that is a party thereto any rights in connection with the

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        management or release of any Collateral or of the obligations of any Guarantor under the
        Credit Documents except as expressly provided in Sections 10.5(c)(iv) and 10.5(c)(v) of
        this Agreement and Section 9.2 of the Pledge and Security Agreement. By accepting the
        benefits of the Collateral, such Commodities Hedge Provider shall be deemed to have
        appointed Collateral Trustee as its agent and agreed to be bound by the Credit Documents
        as a Secured Party, subject to the limitations set forth in this clause (c). No Designated
        Coal Contract will create (or be deemed to create) in favor of any Designated Coal
        Contract Counterparty that is a party thereto any rights in connection with the
        management or release of any Collateral or of the obligations of any Guarantor under the
        Credit Documents except as expressly provided in Sections 10.5(c)(iv) and 10.5(c)(v) of
        this Agreement and Section 9.2 of the Pledge and Security Agreement. By accepting the
        benefits of the Collateral, such Designated Coal Contract Counterparty shall be deemed
        to have appointed Collateral Trustee as its agent and agreed to be bound by the Credit
        Documents as a Secured Party, subject to the limitations set forth in this clause (c).

                        (d) Release of Guarantees, Termination of this Agreement.
        Notwithstanding anything to the contrary contained herein or any other Credit Document,
        when all Obligations (other than (i) contingent indemnity obligations that are not due and
        payable and (ii) obligations and liabilities in respect of any Secured Hedge Agreement or
        Designated Coal Contract) have been paid in full, and all Commitments have terminated
        or expired, the guarantees made herein shall automatically terminate and, upon request of
        Borrower, Administrative Agent shall (without notice to, or vote or consent of, any
        Lender, or any Affiliate of any Lender that is a party to any Hedge Agreement, any
        Commodities Hedge Provider that is a party to any Secured Commodities Agreement or
        any Designated Coal Contract Counterparty that is a party to a Designated Coal Contract)
        take such actions as shall be required to terminate this Agreement and to release all
        guarantee obligations provided for in any Credit Document, whether or not on the date of
        such release there may be outstanding Obligations in respect of Hedge Agreements,
        Secured Commodities Agreements or Designated Coal Contracts. Any such release of
        guarantee obligations shall be deemed subject to the provision that such guarantee
        obligations shall be reinstated if after such release any portion of any payment in respect
        of the Obligations guaranteed thereby shall be rescinded or must otherwise be restored or
        returned upon the insolvency, bankruptcy, dissolution, liquidation or reorganization of
        Borrower or any Guarantor, or upon or as a result of the appointment of a receiver,
        intervenor or conservator of, or trustee or similar officer for, Borrower or any Guarantor
        or any substantial part of its property, or otherwise, all as though such payment had not
        been made.

                        (e) The Collateral Trustee shall not be responsible for or have a duty to
        ascertain or inquire into any representation or warranty regarding the existence, value or
        collectability of the Collateral, the existence, priority or perfection of the Collateral
        Trustee’s Lien thereon, or any certificate prepared by any Credit Party in connection
        therewith, nor shall the Collateral Trustee be responsible or liable to the Lenders for any
        failure to monitor or maintain any portion of the Collateral.

      9.9. Withholding Taxes. To the extent required by any applicable law, Administrative
Agent may withhold from any payment to any Lender an amount equivalent to any applicable

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withholding Tax. If the Internal Revenue Service or any other Governmental Authority asserts a
claim that Administrative Agent did not properly withhold Tax from amounts paid to or for the
account of any Lender because the appropriate form was not delivered or was not properly
executed or because such Lender failed to notify Administrative Agent of a change in
circumstance which rendered the exemption from, or reduction of, withholding Tax ineffective
or for any other reason, or if Administrative Agent reasonably determines that a payment was
made to a Lender pursuant to this Agreement without deduction of applicable withholding tax
from such payment, such Lender shall indemnify Administrative Agent fully for all amounts
paid, directly or indirectly, by Administrative Agent as Tax or otherwise, including any penalties
or interest and together with all expenses (including legal expenses, allocated internal costs and
out-of-pocket expenses) incurred.

        9.10. Administrative Agent May File Bankruptcy Disclosure and Proofs of Claim.
In case of the pendency of any proceeding under any Debtor Relief Laws relative to any Credit
Party, Administrative Agent (irrespective of whether the principal of any Loan shall then be due
and payable as herein expressed or by declaration or otherwise and irrespective of whether
Administrative Agent shall have made any demand on Borrower) shall be entitled and
empowered (but not obligated) by intervention in such proceeding or otherwise:

                      (a) to file a verified statement pursuant to rule 2019 of the Federal Rules
        of Bankruptcy Procedure that, in its sole opinion, complies with such rule’s disclosure
        requirements for entities representing more than one creditor;

                       (b) to file and prove a claim for the whole amount of the principal and
        interest owing and unpaid in respect of the Loans and all other Obligations that are owing
        and unpaid and to file such other documents as may be necessary or advisable in order to
        have the claims of the Lenders and Administrative Agent (including any claim for the
        reasonable compensation, expenses, disbursements and advances of Administrative
        Agent and its respective agents and counsel and all other amounts due Administrative
        Agent under Sections 2.11, 10.2 and 10.3 allowed in such judicial proceeding; and

                       (c) to collect and receive any monies or other property payable or
        deliverable on any such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in
any such judicial proceeding is hereby authorized by each Lender to make such payments to
Administrative Agent and, in the event that Administrative Agent shall consent to the making of
such payments directly to the Lenders, to pay to Administrative Agent any amount due for the
reasonable compensation, expenses, disbursements and advances of Administrative Agent and its
agents and counsel, and any other amounts due Administrative Agent under Sections 2.11, 10.2
and 10.3. To the extent that the payment of any such compensation, expenses, disbursements
and advances of Administrative Agent, its agents and counsel, and any other amounts due
Administrative Agent under Sections 2.11, 10.2 and 10.3 out of the estate in any such
proceeding, shall be denied for any reason, payment of the same shall be secured by a Lien on,
and shall be paid out of, any and all distributions, dividends, money, securities and other
properties that the Lenders may be entitled to receive in such proceeding whether in liquidation
or under any plan of reorganization or arrangement or otherwise.

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Nothing contained herein shall be deemed to authorize Administrative Agent to authorize or
consent to or accept or adopt on behalf of any Lender any plan of reorganization, arrangement,
adjustment or composition affecting the Obligations or the rights of any Lender or to authorize
Administrative Agent to vote in respect of the claim of any Lender in any such proceeding.


                SECTION 10. MISCELLANEOUS

        10.1. Notices.

                       (a) Notices Generally. Any notice or other communication herein
        required or permitted to be given to a Credit Party, Syndication Agents or Administrative
        Agent, shall be sent to such Person’s address as set forth on Appendix B or in the other
        relevant Credit Document, and in the case of any Lender, the address as indicated on
        Appendix B or otherwise indicated to Administrative Agent in writing. Except as
        otherwise set forth in paragraph (b) below, each notice hereunder shall be in writing and
        may be personally served or sent by telefacsimile (except for any notices sent to
        Administrative Agent), email or United States mail or courier service and shall be
        deemed to have been given when delivered in person or by courier service and signed for
        against receipt thereof, upon receipt of telefacsimile, or three Business Days after
        depositing it in the United States mail with postage prepaid and properly addressed;
        provided, no notice to any Agent or Borrower shall be effective until received by such
        Person; provided further, any such notice or other communication shall at the request of
        Administrative Agent be provided to any sub-agent appointed pursuant to Section 9.3(c)
        as designated by Administrative Agent from time to time.

                  (b) Electronic Communications.

                        (i) Notices and other communications to any Agent and Lenders
        hereunder may be delivered or furnished by electronic communication (including e-mail
        and Internet or intranet websites, including the Platform) pursuant to procedures
        approved by Administrative Agent, provided that the foregoing shall not apply to notices
        to any Agent or any Lender pursuant to Section 2 if such Person has notified Borrower
        and Administrative Agent that it is incapable of receiving notices under such Section by
        electronic communication. Administrative Agent or Borrower may, in its discretion,
        agree to accept notices and other communications to it hereunder by electronic
        communications pursuant to procedures approved by it, provided that approval of such
        procedures may be limited to particular notices or communications.                 Unless
        Administrative Agent otherwise prescribes, (i) notices and other communications sent to
        an e-mail address shall be deemed received upon the sender’s receipt of an
        acknowledgment from the intended recipient (such as by the “return receipt requested”
        function, as available, return e-mail or other written acknowledgment), provided that if
        such notice or other communication is not sent during the normal business hours of the
        recipient, such notice or communication shall be deemed to have been sent at the opening
        of business on the next Business Day for the recipient, and (ii) notices or communications
        posted to an Internet or intranet website shall be deemed received upon the deemed


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        receipt by the intended recipient at its e-mail address as described in the foregoing
        clause (i) of notification that such notice or communication is available and identifying
        the website address therefor.

                      (ii) Each Credit Party understands that the distribution of material
        through an electronic medium is not necessarily secure and that there are confidentiality
        and other risks associated with such distribution and agrees and assumes the risks
        associated with such electronic distribution, except to the extent caused by the willful
        misconduct or gross negligence of Administrative Agent, as determined by a final, non-
        appealable judgment of a court of competent jurisdiction.

                        (iii) The Platform and any Approved Electronic Communications are
        provided “as is” and “as available”. None of the Agents or any of their respective
        officers, directors, employees, agents, advisors or representatives (the “Agent
        Affiliates”) warrant the accuracy, adequacy, or completeness of the Approved Electronic
        Communications or the Platform and each expressly disclaims liability for errors or
        omissions in the Platform and the Approved Electronic Communications. No warranty of
        any kind, express, implied or statutory, including any warranty of merchantability, fitness
        for a particular purpose, non-infringement of third party rights or freedom from viruses or
        other code defects is made by the Agent Affiliates in connection with the Platform or the
        Approved Electronic Communications.

                      (iv) Each Credit Party, each Lender and each Agent agrees that
        Administrative Agent may, but shall not be obligated to, store any Approved Electronic
        Communications on the Platform in accordance with Administrative Agent’s customary
        document retention procedures and policies.

                       (v) Any notice of Default or Event of Default may be provided by
        telephone if confirmed promptly thereafter by delivery of written notice thereof.

                        (c) Private Side Information Contacts. Each Public Lender agrees to
        cause at least one individual at or on behalf of such Public Lender to at all times have
        selected the “Private Side Information” or similar designation on the content declaration
        screen of the Platform in order to enable such Public Lender or its delegate, in accordance
        with such Public Lender’s compliance procedures and applicable law, including United
        States federal and state securities laws, to make reference to information that is not made
        available through the “Public Side Information” portion of the Platform and that may
        contain Non-Public Information with respect to Holdings, its Subsidiaries or their
        securities for purposes of United States federal or state securities laws. In the event that
        any Public Lender has determined for itself to not access any information disclosed
        through the Platform or otherwise, such Public Lender acknowledges that (i) other
        Lenders may have availed themselves of such information and (ii) neither Borrower nor
        Administrative Agent has any responsibility for such Public Lender’s decision to limit the
        scope of the information it has obtained in connection with this Agreement and the other
        Credit Documents.

        10.2. Expenses.


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        Borrower agrees to pay, within 30 days of written request (or on the Closing Date, in the
case of amounts required to be paid in order to satisfy the condition in Section 3.1(m)) (a) all the
actual, reasonable and documented out-of-pocket costs and expenses of the Administrative Agent
incurred in connection with the negotiation, preparation and execution of the Credit Documents
and any consents, amendments, waivers or other modifications thereto; (b) all the costs of
furnishing all opinions by counsel for Borrower and the other Credit Parties; (c) the reasonable,
actual and documented out-of-pocket fees, expenses and disbursements of counsel to the
Administrative Agent in connection with the negotiation, preparation, execution and
administration of the Credit Documents and any consents, amendments, waivers or other
modifications thereto and any other documents or matters requested by Borrower (limited, in the
case of counsel, to one firm of primary outside counsel for the Administrative Agent, one firm of
outside local counsel for the Administrative Agent in any applicable jurisdiction as to which
Administrative Agent reasonably determined local counsel is appropriate, and one specialty
counsel for the Administrative Agent with respect to each subject matter as to which
Administrative Agent reasonably determines specialty counsel is appropriate; provided, that if
any Agent has been advised by counsel that there is an actual or reasonable likelihood of a
conflict of interest, such affected Agent may retain its own counsel); (d) all the actual costs and
reasonable and documented out-of-pocket expenses of creating, perfecting, recording,
maintaining and preserving Liens in favor of Collateral Trustee, for the benefit of Secured
Parties, including filing and recording fees, expenses and taxes, stamp or documentary taxes,
search fees, title insurance premiums (limited, in the case of counsel, to one firm of primary
outside counsel for the Administrative Agent and one firm of outside local counsel for the
Administrative Agent in any applicable jurisdiction as to which Administrative Agent reasonably
determines local counsel is appropriate; provided, that if any Agent has been advised by counsel
that there is an actual or reasonable likelihood of a conflict of interest, such affected Agent may
retain its own counsel); (e) all the actual and reasonable and documented out-of-pocket costs,
fees, expenses and disbursements of any auditors, accountants, consultants or appraisers, in each
case hired with the consent of Borrower; (f) all the actual and reasonable and documented out-of-
pocket costs and reasonable expenses of the Administrative Agent (including the reasonable and
documented out-of-pocket fees, expenses and disbursements of any appraisers, consultants,
advisors and agents employed or retained by Administrative Agent or Collateral Trustee and its
counsel with the consent of Borrower) in connection with the custody or preservation of any of
the Collateral (limited, in the case of counsel, to one firm of primary outside counsel for the
Administrative Agent and one firm of outside local counsel for the Administrative Agent in any
applicable jurisdiction as to which Administrative Agent reasonably determines local counsel is
appropriate; provided, that if any Agent or Collateral Trustee has been advised by counsel that
there is an actual or reasonable likelihood of a conflict of interest, such affected Agent or
Collateral Trustee may retain its own counsel); (g) all other actual out-of-pocket, reasonable and
documented costs and expenses incurred by each Agent in connection with the primary
syndication of the Loans and Commitments; and (h) after the occurrence and during the
continuance of an Event of Default, all documented out-of-pocket costs and expenses, including
reasonable and documented out-of-pocket attorneys’ fees and costs of settlement, incurred by
any Agent and Lenders in preserving or enforcing any Obligations of or in collecting any
payments due from any Credit Party hereunder or under the other Credit Documents by reason of
such Event of Default (including in connection with the sale, lease or license of, collection from,
or other realization upon any of the Collateral or the enforcement of the Guaranty) or in


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connection with any refinancing or restructuring of the credit arrangements provided hereunder
in the nature of a “work-out” or pursuant to any insolvency or bankruptcy cases or proceedings
(limited, in the case of counsel, to one firm of primary outside counsel for the Administrative
Agent and Lenders and one firm of outside local counsel for the Administrative Agent and
Lenders in any applicable jurisdiction as to which Administrative Agent reasonably determines
local counsel is appropriate; provided, that if any Agent or any Lender has been advised by
counsel that there is an actual or reasonable likelihood of a conflict of interest, such affected
Agent or affected Lender, as applicable, may retain its own counsel). This Section 10.2 shall not
apply to Taxes, which are the subject to of Section 2.20.

        10.3. Indemnity.

                        (a) In addition to the payment of expenses pursuant to Section 10.2, each
        Credit Party agrees to indemnify, pay and hold harmless, each Agent, Arranger and
        Lender and each of their respective officers, partners, members, directors, trustees,
        advisors, employees, agents, sub-agents, Affiliates and controlling persons (each, an
        “Indemnitee”), from and against any and all Indemnified Liabilities; provided, no Credit
        Party shall have any obligation to any Indemnitee hereunder with respect to any
        Indemnified Liabilities (i) to the extent such Indemnified Liabilities resulted from the
        gross negligence, bad faith or willful misconduct of such Indemnitee, (ii) arises out of or
        is in connection with any claim, litigation, loss or proceeding not involving an act or
        omission of any Credit Party or any of Credit Party’s related parties and that is brought
        by an Indemnitee against another Indemnitee (other than against the applicable
        Indemnitee) or (iii) resulted from material breach by such Indemnitee of the terms of this
        Agreement or any other Credit Documents, in each case of clauses (i) - (iii), as
        determined by a final, non-appealable judgment of a court of competent jurisdiction
        (collectively, the “Excluded Damages”). To the extent that the undertakings to
        indemnify, pay and hold harmless set forth in this Section 10.3 (other than any Excluded
        Damage) may be unenforceable in whole or in part because they are violative of any law
        or public policy or are otherwise unavailable to any Indemnitee or are insufficient to hold
        such Indemnitee harmless, the applicable Credit Party shall contribute to the amount paid
        or payable by such Indemnitee as a result of such Indemnified Liabilities in such
        proportion as is appropriate to reflect the relative economic interests of (a) such Credit
        Party and its affiliates, shareholders, partners, members or other equity holders on the one
        hand and (b) such Indemnitee on the other hand in the matters contemplated by this
        Agreement as well as the relative fault of (1) such Credit Party and its affiliates,
        shareholders, partners, members or other equity holders and (2) such Indemnitee with
        respect to such Indemnified Liabilities and any other relevant equitable considerations.
        Promptly after receipt by any Indemnitee of notice of its involvement in any action,
        proceeding or investigation, such Indemnitee shall, if a claim for indemnification in
        respect thereof is to be made against the Credit Parties under this Section 10.3, notify
        Borrower of such involvement. Failure by such Indemnitee to so notify Borrower shall
        not relieve any Credit Party from its obligation to indemnify such Indemnitee under this
        Section 10.3 except to the extent that such Credit Party suffers actual prejudice as a result
        of such failure, and shall not relieve any Credit Party from its obligation to provide
        reimbursement and contribution to such Indemnitee. With respect to an Indemnitee
        hereunder in the event of any action or proceeding brought by a third party, Borrower

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        shall be entitled, but not required, to assume the defense of any such action or proceeding
        with counsel reasonably satisfactory to the Indemnitee. Upon assumption by Borrower of
        the defense of any such action or proceeding, the Indemnitee shall have the right to
        participate in such action or proceeding and to retain its own counsel but Borrower shall
        not be liable for any legal expenses of other counsel subsequently incurred by the
        Indemnitee in connection with the defense thereof unless (x) Borrower has agreed to pay
        such fees and expenses, (y) Borrower has failed to employ counsel reasonably
        satisfactory to the Indemnitee in a timely manner and Borrower has been advised in
        writing of such circumstance by the Indemnitee, or (z) the Indemnitee advises Borrower
        in writing that the Indemnitee has been advised by counsel that there are actual or
        potential conflicting interests between Borrower and the Indemnitee, including situations
        in which there are one or more legal defenses available to the Indemnitee that are
        different from or additional to those available to Borrower; provided, however, that
        Borrower shall not, in connection with any one such action or proceeding or separate but
        substantially similar actions or proceedings arising out of the same general allegations, be
        liable for the fees and expenses of more than one separate firm of attorneys at any time
        for all Indemnitees, except to the extent that local counsel, in addition to its regular
        counsel, is required in order to effectively defend against such action or proceeding.
        Borrower shall not consent to the terms of any compromise or settlement of any action or
        proceeding defended by Borrower in accordance with the foregoing without the prior
        written consent of the Indemnitee unless such compromise or settlement (A) includes an
        unconditional release of the Indemnitee from all liability arising out of such action and
        (B) does not include a statement as to or an admission of fault, culpability or a failure to
        act, by or on behalf of any Indemnitee. No Credit Party shall be required to indemnify
        any Indemnitee for any amount paid or payable by the Indemnitee in the settlement of
        any action, proceeding or investigation without the written consent of Borrower, which
        consent shall not be unreasonably withheld, conditioned or delayed; provided that the
        foregoing indemnity will apply to any such settlement in the event that Borrower was
        expressly offered the ability to assume the defense of the action that was the subject
        matter of such settlement and elected not to so assume. The reimbursement, indemnity
        and contribution obligations of the Credit Parties under this paragraph will be in addition
        to any liability which the Credit Parties may otherwise have, and will be binding upon
        and inure to the benefit of any successors, and assigns of the Credit Parties and the
        Indemnitees. Notwithstanding anything in this Agreement or any other Credit Document
        to the contrary, the Credit Parties shall not be required to indemnify any Agent, Lender or
        other Indemnitee hereunder for any matter, claim, fees, costs or expenses arising in such
        Agent’s, Lender’s or Indemnitees’, as applicable, capacity as either (A) Trading
        Counterparty, (B) in any role in connection with the Second Lien Documents or the
        Revolving Credit Agreement or (C) in any role in connection any Acquisition (other than
        as Agents, Arrangers and/or Lenders hereunder).

                        (b) To the extent permitted by applicable law, no party hereto shall
        assert, and each party hereto hereby waives, any claim against each other party hereto and
        their respective Affiliates, directors, employees, attorneys, agents or sub-agents, on any
        theory of liability, for special, indirect, consequential or punitive damages (as opposed to
        direct or actual damages) (whether or not the claim therefor is based on contract, tort or
        duty imposed by any applicable legal requirement) arising out of, in connection with, as a

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        result of, or in any way related to, this Agreement or any Credit Document or any
        agreement or instrument contemplated hereby or thereby or referred to herein or therein,
        the transactions contemplated hereby or thereby, any Loan or the use of the proceeds
        thereof or any act or omission or event occurring in connection therewith, and each party
        hereto hereby waives, releases and agrees not to sue upon any such claim or any such
        damages, whether or not accrued and whether or not known or suspected to exist in its
        favor; provided that nothing contained in this Section 10.3(b) shall limit any Credit
        Party’s indemnification obligations set forth in Section 10.3 to the extent such special,
        indirect, consequential or punitive damages are included in any third party claim in
        connection with which such Indemnitee is entitled to indemnification hereunder.

                        (c) Each Credit Party also agrees that no Lender, Agent, Arranger nor
        their respective Affiliates, directors, employees, attorneys, agents or sub-agents will have
        any liability based on its exclusive or contributory negligence or otherwise to any Credit
        Party or any person asserting claims on behalf of or in right of any Credit Party or any
        other person in connection with or as a result of this Agreement or any Credit Document
        or any agreement or instrument contemplated hereby or thereby or referred to herein or
        therein, the transactions contemplated hereby or thereby, any Loan or the use of the
        proceeds thereof or any act or omission or event occurring in connection therewith, in
        each case, except in the case of any Credit Party to the extent that any losses, claims,
        damages, liabilities or expenses incurred by such Credit Party or its affiliates,
        shareholders, partners or other equity holders have been found by a final, non-appealable
        judgment of a court of competent jurisdiction to have resulted from the gross negligence,
        bad faith or willful misconduct of such Lender, Agent, Arranger or their respective
        Affiliates, directors, employees, attorneys, agents or sub-agents in performing the
        services or its express obligations under this Agreement or any Credit Document or any
        material breach by such Lender, Agent or Arranger of the terms hereof or thereof;
        provided, however, that in no event will such Lender, Agent, Arranger or their respective
        Affiliates, directors, employees, attorneys, agents or sub-agents have any liability for any
        indirect, consequential, special or punitive damages in connection with or as a result of
        such Lender’s, Agent’s, Arranger’s or their respective Affiliates’, directors’, employees’,
        attorneys’, agents’ or sub-agents’ activities related to this Agreement or any Credit
        Document or any agreement or instrument contemplated hereby or thereby or referred to
        herein or therein.

                       (d) [Reserved].

                       (e) Each Credit Party also agrees that neither any Agent nor Arranger
        shall have any liability to any Credit Party or any person asserting claims on behalf of or
        in right of any Credit Party or any other person for failure to monitor compliance with
        any provisions of this Agreement with respect to Disqualified Lenders.

       10.4. Set-Off. In addition to any rights now or hereafter granted under applicable law
and not by way of limitation of any such rights, upon the occurrence and during the continuance
of any Event of Default each Lender is hereby authorized by each Credit Party at any time or
from time to time subject to the consent of Administrative Agent (such consent not to be
unreasonably withheld or delayed), without notice to any Credit Party or to any other Person

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(other than Administrative Agent), any such notice being hereby expressly waived, to set off and
to appropriate and to apply any and all deposits (general or special, including Indebtedness
evidenced by certificates of deposit, whether matured or unmatured, but not including trust
accounts) and any other Indebtedness at any time held or owing by such Lender to or for the
credit or the account of any Credit Party against and on account of the obligations and liabilities
of any Credit Party to such Lender hereunder, and under the other Credit Documents, including
all claims of any nature or description arising out of or connected hereto, or with any other Credit
Document, irrespective of whether or not (a) such Lender shall have made any demand
hereunder or (b) the principal of or the interest on the Loans or any other amounts due hereunder
shall have become due and payable pursuant to Section 2 and although such obligations and
liabilities, or any of them, may be contingent or unmatured; provided that in the event that any
Defaulting Lender shall exercise any such right of setoff, (x) all amounts so set off shall be paid
over immediately to Administrative Agent for further application in accordance with the
provisions of Sections 2.17 and 2.22 and, pending such payment, shall be segregated by such
Defaulting Lender from its other funds and deemed held in trust for the benefit of Administrative
Agent and the Lenders, and (y) the Defaulting Lender shall provide promptly to Administrative
Agent a statement describing in reasonable detail the Obligations owing to such Defaulting
Lender as to which it exercised such right of setoff. The rights of each Lender and their
respective Affiliates under this Section 10.4 are in addition to other rights and remedies
(including other rights of setoff) that such Lender or their respective Affiliates may have.

        10.5. Amendments and Waivers.

                       (a) Requisite Lenders’ Consent. Subject to the additional requirements
        of Sections 10.5(b) and 10.5(c), no amendment, modification, termination or waiver of
        any provision of the Credit Documents, or consent to any departure by any Credit Party
        therefrom, shall in any event be effective without the written concurrence of Requisite
        Lenders and Borrower; provided that Administrative Agent may, with the consent of
        Borrower only, amend, modify or supplement this Agreement or any other Credit
        Document to cure any ambiguity, omission, defect or inconsistency (as reasonably
        determined by Administrative Agent), so long as such amendment, modification or
        supplement to cure any such ambiguity, omission, defect or inconsistency does not
        adversely affect the rights of any Lender or the Lenders shall have received at least five
        Business Days’ prior written notice thereof and Administrative Agent shall not have
        received, within five Business Days of the date of such notice to the Lenders, a written
        notice from the Requisite Lenders stating that the Requisite Lenders object to such
        amendment.

                        (b) Affected Lenders’ Consent. Without the written consent of each
        Lender (other than a Defaulting Lender) that would be directly adversely affected thereby
        and in addition, no amendment, modification, termination, or consent shall be effective if
        the effect thereof would:

                       (i) extend the scheduled final maturity of any Loan or Note of such
        Lender (it being understood that a waiver of any condition precedent set forth in Section
        3.1 or the waiver of any Default, Event of Default or mandatory prepayment shall not
        constitute such an extension);

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                      (ii) waive, reduce or postpone any scheduled repayment owing to such
        Lender (but not prepayment);

                       (iii) [reserved];

                         (iv) reduce the rate of interest on any Loan (other than any waiver of any
        increase in the interest rate applicable to any Loan pursuant to Section 2.10 and provided
        that no waiver of any Default or Event of Default shall constitute a reduction in the rate
        of interest) or any fee or any premium payable hereunder to such Lender;

                       (v) extend the time for payment of any such interest, fees or premium;

                       (vi) reduce the principal amount of any Loan;

                       (vii) amend, modify, terminate or waive any provision of this Section
        10.5(b), Section 10.5(c) or any other provision of this Agreement that expressly provides
        that the consent of all Lenders is required (it being understood that this clause (vii) shall
        not prohibit amendments pursuant to Joinder Agreements entered into as provided in
        Section 2.24 and Extension Amendment as contemplated by Section 2.25(e) and
        amendments in connection with any Refinancing Indebtedness);

                       (viii) amend the definition of “Requisite Lenders” or “Pro Rata Share”;
        provided, (A) with the consent of Requisite Lenders, additional extensions of credit
        pursuant hereto may be included in the determination of “Requisite Lenders” or “Pro
        Rata Share” on substantially the same basis as the Term Loan Commitments and the
        Term Loans are included on the Closing Date, (B) such definitions may be amended
        pursuant to Joinder Agreements entered into as provided in Section 2.24 and (C) the
        definition of “Pro Rata Share” may be amended pursuant to an Extension Amendment
        as contemplated by Section 2.25(e) or in connection with any Refinancing Indebtedness;

                        (ix) release all or substantially all of the Collateral or all or substantially
        all of the Guarantors from the Guaranty except as expressly provided in the Credit
        Documents or the Collateral Trust Agreement and except in connection with a “credit
        bid” undertaken by the Collateral Trustee at the direction of the Requisite Lenders
        pursuant to Section 363(k), Section 1129(b)(2)(a)(ii) or otherwise of the Bankruptcy
        Code or other sale or disposition of assets in connection with an enforcement action with
        respect to the Collateral permitted pursuant to the Credit Documents (in which case only
        the consent of the Requisite Lenders will be needed for such release);

                       (x) consent to the assignment or transfer by any Credit Party of any of its
        rights and obligations under any Credit Document (other than in connection with a
        transaction permitted under this Agreement); or

                        (xi) reduce the principal amount of any reimbursement obligation in
        respect of letters of credit issued under the Incremental Revolving Commitments;

        provided that for the avoidance of doubt, all Lenders shall be deemed directly affected
        thereby with respect to any amendment described in clauses (vii), (viii), (ix) and (x).

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                       (c) Other Consents. No amendment, modification, termination or waiver
        of any provision of the Credit Documents, or consent to any departure by any Credit
        Party therefrom, shall:

                       (i) [reserved];

                       (ii) [reserved];

                      (iii) alter the required application of any repayments or prepayments as
        between Classes pursuant to Section 2.15 without the consent of Lenders holding more
        than 50% of the aggregate Term B-1 Loan Exposure of all Lenders, Term B-2 Loan
        Exposure of all Lenders, New Term Loan Exposure of all Lenders or Incremental
        Revolving Exposure of all Lenders, as applicable, of each Class which is being allocated
        a lesser repayment or prepayment as a result thereof; provided, Requisite Lenders may
        waive, in whole or in part, any prepayment so long as the application, as between
        Classes, of any portion of such prepayment which is still required to be made is not
        altered;

                        (iv) release all or substantially all of the Collateral (or amend or modify
        the definition of the term “Collateral” that would have the effect of a release of all or
        substantially all of the Collateral) or all or substantially all of the Guarantors from the
        Guaranty except as expressly provided in the Credit Documents or the Collateral Trust
        Agreement and except in connection with a “credit bid” undertaken by the Collateral
        Trustee on behalf of the Secured Parties at the direction of the Requisite Lenders pursuant
        to Section 363(k), Section 1129(b)(2)(a)(ii) or otherwise of the Bankruptcy Code or other
        sale or disposition of assets in connection with an enforcement action with respect to the
        Collateral permitted pursuant to the Credit Documents (in which case only the consent of
        the Requisite Lenders will be needed for such release and which release will be only on
        the assets subject to such “credit bid” or that are so sold or disposed) without the written
        consent of the Existing Designated Coal Contract Counterparty;

                       (v) amend, modify or waive this Agreement or the Pledge and Security
        Agreement so as to alter the ratable treatment of Obligations arising under the Credit
        Documents and Obligations arising under Hedge Agreements, Secured Commodities
        Agreements or Designated Coal Contracts or the definition of “Designated Coal Contract
        Counterparty”, “Designated Coal Contract”, “Existing Designated Coal Contract
        Counterparty”, “Existing Designated Coal Contract Counterparty”, “Lender
        Counterparty,” “Commodities Hedge Provider”, “Hedge Agreement,” “Secured
        Commodities Agreement,” “Obligations,” or “Secured Obligations” (as defined in any
        applicable Collateral Document) in each case in a manner adverse to any Lender
        Counterparty, Commodities Hedge Provider or Designated Coal Contract Counterparty
        with Obligations then outstanding without the written consent of any such Lender
        Counterparty, Commodities Hedge Provider and or Designated Coal Contract
        Counterparty, as applicable;




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                       (vi) amend, modify, terminate or waive any provision of the Credit
        Documents as the same applies to any Agent or Arranger, or any other provision hereof
        as the same applies to the rights or obligations of any Agent or Arranger, in each case
        without the consent of such Agent or Arranger, as applicable; or

                       (vii) increase the Incremental Revolving Commitment of any Lender
        over the amount thereof then in effect without the consent of such Lender; provided, no
        amendment, modification or waiver of any condition precedent, covenant, Default or
        Event of Default shall constitute an increase in any Incremental Revolving Commitment
        of any Lender;

                        (viii) amend, modify, terminate or waive any provision hereof relating to
        the swingline subfacility provided under the Incremental Revolving Commitment (if any)
        that directly and adversely affects the rights or duties of the swingline lender thereunder
        without the consent of the applicable swingline lender; or

                        (ix) amend, modify, terminate or waive any obligation of Lenders
        relating to the purchase of participations in letters of credit issued under the Incremental
        Revolving Commitment without the written consent of Administrative Agent and the
        applicable issuing bank.

        In addition, notwithstanding the foregoing, this Agreement may be amended with the
written consent of Administrative Agent, Borrower and the Lenders providing the relevant
Replacement Term Loans (as defined below) to permit the refinancing of all outstanding Term
Loans (“Refinanced Term Loans”), with a replacement term loan tranche denominated in
Dollars (“Replacement Term Loans”); provided that (a) the aggregate principal amount of such
Replacement Term Loans shall not exceed the aggregate principal amount of such Refinanced
Term Loans, (b) the Weighted Average Yield for such Replacement Term Loans shall not be
higher than the Weighted Average Yield for such Refinanced Term Loans, (c) the Weighted
Average Life to Maturity of such Replacement Term Loans shall not be shorter than the
Weighted Average Life to Maturity of such Refinanced Term Loans at the time of such
refinancing (except to the extent of nominal amortization for periods where amortization has
been eliminated as a result of prepayment of the applicable Term Loans), (d) all other terms
applicable to such Replacement Term Loans shall be substantially identical to, or less favorable
to the Lenders providing such Replacement Term Loans than those applicable to such
Refinanced Term Loans, except to the extent necessary to provide for covenants and other terms
applicable to any period after the latest final maturity of the Term Loans in effect immediately
prior to such refinancing.

       In addition, notwithstanding the foregoing, in connection with an amendment that
addresses solely a re-pricing transaction and any related amendments (including any
amendments to Section 2.13(b) and related provisions) in which all or any portion of Class of
Term Loans is refinanced with a replacement Class of term loans bearing (or is modified in such
a manner such that the resulting term loans bear) a lower Weighted Average Yield (a “Permitted
Repricing Amendment”), only the consent of the Lenders holding Term Loans subject to such
permitted repricing transaction that will continue as a Lender in respect of the repriced tranche of


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Term Loans or modified Term Loans shall be required for such Permitted Repricing
Amendment.

                       (d) Certain Authorizations. Notwithstanding anything herein to the
        contrary, Administrative Agent and Collateral Trustee may, without the consent of any
        Secured Party, waive, amend or modify any provision in any Collateral Document, or
        consent to a departure by any Credit Party therefrom, to the extent Administrative Agent
        or Collateral Trustee determines that such waiver, amendment, modification or consent is
        necessary in order to eliminate any conflict between such provision and the terms of this
        Agreement. Collateral Trustee also may amend, supplement or modify the Intercreditor
        Agreement or the Collateral Trust Agreement as provided in Section 9.8(a).

                        (e) Execution of Amendments, Etc. Administrative Agent may, but shall
        have no obligation to, with the concurrence of any Lender, execute amendments,
        modifications, waivers or consents on behalf of such Lender. Any waiver or consent
        shall be effective only in the specific instance and for the specific purpose for which it
        was given. No notice to or demand on any Credit Party in any case shall entitle any
        Credit Party to any other or further notice or demand in similar or other circumstances.
        Any amendment, modification, termination, waiver or consent effected in accordance
        with this Section 10.5 shall be binding upon each Lender at the time outstanding, each
        future Lender and, if signed by a Credit Party, on such Credit Party.

        Notwithstanding the foregoing, no Secured Party consent is required to effect any
amendment, modification or supplement to any Intercreditor Agreement, Collateral Trust
Agreement or other intercreditor agreement or arrangement permitted under this Agreement or in
any document pertaining to any Indebtedness permitted hereby that is permitted to be secured by
the Collateral, including any Incremental Commitment, any Additional Facilities, or any
Permitted First Lien Priority Refinancing Debt or any Permitted Second Lien Priority
Refinancing Debt, for the purpose of adding the holders of such Indebtedness (or their
Representative) as a party thereto and otherwise causing such Indebtedness to be subject thereto,
in each case as contemplated by the terms of such Intercreditor Agreement, Collateral Trust
Agreement or such other intercreditor agreement or arrangement permitted under this
Agreement, as applicable (it being understood that any such amendment or supplement may
make such other changes to the applicable intercreditor agreement as, in the good faith
determination of the Administrative Agent, are required to effectuate the foregoing and provided
that such other changes are not adverse, in any material respect (taken as a whole), to the
interests of the Secured Parties); provided, further, that no such agreement shall amend, modify
or otherwise affect the rights or duties of the Administrative Agent hereunder or under any other
Credit Document without the prior written consent of the Administrative Agent.

        Notwithstanding anything to the contrary contained in this Section 10.5, guarantees,
collateral security documents and related documents executed by the Credit Parties or the
Subsidiaries in connection with this Agreement may be in a form reasonably determined by the
Administrative Agent and may be, together with this Agreement, amended and waived with the
consent of the Administrative Agent at the request of the Borrower without the need to obtain the
consent of any other Lender if such amendment or waiver is delivered in order (i) to comply with
local Law or advice of local counsel or (ii) to cause such guarantee, collateral security document

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or other document to be consistent with this Agreement and the other Credit Documents.

        10.6. Successors and Assigns; Participations.

                       (a) Generally. This Agreement shall be binding upon the parties hereto
        and their respective successors and assigns and shall inure to the benefit of the parties
        hereto and the successors and assigns of Lenders. No Credit Party’s rights or obligations
        hereunder nor any interest therein may be assigned or delegated by any Credit Party
        without the prior written consent of all Lenders (except in the case of any such
        assignment or delegation as a result of any merger or consolidation or liquidation or
        amalgamation or otherwise permitted by Section 6.8). Nothing in this Agreement,
        expressed or implied, shall be construed to confer upon any Person (other than the parties
        hereto, their respective successors and assigns permitted hereby and, to the extent
        expressly contemplated hereby, Affiliates of each of the Agents and Lenders and other
        Indemnitees) any legal or equitable right, remedy or claim under or by reason of this
        Agreement.

                        (b) Register. Borrower, Administrative Agent and Lenders shall deem
        and treat the Persons listed as Lenders in the Register as the holders and owners of the
        corresponding Commitments and Loans listed therein for all purposes hereof, and no
        assignment or transfer of any such Commitment or Loan shall be effective, in each case,
        unless and until recorded in the Register following receipt of a fully executed Assignment
        Agreement effecting the assignment or transfer thereof, together with the required forms
        and certificates regarding tax matters and any fees payable in connection with such
        assignment, in each case, as provided in Section 10.6(d). Each assignment shall be
        recorded in the Register promptly following receipt by Administrative Agent of the fully
        executed Assignment Agreement and all other necessary documents and approvals,
        prompt notice thereof shall be provided to Borrower and a copy of such Assignment
        Agreement shall be maintained, as applicable. The date of such recordation of a transfer
        shall be referred to herein as the “Assignment Effective Date.” Any request, authority
        or consent of any Person who, at the time of making such request or giving such authority
        or consent, is listed in the Register as a Lender shall be conclusive and binding on any
        subsequent holder, assignee or transferee of the corresponding Commitments or Loans.

                        (c) Right to Assign. Each Lender shall have the right at any time to sell,
        assign or transfer all or a portion of its rights and obligations under this Agreement,
        including all or a portion of its Commitment or Loans owing to it or other Obligations
        (provided, however, that pro rata assignments shall not be required and each assignment
        shall be of a uniform, and not varying, percentage of all rights and obligations under and
        in respect of any applicable Loan and any related Commitments):

                      (i) to any Person meeting the criteria of clause (i) of the definition of the
        term “Eligible Assignee” upon the giving of notice to Borrower and Administrative
        Agent; and

                      (ii) to any Person meeting the criteria of clause (ii) of the definition of
        the term “Eligible Assignee” upon giving of notice to Borrower and Administrative


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        Agent and to any such Person (except in the case of assignments made by or to DBNY),
        consented to by each of Borrower and Administrative Agent (such consent not to be (x)
        unreasonably withheld or delayed or, (y) in the case of Borrower, required at any time an
        Event of Default under Section 8.1(a), (f) or (g) shall have occurred and then be
        continuing); provided further that (A) Borrower shall be deemed to have consented to any
        such assignment (i) during the initial primary syndication of the Term Loans (as
        determined by Administrative Agent) and (ii) unless it shall object thereto by written
        notice to Administrative Agent within 10 Business Days after having received written
        notice thereof and (B) each such assignment pursuant to this Section 10.6(c)(ii) shall be
        in an aggregate amount of not less than (w) $1,000,000, (x) such lesser amount as agreed
        to by Borrower and Administrative Agent, (y) the aggregate amount of the Loans of the
        assigning Lender with respect to the Class being assigned or (z) the amount assigned by
        an assigning Lender to an Affiliate or Related Fund of such Lender.

                       (d) Mechanics.

                       (i) Subject to the other requirements of this Section 10.6, assignments
        and assumptions of Loans and Commitments by Lenders shall be effected by manual
        execution and delivery to Administrative Agent of an Assignment Agreement.
        Assignments made pursuant to the foregoing provision shall be effective as of the
        Assignment Effective Date. In connection with all assignments there shall be delivered
        to Administrative Agent such forms, certificates or other evidence, if any, with respect to
        United States federal income tax withholding matters as the assignee under such
        Assignment Agreement may be required to deliver pursuant to Section 2.20(c), together
        with payment to Administrative Agent of a registration and processing fee of $3,500
        (except that no such registration and processing fee shall be payable (y) in connection
        with an assignment by or to DBNY or any Affiliate thereof or (z) in the case of an
        assignee which is already a Lender or is an affiliate or Related Fund of a Lender or a
        Person under common management with a Lender).

                        (ii) In connection with any assignment of rights and obligations of any
        Defaulting Lender hereunder, no such assignment shall be effective unless and until, in
        addition to the other conditions thereto set forth herein, the parties to the assignment shall
        make such additional payments to Administrative Agent in an aggregate amount
        sufficient, upon distribution thereof as appropriate (which may be outright payment,
        purchases by the assignee of participations or subparticipations, or other compensating
        actions, including funding, with the consent of Borrower and Administrative Agent, the
        applicable Pro Rata Share of Loans previously requested but not funded by the
        Defaulting Lender, to each of which the applicable assignee and assignor hereby
        irrevocably consent), to (x) pay and satisfy in full all payment liabilities then owed by
        such Defaulting Lender to Administrative Agent, and each other Lender hereunder (and
        interest accrued thereon), and (y) acquire (and fund as appropriate) its full Pro Rata Share
        of all Loans. Notwithstanding the foregoing, in the event that any assignment of rights
        and obligations of any Defaulting Lender hereunder shall become effective under
        applicable law without compliance with the provisions of this paragraph, then the
        assignee of such interest shall be deemed to be a Defaulting Lender for all purposes of
        this Agreement until such compliance occurs.

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                        (e) Representations and Warranties of Assignee. Each Lender, upon
        execution and delivery hereof or upon succeeding to an interest in the Commitments and
        Loans, as the case may be, represents and warrants as of the Closing Date or as of the
        Assignment Effective Date that (i) it is an Eligible Assignee; (ii) it has experience and
        expertise in the making of or investing in commitments or loans such as the applicable
        Commitments or Loans, as the case may be; and (iii) it will make or invest in, as the case
        may be, its Commitments or Loans for its own account in the ordinary course and without
        a view to distribution of such Commitments or Loans within the meaning of the
        Securities Act or the Exchange Act or other federal securities laws (it being understood
        that, subject to the provisions of this Section 10.6, the disposition of such Commitments
        or Loans or any interests therein shall at all times remain within its exclusive control).

                        (f) Effect of Assignment. Subject to the terms and conditions of this
        Section 10.6, as of the Assignment Effective Date (i) the assignee thereunder shall have
        the rights and obligations of a “Lender” hereunder to the extent of its interest in the Loans
        and Commitments as reflected in the Register and shall thereafter be a party hereto and a
        “Lender” for all purposes hereof; provided that an assignee shall not be entitled to receive
        any greater payment under Section 2.18, 2.19 or 2.20 (due to the condition giving rise to
        such payment being in existence on the date of such assignment) than the applicable
        assigning Lender would have been entitled to receive has the assignment not occurred,
        unless the assignment to such participant is made with Borrower’s prior written consent;
        (ii) the assigning Lender thereunder shall, to the extent that rights and obligations
        hereunder have been assigned to the assignee, relinquish its rights (other than any rights
        which survive the termination hereof under Section 10.8) and be released from its
        obligations hereunder (and, in the case of an assignment covering all or the remaining
        portion of an assigning Lender’s rights and obligations hereunder, such Lender shall
        cease to be a party hereto on the Assignment Effective Date; provided, anything
        contained in any of the Credit Documents to the contrary notwithstanding, and (y) such
        assigning Lender shall continue to be entitled to the benefit of all indemnities hereunder
        as specified herein with respect to matters arising out of the prior involvement of such
        assigning Lender as a Lender hereunder); (iii) the Commitments shall be modified to
        reflect any Commitment of such assignee; and (iv) if any such assignment occurs after
        the issuance of any Note hereunder, the assigning Lender shall, upon the effectiveness of
        such assignment or as promptly thereafter as practicable, surrender its applicable Notes to
        Administrative Agent for cancellation, and thereupon Borrower shall issue and deliver
        new Notes, if so requested by the assignee and/or assigning Lender, to such assignee
        and/or to such assigning Lender, with appropriate insertions, to reflect the new
        outstanding Loans of the assignee and/or the assigning Lender.

                       (g) Participations.

                        (i) Each Lender shall have the right at any time to sell one or more
        participations to any Person (other than to (x) any Disqualified Lender or (y) Holdings,
        any of its Subsidiaries or (except as provided in Section 10.6(i)) any of its Affiliates) in
        all or any part of its Commitments, Loans or in any other Obligation. Each Lender that
        sells a participation pursuant to this Section 10.6(g) shall, acting solely for U.S. federal
        income tax purposes as an agent of Borrower, maintain a register on which it records the

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        name and address of each participant and the principal amounts of each participant’s
        participation interest with respect to the Term Loan (each, a “Participant Register”);
        provided that no Lender shall have any obligation to disclose all or any portion of the
        Participant Register to any Person (including the identity of any participant or any
        information relating to a participant’s interest in any Commitments, Loans or its other
        obligations under this Agreement) except to the extent that the relevant parties, acting
        reasonably and in good faith, determine that such disclosure is necessary to establish that
        such Commitment, Loan or other obligation is in registered form under Section 5f.103-
        1(c) of the United States Treasury Regulations. Unless otherwise required by the Internal
        Revenue Service, any disclosure required by the foregoing sentence shall be made by the
        relevant Lender directly and solely to the Internal Revenue Service. The entries in the
        Participant Register shall be conclusive absent manifest error, and such Lender shall treat
        each Person whose name is recorded in the Participant Register as the owner of a
        participation with respect to the Term Loan for all purposes under this Agreement,
        notwithstanding any notice to the contrary.

                        (ii) The holder of any such participation, other than an Affiliate of the
        Lender granting such participation, shall not be entitled to require such Lender to take or
        omit to take any action hereunder except with respect to any amendment, modification or
        waiver that would (A) extend the final scheduled maturity of any Loan, Note in which
        such participant is participating, or reduce the rate or extend the time of payment of
        interest or fees thereon (except in connection with a waiver of applicability of any
        post-default increase in interest rates) or reduce the principal amount thereof, or increase
        the amount of the participant’s participation over the amount thereof then in effect (it
        being understood that a waiver of any Default or Event of Default or of a mandatory
        reduction in the Commitment shall not constitute a change in the terms of such
        participation, and that an increase in any Commitment or Loan shall be permitted without
        the consent of any participant if the participant’s participation is not increased as a result
        thereof), (B) consent to the assignment or transfer by any Credit Party of any of its rights
        and obligations under this Agreement or (C) release all or substantially all of the
        Collateral under the Collateral Documents or all or substantially all of the Guarantors
        from the Guaranty (in each case, except as expressly provided in the Credit Documents)
        supporting the Loans hereunder in which such participant is participating.

                        (iii) Borrower agrees that each participant shall be entitled to the benefits
        of Sections 2.18(c), 2.19 and 2.20 to the same extent as if it were a Lender and had
        acquired its interest by assignment pursuant to paragraph (c) of this Section; provided, (x)
        a participant shall not be entitled to receive any greater payment under Section 2.19 or
        2.20 than the applicable Lender would have been entitled to receive with respect to the
        participation sold to such participant, unless the sale of the participation to such
        participant is made with Borrower’s prior written consent (not to be unreasonably
        withheld or delayed) and (y) a participant that would be a Non-US Lender if it were a
        Lender shall not be entitled to the benefits of Section 2.20 unless Borrower is notified of
        the participation sold to such participant and such participant agrees, for the benefit of
        Borrower, to comply with Section 2.20 as though it were a Lender; provided further that,
        except as specifically set forth in clauses (x) and (y) of this sentence, nothing herein shall
        require any notice to Borrower or any other Person in connection with the sale of any

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        participation. To the extent permitted by law, each participant also shall be entitled to the
        benefits of Section 10.4 as though it were a Lender, provided such participant agrees to
        be subject to Section 2.17 as though it were a Lender.

                       (h) Certain Other Assignments and Participations. In addition to any
        other assignment or participation permitted pursuant to this Section 10.6 any Lender may
        assign, pledge and/or grant a security interest in all or any portion of its Loans, the other
        Obligations owed by or to such Lender, and its Notes, if any, to secure obligations of
        such Lender including any Federal Reserve Bank as collateral security pursuant to
        Regulation A of the Board of Governors and any operating circular issued by such
        Federal Reserve Bank; provided, that no Lender, as between Borrower and such Lender,
        shall be relieved of any of its obligations hereunder as a result of any such assignment
        and pledge, and provided further, that in no event shall the applicable Federal Reserve
        Bank, pledgee or trustee, be considered to be a “Lender” or be entitled to require the
        assigning Lender to take or omit to take any action hereunder.

                       (i) Assignments to Borrower. Notwithstanding anything to the contrary
        contained in this Section 10.6 or any other provision of this Agreement, so long as no
        Default or Event of Default has occurred and is continuing or would result therefrom,
        each Lender shall have the right at any time to sell, assign or transfer all or a portion of its
        Term Loan Commitment or Term Loans owing to it to Borrower on a non-pro rata basis
        (provided, however, that each assignment shall be of a uniform, and not varying,
        percentage of all rights and obligations under and in respect of any applicable Term Loan
        and any related Term Loan Commitments) through (A) one or more modified Dutch
        auctions conducted by Borrower (each, an “Auction”) to repurchase all or any portion of
        the Term Loans, provided that, (i) notice of the Auction shall be made to all Term Loan
        Lenders and (ii) the Auction shall be conducted pursuant to such procedures as the
        Auction Manager may establish which are consistent with this Section 10.6(i) and the
        Auction Procedures set forth on Exhibit M and are otherwise reasonably acceptable to
        Borrower, the Auction Manager, and Administrative Agent or such other procedures as
        are acceptable to Borrower and Administrative Agent or (B) open market purchases, in
        each case subject to the following limitations:

                       (i) With respect to all repurchases made by Borrower pursuant to this
        Section 10.6(i), (A) Borrower shall deliver a certificate of an Authorized Officer to the
        Auction Manager, in the case of an Auction, or the assigning Lender, in the case of an
        open market purchase, stating that (1) no Default or Event of Default has occurred and is
        continuing or would result from such repurchase and (2) in the case of an Auction, as of
        the launch date of the related Auction and the effective date of any Affiliate Assignment
        Agreement and in the case of an open market purchase, as of the date of any such
        purchase and the effective date of any Affiliate Assignment Agreement, it is not making
        any representation that it is not in possession of any information regarding Borrower, its
        Subsidiaries or its Affiliates, or their assets, Borrower’s ability to perform its Obligations
        or any other matter that may be material to a decision by any Lender to participate in any
        Auction or enter into any Affiliate Assignment Agreement or any of the transactions
        contemplated thereby, (B) Borrower shall not use the proceeds of any loans under the
        Revolving Credit Agreement to acquire such Term Loans and (C) the assigning Lender

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        and Borrower shall execute and deliver to the Auction Manager or Administrative Agent,
        as applicable, an Affiliate Assignment Agreement; and

                       (ii) Following repurchase by Borrower pursuant to this Section 10.6(i),
        the Term Loans so repurchased shall, without further action by any Person, be deemed
        cancelled for all purposes and no longer outstanding (and may not be resold by
        Borrower), for all purposes of this Agreement and all other Credit Documents, including,
        but not limited to (A) the making of, or the application of, any payments to the Lenders
        under this Agreement or any other Credit Document, (B) the making of any request,
        demand, authorization, direction, notice, consent or waiver under this Agreement or any
        other Credit Document or (C) the determination of Requisite Lenders, or for any similar
        or related purpose, under this Agreement or any other Credit Document. In connection
        with any Term Loans repurchased and cancelled pursuant to this Section 10.6(i),
        Administrative Agent is authorized to make appropriate entries in the Register to reflect
        any such cancellation.

                      (j) Assignments to Affiliated Lenders.

                       (i) Notwithstanding anything to the contrary contained in this
        Agreement, any Lender may assign all or a portion of its Term Loans to an Affiliated
        Lender (other than any natural person) (without the consent of any Person but subject to
        acknowledgment by Administrative Agent and Borrower); provided that (A) such
        Affiliated Lender (whether as a direct purchaser of the Term Loans or as the ultimate
        purchaser of the Term Loans through a broker or other intermediary) shall ensure that its
        identity as an Affiliated Lender is known to the assigning Lender; (B) the assigning
        Lender and such Affiliated Lender shall execute and deliver to the Administrative Agent
        an Assignment Agreement that contains a Big Boy Representation; (C) for the avoidance
        of doubt, Lenders shall not be permitted to assign Incremental Revolving Commitments
        or Incremental Revolving Loans to an Affiliated Lender and any purported assignment of
        Incremental Revolving Commitments or Incremental Revolving Loans to an Affiliated
        Lender shall be null and void; (D) at the time of such assignment and after giving effect
        thereto, no Event of Default shall have occurred and be continuing and (E) at the time of
        such assignment, after giving effect to such assignment, the aggregate principal amount
        of all Term Loans held by all Affiliated Lenders shall not exceed 20% of the aggregate
        principal amount of all Term Loans outstanding under this Agreement at the time of such
        purchase.

                       (ii) Each Affiliated Lender, in connection with any (i) consent to any
        amendment, modification, waiver, consent or other action with respect to any of the terms
        of any Credit Document or (ii) direction to Administrative Agent or any Lender to
        undertake any action (or refrain from taking any action) with respect to or under any
        Credit Document, agrees that, except with respect to any amendment, modification,
        waiver, consent or any action described in Section 10.5(b) or that adversely affects such
        Affiliated Lender in a disproportionate manner as compared to other Lenders, such
        Affiliated Lender shall be deemed to have voted its interest as a Lender without
        discretion in such proportion as the allocation of voting with respect to such matter by
        Lenders who are not Affiliated Lenders.

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                       (iii) Each Affiliated Lender, solely in its capacity as a Lender, hereby
        further agrees that if any Credit Party shall be subject to any voluntary or involuntary
        proceeding commenced under any Debtor Relief Law, such Affiliated Lender shall be
        deemed to have voted in such proceedings in the same proportion as the allocation of
        voting with respect to such matter by those Lenders who are not Affiliated Lenders,
        except to the extent that any plan under the Debtor Relief Laws proposes to treat the
        Obligations of the Credit Parties under the Credit Documents held by such Affiliated
        Lender in a manner that is disproportionately less favorable to such Affiliated Lender
        than the proposed treatment of similar Obligations of the Credit Parties under the Credit
        Documents held by other Lenders. Each Affiliated Lender agrees and acknowledges that
        the foregoing constitutes an irrevocable proxy in favor of Administrative Agent to vote or
        consent on behalf of such Affiliated Lender in any proceeding in the manner set forth
        above.

                       (iv) Notwithstanding anything to the contrary in this Agreement, no
        Affiliated Lender shall have any right to (A) attend (including by telephone or electronic
        means) any meeting or discussions (or portion thereof) intended to be solely among
        Administrative Agent and Lenders other than the Affiliated Lenders, or (B) receive any
        information or material prepared by Administrative Agent intended to be disseminated
        solely to Lenders other than the Affiliated Lenders.

       10.7. Independence of Covenants.              All covenants hereunder shall be given
independent effect so that if a particular action or condition is not permitted by any of such
covenants, the fact that it would be permitted by an exception to, or would otherwise be within
the limitations of, another covenant shall not avoid the occurrence of a Default or an Event of
Default if such action is taken or condition exists.

       10.8. Survival of Representations, Warranties and Agreements. All representations,
warranties and agreements made herein shall survive the execution and delivery hereof and the
making of any Credit Extension. Notwithstanding anything herein or implied by law to the
contrary, the agreements of each Credit Party set forth in Sections 2.18(c), 2.19, 2.20, 10.2, 10.3
and 10.4 and the agreements of Lenders set forth in Sections 2.17, 9.3(b) and 9.6 shall survive
the payment of the Loans and the termination hereof.

        10.9. No Waiver; Remedies Cumulative. No failure or delay on the part of any Agent
or any Lender in the exercise of any power, right or privilege hereunder or under any other
Credit Document shall impair such power, right or privilege or be construed to be a waiver of
any default or acquiescence therein, nor shall any single or partial exercise of any such power,
right or privilege preclude other or further exercise thereof or of any other power, right or
privilege. The rights, powers and remedies given to each Agent and each Lender hereby are
cumulative and shall be in addition to and independent of all rights, powers and remedies
existing by virtue of any statute or rule of law or in any of the other Credit Documents, any of
the Secured Hedge Agreements or any of the Designated Coal Contracts. Any forbearance or
failure to exercise, and any delay in exercising, any right, power or remedy hereunder shall not
impair any such right, power or remedy or be construed to be a waiver thereof, nor shall it
preclude the further exercise of any such right, power or remedy.


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        10.10. Termination; Collateral Trust Agreement.

                       (a) A Guarantor Subsidiary shall automatically be released from its
        obligations under the Credit Documents upon the consummation of any transaction
        permitted by this Agreement as a result of which (i) such Guarantor Subsidiary is not a
        Subsidiary of Holdings or (ii) such Guarantor Subsidiary becomes an Excluded
        Subsidiary; provided that, if so required by this Agreement, the Requisite Lenders shall
        have consented to such transaction and the terms of such consent shall not have provided
        otherwise.

                        (b) The Collateral Trust Agreement shall govern the release of security
        interests in Collateral as security for Obligations (A) when all the Obligations (other than
        (i) contingent indemnification obligations for which no claim has been asserted and (ii)
        obligations and liabilities in respect of any Hedge Agreement or Designated Coal
        Contract) shall have been paid in full and the Commitments of the Lenders shall have
        been terminated and (B) upon any sale or other transfer by any Credit Party of any
        Collateral that is permitted under this Agreement (other than a sale or other transfer to a
        Credit Party) or upon effectiveness of any written direction by the consent to the release
        of the security interest created under any Collateral Document in any Collateral pursuant
        to Section 10.5.

                       (c) Notwithstanding anything to the contrary contained herein or in any
        other Credit Document, in connection with any termination or release pursuant to this
        Section 10.10, the Administrative Agent and/or Collateral Trustee are hereby irrevocably
        authorized by each Lender (without requirement of notice to or consent of any Lender) to
        execute and deliver, and shall promptly execute and deliver to any the applicable Credit
        Party, at such Credit Party’s expense, all documents that such Credit Party shall
        reasonably request to evidence such termination or release. Any execution and delivery
        of documents pursuant to this Section 10.10 shall be without recourse to or warranty by
        the Administrative Agent or the Collateral Trustee.

        10.11. Marshalling; Payments Set Aside. Neither any Agent nor any Lender shall be
under any obligation to marshal any assets in favor of any Credit Party or any other Person or
against or in payment of any or all of the Obligations. To the extent that any Credit Party makes
a payment or payments to Administrative Agent or Lenders (or to Administrative Agent, on
behalf of Lenders), or any Agent or Lender enforces any security interests or exercises any right
of setoff, and such payment or payments or the proceeds of such enforcement or setoff or any
part thereof are subsequently invalidated, declared to be fraudulent or preferential, set aside
and/or required to be repaid to a trustee, receiver or any other party under any bankruptcy law,
any other state or federal law, common law or any equitable cause, then, to the extent of such
recovery, the obligation or part thereof originally intended to be satisfied, and all Liens, rights
and remedies therefor or related thereto, shall be revived and continued in full force and effect as
if such payment or payments had not been made or such enforcement or setoff had not occurred.

       10.12. Severability. In case any provision in or obligation hereunder or under any other
Credit Document shall be invalid, illegal or unenforceable in any jurisdiction, the validity,



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legality and enforceability of the remaining provisions or obligations, or of such provision or
obligation in any other jurisdiction, shall not in any way be affected or impaired thereby.

        10.13. Obligations Several; Independent Nature of Lenders’ Rights.                   The
obligations of Lenders hereunder are several and no Lender shall be responsible for the
obligations or Commitment of any other Lender hereunder. Nothing contained herein or in any
other Credit Document, and no action taken by Lenders pursuant hereto or thereto, shall be
deemed to constitute Lenders as a partnership, an association, a Joint Venture or any other kind
of entity. The amounts payable at any time hereunder to each Lender shall be a separate and
independent debt, and each Lender shall be entitled to protect and enforce its rights arising out
hereof and it shall not be necessary for any other Lender to be joined as an additional party in
any proceeding for such purpose.

       10.14. Headings. Section headings herein are included herein for convenience of
reference only and shall not constitute a part hereof for any other purpose or be given any
substantive effect.

     10.15. APPLICABLE LAW. THIS AGREEMENT AND THE RIGHTS AND
OBLIGATIONS OF THE PARTIES HEREUNDER (INCLUDING, WITHOUT
LIMITATION, ANY CLAIMS SOUNDING IN CONTRACT LAW OR TORT LAW
ARISING OUT OF THE SUBJECT MATTER HEREOF AND ANY DETERMINATIONS
WITH RESPECT TO POST-JUDGMENT INTEREST) SHALL BE GOVERNED BY,
AND SHALL BE CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE
LAWS OF THE STATE OF NEW YORK WITHOUT REGARD TO CONFLICT OF
LAWS PRINCIPLES THEREOF THAT WOULD RESULT IN THE APPLICATION OF
ANY LAW OTHER THAN THE LAW OF THE STATE OF NEW YORK.

      10.16. CONSENT TO JURISDICTION. SUBJECT TO CLAUSE (E) OF THE
FOLLOWING SENTENCE, ALL JUDICIAL PROCEEDINGS BROUGHT AGAINST
ANY PARTY ARISING OUT OF OR RELATING HERETO OR ANY OTHER CREDIT
DOCUMENTS, OR ANY OF THE OBLIGATIONS, SHALL BE BROUGHT IN ANY
FEDERAL COURT OF THE UNITED STATES SITTING IN THE BOROUGH OF
MANHATTAN OR, IF THAT COURT DOES NOT HAVE SUBJECT MATTER
JURISDICTION, IN ANY STATE COURT LOCATED IN THE CITY AND COUNTY
OF NEW YORK. BY EXECUTING AND DELIVERING THIS AGREEMENT, EACH
PARTY, FOR ITSELF AND IN CONNECTION WITH ITS PROPERTIES,
IRREVOCABLY (A) ACCEPTS GENERALLY AND UNCONDITIONALLY THE
EXCLUSIVE JURISDICTION AND VENUE OF SUCH COURTS (OTHER THAN
WITH RESPECT TO ACTIONS BY ANY AGENT IN RESPECT OF RIGHTS UNDER
ANY SECURITY AGREEMENT GOVERNED BY LAWS OTHER THAN THE LAWS
OF THE STATE OF NEW YORK OR WITH RESPECT TO ANY COLLATERAL
SUBJECT THERETO); (B) WAIVES ANY DEFENSE OF FORUM NON CONVENIENS;
(C) AGREES THAT SERVICE OF ALL PROCESS IN ANY SUCH PROCEEDING IN
ANY SUCH COURT MAY BE MADE BY REGISTERED OR CERTIFIED MAIL,
RETURN RECEIPT REQUESTED, TO THE APPLICABLE PARTY AT ITS ADDRESS
PROVIDED IN ACCORDANCE WITH SECTION 10.1; (D) AGREES THAT SERVICE
AS PROVIDED IN CLAUSE (C) ABOVE IS SUFFICIENT TO CONFER PERSONAL

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JURISDICTION OVER THE APPLICABLE PARTY IN ANY SUCH PROCEEDING IN
ANY SUCH COURT, AND OTHERWISE CONSTITUTES EFFECTIVE AND BINDING
SERVICE IN EVERY RESPECT; AND (E) AGREES THAT AGENTS AND LENDERS
RETAIN THE RIGHT TO SERVE PROCESS IN ANY OTHER MANNER PERMITTED
BY LAW OR TO BRING PROCEEDINGS AGAINST ANY CREDIT PARTY IN THE
COURTS OF ANY OTHER JURISDICTION IN CONNECTION WITH THE EXERCISE
OF ANY RIGHTS UNDER ANY SECURITY DOCUMENT OR THE ENFORCEMENT
OF ANY JUDGMENT.

      10.17. WAIVER OF JURY TRIAL. EACH OF THE PARTIES HERETO
HEREBY AGREES TO WAIVE ITS RESPECTIVE RIGHTS TO A JURY TRIAL OF
ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING HEREUNDER OR
UNDER ANY OF THE OTHER CREDIT DOCUMENTS OR ANY DEALINGS
BETWEEN THEM RELATING TO THE SUBJECT MATTER OF THIS LOAN
TRANSACTION OR THE LENDER/BORROWER RELATIONSHIP THAT IS BEING
ESTABLISHED.     THE SCOPE OF THIS WAIVER IS INTENDED TO BE
ALL-ENCOMPASSING OF ANY AND ALL DISPUTES THAT MAY BE FILED IN ANY
COURT AND THAT RELATE TO THE SUBJECT MATTER OF THIS
TRANSACTION, INCLUDING CONTRACT CLAIMS, TORT CLAIMS, BREACH OF
DUTY CLAIMS AND ALL OTHER COMMON LAW AND STATUTORY CLAIMS.
EACH PARTY HERETO ACKNOWLEDGES THAT THIS WAIVER IS A MATERIAL
INDUCEMENT TO ENTER INTO A BUSINESS RELATIONSHIP, THAT EACH HAS
ALREADY RELIED ON THIS WAIVER IN ENTERING INTO THIS AGREEMENT,
AND THAT EACH WILL CONTINUE TO RELY ON THIS WAIVER IN ITS RELATED
FUTURE DEALINGS. EACH PARTY HERETO FURTHER WARRANTS AND
REPRESENTS THAT IT HAS REVIEWED THIS WAIVER WITH ITS LEGAL
COUNSEL AND THAT IT KNOWINGLY AND VOLUNTARILY WAIVES ITS JURY
TRIAL RIGHTS FOLLOWING CONSULTATION WITH LEGAL COUNSEL. THIS
WAIVER IS IRREVOCABLE, MEANING THAT IT MAY NOT BE MODIFIED
EITHER ORALLY OR IN WRITING (OTHER THAN BY A MUTUAL WRITTEN
WAIVER SPECIFICALLY REFERRING TO THIS SECTION 10.17 AND EXECUTED
BY EACH OF THE PARTIES HERETO), AND THIS WAIVER SHALL APPLY TO
ANY    SUBSEQUENT    AMENDMENTS,    RENEWALS,    SUPPLEMENTS   OR
MODIFICATIONS HERETO OR ANY OF THE OTHER CREDIT DOCUMENTS OR
TO ANY OTHER DOCUMENTS OR AGREEMENTS RELATING TO THE LOANS
MADE HEREUNDER. IN THE EVENT OF LITIGATION, THIS AGREEMENT MAY
BE FILED AS A WRITTEN CONSENT TO A TRIAL BY THE COURT.

         10.18. Confidentiality. Each Agent and each Lender shall hold confidential all
non-public information regarding Holdings, Borrower and their respective Subsidiaries,
Affiliates and their businesses obtained by such Agent or such Lender pursuant to the
requirements hereof in accordance with such Agent’s and such Lender’s customary procedures
for handling confidential information of such nature, it being understood and agreed by Borrower
that, in any event, Administrative Agent may disclose such information to the Lenders and each
Agent and each Lender and each Agent may make (i) disclosures of such information to
Affiliates of such Lender or Agent and to their respective officers, directors, partners, members,
employees, legal counsel, independent auditors and other advisors, experts or agents who need to

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know such information and on a confidential basis (and to other Persons authorized by a Lender
or Agent to organize, present or disseminate such information in connection with disclosures
otherwise made in accordance with this Section 10.18) (it being understood and agreed that the
Persons to whom such disclosure is made will be informed of the confidential nature of such
Information and who have agreed to treat such information confidentially), (ii) disclosures of
such information reasonably required by any bona fide or potential assignee, transferee or
participant in connection with the contemplated assignment, transfer or participation of any
Loans or any participations therein or by any direct or indirect contractual counterparties (or the
professional advisors thereto) to any swap or derivative transaction relating to Borrower and its
obligations or by any Designated Coal Contract Counterparty (provided, such assignees,
transferees, participants, counterparties and advisors are advised of and agree to be bound by
either the provisions of this Section 10.18 or other provisions at least as restrictive as this Section
10.18), (iii) disclosure to any rating agency when required by it, provided that, prior to any
disclosure, such rating agency shall undertake in writing to preserve the confidentiality of any
confidential information relating to Credit Parties received by it from any Agent or any Lender,
(iv) disclosure on a confidential basis to the CUSIP Service Bureau or any similar agency in
connection with the issuance and monitoring of CUSIP numbers with respect to the Loans, (v)
disclosures in connection with the exercise of any remedies hereunder or under any other Credit
Document, (vi) disclosures made pursuant to the order of any court or administrative agency or a
judicial, administrative or legislative body or committee or in any pending legal or administrative
proceeding, or otherwise as required by applicable law or compulsory legal process (in which
case such Person agrees to inform Borrower promptly thereof to the extent not prohibited by
law), (vii) disclosures made upon the request or demand of any regulatory or quasi-regulatory
authority purporting to have jurisdiction over such Person or any of its Affiliates (in which case
such Person agrees to inform the Borrower promptly thereof to the extent not prohibited by law),
(viii) disclosures of information received by such Person on a non-confidential basis from a
source (other than Borrower or any of Borrower’s affiliates, advisors, members, directors,
employees, accountants, attorneys, agents or other representatives) not known by such Person to
be prohibited from disclosing such information to such Person by a legal, contractual or fiduciary
obligation, (ix) disclosures of such information to the extent that such information is publicly
available or becomes publicly available other than by reason of improper disclosure in violation
of this Section 10.18, (x) disclosures to the extent that such information was already in such
Person’s possession (and disclosure by such Person is not otherwise prohibited by a contractual
obligation) or is independently developed by such Person (from information not otherwise
prohibited from being disclosed pursuant to a separate contractual obligation), and (xi)
disclosures for purposes of establishing a “due diligence” defense. In addition, each Agent and
each Lender may disclose the existence of this Agreement and the information about this
Agreement to market data collectors, similar services providers to the lending industry, and
service providers to the Agents and the Lenders in connection with the administration and
management of this Agreement and the other Credit Documents.

       10.19. Usury Savings Clause. Notwithstanding any other provision herein, the
aggregate interest rate charged with respect to any of the Obligations, including all charges or
fees in connection therewith deemed in the nature of interest under applicable law shall not
exceed the Highest Lawful Rate. If the rate of interest (determined without regard to the
preceding sentence) under this Agreement at any time exceeds the Highest Lawful Rate, the


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outstanding amount of the Loans made hereunder shall bear interest at the Highest Lawful Rate
until the total amount of interest due hereunder equals the amount of interest which would have
been due hereunder if the stated rates of interest set forth in this Agreement had at all times been
in effect. In addition, if when the Loans made hereunder are repaid in full the total interest due
hereunder (taking into account the increase provided for above) is less than the total amount of
interest which would have been due hereunder if the stated rates of interest set forth in this
Agreement had at all times been in effect, then to the extent permitted by law, Borrower shall
pay to Administrative Agent an amount equal to the difference between the amount of interest
paid and the amount of interest which would have been paid if the Highest Lawful Rate had at all
times been in effect. Notwithstanding the foregoing, it is the intention of Lenders and Borrower
to conform strictly to any applicable usury laws. Accordingly, if any Lender contracts for,
charges, or receives any consideration which constitutes interest in excess of the Highest Lawful
Rate, then any such excess shall be cancelled automatically and, if previously paid, shall at such
Lender’s option be applied to the outstanding amount of the Loans made hereunder or be
refunded to Borrower.

        10.20. Effectiveness; Counterparts. This Agreement shall become effective upon the
execution of a counterpart hereof by each of the parties hereto and receipt by Borrower and
Administrative Agent of written notification of such execution and authorization of delivery
thereof. This Agreement may be executed in any number of counterparts, each of which when so
executed and delivered shall be deemed an original, but all such counterparts together shall
constitute but one and the same instrument. Delivery of an executed counterpart of a signature
page of this Agreement by facsimile or in electronic format (i.e., “pdf” or “tif”) shall be effective
as delivery of a manually executed counterpart of this Agreement.

       10.21. PATRIOT Act. Each Lender and Administrative Agent (for itself and not on
behalf of any Lender) hereby notifies each Credit Party that pursuant to the requirements of the
PATRIOT Act, it is required to obtain, verify and record information that identifies each Credit
Party, which information includes the name and address of each Credit Party and other
information that will allow such Lender or Administrative Agent, as applicable, to identify such
Credit Party in accordance with the PATRIOT Act.

        10.22. Electronic Execution of Assignments. The words “execution,” “signed,”
“signature,” and words of like import in any Assignment Agreement shall be deemed to include
electronic signatures or the keeping of records in electronic form, each of which shall be of the
same legal effect, validity or enforceability as a manually executed signature or the use of a
paper-based recordkeeping system, as the case may be, to the extent and as provided for in any
applicable law, including the Federal Electronic Signatures in Global and National Commerce
Act, the New York State Electronic Signatures and Records Act, or any other similar state laws
based on the Uniform Electronic Transactions Act.

         10.23. No Fiduciary Duty; Trading Counterparty. Each Agent, each Lender and
their Affiliates (collectively, solely for purposes of this paragraph, the “Lenders”), may have
economic interests that conflict with those of the Credit Parties, their stockholders and/or their
affiliates. Each Credit Party agrees that nothing in the Credit Documents or otherwise will be
deemed to create an advisory, fiduciary or agency relationship or fiduciary or other implied duty
between any Lender, on the one hand, and such Credit Party, its stockholders or its affiliates, on

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the other. The Credit Parties acknowledge and agree that (i) the transactions contemplated by the
Credit Documents (including the exercise of rights and remedies hereunder and thereunder) are
arm’s-length commercial transactions between the Lenders, on the one hand, and the Credit
Parties, on the other, and (ii) in connection therewith and with the process leading thereto, (x) no
Lender has assumed an advisory or fiduciary responsibility in favor of any Credit Party, its
stockholders or its affiliates with respect to the transactions contemplated hereby (or the exercise
of rights or remedies with respect thereto) or the process leading thereto (irrespective of whether
any Lender has advised, is currently advising or will advise any Credit Party, its stockholders or
its Affiliates on other matters) or any other obligation to any Credit Party except the obligations
expressly set forth in the Credit Documents and (y) each Lender is acting solely as principal and
not as the agent or fiduciary of any Credit Party, its management, stockholders, creditors or any
other Person. Each Credit Party acknowledges and agrees that it has consulted its own legal and
financial advisors to the extent it deemed appropriate and that it is responsible for making its
own independent judgment with respect to such transactions and the process leading thereto.
Each Credit Party agrees that it will not claim that any Lender has rendered advisory services of
any nature or respect, or owes a fiduciary or similar duty to such Credit Party, in connection with
such transaction or the process leading thereto.

                Each Agent or their respective affiliates are, or may at any time be, (a) a
counterparty (in such capacities, the “Trading Counterparties”) to Borrower and/or any of its
subsidiaries with respect to one or more agreements with respect to any swap, forward, future or
derivative transaction or option or similar agreement involving, or settled by reference to, one or
more rates, currencies, commodities, equity or debt instruments or securities, or economic,
financial or pricing indices or measures of economic, financial or pricing risk or value or any
similar transaction (including, without limitation, transactions involving the purchase or sale of
physical commodities) or any combination of these transactions, in each case, entered into by
Borrower or any of its affiliates (collectively, the “Trading Transactions”), (b) a holder or
lender, as applicable, of any Second Lien Indebtedness and/or Revolving Credit Agreement (in
such capacity, the “Existing Lender”) or (c) an agent under the Second Lien Indebtedness
and/or the Revolving Credit Agreement (in such capacity, the “Existing Agent”). Each Credit
Party acknowledges and agrees for itself and its affiliates that each Trading Counterparty, solely
in such capacity, (a) will be acting for its own account as principal in connection with the
Trading Transactions, (b) will be under no obligation or duty as a result of DBNY’s or DBSI’s
(together with their affiliates, “Deutsche”) role, as provided for in this Agreement or other Credit
Documents, as applicable, in connection with the transactions contemplated by this Agreement
or other Credit Documents or otherwise to take any action or refrain from taking any action, or
exercising any rights or remedies, that such Trading Counterparty may be entitled to take or
exercise in respect of the applicable Trading Transaction and (c) may manage its exposure under
the Trading Transactions without regard to Deutsche’s role hereunder. Each Credit Party further
acknowledges and agrees for itself and its subsidiaries that the Existing Lender and the Existing
Agent (a) will be acting for its own account as principal in connection with any Second Lien
Indebtedness and/or the Revolving Credit Agreement, (b) will be under no obligation or duty as a
result of Deutsche’s role in connection with the transactions contemplated by this Agreement or
other Credit Documents or otherwise to take any action or refrain from taking any action
(including with respect to voting for or against any requested amendments), or exercising any
rights or remedies, that the Existing Lender or the Existing Agent may be entitled to take or
exercise in respect of any Second Lien Indebtedness and/or the Revolving Credit Agreement and

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(c) may manage its exposure to any Second Lien Indebtedness and/or the Revolving Credit
Agreement without regard to Deutsche’s role hereunder.

      10.24. Designated Coal Contracts. Notwithstanding anything to the contrary in this
Agreement, the Credit Parties shall be entitled to enter into Designated Coal Contracts.


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                                      AMCA COAL LEASING, INC.
                                      AMCOAL HOLDINGS, INC.
                                      AMERICAN COMPLIANCE COAL, INC.
                                      AMERICAN EQUIPMENT & MACHINE, INC.
                                      AMERICAN MINE SERVICES, INC.
                                      AMERICANMOUNTAINEER PROPERTIES,
                                      INC.
                                      AMERICAN NATURAL GAS, INC.
                                      ANDALEX RESOURCES, INC.
                                      ANDALEX RESOURCES MANAGEMENT,
                                      INC.
                                      AVONMORE RAIL LOADING, INC.
                                      CANTERBURY COAL COMPANY
                                      CCC LAND RESOURCES LLC
                                      CCC RCPC LLC
                                      CENTRAL OHIO COAL COMPANY
                                      COAL RESOURCES, INC.
                                      CONSOLIDATED LAND COMPANY
                                      CONSOLIDATION COAL COMPANY
                                      EIGHTY-FOUR MINING COMPANY
                                      KANAWHA TRANSPORTATION CENTER, INC.
                                      KEYSTONE COAL MINING CORPORATION
                                      MCELROY COAL COMPANY
                                      MON RIVER TOWING, INC.
                                      MURRAY AMERICAN COAL, INC.
                                      MURRAY AMERICAN ENERGY, INC.
                                      MURRAY AMERICAN RESOURCES, INC.
                                      MURRAY AMERICAN RIVER TOWING,
                                      INC.
                                      MURRAY AMERICAN TRANSPORTATION,
                                      INC.
                                      MURRAY EQUIPMENT & MACHINE, INC.
                                      MURRAY KEYSTONE PROCESSING, INC.
                                      MURRAY SOUTH AMERICA, INC.
                                      OHIOAMERICAN ENERGY,
                                      INCORPORATED
                                      OHIO ENERGY TRANSPORTATION, INC.
                                      OHIO VALLEY RESOURCES, INC.
                                      ONEIDA COAL COMPANY, INC.
                                      PENNAMERICAN COAL, INC.
                                      PENNAMERICAN COAL L.P.
                                      PINSKI CORP.
                                      PLEASANT FARMS, INC.
                                      PREMIUM COAL, INC.
                                      SOUTHERN OHIO COAL COMPANY
                                      SPRING CHURCH COAL COMPANY



                  [Signature Page to Credit and Guaranty Agreement]
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                                                           APPENDIX A-1
                                     TO CREDIT AND GUARANTY AGREEMENT


                          Term B-1 Loan Commitments


                                                                    Pro
                                      Term B-1 Loan Commitment
                Lender                                           Rata Share

  Deutsche Bank AG New York Branch         $300,000,000.00         100%

                Total                      $300,000,000.00             ---




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                                                            APPENDIX A-2
                                      TO CREDIT AND GUARANTY AGREEMENT


                           Term B-2 Loan Commitments


                                                                     Pro
                                       Term B-2 Loan Commitment
                Lender                                            Rata Share

   Deutsche Bank AG New York Branch        $1,700,000,000.00        100%
                Total                      $1,700,000.000.00            ---




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                                                                    APPENDIX B
                                            TO CREDIT AND GUARANTY AGREEMENT

                                       Notice Addresses

MURRAY ENERGY CORPORATION
MURRAY ENERGY HOLDINGS CO. and
CERTAIN SUBSIDIARIES OF BORROWER, as Guarantors
46226 National Road
St. Clairsville, Ohio 43950
Attention: Robert D. Moore,
            Executive Vice President, Chief Operating Officer & Chief Financial Officer
Telephone: 740.338.3100
Fax:         740.338.3405
Email: rmoore@coalsource.com

with copies to:

MURRAY ENERGY CORPORATION
46226 National Road
St. Clairsville, Ohio 43950
Attention: Mr. Robert E. Murray,
              Chairman, President and Chief Executive Officer
Telephone: 740.338.3100
Fax:         740.338.3405
Email: bobmurray@coalsource.com

and

MURRAY ENERGY CORPORATION
46226 National Road
St. Clairsville, Ohio 43950
Attention: Mr. Michael O. McKown,
            Senior Vice President - Law & Administration
Telephone: 740.338.3100
Fax:          740.338.3405
Email: mmckown@coalsource.com

DEUTSCHE BANK AG NEW YORK BRANCH,
as Administrative Agent
      Deutsche Bank AG New York Branch
      60 Wall Street
      New York, New York 10005
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DEUTSCHE BANK SECURITIES INC.,
as Joint Lead Arranger and Joint Bookrunner
        Deutsche Bank Securities Inc.
        60 Wall Street
        New York, New York 10005

GOLDMAN SACHS BANK USA,
as Joint Lead Arranger, Joint Bookrunner and Sole Syndication Agent:

       Goldman Sachs Bank USA
       6011 Connection Drive
       Irving , TX 75039
       EFax: 646-769-7829
       Group Email: gsmmg-operations@gs.com

       with a copy to:

       Goldman Sachs Bank USA
       200 West Street
       New York, New York 10282-2198
       Attention: Douglas Tansey
                  Dana Horan
       Emails: douglas.tansey@gs.com
               dana.horan@gs.com
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                              SCHEDULE 1.1

                        Certain Excluded Subsidiaries

None.
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                                  SCHEDULE 3.1(h)

                          Closing Date Mortgaged Properties


                    Grantor                                County
     The American Coal Company              Scott County, AR
                                            Hamilton County, IL
                                            Saline County, IL
                                            Meigs County, OH
                                            Mason County, WV
                                            LeFlore County, OK
                                            Haskell County, OK
                                            LaSalle County, IL
                                            Putnam County, IL
                                            Bureau County, IL
     The American Coal Sales Company        Belmont County, OH
     American Energy Corporation            Belmont County, OH
                                            Monroe County, OH
     American Equipment & Machine, Inc.     Saline County, IL
     Belmont Coal, Inc.                     Belmont County, OH
                                            Jefferson County, OH
     Canterbury Coal Company                Armstrong County, PA
     CCC Land Resources LLC                 Marion County, WV
                                            Marshall County, WV
                                            Wetzel County, WV
     CCC RCPC LLC                           Doddridge County,WV
                                            Greene County, PA
                                            Harrison County, WV
                                            Marion County, WV
                                            Marshall County, WV
                                            Monongalia County, WV
                                            Washington County, PA
                                            Wetzel County, WV
     Consolidated Land Company              Belmont County, OH
                                            Monroe County, OH
     Consolidation Coal Company             Doddridge County, WV
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                                             Greene County, PA
                                             Harrison County, WV
                                             Marion County, WV
                                             Marshall County, WV
                                             Monongalia County, WV
                                             Ohio County, WV
                                             Washington County, PA
                                             Wetzel County, WV
     Corporate Aviation Services, Inc.       Brooke County, WV
     Eighty-Four Mining Company              Washington County, PA
     AmericanHocking Energy, Inc.            Athens County, OH
                                             Morgan County, OH
     KenAmerican Resources, Inc.             Hopkins County, KY
                                             Muhlenberg County, KY
     Keystone Coal Mining Corporation        Armstrong County, PA
     Maple Creek Mining, Inc.                Washington County, PA
     McElroy Coal Company                    Marshall County, WV
     The Ohio Valley Coal Company            Belmont County, OH
     The Oklahoma Coal Company               Belmont County, OH
     Pleasant Farms, Inc.                    Belmont County, OH
     UMCO Energy, Inc.                       Washington County, PA
     UtahAmerican Energy, Inc.               Emery County, UT
     West Virginia Resources, Inc.           Ohio County, WV
     West Ridge Resources, Inc.              Carbon County, UT
     Genwal Resources, Inc.                  Emery County, UT
     AmericanMountaineer Energy, Inc.        Harrison County, WV
     Murray Energy Corporation               Saline, IL
     American Mine Services, Inc.            Monroe, OH
     Empire Dock, Inc.                       Hardin, IL




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                                SCHEDULE 4.1

                 Jurisdictions of Organization and Qualification

                  COMPANY                             Jurisdiction of Organization
AMCA COAL LEASING, INC.                                            DE
AMCOAL HOLDINGS, INC.                                              OH
AMERICANHOCKING ENERGY, INC.                                       OH
AMERICANMOUNTAINEER ENERGY, INC.                                   OH
AMERICANMOUNTAINEER PROPERTIES, INC.                              WV
AMERICAN MINE SERVICES, INC.                                       OH
AMERICAN NATURAL GAS, INC.                                         DE
THE AMERICAN COAL COMPANY                                          DE
THE AMERICAN COAL SALES COMPANY                                    OH
AMERICAN COMPLIANCE COAL, INC.                                     CO
AMERICAN ENERGY CORPORATION                                        OH
AMERICAN EQUIPMENT & MACHINE, INC.                                WV
ANCHOR LONGWALL AND REBUILD, INC.                                 WV
ANDALEX RESOURCES, INC.                                            DE
ANDALEX RESOURCES MANAGEMENT, INC.                                 DE
AVONMORE RAIL LOADING, INC.                                        DE
BELMONT COAL, INC.                                                 OH
CANTERBURY COAL COMPANY                                            PA
COAL RESOURCES HOLDINGS CO.                                        DE
COAL RESOURCES, INC.                                               OH
CONSOLIDATED LAND COMPANY                                          OH
CORPORATE AVIATION SERVICES, INC.                                  OH
EMPIRE DOCK, INC.                                                  PA
ENERGY RESOURCES, INC.                                             PA
ENERGY TRANSPORTATION, INC.                                        PA
GENWAL RESOURCES, INC.                                             UT
KANAWHA TRANSPORTATION CENTER, INC.                               WV
KENAMERICAN RESOURCES, INC.                                        KY
MAPLE CREEK MINING, INC.                                           PA
MAPLE CREEK PROCESSING, INC.                                       PA
MILL CREEK MINING COMPANY                                          PA
MONVALLEY TRANSPORTATION CENTER, INC.                              PA
MURRAY ENERGY CORPORATION                                          OH
MURRAY ENERGY HOLDINGS CO.                                         DE
MURRAY AMERICAN COAL, INC.                                         DE
MURRAY AMERICAN KENTUCKY TOWING, INC.                              DE
MURRAY AMERICAN RIVER TOWING, INC.                                 PA
MURRAY AMERICAN TRANSPORTATION, INC.                               DE
MURRAY AMERICAN RESOURCES, INC.                                   WY
MURRAY AMERICAN ENERGY, INC.                                       DE
MURRAY EQUIPMENT & MACHINE, INC.                                   OH
MURRAY KEYSTONE PROCESSING, INC.                                   DE
MURRAY SOUTH AMERICA, INC.                                         DE
OHIOAMERICAN ENERGY, INCORPORATED                                  OH
OHIO ENERGY TRANSPORTATION, INC.                                   OH
OHIO VALLEY RESOURCES, INC.                                        OH
THE HARRISON COUNTY COAL COMPANY                                   DE
THE FRANKLIN COUNTY COAL COMPANY                                   IL
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                    COMPANY                          Jurisdiction of Organization
 THE MCLEAN COUNTY COAL COMPANY                                   KY
 THE MARION COUNTY COAL COMPANY                                   DE
 THE MARSHALL COUNTY COAL COMPANY                                 DE
 ONEIDA COAL COMPANY, INC.                                       WV
 THE MEIGS COUNTY COAL COMPANY                                   WV
 THE MONONGALIA COUNTY COAL COMPANY                               DE
 THE OHIO COUNTY COAL COMPANY                                     OH
 THE MUSKINGUM COUNTY COAL COMPANY                                OH
 THE OHIO VALLEY COAL COMPANY                                     OH
 THE OHIO VALLEY TRANSLOADING COMPANY                             OH
 THE OKLAHOMA COAL COMPANY                                        OK
 PENNAMERICAN COAL, INC.                                          PA
 PENNAMERICAN COAL L.P.                                           PA
 PENNSYLVANIA TRANSLOADING, INC.                                  OH
 PINSKI CORP.                                                     PA
 PLEASANT FARMS, INC.                                             OH
 PREMIUM COAL, INC.                                               PA
 SPRING CHURCH COAL COMPANY                                       PA
 SUNBURST RESOURCES, INC.                                         PA
 T D K COAL SALES, INCORPORATED                                   PA
 UMCO ENERGY, INC.                                                PA
 UTAHAMERICAN ENERGY, INC.                                        UT
 WEST RIDGE RESOURCES, INC.                                       UT
 THE WASHINGTON COUNTY COAL COMPANY                               PA
 WEST VIRGINIA RESOURCES, INC.                                   WV
 CONSOLIDATION COAL COMPANY                                       DE
 EIGHTY-FOUR MINING COMPANY                                       PA
 MCELROY COAL COMPANY                                             DE
 SOUTHERN OHIO COAL COMPANY                                      WV
 CENTRAL OHIO COAL COMPANY                                        OH
 KEYSTONE COAL MINING CORPORATION                                 PA
 MON RIVER TOWING, INC.                                           PA
 TWIN RIVERS TOWING COMPANY                                       DE
 CCC RCPC LLC                                                     DE
 CCC LAND RESOURCES LLC                                           DE

                      Organizational and Capital Structure

See attached.




                                       5
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                                                          SCHEDULE 4.2

                                                 Equity Interests and Ownership

   Equity Interests: Set forth below is a list of the ownership interest of Borrower and each of its
   Subsidiaries (including Unrestricted Subsidiaries) in their respective Subsidiaries (including Unrestricted
   Subsdiaries) together with the type of organization which issued such equity interests (e.g. corporation,
   limited liability company, partnership or trust):

   Stock:

                                                                                                         Certificate
                                                                   # of         Total        % of
                                                                                                            No.
                                                     Type of      Shares       Shares       Interest   (if uncertificated,      Par
  Name Of Holder                 Issuer            Organization   Owned      Outstanding    Pledged    please indicate so)     Value
Amcoal Holdings, Inc.   The American Coal          Corporation     100,000       100,000       100%            3               $.01
                        Company
The American Coal       Corporate Aviation         Corporation        100            100       100%            2              No par
Sales Company           Services, Inc.                                                                                        value
                        The Oklahoma Coal          Corporation       1,000          1,000      100%            2              No par
                        Company                                                                                               value
                        Pleasant Farms, Inc.       Corporation        100            100       100%            2              No par
                                                                                                                              value
AmericanMountaineer     AmericanMountaineer        Corporation       1,000          1,000      100%            1              No par
Energy, Inc.            Properties, Inc.                                                                                      value
Murray Energy           American Equipment &       Corporation        100            100       100%            1              No par
Corporation             Machine, Inc.                                                                                         value
Coal Resources          Coal Resources, Inc.       Corporation      10,000        10,000       100%            3              No par
Holdings Co.                                                                                                                  value
Coal Resources, Inc.    The American Coal Sales    Corporation        130            130       100%            3              No par
                        Company                                                                                               value
                        Anchor Longwall and        Corporation        100            100       100%           R-4              $1.00
                        Rebuild, Inc.
                        Mill Creek Mining          Corporation       1,000          1,000      100%           R-3             No par
                        Company                                                                                               value
                        Premium Coal, Inc.         Corporation        100            100       100%           001             No par
                                                                                                                              value
                        The Hocking Valley         Corporation        100            100       100%            3              No par
                        Resources Company                                                                                     value
                        n/k/a AmericanHocking
                        Energy, Inc.
Energy Resources,       T D K Coal Sales,          Corporation      10,000        10,000       100%          R-11             No par
Inc.                    Incorporated                                                                                          value
Maple Creek Mining,     UMCO Energy, Inc.          Corporation        490           500 1      100%            7              $10.00
Inc.
Mill Creek Mining       Avonmore Rail Loading,     Corporation       1,000          1,000      100%           R-6              $1.00
Company                 Inc.
                        Canterbury Coal            Corporation        100            100       100%          R-21              $100
                        Company
                        Energy Resources, Inc.     Corporation       1,000          1,000      100%            2              No par
                                                                                                                              value


   1
              Certificate No. 4 issued to Toni J. Southern for 10 shares.
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                Energy Transportation,     Corporation     1,000          1,000    100%        2          No par
                Inc.                                                                                      value
                KenAmerican Resources,     Corporation     1,000          1,000    100%       001         No par
                Inc.                                                                                      value
                PennAmerican Coal, Inc.    Corporation      100             100    100%       001         No par
                                                                                                          value
                Spring Church Coal         Corporation       10              10    100%       R-5          $100
                Company
                West Virginia Resources,   Corporation      100             100    100%        3           $1.00
                Inc.
Murray Energy   Murray Energy              Corporation    10,000         10,000    100%        1          No par
Holdings Co.    Corporation                                                                               value
Murray Energy   Amcoal Holdings, Inc.      Corporation      100             100    100%       002         No par
Corporation                                                                                               value
                American Compliance        Corporation      100             100    100%        3          No par
                Coal, Inc.                                                                                value
                American Energy            Corporation      100             100    100%       004         No par
                Corporation                                                                               value
                Belmont Coal, Inc.         Corporation      100             100    100%       002         No par
                                                                                                          value
                Consolidated Land          Corporation      100             100    100%       004         No par
                Company                                                                                   value
                Kanawha Transportation     Corporation      100             100    100%        2          No par
                Center, Inc.                                                                              value
                MonValley                  Corporation      100             100    100%       003         No par
                Transloading, Inc. n/k/a                                                                  value
                Empire Dock, Inc.
                Ohio Valley Resources,     Corporation   Class A    Class A 100    100%       A-2         No par
                Inc.                                         100                                          value
                Ohio Valley Resources,     Corporation   Class B   Class B 9,900   100%   B-8, B-9, B-    No par
                Inc.                                       9,900                          10, B-11 &      value
                                                                                             B-12
                UtahAmerican Energy,       Corporation      100             100    100%       004         No par
                Inc.                                                                                      value
                OhioAmerican Energy,       Corporation      100             100    100%        1          No par
                Incorporated                                                                              value

                Ohio Energy                Corporation     1,000          1,000    100%        1          No par
                Transportation, Inc.                                                                      value

                AmericanMountaineer        Corporation      100             100    100%       001         No par
                Energy, Inc.                                                                              value

                Murray American            Corporation   100,000        100,000    100%        4          No par
                Resources, Inc.                                                                           value

                Murray South America,      Corporation     1,000          1,000    100%       A-1         No par
                Inc.                                                                                      value

                American Natural Gas,      Corporation     1000            1000    100%        1           $.001
                Inc.
                American Mine Services,    Corporation     1,000          1,000    100%        1          No par
                Inc.                                                                                      value
                Murray American River      Corporation     1,000          1,000    100%       A-1         No par
                Towing, Inc.                                                                              value
                Murray Equipment &         Corporation     1,000          1,000    100%        1          No par
                Machine, Inc.                                                                             value
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                      Murray American Coal,      Corporation        1,000              1,000   100%        1          No par
                      Inc.                                                                                            value
Murray American       Murray American            Corporation             100             100   100%        1          No par
River Towing, Inc.    Kentucky Towing, Inc.                                                                           value
Ohio Valley           Consolidation Coal         Corporation       75,000             75,000   100%        8          $1,000
Resources, Inc.       Company
                      The Ohio Valley Coal       Corporation             700             700   100%        1          No par
                      Company                                                                                         value
                      The Ohio Valley            Corporation             100             100   100%        1          No par
                      Transloading Company                                                                            value
                      Sunburst Resources, Inc.   Corporation             100             100   100%       006         No par
                                                                                                                      value
                      Murray American            Corporation        1,000              1,000   100%        1          No par
                      Energy, Inc.                                                                                    value
                      The McLean County          Corporation        1,000              1,000   100%        1          No par
                      Coal Company                                                                                    value
PennAmerican Coal,    PennAmerican Coal L.P.     Limited             N/A                N/A    100%       N/A          N/A
Inc.                                             Partnership
                      Pinski Corp.               Corporation             300             300   100%       R-5         No par
                                                                                                                      value
Pennsylvania          MonValley                  Corporation       14,848             14,848   100%       R-1          $1.00
Transloading, Inc.    Transportation Center,
                      Inc.
Pinski Corp.          PennAmerican Coal, L.P.    Limited             N/A                N/A    100%       N/A          N/A
                                                 Partnership
Sunburst Resources,   Maple Creek Mining,        Corporation             100             100   100%       002         No par
Inc.                  Inc.                                                                                            value
                      Maple Creek Processing,    Corporation             100             100   100%       001         No par
                      Inc.                                                                                            value
                      Pennsylvania               Corporation             100             100   100%        3          No par
                      Transloading, Inc.                                                                              value
UtahAmerican          ANDALEX Resources,         Corporation        9,000              9,000   100%      0001         No par
Energy, Inc.          Inc.                                                                                            value

ANDALEX               Andalex Resources          Corporation             200             200   100%        1          No par
Resources, Inc.       Management, Inc.                                                                                value
                      AMCA Coal Leasing,         Corporation         2000               2000   100%        1          No par
                      Inc.                                                                                            value
                      GENWAL Resources,          Corporation             100             100   100%        2          No par
                      Inc.                                                                                            value
                      West Ridge Resources,      Corporation             100             100   100%        2          No par
                      Inc.                                                                                            value
West Virginia         Oneida Coal Company,       Corporation        1,000              1,000   100%       R-5          $1.00
Resources, Inc.       Inc.
Murray American       Coal Resources Holdings    Corporation   Class A         Class A 100     100%   Class A: A-4    No par
Resources, Inc.       Co.                                      100             Class B 9,900          Class B: B-9    value
                                                               Class B
                                                               9,900
Murray American       The Ohio County Coal       Corporation        1,000              1,000   100%        1          No par
Energy, Inc.          Company                                                                                         value
                      The Marshall County        Corporation        1,000              1,000   100%        1          No par
                      Coal Company                                                                                    value
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                         The Marion County Coal       Corporation          1,000            1,000      100%       1                No par
                         Company                                                                                                   value
                         The Monongalia Coal          Corporation          1,000            1,000      100%       1                No par
                         Company                                                                                                   value
                         The Harrison County          Corporation          1,000            1,000      100%       1                No par
                         Coal Company                                                                                              value
                         Murray American              Corporation          1,000            1,000      100%       1                No par
                         Transportation, Inc.                                                                                      value
                         Murray Keystone              Corporation          1,000            1,000      100%       1                No par
                         Processing, Inc.                                                                                          value
                         The Meigs County Coal        Corporation          1,000            1,000      100%      A-1               No par
                         Company                                                                                                   value
                         The Muskingum County         Corporation          1,000            1,000      100%      A-1               No par
                         Coal Company                                                                                              value
                         The Washington County        Corporation          1,000            1,000      100%      A-1               No par
                         Coal Company                                                                                              value
                         The Franklin County          Corporation          1,000            1,000      100%      A-1               No par
                         Coal Company                                                                                              value
Consolidation Coal       Eighty-Four Mining           Corporation            10               10       100%       2                $500.00
Company                  Company
                         McElroy Coal Company         Corporation          1,000            1,000      100%       1                 $1.00
                         Southern Ohio Coal           Corporation          5,000            5,000      100%      10                 $1.00
                         Company
                         Central Ohio Coal            Corporation         75,000           75,000      100%      25                 $0.10
                         Company
                         Keystone Coal Mining         Corporation           100              100       100%       3                 None
                         Corporation
                         Mon River Towing, Inc.       Corporation          1,000            1,000      100%      19                 $100
                         Twin Rivers Towing           Corporation          1,000            1,000      100%       7                  $1
                         Company


   Partnership Interests:

                                                                                                                      Percentage of
                                                                                                                      Outstanding
                                                Type of Partnership                                                   Partnership
Name of                                         Interests (e.g.,                               Certificate No.        Interests of the
Holder               Partnership                general or limited)   Certificated (Y/N)       (if any)               Partnership
                     PennAmerican Coal                                Y                        1
PennAmerican         L.P.                       Limited Partnership                                                   99%
Coal, Inc.                                      (Limited Partner)
Pinski Corp.         PennAmerican Coal          Limited Partnership   Y                        2                      1%
                     L.P.                       (General Partner)
Murray Energy        Foresight Energy LP        Limited Partnership   N                        None                   64,954,691
Corporation                                     Subordinated Units                                                    Subordinated Units
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  Membership Interests:

                                                                                                   Percentage of
                                                                                                   Outstanding
                                      Type of Membership                                           Membership
Name of         Limited Liability     Interests (e.g.,                           Certificate No.   Interests of the
Holder          Company               general or limited)   Certificated (Y/N)   (if any)          Membership
Consolidation   CCC RCPC LLC          Limited Liability     Y                    1                 100%
Coal Company                          Company
Consolidation   CCC Land Resources    Limited Liability     Y                    1                 100%
Coal Company    LLC                   Company
Murray Energy   Foresight Energy GP   Limited Liability     N                    None              340,000 Voting Units
Corporation     LLC                   Company Voting
                                      Units
Murray Energy   Foresight Energy GP   Limited Liability     N                    None              775,000 IDR Units
Corporation     LLC                   Company IDR Units
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                                                 SCHEDULE 4.13

                                                        Real Estate

Murray Entities:

                    Owner/Tenant                         County              State    Leased/Owned      Notes

1.    The American Coal Company, a Delaware     Scott                 Arkansas           Owned
      corporation
2.    Compliance Coals, Inc., (n/k/a American   Saline                Illinois           Owned
      Equipment & Machine, Inc.), a West
      Virginia corporation
3.    Empire Dock, Inc., a Pennsylvania         Hardin                Illinois            Leased
      corporation


4.    The American Coal Company, a Delaware     Bureau                Illinois           Owned
      corporation
5.    The American Coal Company, a Delaware     Hamilton              Illinois       Owned and Leased
      corporation

6.    The American Coal Company, a Delaware     LaSalle               Illinois           Owned
      corporation
7.    The American Coal Company, a Delaware     Putnam                Illinois           Owned
      corporation
8.    The American Coal Company, a Delaware     Saline                Illinois       Owned and Leased
      corporation

9.    American Natural Gas, Inc., a Delaware    Elliot                Kentucky       Owned and Leased
      corporation
10.   American Natural Gas, Inc., a Delaware    Lee                   Kentucky       Owned and Leased
      corporation
11.   American Natural Gas, Inc., a Delaware    Morgan                Kentucky       Owned and Leased
      corporation
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                    Owner/Tenant                           County          State    Leased/Owned      Notes

12.   American Natural Gas, Inc., a Delaware      Gallia            Ohio           Owned and Leased
      corporation
13.   American Natural Gas, Inc., a Delaware      Meigs             Ohio           Owned and Leased
      corporation

14.   KenAmerican Resources, Inc., a Kentucky     Muhlenberg        Kentucky       Owned and Leased
      corporation
15.   KenAmerican Resources, Inc., a Kentucky     Hopkins           Kentucky            Leased
      corporation
16.   American Energy Corporation, an Ohio        Monroe            Ohio           Owned and Leased
      corporation
17.   Belmont Coal, Inc., an Ohio corporation     Belmont           Ohio               Owned

18.   Belmont Coal, Inc., an Ohio corporation     Jefferson         Ohio               Owned

19.   Consolidated Land Company, an Ohio          Monroe            Ohio               Owned
      corporation
20.   Consolidated Land Company, an Ohio          Belmont           Ohio               Owned
      corporation
21.   OhioAmerican Energy, Incorporated, an       Jefferson         Ohio           Owned and Leased
      Ohio corporation

22.   OhioAmerican Energy, Incorporated, an       Belmont           Ohio                Leased
      Ohio corporation
23.   Pleasant Farms, Inc., an Ohio corporation   Belmont           Ohio               Owned

24.   The American Coal Sales Company, an Ohio    Belmont           Ohio               Owned
      corporation
25.   The American Coal Company, a Delaware       Meigs             Ohio               Owned
      corporation
26.   AmericanHocking Energy, Inc., an Ohio       Athens            Ohio                Leased
      corporation
27.   AmericanHocking Energy, Inc., an Ohio       Morgan            Ohio           Owned and Leased
      corporation
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                   Owner/Tenant                          County          State    Leased/Owned      Notes

28.   The Ohio Valley Coal Company, an Ohio        Belmont        Ohio               Owned
      corporation
29.   The Oklahoma Coal Company, an Oklahoma       Belmont        Ohio               Owned
      corporation
30.   The American Coal Company, a Delaware        Haskell        Oklahoma           Owned
      corporation
31.   The American Coal Company, a Delaware        Leflore        Oklahoma           Owned
      corporation

32.   American Compliance Coal, Inc., a Colorado   Clearfield     Pennsylvania       Owned
      corporation
33.   Avonmore Rail Loading, Inc., a Delaware      Armstrong      Pennsylvania       Owned
      corporation
34.   Avonmore Rail Loading, Inc., a Delaware      Indiana        Pennsylvania       Owned
      corporation
35.   Canterbury Coal Company, a Pennsylvania      Armstrong      Pennsylvania       Owned
      corporation
36.   Canterbury Coal Company, a Pennsylvania      Armstrong      Pennsylvania       Owned
      corporation
37.   Energy Resources, Inc., a Pennsylvania       Elk            Pennsylvania       Owned
      corporation
38.   Energy Resources, Inc., a Pennsylvania       Clearfield     Pennsylvania       Owned
      corporation
39.   Energy Resources, Inc., a Pennsylvania       Jefferson      Pennsylvania       Owned
      corporation
40.   Maple Creek Mining, Inc., a Pennsylvania     Washington     Pennsylvania   Owned and Leased
      corporation
41.   PennAmerican Coal L.P., a Pennsylvania       Indiana        Pennsylvania       Owned
      limited partnership
42.   T D K Coal Sales, Incorporated, a            Armstrong      Pennsylvania       Owned
      Pennsylvania corporation
43.   T D K Coal Sales, Incorporated, a            Clarion        Pennsylvania       Owned
      Pennsylvania corporation
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                    Owner/Tenant                           County          State     Leased/Owned      Notes

44.   T D K Coal Sales, Incorporated, a            Clearfield       Pennsylvania        Owned
      Pennsylvania corporation
45.   T D K Coal Sales, Incorporated, a            Elk              Pennsylvania        Owned
      Pennsylvania corporation
46.   T D K Coal Sales, Incorporated, a            Jefferson        Pennsylvania        Owned
      Pennsylvania corporation
47.   UMCO Energy, Inc., a Pennsylvania            Washington       Pennsylvania        Owned
      corporation
48.   AMCA Coal Leasing, Inc., a Delaware          Carbon           Utah                Owned
      corporation
49.   Andalex Resources, Inc., a Delaware          Carbon           Utah            Owned and Leased
      corporation
50.   UtahAmerican Energy, Inc., a Utah            Emery            Utah            Owned and Leased
      corporation
51.   UtahAmerican Energy, Inc., a Utah            Carbon           Utah                 Leased
      corporation
52.   AmericanMountaineer Energy, Inc., an Ohio    Harrison         West Virginia        Leased
      corporation
53.   Corporate Aviation Services, Inc., an Ohio   Brooke           West Virginia       Owned
      corporation
54.   OhioAmerican Energy, Incorporated, an        Brooke           West Virginia        Leased
      Ohio corporation

55.   The American Coal Company, a Delaware        Mason            West Virginia       Owned
      corporation
56.   West Virginia Resources, Inc., a West        Ohio             West Virginia       Owned
      Virginia corporation
57.   American Mine Services, Inc., an Ohio        Monroe           Ohio                Owned
      corporation
58.   American Energy Corporation, an Ohio         Belmont          Ohio            Owned and Leased
      corporation
59.   GENWAL Resources, Inc., a Utah               Emery            Utah                 Leased
      corporation
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                   Owner/Tenant                            County          State   Leased/Owned   Notes

60.   West Ridge Resources, Inc., a Utah          Carbon            Utah              Leased
      corporation
61.   Murray Energy Corporation, an Ohio          Saline            Illinois          Leased
      corporation
62.   Murray Equipment & Machine, Inc., an Ohio   Bourbon           Kentucky          Owned
      corporation
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Consol Entities: 2

Owned Real Property - Mining Transferred Business

The “Mining Transferred Business” is limited to the following, provided, however, in no event shall
Mining Transferred Business include oil and gas and coalbed methane (whether within or outside of a
coal seam):

1.       The “Blacksville Mine” means and is limited all right, title and interest owned or controlled by
Company, the Subsidiaries and Transferring Entities: (i) in and to the Pittsburgh seam of coal within the
area shown on Exhibit “A3” under “Blacksville Mine (Pittsburgh Coal Only)” and associated mining
rights for the Pittsburgh seam within such area; and (ii) in and to the surface only of property that is
located entirely on or within the highlighted areas shown Exhibit “A4”.

2.       The “Loveridge Mine” means and is limited to all right, title and interest owned or controlled by
Company, the Subsidiaries and Transferring Entities: (i) in and to the Pittsburgh seam of coal within the
area shown on Exhibit “A3” under “Loveridge Mine (Pittsburgh Coal Only)” and associated mining
rights for the Pittsburgh seam within such area; and (ii) in and to the surface only of property that is
located entirely on or within the highlighted areas shown Exhibit “A5”.

3.       The “McElroy Mine” means and is limited to all right, title and interest owned or controlled by
Company, the Subsidiaries and Transferring Entities: (i) in and to the Pittsburgh seam of coal within the
area shown on Exhibit “A3” under “McElroy Mine (Pittsburgh Coal Only)” and associated mining rights
for the Pittsburgh seam within such area; and (ii) in and to the surface only of property that is located
entirely on or within the highlighted areas shown Exhibit “A6”.

4.      “Mine 84” means and is limited to all right, title and interest owned or controlled by Company,
the Subsidiaries and Transferring Entities: (i) in and to the Pittsburgh seam of coal within the area shown
on Exhibit “A3” under “Mine 84 (Pittsburgh Coal Only)” and associated mining rights for the Pittsburgh
seam within such area; and (ii) in and to the surface only of property that is located entirely on or within
the highlighted areas shown Exhibit “A7”.

5.       The “Robinson Run Mine” means and is limited to all right, title and interest owned or controlled
by Company, the Subsidiaries and Transferring Entities: (i) in and to the Pittsburgh seam of coal within
the area shown on Exhibit “A3” under “Robinson Run Mine (Pittsburgh Coal Only)” and associated
mining rights for the Pittsburgh seam within such area; and (ii) in and to the surface only of property that
is located entirely on or within the highlighted areas shown Exhibit “A8”.

6.       The “Shoemaker Mine” means and is limited to all right, title and interest owned or controlled by
Company, the Subsidiaries and Transferring Entities: (i) in and to the Pittsburgh seam of coal within the
area shown on Exhibit “A3” under “Shoemaker Mine (Pittsburgh Coal Only)” and associated mining
rights for the Pittsburgh seam within such area; and (ii) in and to the surface only of property that is
located entirely on or within the highlighted areas shown Exhibit “A9”.


2
 Exhibits and Schedules referenced are those in that certain Stock Purchase Agreement, dated as of October 25,
2013, among CONSOL Energy Inc., a Delaware corporation, CCC Purchaser, CCC Company, and solely for
purposes of Section 5.14, Section 6.03 and Section 11.16 thereof, Borrower, as amended, which correspond to legal
descriptions and maps delineating mine areas. Such maps and schedules are attached hereto.
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7.      The “Rend Lake Mine” means and is limited to all right, title and interest owned or controlled by
Company, the Subsidiaries and Transferring Entities: (i) in and to all seams of coal within the area shown
on Exhibit “A10” and associated mining rights for such seams; and (ii) in and to the surface only of
property that is located entirely on or within the highlighted areas shown Exhibit “A10”.

8.      The “Keystone Coal Mining Company Mines” means and is limited to all right, title and interest
owned or controlled by Company, the Subsidiaries and Transferring Entities in and to the surface only
within the area shown on Exhibit “A11” and associated surface access rights for operation of the
preparation plant;

9.      The “Tetrick South Reserves” means and is limited to all right, title and interest owned or
controlled by Company, the Subsidiaries and Transferring Entities in and to any the Pittsburgh seam of
coal within the highlighted area shown on Exhibit “A12” and associated mining rights for the Pittsburgh
seam within such area, excluding however, any overriding royalties that will be granted to Reserve Coal
Properties Company at Closing.

10.      The “Legacy Areas and AMD Sites” means and is limited to all right, title and interest owned or
controlled by Company, the Subsidiaries and Transferring Entities: (i) in and to certain unmined and
mined out areas of the Pittsburgh seam only within the highlighted areas shown on Exhibit “A13(i)”
(“Legacy Areas”), and (ii) associated mining rights for such seam within the Legacy Areas, including, but
not limited to, the operation of permitted facilities within the Legacy Areas and the right to remove water
from the unmined and mined out areas of the Pittsburgh seam and the right to inject water, slurry and
sludge into the unmined and mined out areas of the Pittsburgh seam through acid mine drainage sites
located within such Legacy Areas (collectively permitted facilities, acid mine drainage sites and facilities
related thereto shall be referred to herein as “AMD Sites”), such AMD sites listed on Exhibit “A13(ii).”

Related Transferred Businesses

1.       The “Reverse Osmosis Facilities and Plant Complex” means and is limited all right, title and
interest owned or controlled by Company, the Subsidiaries and Transferring Entities: (i) in and to the
surface only of property with respect to the Plant Complex as shown on Exhibit “A14” under “Refuse
Area” and “RO Plant Site”; and (ii) in and to the rights of way with respect to the Facilities as shown on
such Exhibit “A14” under “RO Pipeline Alignment.”

2.      The “River Division” means and is limited to all right, title and interest owned or controlled by
Company, the Subsidiaries and Transferring Entities in and to the surface only of property associated with
the Alicia Dock river facility as shown on Exhibit “A15”; provided, however, for the landings identified
as having a Surface Use Agreement as shown on Exhibit “A15” the surface will be owned by a
Transferring Entity after Closing and such surface will be excluded property that is part of the Excluded
Business, and a Surface Use Agreement will address use of such landings by Company after Closing.

3.       The “Monongah Office” means the office building owned by Company that is located in Grant
District, Marion County, West Virginia on Tax Map Parcel 02-15/157 and the surface only of property
associated therewith as shown on Exhibit “A16(i)”, being part of the property conveyed in Deed Book
322, Page 305 recorded in the office of the Clerk of the County Commission of Marion County, West
Virginia.

4.      The “Ohio Valley Operations Office” means the office building owned by the Company that is
located in Clay District, Marshall County, West Virginia on Tax Map 14, Parcel 2 and the surface only of
property associated therewith as shown on Exhibit “A16(ii)”, being part of the property conveyed in Deed
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Book 500, Page 241 recorded in the office of the Clerk of the County Commission of Marshall County,
West Virginia.

Leased Real Property

“Leased Real Property” means all right, title and interest leased by Company, the Subsidiaries and the
Transferring Entities in and to the following:

1.      For the Blacksville Mine, (A) the Real Property leases set forth on Exhibit 1.01(d)(i)(A) insofar
and only insofar as the leases cover the Pittsburgh seam of coal and associated mining rights within the
area shown on Exhibit “A3” under “Blacksville Mine (Pittsburgh Coal Only)”; and (B) the Real Property
leases set forth on Exhibit 1.01(d)(i)(B) insofar and only insofar as the leases cover the surface only of
property that is located entirely on or within the highlighted areas shown on Exhibit “A4”;

2.      For the Loveridge Mine, (A) the Real Property leases set forth on Exhibit 1.01(d)(ii)(A) insofar
and only insofar as the leases cover the Pittsburgh seam of coal and associated mining rights within the
area shown on Exhibit “A3” under “Loveridge Mine (Pittsburgh Coal Only)”; and (B) the Real Property
leases set forth on Exhibit 1.01(d)(ii)(B) insofar and only insofar as the leases cover the surface only of
property that is located entirely on or within the highlighted areas shown on Exhibit “A5”;

3.        For the McElroy Mine, the Real Property leases set forth on Exhibit 1.01(d)(iii)(A) insofar and
only insofar as the leases cover the Pittsburgh seam of coal and associated mining rights within the area
shown on Exhibit “A3” under “McElroy Mine (Pittsburgh Coal Only)”; and (B) the Real Property leases
set forth on Exhibit 1.01(d)(iii)(B) insofar and only insofar as the leases cover the surface only of property
that is located entirely on or within the highlighted areas shown on Exhibit “A6”;

4.      For Mine 84, the Real Property leases set forth on Exhibit 1.01(d)(iv)(A) insofar and only insofar
as the leases cover the Pittsburgh seam of coal and associated mining rights within the area shown on
Exhibit “A3” under “Mine 84 (Pittsburgh Coal Only)”; and (B) the Real Property leases set forth on
Exhibit 1.01(d)(iv)(B) insofar and only insofar as the leases cover the surface only of property that is
located entirely on or within the highlighted areas shown on Exhibit “A7”;

5.      For the Robinson Run Mine, the Real Property leases set forth on Exhibit 1.01(d)(v)(A) insofar
and only insofar as the leases cover the Pittsburgh seam of coal and associated mining rights within the
area shown on Exhibit “A3” under “Robinson Run Mine (Pittsburgh Coal Only)”; and (B) the Real
Property leases set forth on Exhibit 1.01(d)(v)(B) insofar and only insofar as the leases cover the surface
only of property that is located on or within the highlighted areas shown on Exhibit “A8”;

6.      For the Shoemaker Mine, the Real Property leases set forth on Exhibit 1.01(d)(vi)(A) insofar and
only insofar as the leases cover the Pittsburgh seam of coal and associated mining rights within the area
shown on Exhibit “A3” under “Shoemaker Mine (Pittsburgh Coal Only)”; and (B) the Real Property
leases set forth on Exhibit 1.01(d)(vi)(B) insofar and only insofar as the leases cover the surface only of
property that is located entirely on or within the highlighted areas shown on Exhibit “A9”;

7.       For the Rend Lake Mine, (A) the Real Property leases and leased or licensed rights of way set
forth on Exhibit 1.01(d)(vii) insofar and only insofar as the leases cover any coal seams and associated
mining rights within the area shown on Exhibit “A10” for the Rend Lake Mine; and (B) the Real Property
leases and leased or licensed rights of way set forth on Exhibit 1.01(d)(vii) insofar and only insofar as the
leases cover the surface only of property that is located entirely on or within the highlighted areas shown
on Exhibit “A10”;
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8.      For the Keystone Coal Mining Company Mines, the Real Property leases and leased or licensed
rights of ways set forth on Exhibit 1.01(d)(viii) insofar and only insofar as the leases cover the surface
only and associated surface access rights for operation of the preparation plant within the highlighted
areas shown on Exhibit “A11” for the Keystone Coal Mining Company Mines;

9.      For the Tetrick South Reserves, the Real Property leases set forth on Exhibit 1.01(d)(ix) insofar
and only insofar as the leases cover the Pittsburgh seam of coal and associated mining rights within the
area shown on Exhibit “A12” for the Tetrick South Reserves (the “Tetrick Lease”), excluding, however,
any overriding royalties that will be granted to Reserve Coal Properties Company at Closing;

10.     For the Legacy Areas and AMD Sites, (A) the Real Property leases and leased or licensed rights
of ways set forth on Exhibit 1.01(d)(x)(A) insofar and only insofar as the leases or licenses cover the
unmined and mined out areas of the Pittsburgh seam of coal only and associated mining rights within the
highlighted areas shown on Exhibit “A13(i)” under “Legacy Areas”; and (B) the Real Property leases and
leased or licensed rights of ways set forth on Exhibit 1.01(d)(x)(B) insofar and only insofar as the leases
or licenses cover the surface only associated with twenty-one (21) AMD Sites as shown on the
highlighted areas of Exhibit “A13(i),” the coordinates of which are more particularly described on Exhibit
“A13(ii)”, together with all necessary and required access rights to the Pittsburgh seam for operation of
the AMD Sites, including, but not limited to, the right to remove water from the unmined and mined out
areas of the Pittsburgh seam and the right to inject water, slurry and sludge into the unmined and mined
out areas of the Pittsburgh seam;

11.     For the Reverse Osmosis Facilities and Plant Complex, the Real Property leases set forth on
Exhibit 1.01(d)(xi) insofar and only insofar as the leases cover (A) any surface property only with respect
to the Plant Complex within the highlighted areas as shown on Exhibit “A14” under “Refuse Area” and
“RO Plant Site” and (B) any rights of way with respect to the Facilities as shown on such Exhibit “A14”
under “RO Pipeline Alignment”;

12.     For the River Division Areas, the Real Property leases set forth on Exhibit 1.01(d)(xii) associated
with the river facilities as shown on Exhibit “A15” for the River Division Areas; provided, however, for
the landings identified as having a Surface Use Agreement as shown on Exhibit “A15” the surface will be
owned by a Transferring Entity after Closing and such surface will be excluded property that is part of the
Excluded Business, and a Surface Use Agreement will address use of such landings by Company after
Closing;

13.      All Real Property leases set forth on Exhibit 1.01(d)(xiii) insofar and only insofar as the leases
cover the surface only of property associated with the Monongah Office within the area shown on Exhibit
“A16(i)” and with the Ohio Valley Operations Office within the area shown on Exhibit “A16(ii)” together
with all buildings and other structures, facilities or improvements currently or hereafter located thereon,
all fixtures, systems, equipment and items of personal property of the Company, the Subsidiaries or the
Transferring Entities (to the extent primarily used in the Related Transferred Business) attached or
appurtenant thereto and all easements, licenses, rights and appurtenances relating to the foregoing;

14.     Buildings and other structures, facilities or improvements leased by the Company, the
Subsidiaries or the Transferring Entities located on or within the Limited Surface Area (to the extent
primarily used in Mining Transferred Business) attached or appurtenant thereto;

15.     All fixtures, systems, equipment and items of personal property leased by the Company, the
Subsidiaries or the Transferring Entities located on or within the Limited Surface Area (to the extent
primarily used in Mining Transferred Business) attached or appurtenant thereto; and
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16.     Subject to any existing shared usage by other Persons and whether such usage is recorded or
unrecorded, all leased or licensed easements, licenses, rights and appurtenances of the Company, the
Subsidiaries or the Transferring Entities relating to or within the Mining Transferred Business.

For the avoidance of doubt:

1.      To the extent all or any part of any Real Property leases of the Company, the Subsidiaries and the
Transferring Entities are located, in whole or in part, outside the areas designated on the above-referenced
Exhibit maps: (1) all surface lying outside of the surface areas designated on Exhibits A4, A5, A6, A7,
A8, A9, A10, A11, A13(i), A14, A15, A16(i) and A16(ii) is excluded property and part of the Excluded
Business; and (2) all coal lying outside of the coal areas designated on Exhibits A3, A10, A12, and A13(i)
is excluded property and part of the Excluded Business;

2.      Within the coal areas designated on Exhibits A3, A12 and A13(i), all coal, except for the
Pittsburgh seam, is excluded property and part of the Excluded Business; and

3.      All oil, gas, coalbed methane, coal (except for the coal interests specifically described above),
and other minerals are excluded property and part of the Excluded Business.
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                           [MAPS & SCHEDULES]
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                                     SCHEDULE 4.15(b)

                       Certain Environmental and Mining Obligations

1. Obligations Under 2011 Consent Decree Applicable to Acquired Mines. In 2011, Consol
   Energy Inc. (“Consol”) entered into a Consent Decree with the United States and the State of
   West Virginia titled “Consent Decree: United States, et al v. Consol Energy Inc. et al, Civil
   Action No. 1:11-CV-28, U.S. District Court, Northern District of West Virginia.” The
   Consent Decree settled allegations that Consol was in violation of the Federal Water
   Pollution Control Act, the West Virginia Water Pollution Control Act and the West Virginia
   Surface Coal Mining and Reclamation Act. The Consent Order required Consol to pay a
   civil penalty; to design, construct, and operate a wastewater treatment plant, landfill, and
   pipeline collection system for treatment of the Monongahela Basin Discharges; and to
   comply with certain interim treatment measures, monitoring requirements, and certain
   instream levels. As part of CCC Purchaser’s acquisition of the Acquired Business, CCC
   Purchaser will acquire the McElroy, Robinson Run, Shoemaker, Blacksville, and Loveridge
   Mines, and the Monongahela Basin Discharges Treatment System as defined in Paragraph
   9.j. of the Consent Decree, and the Shoemaker Mine pipeline to the Ohio River and diffuser
   that was constructed pursuant to Paragraphs 39 and 40 of the Consent Decree. CCC
   Purchaser expects to assume the responsibility to comply with the Consent Decree with
   respect to the aforementioned mines and facilities. CCC Purchaser will not acquire, and does
   not anticipate responsibility under the Consent Decree for, the original Windsor Mine
   NPDES Permit WV1011456 Outlet 001 and the new WVDEP NPDES Outlet 008 for the
   Windsor Mine pipeline discharge at the Ohio River. Consol notified the United States and
   the State of West Virginia that Consol desires to have the Consent Decree modified so that
   Consol and Windsor Coal Company are relieved of their obligations relating to all the
   facilities with waste streams covered by the Consent Decree, except for the Windsor Mine
   NPDES Permit WV1011456 Outlet 001 and the new WVDEP NPDES Outlet 008 for the
   discharge at the Ohio River. That request is pending.

2. Assumption of Environmental Liabilities of the Acquired Business. In connection with CCC
   Purchaser’s acquisition of Consolidation Coal Company, a Delaware corporation, Eighty-
   Four Mining Company, a Pennsylvania corporation, McElroy Coal Company, a Delaware
   corporation, Southern Ohio Coal Company, a West Virginia corporation, Central Ohio Coal
   Company, an Ohio corporation, Keystone Coal Mining Corporation, a Pennsylvania
   corporation, Mon River Towing, Inc., a Pennsylvania corporation, Twin Rivers Towing
   Company, a Delaware corporation, CCC RCPC LLC, a Delaware limited liability company,
   CCC Land Resources LLC, a Delaware limited liability company, pursuant to that certain
   Stock Purchase Agreement, dated as of October 25, 2013, among CONSOL Energy Inc., a
   Delaware corporation, CCC Purchaser, CCC Company, and solely for purposes of Section
   5.14, Section 6.03 and Section 11.16 thereof, Borrower, as amended), CCC Purchaser has
   assumed approximately $149 million in environmental liabilities of the acquired business.
   These liabilities are principally mine closure and reclamation obligations and water treatment
   obligations.
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                              SCHEDULE 4.21

                   Broker’s or Finder’s Fees or Commissions

None.
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                                     SCHEDULE 5.16

                                 Post-Closing Covenants

  1. Within ninety (90) days following the Closing Date (as such period may be extended by
     Administrative Agent in its sole discretion), Administrative Agent and Collateral Trustee
     shall have received from Borrower and each applicable Guarantor:

         a. fully executed and notarized amendments to the Mortgages encumbering the
            Closing Date Mortgaged Properties previously delivered by Borrower and each
            applicable Guarantor in favor of Collateral Trustee (the “Mortgage
            Amendments”);

         b. an opinion of counsel (which counsel shall be reasonably satisfactory to
            Administrative Agent) in each state in which the applicable mortgagor is
            organized (covering the due authorization, execution and delivery of the
            Mortgage Amendments) and in which the real property subject thereto is located
            (with respect to the enforceability of the form(s) of Mortgage Amendments to be
            recorded in such state and such other matters as Administrative Agent may
            reasonably request), in each case in form and substance reasonably satisfactory to
            Administrative Agent and Collateral Trustee; and

         c. (i) a completed Flood Certificate with respect to the real property subject to the
            Mortgage Amendments, which Flood Certificate shall (x) be addressed to
            Collateral Trustee and (y) otherwise comply with the Flood Program; (ii) if the
            Flood Certificate states that such real property is located in a Flood Zone,
            Borrower’s written acknowledgment of receipt of written notification from
            Collateral Trustee (x) as to the existence of such real property and (y) as to
            whether the community in which each such real property is located is
            participating in the Flood Program; and (iii) if such real property is located in a
            Flood Zone and is located in a community that participates in the Flood Program,
            evidence that Borrower has obtained a policy of flood insurance that is in
            compliance with all applicable requirements of the Flood Program.

  2. Within thirty (30) days following the Closing Date (as such period may be extended by
     Administrative Agent in its sole discretion), Borrower shall deliver, or cause to be
     delivered, to Administrative Agent and Collateral Trustee insurance certificates and
     endorsements for each property and liability policy (including, without limitation,
     general, umbrella, automobile and environmental site liability) maintained by Borrower
     and its Restricted Subsidiaries, in each case in form and substance substantially
     consistent with the certificates and endorsements delivered to Collateral Trustee in
     connection with the financing transactions closed December 5, 2013.

  3. Within five (5) days following the Closing Date (as such period may be extended by
     Administrative Agent in its sole discretion), Borrower shall deliver, or cause to be
     delivered, to Collateral Trustee original stock powers with respect to 100% of the Equity
     Interests of each of The Ohio County Coal Company, The Marshall County Coal
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     Company, The Monongalia County Coal Company, The Marion County Coal Company,
     The Harrison County Coal Company, Murray American Coal, Inc., The McLean County
     Coal Company, Murray Equipment & Machine, Inc. and Murray American Kentucky
     Towing, Inc.

  4. Within ten (10) Business Days following the Closing Date (as such period may be
     extended by Administrative Agent in its sole discretion), Borrower shall deliver, or cause
     to be delivered, to Collateral Trustee the original promissory note and note power
     representing the Fixed Rate Term Note, dated as of October 13, 2000, issued by CEO,
     LLC in favor of The Ohio Valley Coal Company in the original principal amount of
     $3,800,000.

  5. Within ten (10) Business Days following the Closing Date (as such period may be
     extended by Administrative Agent in its sole discretion), Borrower shall properly record,
     or cause to be properly recorded, in favor of Collateral Agent, UCC-1 as-extracted
     collateral financing statements with respect to properties located in Washington County,
     Pennsylvania.

  6. Within ten (10) Business Days following the Closing Date (as such period may be
     extended by the Administrative Agent in its sole discretion), Borrower shall deliver, or
     cause to be delivered, to the Administrative Agent a good standing certificate from the
     applicable Governmental Authority of the State of Oklahoma, dated as of the date of the
     delivery thereof or a recent date prior thereto, with respect to the The Oklahoma Coal
     Company.




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                                      SCHEDULE 6.1

                                   Certain Indebtedness

  1. Capital Lease Obligations in existence as of the Closing Date with respect to leased
     vehicles, in an aggregate amount not exceeding $500,000.




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                                      SCHEDULE 6.2

                                        Certain Liens



Liens securing Indebtedness permitted under item 1 of Schedule 6.1
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                                       SCHEDULE 6.6

                                    Certain Investments

  1. Schedule 4.2 is hereby incorporated by reference as if fully set forth herein.

  2. At December 31, 2014 and 2013, the Company has outstanding notes receivable due
     from various employees. The notes receivable mature at various dates through December
     31, 2040, and earn fixed rate interest ranging from 0.25% to 5.0%.
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                                                                                 EXHIBIT A-1 TO
                                                               CREDIT AND GUARANTY AGREEMENT

                                              FUNDING NOTICE

       Reference is made to the Credit and Guaranty Agreement, dated as of April 16, 2015 (as
it may be amended, restated, supplemented or otherwise modified, the “Credit Agreement”; the
terms defined therein and not otherwise defined herein being used herein as therein defined), by
and among MURRAY ENERGY CORPORATION, an Ohio corporation, MURRAY
ENERGY HOLDINGS CO., a Delaware corporation, certain Subsidiaries of Borrower, as
Guarantors, the Lenders party thereto from time to time, DEUTSCHE BANK SECURITIES
INC. and GOLDMAN SACHS BANK USA, as Joint Lead Arrangers and Joint Bookrunners,
GOLDMAN SACHS BANK USA, as Sole Syndication Agent, and DEUTSCHE BANK AG
NEW YORK BRANCH, as Administrative Agent.

       Pursuant to Section 2.1 of the Credit Agreement, Borrower desires that Lenders make the
following Loans to Borrower in accordance with the applicable terms and conditions of the
Credit Agreement on April 16, 2015 (the “Credit Date”):

          Term B-1 Loans

                     Base Rate Loans:                                                      $[___,___,___]

                     Eurodollar Rate Loans, with an initial Interest Period
                     of ________ [1][2][3][6][12] [month(s)] [2 weeks] 1:   $[___,___,___]


          Term B-2 Loans

                     Base Rate Loans:                                                      $[___,___,___]

                     Eurodollar Rate Loans, with an initial Interest Period
                     of ________ [1][2][3][6][12] [month(s)] [2 weeks] 2:   $[___,___,___]




1
      2 weeks and 12 months options only if available to and not prohibited by customary lending policies applicable
      to similar credits of all Lenders. Interest Period shall be no longer than one month until the earlier of (a) the
      date on which Syndication Agent notifies Borrower that the primary syndication has been completed and (b) 90
      days after the Closing Date.
2
      2 weeks and 12 months options only if available to and not prohibited by customary lending policies applicable
      to similar credits of all Lenders. Interest Period shall be no longer than one month until the earlier of (a) the
      date on which Syndication Agent notifies Borrower that the primary syndication has been completed and (b) 90
      days after the Closing Date.


                                                  EXHIBIT A-1-1
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Date: April [__], 2015                MURRAY ENERGY CORPORATION


                                      By: ___________________________________
                                      Name:
                                      Title:




                               EXHIBIT A-1-2
#4818-6234-1640v5
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                                                                                 EXHIBIT A-2 TO
                                                               CREDIT AND GUARANTY AGREEMENT

                               CONVERSION/CONTINUATION NOTICE

       Reference is made to the Credit and Guaranty Agreement, dated as of April 16, 2015 (as
it may be amended, restated, supplemented or otherwise modified, the “Credit Agreement”; the
terms defined therein and not otherwise defined herein being used herein as therein defined), by
and among MURRAY ENERGY CORPORATION, an Ohio corporation, MURRAY
ENERGY HOLDINGS CO., a Delaware corporation, certain Subsidiaries of Borrower, as
Guarantors, the Lenders party thereto from time to time, DEUTSCHE BANK SECURITIES
INC. and GOLDMAN SACHS BANK USA, as Joint Lead Arrangers and Joint Bookrunners,
GOLDMAN SACHS BANK USA, as Sole Syndication Agent, and DEUTSCHE BANK AG
NEW YORK BRANCH, as Administrative Agent.

       Pursuant to Section 2.9 of the Credit Agreement, Borrower desires to convert or to
continue the following Loans, such conversion and/or continuation to be effective as of [_____
__], 20[__]:

          1. Term B-1 Loans:

                   $[___,___,___]            Eurodollar Rate Loans to be continued with Interest Period
                                             of [1][2][3][6][12] [month(s)] [2 weeks] 3

                   $[___,___,___]            Base Rate Loans to be converted to Eurodollar Rate Loans
                                             with Interest Period of [1][2][3][6][12] [month(s)] [2
                                             weeks] 4

                   $[___,___,___]            Eurodollar Rate Loans to be converted to Base Rate Loans



          2. Term B-2 Loans:


                   $[___,___,___]            Eurodollar Rate Loans to be continued with Interest Period
                                             of [1][2][3][6][12] [month(s)] [2 weeks] 5



3
      2 weeks and 12 months options only if available to and not prohibited by customary lending policies applicable
      to similar credits of all Lenders. Interest Period shall be no longer than one month until the earlier of (a) the
      date on which Syndication Agent notifies Borrower that the primary syndication has been completed and (b) 90
      days after the Closing Date.
4
      2 weeks and 12 months options only if available to and not prohibited by customary lending policies applicable
      to similar credits of all Lenders. Interest Period shall be no longer than one month until the earlier of (a) the
      date on which Syndication Agent notifies Borrower that the primary syndication has been completed and (b) 90
      days after the Closing Date.


                                                  EXHIBIT A-2-1
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                    $[___,___,___]           Base Rate Loans to be converted to Eurodollar Rate Loans
                                             with Interest Period of [1][2][3][6][12] [month(s)] [2
                                             weeks] 6

                    $[___,___,___]           Eurodollar Rate Loans to be converted to Base Rate Loans




Date: [_____ __], 20[__]                                    MURRAY ENERGY CORPORATION


                                                            By: ___________________________________
                                                            Name:
                                                            Title:




5
      2 weeks and 12 months options only if available to and not prohibited by customary lending policies applicable
      to similar credits of all Lenders. Interest Period shall be no longer than one month until the earlier of (a) the
      date on which Syndication Agent notifies Borrower that the primary syndication has been completed and (b) 90
      days after the Closing Date.
6
      2 weeks and 12 months options only if available to and not prohibited by customary lending policies applicable
      to similar credits of all Lenders. Interest Period shall be no longer than one month until the earlier of (a) the
      date on which Syndication Agent notifies Borrower that the primary syndication has been completed and (b) 90
      days after the Closing Date.
                                                  EXHIBIT A-2-2
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                                                                     EXHIBIT B-1 TO
                                                   CREDIT AND GUARANTY AGREEMENT

                                   TERM B-1 LOAN NOTE
$[_________]
[_____ __], 2015                                                      New York, New York
       FOR VALUE RECEIVED, MURRAY ENERGY CORPORATION, an Ohio
corporation (“Borrower”), promises to pay [NAME OF LENDER] (“Payee”) or its registered
assigns the principal amount of [_______] DOLLARS ($[______]) in the installments referred to
below.

        Borrower also promises to pay interest on the unpaid principal amount hereof, from the
date hereof until paid in full, at the rates and at the times which shall be determined in
accordance with the provisions of that certain Credit and Guaranty Agreement, dated as of April
16, 2015 (as it may be amended, restated, supplemented or otherwise modified, the “Credit
Agreement”; the terms defined therein and not otherwise defined herein being used herein as
therein defined), by and among Borrower, MURRAY ENERGY HOLDINGS CO., a Delaware
corporation, certain Subsidiaries of Borrower, as Guarantors, the Lenders party thereto from time
to time, DEUTSCHE BANK SECURITIES INC. and GOLDMAN SACHS BANK USA, as
Joint Lead Arrangers and Joint Bookrunners, GOLDMAN SACHS BANK USA, as Sole
Syndication Agent, and DEUTSCHE BANK AG NEW YORK BRANCH, as Administrative
Agent.

       Borrower shall make scheduled principal payments on this Note as set forth in
Section 2.12 of the Credit Agreement.

        This Note is one of the “Term B-1 Loan Notes” and is issued pursuant to and entitled to
the benefits of the Credit Agreement, to which reference is hereby made for a more complete
statement of the terms and conditions under which the Term Loan evidenced hereby was made
and is to be repaid.

        All payments of principal and interest in respect of this Note shall be made in lawful
money of the United States of America in same day funds at the Principal Office of
Administrative Agent or at such other place as shall be designated in writing for such purpose in
accordance with the terms of the Credit Agreement. Unless and until an Assignment Agreement
effecting the assignment or transfer of the obligations evidenced hereby shall have been accepted
by Administrative Agent and recorded in the Register, Borrower, each Agent and Lenders shall
be entitled to deem and treat Payee as the owner and holder of this Note and the obligations
evidenced hereby. Payee hereby agrees, by its acceptance hereof, that before disposing of this
Note or any part hereof it will make a notation hereon of all principal payments previously made
hereunder and of the date on which interest hereon has been paid; provided, the failure to make a
notation of any payment made on this Note shall not limit or otherwise affect the obligations of
Borrower hereunder with respect to payments of principal of or interest on this Note.

      This Note is subject to mandatory prepayment and to prepayment at the option of
Borrower, each as provided in the Credit Agreement.



                                        EXHIBIT B-1-1
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     THIS NOTE AND THE RIGHTS AND OBLIGATIONS OF BORROWER AND
PAYEE HEREUNDER SHALL BE GOVERNED BY, AND SHALL BE CONSTRUED AND
ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK
WITHOUT REGARD TO CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD
RESULT IN THE APPLICATION OF ANY LAW OTHER THAN THE LAW OF THE STATE
OF NEW YORK.

        Upon the occurrence of an Event of Default, the unpaid balance of the principal amount
of this Note, together with all accrued and unpaid interest thereon, may become, or may be
declared to be, due and payable in the manner, upon the conditions and with the effect provided
in the Credit Agreement.

       The terms of this Note are subject to amendment only in the manner provided in the
Credit Agreement.

        No reference herein to the Credit Agreement and no provision of this Note or the Credit
Agreement shall alter or impair the obligations of Borrower, which are absolute and
unconditional, to pay the principal of and interest on this Note at the place, at the respective
times, and in the currency herein prescribed.

        Borrower promises to pay all costs and expenses, including reasonable and documented
out-of-pocket attorneys’ fees, all as provided in the Credit Agreement, incurred in the collection
and enforcement of this Note. Borrower and any endorsers of this Note hereby consent to
renewals and extensions of time at or after the maturity hereof, without notice, and hereby waive
diligence, presentment, protest, demand notice of every kind and, to the extent permitted by
applicable law, the right to plead any statute of limitations as a defense to any demand hereunder.

                           [Remainder of page intentionally left blank]




                                         EXHIBIT B-1-2
CH\2055450.10
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        IN WITNESS WHEREOF, Borrower has caused this Note to be duly executed and
delivered by its officer thereunto duly authorized as of the date and at the place first written
above.

                                            MURRAY ENERGY CORPORATION


                                            By: ______________________________
                                            Name:
                                            Title:




                                       EXHIBIT B-1-3
CH\2055450.10
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                                                                     EXHIBIT B-2 TO
                                                   CREDIT AND GUARANTY AGREEMENT

                                   TERM B-2 LOAN NOTE
$[_________]
[_____ __], 2015                                                      New York, New York
       FOR VALUE RECEIVED, MURRAY ENERGY CORPORATION, an Ohio
corporation (“Borrower”), promises to pay [NAME OF LENDER] (“Payee”) or its registered
assigns the principal amount of [_______] DOLLARS ($[______]) in the installments referred to
below.

        Borrower also promises to pay interest on the unpaid principal amount hereof, from the
date hereof until paid in full, at the rates and at the times which shall be determined in
accordance with the provisions of that certain Credit and Guaranty Agreement, dated as of April
16, 2015 (as it may be amended, restated, supplemented or otherwise modified, the “Credit
Agreement”; the terms defined therein and not otherwise defined herein being used herein as
therein defined), by and among Borrower, MURRAY ENERGY HOLDINGS CO., a Delaware
corporation, certain Subsidiaries of Borrower, as Guarantors, the Lenders party thereto from time
to time, DEUTSCHE BANK SECURITIES INC. and GOLDMAN SACHS BANK USA, as
Joint Lead Arrangers and Joint Bookrunners, GOLDMAN SACHS BANK USA, as Sole
Syndication Agent, and DEUTSCHE BANK AG NEW YORK BRANCH, as Administrative
Agent.

       Borrower shall make scheduled principal payments on this Note as set forth in
Section 2.12 of the Credit Agreement.

        This Note is one of the “Term B-2 Loan Notes” and is issued pursuant to and entitled to
the benefits of the Credit Agreement, to which reference is hereby made for a more complete
statement of the terms and conditions under which the Term Loan evidenced hereby was made
and is to be repaid.

        All payments of principal and interest in respect of this Note shall be made in lawful
money of the United States of America in same day funds at the Principal Office of
Administrative Agent or at such other place as shall be designated in writing for such purpose in
accordance with the terms of the Credit Agreement. Unless and until an Assignment Agreement
effecting the assignment or transfer of the obligations evidenced hereby shall have been accepted
by Administrative Agent and recorded in the Register, Borrower, each Agent and Lenders shall
be entitled to deem and treat Payee as the owner and holder of this Note and the obligations
evidenced hereby. Payee hereby agrees, by its acceptance hereof, that before disposing of this
Note or any part hereof it will make a notation hereon of all principal payments previously made
hereunder and of the date on which interest hereon has been paid; provided, the failure to make a
notation of any payment made on this Note shall not limit or otherwise affect the obligations of
Borrower hereunder with respect to payments of principal of or interest on this Note.

      This Note is subject to mandatory prepayment and to prepayment at the option of
Borrower, each as provided in the Credit Agreement.



                                        EXHIBIT B-2-1
CH\2055450.10
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     THIS NOTE AND THE RIGHTS AND OBLIGATIONS OF BORROWER AND
PAYEE HEREUNDER SHALL BE GOVERNED BY, AND SHALL BE CONSTRUED AND
ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK
WITHOUT REGARD TO CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD
RESULT IN THE APPLICATION OF ANY LAW OTHER THAN THE LAW OF THE STATE
OF NEW YORK.

        Upon the occurrence of an Event of Default, the unpaid balance of the principal amount
of this Note, together with all accrued and unpaid interest thereon, may become, or may be
declared to be, due and payable in the manner, upon the conditions and with the effect provided
in the Credit Agreement.

       The terms of this Note are subject to amendment only in the manner provided in the
Credit Agreement.

        No reference herein to the Credit Agreement and no provision of this Note or the Credit
Agreement shall alter or impair the obligations of Borrower, which are absolute and
unconditional, to pay the principal of and interest on this Note at the place, at the respective
times, and in the currency herein prescribed.

        Borrower promises to pay all costs and expenses, including reasonable and documented
out-of-pocket attorneys’ fees, all as provided in the Credit Agreement, incurred in the collection
and enforcement of this Note. Borrower and any endorsers of this Note hereby consent to
renewals and extensions of time at or after the maturity hereof, without notice, and hereby waive
diligence, presentment, protest, demand notice of every kind and, to the extent permitted by
applicable law, the right to plead any statute of limitations as a defense to any demand hereunder.

                           [Remainder of page intentionally left blank]




                                         EXHIBIT B-2-2
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        IN WITNESS WHEREOF, Borrower has caused this Note to be duly executed and
delivered by its officer thereunto duly authorized as of the date and at the place first written
above.

                                            MURRAY ENERGY CORPORATION


                                            By: ______________________________
                                            Name:
                                            Title:




                                       EXHIBIT B-2-3
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                                                                                   EXHIBIT D TO
                                                                CREDIT AND GUARANTY AGREEMENT

                              ASSIGNMENT AND ASSUMPTION AGREEMENT
          This Assignment and Assumption Agreement (this “Assignment”) is dated as of the Effective Date set
forth below and is entered into by and between [Insert name of Assignor] (the “Assignor”) and [Insert name of
Assignee] (the “Assignee”). Capitalized terms used but not defined herein shall have the meanings given to them in
the Credit Agreement identified below (as it may be amended, restated, supplemented or otherwise modified from
time to time, the “Credit Agreement”), receipt of a copy of which is hereby acknowledged by the Assignee. The
Standard Terms and Conditions set forth in Annex 1 attached hereto are hereby agreed to and incorporated herein by
reference and made a part of this Assignment as if set forth herein in full.

           For an agreed consideration, the Assignor hereby irrevocably sells and assigns to the Assignee, and the
Assignee hereby irrevocably purchases and assumes from the Assignor, subject to and in accordance with the
Standard Terms and Conditions and the Credit Agreement, as of the Effective Date inserted by the Administrative
Agent as contemplated below, (i) all of the Assignor’s rights and obligations in its capacity as a Lender under the
Credit Agreement and any other documents or instruments delivered pursuant thereto to the extent related to the
amount and percentage interest identified below of all of the Assignor’s outstanding rights and obligations under the
respective facilities identified below (including without limitation any guarantees included in such facilities), and
(ii) to the extent permitted to be assigned under applicable law, all claims, suits, causes of action and any other right
of the Assignor (in its capacity as a Lender) against any Person, whether known or unknown, arising under or in
connection with the Credit Agreement, any other documents or instruments delivered pursuant thereto or the loan
transactions governed thereby or in any way based on or related to any of the foregoing, including, but not limited
to, contract claims, tort claims, malpractice claims, statutory claims and all other claims at law or in equity related to
the rights and obligations sold and assigned pursuant to clause (i) above (the rights and obligations sold and assigned
by the Assignor to the Assignee pursuant to clauses (i) and (ii) above being referred to herein collectively as the
“Assigned Interest”). Such sale and assignment is without recourse to the Assignor and, except as expressly
provided in this Assignment, without representation or warranty by the Assignor.

1.              Assignor:               ______________________

2.              Assignee: 1             ______________________ [and is an Affiliate/Related Fund 2 of [identify
                                        Lender]] [Assignor is not a Defaulting Lender]

                                        Markit Entity Identifier (if any): ______________________

3.              Borrower:               Murray Energy Corporation, an Ohio corporation

4.              Administrative Agent:   DEUTSCHE BANK AG NEW YORK BANK, as the administrative agent
                                        under the Credit Agreement

5.              Credit Agreement:       The $2,000,000,000 Credit and Guaranty Agreement dated as of April 16,
                                        2015 among Murray Energy Corporation, as Borrower, Murray Energy
                                        Holdings Co., the Lenders parties thereto, DEUTSCHE BANK AG NEW
                                        YORK BRANCH, as Administrative Agent, and the other agents parties
                                        thereto



1
      Note: Assignments to Borrower or any Affiliated Lender should be documented using an Affiliate Assignment
      Agreement.
2
      Select as applicable.


                                                   EXHIBIT D-1
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6.              Assigned Interest[s]:


                                    Aggregate Amount of                    Amount of
                                  Commitment/Loans for all              Commitment/Loans              Percentage Assigned of
     Facility Assigned                    Lenders                           Assigned                   Commitment/Loans 3
      ____________ 4                 $______________                    $______________                  ____________%

      ____________                      $______________                 $______________                   ____________%

      ____________                      $______________                 $______________                   ____________%


Effective Date: ______________, 20__ [TO BE INSERTED BY ADMINISTRATIVE AGENT AND WHICH
SHALL BE THE EFFECTIVE DATE OF RECORDATION OF TRANSFER IN THE REGISTER THEREFOR.]

7.         Notice and Wire Instructions:

     [NAME OF ASSIGNOR]                                             [NAME OF ASSIGNEE]

     Notices:                                                       Notices:

                _________________________                                      _________________________
                _________________________                                      _________________________
                _________________________                                      _________________________
                Attention:                                                     Attention:
                Telecopier:                                                    Telecopier:

      with a copy to:                                               with a copy to:
               _________________________                                     _________________________
               _________________________                                     _________________________
               _________________________                                     _________________________
               Attention:                                                    Attention:
               Telecopier:                                                   Telecopier:

      Wire Instructions:                                            Wire Instructions:


           The terms set forth in this Assignment are hereby agreed to:


                                                             ASSIGNOR
                                                             [NAME OF ASSIGNOR]

                                                             By:_______________________
                                                             Title:




3
      Set forth, to at least 9 decimals, as a percentage of the Commitment/Loans of all Lenders thereunder.
4
      Fill in the appropriate terminology for the types of facilities under the Credit Agreement that are being assigned under this
      Assignment (e.g. “Term Loan Commitment”, “Term Loan”, “New Term Loan”, etc.). For any New Term Loan, include the
      Series.


                                                        EXHIBIT D-2
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                                                            ASSIGNEE
                                                            [NAME OF ASSIGNEE]

                                                            By:_______________________
                                                            Title:

[Consented to and] 5 Accepted:

DEUTSCHE BANK AG NEW YORK BRANCH, as
  Administrative Agent

By:_______________________
Title:

[Consented to:] 6

MURRAY ENERGY CORPORATION

By:_______________________
Title:




5
      To be added only if the consent of the Administrative Agent is required by the terms of the Credit Agreement.
6
      To be added only if the consent of Borrower is required by the terms of the Credit Agreement.



                                                       EXHIBIT D-3
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                                                                                                        ANNEX 1

                  STANDARD TERMS AND CONDITIONS FOR ASSIGNMENT
                           AND ASSUMPTION AGREEMENT

1.       Representations and Warranties.

         1.1     Assignor. The Assignor (a) represents and warrants that (i) it is the legal and beneficial owner of
                 the Assigned Interest, (ii) the Assigned Interest is free and clear of any lien, encumbrance or other
                 adverse claim, (iii) it has full power and authority, and has taken all action necessary, to execute
                 and deliver this Assignment and to consummate the transactions contemplated hereby and (iv) it is
                 not a Defaulting Lender; and (b) except as provided in clause (a), assumes no responsibility with
                 respect to (i) any statements, warranties or representations made in or in connection with any
                 Credit Document, (ii) the execution, legality, validity, enforceability, genuineness, sufficiency or
                 value of the Credit Agreement or any other instrument or document delivered pursuant thereto,
                 other than this Assignment (herein collectively the “Credit Documents”), or any collateral
                 thereunder, (iii) the financial condition of Borrower, any of its Subsidiaries or Affiliates or any
                 other Person obligated in respect of any Credit Document or (iv) the performance or observance
                 by Borrower, any of its Subsidiaries or Affiliates or any other Person of any of their respective
                 obligations under any Credit Document.

         1.2     Assignee. The Assignee (a) represents and warrants that (i) it has full power and authority, and
                 has taken all action necessary, to execute and deliver this Assignment and to consummate the
                 transactions contemplated hereby and to become a Lender under the Credit Agreement, (ii) it
                 meets all requirements of an Eligible Assignee under the Credit Agreement, (iii) from and after the
                 Effective Date, it shall be bound by the provisions of the Credit Agreement and, to the extent of
                 the Assigned Interest, shall have the obligations of a Lender thereunder, (iv) it is sophisticated
                 with respect to decisions to acquire assets of the type represented by the Assigned Interest and
                 either it, or the Person exercising discretion in making its decision to acquire the Assigned
                 Interest, is experienced in acquiring assets of such type, (v) it has received a copy of the Credit
                 Agreement, and has received or has been accorded the opportunity to receive copies of the most
                 recent financial statements delivered pursuant to Section 5.1 thereof, as applicable, and such other
                 documents and information as it deems appropriate to make its own credit analysis and decision to
                 enter into this Assignment and to purchase the Assigned Interest, (vi) it has, independently and
                 without reliance upon Administrative Agent or any other Lender and based on such documents
                 and information as it has deemed appropriate, made its own credit analysis and decision to enter
                 into this Assignment and to purchase the Assigned Interest, and (vii) if it is a Non-US Lender,
                 attached to this Assignment is any documentation required to be delivered by it pursuant to the
                 terms of the Credit Agreement, duly completed and executed by the Assignee; and (b) agrees that
                 (i) it will, independently and without reliance on Administrative Agent, the Assignor or any other
                 Lender, and based on such documents and information as it shall deem appropriate at the time,
                 continue to make its own credit decisions in taking or not taking action under the Credit
                 Documents, and (ii) it will perform in accordance with their terms all of the obligations which by
                 the terms of the Credit Documents are required to be performed by it as a Lender.

2.       Payments. All payments with respect to the Assigned Interests shall be made on the Effective Date as
         follows:

         2.1     From and after the Effective Date, Administrative Agent shall make all payments in respect of the
                 Assigned Interest (including payments of principal, interest, fees and other amounts) to the
                 Assignor for amounts which have accrued to but excluding the Effective Date and to the Assignee
                 for amounts which have accrued from and after the Effective Date. Notwithstanding the
                 foregoing, Administrative Agent shall make all payments of interest, fees or other amounts paid or
                 payable in kind from and after the Effective Date to the Assignee.


                                                 EXHIBIT D-4
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3.       General Provisions. This Assignment shall be binding upon, and inure to the benefit of, the parties hereto
         and their respective successors and assigns. This Assignment may be executed in any number of
         counterparts, which together shall constitute one instrument. Delivery of an executed counterpart of a
         signature page of this Assignment by telecopy or other electronic transmission shall be effective as delivery
         of a manually executed counterpart of this Assignment. This Assignment shall be governed by, and shall
         be construed and enforced in accordance with, the laws of the State of New York without regard to conflict
         of laws principles thereof that would result in the application of any law other than the law of the State of
         New York.

                                    [Remainder of page intentionally left blank]




                                                  EXHIBIT D-5
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                                                                     EXHIBIT E TO
                                                  CREDIT AND GUARANTY AGREEMENT

                         CERTIFICATE RE NON BANK STATUS

       Reference is made to the Credit and Guaranty Agreement, dated as of April 16, 2015 (as
it may be amended, supplemented or otherwise modified, the “Credit Agreement”; the terms
defined therein and not otherwise defined herein being used herein as therein defined), by and
among MURRAY ENERGY CORPORATION, an Ohio corporation, MURRAY ENERGY
HOLDINGS CO., a Delaware corporation, certain Subsidiaries of Borrower, as Guarantors, the
Lenders party thereto from time to time, DEUTSCHE BANK SECURITIES INC. and
GOLDMAN SACHS BANK USA, as Joint Lead Arrangers and Joint Bookrunners,
GOLDMAN SACHS BANK USA, as Sole Syndication Agent, and DEUTSCHE BANK AG
NEW YORK BRANCH, as Administrative Agent. Pursuant to Section 2.20(d) of the Credit
Agreement, the undersigned hereby certifies that it is not a “bank” or other Person described in
Section 881(c)(3) of the Internal Revenue Code of 1986, as amended.

                                            [NAME OF LENDER]

                                            By: ____________________________
                                            Name:
                                            Title:




                                         EXHIBIT E-1
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                                                                       EXHIBIT F TO
                                                    CREDIT AND GUARANTY AGREEMENT

                               CLOSING DATE CERTIFICATE

                                          April 16, 2015

         THE UNDERSIGNED HEREBY CERTIFY AS FOLLOWS:

    1.   We are, respectively, the chief executive officer and the chief financial officer of
MURRAY ENERGY HOLDINGS CO., a Delaware corporation (“Holdings”), and MURRAY
ENERGY CORPORATION, an Ohio corporation (“Borrower”).

        2.      We have reviewed the terms of Section 3 of the Credit and Guaranty Agreement,
dated as of the date hereof (as it may be amended, restated, supplemented or otherwise modified,
the “Credit Agreement”; the terms defined therein and not otherwise defined herein being used
herein as therein defined), by and among Borrower, Holdings, certain Subsidiaries of Borrower,
as Guarantors, the Lenders party thereto from time to time, DEUTSCHE BANK SECURITIES
INC. and GOLDMAN SACHS BANK USA, as Joint Lead Arrangers and Joint Bookrunners,
GOLDMAN SACHS BANK USA, as Sole Syndication Agent, and DEUTSCHE BANK AG
NEW YORK BRANCH, as Administrative Agent, and the definitions and provisions contained
in the Credit Agreement relating thereto, and, in each case, in our opinion we have made, or have
caused to be made under our supervision, such examination or investigation as is necessary to
enable us to express an informed opinion as to the matters referred to herein.

       3.      Based upon our review and examination described in paragraph 2 above, we, each
acting as an officer of the Borrower but not in any personal capacity, certify, on behalf of
Borrower, that as of the date hereof:

                 (i)     the Transactions contemplated by the Related Agreements have become
         effective in accordance with the terms of the Related Agreements;

                 (ii)  since December 31, 2014, no event, change or circumstance has occurred
         that has caused or would reasonably be expected to cause, either individually or in the
         aggregate, a Material Adverse Effect;

                  (iii) pro forma for the Closing Date Acquisition, repayment of Indebtedness
         and other obligations under the Existing Term Loan Agreement and the transactions
         contemplated by the Related Agreements, Borrower and its Restricted Subsidiaries have
         no outstanding third party indebtedness for borrowed money other than (a) under the
         Credit Agreement, the Revolving Credit Agreement and the Senior Secured Notes, (b)
         replacements, extensions and renewals of existing indebtedness that matures prior to the
         Closing Date, (c) ordinary course capital leases, (d) ordinary course letter of credit
         facilities, (e) ordinary course purchase money, mortgage and equipment financings, (f)
         indebtedness permitted under the Credit Agreement and (g) other debt in amounts and on
         terms and conditions reasonably acceptable to the Administrative Agent;



                                          EXHIBIT F-1
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                (iv)   the Royalty Drop-Down Transaction has been consummated;

                 (v)    no event has occurred and is continuing or will result from the
         consummation of the transactions contemplated by the Related Agreements that would
         constitute a Default or an Event of Default; and

                 (vi)   the representations and warranties set forth in Section 4 of the Credit
         Agreement and in the other Credit Documents are true and correct in all material respects
         on and as of the Closing Date (both immediately prior to and after giving effect to the
         funding of the Term Loans) to the same extent as though made on and as of that date,
         except to the extent such representations and warranties specifically relate to an earlier
         date, in which case such representations and warranties were true and correct in all
         material respects on and as of such earlier date; provided that, in each case, such
         materiality qualifier shall not be applicable to any representations and warranties that
         already are qualified or modified by materiality in the text thereof.

        4.      Attached as Annex A hereto are true and complete (and, where applicable,
executed) copies of each of the Related Agreements and the material agreements executed in
connection therewith, the Foresight Acquisition Option Agreement, the Purchase and Sale
Agreement dated as of April 16, 2015, between American Century Transport LLC and American
Energy Corporation (including the exhibits and schedules thereto), the Lease Agreement dated as
of April 16, 2015, among American Century Transport LLC, American Energy Corporation and
the other parties thereto (including the exhibits and schedules thereto), the Overriding Royalty
Agreement dated as of April 16, 2015, between American Energy Corporation and American
Century Minerals LLC (including the exhibits and schedules thereto), and the Call and Put
Option Agreement dated as of April 16, 2015, between Colt LLC and the Borrower, each of
which is in full force and effect. We have reviewed the terms of each of such documents and in
our opinion we have made, or have caused to be made under our supervision, such examination
or investigation as is necessary to enable us to express an informed opinion as to the matters
referred to in paragraph 3.




                                           EXHIBIT F-2
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         The foregoing certifications are made and delivered as of the date first written above.



                                               MURRAY ENERGY HOLDINGS CO.



                                               _______________________
                                               Name:
                                               Title: Chief Executive Officer




                                               MURRAY ENERGY CORPORATION




                                               ________________________
                                               Name:
                                               Title: Chief Financial Officer




                                           EXHIBIT F-3
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                                                                          EXHIBIT G TO
                                                       CREDIT AND GUARANTY AGREEMENT

                                 COUNTERPART AGREEMENT

       This COUNTERPART AGREEMENT, dated [_____ __], 20[__] (this “Counterpart
Agreement”) is delivered pursuant to that certain Credit and Guaranty Agreement, dated as of
April 16, 2015 (as it may be amended, restated, supplemented or otherwise modified, the
“Credit Agreement”; the terms defined therein and not otherwise defined herein being used
herein as therein defined), by and among MURRAY ENERGY CORPORATION, an Ohio
corporation, MURRAY ENERGY HOLDINGS CO., a Delaware corporation, certain
Subsidiaries of Borrower, as Guarantors, the Lenders party thereto from time to time,
DEUTSCHE BANK SECURITIES INC. and GOLDMAN SACHS BANK USA, as Joint
Lead Arrangers and Joint Bookrunners, GOLDMAN SACHS BANK USA, as Sole Syndication
Agent, and DEUTSCHE BANK AG NEW YORK BRANCH, as Administrative Agent.

         Section 1.     Pursuant to Section 5.10 of the Credit Agreement, the undersigned hereby:

               (a)    agrees that this Counterpart Agreement may be attached to the Credit
         Agreement and that by the execution and delivery hereof, the undersigned becomes a
         Guarantor under the Credit Agreement and agrees to be bound by all of the terms thereof;

                 (b)     represents and warrants that each of the representations and warranties set
         forth in the Credit Agreement and each other Credit Document and applicable to the
         undersigned is true and correct both before and after giving effect to this Counterpart
         Agreement, except to the extent that any such representation and warranty relates solely
         to any earlier date, in which case such representation and warranty is true and correct as
         of such earlier date; provided that, in each case, such materiality qualifier shall not be
         applicable to any representations and warranties that already are qualified or modified by
         materiality in the text thereof;

                 (c)    states that no event has occurred or is continuing as of the date hereof, or
         will result from the transactions contemplated hereby on the date hereof, that would
         constitute an Event of Default or a Default;

                 (d)    agrees to irrevocably and unconditionally guaranty the due and punctual
         payment in full of all Obligations when the same shall become due, whether at stated
         maturity, by required prepayment, declaration, acceleration, demand or otherwise
         (including amounts that would become due but for the operation of the automatic stay
         under Section 362(a) of the Bankruptcy Code, 11 U.S.C. § 362(a)) and in accordance
         with Section 7 of the Credit Agreement; and

                  (e)    (i) agrees that this counterpart may be attached to the Pledge and Security
         Agreement, (ii) agrees that the undersigned will comply with all the terms and conditions
         of the Pledge and Security Agreement as if it were an original signatory thereto,
         (iii) grants to Priority Lien Collateral Trustee (as defined in the Pledge and Security
         Agreement) a security interest in all of the undersigned’s right, title and interest in and to


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         all “Collateral” (as such term is defined in the Pledge and Security Agreement) of the
         undersigned, in each case whether now or hereafter existing or in which the undersigned
         now has or hereafter acquires an interest and wherever the same may be located and
         (iv) delivers to Collateral Trustee supplements to all schedules attached to the Pledge and
         Security Agreement. All such Collateral shall be deemed to be part of the “Collateral”
         and hereafter subject to each of the terms and conditions of the Pledge and Security
         Agreement.

       Section 2.       The undersigned agrees from time to time, upon reasonable request of
Administrative Agent, to take such additional actions and to execute and deliver such additional
documents and instruments as Administrative Agent or Collateral Trustee may reasonably
request to effect the transactions contemplated by, and to carry out the intent of, this Counterpart
Agreement. Neither this Counterpart Agreement nor any term hereof may be changed, waived,
discharged or terminated, except by an instrument in writing signed by the party (including, if
applicable, any party required to evidence its consent to or acceptance of this Counterpart
Agreement) against whom enforcement of such change, waiver, discharge or termination is
sought. Any notice or other communication herein required or permitted to be given shall be
given pursuant to Section 10.1 of the Credit Agreement, and all for purposes thereof, the notice
address of the undersigned shall be the address as set forth on the signature page hereof. In case
any provision in or obligation under this Counterpart Agreement shall be invalid, illegal or
unenforceable in any jurisdiction, the validity, legality and enforceability of the remaining
provisions or obligations, or of such provision or obligation in any other jurisdiction, shall not in
any way be affected or impaired thereby.

     THIS COUNTERPART AGREEMENT SHALL BE GOVERNED BY, AND SHALL
BE CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE
STATE OF NEW YORK WITHOUT REGARD TO CONFLICT OF LAWS PRINCIPLES
THEREOF THAT WOULD RESULT IN THE APPLICATION OF ANY LAW OTHER THAN
THE LAW OF THE STATE OF NEW YORK.

                            [Remainder of page intentionally left blank]




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       IN WITNESS WHEREOF, the undersigned has caused this Counterpart Agreement to
be duly executed and delivered by its duly authorized officer as of the date above first written.

                                            [NAME OF SUBSIDIARY]

                                            By:______________________
                                            Name:
                                            Title:

Address for Notices:

         ______________
         ______________
         ______________
         Attention:
         Telecopier

with a copy to:

         ______________
         ______________
         ______________
         Attention:
         Telecopier


ACKNOWLEDGED AND ACCEPTED,
as of the date above first written:

DEUTSCHE BANK AG NEW YORK BRANCH,
as Administrative Agent

By:_____________________
Name:
Title:

U.S. BANK NATIONAL ASSOCIATION,
as Collateral Trustee

By:_____________________
Name:
Title:




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                                                            EXHIBIT H TO
                                         CREDIT AND GUARANTY AGREEMENT


                   PLEDGE AND SECURITY AGREEMENT

                                [See attached]




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                                                          EXECUTION VERSION




               SECOND AMENDED AND RESTATED PRIORITY LIEN DEBT
                       PLEDGE AND SECURITY AGREEMENT



                             dated as of April 16, 2015


                                     between


                     EACH OF THE GRANTORS PARTY HERETO


                                        and

   U.S. BANK NATIONAL ASSOCIATION, AS PRIORITY LIEN COLLATERAL TRUSTEE




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                                                                             EXECUTION VERSION


                    This SECOND AMENDED AND RESTATED PRIORITY LIEN DEBT
  PLEDGE AND SECURITY AGREEMENT, dated as of April 16, 2015 (as it may be amended,
  restated, supplemented or otherwise modified from time to time, this “Agreement”), between
  Murray Energy Holdings Co., a Delaware corporation (“Holdings”), Murray Energy
  Corporation, an Ohio corporation (the “Borrower”) and each of the subsidiaries of the Borrower
  party hereto from time to time, whether as an original signatory hereto or as an Additional
  Grantor (as herein defined) (each, a “Grantor”), and U.S. Bank National Association, as
  collateral trustee for the Secured Parties (as herein defined) (in such capacity as collateral trustee,
  together with its successors and permitted assigns, the “Priority Lien Collateral Trustee”).

                                              RECITALS:

          WHEREAS, reference is made to that certain Credit and Guaranty Agreement, dated as
  of the date hereof (as it may be amended, restated, supplemented or otherwise modified from time
  to time, including any replacement thereof if such replacement credit agreement has been
  designated as “Priority Lien Debt” in accordance with Section 3.8 of the Collateral Trust
  Agreement, the “Credit Agreement”), by and among Borrower, Holdings, certain subsidiaries of
  the Borrower, as Guarantors, the Lenders party thereto from time to time, Deutsche Bank AG
  New York Branch, as Administrative Agent (in such capacity, together with its successors and
  permitted assigns, the “Administrative Agent”), and the other financial institutions party thereto;

         WHEREAS, subject to the terms and conditions of the Credit Agreement, certain
  Grantors have entered into and/or may enter into one or more Hedge Agreements with one or
  more Lender Counterparties;

          WHEREAS, subject to the terms and conditions of the Credit Agreement, certain
  Grantors have entered into and/or may enter into one or more Secured Commodities Agreements
  with one or more Commodities Hedge Providers;

          WHEREAS, subject to the terms and conditions of the Credit Agreement, certain
  Grantors have entered into and/or may enter into one or more Designated Coal Contracts with one
  or more Designated Coal Contract Counterparties;

          WHEREAS, in consideration of the extensions of credit and other accommodations of
  Lenders, Lender Counterparties, Commodities Hedge Providers and Designated Coal Contract
  Counterparties as set forth in the Credit Agreement, the Hedge Agreements, the Secured
  Commodities Agreements and the Designated Coal Contracts, respectively, each Grantor has
  agreed to secure (and, as applicable, continue to secure) such Grantor’s obligations under the
  Credit Documents, the Hedge Agreements, the Secured Commodities Agreements and the
  Designated Coal Contracts (other than, in each case, Excluded Hedge Obligations) as set forth
  herein;

          WHEREAS, reference is made to that certain Amended and Restated Collateral Trust
  Agreement (as amended, restated, supplemented or otherwise modified from time to time, the
  “Collateral Trust Agreement”), dated as of December 5, 2013, by and among the Borrower, the
  other Grantors from time to time party thereto, the Administrative Agent, The Bank of New York
  Mellon Trust Company, N.A., as trustee for the noteholders under the Senior Secured Notes
  Indenture, Goldman Sachs Bank USA, as Bridge Loan Administrative Agent (as defined therein),
  U.S. Bank National Association, as collateral trustee for the benefit of all Priority Lien Secured
  Parties and Parity Lien Secured Parties (as defined therein) (in such capacity, together with its




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  successors and permitted assigns, the “Collateral Trustee”), and the other parties from time to
  time party thereto;

          WHEREAS, reference is made to that certain Amended and Restated Intercreditor
  Agreement (as amended, restated, supplemented or otherwise modified from time to time, the
  “Intercreditor Agreement”), dated as of the date hereof, by and between Goldman Sachs Banks
  USA, as Revolving Agent, and the Collateral Trustee, and acknowledged by Borrower and the
  other Grantors from time to time party thereto;

          WHEREAS, in addition to the obligations under the Credit Agreement, the Hedge
  Agreements, the Secured Commodities Agreements and the Designated Coal Contracts referred
  to above, the Grantors may incur additional “Priority Lien Obligations” (as defined in the
  Collateral Trust Agreement) and each Grantor has agreed to secure (and, as applicable, continue
  to secure) such Grantor’s Priority Lien Obligations as set forth herein; and

           WHEREAS, this Agreement amends and restates that certain Amended and Restated
  Priority Lien Debt Pledge and Security Agreement dated as of December 5, 2013 (the “Existing
  Pledge and Security Agreement”) between Holdings, Borrower, each of the subsidiaries of the
  Borrower party thereto from time to time as a “Grantor” and U.S. Bank National Association, as
  collateral trustee for the Secured Parties (as defined therein).

           NOW, THEREFORE, in consideration of the premises and the agreements, provisions
  and covenants herein contained, and for other good and valuable consideration the receipt and
  sufficiency of which is hereby acknowledged, each Grantor and the Priority Lien Collateral
  Trustee agree to amend and restate the Existing Pledge and Security Agreement as follows:

  SECTION 1.     DEFINITIONS; GRANT OF SECURITY.

          1.1    General Definitions. In this Agreement, the following terms shall have the
  following meanings:

                 “ABL Collateral” shall have the meaning set forth in the Intercreditor
  Agreement.

                 “Additional Grantors” shall have the meaning assigned in Section 7.2.

                   “Act of Required Debtholders” shall have the meaning set forth in the
  Collateral Trust Agreement.

                 “Agreement” shall have the meaning set forth in the preamble.

                 “Borrower” shall have the meaning set forth in the preamble.

                 “Cash Proceeds” shall have the meaning assigned in Section 9.7.

                 “Collateral” shall have the meaning assigned in Section 2.1.

                   “Collateral Records” shall mean books, records, ledger cards, files,
  correspondence, customer lists, supplier lists, blueprints, technical specifications, manuals,
  computer software and related documentation, computer printouts, tapes, disks and other
  electronic storage media and related data processing software and similar items that at any time

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  evidence or contain information relating to any of the Collateral or are otherwise necessary or
  helpful in the collection thereof or realization thereupon.

                 “Collateral Support” shall mean all property (real or personal) assigned,
  hypothecated or otherwise securing any Collateral and shall include any security agreement or
  other agreement granting a lien or security interest in such real or personal property.

                   “Collateral Trust Agreement” shall have the meaning set forth in the recitals.

                   “Collateral Trustee” shall have the meaning set forth in the recitals.

                   “Control” shall mean: (1) with respect to any Deposit Accounts, control within
  the meaning of Section 9-104 of the UCC, (2) with respect to any Securities Accounts, Security
  Entitlements, Commodity Contract or Commodity Account, control within the meaning of
  Section 9-106 of the UCC, (3) with respect to any Uncertificated Securities, control within the
  meaning of Section 8-106(c) of the UCC, (4) with respect to any Certificated Security, control
  within the meaning of Section 8-106(a) or (b) of the UCC, (5) with respect to any Electronic
  Chattel Paper, control within the meaning of Section 9-105 of the UCC, (6) with respect to Letter
  of Credit Rights, control within the meaning of Section 9-107 of the UCC and (7) with respect to
  any “transferable record”(as that term is defined in Section 201 of the Federal Electronic
  Signatures in Global and National Commerce Act or in Section 16 of the Uniform Electronic
  Transactions Act as in effect in any relevant jurisdiction), control within the meaning of Section
  201 of the Federal Electronic Signatures in Global and National Commerce Act or in Section 16
  of the Uniform Electronic Transactions Act as in effect in the jurisdiction relevant to such
  transferable record.

                   “Controlled Foreign Corporation” shall mean “controlled foreign corporation”
  as defined in the Internal Revenue Code.

                   “Copyright Licenses” shall mean any and all agreements and licenses providing
  for the granting of any right in or to any Copyright (whether such Grantor is licensee or licensor
  thereunder).

                    “Copyrights” shall mean all United States copyrights (including Community
  designs), including but not limited to copyrights in software and databases, and all Mask Works
  (as defined under 17 U.S.C. 901 of the U.S. Copyright Act), whether registered or unregistered,
  and, with respect to any and all of the foregoing: (i) all registrations and applications therefor
  including, without limitation, the registrations and applications referred to in Schedule 5.2(II)
  under the heading “Copyrights” (as such schedule may be amended or supplemented from time to
  time), (ii) all extensions and renewals thereof, (iii) all rights corresponding thereto, (iv) all rights
  to sue for past, present and future infringements thereof, and (v) all Proceeds of the foregoing,
  including, without limitation, royalties, income, payments, claims, damages and proceeds of suit.

                   “Credit Agreement” shall have the meaning set forth in the recitals.

                   “Discharge of Priority Lien Obligations” shall have the meaning set forth in
  the Collateral Trust Agreement.

                  “Excluded Accounts” shall mean (1) local petty cash accounts up to a maximum
  aggregate cash deposit amount of $500,000, (2) payroll accounts, (3) benefits accounts, (4) tax
  accounts, (5) escrow accounts, (6) trust accounts, (7) any accounts held solely for the benefit of

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  customers, (8) restricted investment accounts, (9) any accounts holding deposits in connection
  with Permitted Liens (other than the Liens in favor of the Collateral Trustee or the Revolving
  Agent) and (10) any accounts used for customs or other fiduciary purposes.

                   “Excluded Asset” shall mean any asset of any Grantor excluded from the
  security interest hereunder by virtue of Section 2.2 hereof but only to the extent, and for so long
  as, so excluded thereunder.

                  “Foresight GP” shall mean Foresight Energy GP LLC, a Delaware limited
  liability company.

                  “Foresight GP Voting Units” shall have the meaning assigned in Section 2.2.

                  “Foresight LP” shall mean Foresight Energy LP, a Delaware limited
  partnership.

                  “Grantors” shall have the meaning set forth in the preamble.

                  “Holdings” shall have the meaning set forth in the preamble.

                   “Insurance” shall mean all insurance policies covering any or all of the
  Collateral (regardless of whether the Priority Lien Collateral Trustee is the loss payee thereof).

                   “Intellectual Property” shall mean, the collective reference to all rights, title
  and interest in intellectual property arising under the laws of the United States, including without
  limitation, Copyrights, Patents, Trademarks and Trade Secrets.

                   “Intellectual Property Security Agreement” shall mean each intellectual
  property security agreement executed and delivered by the applicable Grantors, substantially in
  the form set forth in Exhibit C, Exhibit D and Exhibit E, as applicable.

                 “Investment Accounts” shall mean the Term Loan Asset Proceeds Account,
  Securities Accounts, Commodity Accounts and Deposit Accounts.

                   “Investment Related Property” shall mean: (i) all “investment property” (as
  such term is defined in Article 9 of the UCC) and (ii) all of the following (regardless of whether
  classified as investment property under the UCC): all Pledged Equity Interests, Pledged Debt, the
  Investment Accounts and certificates of deposit; in each case of the foregoing, excluding any
  Excluded Asset.

                   “Material Intellectual Property” shall mean any Intellectual Property included
  in the Collateral that is material to the business of any Grantor.

                   “Patent Licenses” shall mean all agreements and licenses providing for the
  granting of any right in or to any Patent (whether such Grantor is licensee or licensor thereunder).

                    “Patents” shall mean all United States patents and certificates of invention, or
  similar industrial property rights, and applications for any of the foregoing, including, but not
  limited to: (i) each patent and patent application referred to in Schedule 5.2(II) hereto under the
  heading “Patents” (as such schedule may be amended or supplemented from time to time), (ii) all
  reissues, divisions, continuations, continuations-in-part, extensions, renewals, and reexaminations

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  thereof, (iii) all rights corresponding thereto, (iv) all inventions and improvements described
  therein, (v) all rights to sue for past, present and future infringements thereof, (vi) all claims,
  damages, and proceeds of suit arising therefrom, and (vii) all Proceeds of the foregoing,
  including, without limitation, royalties, income, payments, claims, damages, and proceeds of suit.

                   “Pledge Supplement” shall mean any supplement to this Agreement in
  substantially the form of Exhibit A.

                   “Pledged Debt” shall mean all indebtedness for borrowed money owed to such
  Grantor, whether or not evidenced by any Instrument, including, without limitation, all
  indebtedness described on Schedule 5.2(I) under the heading “Pledged Debt” (as such schedule
  may be amended or supplemented from time to time), issued by the obligors named therein, the
  instruments, if any, evidencing any of the foregoing, and all interest, cash, instruments and other
  property or proceeds from time to time received, receivable or otherwise distributed in respect of
  or in exchange for any or all of the foregoing.

                   “Pledged Equity Interests” shall mean all Pledged Stock, Pledged LLC
  Interests, Pledged Partnership Interests and any other participation or interests in any equity or
  profits of any business entity including, without limitation, any trust and all management rights
  relating to any entity whose equity interests are included as Pledged Equity Interests, excluding,
  in each case, such interests that constitute Excluded Assets.

                    “Pledged LLC Interests” shall mean all interests in any limited liability
  company and each series thereof including, without limitation, all limited liability company
  interests listed on Schedule 5.2(I) under the heading “Pledged LLC Interests” (as such schedule
  may be amended or supplemented from time to time) and the certificates, if any, representing
  such limited liability company interests and any interest of such Grantor on the books and records
  of such limited liability company or on the books and records of any securities intermediary
  pertaining to such interest and all dividends, distributions, cash, warrants, rights, options,
  instruments, securities and other property or proceeds from time to time received, receivable or
  otherwise distributed in respect of or in exchange for any or all of such limited liability company
  interests and all rights as a member of the related limited liability company, excluding, in each
  case, such interests that constitute Excluded Assets.

                    “Pledged Partnership Interests” shall mean all interests in any general
  partnership, limited partnership, limited liability partnership or other partnership including,
  without limitation, all partnership interests listed on Schedule 5.2(I) under the heading “Pledged
  Partnership Interests” (as such schedule may be amended or supplemented from time to time) and
  the certificates, if any, representing such partnership interests and any interest of such Grantor on
  the books and records of such partnership or on the books and records of any securities
  intermediary pertaining to such interest and all dividends, distributions, cash, warrants, rights,
  options, instruments, securities and other property or proceeds from time to time received,
  receivable or otherwise distributed in respect of or in exchange for any or all of such partnership
  interests and all rights as a partner of the related partnership, excluding, in each case, such
  interests that constitute Excluded Assets.

                   “Pledged Stock” shall mean all shares of capital stock owned by such Grantor,
  including, without limitation, all shares of capital stock described on Schedule 5.2(I) under the
  heading “Pledged Stock” (as such schedule may be amended or supplemented from time to time),
  and the certificates, if any, representing such shares and any interest of such Grantor in the entries
  on the books of the issuer of such shares or on the books of any securities intermediary pertaining

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  to such shares, and all dividends, distributions, cash, warrants, rights, options, instruments,
  securities and other property or proceeds from time to time received, receivable or otherwise
  distributed in respect of or in exchange for any or all of such shares, excluding, in each case, such
  interests that constitute Excluded Assets.

                   “Priority Lien Collateral Trustee” shall have the meaning set forth in the
  preamble.

                  “Priority Lien Obligations” shall mean, without duplication, (i) all Priority Lien
  Obligations (as defined in the Collateral Trust Agreement) and (ii) all Obligations (as defined in
  the Credit Agreement).

                   “Priority Lien Representative” shall have the meaning set forth in the
  Collateral Trust Agreement.

                   “Priority Lien Secured Parties” shall have the meaning set forth in the
  Collateral Trust Agreement.

                    “Receivables” shall mean all rights to payment, whether or not earned by
  performance, for goods or other property sold, leased, licensed, assigned or otherwise disposed
  of, or services rendered or to be rendered, including, without limitation all such rights constituting
  or evidenced by any Account, Chattel Paper, Instrument, General Intangible or Investment
  Related Property, together with all of Grantor’s rights, if any, in any goods or other property
  giving rise to such right to payment and all Collateral Support and Supporting Obligations related
  thereto and all Receivables Records.

                     “Receivables Records” shall mean (i) all original copies of all documents,
  instruments or other writings or electronic records or other Records evidencing the Receivables,
  (ii) all books, correspondence, credit or other files, Records, ledger sheets or cards, invoices, and
  other papers relating to Receivables, including, without limitation, all tapes, cards, computer
  tapes, computer discs, computer runs, record keeping systems and other papers and documents
  relating to the Receivables, whether in the possession or under the control of Grantor or any
  computer bureau or agent from time to time acting for Grantor or otherwise, (iii) all evidences of
  the filing of financing statements and the registration of other instruments in connection
  therewith, and amendments, supplements or other modifications thereto, notices to other
  creditors, secured parties or agents thereof, and certificates, acknowledgments, or other writings,
  including, without limitation, lien search reports, from filing or other registration officers, (iv) all
  credit information, reports and memoranda relating thereto and (v) all other written or non-written
  forms of information related in any way to the foregoing or any Receivable, in each case of
  clauses (i) - (v), to the extent not prohibited to be pledged pursuant to any written agreement with
  any applicable Account Debtor.

                   “Secured Obligations” shall have the meaning assigned in Section 3.1.

                  “Secured Parties” shall mean each holder of a Priority Lien Obligation,
  including, without limitation, the Agents, Lenders, Lender Counterparties, Commodities Hedge
  Providers, Designated Coal Contract Counterparties and each other Priority Lien Secured Party,
  and shall include, without limitation, all former Agents, Lenders, Lender Counterparties,
  Commodities Hedge Providers and Designated Coal Contract Counterparties to the extent that
  any Priority Lien Obligations owing to such Persons were incurred while such Persons were


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  Agents, Lenders, Lender Counterparties, Commodities Hedge Providers or Designated Coal
  Contract Counterparties, and such Priority Lien Obligations have not been paid or satisfied in full.

                  “Trademark Licenses” shall mean any and all agreements and licenses
  providing for the granting of any right in or to Trademarks (whether such Grantor is licensee or
  licensor thereunder).

                    “Trademarks” shall mean all United States trademarks, trade names, corporate
  names, company names, business names, fictitious business names, Internet domain names,
  service marks, certification marks, collective marks, logos, other source or business identifiers,
  designs and general intangibles of a like nature, all registrations and applications for any of the
  foregoing including, but not limited to: (i) the registrations and applications referred to in
  Schedule 5.2(II) under the heading “Trademarks” (as such schedule may be amended or
  supplemented from time to time), (ii) all extensions or renewals of any of the foregoing, (iii) all
  of the goodwill of the business connected with the use of and symbolized by the foregoing, (iv)
  the right to sue for past, present and future infringement or dilution of any of the foregoing or for
  any injury to goodwill, and (v) all Proceeds of the foregoing, including, without limitation,
  royalties, income, payments, claims, damages, and proceeds of suit.

                 “Trade Secret Licenses” shall mean any and all agreements providing for the
  granting of any right in or to Trade Secrets (whether such Grantor is licensee or licensor
  thereunder).

                   “Trade Secrets” shall mean all trade secrets and all other confidential or
  proprietary information and know-how whether or not such Trade Secret has been reduced to a
  writing or other tangible form, including all documents and things embodying, incorporating, or
  referring in any way to such Trade Secret, including but not limited to: (i) the right to sue for past,
  present and future misappropriation or other violation of any Trade Secret, and (ii) all Proceeds of
  the foregoing, including, without limitation, royalties, income, payments, claims, damages, and
  proceeds of suit.

                   “UCC” shall mean the Uniform Commercial Code as in effect from time to time
  in the State of New York; provided, however, that in the event that, by reason of mandatory
  provisions of law, any or all of the perfection or priority of, or remedies with respect to, any
  Collateral is governed by the Uniform Commercial Code as enacted and in effect in a jurisdiction
  other than the State of New York, the term “UCC” shall mean the Uniform Commercial Code as
  enacted and in effect in such other jurisdiction solely for purposes of the provisions hereof
  relating to such perfection, priority or remedies.

                   “United States” shall mean the United States of America.

           1.2     Definitions; Interpretation.

                  (a)     In this Agreement, the following capitalized terms shall have the
  meaning given to them in the UCC (and, if defined in more than one Article of the UCC, shall
  have the meaning given in Article 9 thereof): Account, Account Debtor, As-Extracted Collateral,
  Bank, Certificate of Title, Certificated Security, Chattel Paper, Commercial Tort Claims,
  Commodity Account, Commodity Contract, Commodity Intermediary, Consignee, Consignment,
  Consignor, Deposit Account, Document, Entitlement Order, Electronic Chattel Paper, Equipment,
  Farm Products, General Intangibles, Goods, Health-Care-Insurance Receivable, Instrument,
  Inventory, Letter of Credit Right, Manufactured Home, Money, Payment Intangible, Proceeds,

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  Record, Securities Account, Securities Intermediary, Security Certificate, Security Entitlement,
  Supporting Obligations, Tangible Chattel Paper and Uncertificated Security.

                   (b)     All other capitalized terms used herein (including the preamble and
  recitals hereto) and not otherwise defined herein shall have the meanings ascribed thereto in the
  Credit Agreement. The incorporation by reference of terms defined in the Credit Agreement shall
  survive any termination of the Credit Agreement until this Agreement is terminated as provided
  in Section 11 hereof. Any of the terms defined herein may, unless the context otherwise requires,
  be used in the singular or the plural, depending on the reference. References herein to any
  Section, Appendix, Schedule or Exhibit shall be to a Section, an Appendix, a Schedule or an
  Exhibit, as the case may be, hereof unless otherwise specifically provided. The use herein of the
  word “include” or “including”, when following any general statement, term or matter, shall not be
  construed to limit such statement, term or matter to the specific items or matters set forth
  immediately following such word or to similar items or matters, whether or not non-limiting
  language (such as “without limitation” or “but not limited to” or words of similar import) is used
  with reference thereto, but rather shall be deemed to refer to all other items or matters that fall
  within the broadest possible scope of such general statement, term or matter. The terms lease and
  license shall include sub-lease and sub-license, as applicable. If any conflict or inconsistency
  exists between this Agreement and the Credit Agreement, the Credit Agreement shall govern. All
  references herein to provisions of the UCC shall include all successor provisions under any
  subsequent version or amendment to any Article of the UCC.

  SECTION 2.      GRANT OF SECURITY.

           2.1      Grant of Security. Each Grantor hereby grants (and, as applicable, reaffirms its
  prior grant) to the Priority Lien Collateral Trustee, for its benefit and for the benefit of the
  Secured Parties, a security interest in and continuing lien on all of such Grantor’s right, title and
  interest in, to and under all personal property of such Grantor (subject to the limitations set forth
  in Section 2.2) including, but not limited to the following, in each case whether now or hereafter
  existing or in which any Grantor now has or hereafter acquires an interest and wherever the same
  may be located (all of which being hereinafter collectively referred to as the “Collateral”):

                  (a)      Accounts;

                  (b)      As-Extracted Collateral;

                  (c)      Chattel Paper;

                  (d)      Documents;

                  (e)      General Intangibles;

                  (f)      Goods (including, without limitation, Inventory and Equipment);

                  (g)      Instruments;

                  (h)      Insurance;

                 (i)     Intellectual Property, Copyright Licenses, Patent Licenses, Trademark
  Licenses and Trade Secret Licenses;

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                  (j)      Investment Related Property (including, without limitation,
                           Deposit Accounts);

                  (k)      Letter of Credit Rights;

                  (l)      Money;

                  (m)      Receivables and Receivable Records;

                  (n)      Commercial Tort Claims now or hereafter described on Schedule 5.2

                  (o)     to the extent not otherwise included above, all other personal property of
  any kind and all Collateral Records, Collateral Support and Supporting Obligations relating to
  any of the foregoing; and

                   (p)     to the extent not otherwise included above, all Proceeds, products,
  accessions, rents and profits of or in respect of any of the foregoing.

           2.2     Certain Limited Exclusions. Notwithstanding anything contained in this
  Agreement to the contrary, in no event shall the Collateral include or the security interest granted
  under Section 2.1 hereof attach to (a) any Real Estate Asset other than (x) Closing Date
  Mortgaged Properties and (y) Material Real Estate Assets; (b) Letter of Credit Rights and
  Commercial Tort Claims below $2,500,000 in the aggregate for all Letter of Credit Rights and
  Commercial Tort Claims; (c) pledges and security interests prohibited or restricted by applicable
  law (including the requirement to obtain the consent of any Governmental Authority or third
  party); (d) margin stock and interests in any Person other than wholly-owned subsidiaries to the
  extent not permitted by the terms of such Person’s organizational or joint venture documents or
  could not be pledged without the consent of third parties (provided that any Equity Interests in
  Foresight GP and Foresight LP owned by a Grantor shall not be excluded); (e) any assets to the
  extent a security interest in such assets could reasonably be expected to result in adverse tax
  consequences or adverse regulatory consequences, in each case, as reasonably determined by the
  Borrower; (f) any intent-to-use United States Trademark applications for which an amendment to
  allege use or statement of use has not been filed under federal law or, if filed, has not been
  deemed in conformance with federal law; (g) any lease (other than real property leases not
  excluded in item (a) above), license, permit or other agreement, or any property subject to a
  purchase money security interest, capital lease obligation or similar arrangement to the extent that
  a grant of a security interest therein would require consent thereunder, or would violate or
  invalidate such lease, license, permit, or agreement, purchase money arrangement, capital lease or
  similar arrangement or create a right of termination in favor of any other party thereto (other than
  a Grantor), after giving effect to the applicable anti-assignment provisions of the UCC or other
  applicable law (provided, however, that the Collateral shall include and such security interest
  shall attach at such time as the contractual or legal prohibition shall no longer be applicable and
  to the extent severable, shall attach immediately to any portion of such lease, license, permit or
  agreement not subject to the prohibitions specified in this clause (g)); (h) any governmental
  license or state or local franchises, charters and authorizations to the extent a security interest
  therein is prohibited or restricted by applicable law; (i) motor vehicles, airplanes and other assets
  subject to Certificate of Title; (j) any Equity Interests in Excluded Subsidiaries (except for the
  Equity Interests in Foresight GP and Foresight LP owned by a Grantor and 65% of the Equity
  Interests in any first-tier Foreign Subsidiaries); (k) any assets where the cost of obtaining a
  security interest therein exceeds the practical benefit to the Secured Parties afforded thereby as
  agreed by the Borrower and the Administrative Agent; (l) mineral rights and/or constructed coal
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  mine assets, in each case securing installment notes issued to Governmental Authorities for the
  purchase of such mineral rights and/or rights to construct coal mines not in excess of the
  maximum principal amount of $10,000,000 in the aggregate at any time outstanding for all such
  notes); (m) (x) cash posted as margin by the Existing Designated Coal Contract Counterparty (as
  defined in the Credit Agreement) pursuant to the Existing Designated Coal Contract and (y) cash,
  cash equivalents and investments deposited in Excluded Accounts; (n) following the ABL
  Termination Date, all cash, cash equivalents and Deposit Accounts; and (o) any assets located
  outside the United States of America or assets that require action under the law of any foreign
  jurisdiction to create or perfect a security interest in such assets under such foreign jurisdiction,
  including any Intellectual Property registered in any foreign jurisdiction; provided that the
  exclusions referred to in clauses (a) through (o) of this Section 2.2 shall not include any Proceeds
  of any such assets unless such Proceeds would otherwise be excluded by virtue of being the type
  of asset described in clauses (a) through (o) of this Section 2.2. Notwithstanding anything
  contained in this Agreement to the contrary, the Grantors shall not be required to take any action
  intended to cause “Excluded Assets” to constitute Collateral. Nothing herein or in any of the
  ABL Loan Documents (as defined in the Intercreditor Agreement), the Term Debt Documents (as
  defined in the Intercreditor Agreement) or the Secured Debt Documents (as defined in the
  Collateral Trust Agreement) shall be deemed or construed to affect the right of the Existing
  Designated Coal Contract Counterparty (as defined in the Credit Agreement), following a default
  under the Existing Designated Coal Contract (as defined in the Credit Agreement), to offset the
  obligations owing by The American Coal Company to the Existing Designated Coal Contract
  Counterparty against the receivables arising from the sale of coal or other obligations owing by
  the Existing Designated Coal Contract Counterparty to The American Coal Company under the
  Existing Designated Coal Contract, and any amounts so offset shall not be subject to claims by
  any Secured Party. Notwithstanding anything in this Agreement or the Collateral Trust
  Agreement to the contrary, following the allocation of any voting units of Foresight GP (the
  “Foresight GP Voting Units”) owned by a Grantor to Foresight Reserves, LP pursuant to and in
  accordance with Section 10.4(d)(ii) of that certain Second Amended and Restated Limited
  Liability Company Agreement of Foresight GP (as amended, amended and restated,
  supplemented or modified from time to time), the liens on the Foresight GP Voting Units granted
  pursuant to this Agreement shall be immediately and automatically released without any further
  action on the part of the parties hereto (or party to the Collateral Trust Agreement).

           2.3    Intercreditor Agreement. Notwithstanding anything herein to the contrary, the
  lien and security interest granted to the Priority Lien Collateral Trustee pursuant to this
  Agreement and the exercise of any right or remedy by the Priority Lien Collateral Trustee
  hereunder are subject to the provisions of the Intercreditor Agreement. In the event of any
  conflict between the terms of the Intercreditor Agreement and this Agreement, the terms of the
  Intercreditor Agreement shall govern and control.

  SECTION 3.      SECURITY FOR PRIORITY LIEN OBLIGATIONS; GRANTORS
                  REMAIN LIABLE.

          3.1     Security for Priority Lien Obligations. This Agreement secures, and the
  Collateral is collateral security for, the prompt and complete payment or performance in full
  when due, whether at stated maturity, by required prepayment, declaration, acceleration, demand
  or otherwise (including the payment of amounts that would become due but for the operation of
  the automatic stay under Section 362(a) of the Bankruptcy Code, 11 U.S.C. §362(a) (and any
  successor provision thereof)), of all Priority Lien Obligations (the “Secured Obligations”).



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           3.2      Continuing Liability Under Collateral. Notwithstanding anything herein to the
  contrary, (i) each Grantor shall remain liable for all obligations under the Collateral and nothing
  contained herein is intended or shall be a delegation of duties to the Priority Lien Collateral
  Trustee or any other Secured Party, (ii) each Grantor shall remain liable under each of the
  agreements included in the Collateral, including, without limitation, any agreements relating to
  Pledged Partnership Interests or Pledged LLC Interests, to perform all of the obligations
  undertaken by it thereunder all in accordance with and pursuant to the terms and provisions
  thereof and neither the Priority Lien Collateral Trustee nor any Secured Party shall have any
  obligation or liability under any of such agreements by reason of or arising out of this Agreement
  or any other document related thereto nor shall the Priority Lien Collateral Trustee nor any
  Secured Party have any obligation to make any inquiry as to the nature or sufficiency of any
  payment received by it or have any obligation to take any action to collect or enforce any rights
  under any agreement included in the Collateral, including, without limitation, any agreements
  relating to Pledged Partnership Interests or Pledged LLC Interests, and (iii) the exercise by the
  Priority Lien Collateral Trustee of any of its rights hereunder shall not release any Grantor from
  any of its duties or obligations under the contracts and agreements included in the Collateral.

  SECTION 4.      CERTAIN PERFECTION REQUIREMENTS

           4.1    Delivery Requirements.

                  (a)      With respect to any Certificated Securities included in the Collateral,
  each Grantor shall deliver to the Priority Lien Collateral Trustee the Security Certificates
  evidencing such Certificated Securities duly indorsed by an effective indorsement (within the
  meaning of Section 8-107 of the UCC), or accompanied by share transfer powers or other
  instruments of transfer duly endorsed by such an effective endorsement, in each case, to the
  Priority Lien Collateral Trustee or in blank. In addition, each Grantor shall cause any certificates
  evidencing any Pledged Equity Interests, including, without limitation, any Pledged Partnership
  Interests or Pledged LLC Interests, to be similarly delivered to the Priority Lien Collateral
  Trustee regardless of whether such Pledged Equity Interests constitute Certificated Securities.

                   (b)     With respect to any Instruments or Tangible Chattel Paper included in
  the Collateral, each Grantor shall deliver to the Priority Lien Collateral Trustee (or, with respect
  to any ABL Collateral, the Revolving Agent as bailee of the Priority Lien Collateral Trustee for
  purposes of perfection in accordance with the Intercreditor Agreement) all such Instruments or
  Tangible Chattel Paper duly indorsed in blank; provided, however, that such delivery requirement
  shall not apply to any Instruments or Tangible Chattel Paper (other than the Intercompany Note)
  having a face amount of less than $2,000,000 in the aggregate.

           4.2    Control Requirements.

                  (a)      Subject to Section 5.16 of the Credit Agreement (to the extent
  applicable), with respect to any Deposit Account (including the Term Loan Asset Proceeds
  Account), Securities Account, Security Entitlement, Commodity Account or Commodity Contract
  included in the Collateral, each Grantor shall ensure that the Priority Lien Collateral Trustee (or,
  with respect to any ABL Collateral, the Revolving Agent as bailee of the Priority Lien Collateral
  Trustee for purposes of perfection in accordance with the Intercreditor Agreement) has Control
  thereof; provided, however, that such Control requirement shall not apply (x) to any Excluded
  Account or (y) with respect to any Deposit Account, at any time the Revolving Credit Agreement
  has been terminated and no asset-based revolving credit facility of the Borrower is in effect (such
  date being the “ABL Termination Date”). With respect to any Securities Accounts or Securities

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  Entitlements, such Control shall be accomplished by the Grantor causing the Securities
  Intermediary maintaining such Securities Account or Security Entitlement to enter into an
  agreement in form and substance reasonably satisfactory to the Priority Lien Collateral Trustee
  pursuant to which the Securities Intermediary shall agree to comply with the Priority Lien
  Collateral Trustee’s (or, with respect to ABL Collateral and subject to the terms of the
  Intercreditor Agreement, the Revolving Agent’s) Entitlement Orders without further consent by
  such Grantor. With respect to any Deposit Account, each Grantor shall cause the depositary
  institution maintaining such account to enter into an agreement in form and substance reasonably
  satisfactory to the Priority Lien Collateral Trustee, pursuant to which the Bank shall agree to
  comply with the Priority Lien Collateral Trustee’s (or, with respect to ABL Collateral and subject
  to the terms of the Intercreditor Agreement, the Revolving Agent’s) instructions with respect to
  disposition of funds in the Deposit Account without further consent by such Grantor. With
  respect to any Commodity Accounts or Commodity Contracts, each Grantor shall cause Control
  in favor of the Priority Lien Collateral Trustee (or, with respect to any ABL Collateral, the
  Revolving Agent as bailee of the Priority Lien Collateral Trustee for purposes of perfection in
  accordance with the Intercreditor Agreement) in a manner reasonably acceptable to the Priority
  Lien Collateral Trustee. With respect to any Uncertificated Security included in the Collateral
  (other than any Uncertificated Securities credited to a Securities Account), the applicable Grantor
  shall promptly notify the Priority Lien Collateral Trustee of the acquisition thereof and thereafter
  at the written request of the Priority Lien Collateral Trustee (except that the no such written
  request shall be required with respect to any Uncertificated Security issued by Foresight LP),
  each Grantor shall cause (or, with respect to an issuer that is not a Subsidiary or a controlled
  Affiliate of a Grantor, use commercially reasonable efforts to cause), the issuer of such
  Uncertificated Security to either (i) register the Priority Lien Collateral Trustee as the registered
  owner thereof on the books and records of the issuer or (ii) execute an agreement substantially in
  the form of Exhibit B hereto (or such other agreement in form and substance reasonably
  satisfactory to the Priority Lien Collateral Trustee), pursuant to which such issuer agrees to
  comply with the Priority Lien Collateral Trustee’s instructions with respect to such Uncertificated
  Security without further consent by such Grantor; provided that, with respect to an issuer that is
  not a Subsidiary or a controlled Affiliate of a Grantor, if after the use of commercially reasonable
  efforts such Grantor cannot satisfy such requirement with respect to such Uncertificated Security
  then such Grantor shall not be required to take any further action with respect to such
  Uncertificated Security to ensure that the Priority Lien Collateral Trustee has Control of such
  Uncertificated Security. Notwithstanding the foregoing, for purposes of the preceding sentence
  only, each of Foresight GP and Foresight LP shall be deemed to be a Subsidiary of Borrower to
  the extent and so long as such entity would be a Subsidiary of Borrower following Borrower’s
  exercise of the Foresight Acquisition Option and the acquisition of the Voting Stock subject
  thereto.

                  (b)        With respect to any Letter of Credit Rights included in the Collateral
  (other than any Letter of Credit Rights constituting a Supporting Obligation for a Receivable in
  which the Priority Lien Collateral Trustee has a valid and perfected security interest), Grantor
  shall ensure that Priority Lien Collateral Trustee (or, with respect to any ABL Collateral, the
  Revolving Agent as bailee of the Priority Lien Collateral Trustee for purposes of perfection in
  accordance with the Intercreditor Agreement) has Control thereof by obtaining the written
  consent of each issuer of each related letter of credit to the assignment of the proceeds of such
  letter of credit to the Priority Lien Collateral Trustee (or the Revolving Agent, as applicable).

                   (c)     With respect to any Electronic Chattel Paper or “transferable record” (as
  that term is defined in Section 201 of the Federal Electronic Signatures in Global and National
  Commerce Act or in Section 16 of the Uniform Electronic Transactions Act as in effect in any
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  relevant jurisdiction) included in the Collateral, Grantor shall ensure that the Priority Lien
  Collateral Trustee (or, with respect to any ABL Collateral, the Revolving Agent as bailee of the
  Priority Lien Collateral Trustee for purposes of perfection in accordance with the Intercreditor
  Agreement) has Control thereof; provided, however, that such Control requirement shall not
  apply to any Electronic Chattel Paper or transferable record having a face amount of less than
  $2,000,000 in the aggregate.

           4.3    Intellectual Property Recording Requirements.

                  (a)      In the case of any Collateral (whether now owned or hereafter acquired)
  consisting of U.S. federal issued Patents and applications therefor, each Grantor shall execute and
  deliver to the Priority Lien Collateral Trustee a Patent Security Agreement (Priority Lien) in
  substantially the form of Exhibit D hereto (or a supplement thereto) covering all such Patents for
  recordation with the U.S. Patent and Trademark Office with respect to the security interest of the
  Priority Lien Collateral Trustee.

                    (b)     In the case of any Collateral (whether now owned or hereafter acquired)
  consisting of U.S. federal registered Trademarks and applications therefor, each Grantor shall
  execute and deliver to the Priority Lien Collateral Trustee a Trademark Security Agreement
  (Priority Lien) in substantially the form of Exhibit C hereto (or a supplement thereto) covering all
  such Trademarks for recordation with the U.S. Patent and Trademark Office with respect to the
  security interest of the Priority Lien Collateral Trustee.

                  (c)      In the case of any Collateral (whether now owned or hereafter acquired)
  consisting of U.S. federal registered Copyrights, each Grantor shall execute and deliver to the
  Priority Lien Collateral Trustee a Copyright Security Agreement (Priority Lien) in substantially
  the form of Exhibit E hereto (or a supplement thereto) covering all such Copyrights for
  recordation with the U.S. Copyright Office with respect to the security interest of the Priority
  Lien Collateral Trustee.

           4.4    [Reserved.]

          4.5      Timing and Notice. With respect to any Collateral in existence on the Closing
  Date, except as otherwise expressly stated above, each Grantor shall comply with the
  requirements of Section 4 on the date hereof and, with respect to any Collateral hereafter owned
  or acquired, such Grantor shall comply with such requirements within 30 (thirty) days (or such
  longer period as the Priority Lien Collateral Trustee as directed by an Act of Required
  Debtholders may agree to) of Grantor acquiring rights therein. Each Grantor shall promptly
  inform the Priority Lien Collateral Trustee in writing of its acquisition of any Collateral for which
  any action is required by Section 4 hereof (including, for the avoidance of doubt, the filing of any
  U.S. federal applications for, or the issuance or registration of, any Patents, Copyrights or
  Trademarks).

  SECTION 5.      REPRESENTATIONS AND WARRANTIES.

  Each Grantor hereby represents and warrants, on the Closing Date and on each Credit Date, that:

           5.1    Grantor Information and Status.

                  (a)       as of the Closing Date, Schedule 5.1(A) sets forth under the appropriate
  headings: (1) the full legal name of such Grantor, (2) all trade names or other names under which

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  such Grantor currently conducts business, (3) the type of organization of such Grantor, (4) the
  jurisdiction of organization of such Grantor, (5) its organizational identification number, if any,
  and (6) the jurisdiction where the chief executive office or its sole place of business (or the
  principal residence if such Grantor is a natural person) is located;

                   (b)     [reserved;]

                   (c)     as of the Closing Date, except as provided on Schedule 5.1(C), it has not
  changed its name, jurisdiction of organization, chief executive office or sole place of business (or
  principal residence if such Grantor is a natural person) or its corporate structure in any way (e.g.,
  by merger, consolidation, change in corporate form or otherwise) and has not done business under
  any other name, in each case, within the past five (5) years;

                    (d)    as of the Closing Date, such Grantor has been duly organized and is
  validly existing as an entity of the type as set forth opposite such Grantor’s name on Schedule
  5.1(A) solely under the laws of the jurisdiction as set forth opposite such Grantor’s name on
  Schedule 5.1(A) and remains duly existing as such. Such Grantor has not filed any certificates of
  dissolution or liquidation, any certificates of domestication, transfer or continuance in any other
  jurisdiction; and

                   (e)      as of the Closing Date and (unless otherwise specified to the Priority
  Lien Collateral Trustee in writing prior to such time) as of each Credit Date, no Grantor is a
  “transmitting utility” (as defined in Section 9-102(a)(80) of the UCC).

           5.2     Collateral Identification, Special Collateral.

                   (a)      as of the Closing Date, Schedule 5.2 sets forth under the appropriate
  headings all of such Grantor’s: (1) Pledged Equity Interests, (2) Pledged Debt, (3) Securities
  Accounts, (4) Deposit Accounts, (5) Commodity Contracts and Commodity Accounts, (6) United
  States federal registrations and issuances of and applications for Patents, Trademarks (other than
  Internet domain names), and Copyrights owned by each Grantor, (7) Commercial Tort Claims
  other than any Commercial Tort Claims having a value of less than $5,000,000 in the aggregate,
  (8) Letter of Credit Rights for letters of credit other than any Letters of Credit Rights worth less
  than $5,000,000 in the aggregate, and (9) the name and address of any warehouseman, bailee or
  other third party in possession of any Inventory, Equipment and other tangible personal property
  other than any Inventory, Equipment or other tangible person property having a value less than
  $3,000,000 individually or $5,000,000 in the aggregate; and

                   (b)      as of the Closing Date and (unless otherwise specified to the Priority
  Lien Collateral Trustee in writing prior to such time) as of each Credit Date, none of the material
  Collateral constitutes, or is the Proceeds of, (1) Farm Products, (2) Manufactured Homes, (3)
  Health-Care-Insurance Receivables, (4) timber to be cut, or (5) aircraft, aircraft engines, satellites,
  ships or railroad rolling stock.

           5.3     Ownership of Collateral and Absence of Other Liens.

                   (a)     (x) it owns the Collateral purported to be owned by it or otherwise has
  the rights it purports to have in each item of Collateral and, as to all Collateral whether now
  existing or hereafter acquired, developed or created (including by way of lease or license), will
  continue to own or have such rights in each item of the Collateral except where failure to do so
  would not reasonably be expected to result in a Material Adverse Effect, and (y) the Collateral is
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  free and clear of any and all Liens other than, in the case of priority only, any Permitted Liens;
  and

                   (b)      other than any financing statements filed in favor of the Priority Lien
  Collateral Trustee, no Grantor has filed or consented to the filing of any effective financing
  statement, fixture filing or other instrument similar in effect under any applicable law covering all
  or any part of the Collateral which is on file in any filing or recording office, in each case to the
  extent such filing effectuates a Lien other than a Permitted Lien, except for (w) any filings,
  notices or recordations with respect to which the underlying Indebtedness has been paid off or
  otherwise satisfied, (x) financing statements for which duly authorized proper termination
  statements have been delivered to the Priority Lien Collateral Trustee for filing and (y) financing
  statements filed in connection with Permitted Liens. Other than the Priority Lien Collateral
  Trustee, the Revolving Agent (subject to the terms of the Intercreditor Agreement), the Collateral
  Trustee for the benefit of the Parity Lien Secured Parties (as defined in the Collateral Trust
  Agreement) in accordance with the Collateral Trust Agreement and any automatic control in
  favor of a Bank, Securities Intermediary or Commodity Intermediary maintaining a Deposit
  Account, Securities Account or Commodity Contract, no Person is in Control of any Collateral.

           5.4     Status of Security Interest.

                   (a)      upon the filing of financing statements naming each Grantor as “debtor”
  and the Priority Lien Collateral Trustee as “secured party” and describing the Collateral in the
  filing offices set forth opposite such Grantor’s name on Schedule 5.4 hereof provided as of the
  Closing Date, the security interest of the Priority Lien Collateral Trustee in all Collateral that can
  be perfected by the filing of a financing statement under the Uniform Commercial Code as in
  effect in any jurisdiction will constitute valid, perfected, first priority Liens (if and to the extent
  perfection can be achieved through the actions described in this Section 5.4(a)) subject in the case
  of priority only, to any Permitted Liens with respect to Collateral. Each agreement purporting to
  give the Priority Lien Collateral Trustee (or the Revolving Agent, as the case may be with respect
  to ABL Collateral) Control over any Collateral is effective to establish the Priority Lien Collateral
  Trustee’s (or the Revolving Agent’s, as the case may be with respect to ABL Collateral) Control
  of the Collateral subject thereto;

                   (b)      to the extent perfection or priority of the security interest therein is not
  subject to Article 9 of the UCC, upon recordation of the security interests granted hereunder in
  Patents, Trademarks and Copyrights the United States Patent and Trademark Office and the
  United States Copyright Office, the security interests granted to the Priority Lien Collateral
  Trustee hereunder shall constitute valid, perfected, first priority Liens in the United States
  (subject, in the case of priority only, to Permitted Liens). Notwithstanding the foregoing, nothing
  in this Agreement or any other Loan Documents shall require any Grantor to make any filings or
  take any other actions to record or perfect the Priority Lien Collateral Trustee’s Lien on and
  security interest in any Intellectual Property outside the United States or to reimburse the Priority
  Lien Collateral Trustee for any costs or expenses incurred in connection with making such filings
  or taking any other such action; and

                   (c)      no authorization, consent, approval or other action by, and no notice to or
  filing with, any Governmental Authority or regulatory body or any other Person is required for
  either (i) the pledge or grant by any Grantor of the Liens purported to be created in favor of the
  Priority Lien Collateral Trustee hereunder or (ii) the exercise by Priority Lien Collateral Trustee
  of any rights or remedies in accordance with the UCC in respect of any Collateral (whether
  specifically granted or created hereunder or created or provided for by applicable law), except (A)
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  for the filings contemplated by clause (a) above and (B) as may be required, in connection with
  the disposition of any Investment Related Property, by laws generally affecting the offering and
  sale of Securities.

           5.5    Goods and Receivables.

                  (a)     [reserved];

                   (b)     except as set forth on Schedule 5.5(B) (as may be supplemented from
  time to time), none of the Account Debtors in respect of any Receivable in excess of $1,000,000
  individually or $2,500,000 in the aggregate is the government of the United States, any agency or
  instrumentality thereof, any state or municipality or any foreign sovereign. Except as set forth on
  Schedule 5.5(B) (as may be supplemented from time to time), no Receivable in excess of
  $1,000,000 individually or $2,500,000 in the aggregate requires the consent of the Account
  Debtor in respect thereof in connection with the security interest hereunder, except any consent
  which has been obtained;

                 (c)     no material portion of Goods now or hereafter produced by any Grantor
  and included in the Collateral have been or will be produced in material violation of the
  requirements of the Fair Labor Standards Act, as amended, or the rules and regulations
  promulgated thereunder; and

                   (d)     other than any Inventory or Equipment in transit, undergoing repairs,
  replacements loaned to employees, or kept on the premises of customers, as of the Closing Date,
  all of the material Equipment and Inventory included in the Collateral is located only at the
  locations specified in Schedule 5.5(D).

           5.6    Pledged Equity Interests, Investment Related Property.

                   (a)      it is the record and beneficial owner of the Pledged Equity Interests free
  of all Liens, rights or claims of other Persons (other than the Revolving Agent) and there are no
  outstanding warrants, options or other rights to purchase, or shareholder, voting trust or similar
  agreements outstanding with respect to, or property that is convertible into, or that requires the
  issuance or sale of, any Pledged Equity Interests;

                   (b)      no consent of any Person including any other general or limited partner,
  any other member of a limited liability company, any other shareholder or any other trust
  beneficiary is necessary in connection with the creation, perfection or first priority status of the
  security interest of the Priority Lien Collateral Trustee in any Pledged Equity Interests or, to the
  extent the Pledged Equity Interests are issued by a wholly-owned Subsidiary of a Grantor, the
  exercise by the Priority Lien Collateral Trustee of the voting or other rights provided for in this
  Agreement or the exercise of remedies in respect thereof except as contemplated by the
  Intercreditor Agreement or as have been obtained or waived;

                   (c)     (i) all of the Pledged LLC Interests (other than Pledged LLC Interests in
  Foresight GP) and Pledged Partnership Interests (other than subordinated units in Foresight LP)
  are or represent interests that by their terms provide that they are securities governed by the
  Uniform Commercial Code of an applicable jurisdiction; and (ii) the Pledged LLC Interests in
  Foresight GP and the Pledged Partnership Interests that are subordinated units in Foresight LP are
  not securities for purposes of the Uniform Commercial Code of any jurisdiction; and


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                   (d)      Grantor has caused each partnership or limited liability company that is
  the issuer of Pledged Equity Interests, other than Foresight LP, to amend their partnership
  agreement or limited liability company agreement to include the following provision:
  “Notwithstanding any other provision in this [Limited Partnership Agreement] [Operating
  Agreement] or otherwise to the contrary, each [Partner] [Member] consents to and agrees that (i)
  any [Partner] [Member] may pledge its [partnership interests (including any Units and any
  interests in such Units, collectively the “Partnership Interests”)] [membership interests
  (“Membership Interests”)] to secure obligations arising pursuant to loans or other financial
  accommodations made to a Partner [Member], the [Partnership] [LLC] and/or one or more of
  their respective affiliates from time to time, (ii) a pledgee of Partnership Interests, or such
  pledgee’s permitted successors or assigns, may, in connection with the valid exercise of such
  pledgee’s or such permitted successor’s or assign’s rights, sell, transfer or otherwise dispose of all
  or part of the [Partnership] [Membership] Interests (including a sale, transfer or disposition in
  connection with any foreclosure) without any further consent of any [Partner] [Member] and
  without having to comply with any restrictions of the sale, transfer of other disposition of the
  [Partnership] [Membership] Interests set forth in this [Limited Partnership Agreement] [Operating
  Agreement] or otherwise and (iii) a pledgee of [Partnership] [Membership] Interests, or such
  pledgee’s permitted successors or assigns, in connection with the valid exercise of such pledgee’s
  or such permitted successor’s or assign’s rights, or any purchaser of the [Partnership]
  [Membership] Interests acquired the [Partnership] [Membership] Interests in connection with the
  valid exercise of such rights (including in connection with any foreclosure), may acquire the
  [Partnership] [Membership] Interests and become a [Partner] [Member] or be substituted for a
  [Partner] [Member] under this [Limited Partnership Agreement] [Operating Agreement] without
  the consent of any [Partner] [Member] and without having to comply with any of the restrictions
  on the sale, transfer or other disposition of the interests set forth in this [Limited Partnership
  Agreement] [Operating Agreement] or otherwise. So long as any pledge of any [Partner’s
  Partnership Interests] [Member’s Membership Interests] is in effect, this Section [__] shall inure
  to the benefit of any such pledgee and its successors and assigns, as an intended third party
  beneficiary and no amendment, modification or waiver of, or consent with respect to this Section
  [__] shall in any event be effective without the prior written consent of any such pledgee.”

           5.7     Intellectual Property.

                   (a)      it is the sole and exclusive owner of the entire right, title, and interest in
  and to all Intellectual Property listed on Schedule 5.2(II) (as such schedule may be amended or
  supplemented from time to time), and owns or has a license or other right to use all other Material
  Intellectual Property, free and clear of all Liens (except for Permitted Liens) and all claims
  (except such claims as would not reasonably be expected to have a Material Adverse Effect);

                   (b)     as of the Closing Date, all Material Intellectual Property owned by such
  Grantor is subsisting and has not been adjudged invalid or unenforceable, in whole or in part, and
  each Grantor has performed all acts and has paid, when due, all material renewal, maintenance,
  and other fees and taxes required to maintain each and every material registration and application
  of Copyrights, Patents and Trademarks owned by such Grantor in full force and effect, except to
  the extent being actively contested by such Grantor in good faith and by appropriate proceedings;

                   (c)     to such Grantor’s knowledge, no holding, decision, or judgment has been
  rendered in any action or proceeding before any court or administrative authority challenging the
  validity of such Grantor's right to register, or such Grantor's rights to own or use, any Material
  Intellectual Property (other than office actions issued in the ordinary course of prosecution) and
  no such action or proceeding is pending or, to the best of such Grantor's knowledge, threatened;
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                 (d)    all registrations and applications for Copyrights, Patents and Trademarks
  owned by such Grantor and included in the Material Intellectual Property are standing in the
  name of such Grantor;

                   (e)     such Grantor has not made a previous assignment, sale, transfer,
  exclusive license, or similar arrangement constituting a present or future assignment, sale,
  transfer, exclusive license or similar arrangement of any Material Intellectual Property that has
  not been terminated or released;

                   (f)      such Grantor has been using appropriate statutory notice of registration
  in connection with its use of registered Trademarks owned by such Grantor, proper marking
  practices in connection with its use of Patents owned by such Grantor, and appropriate notice of
  copyright in connection with the publication of Copyrights owned by such Grantor, in each case,
  to the extent constituting Material Intellectual Property and necessary to maintain such items;

                   (g)     such Grantor has taken commercially reasonable steps to protect the
  confidentiality of its Trade Secrets in accordance with industry standards except as would not
  reasonably be expected to have a Material Adverse Effect;

                   (h)      such Grantor uses adequate standards of quality, as determined by such
  Grantor in its reasonable business judgment, in the manufacture, distribution, and sale of all
  products sold and all services rendered under or in connection with all Trademarks owned by
  such Grantor and has taken all commercially reasonable actions necessary to insure that all
  licensees of the Trademarks owned by such Grantor use such adequate standards of quality, in
  each case, to the extent constituting Material Intellectual Property;

                    (i)     to such Grantor’s knowledge, the conduct of such Grantor's business
  does not materially infringe upon or otherwise violate any trademark, patent, copyright, trade
  secret or other intellectual property right owned or controlled by a third party; no written claim
  has been made against such Grantor that the use of any Material Intellectual Property owned or
  used by such Grantor (or any of its respective licensees) violates the asserted rights of any third
  party, nor, to such Grantor’s knowledge, has any such claim been threatened;

                  (j)      to the best of such Grantor’s knowledge, no Person is infringing or
  otherwise violating any rights in any Material Intellectual Property owned by such Grantor; and

                   (k)    no settlement or consents, covenants not to sue, non-assertion assurances,
  or releases have been entered into by such Grantor or bind such Grantor in a manner that could
  adversely affect such Grantor’s rights to own or use any Material Intellectual Property.

  SECTION 6.      COVENANTS AND AGREEMENTS.

  Each Grantor hereby covenants and agrees that:

           6.1    Reserved.

           6.2    Collateral Identification; Special Collateral.

                  (a)     in the event that it hereafter acquires any Collateral of a type described in
  Section 5.2(b) hereof, it shall promptly notify the Priority Lien Collateral Trustee thereof in
  writing and take such actions and execute such documents and make such filings all at Grantor’s
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  expense as may be required or as the Priority Lien Collateral Trustee may reasonably request in
  order to ensure that the Priority Lien Collateral Trustee has a valid, perfected, first priority
  security interest in such Collateral, subject in the case of priority only, to any Permitted Liens.
  Notwithstanding the foregoing, no Grantor shall be required to notify the Priority Lien Collateral
  Trustee or take any such action unless such Collateral is of a material value or is material to such
  Grantor’s business as determined in good faith by such Grantor.

                  (b)    in the event that it hereafter acquires or has any Commercial Tort Claim
  in excess of $5,000,000 in the aggregate it shall deliver to the Priority Lien Collateral Trustee a
  completed Pledge Supplement together with all Supplements to Schedules thereto, identifying
  such new Commercial Tort Claims.

           6.3     Ownership of Collateral and Absence of Other Liens. Except for the security
  interest created by this Agreement, it shall not create or suffer to exist any Lien upon or with
  respect to any of the Collateral, except Permitted Liens, and such Grantor shall use its
  commercially reasonable efforts in its business judgment to defend the Collateral against all
  Persons at any time claiming any security interest therein.

           6.4    Status of Security Interest.

                   (a)      Subject to the limitations set forth in subsection (b) of this Section 6.4,
  each Grantor shall maintain the security interest of the Priority Lien Collateral Trustee hereunder
  in all Collateral as valid, perfected, first priority Liens (subject, in the case of priority only, to
  Permitted Liens).

                   (b)     Notwithstanding the foregoing, no Grantor shall be required to take any
  action to perfect any Collateral that can only be perfected by Control except as and to the extent
  specified in Section 4 hereof.

           6.5    Goods and Receivables.

                  (a)   other than as permitted pursuant to any Permitted Lien, it shall not
  deliver any Document evidencing any Equipment and Inventory to any Person other than the
  issuer of such Document to claim the Goods evidenced therefor or the Priority Lien Collateral
  Trustee; and

                   (b)     subject to the terms of the Intercreditor Agreement, during the
  continuance of an Event of Default, the Priority Lien Collateral Trustee shall have the right after
  notice to the applicable Grantor to notify, or require any Grantor to notify, any Account Debtor of
  the Priority Lien Collateral Trustee’s security interest in the Receivables and any Supporting
  Obligation and, in addition, at any time following the occurrence and during the continuation of
  an Event of Default, the Priority Lien Collateral Trustee may: (i) direct the Account Debtors
  under any Receivables to make payment of all amounts due or to become due to such Grantor
  thereunder directly to the Priority Lien Collateral Trustee; (ii) notify, or require any Grantor to
  notify, each Person maintaining a lockbox or similar arrangement to which Account Debtors
  under any Receivables have been directed to make payment to remit all amounts representing
  collections on checks and other payment items from time to time sent to or deposited in such
  lockbox or other arrangement directly to the Priority Lien Collateral Trustee; (iii) direct the
  Account Debtors under any Receivables subject to the Assignment of Claims Act of 1940, as
  amended 31 U.S.C. Section 3727 and 41 U.S.C. Section 15, to execute and deliver all documents
  necessary or appropriate to make payment of all amounts due or to become due to such Grantor

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  thereunder directly to the Priority Lien Collateral Trustee; and (iv) enforce, at the expense of such
  Grantor, collection of any such Receivables and to adjust, settle or compromise the amount or
  payment thereof, in the same manner and to the same extent as such Grantor might have done;
  provided, in each case, that notwithstanding anything to the contrary herein, to the extent any
  credit information, reports or memoranda constituting Receivables Records is prohibited to be
  disclosed in accordance with any confidentiality restriction in any agreement with any applicable
  Account Debtor, such credit information, reports or memoranda shall not be required to be
  provided to the Priority Lien Collateral Trustee. If the Priority Lien Collateral Trustee notifies
  any Grantor that it has elected to collect the Receivables in accordance with the preceding
  sentence, any payments of Receivables received by such Grantor shall be forthwith (and in any
  event within two (2) Business Days) deposited by such Grantor in the exact form received, duly
  indorsed by such Grantor to the Priority Lien Collateral Trustee if required, in a Deposit Account
  maintained under the sole dominion and control of the Priority Lien Collateral Trustee, and until
  so turned over, all amounts and proceeds (including checks and other instruments) received by
  such Grantor in respect of the Receivables, any Supporting Obligation or Collateral Support shall
  be received in trust for the benefit of the Priority Lien Collateral Trustee hereunder and shall be
  segregated from other funds of such Grantor and such Grantor shall not adjust, settle or
  compromise the amount or payment of any Receivable, or release wholly or partly any Account
  Debtor or obligor thereof, or allow any credit or discount thereon.

           6.6     Pledged Equity Interests, Investment Related Property.

                   (a)     Except as provided in the next sentence, in the event such Grantor
  receives any dividends, interest or distributions on any Pledged Equity Interest or other
  Investment Related Property, upon the merger, consolidation, liquidation or dissolution of any
  issuer of any Pledged Equity Interest or Investment Related Property, then (a) such dividends,
  interest or distributions and securities or other property shall be included in the definition of
  Collateral without further action and (b) such Grantor shall promptly take all steps, if any, to the
  extent required hereunder with respect to such Collateral, to ensure the validity, perfection,
  priority and, if applicable, Control, subject to the priorities set forth in the Intercreditor
  Agreement, of the Priority Lien Collateral Trustee over such Investment Related Property
  (including, without limitation, delivery thereof to the Priority Lien Collateral Trustee) and,
  pending any such action, to the extent an Event of Default is occurring or continuing, such
  Grantor shall be deemed to hold such dividends, interest, distributions, securities or other
  property in trust for the benefit of the Priority Lien Collateral Trustee and shall segregate such
  dividends, distributions, Securities or other property from all other property of such Grantor.
  Notwithstanding the foregoing, so long as no Event of Default shall have occurred and be
  continuing, the Priority Lien Collateral Trustee authorizes each Grantor to retain all cash
  dividends and distributions paid and all payments of interest;

                   (b)     Voting

                           (i)      So long as no Event of Default shall have occurred and be
           continuing, except as otherwise provided under the covenants and agreements relating to
           Investment Related Property in this Agreement or elsewhere herein or in the Credit
           Agreement, each Grantor shall be entitled to exercise or refrain from exercising any and
           all voting and other consensual rights pertaining to the Investment Related Property or
           any part thereof for any purpose not inconsistent with the terms of this Agreement or the
           Credit Agreement; and



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                           (ii)    Upon the occurrence and during the continuation of an Event of
           Default:

           (1)    all rights of each Grantor to exercise or refrain from exercising the voting and
                  other consensual rights which it would otherwise be entitled to exercise pursuant
                  hereto shall cease and all such rights shall thereupon become vested in the
                  Priority Lien Collateral Trustee who shall thereupon have the sole right to
                  exercise such voting and other consensual rights; and

           (2)    in order to permit the Priority Lien Collateral Trustee to exercise the voting and
                  other consensual rights which it may be entitled to exercise pursuant hereto and
                  to receive all dividends and other distributions which it may be entitled to receive
                  hereunder: (1) each Grantor shall promptly execute and deliver (or cause to be
                  executed and delivered) to the Priority Lien Collateral Trustee all proxies,
                  dividend payment orders and other instruments as the Priority Lien Collateral
                  Trustee may from time to time reasonably request and (2) each Grantor
                  acknowledges that the Priority Lien Collateral Trustee may utilize the power of
                  attorney set forth in Section 8.1;

                  (c)      If any issuer of any Pledged Partnership Interests or Pledged LLC
  Interests owned by a Grantor which are not securities (for purposes of the UCC) elects or
  otherwise takes any action to cause such Pledged Partnership Interests or Pledged LLC Interests
  to be treated as securities for purposes of the UCC, such Grantor shall promptly notify the
  Priority Lien Collateral Trustee in writing of any such election or action and, in such event, shall,
  to the extent required hereunder, take all steps necessary or advisable to establish the Priority
  Lien Collateral Trustee’s Control thereof;

                    (d)    Each Grantor consents to the grant by each other Grantor of a Lien in all
  Investment Related Property to the Priority Lien Collateral Trustee and without limiting the
  generality of the foregoing consents to the transfer of any Pledged Partnership Interest and any
  Pledged LLC Interest to the Priority Lien Collateral Trustee or its designee following an Event of
  Default and to the substitution of the Priority Lien Collateral Trustee or its designee as a partner
  in any partnership or as a member in any limited liability company with all the rights and powers
  related thereto; and

                   (e)      Without the prior written consent of the Priority Lien Collateral Trustee,
  no Grantor will consent or otherwise agree to (i) any election by Foresight LP or Foresight GP to
  treat the Pledged Partnership Interests that are subordinated units in Foresight LP or the Pledged
  LLC Interests in Foresight GP, as applicable, as securities governed by the Uniform Commercial
  Code of any jurisdiction (including any amendments to Foresight LP’s partnership agreement or
  Foresight GP’s membership agreement to expressly provide that such Pledged Partnership
  Interests or Pledged LLC Interests, as applicable, constitute securities governed by Article 8 of
  the UCC) or (ii) certificate such Pledged Partnership Interests or Pledged LLC Interests such that
  they constitute “certificated securities” within the meaning of Section 8-102(4) of the UCC.

           6.7    Intellectual Property.

                   (a)      it shall not do any act or knowingly omit to do any act whereby any of
  the Material Intellectual Property owned by such Grantor may lapse, or become abandoned,
  dedicated to the public, or unenforceable, or which would materially adversely affect the validity,
  grant, or enforceability of the security interest granted therein;
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                  (b)      it shall not, with respect to any Trademarks owned by such Grantor
  constituting Material Intellectual Property, cease the use of any of such Trademarks for a period
  of greater than one year or fail to maintain the level of the quality of products sold and services
  rendered under any of such Trademarks at a level at least substantially consistent (or higher) with
  the quality of such products and services as of the date hereof, and such Grantor shall take all
  commercially reasonable steps necessary to insure that licensees of such Trademarks use such
  consistent standards of quality;

                  (c)      [Intentionally Omitted]

                   (d)     it shall promptly notify the Priority Lien Collateral Trustee if it knows
  that any item of Material Intellectual Property would reasonably be expected to become (i)
  abandoned or dedicated to the public or placed in the public domain (other than the expiration of
  patents at the end of their statutory term), (ii) invalid or unenforceable, or (iii) subject to any
  materially adverse determination or development (including the institution of proceedings) in any
  action or proceeding in the United States Patent and Trademark Office, the United States
  Copyright Office, any state registry or any court, other than office actions issued in the ordinary
  course of prosecution of any pending applications for patents or applications for registration of
  other Intellectual Property);

                  (e)      it shall take all commercially reasonable steps, including in any
  proceeding before the United States Patent and Trademark Office, the United States Copyright
  Office or any state registry to pursue any application and maintain any registration or issuance of
  each Trademark, Patent, and Copyright owned by any Grantor and constituting Material
  Intellectual Property, including, but not limited to, those items on Schedule 5.2(II) (as such
  schedule may be amended or supplemented from time to time);

                   (f)     it shall use commercially reasonable efforts so as not to permit the
  inclusion in any contract to which it hereafter becomes a party of any provision that could
  materially impair or prevent the creation of a security interest in, or the assignment of, such
  Grantor’s rights and interests in any property included within the definitions of any Material
  Intellectual Property acquired under such contracts;

                   (g)     in the event that any Material Intellectual Property owned by or
  exclusively licensed to any Grantor is infringed, misappropriated, diluted or otherwise violated by
  a third party, such Grantor shall promptly take all reasonable actions to stop such infringement,
  misappropriation, dilution or other violation and protect its rights in such Material Intellectual
  Property (with respect to exclusively licensed Materially Intellectual Property, if and to the extent
  permitted by the terms of any applicable agreements);

                 (h)     it shall take commercially reasonable steps to protect the secrecy of all
  Trade Secrets owned by such Grantor and included in the Material Intellectual Property;

                   (i)     it shall use proper statutory notice in connection with its use of any of the
  Material Intellectual Property owned by such Grantor to the extent necessary to protect such
  Material Intellectual Property; and

                  (j)    it shall continue to collect, at its own expense, all amounts due or to
  become due to such Grantor in respect of the Material Intellectual Property or any portion thereof.
  In connection with such collections, such Grantor may take (and, at the Priority Lien Collateral

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  Trustee’s reasonable direction, shall take) such action as such Grantor or the Priority Lien
  Collateral Trustee may deem reasonably necessary or advisable to enforce collection of such
  amounts. Notwithstanding the foregoing, the Priority Lien Collateral Trustee shall have the right
  at any time, to notify, or require any Grantor to notify, any obligors with respect to any such
  amounts of the existence of the security interest created hereby.

  SECTION 7.       FURTHER ASSURANCES; ADDITIONAL GRANTORS.

           7.1     Further Assurances.

                   (a)      Each Grantor agrees that from time to time, at the expense of such
  Grantor, that it shall promptly execute and deliver all further instruments and documents, and take
  all further action, that may be necessary, or that the Priority Lien Collateral Trustee may
  reasonably request, in order to create and/or maintain the validity, perfection or priority of
  (subject to Permitted Liens) and protect any security interest granted or purported to be granted
  hereby (subject to the limitations set forth in Section 2.2) or to enable the Priority Lien Collateral
  Trustee to exercise and enforce its rights and remedies hereunder with respect to any Collateral.
  Without limiting the generality of the foregoing, each Grantor shall:

                            (i)     file such financing or continuation statements, or amendments
           thereto, record security interests in Intellectual Property and execute and deliver such
           other agreements, instruments, endorsements, powers of attorney or notices, as may be
           necessary or advisable, or as the Priority Lien Collateral Trustee may reasonably request,
           in order to perfect and preserve the security interests granted or purported to be granted
           hereby;

                           (ii)     take all actions necessary to ensure the recordation of
           appropriate evidence of the liens and security interest granted hereunder in any
           Intellectual Property registered or issued or in which an application for registration or
           issuance is pending with the United States Patent and Trademark Office or the United
           States Copyright Office;

                            (iii) upon reasonable notice and at such reasonable times during
           normal business hours as reasonably requested by the Priority Lien Collateral Trustee,
           assemble the Collateral and allow inspection of the Collateral by the Priority Lien
           Collateral Trustee, or persons designated by the Priority Lien Collateral Trustee;

                           (iv)    at the Priority Lien Collateral Trustee’s reasonable request,
           appear in and defend any action or proceeding that may affect such Grantor’s title to or
           the Priority Lien Collateral Trustee’s security interest in all or any material part of the
           Collateral; and

                            (v)      furnish the Priority Lien Collateral Trustee with such
           information regarding the Collateral, including, without limitation, the location thereof,
           as the Priority Lien Collateral Trustee may reasonably request from time to time.

                  (b)      Each Grantor hereby authorizes the Priority Lien Collateral Trustee
  (without implying that the Collateral Trustee shall have any obligations to file) to file a Record or
  Records, including, without limitation, financing or continuation statements, Intellectual Property
  Security Agreements and amendments and supplements to any of the foregoing, in the United
  States and with any filing offices in the United States as the Priority Lien Collateral Trustee may
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  determine, as directed by an Act of Required Debtholders, are necessary or advisable to perfect or
  otherwise protect the security interest granted to the Priority Lien Collateral Trustee herein. Such
  financing statements may describe the Collateral in the same manner as described herein or may
  contain an indication or description of collateral that describes such property in any other manner
  as the Priority Lien Collateral Trustee may determine, as directed by an Act of Required
  Debtholders, to ensure the perfection of the security interest in the Collateral granted to the
  Priority Lien Collateral Trustee herein, including, without limitation, describing such property as
  “all assets, whether now owned or hereafter acquired”, “all personal property, whether now
  owned or hereafter acquired” or words of similar effect. Each Grantor shall furnish to the Priority
  Lien Collateral Trustee from time to time statements and schedules further identifying and
  describing the Collateral and such other reports in connection with the Collateral as the Priority
  Lien Collateral Trustee may reasonably request, all in reasonable detail.

                   (c)     Each Grantor hereby authorizes the Priority Lien Collateral Trustee to
  modify this Agreement after obtaining such Grantor’s approval of or signature to such
  modification by amending Schedule 5.2 (as such schedule may be amended or supplemented
  from time to time) to include reference to any right, title or interest in any existing Intellectual
  Property or any Intellectual Property acquired or developed by any Grantor after the execution
  hereof or to delete any reference to any right, title or interest in any Intellectual Property in which
  any Grantor no longer has or claims any right, title or interest.

           7.2     Additional Grantors. From time to time subsequent to the date hereof,
  additional Persons may become parties hereto as additional Grantors (each, an “Additional
  Grantor”), by executing a Pledge Supplement. Upon delivery of any such Pledge Supplement to
  the Priority Lien Collateral Trustee, notice of which is hereby waived by the other Grantors, each
  Additional Grantor shall be a Grantor and shall be as fully a party hereto as if such Additional
  Grantor were an original signatory hereto. Each Grantor expressly agrees that its obligations
  arising hereunder shall not be affected or diminished by the addition or release of any other
  Grantor hereunder, nor by any election of Priority Lien Collateral Trustee not to cause any
  Subsidiary of Borrower to become an Additional Grantor hereunder. This Agreement shall be
  fully effective as to any Grantor that is or becomes a party hereto regardless of whether any other
  Person becomes or fails to become or ceases to be a Grantor hereunder.

  SECTION 8.       PRIORITY LIEN COLLATERAL TRUSTEE APPOINTED ATTORNEY-
                   IN-FACT.

          8.1     Power of Attorney. Each Grantor hereby appoints the Priority Lien Collateral
  Trustee (such appointment being coupled with an interest) as such Grantor’s attorney-in-fact
  (such appointment to cease upon Discharge of Priority Lien Obligations), with full authority in
  the place and stead of such Grantor and in the name of such Grantor, the Priority Lien Collateral
  Trustee to take any action and to execute any instrument that the Priority Lien Collateral Trustee
  may deem reasonably necessary or advisable as directed by an Act of Required Debtholders to
  accomplish the purposes of this Agreement, including, without limitation, the following:

                  (a)      upon the occurrence and during the continuance of any Event of Default,
  to obtain and adjust insurance required to be maintained by such Grantor or paid to the Priority
  Lien Collateral Trustee pursuant to the Credit Agreement;

                  (b)      upon the occurrence and during the continuance of any Event of Default,
  to ask for, demand, collect, sue for, recover, compound, receive and give acquittance and receipts
  for moneys due and to become due under or in respect of any of the Collateral;

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                  (c)     upon the occurrence and during the continuance of any Event of Default,
  to receive, endorse and collect any drafts or other instruments, documents and chattel paper in
  connection with clause (b) above;

                   (d)      upon the occurrence and during the continuance of any Event of Default,
  to file any claims or take any action or institute any proceedings that the Priority Lien Collateral
  Trustee may deem necessary or advisable for the collection of any of the Collateral or otherwise
  to enforce the rights of the Priority Lien Collateral Trustee with respect to any of the Collateral;

                  (e)      to prepare and file any UCC financing statements against such Grantor as
  debtor;

                  (f)       to prepare, sign, and file for recordation in any United States federal
  intellectual property registry, appropriate evidence of the lien and security interest granted herein
  in the Intellectual Property in the name of such Grantor as debtor;

                   (g)    to take or cause to be taken all actions necessary to perform or comply or
  cause performance or compliance with the terms of this Agreement, including, without limitation,
  access to pay or discharge taxes or Liens (other than Permitted Liens) levied or placed upon or
  threatened against the Collateral, the legality or validity thereof and the amounts necessary to
  discharge the same, any such payments made by the Priority Lien Collateral Trustee to become
  obligations of such Grantor to the Priority Lien Collateral Trustee, due and payable immediately
  without demand; and

                  (h)        upon the occurrence and during the continuation of an Event of Default,
  generally to sell, transfer, lease, license, pledge, make any agreement with respect to or otherwise
  deal with any of the Collateral as fully and completely as though the Priority Lien Collateral
  Trustee were the absolute owner thereof for all purposes, and to do, at the Priority Lien Collateral
  Trustee’s option as directed by an Act of Required Debtholders and such Grantor’s expense, at
  any time or from time to time, all acts and things that the Priority Lien Collateral Trustee deems
  reasonably necessary as directed by an Act of Required Debtholders to protect, preserve or realize
  upon the Collateral and the Priority Lien Collateral Trustee’s security interest therein in order to
  effect the intent of this Agreement, all as fully and effectively as such Grantor might do.

           8.2     No Duty on the Part of Priority Lien Collateral Trustee or Secured Parties.
  The powers conferred on the Priority Lien Collateral Trustee hereunder are solely to protect the
  interests of the Secured Parties in the Collateral and shall not impose any duty upon the Priority
  Lien Collateral Trustee or any other Secured Party to exercise any such powers. The Priority
  Lien Collateral Trustee and the other Secured Parties shall be accountable only for amounts that
  they actually receive as a result of the exercise of such powers, and neither they nor any of their
  officers, directors, employees or agents shall be responsible to any Grantor for any act or failure
  to act hereunder, except for their own gross negligence, bad faith or willful misconduct as
  determined by a final, non-appealable judgment of a court of competent jurisdiction.

           8.3    Appointment Pursuant to Credit Agreement. The Priority Lien Collateral
  Trustee has been appointed as Collateral Trustee pursuant to the Credit Agreement and the
  Collateral Trust Agreement. The rights, duties, privileges, immunities and indemnities of the
  Priority Lien Collateral Trustee hereunder are subject to the provisions of the Credit Agreement
  and the Collateral Trust Agreement.

  SECTION 9.      REMEDIES.
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           9.1     Generally.

                   (a)     If any Event of Default shall have occurred and be continuing, the
  Priority Lien Collateral Trustee may exercise in respect of the Collateral, in addition to all other
  rights and remedies provided for herein or otherwise available to it at law or in equity, all the
  rights and remedies of the Priority Lien Collateral Trustee on default under the UCC (whether or
  not the UCC applies to the affected Collateral) to collect, enforce or satisfy any Secured
  Obligations then owing, whether by acceleration or otherwise, and also may pursue any of the
  following separately, successively or simultaneously:

                            (i)     require any Grantor to, and each Grantor hereby agrees that it
           shall at its expense and promptly upon request of the Priority Lien Collateral Trustee
           forthwith, assemble all or part of the Collateral as directed by the Priority Lien Collateral
           Trustee and make it available to the Priority Lien Collateral Trustee at a place to be
           designated by the Priority Lien Collateral Trustee that is reasonably convenient to both
           parties;

                            (ii)    enter onto the property during normal business hours where any
           Collateral is located and take possession thereof with or without judicial process;

                           (iii) prior to the disposition of the Collateral, store, process, repair or
           recondition the Collateral or otherwise prepare the Collateral for disposition in any
           manner to the extent the Priority Lien Collateral Trustee deems appropriate;

                             (iv)    without notice except as specified below or under the UCC, sell,
           assign, lease, license (on an exclusive or nonexclusive basis) or otherwise dispose of the
           Collateral or any part thereof in one or more parcels at public or private sale, at any of the
           Priority Lien Collateral Trustee’s offices or elsewhere, for cash, on credit or for future
           delivery, at such time or times and at such price or prices and upon such other terms as
           the Priority Lien Collateral Trustee may deem commercially reasonable; and

                            (v)   visit and inspect any of the properties of any Grantor or
           subsidiary of any Grantor, to inspect, copy and take extracts from such Grantor’s
           financial and accounting records relating to the Collateral, including the Accounts, at
           such times and during normal business hours as the Priority Lien Collateral Trustee may
           reasonably request.

                   (b)      The Priority Lien Collateral Trustee or any other Secured Party may be
  the purchaser of any or all of the Collateral at any public or private (to the extent the portion of
  the Collateral being privately sold is of a kind that is customarily sold on a recognized market or
  the subject of widely distributed standard price quotations) sale in accordance with the UCC and
  the Priority Lien Collateral Trustee, as collateral trustee for and representative of the Secured
  Parties, shall be entitled, for the purpose of bidding and making settlement or payment of the
  purchase price for all or any portion of the Collateral sold at any such sale made in accordance
  with the UCC, to use and apply any of the Secured Obligations as a credit on account of the
  purchase price for any Collateral payable by the Priority Lien Collateral Trustee at such sale.
  Each purchaser at any such sale shall hold the property sold absolutely free from any claim or
  right on the part of any Grantor, and each Grantor hereby waives (to the extent permitted by
  applicable law) all rights of redemption, stay and/or appraisal which it now has or may at any
  time in the future have under any rule of law or statute now existing or hereafter enacted. Each
  Grantor agrees that, to the extent notice of sale shall be required by law, at least ten (10) days’
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  notice to such Grantor of the time and place of any public sale or the time after which any private
  sale is to be made shall constitute reasonable notification. The Priority Lien Collateral Trustee
  shall not be obligated to make any sale of Collateral regardless of notice of sale having been
  given. The Priority Lien Collateral Trustee may adjourn any public or private sale from time to
  time by announcement at the time and place fixed therefor, and such sale may, without further
  notice, be made at the time and place to which it was so adjourned. Each Grantor agrees that it
  would not be commercially unreasonable for the Priority Lien Collateral Trustee to dispose of the
  Collateral or any portion thereof by using Internet sites that provide for the auction of assets of
  the types included in the Collateral or that have the reasonable capability of doing so, or that
  match buyers and sellers of assets. Each Grantor hereby waives any claims against the Priority
  Lien Collateral Trustee arising by reason of the fact that the price at which any Collateral may
  have been sold at such a private sale was less than the price which might have been obtained at a
  public sale, even if the Priority Lien Collateral Trustee accepts the first offer received and does
  not offer such Collateral to more than one offeree. If the proceeds of any sale or other disposition
  of the Collateral are insufficient to pay all the Secured Obligations, Grantors shall be liable for
  the deficiency and the reasonable fees of any attorneys employed by the Priority Lien Collateral
  Trustee to collect such deficiency. Each Grantor further agrees that a breach of any of the
  covenants contained in this Section will cause irreparable injury to the Priority Lien Collateral
  Trustee, that the Priority Lien Collateral Trustee has no adequate remedy at law in respect of such
  breach and, as a consequence, that each and every covenant contained in this Section shall be
  specifically enforceable against such Grantor, and such Grantor hereby waives to the extent
  permitted by applicable law and agrees not to assert any defenses against an action for specific
  performance of such covenants except for a defense that no default has occurred giving rise to the
  Secured Obligations becoming due and payable prior to their stated maturities. Nothing in this
  Section shall in any way alter the rights of the Priority Lien Collateral Trustee hereunder.

                   (c)    The Priority Lien Collateral Trustee may sell the Collateral without
  giving any warranties as to the Collateral. The Priority Lien Collateral Trustee may specifically
  disclaim or modify any warranties of title or the like. This procedure will not be considered to
  adversely affect the commercial reasonableness of any sale of the Collateral.

                   (d)     The Priority Lien Collateral Trustee shall have no obligation to marshal
  any of the Collateral.

                   (e)    Any exercise of remedies provided in this Section 9 shall be subject to
  the Intercreditor Agreement.

          9.2      Application of Proceeds. All proceeds received by the Priority Lien Collateral
  Trustee in respect of any sale of, any collection from, or other realization upon all or any part of
  the Collateral shall be applied by the Priority Lien Collateral Trustee as provided in the Collateral
  Trust Agreement.

          9.3     Sales on Credit. If Priority Lien Collateral Trustee sells any of the Collateral
  upon credit, Grantor will be credited only with payments actually made by purchaser and
  received by Priority Lien Collateral Trustee and applied to indebtedness of the purchaser. In the
  event the purchaser fails to pay for the Collateral, Priority Lien Collateral Trustee may resell the
  Collateral and Grantor shall be credited with proceeds of the sale.

           9.4     Investment Related Property. Each Grantor recognizes that, by reason of
  certain prohibitions contained in the Securities Act and applicable state securities laws, the
  Priority Lien Collateral Trustee may be compelled, with respect to any sale of all or any part of

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  the Investment Related Property conducted without prior registration or qualification of such
  Investment Related Property under the Securities Act and/or such state securities laws, to limit
  purchasers to those who will agree, among other things, to acquire the Investment Related
  Property for their own account, for investment and not with a view to the distribution or resale
  thereof. Each Grantor acknowledges that any such private sale may be at prices and on terms less
  favorable than those obtainable through a public sale without such restrictions (including a public
  offering made pursuant to a registration statement under the Securities Act) and, notwithstanding
  such circumstances, each Grantor agrees that any such private sale shall be deemed to have been
  made in a commercially reasonable manner and that the Priority Lien Collateral Trustee shall
  have no obligation to engage in public sales and no obligation to delay the sale of any Investment
  Related Property for the period of time necessary to permit the issuer thereof to register it for a
  form of public sale requiring registration under the Securities Act or under applicable state
  securities laws, even if such issuer would, or should, agree to so register it. If the Priority Lien
  Collateral Trustee determines to exercise its right to sell any or all of the Investment Related
  Property, upon written request, each Grantor shall and shall cause each issuer of any Pledged
  Stock to be sold hereunder, each partnership and each limited liability company from time to time
  to furnish to the Priority Lien Collateral Trustee all such information as the Priority Lien
  Collateral Trustee may request in order to determine the number and nature of interest, shares or
  other instruments included in the Investment Related Property which may be sold by the Priority
  Lien Collateral Trustee in exempt transactions under the Securities Act and the rules and
  regulations of the Securities and Exchange Commission thereunder, as the same are from time to
  time in effect.

           9.5     Grant of Intellectual Property License. For the purpose of enabling the
  Priority Lien Collateral Trustee, during the continuance of an Event of Default, to exercise rights
  and remedies under Section 9 hereof at such time as the Priority Lien Collateral Trustee shall be
  lawfully entitled to exercise such rights and remedies, and for no other purpose, each Grantor
  hereby grants to the Priority Lien Collateral Trustee, to the extent assignable, a non-exclusive
  license (exercisable without payment of royalty or other compensation to such Grantor), subject,
  in the case of Trademarks, to sufficient rights to quality control and inspection in favor of such
  Grantor to avoid the risk of invalidation of such Trademarks, to use, assign, license or sublicense
  any of the Intellectual Property now owned or hereafter acquired, developed or created by such
  Grantor, wherever the same may be located. Such license shall include access to all media in
  which any of the licensed items may be recorded or stored and to all computer programs used for
  the compilation or printout hereof.

           9.6     Intellectual Property.

                   (a)     Anything contained herein to the contrary notwithstanding, in addition to
  the other rights and remedies provided herein, upon the occurrence and during the continuation of
  an Event of Default:

                            (i)      the Priority Lien Collateral Trustee shall have the right (but not
           the obligation) to bring suit or otherwise commence any action or proceeding in the name
           of any Grantor, the Priority Lien Collateral Trustee or otherwise, to enforce any
           Intellectual Property rights of such Grantor, in which event such Grantor shall, at the
           request of the Priority Lien Collateral Trustee, do any and all lawful acts and execute any
           and all documents required by the Priority Lien Collateral Trustee in aid of such
           enforcement, and such Grantor shall promptly, upon demand, reimburse and indemnify
           the Priority Lien Collateral Trustee as provided in Section 12 hereof in connection with
           the exercise of its rights under this Section 9.6, and, to the extent that the Priority Lien

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           Collateral Trustee shall elect not to bring suit to enforce any Intellectual Property rights
           as provided in this Section 9.6, each Grantor agrees to use all reasonable measures,
           whether by action, suit, proceeding or otherwise, to prevent the infringement,
           misappropriation, dilution or other violation of any of such Grantor’s rights in the
           Intellectual Property by others and for that purpose agrees to diligently maintain any
           action, suit or proceeding against any Person so infringing, misappropriating, diluting or
           otherwise violating as shall be necessary to prevent such infringement, misappropriation,
           dilution or other violation;

                            (ii)     upon written demand from the Priority Lien Collateral Trustee,
           each Grantor shall grant, assign, convey or otherwise transfer to the Priority Lien
           Collateral Trustee or such Priority Lien Collateral Trustee’s designee all of such
           Grantor’s right, title and interest in and to any Intellectual Property and shall execute and
           deliver to the Priority Lien Collateral Trustee such documents as are necessary or
           appropriate to carry out the intent and purposes of this Agreement;

                            (iii) each Grantor agrees that such an assignment and/or recording
           shall be applied to reduce the Secured Obligations outstanding only to the extent that the
           Priority Lien Collateral Trustee (or any other Secured Party) receives cash proceeds in
           respect of the sale of, or other realization upon, any such Intellectual Property;

                           (iv)     within five (5) Business Days after written notice from the
           Priority Lien Collateral Trustee, each Grantor shall make available to the Priority Lien
           Collateral Trustee, to the extent within such Grantor’s power and authority, such
           personnel in such Grantor’s employ on the date of such Event of Default as the Priority
           Lien Collateral Trustee may reasonably designate, by name, title or job responsibility, to
           permit such Grantor to continue, directly or indirectly, to produce, advertise and sell the
           products and services sold or delivered by such Grantor under or in connection with any
           Trademarks or Trademark Licenses, such persons to be available to perform their prior
           functions on the Priority Lien Collateral Trustee’s behalf and to be compensated by the
           Priority Lien Collateral Trustee at such Grantor’s expense on a per diem, pro-rata basis
           consistent with the salary and benefit structure applicable to each as of the date of such
           Event of Default; and

                            (v)      the Priority Lien Collateral Trustee shall have the right to notify,
           or require each Grantor to notify, any obligors with respect to amounts due or to become
           due to such Grantor in respect of any Intellectual Property of such Grantor, of the
           existence of the security interest created herein, to direct such obligors to make payment
           of all such amounts directly to the Priority Lien Collateral Trustee, and, upon such
           notification and at the expense of such Grantor, to enforce collection of any such amounts
           and to adjust, settle or compromise the amount or payment thereof, in the same manner
           and to the same extent as such Grantor might have done;

           (1)     all amounts and proceeds (including checks and other instruments) received by
                   Grantor in respect of amounts due to such Grantor in respect of the Collateral or
                   any portion thereof shall be received in trust for the benefit of the Priority Lien
                   Collateral Trustee hereunder, shall be segregated from other funds of such
                   Grantor and shall be forthwith paid over or delivered to the Priority Lien
                   Collateral Trustee in the same form as so received (with any necessary
                   endorsement) to be held as cash Collateral and applied as provided by Section 9.7
                   hereof; and
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           (2)     Grantor shall not adjust, settle or compromise the amount or payment of any such
                   amount or release wholly or partly any obligor with respect thereto or allow any
                   credit or discount thereon.

                   (b)      If (i) an Event of Default shall have occurred and, by reason of cure,
  waiver, modification, amendment or otherwise, no longer be continuing, (ii) no other Event of
  Default shall have occurred and be continuing, (iii) an assignment or other transfer to the Priority
  Lien Collateral Trustee of any rights, title and interests in and to any Intellectual Property of such
  Grantor shall have been previously made and shall have become absolute and effective, and (iv)
  the Secured Obligations shall not have become immediately due and payable, upon the written
  request of any Grantor, the Priority Lien Collateral Trustee shall promptly execute and deliver to
  such Grantor, at such Grantor’s sole cost and expense, such assignments or other transfer as may
  be necessary to reassign to such Grantor any such rights, title and interests as may have been
  assigned to the Priority Lien Collateral Trustee as aforesaid, subject to any disposition thereof
  that may have been made by the Priority Lien Collateral Trustee; provided, after giving effect to
  such reassignment, the Priority Lien Collateral Trustee’s security interest granted pursuant hereto,
  as well as all other rights and remedies of the Priority Lien Collateral Trustee granted hereunder,
  shall continue to be in full force and effect; and provided further, the rights, title and interests so
  reassigned shall be free and clear of any other Liens granted by or on behalf of the Priority Lien
  Collateral Trustee and the Secured Parties.

          9.7      Cash Proceeds; Deposit Accounts. (a) If any Event of Default shall have
  occurred and be continuing, in addition to the rights of the Priority Lien Collateral Trustee
  specified in Section 6.5 with respect to payments of Receivables, all proceeds of any Collateral
  received by any Grantor consisting of cash, checks and other near-cash items (collectively, “Cash
  Proceeds”) shall, subject to the terms of and the priorities set forth in the Intercreditor
  Agreement, be held by such Grantor in trust for the Priority Lien Collateral Trustee, segregated
  from other funds of such Grantor, and shall, forthwith upon receipt by such Grantor, be turned
  over to the Priority Lien Collateral Trustee in the exact form received by such Grantor (duly
  indorsed by such Grantor to the Priority Lien Collateral Trustee, if required) and, until the ABL
  Termination Date shall have occurred, held by the Priority Lien Collateral Trustee in a Deposit
  Account maintained under the dominion and control of the Collateral Trustee. Any Cash
  Proceeds received by the Priority Lien Collateral Trustee (whether from a Grantor or otherwise)
  may, subject to the terms of and the priorities set forth in the Intercreditor Agreement, (i) be held
  by the Priority Lien Collateral Trustee for the ratable benefit of the Secured Parties, as collateral
  security for the Secured Obligations (whether matured or unmatured) and/or (ii) then or at any
  time thereafter may be applied by the Priority Lien Collateral Trustee against the Secured
  Obligations then due and owing in accordance with Section 9.2 hereof.

          (b) Until the ABL Termination Date shall have occurred, if any Event of Default shall
  have occurred and be continuing, the Priority Lien Collateral Trustee may, subject to the terms of
  and the priorities set forth in the Intercreditor Agreement, apply the balance from any Deposit
  Account or instruct the bank at which any Deposit Account is maintained to pay the balance of
  any Deposit Account to or for the benefit of the Priority Lien Collateral Trustee.

  SECTION 10. PRIORITY LIEN COLLATERAL TRUSTEE.

          The Priority Lien Collateral Trustee has been appointed to act as Priority Lien Collateral
  Trustee hereunder by each Priority Lien Representative and, by their acceptance of the benefits
  hereof, the other Secured Parties. The Priority Lien Collateral Trustee shall be obligated, and
  shall have the right hereunder, to make demands, to give notices, to exercise or refrain from

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  exercising any rights, and to take or refrain from taking any action (including, without limitation,
  the release or substitution of Collateral), solely in accordance with this Agreement and the
  Collateral Trust Agreement; provided, the Priority Lien Collateral Trustee shall exercise, or
  refrain from exercising, any remedies provided for herein in accordance with the terms of the
  Collateral Trust Agreement and the Intercreditor Agreement. In furtherance of the foregoing
  provisions of this Section, each Secured Party, by its acceptance of the benefits hereof, agrees that
  it shall have no right individually to realize upon any of the Collateral hereunder, it being
  understood and agreed by such Secured Party that all rights and remedies hereunder may be
  exercised solely by the Priority Lien Collateral Trustee for the benefit of Secured Parties in
  accordance with the terms of this Section. The rights, privileges, protections and immunities in
  the Collateral Trust Agreement for the benefit of the Collateral Trustee and the other provisions
  of the Collateral Trust Agreement relating to the Collateral Trustee are hereby incorporated
  herein with respect to the Priority Lien Collateral Trustee.

  SECTION 11. CONTINUING SECURITY INTEREST; TRANSFER OF LOANS.

           This Agreement shall create a continuing security interest in the Collateral and shall
  remain in full force and effect until the Discharge of Priority Lien Obligations and shall be
  binding upon each Grantor, its successors and permitted assigns, and inure, together with the
  rights and remedies of the Priority Lien Collateral Trustee hereunder, to the benefit of the Priority
  Lien Collateral Trustee and its successors, transferees and permitted assigns. Without limiting
  the generality of the foregoing, but subject to the terms of the Credit Agreement, any Lender may
  assign or otherwise transfer any Loans held by it to any other Person, and such other Person shall
  thereupon become vested with all the benefits in respect thereof granted to Lenders herein or
  otherwise. Upon the Discharge of Priority Lien Obligations, the security interest granted hereby
  shall automatically terminate hereunder and of record and all rights to the Collateral shall revert
  to Grantors or to whomsoever may be lawfully entitled to receive the same (in accordance with
  the Collateral Trust Agreement, the Intercreditor Agreement or otherwise). Upon any such
  termination the Priority Lien Collateral Trustee shall, at Grantors’ expense, execute and deliver to
  Grantors or otherwise authorize the filing of such documents as Grantors shall reasonably request,
  including financing statement amendments or terminations, account control termination letters,
  and any other such documents to evidence such termination. All other releases of Collateral
  shall be made in accordance with the terms of the Collateral Trust Agreement and the
  Intercreditor Agreement.

  SECTION 12. STANDARD OF CARE; PRIORITY LIEN COLLATERAL TRUSTEE
              MAY PERFORM.

           The powers conferred on the Priority Lien Collateral Trustee hereunder are solely to
  protect its interest in the Collateral and shall not impose any duty upon it to exercise any such
  powers. Except for the exercise of reasonable care in the custody of any Collateral in its
  possession and the accounting for moneys actually received by it hereunder, the Priority Lien
  Collateral Trustee shall have no duty as to any Collateral or as to the taking of any necessary
  steps to preserve rights against prior parties or any other rights pertaining to any Collateral. The
  Priority Lien Collateral Trustee shall be deemed to have exercised reasonable care in the custody
  and preservation of Collateral in its possession if such Collateral is accorded treatment
  substantially equal to that which the Priority Lien Collateral Trustee accords its own property.
  Neither the Priority Lien Collateral Trustee nor any of its directors, officers, employees or agents
  shall be liable for failure to demand, collect or realize upon all or any part of the Collateral or for
  any delay in doing so or shall be under any obligation to sell or otherwise dispose of any
  Collateral upon the request of any Grantor or otherwise. If any Grantor fails to perform any

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  agreement contained herein, the Priority Lien Collateral Trustee may, but shall not be required to,
  itself perform, or cause performance of, such agreement, and the expenses of the Priority Lien
  Collateral Trustee incurred in connection therewith shall be payable by each Grantor under the
  Collateral Trust Agreement.

  SECTION 13. MISCELLANEOUS.

           Any notice, request or demand required or permitted to be given under this Agreement
  shall be given in accordance with the Collateral Trust Agreement. No failure or delay on the part
  of the Priority Lien Collateral Trustee in the exercise of any power, right or privilege hereunder
  or under the Collateral Trust Agreement shall impair such power, right or privilege or be
  construed to be a waiver of any default or acquiescence therein, nor shall any single or partial
  exercise of any such power, right or privilege preclude other or further exercise thereof or of any
  other power, right or privilege. All rights and remedies existing under this Agreement and the
  Collateral Trust Agreement are cumulative to, and not exclusive of, any rights or remedies
  otherwise available. In case any provision in or obligation under this Agreement shall be invalid,
  illegal or unenforceable in any jurisdiction, the validity, legality and enforceability of the
  remaining provisions or obligations, or of such provision or obligation in any other jurisdiction,
  shall not in any way be affected or impaired thereby. All covenants hereunder shall be given
  independent effect so that if a particular action or condition is not permitted by any of such
  covenants, the fact that it would be permitted by an exception to, or would otherwise be within
  the limitations of, another covenant shall not avoid the occurrence of a Default or an Event of
  Default if such action is taken or condition exists. This Agreement shall be binding upon and
  inure to the benefit of the Priority Lien Collateral Trustee and Grantors and their respective
  successors and permitted assigns. No Grantor shall, without the prior written consent of the
  Priority Lien Collateral Trustee given in accordance with the Collateral Trust Agreement, assign
  any right, duty or obligation hereunder. This Agreement and the Collateral Trust Agreement
  embody the entire agreement and understanding between Grantors and the Priority Lien
  Collateral Trustee and supersede all prior agreements and understandings between such parties
  relating to the subject matter hereof and thereof. Accordingly, the Collateral Trust Agreement
  may not be contradicted by evidence of prior, contemporaneous or subsequent oral agreements of
  the parties. There are no unwritten oral agreements between the parties. This Agreement may be
  executed in one or more counterparts and by different parties hereto in separate counterparts, each
  of which when so executed and delivered shall be deemed an original, but all such counterparts
  together shall constitute but one and the same instrument; signature pages may be detached from
  multiple separate counterparts and attached to a single counterpart so that all signature pages are
  physically attached to the same document. Delivery of an executed counterpart of a signature
  page of this Agreement by facsimile or other electronic transmission (including .pdf or .tif
  format) shall be effective as delivery of a manually executed counterpart of this Agreement.

             THIS AGREEMENT AND THE RIGHTS AND OBLIGATIONS OF THE
  PARTIES HEREUNDER (INCLUDING, WITHOUT LIMITATION, ANY CLAIMS
  SOUNDING IN CONTRACT LAW OR TORT LAW ARISING OUT OF THE SUBJECT
  MATTER HEREOF) SHALL BE GOVERNED BY, AND SHALL BE CONSTRUED AND
  ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK
  WITHOUT REGARD TO CONFLICT OF LAWS PRINCIPLES THEREOF THAT
  WOULD RESULT IN THE APPLICATION OF ANY LAW OTHER THAN THE LAW
  OF THE STATE OF NEW YORK (OTHER THAN ANY MANDATORY PROVISIONS
  OF THE UCC RELATING TO THE LAW GOVERNING PERFECTION AND THE
  EFFECT OF PERFECTION OF THE SECURITY INTEREST).


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            THE PROVISIONS OF THE COLLATERAL TRUST AGREEMENT
  UNDER THE HEADINGS “CONSENT TO JURISDICTION” AND “WAIVER OF JURY
  TRIAL” ARE INCORPORATED HEREIN BY THIS REFERENCE AND SUCH
  INCORPORATION SHALL SURVIVE ANY TERMINATION OF THE COLLATERAL
  TRUST AGREEMENT.

  SECTION 14. EFFECT OF RESTATEMENT.

                    This Agreement amends and restates the Existing Pledge and Security Agreement
  in its entirety, and nothing in this Agreement shall be deemed to constitute a novation of the
  Existing Pledge and Security Agreement. This Agreement does not evidence a termination and
  re-granting of the security interests and Liens granted under the Existing Pledge and Security
  Agreement and such security interests and Liens shall be continuing in all respects.




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                 IN WITNESS WHEREOF, each Grantor and the Priority Lien Collateral Trustee have
caused this Agreement to be duly executed and delivered by their respective officers thereunto duly
authorized as of the date first written above.


                                                 MURRAY ENERGY CORPORATION



                                                 By:________________________________
                                                  Name: Robert D. Moore
                                                  Title: Executive Vice President, Chief
                                                          Operating Officer and Chief Financial
                                                          Officer



                                                 MURRAY ENERGY HOLDINGS CO.



                                                 By:________________________________
                                                  Name: Robert D. Moore
                                                  Title: Chief Financial Officer




  [Signature Page to Second Amended and Restated Priority Lien Debt Pledge and Security Agreement]

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                                                 AMCA COAL LEASING, INC.
                                                 AMCOAL HOLDINGS, INC.
                                                 AMERICAN COMPLIANCE COAL, INC.
                                                 AMERICAN EQUIPMENT & MACHINE, INC.
                                                 AMERICAN MINE SERVICES, INC.
                                                 AMERICANMOUNTAINEER PROPERTIES,
                                                 INC.
                                                 AMERICAN NATURAL GAS, INC.
                                                 ANDALEX RESOURCES MANAGEMENT, INC.
                                                 ANDALEX RESOURCES, INC.
                                                 AVONMORE RAIL LOADING, INC.
                                                 BELMONT COAL, INC.
                                                 CANTERBURY COAL COMPANY
                                                 CCC LAND RESOURCES LLC
                                                 CCC RCPC LLC
                                                 CENTRAL OHIO COAL COMPANY
                                                 COAL RESOURCES, INC.
                                                 COAL RESOURCES HOLDINGS CO.
                                                 CONSOLIDATED LAND COMPANY
                                                 CONSOLIDATION COAL COMPANY
                                                 EIGHTY-FOUR MINING COMPANY
                                                 GENWAL RESOURCES, INC.
                                                 KANAWHA TRANSPORTATION CENTER, INC.
                                                 KENAMERICAN RESOURCES, INC.
                                                 KEYSTONE COAL MINING CORPORATION
                                                 MCELROY COAL COMPANY
                                                 MILL CREEK MINING COMPANY
                                                 MON RIVER TOWING, INC.
                                                 MURRAY AMERICAN ENERGY, INC.
                                                 MURRAY AMERICAN RESOURCES, INC.
                                                 MURRAY AMERICAN TRANSPORTATION,
                                                 INC.
                                                 MURRAY KEYSTONE PROCESSING, INC.
                                                 MURRAY SOUTH AMERICA, INC.
                                                 OHIOAMERICAN ENERGY, INCORPORATED
                                                 OHIO ENERGY TRANSPORTATION, INC.
                                                 ONEIDA COAL COMPANY, INC.
                                                 PENNAMERICAN COAL, INC.
                                                 PINSKI CORP.
                                                 PLEASANT FARMS, INC.
                                                 PREMIUM COAL, INC.
                                                 SOUTHERN OHIO COAL COMPANY
                                                 SPRING CHURCH COAL COMPANY
                                                 THE AMERICAN COAL COMPANY
                                                 THE HARRISON COUNTY COAL COMPANY
                                                 THE MARION COUNTY COAL COMPANY
                                                 THE MARSHALL COUNTY COAL COMPANY
                                                 THE MONONGALIA COUNTY COAL
                                                 COMPANY
                                                 THE OHIO COUNTY COAL COMPANY
                                                 TWIN RIVERS TOWING COMPANY
  [Signature Page to Second Amended and Restated Priority Lien Debt Pledge and Security Agreement]

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                                                 UTAHAMERICAN ENERGY, INC.
                                                 WEST RIDGE RESOURCES, INC.



                                                 By:________________________________
                                                  Name: Robert D. Moore
                                                  Title: Authorized Signatory




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                                                 AMERICANHOCKING ENERGY, INC.
                                                 MAPLE CREEK MINING, INC.
                                                 MAPLE CREEK PROCESSING, INC.
                                                 OHIO VALLEY RESOURCES, INC.
                                                 SUNBURST RESOURCES, INC.
                                                 THE OHIO VALLEY COAL COMPANY
                                                 THE OHIO VALLEY TRANSLOADING
                                                 COMPANY
                                                 UMCO ENERGY, INC.


                                                 By:________________________________
                                                  Name: Ronnie D. Dietz
                                                  Title: Authorized Signatory




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                                                 MONVALLEY TRANSPORTATION CENTER,
                                                 INC.
                                                 THE OKLAHOMA COAL COMPANY



                                                 By:________________________________
                                                  Name: Paul B. Piccolini
                                                  Title: President




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                                                 WEST VIRGINIA RESOURCES, INC.


                                                 By:________________________________
                                                  Name: Robert L. Putsock
                                                  Title: Secretary and Treasurer




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                                                 PENNAMERICAN COAL, L.P.

                                                 By: PINSKI CORP.
                                                 Its: General Partner


                                                 By:________________________________
                                                  Name: Robert D. Moore
                                                  Title: Treasurer and Secretary




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                                                 AMERICAN ENERGY CORPORATION
                                                 AMERICANMOUNTAINEER ENERGY, INC.
                                                 ANCHOR LONGWALL AND REBUILD, INC.
                                                 CORPORATE AVIATION SERVICES, INC.
                                                 EMPIRE DOCK, INC.
                                                 ENERGY RESOURCES, INC.
                                                 ENERGY TRANSPORTATION, INC.
                                                 PENNSYLVANIA TRANSLOADING, INC.
                                                 T D K COAL SALES, INCORPORATED
                                                 THE AMERICAN COAL SALES COMPANY


                                                 By:________________________________
                                                  Name: Michael O. McKown
                                                  Title: Authorized Signatory




 [Signature Page to Second Amended and Restated Priority Lien Debt Pledge and Security Agreement]

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                                                       MURRAY AMERICAN RIVER TOWING, INC.
                                                       THE FRANKLIN COUNTY COAL COMPANY
                                                       THE MEIGS COUNTY COAL COMPANY
                                                       THE MUSKINGUM COUNTY COAL COMPANY
                                                       THE WASHINGTON COUNTY COAL COMPANY



                                                       By: ___________________________________________
                                                         Name:
                                                         Title:




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                                                       MURRAY AMERICAN KENTUCKY TOWING, INC.



                                                       By: ___________________________________________
                                                        Name:
                                                        Title:




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                                                       MURRAY EQUIPMENT & MACHINE, INC.



                                                       By: ___________________________________________
                                                        Name:
                                                        Title:




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                                                       THE MCLEAN COUNTY COAL COMPANY



                                                       By: ___________________________________________
                                                        Name:
                                                        Title:




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                                                       MURRAY AMERICAN COAL, INC.



                                                       By: ___________________________________________
                                                        Name:
                                                        Title:




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                                              U.S. BANK NATIONAL ASSOCIATION,
                                              as Priority Lien Collateral Trustee



                                              By:______________________________
                                                      Authorized Signatory




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                                                                            SCHEDULE 5.1
                                                       TO SECOND AMENDED AND RESTATED
                                      PRIORITY LIEN DEBT PLEDGE AND SECURITY AGREEMENT

                                       GENERAL INFORMATION

 (A)       Full Legal Name, Other Names (including any Trade Name or Fictitious Business Name) , Type
           of Organization, Jurisdiction of Organization, Chief Executive Office/Sole Place of Business (or
           Residence if Grantor is a Natural Person) and Organizational Identification Number of each
           Grantor:

                                                                      Chief Executive
                                                                      Office/Sole Place of
                Trade Name or                                         Business (or
Full Legal      Fictitious       Type of          Jurisdiction of     Residence if Grantor   Organization
Name            Business Name    Organization     Organization        is a Natural Person)   I.D.#




 (C)       Changes in Name, Jurisdiction of Organization, Chief Executive Office or Sole Place of Business
           (or Principal Residence if Grantor is a Natural Person) and Corporate Structure within past five
           (5) years:

 Grantor                         Date of Change                     Description of Change




                                             SCHEDULE 5.2-1
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                                                                                      SCHEDULE 5.2
                                                                 TO SECOND AMENDED AND RESTATED
                                                PRIORITY LIEN DEBT PLEDGE AND SECURITY AGREEMENT


                                            COLLATERAL IDENTIFICATION

         I. INVESTMENT RELATED PROPERTY
(A)      Pledged Stock:
                                                                                                                 Percentage
                                                                                                                 of
                                                                                                                 Outstandin
                                                                     Stock                       No. of          g Stock of
                    Stock           Class of        Certificate      Certificate                 Pledged         the Stock
      Grantor       Issuer          Stock           d (Y/N)          No.            Par Value    Stock           Issuer



         Pledged LLC Interests:
                                                                                                          Percentage of
                                                                                                          Outstanding
                                                                                                          LLC Interests
                        Limited                                                                           of the Limited
                        Liability         Certificated            Certificate No.   No. of Pledged        Liability
 Grantor                Company           (Y/N)                   (if any)          Units                 Company



         Pledged Partnership Interests:
                                               Type of                                                       Percentage of
                                               Partnership                                                   Outstanding
                                               Interests (e.g.,                                              Partnership
                                               general or            Certificated       Certificate No.      Interests of the
      Grantor              Partnership         limited)              (Y/N)              (if any)             Partnership



         Trust Interests or other Equity Interests not listed above:
                                                                                                          Percentage of
                                                                                                          Outstanding
                                          Class of Trust          Certificated      Certificate No.       Trust Interests
 Grantor                Trust             Interests               (Y/N)             (if any)              of the Trust




                                                       SCHEDULE 5.2-2
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       Pledged Debt:
                                          Original         Outstanding
                                          Principal        Principal
Grantor               Issuer              Amount           Balance            Issue Date          Maturity Date



       Securities Account:
                                   Share of Securities
   Grantor                         Intermediary               Account Number                  Account Name



       Deposit Accounts:

                                   Name of Depositary
    Grantor                        Bank                       Account Number                  Account Name



       Commodity Contracts and Commodity Accounts:
                        Name of Commodity
Grantor                 Intermediary               Account Number                       Account Name




                                             II. INTELLECTUAL PROPERTY

       (A)      Copyrights



                                                  Registration           Registration Date
Grantor                   Title of Work           Number (if any)        (if any)




       (B)      Patents


                                                  Patent
                                                  Number/(Applicatio     Issue Date/(Filing
Grantor                   Title of Patent         n Number)              Date)




                                                      SCHEDULE 5.2-3
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          (C)    Trademarks


                                                 Registration
                                                 Number/(Serial          Registration
Grantor                   Trademark              Number)                 Date/(Filing Date)




      III. COMMERCIAL TORT CLAIMS


                Grantor                                         Commercial Tort Claims




      IV. LETTER OF CREDIT RIGHTS

      Grantor                                      Description of Letters of Credit




      V. WAREHOUSEMAN, BAILEES AND OTHER THIRD PARTIES IN POSSESSION OF
      COLLATERAL


      Grantor                         Description of Property         Name and Address of Third Party




                                                    SCHEDULE 5.2-4
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                                                            SCHEDULE 5.4
                                       TO SECOND AMENDED AND RESTATED
                      PRIORITY LIEN DEBT PLEDGE AND SECURITY AGREEMENT


  FINANCING STATEMENTS:

     Grantor                          Filing Jurisdiction(s)




                              SCHEDULE 5.4-1
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                                                                    SCHEDULE 5.5
                                               TO SECOND AMENDED AND RESTATED
                              PRIORITY LIEN DEBT PLEDGE AND SECURITY AGREEMENT

  (B)

          (1)      Any Account Debtor in respect of any Receivable in excess of $1,000,000
  individually or $2,500,000 in the aggregate that is the government of the United States, any
  agency or instrumentality thereof, any state or municipality or any foreign sovereign:


  Account Debtors




          (2)      Any Receivable in excess of $1,000,000 individually or $2,500,000 in the
  aggregate that requires the consent of the Account Debtor in respect thereof in connection with
  the security interest hereunder, except any consent which has been obtained:


  Receivables Requiring Consent




  (D)      Locations of material Equipment and Inventory, other than any Inventory or Equipment
  in transit, undergoing repairs, replacements loaned to employees, or kept on the premises of
  customers:


  Grantor                                           Location of Equipment and Inventory




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                                                                       EXHIBIT A
                                               TO SECOND AMENDED AND RESTATED
                              PRIORITY LIEN DEBT PLEDGE AND SECURITY AGREEMENT

                                     PLEDGE SUPPLEMENT

          This PLEDGE SUPPLEMENT, dated [mm/dd/yy], is delivered by [NAME OF
  GRANTOR] a [NAME OF STATE OF INCORPORATION] [Corporation] (the “Grantor”)
  pursuant to the Second Amended and Restated Priority Lien Debt Pledge and Security
  Agreement, dated as of April 16, 2015 (as it may be from time to time amended, restated,
  modified or supplemented, the “Security Agreement”), among MURRAY ENERGY
  CORPORATION, the other Grantors named therein, and U.S. BANK NATIONAL
  ASSOCIATION, as the Priority Lien Collateral Trustee. Capitalized terms used herein not
  otherwise defined herein shall have the meanings ascribed thereto in the Security Agreement.

           Grantor hereby confirms the grant to the Priority Lien Collateral Trustee set forth in the
  Security Agreement of, and does hereby grant to the Priority Lien Collateral Trustee, a security
  interest in all of Grantor’s right, title and interest in, to and under all Collateral to secure the
  Secured Obligations, in each case whether now or hereafter existing or in which Grantor now has
  or hereafter acquires an interest and wherever the same may be located. Grantor represents and
  warrants that the attached Supplements to Schedules accurately and completely set forth all
  additional information required to be provided pursuant to the Security Agreement and hereby
  agrees that such Supplements to Schedules shall constitute part of the Schedules to the Security
  Agreement.

           Notwithstanding anything herein to the contrary, the lien and security interest granted to
  the Priority Lien Collateral Trustee pursuant to the Security Agreement or this Agreement and the
  exercise of any right or remedy by the Priority Lien Collateral Trustee under the Security
  Agreement are subject to the provisions of the Intercreditor Agreement. In the event of any
  conflict between the terms of the Intercreditor Agreement and this Agreement, the terms of the
  Intercreditor Agreement shall govern and control.

             THIS PLEDGE SUPPLEMENT AND THE RIGHTS AND OBLIGATIONS
  OF THE PARTIES HEREUNDER (INCLUDING, WITHOUT LIMITATION, ANY
  CLAIMS SOUNDING IN CONTRACT LAW OR TORT LAW ARISING OUT OF THE
  SUBJECT MATTER HEREOF) SHALL BE GOVERNED BY, AND SHALL BE
  CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE
  STATE OF NEW YORK WITHOUT REGARD TO CONFLICT OF LAWS PRINCIPLES
  THEREOF THAT WOULD RESULT IN THE APPLICATION OF ANY LAW OTHER
  THAN THE LAW OF THE STATE OF NEW YORK (OTHER THAN ANY
  MANDATORY PROVISIONS OF THE UCC RELATING TO THE LAW GOVERNING
  PERFECTION AND THE EFFECT OF PERFECTION OF THE SECURITY
  INTEREST).

         IN WITNESS WHEREOF, Grantor has caused this Pledge Supplement to be duly
  executed and delivered by its duly authorized officer as of [mm/dd/yy].




                                            EXHIBIT B-1
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                                     [NAME OF GRANTOR]


                                     By:_____________________________
                                     Name:
                                     Title:




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                                                       SUPPLEMENT TO SCHEDULE 5.1
                                                 TO SECOND AMENDED AND RESTATED
                                PRIORITY LIEN DEBT PLEDGE AND SECURITY AGREEMENT

   Additional Information:

                                     GENERAL INFORMATION

   (A)       Full Legal Name, Other Names (including any Trade Name or Fictitious Business Name)
             , Type of Organization, Jurisdiction of Organization, Chief Executive Office/Sole Place
             of Business (or Residence if Grantor is a Natural Person) and Organizational
             Identification Number of each Grantor:

                                                                   Chief Executive
                                                                   Office/Sole Place of
               Trade Name or                                       Business (or
Full Legal     Fictitious        Type of         Jurisdiction of   Residence if Grantor    Organization
Name           Business Name     Organization    Organization      is a Natural Person)    I.D.#




   (C)       Changes in Name, Jurisdiction of Organization, Chief Executive Office or Sole Place of
             Business (or Principal Residence if Grantor is a Natural Person) and Corporate Structure
             within past five (5) years:

Grantor                        Date of Change                 Description of Change




                                             EXHIBIT B-3
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                                                            SUPPLEMENT TO SCHEDULE 5.2
                                                      TO SECOND AMENDED AND RESTATED
                                     PRIORITY LIEN DEBT PLEDGE AND SECURITY AGREEMENT


                                      COLLATERAL IDENTIFICATION

        I. INVESTMENT RELATED PROPERTY
(A)     Pledged Stock:
                                                                                                      Percentage
                                                                                                      of
                                                                                                      Outstandin
                                                             Stock                       No. of       g Stock of
              Stock            Class of        Certificate   Certificate                 Pledged      the Stock
 Grantor      Issuer           Stock           d (Y/N)       No.            Par Value    Stock        Issuer



        Pledged LLC Interests:
                                                                                                   Percentage of
                                                                                                   Outstanding
                                                                                                   LLC Interests
                       Limited                                                                     of the Limited
                       Liability          Certificated       Certificate No.    No. of Pledged     Liability
 Grantor               Company            (Y/N)              (if any)           Units              Company



        Pledged Partnership Interests:
                                          Type of                                                  Percentage of
                                          Partnership                                              Outstanding
                                          Interests (e.g.,                                         Partnership
                                          general or         Certificated       Certificate No.    Interests of the
 Grantor               Partnership        limited)           (Y/N)              (if any)           Partnership



        Pledged Trust Interests:
                                                                                                   Percentage of
                                                                                                   Outstanding
                                          Class of Trust     Certificated       Certificate No.    Trust Interests
 Grantor               Trust              Interests          (Y/N)              (if any)           of the Trust




                                                     EXHIBIT B-4
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        Pledged Debt:
                                           Original           Outstanding
                                           Principal          Principal
Grantor                Issuer              Amount             Balance            Issue Date         Maturity Date



        Securities Account:
                                Share of Securities
 Grantor                        Intermediary                  Account Number               Account Name



        Deposit Accounts:

                                Name of Depositary
 Grantor                        Bank                          Account Number              Account Name



       Commodities Accounts:
                        Name of Commodities
Grantor                 Intermediary                          Account Number               Account Name


(B)

 Grantor                                     Date of Acquisition                  Description of Acquisition



                                           II. INTELLECTUAL PROPERTY

        (A)      Copyrights



                                                    Registration            Registration Date
Grantor                    Title of Work            Number (if any)         (if any)




        (B)      Patents


                                                    Patent
                                                    Number/(Applicatio      Issue Date/(Filing
Grantor                    Title of Patent          n Number)               Date)


                                                       EXHIBIT B-5
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      (C)       Trademarks


                                             Registration
                                             Number/(Serial           Registration
Grantor               Trademark              Number)                  Date/(Filing Date)




      III. COMMERCIAL TORT CLAIMS


          Grantor                                           Commercial Tort Claims




      IV. LETTER OF CREDIT RIGHTS

      Grantor                                  Description of Letters of Credit




      V. WAREHOUSEMAN, BAILEES AND OTHER THIRD PARTIES IN POSSESSION OF
      COLLATERAL


      Grantor                     Description of Property           Name and Address of Third Party




                                               EXHIBIT B-6
      CH\2055871.9
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                                                 SUPPLEMENT TO SCHEDULE 5.4
                                           TO SECOND AMENDED AND RESTATED
                          PRIORITY LIEN DEBT PLEDGE AND SECURITY AGREEMENT


  Financing Statements:

     Grantor                              Filing Jurisdiction(s)




                                   EXHIBIT B-7
  CH\2055871.9
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                                                     SUPPLEMENT TO SCHEDULE 5.5
                                               TO SECOND AMENDED AND RESTATED
                              PRIORITY LIEN DEBT PLEDGE AND SECURITY AGREEMENT


  (B)

          (1)      Any Account Debtor in respect of any Receivable in excess of $1,000,000
  individually or $2,500,000 in the aggregate that is the government of the United States, any
  agency or instrumentality thereof, any state or municipality or any foreign sovereign:


  Account Debtors




          (2)      Any Receivable in excess of $1,000,000 individually or $2,500,000 in the
  aggregate that requires the consent of the Account Debtor in respect thereof in connection with
  the security interest hereunder, except any consent which has been obtained:


  Receivables Requiring Consent




  (D)      Locations of material Equipment and Inventory, other than any Inventory or Equipment
  in transit, undergoing repairs, replacements loaned to employees, or kept on the premises of
  customers:


  Grantor                                           Location of Equipment and Inventory




                                            EXHIBIT B-8
  CH\2055871.9
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                                                                       EXHIBIT B
                                               TO SECOND AMENDED AND RESTATED
                              PRIORITY LIEN DEBT PLEDGE AND SECURITY AGREEMENT


                 UNCERTIFICATED SECURITIES CONTROL AGREEMENT

          This Uncertificated Securities Control Agreement (this “Agreement”) dated as of
  [_________], 20[__] among [________________] (the “Pledgor”), U.S. BANK NATIONAL
  ASSOCIATION, as Priority Lien Collateral Trustee for the Secured Parties, (the “Priority Lien
  Collateral Trustee”) and [____________], a [________] [corporation] (the “Issuer”).
  Capitalized terms used but not defined herein shall have the meaning assigned in the Second
  Amended and Restated Priority Lien Debt Pledge and Security Agreement dated as of April 16,
  2015, among the Pledgor, the other Grantors party thereto and the Priority Lien Collateral Trustee
  (as it may be amended, restated, supplemented or otherwise modified from time to time, the
  “Security Agreement”). All references herein to the “UCC” shall mean the Uniform
  Commercial Code as in effect in the State of New York.

           Section 1. Registered Ownership of Shares. The Issuer hereby confirms and agrees
  that as of the date hereof the Pledgor is the registered owner of [__________] shares of the
  Issuer’s [common] stock (the “Pledged Shares”) and the Issuer shall not change the registered
  owner of the Pledged Shares without the prior written consent of the Priority Lien Collateral
  Trustee.

          Section 2. Instructions. If at any time the Issuer shall receive instructions originated by
  the Priority Lien Collateral Trustee relating to the Pledged Shares, the Issuer shall comply with
  such instructions without further consent by the Pledgor or any other person.

          Section 3. Additional Representations and Warranties of the Issuer. The Issuer
  hereby represents and warrants to the Priority Lien Collateral Trustee:

          (a) It has not entered into, and until the termination of this agreement will not enter into,
  any agreement with any other person relating the Pledged Shares pursuant to which it has agreed
  to comply with instructions issued by such other person; and

          (b) It has not entered into, and until the termination of this agreement will not enter into,
  any agreement with the Pledgor or the Priority Lien Collateral Trustee purporting to limit or
  condition the obligation of the Issuer to comply with Instructions as set forth in Section 2 hereof.

           (c) Except for Permitted Liens (as defined in the Credit Agreement) and the claims and
  interest of the Priority Lien Collateral Trustee and of the Pledgor in the Pledged Shares, the Issuer
  does not know of any claim to, or interest in, the Pledged Shares. If any person asserts any lien,
  encumbrance or adverse claim (including any writ, garnishment, judgment, warrant of
  attachment, execution or similar process) against the Pledged Shares, the Issuer will promptly
  notify the Priority Lien Collateral Trustee and the Pledgor thereof.

          (d) This Uncertificated Securities Control Agreement is the valid and legally binding
  obligation of the Issuer.

        Section 4. Choice of Law. THIS AGREEMENT (INCLUDING, WITHOUT
  LIMITATION, ANY CLAIMS SOUNDING IN CONTRACT LAW OR TORT LAW ARISING


                                             EXHIBIT B-9
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  OUT OF THE SUBJECT MATTER HEREOF) SHALL BE GOVERNED BY, AND SHALL BE
  CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE STATE
  OF NEW YORK WITHOUT REGARD TO CONFLICT OF LAWS PRINCIPLES THEREOF
  THAT WOULD RESULT IN THE APPLICATION OF ANY LAW OTHER THAN THE LAW
  OF THE STATE OF NEW YORK.

           Section 5. Conflict with Other Agreements. In the event of any conflict between this
  Agreement (or any portion thereof) and any other agreement now existing or hereafter entered
  into, the terms of this Agreement shall prevail. No amendment or modification of this Agreement
  or waiver of any right hereunder shall be binding on any party hereto unless it is in writing and is
  signed by all of the parties hereto.

          Section 6. Voting Rights. Until such time as the Priority Lien Collateral Trustee shall
  otherwise instruct the Issuer in writing, the Pledgor shall have the right to vote the Pledged
  Shares.

           Section 7. Successors; Assignment. The terms of this Agreement shall be binding
  upon, and shall inure to the benefit of, the parties hereto and their respective corporate successors
  or heirs and personal representatives who obtain such rights solely by operation of law. The
  Priority Lien Collateral Trustee may assign its rights hereunder only with the express written
  consent of the Issuer and by sending written notice of such assignment to the Pledgor.

           Section 8. Indemnification of Issuer. The Pledgor and the Priority Lien Collateral
  Trustee hereby agree that (a) the Issuer is released from any and all liabilities to the Pledgor and
  the Priority Lien Collateral Trustee arising from the terms of this Agreement and the compliance
  of the Issuer with the terms hereof, except to the extent that such liabilities arise from the Issuer’s
  negligence and (b) the Pledgor, its successors and assigns shall at all times indemnify and save
  harmless the Issuer from and against any and all claims, actions and suits of others arising out of
  the terms of this Agreement or the compliance of the Issuer with the terms hereof, except to the
  extent that such arises from the Issuer’s negligence, and from and against any and all liabilities,
  losses, damages, costs, charges, counsel fees and other expenses of every nature and character
  arising by reason of the same, until the termination of this Agreement.

           Section 9. Notices. Any notice, request or other communication required or permitted to
  be given under this Agreement shall be in writing and deemed to have been properly given when
  delivered in person, or when sent by telecopy or other electronic means and electronic
  confirmation of error free receipt is received or two (2) days after being sent by certified or
  registered United States mail, return receipt requested, postage prepaid, addressed to the party at
  the address set forth below.

           Pledgor:                 [Name and Address of Pledgor]
                                    Attention: [________________]
                                    Telecopier: [________________]

           Priority Lien Collateral Trustee: [Name and Address of Priority Lien Collateral Trustee]
                                    Attention: [________________]
                                    Telecopier: [________________]

           Issuer:                  [Insert Name and Address of Issuer]
                                    Attention: [________________]
                                    Telecopier: [________________]


                                             EXHIBIT B-10
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           Any party may change its address for notices in the manner set forth above.

          Section 10. Termination. The obligations of the Issuer to the Priority Lien Collateral
  Trustee pursuant to this Control Agreement shall continue in effect until the security interests of
  the Priority Lien Collateral Trustee in the Pledged Shares have been terminated pursuant to the
  terms of the Security Agreement and the Priority Lien Collateral Trustee has notified the Issuer of
  such termination in writing. The Priority Lien Collateral Trustee agrees to provide Notice of
  Termination in substantially the form of Exhibit A hereto to the Issuer upon the request of the
  Pledgor on or after the termination of the Priority Lien Collateral Trustee’s security interest in the
  Pledged Shares pursuant to the terms of the Security Agreement. The termination of this Control
  Agreement shall not terminate the Pledged Shares or alter the obligations of the Issuer to the
  Pledgor pursuant to any other agreement with respect to the Pledged Shares.

          Section 11. Counterparts. This Agreement may be executed in any number of
  counterparts, all of which shall constitute one and the same instrument, and any party hereto may
  execute this Agreement by signing and delivering one or more counterparts.

                                                    [NAME OF PLEDGOR],
                                                    as Pledgor


                                                    By: _________________________
                                                    Name:
                                                    Title:


                                                    U.S. BANK NATIONAL ASSOCIATION,
                                                    as Priority Lien Collateral Trustee


                                                    By: _________________________
                                                         Authorized Signatory


                                                    [NAME OF ISSUER],
                                                    as Issuer


                                                    By: _________________________
                                                    Name:
                                                    Title:




                                            EXHIBIT B-11
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                                                                                           Exhibit A
                           [Letterhead of Priority Lien Collateral Trustee]

                                                [Date]

  [Name and Address of Issuer]
  Attention: [                    ]

                                  Re: Termination of Control Agreement

           You are hereby notified that the Uncertificated Securities Control Agreement between
  you, [Name of Pledgor] (the “Pledgor”) and the undersigned (a copy of which is attached) is
  terminated and you have no further obligations to the undersigned pursuant to such Agreement.
  Notwithstanding any previous instructions to you, you are hereby instructed to accept all future
  directions with respect to Pledged Shares (as defined in the Uncertificated Control Agreement)
  from the Pledgor. This notice terminates any obligations you may have to the undersigned with
  respect to the Pledged Shares, however nothing contained in this notice shall alter any obligations
  which you may otherwise owe to the Pledgor pursuant to any other agreement.

          You are instructed to deliver a copy of this notice by facsimile transmission to the
  Pledgor.

                                                   Very truly yours,
                                                   U.S. BANK NATIONAL ASSOCIATION,
                                                   as Priority Lien Collateral Trustee

                                                   By: _________________________
                                                        Authorized Signatory




                                           EXHIBIT B-12
  CH\2055871.9
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                                                                        EXHIBIT C
                                                TO SECOND AMENDED AND RESTATED
                               PRIORITY LIEN DEBT PLEDGE AND SECURITY AGREEMENT


           FORM OF TRADEMARK SECURITY AGREEMENT (PRIORITY LIEN)

           This TRADEMARK SECURITY AGREEMENT, dated as of [__________], 20[__]
  (as it may be amended, restated, supplemented or otherwise modified from time to time, this
  “Agreement”), is made by the entities identified as grantors on the signature pages hereto
  (collectively, the “Grantors”) in favor of U.S. BANK NATIONAL ASSOCIATION, as
  Priority Lien Collateral Trustee for the Secured Parties (in such capacity, together with its
  successors and permitted assigns, the “Priority Lien Collateral Trustee”).

           WHEREAS, the Grantors are party to that certain Second Amended and Restated
  Priority Lien Debt Pledge and Security Agreement dated as of April 16, 2015 (as it may be
  amended, restated, supplemented or otherwise modified from time to time, the “Pledge and
  Security Agreement”) between each of the Grantors and the other grantors party thereto and the
  Priority Lien Collateral Trustee pursuant to which the Grantors granted a security interest to the
  Priority Lien Collateral Trustee in the Trademark Collateral (as defined below) and are required
  to execute and deliver this Agreement.

          NOW, THEREFORE, in consideration of the foregoing and for other good and valuable
  consideration, the receipt and sufficiency of which is hereby acknowledged, the Grantors hereby
  agree with the Priority Lien Collateral Trustee as follows:

  SECTION 1.       Defined Terms

          Unless otherwise defined herein, terms defined in the Pledge and Security Agreement and
  used herein have the meaning given to them in the Pledge and Security Agreement.

  SECTION 2.       Grant of Security Interest in Trademark Collateral

          SECTION 2.1 Grant of Security. Each Grantor hereby grants to the Priority Lien
  Collateral Trustee, for the benefit of the Secured Parties, a security interest in and continuing lien
  on all of such Grantor’s right, title and interest in, to and under the following, in each case
  whether now owned or existing or hereafter acquired, developed, created or arising and wherever
  located (collectively, the “Trademark Collateral”):

           All of its United States trademarks, trade names, corporate names, company names,
           business names, fictitious business names, Internet domain names, service marks,
           certification marks, collective marks, logos, other source or business identifiers, designs
           and general intangibles of a like nature, all registrations and applications for any of the
           foregoing including, but not limited to: (i) the registrations and applications listed in
           Schedule A attached hereto, (ii) all extensions or renewals of any of the foregoing, (iii)
           all of the goodwill of the business connected with the use of and symbolized by any of
           the foregoing, (iv) the right to sue for past, present and future infringement or dilution of
           any of the foregoing or for any injury to goodwill, and (v) all Proceeds of the foregoing,
           including, without limitation, royalties, income, payments, claims, damages, and
           proceeds of suit.



                                             EXHIBIT C-1
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          SECTION 2.2 Certain Limited Exclusions. Notwithstanding anything herein to the
  contrary, in no event shall the Trademark Collateral include or the security interest granted under
  Section 2.1 hereof attach to any intent-to-use United States Trademark applications for which an
  amendment to allege use or statement of use has not been filed under federal law or, if filed, has
  not been deemed in conformance with federal law.

  SECTION 3.      Security Agreement

           The security interest granted pursuant to this Agreement is granted in conjunction with
  the security interest granted to the Priority Lien Collateral Trustee for the Secured Parties
  pursuant to the Pledge and Security Agreement, and the Grantors hereby acknowledge and affirm
  that the rights and remedies of the Priority Lien Collateral Trustee with respect to the security
  interest in the Trademark Collateral made and granted hereby are more fully set forth in the
  Pledge and Security Agreement. In the event that any provision of this Agreement is deemed to
  conflict with the Pledge and Security Agreement, the provisions of the Pledge and Security
  Agreement shall control.

  SECTION 4.      Governing Law

        THIS AGREEMENT AND THE RIGHTS AND OBLIGATIONS OF THE PARTIES
  HEREUNDER (INCLUDING, WITHOUT LIMITATION, ANY CLAIMS SOUNDING IN
  CONTRACT LAW OR TORT LAW ARISING OUT OF THE SUBJECT MATTER HEREOF)
  SHALL BE GOVERNED BY, AND SHALL BE CONSTRUED AND ENFORCED IN
  ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK WITHOUT REGARD
  TO CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD RESULT IN THE
  APPLICATION OF ANY LAW OTHER THAN THE LAW OF THE STATE OF NEW YORK
  (OTHER THAN ANY MANDATORY PROVISIONS OF LAW RELATING TO THE LAW
  GOVERNING PERFECTION AND THE EFFECT OF PERFECTION OF THE SECURITY
  INTEREST).

  SECTION 5.      Counterparts

           This Agreement may be executed in one or more counterparts and by different parties
  hereto in separate counterparts, each of which when so executed and delivered shall be deemed an
  original, but all such counterparts together shall constitute but one and the same instrument.

                             [Remainder of page intentionally left blank]




                                            EXHIBIT C-2
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          IN WITNESS WHEREOF, each Grantor has caused this Agreement to be executed and
  delivered by its duly authorized officer as of the date first set forth above.

                                            [NAME OF GRANTOR]


                                            By:
                                                  Name:
                                                  Title:



                                            [NAME OF GRANTOR]


                                            By:
                                                  Name:
                                                  Title:




                                      EXHIBIT C-3
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  Accepted and Agreed:

  U.S. BANK NATIONAL ASSOCIATION,
  as Priority Lien Collateral Trustee


  By:
          Authorized Signatory




                                  EXHIBIT C-4
  CH\2055871.9
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                                 SCHEDULE A
                                     to
                 TRADEMARK SECURITY AGREEMENT (PRIORITY LIEN)



                  TRADEMARK REGISTRATIONS AND APPLICATIONS


  Mark              Serial No.   Filing Date    Registration No.   Registration
                                                                   Date




                                  EXHIBIT C-5
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                                                                        EXHIBIT D
                                                TO SECOND AMENDED AND RESTATED
                               PRIORITY LIEN DEBT PLEDGE AND SECURITY AGREEMENT


                 FORM OF PATENT SECURITY AGREEMENT (PRIORITY LIEN)

           This PATENT SECURITY AGREEMENT, dated as of [__________], 20[__] (as it
  may be amended, restated, supplemented or otherwise modified from time to time, this
  “Agreement”), is made by the entities identified as grantors on the signature pages hereto
  (collectively, the “Grantors”) in favor of U.S. BANK NATIONAL ASSOCIATION, as
  Priority Lien Collateral Trustee for the Secured Parties (in such capacity, together with its
  successors and permitted assigns, the “Priority Lien Collateral Trustee”).

           WHEREAS, the Grantors are party to that certain Second Amended and Restated
  Priority Lien Debt Pledge and Security Agreement dated as of April 16, 2015 (as it may be
  amended, restated, supplemented or otherwise modified from time to time, the “Pledge and
  Security Agreement”) between each of the Grantors and the other grantors party thereto and the
  Priority Lien Collateral Trustee pursuant to which the Grantors granted a security interest to the
  Priority Lien Collateral Trustee in the Patent Collateral (as defined below) and are required to
  execute and deliver this Agreement.

          NOW, THEREFORE, in consideration of the foregoing and for other good and valuable
  consideration, the receipt and sufficiency of which is hereby acknowledged, the Grantors hereby
  agree with the Priority Lien Collateral Trustee as follows:

  SECTION. 1. Defined Terms

          Unless otherwise defined herein, terms defined in the Pledge and Security Agreement and
  used herein have the meaning given to them in the Pledge and Security Agreement.

  SECTION 2. Grant of Security Interest

           Each Grantor hereby grants to the Priority Lien Collateral Trustee, for the benefit of the
  Secured Parties, a security interest in and continuing lien on all of such Grantor’s right, title and
  interest in, to and under the following, in each case whether now owned or existing or hereafter
  acquired, developed, created or arising and wherever located (collectively, the “Patent
  Collateral”):

           All of its United States patents and certificates of invention, or similar industrial property
           rights, and applications for any of the foregoing, including, but not limited to: (i) each
           patent and patent application listed in Schedule A attached hereto (as such schedule may
           be amended or supplemented from time to time), (ii) all reissues, divisions, continuations,
           continuations-in-part, extensions, renewals, and reexaminations thereof, (iii) all rights
           corresponding thereto, (iv) all inventions and improvements described therein, (v) all
           rights to sue for past, present and future infringements thereof, (vi) all claims, damages,
           and proceeds of suit arising therefrom, and (vii) all Proceeds of the foregoing, including,
           without limitation, royalties, income, payments, claims, damages, and proceeds of suit.

  SECTION 3.        Security Agreement


                                              EXHIBIT D-1
  CH\2055871.9
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           The security interest granted pursuant to this Agreement is granted in conjunction with
  the security interest granted to the Priority Lien Collateral Trustee for the Secured Parties
  pursuant to the Pledge and Security Agreement, and the Grantors hereby acknowledge and affirm
  that the rights and remedies of the Priority Lien Collateral Trustee with respect to the security
  interest in the Patent Collateral made and granted hereby are more fully set forth in the Pledge
  and Security Agreement. In the event that any provision of this Agreement is deemed to conflict
  with the Pledge and Security Agreement, the provisions of the Pledge and Security Agreement
  shall control.

  SECTION 4.      Governing Law

        THIS AGREEMENT AND THE RIGHTS AND OBLIGATIONS OF THE PARTIES
  HEREUNDER (INCLUDING, WITHOUT LIMITATION, ANY CLAIMS SOUNDING IN
  CONTRACT LAW OR TORT LAW ARISING OUT OF THE SUBJECT MATTER HEREOF)
  SHALL BE GOVERNED BY, AND SHALL BE CONSTRUED AND ENFORCED IN
  ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK WITHOUT REGARD
  TO CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD RESULT IN THE
  APPLICATION OF ANY LAW OTHER THAN THE LAW OF THE STATE OF NEW YORK
  (OTHER THAN ANY MANDATORY PROVISIONS OF LAW RELATING TO THE LAW
  GOVERNING PERFECTION AND THE EFFECT OF PERFECTION OF THE SECURITY
  INTEREST).

  SECTION 5.      Counterparts

           This Agreement may be executed in one or more counterparts and by different parties
  hereto in separate counterparts, each of which when so executed and delivered shall be deemed an
  original, but all such counterparts together shall constitute but one and the same instrument.

                            [Remainder of page intentionally left blank]




                                           EXHIBIT D-2
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          IN WITNESS WHEREOF, each Grantor has caused this Agreement to be executed and
  delivered by its duly authorized officer as of the date first set forth above.

                                            [NAME OF GRANTOR]


                                            By:
                                                  Name:
                                                  Title:


                                            [NAME OF GRANTOR]


                                            By:
                                                  Name:
                                                  Title:




                                      EXHIBIT D-3
  CH\2055871.9
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  Accepted and Agreed:

  U.S. BANK NATIONAL ASSOCIATION,
  as Priority Lien Collateral Trustee


  By:
        Authorized Signatory




                                  EXHIBIT D-4
  CH\2055871.9
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                                SCHEDULE A
                                    to
                 PATENT SECURITY AGREEMENT (PRIORITY LIEN)



                      PATENTS AND PATENT APPLICATIONS


  Title           Application No.   Filing Date    Patent No.   Issue Date




                                     EXHIBIT D-5
  CH\2055871.9
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                                                                        EXHIBIT E
                                                TO SECOND AMENDED AND RESTATED
                               PRIORITY LIEN DEBT PLEDGE AND SECURITY AGREEMENT

            FORM OF COPYRIGHT SECURITY AGREEMENT (PRIORITY LIEN)

           This COPYRIGHT SECURITY AGREEMENT, dated as of [__________], 20[__] (as
  it may be amended, restated, supplemented or otherwise modified from time to time, this
  “Agreement”), is made by the entities identified as grantors on the signature pages hereto
  (collectively, the “Grantors”) in favor of U.S. BANK NATIONAL ASSOCIATION, as
  Priority Lien Collateral Trustee for the Secured Parties (in such capacity, together with its
  successors and permitted assigns, the “Priority Lien Collateral Trustee”).

           WHEREAS, the Grantors are party to that certain Second Amended and Restated
  Priority Lien Debt Pledge and Security Agreement dated as of April 16, 2015 (as amended,
  restated, supplemented or otherwise modified from time to time, the “Pledge and Security
  Agreement”) between each of the Grantors and the other grantors party thereto and the Priority
  Lien Collateral Trustee pursuant to which the Grantors granted a security interest to the Priority
  Lien Collateral Trustee in the Copyright Collateral (as defined below) and are required to execute
  and deliver this Agreement.

          NOW, THEREFORE, in consideration of the foregoing and for other good and valuable
  consideration, the receipt and sufficiency of which is hereby acknowledged, the Grantors hereby
  agree with the Priority Lien Collateral Trustee as follows:

  SECTION 1.       Defined Terms

          Unless otherwise defined herein, terms defined in the Pledge and Security Agreement and
  used herein have the meaning given to them in the Pledge and Security Agreement.

  SECTION 2.       Grant of Security Interest

           Each Grantor hereby grants to the Priority Lien Collateral Trustee, for the benefit of the
  Secured Parties, a security interest in and continuing lien on all of such Grantor’s right, title and
  interest in, to and under the following, in each case whether now owned or existing or hereafter
  acquired, developed, created or arising and wherever located (collectively, the “Copyright
  Collateral”):

           All of its United States copyrights (including Community designs), including but not
           limited to copyrights in software and databases, and all Mask Works (as defined under 17
           U.S.C. 901 of the U.S. Copyright Act), whether registered or unregistered, and, with
           respect to any and all of the foregoing: (i) all registrations and applications therefor
           including, without limitation, the registrations and applications listed in Schedule A
           attached hereto, (ii) all extensions and renewals thereof, (iii) all rights corresponding
           thereto, (iv) all rights to sue for past, present and future infringements thereof, and (v) all
           Proceeds of the foregoing, including, without limitation, royalties, income, payments,
           claims, damages and proceeds of suit.

  SECTION 3.       Security Agreement



                                              EXHIBIT E-1
  CH\2055871.9
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           The security interest granted pursuant to this Agreement is granted in conjunction with
  the security interest granted to the Priority Lien Collateral Trustee for the Secured Parties
  pursuant to the Pledge and Security Agreement, and the Grantors hereby acknowledge and affirm
  that the rights and remedies of the Priority Lien Collateral Trustee with respect to the security
  interest in the Copyright Collateral made and granted hereby are more fully set forth in the Pledge
  and Security Agreement. In the event that any provision of this Agreement is deemed to conflict
  with the Pledge and Security Agreement, the provisions of the Pledge and Security Agreement
  shall control.

  SECTION 4.      Governing Law

        THIS AGREEMENT AND THE RIGHTS AND OBLIGATIONS OF THE PARTIES
  HEREUNDER (INCLUDING, WITHOUT LIMITATION, ANY CLAIMS SOUNDING IN
  CONTRACT LAW OR TORT LAW ARISING OUT OF THE SUBJECT MATTER HEREOF)
  SHALL BE GOVERNED BY, AND SHALL BE CONSTRUED AND ENFORCED IN
  ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK WITHOUT REGARD
  TO CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD RESULT IN THE
  APPLICATION OF ANY LAW OTHER THAN THE LAW OF THE STATE OF NEW YORK
  (OTHER THAN ANY MANDATORY PROVISIONS OF LAW RELATING TO THE LAW
  GOVERNING PERFECTION AND THE EFFECT OF PERFECTION OF THE SECURITY
  INTEREST).

  SECTION 5.      Counterparts

           This Agreement may be executed in one or more counterparts and by different parties
  hereto in separate counterparts, each of which when so executed and delivered shall be deemed an
  original, but all such counterparts together shall constitute but one and the same instrument.

                             [Remainder of page intentionally left blank]




                                            EXHIBIT E-2
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          IN WITNESS WHEREOF, each Grantor has caused this Agreement to be executed and
  delivered by its duly authorized officer as of the date first set forth above.

                                            [NAME OF GRANTOR]


                                            By:
                                                  Name:
                                                  Title:


                                            [NAME OF GRANTOR]


                                            By:
                                                  Name:
                                                  Title:




                                      EXHIBIT E-3
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  Accepted and Agreed:

  U.S. BANK NATIONAL ASSOCIATION,
  as Priority Lien Collateral Trustee


  By:
        Authorized Signatory




                                  EXHIBIT E-4
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                                 SCHEDULE A
                                      to
                 COPYRIGHT SECURITY AGREEMENT (PRIORITY LIEN)



                  COPYRIGHT REGISTRATIONS AND APPLICATIONS


  Title             Application No.   Filing Date    Registration No.   Registration
                                                                        Date




                                       EXHIBIT E-5
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                                                                      EXHIBIT K TO
                                                   CREDIT AND GUARANTY AGREEMENT

                                  INTERCOMPANY NOTE

Note Number: ______                                 Dated:__________, 20[__]

        FOR VALUE RECEIVED, MURRAY ENERGY CORPORATION, an Ohio
corporation (“Borrower”), MURRAY ENERGY HOLDINGS CO., a Delaware corporation
(“Holdings”), and certain Subsidiaries of Borrower (collectively, the “Group Members” and
each, a “Group Member”) which are party to this subordinated intercompany note (this
“Promissory Note”) promise to pay to the order of such other Group Member as it makes loans
to such Group Member (each Group Member which borrows money pursuant to this Promissory
Note is referred to herein as a “Payor” and each Group Member which makes loans and
advances pursuant to this Promissory Note is referred to herein as a “Payee”), on demand, in
lawful money as may be agreed upon from time to time by the relevant Payor and Payee, in
immediately available funds and at the appropriate office of the Payee, the aggregate unpaid
principal amount of all loans and advances heretofore and hereafter made by such Payee to such
Payor and any other indebtedness now or hereafter owing by such Payor to such Payee as shown
either on Schedule A attached hereto (and any continuation thereof) or in the books and records
of such Payee. The failure to show any such indebtedness or any error in showing such
indebtedness shall not affect the obligations of any Payor hereunder. Capitalized terms used
herein but not otherwise defined herein shall have the meanings given such terms in the
Amended and Restated Collateral Trust Agreement dated as of December 5, 2013 (as it may be
amended, restated, supplemented or otherwise modified, the “Agreement”), by and among
Borrower, the other Guarantors party thereto from time to time, DEUTSCHE BANK AG NEW
YORK BRANCH, as Priority Lien Administrative Agent, the additional Priority Lien
Representatives party thereto from time to time, THE BANK OF NEW YORK MELLON
TRUST COMPANY, N.A., as Trustee under the Indenture, the additional Parity Lien
Representatives party thereto from time to time, and U.S. BANK NATIONAL
ASSOCIATION, as Collateral Trustee.

        The unpaid principal amount hereof from time to time outstanding shall bear interest at a
rate equal to the rate as may be agreed upon in writing from time to time by the relevant Payor
and Payee. Interest shall be due and payable at such times as may be agreed upon from time to
time by the relevant Payor and Payee. Upon demand for payment of any principal amount
hereof, accrued but unpaid interest on such principal amount shall also be due and payable.
Interest shall be paid in any lawful currency as may be agreed upon by the relevant Payor and
Payee and in immediately available funds. Interest shall be computed for the actual number of
days elapsed on the basis of a year consisting of 365 days.

       Each Payor and any endorser of this Promissory Note hereby waives (to the extent
permitted by applicable law) presentment, demand, protest and notice of any kind. No failure to
exercise, and no delay in exercising, any rights hereunder on the part of the holder hereof shall
operate as a waiver of such rights.




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        This Promissory Note has been pledged to the Collateral Trustee, for the benefit of the
Secured Parties, by each Payee that is the Borrower or a Guarantor (a “Credit Party”), as
security for such Payee’s obligations, if any, under the Secured Debt Documents to which such
Payee is a party. Each Payor acknowledges and agrees that after the occurrence of and during
the continuation of any event that constitutes a default under any Secured Debt Document
entitling the Collateral Trustee to foreclose upon, collect or otherwise enforce its Liens under the
Security Documents (an “Event of Default”), the Collateral Trustee may exercise all the rights
of each Payee that is a Credit Party under this Promissory Note and will not be subject to any
abatement, reduction, recoupment, defense (other than payment in full), setoff or counterclaim
available to such Payor.

        Each Payee agrees that any and all claims of such Payee against any Payor that is a Credit
Party or any endorser of this Promissory Note, or against any of their respective properties, shall
be subordinate and subject in right of payment to the Secured Obligations until all of the Secured
Obligations have been performed and paid in full (other than contingent indemnification
obligations not due and payable) and all commitments to extend credit under any Secured Debt
Document have been terminated; provided, that each Payor that is a Credit Party may make
payments to the applicable Payee so long as no Event of Default shall have occurred and be
continuing; and provided, further, that upon the waiver, remedy or cure of such Event of Default,
such payments shall be permitted; and provided, further, that all loans and advances made by a
Payee pursuant to this Promissory Note shall be received by the applicable Payor subject to the
provisions of the Secured Debt Documents. Notwithstanding any right of any Payee to ask,
demand, sue for, take or receive any payment from any Payor, all rights, Liens and security
interests of such Payee, whether now or hereafter arising and howsoever existing, in any assets
of any Payor (whether constituting part of the security or collateral given to any Secured Party to
secure payment of all or any part of the Secured Obligations or otherwise) shall be and hereby
are subordinated to the rights of the Secured Parties in such assets. Except as expressly
permitted by the Secured Debt Documents, the Payees shall have no right to possession of any
such asset or to foreclose upon, or exercise any other remedy in respect of, any such asset,
whether by judicial action or otherwise, unless and until all of the Secured Obligations shall have
been performed and paid in full (other than contingent indemnification obligations not due and
payable) and all commitments have been expired or terminated.

        After the occurrence of and during the continuation of an Event of Default, if all or any
part of the assets of any Payor, or the proceeds thereof, are subject to any distribution, division or
application to the creditors of any Payor, whether partial or complete, voluntary or involuntary,
and whether by reason of liquidation, bankruptcy, arrangement, receivership, assignment for the
benefit of creditors or any other action or proceeding, or if the business of any Payor is dissolved
or if (except as expressly permitted by the Secured Debt Documents) all or substantially all of
the assets of any Payor are sold, then, and in any such event, any payment or distribution of any
kind or character, whether in cash, securities or other investment property, or otherwise, which
shall be payable or deliverable upon or with respect to any indebtedness of such Payor to any
Payee (“Payor Indebtedness”) shall be paid or delivered directly to the Collateral Trustee for
application to any of the Secured Obligations, due or to become due, until all of the Secured
Obligations have been performed and paid in full (other than contingent indemnification
obligations not due and payable) and all commitments to extend credit under any Secured Debt
Document have been terminated. After the occurrence of and during the continuation of an

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Event of Default, each Payee that is a Credit Party irrevocably authorizes, empowers and
appoints the Collateral Trustee as such Payee’s attorney-in-fact (which appointment is coupled
with an interest and is irrevocable) to demand, sue for, collect and receive every such payment or
distribution and give acquittance therefor and to make and present for and on behalf of such
Payee such proofs of claim and take such other action, in the Collateral Trustee’s own names or
in the name of such Payee or otherwise, as the Collateral Trustee may deem necessary or
advisable for the enforcement of this Promissory Note. After the occurrence of and during the
continuation of an Event of Default, each Payee that is a Credit Party also agrees to execute,
verify, deliver and file any such proofs of claim in respect of the Payor Indebtedness requested
by the Collateral Trustee. After the occurrence of and during the continuation of an Event of
Default, the Collateral Trustee may vote such proofs of claim in any such proceeding (and the
applicable Payee shall not be entitled to withdraw such vote), receive and collect any and all
dividends or other payments or disbursements made on Payor Indebtedness in whatever form the
same may be paid or issued and apply the same on account of any of the Secured Obligations in
accordance with the Agreement. Upon the occurrence and during the continuation of any Event
of Default, should any payment, distribution, security or other investment property or instrument
or any proceeds thereof be received by any Payee that is a Credit Party upon or with respect to
Payor Indebtedness owing to such Payee prior to such time as the Secured Obligations have been
performed and paid in full (other than contingent indemnification obligations not due and
payable) and all commitments to extend credit under any Secured Debt Document have expired
or been terminated, such Payee that is a Credit Party shall receive and hold the same for the
benefit of the Secured Parties, and shall forthwith deliver the same to the Collateral Trustee, for
the benefit of the Secured Parties, in precisely the form received (except for the endorsement or
assignment of such Payee where necessary or advisable in the Collateral Trustee’s judgment), for
application to any of the Secured Obligations in accordance with the Agreement, due or not due,
and, until so delivered, the same shall be segregated from the other assets of such Payee for the
benefit of the Secured Parties. Upon the occurrence and during the continuance of an Event of
Default, if such Payee fails to make any such endorsement or assignment to the Collateral
Trustee, the Collateral Trustee or any of its officers, employees or representatives are hereby
irrevocably authorized to make the same. Each Payee that is a Credit Party agrees that until the
Secured Obligations have been performed and paid in full (other than contingent indemnification
obligations not due and payable) and all commitments to extend credit under any Secured Debt
Document have expired or been terminated, such Payee will not (i) assign or transfer, or agree to
assign or transfer, to any Person (other than in favor of the Collateral Trustee for the benefit of
the Secured Parties pursuant to the Pledge and Security Agreement or otherwise) any claim such
Payee has or may have against any Payor, (ii) upon the occurrence and during the continuance of
an Event of Default, discount or extend the time for payment of any Payor Indebtedness, or (iii)
otherwise amend, modify, supplement, waive or fails to enforce any provision of this Promissory
Note.

       The Secured Parties shall be third party beneficiaries hereof and shall be entitled to
enforce the subordination and other provisions hereof.

      Notwithstanding anything to the contrary contained herein, in any other Secured Debt
Document or in any such promissory note or other instrument, this Promissory Note shall not be
deemed replaced, superseded or in any way modified by any promissory note or other instrument


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entered into on or after the date hereof which purports to create or evidence any loan or advance
by any Group Member to any other Group Member.

     THIS PROMISSORY NOTE AND THE RIGHTS AND OBLIGATIONS OF THE
PARTIES HEREUNDER SHALL BE GOVERNED BY, AND SHALL BE CONSTRUED
AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK
WITHOUT REGARD TO CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD
RESULT IN THE APPLICATION OF ANY LAW OTHER THAN THE LAW OF THE STATE
OF NEW YORK.

       From time to time after the date hereof, additional Subsidiaries of the Group Members
may become parties hereto by executing a counterpart signature page to this Promissory Note
(each additional Subsidiary, an “Additional Payor”). Upon delivery of such counterpart
signature page to the Payees, notice of which is hereby waived by the other Payors, each
Additional Payor shall be a Payor and shall be as fully a party hereto as if such Additional Payor
were an original signatory hereof. Each Payor expressly agrees that its obligations arising
hereunder shall not be affected or diminished by the addition or release of any other Payor
hereunder. This Promissory Note shall be fully effective as to any Payor that is or becomes a
party hereto regardless of whether any other Person becomes or fails to become or ceases to be a
Payor hereunder.

        This Promissory Note may be executed in any number of counterparts and by different
parties hereto in separate counterparts, each of which when so executed shall be deemed to be an
original and all of which taken together shall constitute one and the same agreement.

                          [Remainder of page intentionally left blank]




                                         EXHIBIT K-4
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        IN WITNESS WHEREOF, each Payor has caused this Promissory Note to be executed and
delivered by its proper and duly authorized officer as of the date set forth above.

                                         MURRAY ENERGY CORPORATION



                                         By:________________________________
                                          Name: [Robert D. Moore]
                                          Title: [Executive Vice President, Chief Operating
                                                 Officer and Chief Financial Officer]



                                         MURRAY ENERGY HOLDINGS CO.



                                         By:________________________________
                                          Name: [Robert D. Moore]
                                          Title: [Chief Financial Officer]




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                                       AMCA COAL LEASING, INC.
                                       AMCOAL HOLDINGS, INC.
                                       AMERICAN COMPLIANCE COAL, INC.
                                       AMERICAN EQUIPMENT & MACHINE, INC.
                                       AMERICAN NATURAL GAS, INC.
                                       ANDALEX RESOURCES MANAGEMENT, INC.
                                       ANDALEX RESOURCES, INC.
                                       AVONMORE RAIL LOADING, INC.
                                       BELMONT COAL, INC.
                                       CANTERBURY COAL COMPANY
                                       COAL RESOURCES, INC.
                                       COAL RESOURCES HOLDINGS CO.
                                       CONSOLIDATED LAND COMPANY
                                       GENWAL RESOURCES, INC.
                                       KANAWHA TRANSPORTATION CENTER, INC.
                                       KENAMERICAN RESOURCES, INC.
                                       MILL CREEK MINING COMPANY
                                       MURRAY AMERICAN RESOURCES, INC.
                                       MURRAY SOUTH AMERICA, INC.
                                       OHIOAMERICAN ENERGY, INCORPORATED
                                       OHIO ENERGY TRANSPORTATION, INC.
                                       ONEIDA COAL COMPANY, INC.
                                       PENNAMERICAN COAL, INC.
                                       PINSKI CORP.
                                       PLEASANT FARMS, INC.
                                       PREMIUM COAL, INC.
                                       SPRING CHURCH COAL COMPANY
                                       THE AMERICAN COAL COMPANY
                                       UTAHAMERICAN ENERGY, INC.
                                       WEST RIDGE RESOURCES, INC.



                                       By:________________________________
                                        Name: [Robert D. Moore]
                                        Title: [Authorized Signatory]




                                  EXHIBIT K-6
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                                       AMERICANHOCKING ENERGY, INC.


                                       By:________________________________
                                        Name: [Michael D. Loiacono]
                                        Title: [Secretary and Treasurer]




                                  EXHIBIT K-7
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                                       MAPLE CREEK MINING, INC.
                                       MAPLE CREEK PROCESSING, INC.
                                       OHIO VALLEY RESOURCES, INC.
                                       SUNBURST RESOURCES, INC.
                                       THE OHIO VALLEY COAL COMPANY
                                       THE OHIO VALLEY TRANSLOADING
                                       COMPANY
                                       UMCO ENERGY, INC.


                                       By:________________________________
                                        Name: [Ronnie D. Dietz]
                                        Title: [Treasurer]




                                  EXHIBIT K-8
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                                       MONVALLEY TRANSPORTATION CENTER,
                                       INC.
                                       THE OKLAHOMA COAL COMPANY



                                       By:________________________________
                                        Name: [James R. Turner]
                                        Title: [Treasurer]




                                  EXHIBIT K-9
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                                       WEST VIRGINIA RESOURCES, INC.


                                       By:________________________________
                                        Name: [Robert L. Putsock]
                                        Title: [Secretary and Treasurer]




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                                       PENNAMERICAN COAL L.P.

                                       By: PINSKI CORP.
                                       Its: Managing Partner


                                       By:________________________________
                                        Name: [Robert D. Moore]
                                        Title: [Treasurer and Secretary]




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                                      AMERICAN ENERGY CORPORATION
                                      AMERICANMOUNTAINEER ENERGY, INC.
                                      ANCHOR LONGWALL AND REBUILD,
                                      INC.
                                      CORPORATE AVIATION SERVICES, INC.
                                      EMPIRE DOCK, INC.
                                      ENERGY RESOURCES, INC.
                                      ENERGY TRANSPORTATION, INC.
                                      PENNSYLVANIA TRANSLOADING, INC.
                                      T D K COAL SALES, INCORPORATED
                                      THE AMERICAN COAL SALES COMPANY


                                      By:________________________________
                                       Name: [Michael O. McKown]
                                       Title: [Authorized Signatory]




                                EXHIBIT K-12


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                                   CONSOLIDATION COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-13

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                                   EIGHTY-FOUR MINING COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-14

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                                   MCELROY COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-15

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                                   SOUTHERN OHIO COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-16

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                                   CENTRAL OHIO COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-17

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                                   KEYSTONE COAL MINING CORP.


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-18

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                                   MON RIVER TOWING INC.


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-19

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                                   TWIN RIVERS TOWING COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-20

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                                   CCC RCPC LLC


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-21

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                                   CCC LAND RESOURCES LLC


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-22

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                                   AMERICAN MINE SERVICES, INC.


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-24

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                                   AMERICANMOUNTAINEER PROPERTIES,
                                   INC.


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-25

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                                   MURRAY AMERICAN ENERGY, INC.


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-26

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                                   THE OHIO COUNTY COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-27

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                                   THE MARSHALL COUNTY COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-28

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                                   THE MONONGALIA COUNTY COAL
                                   COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-29

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                                   THE MARION COUNTY COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




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                                   THE HARRISON COUNTY COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




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                                   MURRAY AMERICAN TRANSPORTATION,
                                   INC.


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-32

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                                   MURRAY KEYSTONE PROCESSING, INC.


                                   By:________________________________
                                       Name:
                                       Title:




                                EXHIBIT K-33

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                                 MURRAY AMERICAN RIVER TOWING, INC.
                                 THE FRANKLIN COUNTY COAL COMPANY
                                 THE MEIGS COUNTY COAL COMPANY
                                 THE MUSKINGUM COUNTY COAL COMPANY
                                 THE WASHINGTON COUNTY COAL COMPANY



                                 By: ________________________________________
                                   Name:
                                   Title:




                                EXHIBIT K-34

CH\2055450.10
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                                 MURRAY AMERICAN KENTUCKY TOWING, INC.



                                 By: ________________________________________
                                  Name:
                                  Title:




                                EXHIBIT K-35

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                                 MURRAY EQUIPMENT & MACHINE, INC.



                                 By: ________________________________________
                                  Name:
                                  Title:




                                EXHIBIT K-36

CH\2055450.10
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                                 THE MCLEAN COUNTY COAL COMPANY



                                 By: ________________________________________
                                  Name:
                                  Title:




                                EXHIBIT K-37

CH\2055450.10
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                                 MURRAY AMERICAN COAL, INC.



                                 By: ________________________________________
                                  Name:
                                  Title:




                                EXHIBIT K-38

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                                   [NAME OF EACH OTHER SUBSIDIARY OF
                                   BORROWER]


                                   By: __________________________
                                   Name:
                                   Title:




                                EXHIBIT K-39

CH\2055450.10
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                                                                         Schedule A

                     TRANSACTIONS UNDER PROMISSORY NOTE

                                                           Outstanding
                                                            Principal
                                                 Amount of   Balance
                                     Amount of   Principal from Payor
                Name of   Name of     Advance    Paid This   to Payee    Notation
    Date         Payor     Payee     This Date     Date     This Date    Made By




                                    EXHIBIT K-A-1
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                                                                                    ENDORSEMENT

       FOR VALUE RECEIVED, each of the undersigned does hereby sell, assign and transfer to
_______________ all of its right, title and interest in and to the Intercompany Note, dated April [__],
2015 (as amended, restated, supplemented or otherwise modified from time to time, the “Promissory
Note”; capitalized terms used herein without definition have the definitions given to such terms in the
Promissory Note), made by MURRAY ENERGY CORPORATION, an Ohio corporation,
MURRAY ENERGY HOLDINGS CO., a Delaware corporation, and certain subsidiaries of the
Borrower or any other Person that is or becomes a party thereto, and payable to the undersigned. This
endorsement is intended to be attached to the Promissory Note and, when so attached, shall constitute
an endorsement thereof.

         The initial undersigned shall be the Group Members (as defined in the Promissory Note) party
to the Secured Debt Documents on the date of the Promissory Note. From time to time after the date
thereof, additional subsidiaries of the Group Members shall become parties to the Promissory Note
(each, an “Additional Payee”) and a signatory to this endorsement by executing a counterpart
signature page to the Promissory Note and to this endorsement. Upon delivery of such counterpart
signature page to the Payors, notice of which is hereby waived by the other Payees, each Additional
Payee shall be a Payee and shall be as fully a Payee under the Promissory Note and a signatory to this
endorsement as if such Additional Payee were an original Payee under the Promissory Note and an
original signatory hereof. Each Payee expressly agrees that its obligations arising under the
Promissory Note and hereunder shall not be affected or diminished by the addition or release of any
other Payee under the Promissory Note or hereunder. This endorsement shall be fully effective as to
any Payee that is or becomes a signatory hereto regardless of whether any other Person becomes or
fails to become or ceases to be a Payee to the Promissory Note or hereunder.

                                                                       Dated: ___________________


                                                MURRAY ENERGY CORPORATION


                                                By:________________________________
                                                 Name: [Robert D. Moore]
                                                 Title: [Executive Vice President, Chief Operating
                                                        Officer and Chief Financial Officer]


                                                MURRAY ENERGY HOLDINGS CO.


                                                By:________________________________
                                                 Name: [Robert D. Moore]
                                                 Title: [Chief Financial Officer]




                                       EXHIBIT K-A-2
CH\2055450.10
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                                       AMCA COAL LEASING, INC.
                                       AMCOAL HOLDINGS, INC.
                                       AMERICAN COMPLIANCE COAL, INC.
                                       AMERICAN EQUIPMENT & MACHINE, INC.
                                       AMERICAN NATURAL GAS, INC.
                                       ANDALEX RESOURCES MANAGEMENT, INC.
                                       ANDALEX RESOURCES, INC.
                                       AVONMORE RAIL LOADING, INC.
                                       BELMONT COAL, INC.
                                       CANTERBURY COAL COMPANY
                                       COAL RESOURCES, INC.
                                       COAL RESOURCES HOLDINGS CO.
                                       CONSOLIDATED LAND COMPANY
                                       GENWAL RESOURCES, INC.
                                       KANAWHA TRANSPORTATION CENTER, INC.
                                       KENAMERICAN RESOURCES, INC.
                                       MILL CREEK MINING COMPANY
                                       MURRAY AMERICAN RESOURCES, INC.
                                       MURRAY SOUTH AMERICA, INC.
                                       OHIOAMERICAN ENERGY, INCORPORATED
                                       OHIO ENERGY TRANSPORTATION, INC.
                                       ONEIDA COAL COMPANY, INC.
                                       PENNAMERICAN COAL, INC.
                                       PINSKI CORP.
                                       PLEASANT FARMS, INC.
                                       PREMIUM COAL, INC.
                                       SPRING CHURCH COAL COMPANY
                                       THE AMERICAN COAL COMPANY
                                       UTAHAMERICAN ENERGY, INC.
                                       WEST RIDGE RESOURCES, INC.



                                       By:________________________________
                                        Name: [Robert D. Moore]
                                        Title: [Authorized Signatory]




                                 EXHIBIT K-A-3
CH\2055450.10
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                                       AMERICANHOCKING ENERGY, INC.


                                       By:________________________________
                                        Name: [Michael D. Loiacono]
                                        Title: [Secretary and Treasurer]




                                 EXHIBIT K-A-4
CH\2055450.10
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                                       MAPLE CREEK MINING, INC.
                                       MAPLE CREEK PROCESSING, INC.
                                       OHIO VALLEY RESOURCES, INC.
                                       SUNBURST RESOURCES, INC.
                                       THE OHIO VALLEY COAL COMPANY
                                       THE OHIO VALLEY TRANSLOADING
                                       COMPANY
                                       UMCO ENERGY, INC.


                                       By:________________________________
                                        Name: [Ronnie D. Dietz]
                                        Title: [Treasurer]




                                 EXHIBIT K-A-5
CH\2055450.10
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                                       MONVALLEY TRANSPORTATION CENTER,
                                       INC.
                                       THE OKLAHOMA COAL COMPANY



                                       By:________________________________
                                        Name: [James R. Turner]
                                        Title: [Treasurer]




                                 EXHIBIT K-A-6
CH\2055450.10
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                                       WEST VIRGINIA RESOURCES, INC.


                                       By:________________________________
                                        Name: [Robert L. Putsock]
                                        Title: [Secretary and Treasurer]




                                 EXHIBIT K-A-7
CH\2055450.10
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                                       PENNAMERICAN COAL L.P.

                                       By: PINSKI CORP.
                                       Its: Managing Partner


                                       By:________________________________
                                        Name: [Robert D. Moore]
                                        Title: [Treasurer and Secretary]




                                 EXHIBIT K-A-8
CH\2055450.10
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                                      AMERICAN ENERGY CORPORATION
                                      AMERICANMOUNTAINEER ENERGY, INC.
                                      ANCHOR LONGWALL AND REBUILD,
                                      INC.
                                      CORPORATE AVIATION SERVICES, INC.
                                      EMPIRE DOCK, INC.
                                      ENERGY RESOURCES, INC.
                                      ENERGY TRANSPORTATION, INC.
                                      PENNSYLVANIA TRANSLOADING, INC.
                                      T D K COAL SALES, INCORPORATED
                                      THE AMERICAN COAL SALES COMPANY


                                      By:________________________________
                                       Name: [Michael O. McKown]
                                       Title: [Authorized Signatory]




                               EXHIBIT K-A-9
CH\2055450.10
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                                   CONSOLIDATION COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-10
CH\2055450.10
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                                   EIGHTY-FOUR MINING COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-11
CH\2055450.10
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                                   MCELROY COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-12
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                                   SOUTHERN OHIO COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-13
CH\2055450.10
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                                   CENTRAL OHIO COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-14
CH\2055450.10
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                                   KEYSTONE COAL MINING CORP.


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-15
CH\2055450.10
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                                   MON RIVER TOWING INC.


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-16
CH\2055450.10
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                                   TWIN RIVERS TOWING COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-17
CH\2055450.10
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                                   CCC RCPC LLC


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-18
CH\2055450.10
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                                   CCC LAND RESOURCES LLC


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-19
CH\2055450.10
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                                   AMERICAN MINE SERVICES, INC.


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-20
CH\2055450.10
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                                   AMERICANMOUNTAINEER PROPERTIES,
                                   INC.


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-21
CH\2055450.10
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                                   MURRAY AMERICAN ENERGY, INC.


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-22
CH\2055450.10
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                                   THE OHIO COUNTY COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-23
CH\2055450.10
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                                   THE MARSHALL COUNTY COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-24
CH\2055450.10
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                                   THE MONONGALIA COUNTY COAL
                                   COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-25
CH\2055450.10
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                                   THE MARION COUNTY COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-26
CH\2055450.10
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                                   THE HARRISON COUNTY COAL COMPANY


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-27
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                                   MURRAY AMERICAN TRANSPORTATION,
                                   INC.


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-28
CH\2055450.10
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                                   MURRAY KEYSTONE PROCESSING, INC.


                                   By:________________________________
                                       Name:
                                       Title:




                               EXHIBIT K-A-29
CH\2055450.10
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                                 MURRAY AMERICAN RIVER TOWING, INC.
                                 THE FRANKLIN COUNTY COAL COMPANY
                                 THE MEIGS COUNTY COAL COMPANY
                                 THE MUSKINGUM COUNTY COAL COMPANY
                                 THE WASHINGTON COUNTY COAL COMPANY



                                 By: ________________________________________
                                   Name:
                                   Title:




                               EXHIBIT K-A-30
CH\2055450.10
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                                 MURRAY AMERICAN KENTUCKY TOWING, INC.



                                 By: ________________________________________
                                  Name:
                                  Title:




                               EXHIBIT K-A-31
CH\2055450.10
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                                 MURRAY EQUIPMENT & MACHINE, INC.



                                 By: ________________________________________
                                  Name:
                                  Title:




                               EXHIBIT K-A-32
CH\2055450.10
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                                 THE MCLEAN COUNTY COAL COMPANY



                                 By: ________________________________________
                                  Name:
                                  Title:




                               EXHIBIT K-A-33
CH\2055450.10
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                                 MURRAY AMERICAN COAL, INC.



                                 By: ________________________________________
                                  Name:
                                  Title:




                               EXHIBIT K-A-34
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                                                                     EXHIBIT L TO
                                                  CREDIT AND GUARANTY AGREEMENT

                                  JOINDER AGREEMENT

      THIS JOINDER AGREEMENT, dated as of [_______ __], 20[__] (this
“Agreement”), by and among [NEW LENDERS] (each a “Lender” and collectively the
“Lenders”), MURRAY ENERGY CORPORATION, an Ohio corporation (“Borrower”), and
DEUTSCHE BANK AG NEW YORK BRANCH (“DB”), as Administrative Agent.

                                         RECITALS:

       WHEREAS, reference is hereby made to the Credit and Guaranty Agreement, dated as
of April 16, 2015 (as it may be amended, restated, supplemented or otherwise modified from
time to time, the “Credit Agreement”; the terms defined therein and not otherwise defined
herein being used herein as therein defined), by and among Borrower, MURRAY ENERGY
HOLDINGS CO., a Delaware corporation, certain Subsidiaries of Borrower, as Guarantors, the
Lenders party thereto from time to time, DEUTSCHE BANK SECURITIES INC. and
GOLDMAN SACHS BANK USA, as Joint Lead Arrangers and Joint Bookrunners,
GOLDMAN SACHS BANK USA, as Sole Syndication Agent, and DB, as Administrative
Agent; and

       WHEREAS, subject to the terms and conditions of the Credit Agreement, Borrower may
obtain New Term Loan Commitments by entering into one or more Joinder Agreements with the
New Term Loan Lenders.

      NOW, THEREFORE, in consideration of the premises and agreements, provisions and
covenants herein contained, the parties hereto agree as follows:

        Each Lender party hereto hereby agrees to commit to provide its respective Commitment
as set forth on Schedule A annexed hereto, on the terms and subject to the conditions set forth
below:

         Each Lender (i) confirms that it has received a copy of the Credit Agreement and the
other Credit Documents, together with copies of the financial statements referred to therein and
such other documents and information as it has deemed appropriate to make its own credit
analysis and decision to enter into this Joinder Agreement (this “Agreement”) and it is
sophisticated with respect to decisions to make loans similar to those contemplated to be made
hereunder and it is experienced in making loans of such type; (ii) agrees that it will,
independently and without reliance upon Administrative Agent or any other Lender or Agent and
based on such documents and information as it shall deem appropriate at the time, continue to
make its own credit decisions in taking or not taking action under the Credit Agreement;
(iii) appoints and authorizes Administrative Agent and Syndication Agent to take such action as
agent on its behalf and to exercise such powers under the Credit Agreement and the other Credit
Documents as are delegated to Administrative Agent and Syndication Agent, as the case may be,
by the terms thereof, together with such powers as are reasonably incidental thereto and (iv)



                                        EXHIBIT L-1
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agrees that it will perform in accordance with their terms all of the obligations which by the
terms of the Credit Agreement are required to be performed by it as a Lender.

       Each Lender hereby agrees to make its Commitment on the following terms and
conditions 1:

1.        Applicable Margin. The Applicable Margin for each Series [__] New Term Loan shall
          mean, as of any date of determination, [___]% per annum

2.        Principal Payments. Borrower shall make principal payments on the Series [__] New
          Term Loans in installments on the dates and in the amounts set forth below:

                                                                               (B)
                                       (A)                                 Scheduled
                                     Payment                              Repayment of
                                       Date                       Series [__] New Term Loans
                                                                  $__________
                                                                  $__________
                                                                  $__________
                                                                  $__________
                                                                  $__________
                                                                  $__________
                                                                  $__________
                                                                  $__________
                                                                  $__________
                                                                  $__________
                                                                  $__________
                                                                  $__________
                                                                  $__________
                                                                  $__________
                                      TOTAL                       $__________

3.        Voluntary and Mandatory Prepayments. Scheduled installments of principal of the
          Series [__] New Term Loans set forth above shall be reduced in connection with any


1
      Insert completed items 1-7 as applicable, with respect to New Term Loans with such modifications as may be
      agreed to by the parties hereto to the extent consistent with Section 2.24 of the Credit Agreement.

                                                EXHIBIT L-2

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          voluntary or mandatory prepayments of the Series [__] New Term Loans in accordance
          with Sections 2.12, 2.13 and 2.14 of the Credit Agreement, respectively.

4.        Prepayment Fees. Borrower agrees to pay to each New Term Loan Lender the
          following prepayment fees, if any: [__________].

          [Insert other additional prepayment provisions with respect to New Term Loans]

5.        Other Fees. Borrower agrees to pay each New Term Loan Lender its Pro Rata Share of
          an aggregate fee equal to [________ __, ____] on [_________ __, ____].

6.        Proposed Borrowing. This Agreement represents Borrower’s request to borrow Series
          [__] New Term Loans from New Term Loan Lender as follows (the “Proposed
          Borrowing”):

          a.       Business Day of Proposed Borrowing: ___________, ____

          b.       Amount of Proposed Borrowing: $___________________

          c.       Interest rate option:                 a. Base Rate Loan(s)
                                                         b. Eurodollar Rate Loans
                                                            with an initial Interest
                                                            Period of ____ month(s)

7.        [New Lenders. Each New Term Loan Lender acknowledges and agrees that upon its
          execution of this Agreement and the making of Series [___] New Term Loans that such
          New Term Loan Lender shall become a “Lender” under, and for all purposes of, the
          Credit Agreement and the other Credit Documents, and shall be subject to and bound by
          the terms thereof, and shall perform all the obligations of and shall have all rights of a
          Lender thereunder.] 2

8.        Credit Agreement Governs. Except as set forth in this Agreement, Series [__] New
          Term Loans shall otherwise be subject to the provisions of the Credit Agreement and the
          other Credit Documents.

9.        Borrower’s Certifications. 3 By its execution of this Agreement, the undersigned officer
          of the Borrower hereby certifies, in the capacity of an officer and not in any individual
          capacity, that:

                   i.        Both before and after giving effect to the proposed borrowing, the
                             representations and warranties contained in the Credit Agreement and the
                             other Credit Documents are true and correct in all material respects on and
                             as of the date hereof to the same extent as though made on and as of the
                             date hereof, except to the extent such representations and warranties

2
      Insert bracketed language if the lending institution is not already a Lender.
3
      Subject to “Sungard” limitations if applicable.
                                                    EXHIBIT L-3

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                       specifically relate to an earlier date, in which case such representations
                       and warranties were true and correct in all material respects on and as of
                       such earlier date; provided that, in each case, such materiality qualifier
                       shall not be applicable to any representations and warranties that already
                       are qualified or modified by materiality in the text thereof; and

                ii.    As of the date hereof, no Default or Event of Default exists immediately
                       before or after giving effect to the Proposed Borrowing.

10.      Borrower Covenants. By its execution of this Agreement, Borrower hereby covenants
         that Borrower shall deliver or cause to be delivered the following legal opinions and
         documents: [___________], together with all other legal opinions and other documents
         reasonably requested by Administrative Agent in connection with this Agreement; and

11.      Eligible Assignee. By its execution of this Agreement, each New Term Loan Lender
         represents and warrants that it is an Eligible Assignee.

12.      Notice. For purposes of the Credit Agreement, the initial notice address of each New
         Term Loan Lender shall be as set forth below its signature below.

13.      Non-US Lenders. For each New Term Loan Lender that is a Non-US Lender, delivered
         herewith to Administrative Agent are such forms, certificates or other evidence with
         respect to United States federal income tax withholding matters as such New Term Loan
         Lender may be required to deliver to Administrative Agent pursuant to Section 2.20(d) of
         the Credit Agreement.

14.      Recordation of the New Loans. Upon execution and delivery hereof, Administrative
         Agent will record the Series [__] New Term Loans made by New Term Loan Lenders in
         the Register.

15.      Amendment, Modification and Waiver. This Agreement may not be amended,
         restated, modified or waived except by an instrument or instruments in writing signed and
         delivered on behalf of each of the parties hereto.

16.      Entire Agreement. This Agreement, the Credit Agreement and the other Credit
         Documents constitute the entire agreement among the parties with respect to the subject
         matter hereof and thereof and supersede all other prior agreements and understandings,
         both written and verbal, among the parties or any of them with respect to the subject
         matter hereof.

17.      GOVERNING LAW.      THIS AGREEMENT AND THE RIGHTS AND
         OBLIGATIONS OF THE PARTIES HEREUNDER SHALL BE GOVERNED BY,
         AND SHALL BE CONSTRUED AND ENFORCED IN ACCORDANCE WITH,
         THE LAWS OF THE STATE OF NEW YORK WITHOUT REGARD TO
         CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD RESULT IN
         THE APPLICATION OF ANY LAW OTHER THAN THE LAW OF THE STATE
         OF NEW YORK.
                                          EXHIBIT L-4

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18.      Severability. In case any provision in or obligation under this Agreement shall be
         invalid, illegal or unenforceable in any jurisdiction, the validity, legality and
         enforceability of the remaining provisions or obligations, or of such provision or
         obligation in any other jurisdiction, shall not in any way be affected or impaired thereby.

19.      Counterparts. This Agreement may be executed in counterparts, each of which shall be
         deemed to be an original, but all of which shall constitute one and the same agreement.
         Delivery of an executed counterpart of a signature page of this Agreement by facsimile or
         in electronic format (i.e., "pdf" or "tif") shall be effective as delivery of a manually
         executed counterpart of this Agreement.

                            [Remainder of page intentionally left blank]




                                           EXHIBIT L-5

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        IN WITNESS WHEREOF, each of the undersigned has caused its duly authorized
officer to execute and deliver this Joinder Agreement as of [_____ __], 20[__].

                                     [NAME OF LENDER]


                                     By:______________________________
                                     Name:
                                     Title:

                                     Notice Address:



                                     Attention:
                                     Telephone:
                                     Facsimile:


                                     MURRAY ENERGY CORPORATION


                                     By: __________________________
                                     Name:
                                     Title:



                                     Consented to by:

                                     DEUTSCHE BANK AG NEW YORK
                                     BRANCH,
                                     as Administrative Agent


                                     By: _____________________________
                                           Authorized Signatory




                                   EXHIBIT L-6

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                                     SCHEDULE A
                                     TO JOINDER AGREEMENT
     Name of Lender          Type of Commitment              Amount
[___________________]   New Term Loan Commitment           $________________


                                                     Total: $_________________




                                 EXHIBIT L-S-1
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                                                                     Exhibit M to
                                                   Credit and Guaranty Agreement


                                                                        EXHIBIT M TO
                                                     CREDIT AND GUARANTY AGREEMENT

                      MODIFIED DUTCH AUCTION PROCEDURES


This Outline is intended to summarize certain basic terms of the modified Dutch auction
procedures pursuant to and in accordance with the terms and conditions of Section 10.6(i) of the
Credit Agreement, of which this Exhibit M is a part (the “Auction Procedures”). It is not
intended to be a definitive statement of all of the terms and conditions of a modified Dutch
auction, the definitive terms and conditions for which shall be set forth in the applicable auction
procedures set for each Auction (the “Offer Documents”). None of the Administrative Agent,
the Auction Manager and any other Agent, or any of their respective Affiliates, makes any
recommendation pursuant to the Offer Documents as to whether or not any Lender should sell its
Term Loans to Borrower (the “Purchaser”) pursuant to the Offer Documents, nor shall the
decision by the Administrative Agent, the Auction Manager or any other Agent (or any of their
Affiliates) in its capacity as a Lender be deemed to constitute such a recommendation. Each
Lender should make its own decision on whether to sell any of its Term Loans and, if it decides
to do so, the principal amount of and price to be sought for such Term Loans. In addition, each
Lender should consult its own attorney, business advisor or tax advisor as to legal, business, tax
and related matters concerning this Auction and the Offer Documents. Capitalized terms not
otherwise defined in this Exhibit have the meanings assigned to them in the Credit Agreement.

       Summary. The Purchaser may conduct one or more modified Dutch auctions in order to
purchase Term Loans (each, an “Auction”) pursuant to the procedures described herein.

        Notice Procedures. In connection with each Auction, the Purchaser will provide
notification to the Auction Manager (for distribution to the Lenders) of the Term Loans
substantially in the form of Annex A to this Exhibit M that will be the subject of the Auction (an
“Auction Notice”). Each Auction Notice shall contain (i) the maximum principal amount of
Term Loans that the Purchaser is willing to purchase in the Auction (the “Auction Amount”),
which shall be no less than $10,000,000 or an integral multiple of $1,000,000 in excess thereof;
(ii) the range of discounts to par (the “Discount Range”), expressed as a range of prices per
$1,000 (in increments of $5), at which the Purchaser would be willing to purchase Term Loans in
the Auction; and (iii) the date on which the Auction will conclude, on which date Return Bids (as
defined below) will be due by 1:00 p.m. New York time, as such date and time may be extended
(such time, the “Expiration Time”) for a period not exceeding three Business Days upon notice
by the Purchaser to the Auction Manager received not less than 24 hours before the original
Expiration Time; provided, however, that only one extension per offer shall be permitted. An
Auction shall be regarded as a “Failed Auction” in the event that either (x) Purchaser withdraws
such Auction in accordance with the terms hereof or (y) the Expiration Time occurs with no
Qualifying Bids having been received. In the event of a Failed Auction, Purchaser shall not be
permitted to deliver a new Auction Notice prior to the date occurring five (5) Business Days after
such withdrawal or Expiration Time, as the case may be.



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        Reply Procedures. In connection with any Auction, each Lender holding Term Loans
wishing to participate in such Auction shall, prior to the Expiration Time, provide the Auction
Manager with a notice of participation substantially in the form of Annex B to this Exhibit M
(the “Return Bid”) which shall specify (i) a discount to par expressed as a price per $1,000 (in
increments of $5) of Term Loans (the “Reply Price”) within the Discount Range and (ii) the
principal amount of Term Loans, in an amount not less than $1,000,000 or an integral multiple in
excess thereof, that such Lender is willing to offer for sale at its Reply Price (the “Reply
Amount”); provided, that Lender may submit a Reply Amount that is less than the minimum
amount and/or incremental amount requirements described above only if the Reply Amount
comprises the entire amount of Term Loans held by such Lender. Lenders may only submit one
Return Bid per Auction but each Return Bid may contain up to three component bids, each of
which may result in a separate Qualifying Bid (as defined below) and each of which will not be
contingent on any other component bid submitted by such Lender resulting in a Qualifying Bid.
In addition to the Return Bid, the participating Lender must execute and deliver, to be held by
the Auction Manager, an Affiliate Assignment Agreement. The Purchaser will not purchase any
Term Loans at a price that is outside of the applicable Discount Range, nor will any Return Bids
(including any component bids specified therein) submitted at a price that is outside such
applicable Discount Range be considered in any calculation of the Applicable Threshold Price
(as defined below).

        Acceptance Procedures. Based on the Reply Prices and Reply Amounts received by the
Auction Manager, the Auction Manager, in consultation with the Purchaser, will calculate the
lowest purchase price (the “Applicable Threshold Price”) for the Auction within the Discount
Range for the Auction that will allow the Purchaser to complete the Auction by purchasing the
full Auction Amount (or such lesser amount of Term Loans for which the Purchaser has received
Qualifying Bids (as defined below)). The Purchaser shall purchase Term Loans from each
Lender whose Return Bid is within the Discount Range and contains a Reply Price that is equal
to or less than the Applicable Threshold Price (each, a “Qualifying Bid”). All Term Loans
included in Qualifying Bids (including multiple component Qualifying Bids contained in a single
Return Bid) received at a Reply Price lower than the Applicable Threshold Price will be
purchased at the applicable Reply Price and shall not be subject to proration.

        Proration Procedures. All Term Loans offered in Return Bids (or, if applicable, any
component bid thereof) constituting Qualifying Bids at the Applicable Threshold Price will be
purchased at the Applicable Threshold Price; provided that if the aggregate principal amount of
all Term Loans for which Qualifying Bids have been submitted in any given Auction at the
Applicable Threshold Price would exceed the remaining portion of the Auction Amount (after
deducting all Term Loans to be purchased below the Applicable Threshold Price), the Purchaser
shall purchase the Term Loans for which the Qualifying Bids submitted were at the Applicable
Threshold Price ratably based on the respective principal amounts offered and in an aggregate
amount equal to the amount necessary to complete the purchase of the Auction Amount. No
Return Bids (or any component thereof) will be accepted above the Applicable Threshold Price.

        Notification Procedures. Auction Manager will calculate the Applicable Threshold
Price and post the Applicable Threshold Price and proration factor onto an internet site
(including an IntraLinks, SyndTrak or other electronic workspace) in accordance with the
Auction Manager’s standard dissemination practices by 4:00 p.m. New York time on the same
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Business Day as the date the Return Bids were due. The Auction Manager will insert the
principal amount of Term Loans to be assigned and the applicable settlement date into each
applicable Affiliate Assignment Agreement received in connection with a Qualifying Bid. Upon
request of the submitting Lender, the Auction Manager will promptly return any Affiliate
Assignment Agreement received in connection with a Return Bid that is not a Qualifying Bid (as
defined below).

        Additional Procedures. Once initiated by an Auction Notice, the Purchaser may
withdraw an Auction only in the event that, as of such time, no Qualifying Bid has been received
by the Auction Manager. Furthermore, in connection with any Auction, upon submission by a
Lender of a Return Bid, such Lender will not have any withdrawal rights. Any Return Bid
(including any component bid thereof) delivered to the Auction Manager may not be modified,
revoked, terminated or cancelled by a Lender. However, an Auction may become void if the
conditions to the purchase of Term Loans by the Purchaser required by the terms and conditions
of Section 10.6(i)(ii) of the Credit Agreement are not met. The purchase price for each purchase
of Term Loans shall be paid by the Purchaser directly to the respective assigning Lender on a
settlement date as determined by the Auction Manager in consultation with the Purchaser (which
shall be no later than ten (10) Business Days after the date Return Bids are due). The Purchaser
shall execute each applicable Affiliate Assignment Agreement received in connection with a
Qualifying Bid.

        All questions as to the form of documents and validity and eligibility of Term Loans that
are the subject of an Auction will be determined by the Auction Manager, in consultation with
the Purchaser, which determination will be final and binding. The Auction Manager’s
interpretation of the terms and conditions of the Offer Document, in consultation with the
Purchaser, will be final and binding.

        None of the Administrative Agent, the Auction Manager, any other Agent or any of their
respective Affiliates assumes any responsibility for the accuracy or completeness of the
information concerning the Purchaser, the Credit Parties, or any of their Affiliates (whether
contained in the Offer Documents or otherwise) or for any failure to disclose events that may
have occurred and may affect the significance or accuracy of such information.

         This Exhibit M shall not require the Purchaser to initiate any Auction.




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                                                                                       Annex A to Exhibit M to
                                                                               Credit and Guaranty Agreement


                                              AUCTION NOTICE

                                      [Murray Energy Corporation Letterhead]

[Deutsche Bank AG New York Branch], as Auction Manager
[60 Wall Street
New York, New York 10005]
Attention: [______]
Fax No.: [______]
Email: [______]

Re: Loan Auction

Ladies and Gentlemen:

Reference is made to that certain Credit and Guaranty Agreement, dated as of April [__], 2015 (as amended from
time to time, the “Credit Agreement”), by and among MURRAY ENERGY CORPORATION, an Ohio
corporation (“Borrower”), MURRAY ENERGY HOLDINGS CO., a Delaware corporation, certain subsidiaries
of Borrower, as guarantors, the lenders party thereto from time to time (the “Lenders”), DEUTSCHE BANK AG
NEW YORK BRANCH, as administrative agent, and the other agents named therein. Capitalized terms used but
not defined herein have the meanings given to such terms in the Credit Agreement.

Borrower hereby gives notice to the Lenders that it desires to conduct the following Auction:

                 •         Auction Amount: $[_____________] in principal amount of Term Loans 1

                 •         Discount Range: Not less than $[________] nor greater than $[________] per $1,000
                           principal amount of Term Loans.

Borrower acknowledges that this Auction Notice may not be withdrawn other than in accordance with the Auction
Procedures. The Auction shall be consummated in accordance with the Auction Procedures with all Return Bids
due no later than 1:00 p.m. (New York time) on [_________].

Borrower hereby represents and warrants that (i) no Default or Event of Default has occurred and is continuing or
would result from such repurchase and (ii) Borrower will not use the proceeds of any loans under the Revolving
Credit Agreement to acquire such Term Loans. Borrower is not making any representation that it is not in
possession of any information regarding Borrower, its Subsidiaries or its Affiliates, or their assets, Borrower’s
ability to perform its Obligations or any other matter that may be material to a decision by any Lender to participate
in any Auction or enter into any Affiliate Assignment Agreement or any of the transactions contemplated thereby.

Very truly yours,

MURRAY ENERGY CORPORATION

By:       _____________________________
          Name:
          Title:




1
      Modify, as appropriate, to: “$[__________] maximum cash value to be paid for all tendered Term Loans”



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                                                                                       Annex B to Exhibit M to
                                                                                Credit and Guaranty Agreement


                                                  RETURN BID

[Deutsche Bank AG New York Branch], as Auction Manager
[60 Wall Street
New York, New York 10005]
Attention: [______]
Fax No.: [______]
Email: [______]

Ladies and Gentlemen:

Reference is made to that certain Credit and Guaranty Agreement, dated as of April 16, 2015 (as amended from time
to time, the “Credit Agreement”), by and among MURRAY ENERGY CORPORATION, an Ohio corporation
(“Borrower”), MURRAY ENERGY HOLDINGS CO., a Delaware corporation, certain subsidiaries of Borrower,
as guarantors, the lenders party thereto from time to time (the “Lenders”), DEUTSCHE BANK AG NEW YORK
BRANCH, as administrative agent, and the other agents named therein. Capitalized terms used but not defined
herein have the meanings given to such terms in the Credit Agreement.

The undersigned Lender hereby gives notice of its participation in the Auction by submitting the following Return
                                                          1
Bid                                                                                                             :

                    Reply Price                                          Reply Amount
                 (price per $1,000)                             (principal amount of Term Loans)

                 US$__________                                          US$__________

                 US$__________                                          US$__________

                 US$__________                                          US$__________


The undersigned Lender acknowledges that the submission of this Return Bid along with an executed Affiliate
Assignment Agreement, to be held in escrow by the Auction Manager, obligates the Lender to sell the entirety or its
pro rata portion of the Reply Amount in accordance with the Auction Procedures, as applicable.

                                            Very truly yours,

                                            [Name of Lender]

                                            By:
                                                   Name:
                                                   Title:




    1
         Lender may submit up to three component bids but need not submit more than one. The sum of Lender’s
    bid(s) may not exceed the aggregate principal face amount of Term Loans held by it as lender of record on the
    date of submission of its Return Bid.



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                                                                                           Annex C to Exhibit M to
                                                                                    Credit and Guaranty Agreement

                       AFFILIATE ASSIGNMENT AND ASSUMPTION AGREEMENT

         This Affiliate Assignment and Assumption Agreement (this “Assignment”) is dated as of the Affiliate
Assignment Effective Date set forth below and is entered into by and between [Insert name of Assignor] (the
“Assignor”) and [Insert name of Assignee] (the “Assignee”). Capitalized terms used but not defined herein shall
have the meanings given to them in the Credit Agreement identified below (as it may be amended, supplemented or
otherwise modified from time to time, the “Credit Agreement”), receipt of a copy of which is hereby
acknowledged by the Assignee. The Standard Terms and Conditions set forth in Annex 1 attached hereto (the
“Standard Terms and Conditions”) are hereby agreed to and incorporated herein by reference and made a part of
this Assignment as if set forth herein in full.

          For an agreed consideration, the Assignor hereby irrevocably sells and assigns to the Assignee, and the
Assignee hereby irrevocably purchases and assumes from the Assignor, subject to and in accordance with the
Standard Terms and Conditions and the Credit Agreement, as of the Affiliate Assignment Effective Date [in the
case of an Auction: inserted by the Auction Manager as contemplated in the Auction Procedures], (i) all of the
Assignor’s rights and obligations in its capacity as a Lender under the Credit Agreement and any other documents or
instruments delivered pursuant thereto to the extent related to the amount and percentage interest identified below of
all of the Assignor’s outstanding rights and obligations under the respective facilities identified below (including
without limitation guarantees included in such facilities), and (ii) to the extent permitted to be assigned under
applicable law, all claims, suits, causes of action and any other right of the Assignor (in its capacity as a Lender)
against any Person, whether known or unknown, arising under or in connection with the Credit Agreement, any
other documents or instruments delivered pursuant thereto or the loan transactions governed thereby or in any way
based on or related to any of the foregoing, including, but not limited to, contract claims, tort claims, malpractice
claims, statutory claims and all other claims at law or in equity related to the rights and obligations sold and assigned
pursuant to clause (i) above (the rights and obligations sold and assigned by the Assignor to the Assignee pursuant to
clauses (i) and (ii) above being referred to herein collectively as the “Assigned Interest”). Such sale and
assignment is without recourse to the Assignor and, except as expressly provided in this Assignment and the Credit
Agreement, without representation or warranty by the Assignor.

1.       Assignor:                            ______________________

2.       Assignee:                            ______________________
         Markit Entity Identifier (if any):   ______________________

3.       Borrower:                            MURRAY ENERGY CORPORATION

4.       Administrative Agent:                DEUTSCHE BANK AG NEW YORK BRANCH, as the
                                              administrative agent under the Credit Agreement

5.       Credit Agreement:                    The Credit and Guaranty Agreement, dated as of April 16, 2015, by and
                                              among MURRAY ENERGY CORPORATION, an Ohio corporation
                                              (“Borrower”), MURRAY ENERGY HOLDINGS CO., a Delaware
                                              corporation, certain subsidiaries of Borrower, as guarantors, the lenders
                                              party thereto from time to time, DEUTSCHE BANK AG NEW
                                              YORK BRANCH, as administrative agent, and the other agents named
                                              therein.




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6.        Assignor’s Interest under the Credit Agreement:

                  Facility              Aggregate Principal Face Amount of       Percentage of Term Loans
                                             Term Loans of Assignor                    of Assignor 1
                Term Loans                        $___________                        ___________%


7.        Assigned Interest:

      List below the Term Loans to be assigned by Assignor to Assignee [in the case of an Auction: , which shall be
      subject to the terms and conditions of the Auction, including, without limitation, the pro rata reduction
      procedures set forth in the Auction Procedures].
[in the case of an Auction:

                                          Reply Amount
                                     (principal face amount
      Reply Price with respect to      of Term Loans to be       Pro Rated Principal
       Term Loans being offered       Assigned to Assignee         Face Amount of       Percentage Assigned
      for assignment to Assignee     at relevant Reply Price)   Term Loans Assigned 4     of Term Loans 5
      (price per $1,000 principal       (subject to pro rata
               amount) 2                    reduction) 3

          $______________              $______________           $______________          ____________%

          $______________              $______________           $______________          ____________%

          $______________              $______________           $______________          ____________%

[in the case of an open market purchase:




1
      Set forth, to at least 9 decimals, as a percentage of the Loans of all Lenders thereunder. To be completed by
           Assignor.
2
      To be completed by Assignor.
3
      To be completed by Assignor. [In the case of an Auction: The sum of Lender’s Reply Amount(s) may not
          exceed the aggregate principal face amount of Term Loans held by it as lender of record on the date of
          submission of its Return Bid.]
4
      [In the case of an Auction: To be completed by the Auction Manager, if necessary, based on the proration
           procedures set forth in the Auction Procedures.]
5
      [In the case of an Auction: To be completed by the Auction Manager to at least 9 decimals as a percentage of
           the Term Loans of all Lenders thereunder.]


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                                   Aggregate Amount of              Amount of
                                   Commitment/Loans                 Commitment/Loans                 Percentage Assigned of
       Facility Assigned           for all Lenders                  Assigned                         Commitment/Loans 6

         ____________ 7              $______________                  $______________                  ____________%
         ____________                $______________                  $______________                  ____________%
         ____________                $______________                  $______________                  ____________%


8.        Affiliate Assignment Effective Date: ______________, 20__ [in the case of an Auction: TO BE
          INSERTED BY AUCTION MANAGER AND WHICH SHALL BE THE AFFILIATE ASSIGNMENT
          EFFECTIVE DATE OF RECORDATION OF TRANSFER IN THE REGISTER THEREFOR.]




6
      Set forth, to at least 9 decimals, as a percentage of the Commitment/Loans of all Lenders thereunder.
7
      Fill in the appropriate terminology for the types of facilities under the Credit Agreement that are being assigned under this
            Assignment (e.g. “Term Loan Commitment”, “Term Loan”, “New Term Loan Commitment”, etc.)


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9.         Notice and Wire Instructions:

     ASSIGNOR:                                              ASSIGNEE:

     [NAME OF ASSIGNOR]                                     [NAME OF ASSIGNEE]

     Notices:                                               Notices:

                _________________________                              _________________________
                _________________________                              _________________________
                _________________________                              _________________________
                Attention:                                             Attention:
                Telecopier:                                            Telecopier:

     with a copy to:                                        with a copy to:

                _________________________                              _________________________
                _________________________                              _________________________
                _________________________                              _________________________
                Attention:                                             Attention:
                Telecopier:                                            Telecopier:


     Wire Instructions:



           [In the case of an assignment via Dutch Auction only: The Assignor acknowledges and agrees that
(i) submission of a Return Bid in respect of the Term Loans will constitute a binding agreement between the
Assignor and the Assignee in accordance with the terms and conditions of the Auction Procedures and the Credit
Agreement; (ii) Term Loans will be deemed to have been accepted by the Assignee to the extent such Term Loans
are validly offered by Assignor to Assignee in accordance with the terms and conditions of the Auction Procedures
and the Credit Agreement upon notification by the Auction Manager to the Assignor that such Term Loans are part
of a Qualifying Bid (subject to applicable proration in accordance with the terms and conditions of the Auction); and
(iii) it does not have any withdrawal rights with respect to any offer to assign of its Term Loans.

         Subject to and effective upon the acceptance by the Assignee for purchase of the principal amount of the
Term Loans to be assigned by the Assignor to the Assignee, the Assignor hereby irrevocably constitutes and
appoints the Auction Manager as the true and lawful agent and attorney-in-fact of the Assignor with respect to such
Term Loans, with full powers of substitution and revocation (such power of attorney being deemed to be an
irrevocable power coupled with an interest) to complete or fill-in the blanks in this Assignment and deliver the
completed Assignment to the Assignee and the Assignor.]

                                              [Signature page follows]




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        The Assignor acknowledges and agrees that its offer to assign Term Loans [pursuant to the Auction
Procedures] constitutes the Assignor’s acceptance of the terms and conditions (including the proration procedures)
contained in [the Auction Procedures,] the Credit Agreement and this Assignment.

         The terms set forth in this Assignment are hereby agreed to:

                                                              ASSIGNOR
                                                              [NAME OF ASSIGNOR]

                                                              By:_______________________
                                                              Name:
                                                              Title:

                                                              ASSIGNEE
                                                              [NAME OF ASSIGNEE]


                                                              By:_______________________
                                                              Name:
                                                              Title:

Accepted:

[DEUTSCHE BANK AG NEW YORK BRANCH, as Administrative Agent [and Auction Manager]]
[[_________], as Auction Manager]


By:_______________________
Name: ____________________
Title: Authorized Signatory



[MURRAY ENERGY CORPORATION, as Borrower


By:_______________________
Name: ____________________
Title: _____________________]




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                                                                                                           ANNEX 1

                          STANDARD TERMS AND CONDITIONS FOR AFFILIATE
                                 ASSIGNMENT AND ACCEPTANCE

1.       Representations and Warranties.

                 1.1      Assignor. The Assignor (a) represents and warrants that (i) it is the legal and beneficial
                          owner of the Assigned Interest, (ii) the Assigned Interest is, and on the applicable
                          Affiliate Assignment Effective Date will be, free and clear of any lien, encumbrance or
                          other adverse claim, (iii) it has full power and authority, and has taken all action
                          necessary, to execute and deliver this Assignment and to consummate the transactions
                          contemplated hereby, (iv) it has received a copy of the Credit Agreement and such other
                          documents and information as it has deemed appropriate to make its own decision to
                          enter into this Assignment and to sell and assign the Assigned Interest on the basis of
                          which it has made such decision, and (v) it is not a Defaulting Lender; [and] (b) assumes
                          no responsibility with respect to (i) any statements, warranties or representations made in
                          or in connection with any Credit Document, (ii) the execution, legality, validity,
                          enforceability, genuineness, sufficiency or value of the Credit Agreement or any other
                          instrument or document delivered pursuant thereto, other than this Assignment (herein
                          collectively the “Credit Documents”), or any collateral thereunder, (iii) the financial
                          condition of Borrower, any of its Subsidiaries or Affiliates or any other Person obligated
                          in respect of any Credit Document or (iv) the performance or observance by Borrower,
                          any of its Subsidiaries or Affiliates or any other Person of any of their respective
                          obligations under any Credit Document, [in the case of an Auction: and (c) has read and
                          agrees to all of the terms and conditions (including the pro ration procedures) of the
                          Auction Procedures set forth in the Offer Documents]. The Assignor will, upon request,
                          execute and deliver any additional documents deemed by Administrative Agent or the
                          Assignee to be necessary or desirable to complete the sale, assignment and transfer of the
                          Assigned Interest. In the event that the Assignor has determined for itself to not access
                          any information disclosed by Assignee in connection with [the Auction or] this
                          Assignment, the Assignor acknowledges that (i) other Lenders may have availed
                          themselves of such information and (ii) none of Borrower, [the Auction Manager,] and
                          Administrative Agent has any responsibility for the Assignor’s decision to limit the scope
                          of the information it has obtained in connection with [its evaluation of the Auction or] its
                          decision to enter into this Assignment. [In the case of an assignment to an Affiliated
                          Lender: The Assignor hereby acknowledges and agrees that in connection with this
                          Assignment (A) the Assignee may have Excluded Information, (B) the Excluded
                          Information may not be available to it, (C) it has independently and without reliance on
                          any other party made its own analysis and determined to assign Term Loans to the
                          Assignee pursuant to Section 10.6(j) of the Credit Agreement notwithstanding its lack of
                          knowledge of the Excluded Information and (D) it waives and releases any claims it may
                          have against the Administrative Agent, the Assignee, Borrower and its Subsidiaries with
                          respect to the nondisclosure of the Excluded Information.]

                 1.2      Assignee. The Assignee (a) represents and warrants that (i) it has full power and
                          authority, and has taken all action necessary, to execute and deliver this Assignment and
                          to consummate the transactions contemplated hereby and to become a Lender under the
                          Credit Agreement until such time as the Loans are automatically cancelled without
                          further action by any Person on the Affiliate Assignment Effective Date, (ii) it meets the
                          requirements of an Eligible Assignee under the Credit Agreement, (iii) it has transmitted
                          same day funds to the Assignor on the Affiliate Assignment Effective Date, (iv) from and
                          after the Affiliate Assignment Effective Date, it shall be bound by the provisions of the
                          Credit Agreement and, to the extent of the Assigned Interest, shall have the obligations of
                          a Lender thereunder, (v) it is sophisticated with respect to decisions to acquire assets of
                          the type represented by the Assigned Interest and either it, or the Person exercising


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                          discretion in making its decision to acquire the Assigned Interest, is experienced in
                          acquiring assets of such type, (vi) it has received a copy of the Credit Agreement, and has
                          received or has been accorded the opportunity to receive copies of the most recent
                          financial statements delivered pursuant to Section 5.1 thereof, as applicable, and such
                          other documents and information as it deems appropriate to make its own credit analysis
                          and decision to enter into this Assignment and to purchase the Assigned Interest, (vii) it
                          has, independently and without reliance upon Administrative Agent or any other Lender
                          and based on such documents and information as it has deemed appropriate, made its
                          own credit analysis and decision to enter into this Assignment and to purchase the
                          Assigned Interest and (viii) as of the Affiliate Assignment Effective Date, after giving
                          effect to this Assignment, the aggregate principal amount of all Term Loans held by all
                          Affiliated Lenders does not exceed 20% of the aggregate principal amount of all Term
                          Loans outstanding under the Credit Agreement at the time of such purchase; and
                          (b) agrees that (i) it will, independently and without reliance on Administrative Agent,
                          [the Auction Manager,] the Assignor or any other Lender, and based on such documents
                          and information as it shall deem appropriate at the time, continue to make its own credit
                          decisions in taking or not taking action under the Credit Documents, [in the case of an
                          assignment to Borrower: (ii) it acknowledges that the Assigned Interest shall, from and
                          after the Affiliate Assignment Effective Date, and without further action by any Person,
                          be deemed cancelled for all purposes and no longer outstanding and that the Assignee
                          shall have no ability to vote or receive payments in respect of the Assigned,] [in the case
                          of an assignment to an Affiliated Lender: (iii) in connection with any (x) consent to any
                          amendment, modification, waiver, consent or other action with respect to any of the terms
                          of any Credit Document or (y) direction to Administrative Agent or any Lender to
                          undertake any action (or refrain from taking any action) with respect to or under any
                          Credit Document, except with respect to any amendment, modification, waiver, consent
                          or any action described in Section 10.5(b) of the Credit Agreement or that adversely
                          affects it in a disproportionate manner as compared to other Lenders, it shall be deemed
                          to have voted its interest as a Lender without discretion in such proportion as the
                          allocation of voting with respect to such matter by Lenders who are not Affiliated
                          Lenders,] (iv) solely in its capacity as a Lender, if any Credit Party shall be subject to any
                          voluntary or involuntary proceeding commenced under any Debtor Relief Law, it shall be
                          deemed to have voted in such proceedings in the same proportion as the allocation of
                          voting with respect to such matter by those Lenders who are not Affiliated Lenders,
                          except to the extent that any plan under the Debtor Relief Laws proposes to treat the
                          Obligations of the Credit Parties under the Credit Documents held by it in a manner that
                          is disproportionately less favorable to it than the proposed treatment of similar
                          Obligations of the Credit Parties under the Credit Documents held by other Lenders, and
                          it acknowledges that the foregoing constitutes an irrevocable proxy in favor of
                          Administrative Agent to vote or consent on behalf of it in any proceeding in the manner
                          set forth above, and (v) notwithstanding anything to the contrary in the Credit
                          Agreement, it shall not have any right to (a) attend (including by telephone or electronic
                          means) any meeting or discussions (or portion thereof) intended to be solely among
                          Administrative Agent and Lenders other than the Affiliated Lenders, or (b) receive any
                          information or material prepared by Administrative Agent intended to be disseminated
                          solely to Lenders other than the Affiliated Lenders.

                 1.3      No Violation of Laws. Each of the Assignor and Assignee acknowledges that it has not
                          violated any applicable laws relating to this Assignment or the transactions contemplated
                          herein.

2.      Payments. Payment to the Assignor by the Assignee in respect of the settlement of the assignment of the
Assigned Interest shall be paid by Assignee directly to the Assignor and shall include all unpaid interest that has
accrued in respect of the Assigned Interest through the Affiliate Assignment Effective Date. [In the case of an
assignment to Borrower: No interest shall accrue with respect to the Assigned Interest from and after the Affiliate
Assignment Effective Date and such Assigned Interest shall, from and after the Affiliate Assignment Effective Date,


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and without further action by any Person, be deemed cancelled for all purposes and no longer outstanding.] [In the
case of an assignment to an Affiliated Lender: From and after the Affiliate Assignment Effective Date,
Administrative Agent shall make all payments in respect of the Assigned Interests (including payments of principal,
interest, fees and other amounts) to the Assignor for amounts that have accrued to but excluding the Affiliate
Assignment Effective Date and to Assignee for amounts that have accrued from and after the Affiliate Assignment
Effective Date.]

3.       No Default. On the Affiliate Assignment Effective Date, no [in the case of an assignment to Borrower:
Default or] Event of Default has occurred and is continuing or would result from this Assignment.

4.       General Provisions. This Assignment shall be binding upon, and inure to the benefit of, the parties hereto
and their respective successors and assigns. This Assignment may be executed in counterparts, each of which shall
be deemed to be an original, but all of which shall constitute one and the same agreement. Delivery of an executed
counterpart of a signature page of this Assignment by facsimile or in electronic format (i.e., "pdf" or "tif") shall be
effective as delivery of a manually executed counterpart of this Assignment. This Assignment shall be governed by,
and shall be construed and enforced in accordance with, the laws of the State of New York without regard to conflict
of laws principles thereof that would require the application of any law other than the law of the State of New York.




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                                                            EXHIBIT N TO
                                         CREDIT AND GUARANTY AGREEMENT

                       INTERCREDITOR AGREEMENT

                                [See attached]




                                EXHIBIT N-1
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                                                           EXECUTION VERSION




               AMENDED AND RESTATED INTERCREDITOR AGREEMENT

                                   between


                         GOLDMAN SACHS BANK USA,


                                AS ABL AGENT,

                                      and

                      U.S. BANK NATIONAL ASSOCIATION,


                           AS TERM DEBT TRUSTEE,

                           Dated as of April 16, 2015



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                   AMENDED AND RESTATED INTERCREDITOR AGREEMENT

        This AMENDED AND RESTATED INTERCREDITOR AGREEMENT (this “Agreement”) is dated
as of April 16, 2015 and entered into by and between GOLDMAN SACHS BANK USA, in its
capacity as agent under the ABL Credit Agreement (as defined below), including its successors
and assigns from time to time (the “ABL Agent”), and U.S. BANK NATIONAL ASSOCIATION, not
in its individual capacity, but solely in its capacity as collateral trustee under the Term Debt
Documents (as defined below), including its successors and assigns from time to time (the “Term
Debt Trustee”) and is acknowledged by MURRAY ENERGY CORPORATION, an Ohio corporation
(the “Company”), MURRAY ENERGY HOLDINGS CO., a Delaware corporation that directly or
indirectly owns all of the Capital Stock of the Company (“Holdings”), and the Domestic
Subsidiaries (as defined below) of the Company listed on the signature pages hereof (together
with any Domestic Subsidiary that becomes a party hereto after the date hereof, each a
“Company Subsidiary”, and, collectively, the “Company Subsidiaries”). Unless otherwise
specified herein, capitalized terms used in this Agreement have the meanings assigned to them in
Article 1.

                                           RECITALS

        The Company, Holdings, certain subsidiaries of the Company, the ABL Lenders, and the
ABL Agent have entered into that certain Revolving Credit Agreement, dated as of December 5,
2013 (as amended by that certain Amendment No. 1, dated as of December 23, 2013, by that
certain Amendment No. 2, dated as of the date hereof, and as may be further amended, restated,
supplemented, modified, replaced, or Refinanced from time to time, in each case in accordance
with this Agreement, the “Initial ABL Credit Agreement”);

        The Company, Holdings, certain subsidiaries of the Company, Deutsche Bank AG New
York Branch, as administrative agent, other agents and lenders party thereto from time to time
have entered into that certain Credit and Guaranty Agreement, dated as of the date hereof (as
amended, restated, supplemented, modified, replaced, or Refinanced from time to time, in each
case in accordance with this Agreement, the “Initial First Lien Term Loan Agreement”);

        The Company has issued 8.625% senior secured notes in a principal amount of
$350,000,000 (the “Initial Senior Secured Notes”) under an indenture, dated as of May 24, 2013
(as amended by that certain First Supplemental Indenture, dated as of November 5, 2013, by that
certain Second Supplemental Indenture, dated as of May 8, 2014, by that certain Third
Supplemental Indenture, dated as of April 1, 2015, by that certain Fourth Supplemental
Indenture, dated as of April 10, 2015, and as may be further amended, restated, supplemented,
modified, replaced, or Refinanced from time to time, the “Initial Senior Secured Note
Indenture”) among the Company, Holdings, each Company Subsidiary, the Term Debt Trustee,
as collateral trustee and The Bank of New York Mellon Trust Company, as trustee;

        The Company has issued 9.50% senior secured notes in a principal amount of
$400,000,000 (the “Secondary Senior Secured Notes”) under an indenture, dated as of May 8,
2014 (as amended by that certain First Supplemental Indenture, dated as of April 1, 2015, by that
certain Second Supplemental Indenture, dated as of April 10, 2015, and as may be further


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amended, restated, supplemented, modified, replaced, or Refinanced from time to time, the
“Secondary Senior Secured Note Indenture”) among the Company, Holdings, each Company
Subsidiary, the Term Debt Trustee, as collateral trustee and The Bank of New York Mellon Trust
Company, as trustee;

        The Company has issued 11.25% senior secured notes in a principal amount of
$1,300,000,000 (the “Tertiary Senior Secured Notes”) under an indenture, dated as of the date
hereof (as amended restated, supplemented, modified, replaced, or Refinanced from time to time,
the “Tertiary Senior Secured Note Indenture”) among the Company, Holdings, each Company
Subsidiary, the Term Debt Trustee, as collateral trustee and The Bank of New York Mellon Trust
Company, as trustee;

         The Grantors have granted to the ABL Agent, for the benefit of the ABL Claimholders, a
first priority Lien on the ABL Collateral and a third priority lien on the Fixed Asset Collateral all
as more particularly described in the ABL Loan Documents (as defined below);

       The Grantors have granted to (a) the Term Debt Trustee, for the benefit of the First Lien
Term Debt Claimholders, a first priority Lien on the Fixed Asset Collateral and a second priority
Lien on the ABL Collateral, and (b) the Term Debt Trustee, for the benefit of the Second Lien
Term Debt Claimholders, a second priority Lien on the Fixed Asset Collateral and a third priority
Lien on the ABL Collateral, in each case, with such priorities among the Term Debt
Claimholders as more particularly described in the Collateral Trust Agreement and other Term
Debt Documents; and

        The Term Debt Trustee, on behalf of the Term Debt Claimholders, and the ABL Agent,
on behalf of the ABL Claimholders, wish to set forth their agreement as to certain of their
respective rights and obligations with respect to the ABL Collateral and Fixed Asset Collateral of
the Grantors and their understanding relative to their respective positions in certain other assets
and properties of the Grantors, in each case by amending and restating that certain Intercreditor
Agreement dated as of December 5, 2013 (the “Existing Intercreditor Agreement”) among the
ABL Agent, the Term Debt Trustee, the Company, Holdings and the Company Subsidiaries
party thereto.

                                          AGREEMENT

       In consideration of the foregoing, the mutual covenants and obligations herein set forth
and for other good and valuable consideration, the sufficiency and receipt of which are hereby
acknowledged, the parties hereto, intending to be legally bound, hereby agree as follows:

                                              I.
                                         DEFINITIONS.

      1.1. Defined Terms. As used in this Agreement, the following terms shall have the
following meanings:


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     “ABL Account Debtor” means any Person that is obligated to make payments on any
ABL Accounts.

        “ABL Accounts” means all Accounts of each Grantor that constitute ABL Collateral.

       “ABL Agent” has the meaning assigned to that term in the Preamble to this Agreement,
and shall include one or more other agents or similar contractual representatives for one or more
lenders, banks, purchasers, noteholders or investors that at any time succeeds to, substitutes,
replaces or Refinances any or all of the ABL Obligations at any time and from time to time.

        “ABL Claimholders” means, at any relevant time, the holders of ABL Obligations at that
time, including, without limitation, the ABL Lenders and the ABL Agent.

       “ABL Collateral” means all right, title and interest of any Grantor in and to the following
types of property, whether now-owned or hereafter created, acquired or arising and wherever
located:

               (a)    Accounts (but excluding any Accounts which constitute identifiable
        Proceeds of Fixed Asset Collateral);

                 (b)   any Collection Account and any other Deposit Accounts and Securities
        Accounts (including all cash, cash equivalents, Money, checks, Instruments, funds, ACH
        transfers, wired funds and other funds and property, in each case, to the extent held in or
        on deposit in any of the foregoing, but excluding (x) other Investment Property, (y) any
        cash, cash equivalents, Money, checks, Instruments, funds, ACH transfers, wired funds
        and other funds and property, in each case held in or on deposit in the Fixed Asset
        Collateral Proceeds Account and (z) any identifiable Proceeds of Fixed Asset Collateral
        held in the Collection Account or any other Deposit Accounts or Securities Accounts;

                (c)    Inventory;

                (d)    Cash Collateral;

                 (e)   Letter of Credit Rights arising out of, or related to, or derivative of any of
        the property or interests in property described in subsections (a), (b) and (c) of the
        definition of “ABL Collateral”;

                 (f)   letters of credit transferred to the ABL Agent or any ABL Lender, or with
        respect to which the Proceeds thereof have been assigned to the ABL Agent or any
        ABL Lender, or on which the ABL Agent or any ABL Lender is named as beneficiary, in
        each case arising out of, related to, or derivative of the property or interests described in
        subsections (a), (b) and (c) of the definition of “ABL Collateral”;




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                (g)    Supporting Obligations and Commercial Tort Claims, in each case, solely
        to the extent arising out of, or related to, or derivative of the property or interests in
        property described in subsections (a), (b) and (c) of the definition of “ABL Collateral”;

                 (h)    contracts, contract rights and other General Intangibles (including, without
        limitation, Supporting IP but excluding Intellectual Property constituting Fixed Asset
        Collateral or identifiable Proceeds of Fixed Asset Collateral), all Documents, Chattel
        Paper, and Instruments (including promissory notes), in each case, to the extent arising
        out of, or related to, or derivative of the property or interests in property described in
        subsections (a), (b) and (c) of the definition of “ABL Collateral”;

                  (i) books and Records relating to the items referred to in the preceding
        clauses (a) through (h) (including all books, databases, data processing software,
        customer lists, and Records, whether tangible or electronic, to the extent containing any
        information relating to any of the items referred to in the preceding clauses (a) through
        (h)); and

                 (j) collateral security and guarantees with respect to any of the foregoing and
        all Proceeds, products, substitutions, replacements, accessions, cash, Money, insurance
        proceeds, Instruments, Securities, Security Entitlements, Financial Assets, Deposit
        Accounts and Securities Accounts, in each case, received as Proceeds of any of the
        foregoing, but excluding (x) any cash, cash equivalents, Money, checks, Instruments,
        funds, ACH transfers, wired funds, Investment Property, and other funds and property, in
        each case held in or on deposit in the Fixed Asset Collateral Proceeds Account and (y)
        any identifiable Proceeds of Fixed Asset Collateral in accordance with Section 3.5.

Notwithstanding anything to the contrary herein, the term “ABL Collateral” shall exclude assets
described in the definition of “Excluded Property”. All capitalized terms used in this definition
and not defined elsewhere in this Agreement have the meanings assigned to them in the UCC.

         “ABL Credit Agreement” means collectively, (a) the Initial ABL Credit Agreement and
(b) any other credit agreement or credit agreements, one or more debt facilities, indenture, note
purchase agreements and/or commercial paper facilities, in each case, with banks or other
lenders, institutional investors or purchasers providing for revolving credit loans, term loans,
receivables financing (including through the sale of receivables to such lenders or to special
purpose entities formed to borrow from (or sell such receivables to) such lenders), letters of
credit, bankers’ acceptances, notes, bonds, securities or other borrowings, in each case, that have
been incurred to increase, replace (whether upon or after termination or otherwise), Refinance or
refund in whole or in part from time to time the ABL Obligations outstanding under the Initial
ABL Credit Agreement or any other agreement or instrument referred to in this clause, whether
or not such increase, replacement, Refinancing or refunding occurs (i) with the original parties
thereto, (ii) on one or more separate occasions or (iii) simultaneously or not with the termination
or repayment of the Initial ABL Credit Agreement or any other agreement or instrument referred
to in this clause, unless such agreement or instrument expressly provides that it is not intended to
be and is not an ABL Credit Agreement, or such agreement or instrument is not a Permitted


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Refinancing Agreement. Any reference to the ABL Credit Agreement hereunder shall be
deemed a reference to any ABL Credit Agreement then in existence.

        “ABL Default” means an “Event of Default” as defined in the ABL Credit Agreement.

        “ABL DIP Financing” has the meaning assigned to that term in Section 6.1(a).

      “ABL Hedging Obligations” means Hedging Obligations (other than any First Lien Term
Loan Hedging Obligations) that are secured under the ABL Loan Documents.

       “ABL Lenders” means the “Lenders” under and as defined in the ABL Credit Agreement
and any other Person which extends credit under the ABL Credit Agreement.

        “ABL Loan Documents” means the ABL Credit Agreement and the “Loan Documents”
(as defined in the ABL Credit Agreement), and each of the other agreements, documents and
instruments executed pursuant thereto, and any other document or instrument executed or
delivered at any time in connection with any ABL Obligations including any intercreditor or
joinder agreement among holders of ABL Obligations, to the extent such are effective at the
relevant time, as each may be amended, restated, supplemented, modified, renewed, extended or
Refinanced from time to time, in each case, in accordance with the provisions of this Agreement.

        “ABL Obligations” means all “Obligations”, “Hedging Liability”, and “Bank Product
Liability” (each as defined in the Initial ABL Credit Agreement, as in effect on the date hereof).
“ABL Obligations” shall include all interest, fees and expenses accrued or accruing (or which
would, absent commencement of an Insolvency or Liquidation Proceeding, accrue) after
commencement of an Insolvency or Liquidation Proceeding in accordance with the rate specified
in the relevant ABL Loan Document, whether or not the claim for such interest, fees and
expenses is allowed as a claim in such Insolvency or Liquidation Proceeding. Notwithstanding
anything to the contrary herein, the term “ABL Obligations” shall exclude as of any date of
determination that portion of the Obligations then outstanding under the ABL Loan Documents
in excess of the following amount determined as follows (such amount, the “ABL Obligations
Cap”): (a) $225,000,000, plus (b) solely as a component of an ABL DIP Financing with respect
to any Insolvency or Liquidation Proceeding, an additional amount equal to the lesser of (i) 10%
of the revolving loan commitments (funded and unfunded) under the ABL Loan Documents
outstanding immediately prior to the date of commencement of such Insolvency or Liquidation
Proceeding, and (ii) $22,500,000, plus (c) interest, fees, costs, expenses, indemnities and other
amounts payable pursuant to the terms of the ABL Loan Documents, whether or not the same are
added to the principal amount of the ABL Obligations and including the same as would accrue
and become due but for the commencement of an Insolvency or Liquidation Proceeding, whether
or not such amounts are allowed or allowable in whole or in part in any such Insolvency or
Liquidation Proceeding, plus (d) five (5) percent of the letters of credit, bankers acceptances or
similar instruments outstanding under the ABL Credit Agreement, plus (e) an amount sufficient
to terminate and repay in full in cash all ABL Hedging Obligations and all Bank Product
Liability under the ABL Loan Documents.



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        “ABL Security Documents” means the Collateral Documents (as defined in the
ABL Credit Agreement) and any other agreement, document or instrument pursuant to which a
Lien is granted securing any ABL Obligations or under which rights or remedies with respect to
such Liens are governed, as the same may be amended, restated, renewed, extended,
supplemented or otherwise modified from time to time, in each case, in accordance with the
provisions of this Agreement.

        “ABL Standstill Period” has the meaning set forth in Section 3.2(a)(i).

        “Access Rights Notice” has the meaning assigned to that term in Section 3.3(b).

        “Access Period” has the meaning set forth in Section 3.3(b).

       “Account Agreements” means any lockbox account agreement, pledged account
agreement, blocked account agreement, securities account control agreement, or any similar
deposit or securities account agreements among one or more of the Agents, one or more Grantors
and the relevant financial institution depository or securities intermediary.

         “Additional Facilities Amount” means the “Additional Facilities Amount” as defined in
the Initial First Lien Term Loan Agreement as in effect on the date hereof.

       “Additional First Lien Term Debt Debtholders” means the “Holders”, lenders, banks,
noteholders, investors or purchasers (or terms similar thereto) as defined in any Additional First
Lien Term Debt Facility.

        “Additional First Lien Term Debt Facility” means one or more debt facilities, credit
agreements, note purchase agreements, commercial paper facilities, indentures or other
agreements for which the requirements of Section 5.6 of this Agreement have been satisfied, in
each case with banks, lenders, purchasers, investors or trustees, agents or other representatives of
any of the foregoing providing for revolving credit loans, term loans, receivables financing
(including through the sale of receivables or interests in such receivables to such lenders or other
Persons or to special purpose entities formed to borrow from such lenders or other Persons
against such receivables or sell such receivables or interests in such receivables), letters of credit,
notes, bonds, securities or other borrowings or extensions of credit, in each case, as amended,
restated, modified, renewed, refunded, restructured, increased, supplemented, replaced or
Refinanced in whole or in part from time to time in accordance with this Agreement and each
applicable First Lien Term Debt Security Document; provided that neither the ABL Credit
Agreement, the Initial Senior Secured Note Indenture, the Secondary Senior Secured Note
Indenture, the Tertiary Senior Secured Note Indenture, and the First Lien Term Loan Agreement,
nor any Refinancing of any of the foregoing shall constitute an Additional First Lien Term Debt
Facility at any time.

       “Additional Second Lien Term Debt Debtholders” means the “Holders”, lenders, banks,
noteholders, investors or purchasers (or terms similar thereto) as defined in any Additional
Second Lien Term Debt Facility.


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        “Additional Second Lien Term Debt Facility” means one or more debt facilities, credit
agreements, note purchase agreements, commercial paper facilities, indentures or other
agreements for which the requirements of Section 5.6 of this Agreement have been satisfied, in
each case with banks, lenders, purchasers, investors or trustees, agents or other representatives of
any of the foregoing providing for revolving credit loans, term loans, receivables financing
(including through the sale of receivables or interests in such receivables to such lenders or other
Persons or to special purpose entities formed to borrow from such lenders or other Persons
against such receivables or sell such receivables or interests in such receivables), letters of credit,
notes, bonds, securities or other borrowings or extensions of credit, in each case, as amended,
restated, modified, renewed, refunded, restructured, increased, supplemented, replaced or
Refinanced in whole or in part from time to time in accordance with this Agreement and each
applicable Second Lien Term Debt Security Document; provided that neither the ABL Credit
Agreement, the Initial Senior Secured Note Indenture, the Secondary Senior Secured Note
Indenture, the Tertiary Senior Secured Note Indenture and the First Lien Term Loans, nor any
Refinancing of any of the foregoing shall constitute an Additional Second Lien Term Debt
Facility at any time.

        “Additional Term Debt” has the meaning assigned to that term in Section 5.6.

        “Affiliate” means, with respect to a specified Person, another Person that directly, or
indirectly through one or more intermediaries, controls or is controlled by or is under common
control with the Person specified. For purposes of this definition, a Person shall be deemed to
“control” or be “controlled by” a Person if such Person possesses, directly or indirectly, power to
direct or cause the direction of the management or policies of such Person whether through
ownership of equity interests, by contract or otherwise.

       “Agents” means, collectively, the ABL Agent and the Term Debt Trustee, and “Agent”
means, individually, the ABL Agent or the Term Debt Trustee, as applicable.

        “Agreement” means this Amended and Restated Intercreditor Agreement, as amended,
restated, renewed, extended, supplemented or otherwise modified from time to time in
accordance with the terms hereof.

      “Bank Product Liability” has the meaning assigned such term in the Initial ABL Credit
Agreement as in effect on the date hereof.

      “Bankruptcy Code” means Title 11 of the United States Code entitled “Bankruptcy,” as
now and hereafter in effect, or any successor statute.

        “Bankruptcy Law” means the Bankruptcy Code and any similar federal, state or foreign
law for the relief of debtors.

     “Business Day” means a day that is a “Business Day” under both the Term Debt
Documents and the ABL Credit Agreement.



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        “Capital Stock” means (a) in the case of a corporation, capital stock, (b) in the case of an
association or business entity, any and all shares, interests, participations, rights or other
equivalents (however designated) of capital stock, (c) in the case of a partnership, partnership
interests (whether general or limited), (d) in the case of a limited liability company, membership
interests and (e) any other interest or participation that confers on a Person the right to receive a
share of the profits and losses of, or distributions of assets of, the issuing Person and all rights,
warrants or options exchangeable for or convertible into any of the items described in clauses (a)
through (e) above; provided that with respect to the foregoing, Capital Stock shall exclude any
debt securities convertible into Capital Stock, whether or not such debt securities include any
right of vote or participation with Capital Stock.

        “Cash Collateral” means “Cash Collateral” as defined in the ABL Credit Agreement as in
effect on the date hereof.

     “Claimholders” means, collectively, the Term                 Debt    Claimholders     and   the
ABL Claimholders, and individually, each a “Claimholder”.

       “Collateral” means all of the assets and property of any Grantor, whether real, personal or
mixed, constituting or purporting to constitute either ABL Collateral or Fixed Asset Collateral.

        “Collateral Trust Agreement” means that certain amended and restated collateral trust
agreement dated as of December 5, 2013 by and among the Term Debt Trustee on behalf of the
First Lien Term Debt Claimholders and the Second Lien Term Debt Claimholders, and
acknowledged by the Grantors specifying the relative lien priorities and related matters as among
the holders of Term Debt Obligations.

      “Collection Account” has the meaning assigned such term in the Initial ABL Credit
Agreement, as in effect on the date hereof.

        “Company” has the meaning assigned to that term in the Preamble to this Agreement.

      “Company Subsidiary” has the meaning assigned to that term in the Preamble to this
Agreement.

       “Conforming Plan of Reorganization” means any Plan of Reorganization whose
provisions are consistent with the provisions of this Agreement or that has been accepted by the
voluntary required vote of each class of the ABL Claimholders and the Term Debt Claimholders.

        “Deposit Accounts” has the meaning given such term in the UCC, except that such term
shall exclude the Fixed Asset Collateral Proceeds Account.

       “Discharge of ABL Obligations” means, except to the extent otherwise expressly
provided in Section 5.5:

                 (a)   payment in full in cash of all ABL Obligations (other than (x) contingent
        obligations or contingent indemnification obligations described in clauses (c) and (d)

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        below, (y) contingent obligations or contingent indemnification obligations for which no
        claim or demand for payment, whether oral or written, has been made at such time, and
        (z) obligations that expressly survive the satisfaction and discharge of the ABL Loan
        Documents);

                (b)   termination or expiration of all commitments, if any, to extend credit
        under all ABL Loan Documents;

                  (c)  termination, cash collateralization (in an amount and manner reasonably
        satisfactory to the ABL Agent, but in no event greater than 105% of the aggregate
        undrawn face amount, plus commissions, fees, and expenses) or backstop of all letters of
        credit issued under the ABL Credit Agreement in compliance with the terms of therewith;
        and

                (d)    cash collateralization (or support by a letter of credit) for any contingent
        indemnification obligations consisting of ABL Obligations not yet due and payable but
        with respect to which a claim or demand for payment, whether oral or written, has been
        made at such time (in an amount and manner reasonably satisfactory to the ABL Agent).

        Discharge of Term Debt Obligations” means, except to the extent otherwise expressly
provided in Section 5.5, payment in full in cash of all Term Debt Obligations, satisfaction and
discharge of the First Lien Term Loan Agreement, the Initial Senior Secured Note Indenture, the
Secondary Senior Secured Note Indenture, the Tertiary Senior Secured Note Indenture, the
Additional First Lien Term Debt Facility, if any, and the Additional Second Lien Term Debt
Facility, if any (other than obligations that expressly survive such satisfaction and discharge) and
cash collateralization (or support by a letter of credit) for any contingent obligations (including
any reimbursement obligations for costs and expenses) and contingent indemnification
obligations consisting of any Term Debt Obligations not yet due and payable but with respect to
which a claim or demand for payment, whether oral or written, has been made at such time (in an
amount and manner reasonably satisfactory to the Term Debt Trustee).

        “Disposition” or “Disposes of” means any sale, lease, exchange, transfer or other
disposition of any Collateral.

        “Domestic Subsidiary” means with respect to any Person, any Subsidiary of such Person
other than a Foreign Subsidiary.

         “Enforcement” means, collectively or individually for one or both of the ABL Agent and
the Term Debt Trustee, when an ABL Default or a Term Debt Default, as applicable, has
occurred and is continuing, to exercise or enforce or attempt to exercise or enforce any right or
remedies against any ABL Collateral under the ABL Loan Documents, the Term Debt
Documents and/or under any applicable law, by self-help repossession, by judicial enforcement,
by non-judicial foreclosure sale, by set-off, by notification to account obligors or depository
institutions of any Grantor, by any sale, lease, or other disposition implemented by any Grantor
following an ABL Default or a Term Debt Default, as applicable, in connection with which the
ABL Agent or the Term Debt Trustee has agreed to release its Liens on the subject property

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pursuant to Section 5.1(a) or Section 5.1(c) hereof, or otherwise, but in all cases excluding (i) the
establishment of borrowing base reserves, collateral ineligibles, or other conditions for advances,
(ii) the changing of advance rates or advance sublimits, (iii) the imposition of a default rate or
late fee, (iv) the cessation of lending pursuant to the provisions of the ABL Credit Agreement,
including upon the occurrence of a default or the existence of an overadvance, (v) the filing of a
proof of claim in any Insolvency or Liquidation Proceeding, (vi) the consent by the ABL Agent
to disposition by any Grantor of any of the ABL Collateral pursuant to Section 5.1(a)(C)
following the occurrence and during the continuance of any ABL Default, (vii) the consent by
the Term Debt Trustee to disposition by any Grantor of any of the Fixed Asset Collateral
pursuant to Section 5.1(c)(C) following the occurrence and during the continuance of any Term
Debt Default, (viii) the acceleration of the Term Debt Obligations or the ABL Obligations, (ix)
the commencement or joining with any Person to commence, or filing a petition to commence,
an Insolvency or Liquidation Proceeding and (x) the imposition of cash dominion by the ABL
Agent unless such cash dominion is imposed following the occurrence and during the
continuance of an ABL Default and the concomitant cessation of lending and/or the imposition
of a restriction on the amount of proceeds of ABL Collateral that may be used by any or all of
the Company and the Company Subsidiaries to pay operating expenses in the ordinary course of
business or unless the ABL Agent has delivered written notice to the Term Debt Trustee that the
exclusion under this clause no longer applies).

        “Enforcement Notice” means a written notice delivered, at a time when an ABL Default
or a Term Debt Default has occurred and is continuing, by either the ABL Agent or the Term
Debt Trustee to the other Agent announcing that an Enforcement by any or all of the ABL
Claimholders or any or all of the Term Debt Claimholders, as the case may be, has commenced,
specifying the relevant ABL Default or Term Debt Default, as applicable, stating the current
balance of the ABL Obligations or the Term Debt Obligations, as applicable, and requesting the
current balance of the ABL Obligations and/or the Term Debt Obligations, as applicable, owing
to the notified party.

         “Excluded Property” means, collectively: (i) (x) any fee-owned real property in existence
on the date hereof, with a fair market value below $2,500,000 for each such real property and
below $10,000,000 in the aggregate for all such fee-owned real properties and any leasehold real
property in existence on the date hereof having annual lease payments below $1,500,000 for each
such leasehold property and (y) any fee-owned real property acquired after the date hereof, with
a fair market value below $5,000,000 for each such real property and any leasehold real property
leased after the date hereof having annual rent payments below $5,000,000 and in the aggregate
amount for all such fee-owned and leasehold real properties not to exceed $25,000,000, (ii) letter
of credit rights and commercial tort claims below $2,500,000 in the aggregate for all letter of
credit rights and commercial tort claims; (iii) pledges and security interests prohibited or
restricted by applicable law (including requirement to obtain the consent of any governmental
authority or third party), (iv) margin stock and interests in any Person other than wholly-owned
subsidiaries to the extent not permitted by the terms of such Person’s organizational or joint
venture documents or could not be pledged without the consent of third parties (provided that
any equity interests in Foresight GP and Foresight LP owned by a Grantor shall not be
excluded), (v) any assets to the extent a security interest in such assets could reasonably be
expected to result in adverse tax consequences or adverse regulatory consequences, in each case,

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as reasonably determined by the Company, (vi) any intent-to-use United States trademark
applications for which an amendment to allege use or statement of use has not been filed under
federal law or, if filed, has not been deemed in conformance with federal law, (vii) any lease
(other than real property leases not excluded in item (i) above), license, permit or other
agreement, or any property subject to a purchase money security interest, capital lease obligation
or similar arrangement to the extent that a grant of a security interest therein would require
consent thereunder, or would violate or invalidate such lease, license, permit, or agreement,
purchase money arrangement, capital lease or similar arrangement or create a right of
termination in favor of any other party thereto (other than a Grantor), after giving effect to the
applicable anti-assignment provisions of the UCC or other applicable law, (viii) any
governmental license or state or local franchises, charters and authorizations to the extent a
security interest therein is prohibited or restricted by applicable law, (ix) motor vehicles,
airplanes and other assets subject to certificate of title, (x) any equity interests in Excluded
Subsidiaries (except for equity interests in Foresight GP and Foresight LP owned by a Grantor
and 65% of the equity interests in any first-tier foreign subsidiaries); (xi) any assets where the
cost of obtaining a security interest therein exceeds the practical benefit to the Term Debt
Claimholders afforded thereby as agreed by the Company and the Term Debt Claimholders; (xii)
mineral rights and/or constructed coal mine assets, in each case securing installment notes issued
to Governmental Authorities for the purchase of such mineral rights and/or rights to construct
coal mines not in excess of the maximum principal amount of $10,000,000 in the aggregate at
any time outstanding for all such notes); (xiii) (x) cash posted as margin by the Existing
Designated Coal Contract Counterparty (as defined in the Term Loan Agreement) pursuant to the
Existing Designated Coal Contract and (y) cash and cash equivalents deposited in (1) local petty
cash accounts up to a maximum aggregate cash deposit amount of $500,000, (2) payroll
accounts, (3) benefits accounts, (4) tax accounts, (5) escrow accounts, (6) trust accounts, (7) any
accounts held solely for the benefit of customers, (8) restricted investment accounts, (9) any
accounts holding deposits in connection with permitted Liens and (10) any accounts used for
customs or other fiduciary purposes. and (xiv) any assets located outside the United State of
America or assets that require action under the law of any foreign jurisdiction to create or perfect
a security interest in such assets under such foreign jurisdiction, including any intellectual
property registered in any foreign jurisdiction (and no security agreements or pledge agreements
governed under the laws of any foreign jurisdiction shall be required).

        “Excluded Subsidiary” means (i) a Foreign Subsidiary, (ii) any direct or indirect
Domestic Subsidiary of a Foreign Subsidiary, (iii) any direct or indirect Domestic Subsidiary the
primary asset of which is the Capital Stock of Foreign Subsidiaries and, if applicable,
Indebtedness of such Foreign Subsidiaries, (iv) Subsidiaries designated as unrestricted pursuant
to the First Lien Term Loan Agreement, (v) captive insurance companies, (vi) special purpose
entities established for purposes of an accounts receivable factoring arrangement, (vii)
Immaterial Subsidiaries, (viii) any other Person to the extent a guarantee by such Person is
prohibited or restricted by contracts or applicable law (including any requirement to obtain
Governmental Authority or third party consent, approval, license or authorization) or could result
in adverse tax consequences as reasonably determined by the Company.

        “Existing Intercreditor Agreement” has the meaning assigned to that term in the Recitals.


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       “First Lien Term Debt Claimholders” means, at any relevant time, the holders of First
Lien Term Loan Obligations at that time, the Additional First Lien Term Debt Debtholders, if
any, and the Term Debt Trustee.

       “First Lien Term Debt Documents” means the First Lien Term Loan Documents, the
Additional First Lien Term Debt Facility, if any, and the First Lien Term Debt Security
Documents.

       “First Lien Term Debt Obligations” means the First Lien Term Loan Obligations and
“Obligations” as defined in the Additional First Lien Term Debt Facility, if any.

       “First Lien Term Debt Security Agreement” means the amended and restated priority lien
debt pledge and security agreement, dated as of the date hereof, among the Company, each
Company Subsidiary and the Term Debt Trustee.

        “First Lien Term Debt Security Documents” means the First Lien Term Debt Security
Agreement and any other agreement, mortgage, deed to secure debt, document or instrument
pursuant to which a Lien is granted securing any First Lien Term Debt Obligations or under
which rights or remedies with respect to such Liens are governed, as the same may be amended,
restated, renewed, extended, supplemented or otherwise modified from time to time, in
accordance with the provisions of this Agreement.

         “First Lien Term Loan Agreement” means, collectively, (a) the Initial First Lien Term
Loan Agreement and (b) any other credit agreement or credit agreements, one or more debt
facilities, indenture, note purchase agreements and/or commercial paper facilities, in each case,
with banks or other lenders, institutional investors or purchasers providing for revolving credit
loans, term loans, receivables financing (including through the sale of receivables to such lenders
or to special purpose entities formed to borrow from (or sell such receivables to) such lenders),
letters of credit, bankers’ acceptances, notes, bonds, securities or other borrowings, that have
been incurred to increase (including through additional and separate debt facilities), replace
(whether upon or after termination or otherwise), Refinance or refund in whole or in part from
time to time the Obligations outstanding under the Initial First Lien Term Loan Agreement or
any other agreement or instrument referred to in this clause, whether or not such increase,
replacement, Refinancing or refunding occurs (i) with the original parties thereto, (ii) on one or
more separate occasions or (iii) simultaneously or not with the termination or repayment of the
Initial First Lien Term Loan Agreement or any other agreement or instrument referred to in this
clause, unless such agreement or instrument expressly provides that it is not intended to be and is
not a First Lien Term Loan Agreement, or such agreement or instrument is not a Permitted
Refinancing Agreement. Any reference to the First Lien Term Loan Agreement hereunder shall
be deemed a reference to any First Lien Term Loan Agreement then in existence.

       “First Lien Term Loan Documents” means the First Lien Term Loan Agreement, the
“Credit Documents” (as defined in the First Lien Term Loan Agreement) and each of the other
agreements, documents and instruments executed pursuant thereto, and any other document or
instrument executed or delivered at any time in connection with any First Lien Term Loan
Obligations, including any intercreditor or joinder agreement among holders of First Lien Term

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Loan Obligations to the extent such are effective at the relevant time, as each may be amended,
restated, supplemented, modified, renewed, extended or Refinanced from time to time in
accordance with the provisions of this Agreement.

     “First Lien Term Loan Hedging Obligations” means Hedging Obligations (other than any
ABL Hedging Obligations) that are secured under the First Lien Term Debt Security Documents.

        “First Lien Term Loan Obligations” means all “Obligations” as defined in the First Lien
Term Loan Agreement and the other First Lien Term Loan Documents. “First Lien Term Loan
Obligations” shall include all interest, fees and expenses accrued or accruing (or which would,
absent commencement of an Insolvency or Liquidation Proceeding, accrue) after commencement
of an Insolvency or Liquidation Proceeding in accordance with the rate specified in the relevant
First Lien Term Loan Document, whether or not the claim for such interest, fees and expenses is
allowed as a claim in such Insolvency or Liquidation Proceeding in accordance with the
provisions of this Agreement.

      “First Lien Term Loans” means the “Loans” as defined in the First Lien Term Loan
Agreement.

        “Fixed Asset Collateral” means all right, title and interest of any Grantor in and to any
property whether now owned or hereafter created, acquired or arising and wherever located,
other than the ABL Collateral. The term “Fixed Asset Collateral” shall include the following
types of property:

       (a)     Real Estate and fixtures;

       (b)     Equipment;

       (c)     Term Debt Pledged Collateral;

       (d)     Intellectual Property;

       (e) Letter of Credit Rights arising out of, or related to, or derivative of any of the
property or interests in property described in subsections (a), (b), (c) and (d) of the definition of
“Fixed Asset Collateral”;

       (f) letters of credit transferred to any Term Debt Claimholders, or with respect to which
the Proceeds thereof have been assigned to any Term Debt Claimholder, or on which any Term
Debt Claimholder is named as beneficiary, in each case arising out of, related to, or derivative of
the property or interests in property described in subsections (a), (b), (c) and (d) of the definition
of “Fixed Asset Collateral”;

        (g) Supporting Obligations and Commercial Tort Claims, in each case, to the extent
arising out of, or related to, or derivative of, the property or interests described in subsections (a),
(b), (c) and (d) of the definition of “Fixed Asset Collateral”;


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        (h) contracts, contract rights and other General Intangibles, Documents, Chattel Paper,
and Instruments (including promissory notes), in each case, to the extent arising out of, or related
to, or derivative of the property or interests in property described in subsections (a), (b), (c) and
(d) of the definition of “Fixed Asset Collateral”;

        (i) books and Records relating to the items referred to in the preceding clauses (a)
through (h) (including all books, databases, data processing software, customer lists, engineer
drawings, and Records, whether tangible or electronic, to the extent containing any information
relating to any of the items referred to in the preceding clauses (a) through (h)); and

       (j) all collateral security and guarantees with respect to any of the foregoing and all
Proceeds, products, substitutions, replacements, accessions, cash, Money, insurance proceeds,
Instruments, Securities, Security Entitlements and Financial Assets received as Proceeds of any
of the foregoing, but excluding identifiable Proceeds of ABL Collateral in accordance with
Section 3.5.

Notwithstanding anything to the contrary herein, the term “Fixed Asset Collateral” shall exclude
assets described in the definition of “Excluded Property”. All capitalized terms used in this
definition and not defined elsewhere in this Agreement have the meanings assigned to them in
the UCC.

        “Fixed Asset Collateral Proceeds Account” means the deposit accounts and/or securities
accounts specifically designated by the Company and the administrative agent under the Term
Loan Agreement to receive Proceeds of Fixed Asset Collateral (and all cash, cash equivalents,
Money, checks, Instruments, funds, ACH transfers, wired funds and other funds and property, in
each case, held in or credited thereto), provided that notice of such designation has been
delivered to the ABL Agent.

       “Foreign Subsidiary” means a Subsidiary that is a “controlled foreign corporation” under
Section 957 of the Internal Revenue Code of 1986.

        “Governmental Authority” means any nation or government, any state or other political
subdivision thereof, any central bank (or similar monetary or regulatory authority) thereof, any
entity exercising executive, legislative, judicial, regulatory or administrative functions of or
pertaining to government, and any corporation or other entity owned or controlled, through stock
or capital ownership or otherwise, by any of the foregoing.

       “Grantors” means the Company, Holdings, each Company Subsidiary and each other
Person that has or may from time to time hereafter execute and deliver an ABL Security
Document or a Term Debt Security Document as a grantor of a security interest (or the
equivalent thereof).

        “Hedging Obligations” shall mean (a) with respect to any Person, the obligations under
hedge agreements of such Person of the type described in the definition of “Hedging Liability” in
the Initial ABL Credit Agreement as in effect on the date hereof and (b) obligations of the type
described in the definitions of “Hedge Agreement”, “Secured Commodities Hedge Obligations”

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and “Secured Designated Coal Contract Obligations” in the Initial First Lien Term Loan
Agreement as in effect on the date hereof.

        “Immaterial Subsidiary” means, as of any date, any Subsidiary (i) whose total assets, as
of that date, are less than $100,000 individually and, when combined with the total assets of all
Immaterial Subsidiaries, as of that date, are less than $2,500,000 and (ii) whose total revenues
for the most recent 12-month period do not exceed $100,000 individually and, when combined
with the total assets of all Immaterial Subsidiaries, as of that date, do not exceed $2,500,000;
provided that a Subsidiary will not be considered to be an Immaterial Subsidiary if it, directly or
indirectly, guarantees or otherwise provides direct credit support for any Indebtedness of the
Company.

       “Indebtedness” means and includes all Obligations that constitute “Debt,”
“Indebtedness,” or any similar term within the meaning of the ABL Credit Agreement, the Initial
Senior Secured Note Indenture, the Secondary Senior Secured Note Indenture, the Tertiary
Senior Secured Note Indenture, the First Lien Term Loan Agreement, the Additional First Lien
Term Debt Facility (if any) or the Additional Second Lien Term Debt Facility (if any), as
applicable.

        “Incremental Facilities Amount” means the “Incremental Facilities Amount” as defined
in the Initial First Lien Term Loan Agreement as in effect on the date hereof.

        “Initial ABL Credit Agreement” has the meaning assigned to that term in the Recitals.

        “Initial Access Date” has the meaning assigned to that term in Section 3.3(b).

       “Initial First Lien Term Loan Agreement” has the meaning assigned to that term in the
Recitals.

        “Initial Senior Secured Note Indenture” has the meaning assigned to that term in the
Recitals.

        “Initial Senior Secured Notes” has the meaning assigned to that term in the Recitals.

        “Insolvency or Liquidation Proceeding” means:

               (a) any voluntary or involuntary case or proceeding under the Bankruptcy Code
with respect to any Grantor;

              (b) any other voluntary or involuntary insolvency, reorganization or bankruptcy
case or proceeding, or any receivership, liquidation, reorganization or other similar case or
proceeding with respect to any Grantor or with respect to a material portion of their respective
assets;

              (c) any composition of liabilities or similar arrangement relating to any
Grantor, whether or not under a court’s jurisdiction or supervision;

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              (d)    any liquidation, dissolution, reorganization or winding up of any Grantor,
whether voluntary or involuntary, whether or not under a court’s jurisdiction or supervision, and
whether or not involving insolvency or bankruptcy; or

                (e) any general assignment for the benefit of creditors or any other marshaling
of assets and liabilities of any Grantor.

         “Intellectual Property” means, all of the following in any jurisdiction throughout the
world: (a) patents, patent applications and inventions, including all renewals, extensions,
combinations, divisions, or reissues thereof, (“Patents”); (b) trademarks, service marks, trade
names, trade dress, logos, internet domain names and other business identifiers, together with the
goodwill symbolized by any of the foregoing, and all applications, registrations, renewals and
extensions thereof, (“Trademarks”); (c) copyrights and all works of authorship including all
registrations, applications, renewals, extensions and reversions thereof, (“Copyrights”); (d) all
computer software, source code, executable code, data, databases and documentation thereof;
(e) all trade secret rights in information, including trade secret rights in any formula, pattern,
compilation, program, device, method, technique, or process, that (i) derives independent
economic value, actual or potential, from not being generally known to, and not being readily
ascertainable by proper means by, other Persons who can obtain economic value from its
disclosure or use, and (ii) is the subject of efforts that are reasonable under the circumstances to
maintain its secrecy; (f) all other intellectual property or proprietary rights in any discoveries,
concepts, ideas, research and development, know-how, formulae, patterns, inventions,
compilations, compositions, manufacturing and production processes and techniques, program,
device, method, technique, technical data, procedures, designs, recordings, graphs, drawings,
reports, analyses, specifications, databases, and other proprietary or confidential information,
including customer lists, supplier lists, pricing and cost information, business and marketing
plans and proposals and advertising and promotional materials; and (g) all rights to sue at law or
in equity for any infringement or other impairment or violation thereof and all products and
Proceeds of the foregoing.

        “Inventory” means all “inventory,” as such term is defined in the UCC and in any event
including all Coal (as such term is defined in the Initial ABL Credit Agreement, as in effect on
the date hereof).

     “Investment Property” has the meaning assigned to that term in the Term Debt Security
Documents.

        “Lien” means any mortgage, pledge, hypothec, hypothecation, assignment, deposit
arrangement, encumbrance, lien (statutory or other), charge or other security interest or any other
security agreement (including, without limitation, any conditional sale or other title retention
agreement and any interest of a lessor under a Capital Lease (as defined in the ABL Credit
Agreement) having substantially the same economic effect as any of the foregoing).

        “New Agent” has the meaning assigned to that term in Section 5.5.

        “New Debt Notice” has the meaning assigned to that term in Section 5.5.

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       “Non-Conforming Plan of Reorganization” means any Plan of Reorganization whose
provisions are inconsistent with the provisions of this Agreement, unless such Plan of
Reorganization has been accepted by the voluntary required vote of each class of the
ABL Claimholders and the Term Debt Claimholders.

        “Obligations” means all present and future loans, advances, liabilities, obligations,
covenants, duties, and debts from time to time owing by any Grantor to any agent or trustee
(including any Agent), the ABL Claimholders, the Term Debt Claimholders or any of them or
their respective Affiliates, arising from or in connection with the ABL Loan Documents or any
of the Term Debt Documents, whether for principal, interest or payments for early termination,
whether or not evidenced by any note, or other instrument or document, whether arising from an
extension of credit, opening of a letter of credit, acceptance, loan, guaranty, indemnification or
otherwise, whether direct or indirect, absolute or contingent, due or to become due, primary or
secondary, as principal or guarantor, and including all principal, interest, charges, expenses, fees,
attorneys’ fees, filing fees and any other sums chargeable to the Grantors, including, without
limitation, the “Obligations”, as defined in the ABL Credit Agreement, the First Lien Term Loan
Agreement, the Initial Senior Secured Note Indenture, the Secondary Senior Secured Note
Indenture, the Tertiary Senior Secured Note Indenture, the Additional First Lien Term Debt
Facility, if any or the Additional Second Lien Term Debt Facility, if any, and for the avoidance
of debt, including, without limitation, the ABL Obligations, the First Lien Term Debt
Obligations and the Second Lien Term Debt Obligations.

         “Permitted Refinancing” means any Refinancing the governing documentation of which
constitutes Permitted Refinancing Agreements.

        “Permitted Refinancing Agreements” means, with respect to either the ABL Credit
Agreement, the Initial Senior Secured Note Indenture, the Secondary Senior Secured Note
Indenture, the Tertiary Senior Secured Note Indenture, the First Lien Term Loan Agreement,
Additional First Lien Term Debt Facility or any Additional Second Lien Term Debt Facility, as
applicable, any credit agreement, loan agreement, note agreement, promissory note, indenture or
other agreement or instrument evidencing or governing the terms of any indebtedness or other
financial accommodation that has been incurred to increase, replace, Refinance or refund in
whole or in part the Obligations outstanding under the ABL Credit Agreement, the Initial Senior
Secured Note Indenture, the Secondary Senior Secured Note Indenture, the Tertiary Senior
Secured Note Indenture, the First Lien Term Loan Agreement, any Additional First Lien Term
Debt Facility or any Additional Second Lien Term Debt Facility, as applicable, but solely to the
extent such increase, replacement, Refinancing or refunding would not be prohibited by
Section 5.3(c), Section 5.3(d) or Section 5.3(e), as applicable, and whether or not such increase,
replacement, Refinancing or refunding occurs (i) with the original parties thereto or (ii) on one or
more separate occasions, unless such agreement or instrument expressly provides that it is not
intended to be and is not a Permitted Refinancing Agreement, in each case, as such financing
documentation may be amended, restated, supplemented or otherwise modified from time to time
in accordance with the provisions of this Agreement.

       “Person” means any natural Person, corporation, limited liability company, trust, joint
venture, association, company, partnership, Governmental Authority or other entity.

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       “Plan of Reorganization” means any plan of reorganization, plan of liquidation,
agreement for composition, or other type of plan of arrangement proposed in or in connection
with any Insolvency or Liquidation Proceeding.

        “Pledged Collateral” has the meaning set forth in Section 5.4(a).

        “Recovery” has the meaning set forth in Section 6.4.

        “Real Estate” means, at any time of determination, any real property then owned or
leased by the Company or any other Grantor.

       “Refinance” means, in respect of any Indebtedness, to refinance, extend, renew, defease,
amend, modify, supplement, restructure, replace, refund or repay, or to issue other indebtedness,
in exchange or replacement for, such Indebtedness, in any case in whole or in part.
“Refinanced” and “Refinancing” shall have correlative meanings.

      “Second Lien Term Debt Claimholders” means, at any relevant time, the Senior Secured
Noteholders at that time, the Additional Second Lien Term Debt Debtholders, if any, and the
Term Debt Trustee.

       “Second Lien Term Debt Documents” means the Senior Secured Documents, the
Additional Second Lien Term Debt Facility, if any, and the Second Lien Term Debt Security
Documents.

       “Second Lien Term Debt Obligations” means the Senior Secured Obligations and
“Obligations” as defined in the Additional Second Lien Term Debt Facility, if any.

        “Second Lien Term Debt Security Agreement” means the amended and restated parity
lien debt pledge and security agreement, dated as of the date hereof, among the Company, each
Company Subsidiary and the Term Debt Trustee.

       “Second Lien Term Debt Security Documents” means the Second Lien Term Debt
Security Agreement and any other agreement, mortgage, deed to secure debt, document or
instrument pursuant to which a Lien is granted securing any Second Lien Term Debt Obligations
or under which rights or remedies with respect to such Liens are governed, as the same may be
amended, restated, renewed, extended, supplemented or otherwise modified from time to time, in
accordance with the provisions of this Agreement.

       “Secondary Senior Secured Note Indenture” has the meaning assigned to that term in the
Recitals.

        “Secondary Senior Secured Notes” has the meaning assigned to that term in the Recitals.

       “Securities Accounts” has the meaning given such term in the UCC, except that such
term shall exclude the Fixed Asset Collateral Proceeds Account.


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        “Senior Secured Documents” means the Initial Senior Secured Note Indenture, the
Secondary Senior Secured Note Indenture, the Tertiary Senior Secured Note Indenture, the
Senior Secured Notes, the Collateral Trust Agreement and each of the other agreements,
documents and instruments executed pursuant thereto, and any other document or instrument
executed or delivered at any time in connection with any Senior Secured Obligations, including
any intercreditor or joinder agreement among holders of Senior Secured Obligations to the extent
such are effective at the relevant time, as each may be amended, restated, supplemented,
modified, renewed, extended or Refinanced from time to time in accordance with the provisions
of this Agreement.

       “Senior Secured Noteholders” means the “Holders” as defined in the Initial Senior
Secured Note Indenture, the Secondary Senior Secured Note Indenture and the Tertiary Senior
Secured Note Indenture.

        “Senior Secured Notes” means, collectively, (a) the Initial Senior Secured Notes and any
senior secured notes issued under the Initial Senior Secured Note Indenture in exchange for the
Initial Senior Secured Notes, (b) the Secondary Senior Secured Notes and any senior secured
notes issued under the Secondary Senior Secured Note Indenture in exchange for the Secondary
Senior Secured Notes, (c) the Tertiary Senior Secured Notes and any senior secured notes issued
under the Tertiary Senior Secured Note Indenture in exchange for the Tertiary Senior Secured
Notes, (d) additional senior secured notes with terms identical to the Initial Senior Secured Notes
issued pursuant to the Initial Senior Secured Note Indenture from time to time and any senior
secured notes issued under the Initial Senior Secured Note Indenture in exchange for such
additional senior secured notes, (e) additional senior secured notes with terms identical to the
Secondary Senior Secured Notes issued pursuant to the Secondary Senior Secured Note
Indenture from time to time and any senior secured notes issued under the Secondary Senior
Secured Note Indenture in exchange for such additional senior secured notes, (f) additional
senior secured notes with terms identical to the Tertiary Senior Secured Notes issued pursuant to
the Tertiary Senior Secured Note Indenture from time to time and any senior secured notes
issued under the Tertiary Senior Secured Note Indenture in exchange for such additional senior
secured notes and (g) any other credit agreement, loan agreement, note agreement, promissory
note, indenture or other agreement or instrument evidencing or governing the terms of any
indebtedness or other financial accommodation that has been incurred to increase, replace,
Refinance or refund in whole or in part the Obligations outstanding under clauses (a), (b), (c),(d),
(e) and (f) or any other agreement or instrument referred to in this clause, unless such agreement
or instrument expressly provides that it is not intended to be and is not an Initial Senior Secured
Note, a Secondary Senior Secured Note or a Tertiary Senior Secured Note, or such agreement or
instrument is not a Permitted Refinancing Agreement. Any reference to the Senior Secured
Notes hereunder shall be deemed a reference to any Senior Secured Notes then in existence.

       “Senior Secured Obligations” means all “Obligations” as defined in the Initial Senior
Secured Note Indenture, the Secondary Senior Secured Note Indenture, the Tertiary Senior
Secured Note Indenture, the Senior Secured Notes and the other Senior Secured Documents.
“Senior Secured Obligations” shall include all interest, fees and expenses accrued or accruing (or
which would, absent commencement of an Insolvency or Liquidation Proceeding, accrue) after
commencement of an Insolvency or Liquidation Proceeding in accordance with the rate specified

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in the relevant Senior Secured Document, whether or not the claim for such interest, fees and
expenses is allowed as a claim in such Insolvency or Liquidation Proceeding.

         “Subsidiary” means, with respect to any Person, any corporation, partnership, limited
liability company, association, joint venture or other business entity of which more than 50% of
the total voting power of shares of stock or other ownership interests entitled (without regard to
the occurrence of any contingency) to vote in the election of the Person or Persons (whether
directors, managers, trustees or other Persons performing similar functions) having the power to
direct or cause the direction of the management and policies thereof is at the time owned or
controlled, directly or indirectly, by that Person or one or more of the other Subsidiaries of that
Person or a combination thereof.

        “Supporting Collateral” means has the meaning set forth in Section 3.3(b).

       “Supporting IP” means all Intellectual Property rights of any Grantor for use in
connection with Accounts constituting ABL Collateral, including Intellectual Property rights
licensed to any Grantor by third parties.

        “Term Debt Trustee” has the meaning assigned to that term in the Preamble to this
Agreement, and shall include one or more other agents or similar contractual representatives for
one or more lenders, banks, purchasers, noteholders or investors that at any time succeeds to,
substitutes, replaces or Refinances any or all of the Obligations outstanding under the Term Debt
Documents at any time and from time to time.

      “Term Debt Claimholders” means, at any relevant time, the First Lien Term Debt
Claimholders and/or the Second Lien Term Debt Claimholders.

        “Term Debt Default” means an “Event of Default” as defined in the First Lien Term
Loan Agreement, the Initial Senior Secured Note Indenture, the Secondary Senior Secured Note
Indenture, the Tertiary Senior Secured Note Indenture, the Additional First Lien Term Debt
Facility, and/or the Additional Second Lien Term Debt Facility.

        “Term Debt DIP Financing” has the meaning assigned to that term in Section 6.1(b).

       “Term Debt Documents” means the First Lien Term Debt Documents and the Second
Lien Term Debt Documents.

        “Term Debt Obligations” means all First Lien Term Debt Obligations and/or the Second
Lien Term Debt Obligations. Notwithstanding anything to the contrary herein, the term “Term
Debt Obligations” shall exclude as of any date of determination that portion of the Obligations
then outstanding under the Term Debt Documents in excess of the following amount determined
as follows (such amount, the “Term Debt Obligations Cap”): (a) $2,000,000,000, plus (b) the
Incremental Facilities Amount, plus (c) $1,300,000,000, plus (d) the Additional Facilities
Amount, plus (e) solely as a component of a Term Debt DIP Financing with respect to any
Insolvency or Liquidation Proceeding, an additional amount equal to 10% of the loans and notes
under the Term Debt Documents outstanding immediately prior to the date of commencement of

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such Insolvency or Liquidation Proceeding, plus (f) interest, fees, costs, expenses, indemnities
and other amounts payable pursuant to the terms of the Term Debt Documents, whether or not
the same are added to the principal amount of the Term Debt Obligations and including the same
as would accrue and become due but for the commencement of an Insolvency or Liquidation
Proceeding, whether or not such amounts are allowed or allowable in whole or in part in any
such Insolvency or Liquidation Proceeding, plus (g) an amount sufficient to terminate and repay
in full in cash all First Lien Term Loan Hedging Obligations (including, without limitation, all
“Secured Designated Coal Contract Obligations” (as defined in the Initial First Lien Term Loan
Agreement as in effect on the date hereof)) under the Term Debt Documents.

       “Term Debt Pledged Collateral” means (i) Term Debt Pledged Stock, (ii) Term Debt
Pledged Notes and (iii) any other Investment Property.

       “Term Debt Pledged Notes” has the meaning assigned to the term “Pledged Debt” in the
applicable Term Debt Security Document.

        “Term Debt Pledged Stock” has the meaning assigned to the term “Pledged Equity
Interests” in the applicable Term Debt Security Document.

        “Term Debt Security Documents” means the First Lien Term Debt Security Documents
and/or the Second Lien Term Debt Security Documents.

        “Term Debt Standstill Period” has the meaning set forth in Section 3.1(a)(i).

       “Tertiary Senior Secured Note Indenture” has the meaning assigned to that term in the
Recitals.

        “Tertiary Senior Secured Notes” has the meaning assigned to that term in the Recitals.

         “UCC” means the Uniform Commercial Code (or any similar equivalent legislation) as
in effect from time to time in the State of New York; provided, however, that, at any time, if by
reason of mandatory provisions of law, any or all of the perfection or priority of the Agents’
security interest in any item or portion of the Collateral is governed by the Uniform Commercial
Code as in effect in a jurisdiction other that the State of New York, the term “UCC” shall mean
the Uniform Commercial Code as in effect, at such time, in such other jurisdiction for purposes
of the provisions hereof relating to such perfection or priority and for purposes of definitions
relating to such provisions.

      1.2. Terms Generally. The definitions of terms in this Agreement shall apply equally to
the singular and plural forms of the terms defined. Whenever the context may require, any
pronoun shall include the corresponding masculine, feminine and neuter forms. The words
“include,” “includes” and “including” shall be deemed to be followed by the phrase “without
limitation.” The word “will” shall be construed to have the same meaning and effect as the word
“shall.” Unless the context requires otherwise:



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       (a) any definition of or reference to any agreement, instrument or other document
herein shall be construed as referring to such agreement, instrument or other document as from
time to time amended, restated, supplemented, modified, renewed or extended;

      (b) any reference herein to any Person shall be construed to include such Person’s
permitted successors and assigns;

       (c) the words “herein,” “hereof” and “hereunder,” and words of similar import, shall be
construed to refer to this Agreement in its entirety and not to any particular provision hereof;

       (d) all references herein to Sections or Articles shall be construed to refer to Sections or
Articles of this Agreement;

      (e) terms defined in the UCC but not otherwise defined herein shall have the same
meanings herein as are assigned thereto in the UCC;

        (f) the words “asset” and “property” shall be construed to have the same meaning and
effect and to refer to any and all tangible and intangible assets and properties, including cash,
securities, accounts and contract rights;

      (g) any reference herein to a Person in a particular capacity or capacities excludes such
Person in any other capacity or individually;

       (h) any reference herein to any law shall be construed to refer to such law as amended,
modified, codified, replaced, or re-enacted, in whole or in part, and in effect on the pertinent
date; and

        (i) in the compilation of periods of time hereunder from a specified date to a later
specified date, the word “from” means “from and including” and the words “to” and “until” each
means “to, but not through or including.”

                                             II.
                                      LIEN PRIORITIES.

      2.1.     Relative Priorities.

       (a) Irrespective of (i) the date, time, method, manner or order of grant, attachment or
perfection of any Liens securing the Term Debt Obligations granted on the ABL Collateral or of
any Liens securing the ABL Obligations granted on the ABL Collateral (including, in each case,
irrespective of whether any such Lien is granted (or secures Obligations relating to the period)
before or after the commencement of any Insolvency or Liquidation Proceeding), or (ii) whether
the Term Debt Trustee or the ABL Agent, either directly or through agents, holds possession of,
or has control over, all or any part of the ABL Collateral, and notwithstanding any provision of
the UCC, Bankruptcy Law or any other applicable law, or the ABL Loan Documents or the Term
Debt Documents or any defect or deficiencies in, or failure to attach or perfect, the Liens on the
ABL Collateral securing the ABL Obligations or the Term Debt Obligations or any other
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circumstance whatsoever, the ABL Agent, on behalf of the ABL Claimholders and the Term
Debt Trustee, on behalf of the Term Debt Claimholders, hereby agree that as among the
Claimholders, any Lien of the ABL Agent on the ABL Collateral securing the ABL Obligations,
whether such Lien is now or hereafter held by or on behalf of the ABL Agent, any other
ABL Claimholder or any other agent or trustee therefor, regardless of how or when acquired,
whether by grant, possession, statute, operation of law, subrogation or otherwise, shall be senior
in all respects and prior to any Lien on the ABL Collateral securing any Term Debt Obligations
and any Lien of the Term Debt Trustee on the ABL Collateral securing any Term Debt
Obligations, whether such Lien is now or hereafter held by or on behalf of the Term Debt
Trustee, any other Term Debt Claimholder or any other agent or trustee therefor, regardless of
how or when acquired, whether by grant, possession, statute, operation of law, subrogation or
otherwise, shall be junior and subordinate in all respects to all Liens on the ABL Collateral
securing any ABL Obligations.

        (b) Notwithstanding any failure by the ABL Claimholders or the Term Debt
Claimholders to perfect their security interests in the ABL Collateral (to the extent any action is
required for purposes of perfection) or any avoidance, invalidation or subordination by any third
party or court of competent jurisdiction of the security interests in the ABL Collateral granted to
the ABL Claimholders or the Term Debt Claimholders, the priority and rights as between the
ABL Claimholders and the Term Debt Claimholders with respect to the ABL Collateral shall be
as set forth herein.

       (c) Irrespective of (i) the date, time, method, manner or order of grant, attachment or
perfection of any Liens securing the ABL Obligations granted on the Fixed Asset Collateral or of
any Liens securing the Term Debt Obligations granted on the Fixed Asset Collateral (including,
in each case, irrespective of whether any such Lien is granted (or secures Obligations relating to
the period) before or after the commencement of any Insolvency or Liquidation Proceeding), or
(ii) whether the Term Debt Trustee or the ABL Agent, either directly or through agents, holds
possession of, or has control over, all or any part of the Fixed Asset Collateral, and
notwithstanding any provision of the UCC, Bankruptcy Law or any other applicable law, or the
ABL Loan Documents or the Term Debt Documents or any defect or deficiencies in, or failure to
attach or perfect, the Liens on the Fixed Asset Collateral securing the ABL Obligations or the
Term Debt Obligations or any other circumstance whatsoever, the ABL Agent, on behalf of the
ABL Claimholders and the Term Debt Trustee, on behalf of the Term Debt Claimholders, hereby
agree that as among the Claimholders, any Lien of the Term Debt Trustee on the Fixed Asset
Collateral securing the Term Debt Obligations, whether such Lien is now or hereafter held by or
on behalf of the Term Debt Trustee, any other Term Debt Claimholder or any other agent or
trustee therefor, regardless of how or when acquired, whether by grant, possession, statute,
operation of law, subrogation or otherwise, shall be senior in all respects and prior to any Lien on
the Fixed Asset Collateral securing any ABL Obligations, and any Lien of the ABL Agent on the
Fixed Asset Collateral securing any ABL Obligations, whether such Lien is now or hereafter
held by or on behalf of the ABL Agent, any other ABL Claimholder or any other agent or trustee
therefor, regardless of how or when acquired, whether by grant, possession, statute, operation of
law, subrogation or otherwise, shall be junior and subordinate in all respects to all Liens on the
Fixed Asset Collateral securing any Term Debt Obligations.


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       (d) Notwithstanding any failure by the ABL Claimholders or the Term Debt
Claimholders to perfect their security interests in the Fixed Asset Collateral (to the extent any
action is required for purposes of perfection) or any avoidance, invalidation or subordination by
any third party or court of competent jurisdiction of the security interests in the Fixed
Asset Collateral granted to the ABL Claimholders or the Term Debt Claimholders, the priority
and rights as between the ABL Claimholders and the Term Debt Claimholders with respect to
the Fixed Asset Collateral shall be as set forth herein.

      2.2. Prohibition on Contesting Liens. Each of the Term Debt Trustee, on behalf of each
Term Debt Claimholder, and the ABL Agent, on behalf of each ABL Claimholder, consents to
the granting of Liens on the ABL Collateral and the Fixed Asset Collateral in favor of the other
to secure the ABL Obligations and the Term Debt Obligations, as applicable, and agrees that no
Claimholder will be entitled to, and it will not (and shall be deemed to have irrevocably,
absolutely, and unconditionally waived any right to), contest (directly or indirectly) or support
(directly or indirectly) any other Person in contesting, in any proceeding (including any
Insolvency or Liquidation Proceeding): (a) the attachment, perfection, priority, validity or
enforceability of any Lien on the Collateral held by or on behalf of any of the ABL Claimholders
to secure the payment of the ABL Obligations or any Lien on the Collateral held by or on behalf
of any of the Term Debt Claimholders to secure the payment of the Term Debt Obligations; or
(b) the validity or enforceability of the provisions of this Agreement; provided that nothing in
this Agreement shall be construed to prevent or impair the rights of the ABL Agent, on behalf of
the ABL Claimholders, or the Term Debt Trustee, on behalf of the Term Debt Claimholders, to
enforce this Agreement, including the provisions of this Agreement relating to the priority of the
Liens securing the Obligations as provided in Sections 2.1, 3.1 and 6.1.

       2.3. Similar Liens and Agreements. The parties hereto acknowledge and agree that it is
their intention that (i) the ABL Collateral securing the ABL Obligations and the ABL Collateral
securing the Term Debt Obligations be identical in all material respects and (ii) the Fixed Asset
Collateral securing the Term Debt Obligations and the Fixed Asset Collateral securing the ABL
Obligations be identical in all material respects. In furtherance of the foregoing, the parties
hereto agree:

        (a) subject to the other provisions of this Agreement, upon request by the ABL Agent
or Term Debt Trustee, to cooperate in good faith (and to direct their counsel to cooperate in good
faith) from time to time in order to determine the specific items included in the ABL Collateral
or the Fixed Asset Collateral and the steps taken to perfect their respective Liens thereon;

       (b) that the documents, agreements and instruments creating or evidencing the Liens of
such parties in the ABL Collateral and the Fixed Asset Collateral, as of the date hereof, are in all
material respects substantively similar, other than with respect to the relative priority of the Liens
created or evidenced thereunder; and

       (c) any Lien obtained by any Claimholder in respect of any judgment obtained in
respect of any Obligations on ABL Collateral and Fixed Asset Collateral shall be subject in all
respects to the terms of this Agreement.


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       2.4 Hedging Obligations . The parties hereto acknowledge and agree that any Hedging
Obligations may constitute either ABL Hedging Obligations or First Lien Term Loan Hedging
Obligations, but not both. The ABL Agent agrees to provide the Term Debt Trustee a copy of a
notice or designation whereby an obligation is designated as an ABL Hedging Obligation under
the ABL Credit Agreement reasonably promptly upon ABL Agent’s receipt thereof, and the
Term Debt Trustee agrees to provide the ABL Agent a copy of a notice or designation whereby
an obligation is designated as a First Lien Term Loan Hedging Obligation under the First Lien
Term Loan Agreement reasonably promptly upon Term Debt Trustee’s receipt thereof. If an
obligation is designated as both an ABL Hedging Obligation and a First Lien Term Loan
Hedging Obligation, such obligation shall constitute that Hedging Obligation which it was
designated first in time. The parties hereto acknowledge and agree that the obligations under the
Existing Designated Coal Contract (as defined in the First Lien Term Loan Agreement)
constitute First Lien Term Loan Hedging Obligations.

                                        III.
                        EXERCISE OF REMEDIES; ENFORCEMENT.

      3.1.     Restrictions on the Term Debt Trustee and the Term Debt Claimholders.

       (a) Until the Discharge of ABL Obligations has occurred, whether or not any
Insolvency or Liquidation Proceeding has been commenced by or against any Grantor, the Term
Debt Trustee and each Term Debt Claimholder:

                 (i) will not take or seek to take any Enforcement with respect to any ABL
        Collateral; provided, however, that the Term Debt Trustee may take or seek to take any
        Enforcement with respect to any ABL Collateral after a period of at least 180 days has
        elapsed since the later of: (1) the date on which the Term Debt Trustee declared the
        existence of a Term Debt Default, accelerated (to the extent such amount was not already
        due and owing) the payment of the principal amount of the applicable Term Debt
        Obligations, and demanded payment thereof and (2) the date on which the Term Debt
        Trustee delivers the Enforcement Notice to the ABL Agent relating to such Term Debt
        Default, which 180-day time period shall be tolled for any period during which the ABL
        Agent is stayed from taking Enforcement against the ABL Collateral during the pendency
        of any Insolvency or Liquidation Proceeding or pursuant to any court order so long as the
        ABL Agent has used its commercially reasonable efforts to have such stay lifted (such
        time period, the “Term Debt Standstill Period”); provided, further, however, that neither
        the Term Debt Trustee nor any other Term Debt Claimholder shall exercise any rights or
        remedies with respect to the ABL Collateral if, notwithstanding the expiration of such
        Term Debt Standstill Period, the ABL Agent or the other ABL Claimholders shall have
        commenced, whether before or after the expiration of the Term Debt Standstill Period,
        and be diligently pursuing in good faith Enforcement with respect to all or any material
        portion of such ABL Collateral (prompt written notice of such exercise to be given to the
        Term Debt Trustee);

                (ii) will not, directly or indirectly, contest, protest or object to or hinder any
        judicial or non-judicial foreclosure proceeding or action (including any partial or
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        complete strict foreclosure) brought by the ABL Agent or any other ABL Claimholder
        relating to the ABL Collateral or any other Enforcement by the ABL Agent or any other
        ABL Claimholder against the ABL Collateral so long as the Liens of the Term Debt
        Trustee in such ABL Collateral attach to the Proceeds thereof subject to the relative
        priorities set forth in Section 2.1, and such proceeding, action or other Enforcement are
        being pursued in good faith; provided, however, that the Term Debt Trustee may join in
        any such proceeding, action or other Enforcement to enforce its Lien on the applicable
        ABL Collateral in accordance with the relative priorities set forth in Section 2.1 and
        subject to the provisions of Section 3.3(a);

               (iii) subject to Section 3.1(a)(i) and Section 3.1(c)(vi), will not object to the
        forbearance by the ABL Agent or the ABL Claimholders from bringing or pursuing any
        Enforcement with respect to the ABL Collateral in accordance with the provisions of this
        Agreement;

                 (iv) will not object to the manner in which the ABL Agent or the other
        ABL Claimholders may seek to (A) enforce or collect (or attempt to collect) the
        ABL Obligations or (B) realize or seek to realize upon or otherwise enforce the Liens in
        and to the ABL Collateral securing the ABL Obligations, in each case, to the extent not in
        violation of this Agreement, regardless of whether any action or failure to act by or on
        behalf of the ABL Agent or the other ABL Claimholders is adverse to the interest of the
        Term Debt Trustee or the other Term Debt Claimholders. Without limiting the generality
        of the foregoing, and except as otherwise provided herein, the Term Debt Claimholders
        shall be deemed to have hereby irrevocably, absolutely, and unconditionally waived any
        right to object (and seek or be awarded any relief of any nature whatsoever based on any
        such objection), at any time prior to or subsequent to any disposition of any ABL
        Collateral, on the ground(s) that any such disposition of any ABL Collateral (x) would
        not be or was not “commercially reasonable” within the meaning of any applicable UCC
        and/or (y) would not or did not comply with any other requirement under any applicable
        UCC or under any other applicable law governing the manner in which a secured creditor
        is to realize on its collateral; and

                 (v)    subject to the provisions of this Agreement, acknowledge and agree that
        no covenant, agreement or restriction contained in the Term Debt Documents (other than
        this Agreement) shall be deemed to restrict in any way the rights and remedies of the
        ABL Agent or the other ABL Claimholders with respect to the ABL Collateral as set
        forth in this Agreement and the ABL Loan Documents;

provided, however, that in the case of (i) through (v) above, the Liens granted to secure the Term
Debt Obligations shall attach to any Proceeds resulting from actions taken by the ABL Agent or
any other ABL Claimholder with respect to the ABL Collateral in accordance with this
Agreement after application of such Proceeds to the extent necessary to meet the requirements of
a Discharge of ABL Obligations.

      (b) Until the Discharge of ABL Obligations, whether or not any Insolvency or
Liquidation Proceeding has been commenced by or against any Grantor, and subject to Section

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3.1(a)(i), the ABL Agent shall have the sole right to enforce rights, exercise remedies (including
set-off and the right to credit bid their debt) and, in connection therewith (including, subject to
the provisions of Section 5.1(a), voluntary Dispositions of ABL Collateral by the respective
Grantors after an ABL Default) make determinations regarding the release, disposition, or
restrictions with respect to the ABL Collateral without any consultation with or the consent of
the Term Debt Trustee or any other Term Debt Claimholder; provided, however, that the Liens
securing the Term Debt Obligations shall remain on the Proceeds (other than those properly
applied to the ABL Obligations in accordance with Section 4.1(a)) of such Collateral released or
disposed of subject to the relative priorities described in Section 2.1. In exercising all or any
rights, powers, and remedies with respect to the ABL Collateral, the ABL Agent may enforce the
provisions of the ABL Loan Documents and exercise rights, powers, and/or remedies thereunder
and/or under applicable law or otherwise, all in such order and in such manner as they may
determine in the exercise of their sole discretion. Such exercise and enforcement shall include
the rights of an agent appointed by them to sell or otherwise dispose of the ABL Collateral upon
foreclosure, to incur expenses in connection with such sale or disposition, and to exercise all the
rights and remedies of a secured creditor under the UCC and of a secured creditor under the
Bankruptcy Laws of any applicable jurisdiction.

      (c) Notwithstanding anything to the contrary contained herein, the Term Debt Trustee
on behalf of Term Debt Claimholders may:

                 (i) file a claim or statement of interest with respect to the Term Debt
        Obligations and the ABL Collateral securing the Term Debt Obligations; provided, that
        an Insolvency or Liquidation Proceeding has been commenced by or against any Grantor;

                (ii) take any action (not adverse to the priority status of the Liens on the ABL
        Collateral, or the rights of the ABL Agent or any of the other ABL Claimholders to take
        Enforcement in accordance with the provisions hereof, including those under Article VI)
        in order to create, perfect, preserve or protect (but not enforce) its Lien on any of the
        ABL Collateral;

                (iii) file any necessary responsive or defensive pleadings in opposition to any
        motion, claim, adversary proceeding or other pleading made by any Person objecting to
        or otherwise seeking the disallowance of the claims or Liens of the Term Debt
        Claimholders, including any claims secured by the ABL Collateral, if any, in each case in
        accordance with the terms of this Agreement, or otherwise make any agreements or file
        any motions or objections (not adverse to the priority status of the Liens on the ABL
        Collateral, or the rights of the ABL Agent or any of the other ABL Claimholders to take
        Enforcement in accordance with the provisions hereof, including those under Article VI)
        pertaining to the claims or Liens of any Term Debt Claimholders, in each case, in
        accordance with the terms of this Agreement;

                (iv) file any pleadings, objections, motions or agreements which assert rights
        or interests available to unsecured creditors of the Grantors, including, without limitation,
        arising in connection with any Insolvency or Liquidation Proceeding or applicable


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        non-bankruptcy law, in each case not inconsistent with the terms of this Agreement or
        applicable law (including the Bankruptcy Laws of any applicable jurisdiction);

                 (v)   vote on any Plan of Reorganization, file any proof of claim, make other
        filings and make any arguments and motions (including in support of or opposition to, as
        applicable, the confirmation or approval of any Plan of Reorganization) that are, in each
        case, in accordance with the terms of this Agreement;

               (vi) exercise any of the rights, powers and/or remedies with respect to any of
        the ABL Collateral after the termination of the Term Debt Standstill Period to the extent
        permitted by Section 3.1(a)(i); and

                (vii) take any action described in clauses (iii), (v), (vii), (viii) and (ix) of the
        definition of “Enforcement”.

The Term Debt Trustee agrees that no Term Debt Claimholder will take or receive any ABL
Collateral (including Proceeds) in connection with the exercise of any right or remedy (including
set-off) with respect to ABL Collateral in its capacity as a creditor in violation of this
Agreement. Without limiting the generality of the foregoing, unless and until the Discharge of
ABL Obligations has occurred, except as expressly provided in Sections 3.1(a)(i), Article VI and
clause (vi) of this Section 3.1(c), the sole right of the Term Debt Trustee and the Term Debt
Claimholders with respect to the ABL Collateral is to hold a Lien on such ABL Collateral
pursuant to the Term Debt Security Documents for the period and to the extent granted therein
and to receive a share of the Proceeds thereof, if any, in accordance with Section 4.1.

       (d) Except as otherwise specifically set forth in Sections 3.3 and 3.5 and Article VI, the
Term Debt Trustee and the Term Debt Claimholders may exercise rights and remedies as
unsecured creditors against any Grantor in accordance with the terms of the Term Debt
Documents and applicable law; provided, however, that in the event that the Term Debt Trustee
or any other Term Debt Claimholder becomes a judgment Lien creditor in respect of any ABL
Collateral as a result of its enforcement of its rights as an unsecured creditor with respect to any
Term Debt Obligations, such judgment Lien shall be subject to the terms of this Agreement for
all purposes (including in relation to the ABL Obligations) as the other Liens securing the Term
Debt Obligations are subject to this Agreement.

       (e) Nothing in this Agreement shall prohibit the receipt by the Term Debt Trustee or
any other Term Debt Claimholder of the required payments of interest, principal and other
amounts owed in respect of the Term Debt Obligations, so long as such receipt is not the direct
or indirect result of the exercise by the Term Debt Trustee or any other Term Debt Claimholder
of rights or remedies as a secured creditor (including set-off) with respect to ABL Collateral or
Enforcement in contravention of this Agreement of any Lien on ABL Collateral held by any of
them. For avoidance of doubt, neither payments made by any Grantor in respect of the Term
Debt Obligations with Proceeds of loans or advances under the ABL Loan Documents nor, so
long as the ABL Claimholders have not commenced Enforcement, payments of Term Debt
Obligations in the ordinary course of business made with Proceeds of the ABL Collateral, shall


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be required to be transferred or paid over to the ABL Agent for the benefit of the ABL
Claimholders.

      3.2.     Restrictions on the ABL Agent and the ABL Claimholders.

       (a) Until the Discharge of Term Debt Obligations has occurred, whether or not any
Insolvency or Liquidation Proceeding has been commenced by or against any Grantor, the ABL
Agent and each ABL Claimholder:

                 (i) will not take or seek to take any Enforcement with respect to any Fixed
        Asset Collateral; provided, however, that the ABL Agent may take or seek to take any
        Enforcement with respect to any Fixed Asset Collateral after a period of at least 180 days
        has elapsed since the later of: (1) the date on which the ABL Agent declared the existence
        of an ABL Default, accelerated (to the extent such amount was not already due and
        owing) the payment of the principal amount of the applicable ABL Obligations, and
        demanded payment thereof and (2) the date on which the ABL Agent delivers the
        Enforcement Notice to the Term Debt Trustee relating to such ABL Default, which 180-
        day time period shall be tolled for any period during which the Term Debt Trustee is
        stayed from taking Enforcement against the Fixed Asset Collateral during the pendency
        of any Insolvency or Liquidation Proceeding or pursuant to any court order so long as the
        Term Debt Trustee has used its commercially reasonable efforts to have such stay lifted
        (such time period, the “ABL Standstill Period”); provided, further, however, that neither
        the ABL Agent nor any other ABL Claimholder shall exercise any rights or remedies
        with respect to the Fixed Asset Collateral if, notwithstanding the expiration of such ABL
        Standstill Period, the Term Debt Trustee or the other Term Debt Claimholders shall have
        commenced, whether before or after the expiration of the ABL Standstill Period, and be
        diligently pursuing in good faith Enforcement with respect to all or any material portion
        of such Fixed Asset Collateral (prompt written notice of such exercise to be given to the
        ABL Agent);

                 (ii) will not, directly or indirectly, contest, protest or object to or hinder any
        judicial or non-judicial foreclosure proceeding or action (including any partial or
        complete strict foreclosure) brought by the Term Debt Trustee or any other
        Term Debt Claimholder relating to the Fixed Asset Collateral or any other Enforcement
        by the Term Debt Trustee or any other Term Debt Claimholder against the Fixed Asset
        Collateral so long as the Liens of the ABL Agent in such Fixed Asset Collateral attach to
        the Proceeds thereof subject to the relative priorities set forth in Section 2.1, and such
        proceeding, action or other Enforcement are being pursued in good faith; provided,
        however, that the ABL Agent may join in any such proceeding, action or other
        Enforcement to enforce its Lien on the applicable Fixed Asset in accordance with the
        relative priorities set forth in Section 2.1 and subject to the provisions of Section 3.3(a);

               (iii) subject to Section 3.2(a)(i) and Section 3.2(c)(vi), will not object to the
        forbearance by the Term Debt Trustee or the Term Debt Claimholders from bringing or
        pursuing any Enforcement with respect to the Fixed Asset Collateral in accordance with
        the provisions of this Agreement;

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                (iv) will not object to the manner in which the Term Debt Trustee or the other
        Term Debt Claimholders may seek to (A) enforce or collect (or attempt to collect) the
        Term Debt Obligations or (B) realize or seek to realize upon or otherwise enforce the
        Liens in and to the Fixed Asset Collateral securing the Term Debt Obligations, in each
        case, to the extent not in violation of this Agreement, regardless of whether any action or
        failure to act by or on behalf of the Term Debt Trustee or the other Term
        Debt Claimholders is adverse to the interest of the Term Debt Trustee or the other Term
        Debt Claimholders. Without limiting the generality of the foregoing, and except as
        otherwise provided herein, the ABL Claimholders shall be deemed to have hereby
        irrevocably, absolutely, and unconditionally waived any right to object (and seek or be
        awarded any relief of any nature whatsoever based on any such objection), at any time
        prior to or subsequent to any disposition of any Fixed Asset Collateral, on the ground(s)
        that any such disposition of any Fixed Asset Collateral (x) would not be or was not
        “commercially reasonable” within the meaning of any applicable UCC and/or (y) would
        not or did not comply with any other requirement under any applicable UCC or under any
        other applicable law governing the manner in which a secured creditor is to realize on its
        collateral; and

                (v)     subject to the provisions of this Agreement, acknowledge and agree that
        no covenant, agreement or restriction contained in the ABL Loan Documents (other than
        this Agreement) shall be deemed to restrict in any way the rights and remedies of the
        Term Debt Trustee or the other Term Debt Claimholders with respect to the Fixed Asset
        Collateral as set forth in this Agreement and the Term Debt Documents;

provided, however, that in the case of (i) through (v) above, the Liens granted to secure the ABL
Obligations shall attach to any Proceeds resulting from actions taken by the Term Debt Trustee
or any other Term Debt Claimholder with respect to the Fixed Asset Collateral in accordance
with this Agreement after application of such Proceeds to the extent necessary to meet the
requirements of a Discharge of Term Debt Obligations.

       (b) Until the Discharge of Term Debt Obligations, whether or not any Insolvency or
Liquidation Proceeding has been commenced by or against any Grantor and subject to
Section 3.2(a)(i), the Term Debt Trustee shall have the sole right to enforce rights, exercise
remedies (including set-off and the right to credit bid their debt) and, in connection therewith
(including, subject to the provisions of Section 5.1(c), voluntary Dispositions of Fixed Asset
Collateral by the respective Grantors after a Term Debt Default) make determinations regarding
the release, disposition, or restrictions with respect to the Fixed Asset Collateral without any
consultation with or the consent of the ABL Agent or any other ABL Claimholder; provided,
however, that the Liens securing the ABL Obligations shall remain on the Proceeds (other than
those properly applied to the Term Debt Obligations in accordance with Section 4.1(b)) of such
Collateral released or disposed of subject to the relative priorities described in Section 2.1. In
exercising all or any rights, powers, and remedies with respect to the Fixed Asset Collateral, the
Term Debt Trustee may enforce the provisions of the Term Debt Documents and exercise rights,
powers, and/or remedies thereunder and/or under applicable law or otherwise, all in such order
and in such manner as they may determine in the exercise of their sole discretion. Such exercise
and enforcement shall include the rights of an agent appointed by them to sell or otherwise

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dispose of the Fixed Asset Collateral upon foreclosure, to incur expenses in connection with such
sale or disposition, and to exercise all the rights and remedies of a secured creditor under the
UCC and of a secured creditor under the Bankruptcy Laws of any applicable jurisdiction.

       (c) Notwithstanding anything to the contrary contained herein, the ABL Agent on
behalf of ABL Claimholders may:

                (i) file a claim or statement of interest with respect to the ABL Obligations
        and the Fixed Asset Collateral securing the ABL Obligations; provided, that an
        Insolvency or Liquidation Proceeding has been commenced by or against any Grantor;

                (ii) take any action (not adverse to the priority status of the Liens on the Fixed
        Asset Collateral, or the rights of the Term Debt Trustee or any of the other Term Debt
        Trustee Claimholders to take Enforcement in accordance with the provisions hereof,
        including those under Article VI) in order to create, perfect, preserve or protect (but not
        enforce) its Lien on any of the Fixed Asset Collateral;

               (iii) file any necessary responsive or defensive pleadings in opposition to any
        motion, claim, adversary proceeding or other pleading made by any Person objecting to
        or otherwise seeking the disallowance of the claims or Liens of the ABL Claimholders,
        including any claims secured by the Fixed Asset Collateral, if any, in each case in
        accordance with the terms of this Agreement, or otherwise make any agreements or file
        any motions or objections (not adverse to the priority status of the Liens on the Fixed
        Asset Collateral, or the rights of the Term Debt Trustee or any of the other
        Term Debt Claimholders to take Enforcement in accordance with the provisions hereof,
        including those under Article VI) pertaining to the claims or Liens of any
        ABL Claimholders, in each case, in accordance with the terms of this Agreement;

                (iv) file any pleadings, objections, motions or agreements which assert rights
        or interests available to unsecured creditors of the Grantors, including, without limitation,
        arising in connection with any Insolvency or Liquidation Proceeding or applicable
        non-bankruptcy law, in each case not inconsistent with the terms of this Agreement or
        applicable law (including the Bankruptcy Laws of any applicable jurisdiction);

                 (v)   vote on any Plan of Reorganization, file any proof of claim, make other
        filings and make any arguments and motions (including in support of or opposition to, as
        applicable, the confirmation or approval of any Plan of Reorganization) that are, in each
        case, in accordance with the terms of this Agreement;

                (vi) exercise any of the rights, powers and/or remedies with respect to any of
        the Fixed Asset Collateral after the termination of the ABL Standstill Period to the extent
        permitted by Section 3.2(a)(i); and

               (vii) take any action described in clauses (i), (ii), (iii), (iv), (v), (vi), (viii), (ix)
        and (x) of the definition of “Enforcement”.


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The ABL Agent agrees that no ABL Claimholder will take or receive any Fixed Asset Collateral
(including Proceeds) in connection with the exercise of any right or remedy (including set-off)
with respect to Fixed Asset Collateral in its capacity as a creditor in violation of this Agreement.
Without limiting the generality of the foregoing, unless and until the Discharge of Term
Debt Obligations has occurred, except as expressly provided in Sections 3.2(a)(i), Article VI and
clause (vi) of this Section 3.2(c), the sole right of the ABL Agent and the ABL Claimholders
with respect to the Fixed Asset Collateral is to hold a Lien on such Fixed Asset Collateral
pursuant to the ABL Security Documents for the period and to the extent granted therein and to
receive a share of the Proceeds thereof, if any, in accordance with Section 4.1.

       (d) Except as otherwise specifically set forth in Sections 3.3 and 3.5 and Article VI, the
ABL Agent and the ABL Claimholders may exercise rights and remedies as unsecured creditors
against any Grantor in accordance with the terms of the ABL Loan Documents and applicable
law; provided, however, that in the event that the ABL Agent or any other ABL Claimholder
becomes a judgment Lien creditor in respect of any Fixed Asset Collateral as a result of its
enforcement of its rights as an unsecured creditor with respect to any ABL Obligations, such
judgment Lien shall be subject to the terms of this Agreement for all purposes (including in
relation to the Term Debt Obligations) as the other Liens securing the ABL Obligations are
subject to this Agreement.

       (e) Nothing in this Agreement shall prohibit the receipt by the ABL Agent or any other
ABL Claimholder of the required payments of interest, principal and other amounts owed in
respect of the ABL Obligations, so long as such receipt is not the direct or indirect result of the
exercise by the ABL Agent or any other ABL Claimholder of rights or remedies as a secured
creditor (including set-off) with respect to Fixed Asset Collateral or Enforcement in
contravention of this Agreement of any Lien on Fixed Asset Collateral held by any of them. For
avoidance of doubt, neither payments made by any Grantor in respect of the ABL Obligations
with Proceeds of loans or advances under the Term Debt Documents nor, so long as the Term
Debt Claimholders have not commenced Enforcement, payments of ABL Obligations in the
ordinary course of business made with Proceeds of the Fixed Asset Collateral, shall be required
to be transferred or paid over to the Term Debt Trustee for the benefit of the Term Debt
Claimholders.

      3.3.     Enforcement; Collateral Access Rights.

        (a) The ABL Agent and the Term Debt Trustee agree not to commence Enforcement
until an Enforcement Notice has been given to the other Agent. Subject to the provisions of
Section 3.1 and Section 3.2, either Agent may join in any judicial proceedings commenced by
the other Agent to enforce Liens on the ABL Collateral or the Fixed Asset Collateral, provided
that, in the case of the ABL Collateral, neither the Term Debt Trustee nor the Term Debt
Claimholders, as applicable, shall take any action that would reasonably be expected to interfere
in any material respect with the Enforcement actions of the ABL Agent or the other ABL
Claimholders with respect to ABL Collateral and that, in the case of the Fixed Asset Collateral,
neither the ABL Agent nor the ABL Claimholders, as applicable, shall take any action that
would reasonably be expected to interfere in any material respect with the Enforcement actions


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of the Term Debt Trustee or the other Term Debt Claimholders with respect to Fixed
Asset Collateral.

       (b) If the Term Debt Trustee (including through any agent or representative of the Term
Debt Trustee) or any third party pursuant to any Enforcement against the Fixed Asset Collateral
undertaken by the Term Debt Trustee obtains possession or control of any Fixed Asset
Collateral, the Term Debt Trustee shall promptly notify the ABL Agent in writing of that fact,
and the ABL Agent shall, within ten (10) Business Days thereafter, notify the Term Debt Trustee
in writing as to whether the ABL Agent desires to exercise its access and use rights under this
Agreement (an “Access Rights Notice”). Upon the timely delivery of an Access Rights Notice
or an Enforcement Notice by the ABL Agent to the Term Debt Trustee, the Term Debt Trustee
shall permit the ABL Agent, its employees, agents, advisers and representatives, at the sole and
joint and several expense of the ABL Claimholders, to access and use the Supporting IP and
Fixed Asset Collateral under such possession and control and consisting of real property and the
improvements, structures, buildings thereon and all related rights, processors, computers and
other data processing equipment related to the storage or processing of Accounts, equipment or
machinery related to the storage or processing of raw coal and other Inventory, and/or records,
documents or files pertaining to the ABL Collateral (including the Supporting IP, collectively,
the “Supporting Collateral”) without charge for a period ending on the earlier to occur of the date
that is 180 days after the date (the “Initial Access Date”) on which the ABL Agent, or its
designee, initially obtains the ability to access or actually uses such Supporting Collateral plus
such number of days, if any, after the Initial Access Date that the ABL Agent is stayed or
otherwise prohibited by applicable law or by court order from exercising its remedies with
respect to the ABL Collateral to the extent the ABL Agent has used commercially reasonable
efforts to lift such stay or prohibition (the “Access Period”), for purposes of using any of the
Supporting Collateral under such control and possession to take reasonable actions to protect,
secure, and otherwise enforce the rights of the ABL Claimholders in and to the ABL Collateral
(including, but not limited to, the examination and removal of ABL Collateral and the
examination and duplication of the books and records of any Grantor related to the ABL
Collateral or to otherwise handle, deliver, ship, transport, deal with or dispose of any ABL
Collateral, such right to include, without limiting the generality of the foregoing, the right to
conduct one or more public or private sales or auctions thereon and (ii) use any of the Supporting
Collateral to handle, process, deal with or dispose of any ABL Collateral pursuant to the rights of
ABL Agent and the other ABL Claimholders as set forth in the ABL Loan Documents, the UCC
of any applicable jurisdiction and other applicable law). Access rights may apply to different
Supporting Collateral at different times, in which case, a differing Access Period may apply to
each such property. The Term Debt Claimholders (to the full extent of their rights and interests)
hereby irrevocably grant to the ABL Agent a non-exclusive, royalty-free license with respect to
any Supporting Collateral consisting of Intellectual Property during the Access Period, solely for
purposes of disposing, collecting or otherwise realizing on any of the ABL Collateral pursuant to
the rights of the ABL Claimholders as set forth in the ABL Loan Documents, the UCC or the
equivalent laws of any applicable jurisdiction and other applicable law.

       (c) The ABL Agent shall reimburse the Term Debt Trustee for all reasonable,
documented, out-of-pocket costs and expenses (including for any damage to any Fixed Asset
Collateral) incurred by the Term Debt Trustee or any other Term Debt Claimholder in

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connection with or as a direct result of the actions of the ABL Agent (or any of its employees,
agents, advisers and representatives) in exercising its access and use rights as provided in Section
3.3(b) above (but not any diminution in value of the Supporting Collateral resulting from the
ABL Agent so dealing with any Supporting Collateral). Without limiting the reimbursement
obligations described in the immediately preceding sentence, the ABL Agent and the other ABL
Claimholders shall jointly and severally indemnify and hold harmless the Term Debt Trustee and
the other Term Debt Claimholders from and against any actual out-of-pocket liability, cost,
expense, loss or damages, including legal fees and expenses, suffered or incurred by any Term
Debt Claimholder, resulting from gross negligence or willful misconduct of the ABL Agent in its
operation of such facilities as determined by a final order of a court of competent jurisdiction.
None of the Term Debt Trustee and the other Term Debt Claimholders shall have any
responsibility or liability for the acts or omissions of ABL Agent or any of the other ABL
Claimholders, and none of the ABL Agent and the other ABL Claimholders shall have any
responsibility or liability for the acts or omissions of Term Debt Trustee or any other Term Debt
Claimholder, in each case arising in connection with such other Person’s use and/or occupancy
of any of the Supporting Collateral.

       (d) The Term Debt Trustee shall not foreclose or otherwise Dispose of any of the
Supporting Collateral during the Access Period unless the buyer agrees in writing (i) to acquire
the Supporting Collateral subject to the terms of this Section 3.3 and (ii) to comply with the
terms of this Section 3.3. The rights of the ABL Agent and the other ABL Claimholders under
this Section 3.3 during the Access Period shall continue notwithstanding such foreclosure or
other Disposition by the Term Debt Trustee. Without limiting the rights granted to the ABL
Agent and the other ABL Claimholders in this Section 3.3, during the period of actual use or
control by the ABL Agent or its agents or representatives of any Supporting Collateral, the ABL
Agent shall use commercially reasonable efforts to cooperate with the Term Debt Trustee in
connection with any sale by the Term Debt Claimholders of the Supporting Collateral, without
the involvement of or interference to any of the ABL Claimholders or liability to any of the ABL
Claimholders, except as provided in Section 3.3(c).

       (e) The ABL Agent and the other ABL Claimholders shall have the right to bring an
action to enforce their rights under this Section 3.3, including, without limitation, an action
seeking possession of the applicable Collateral, specific performance of this Section 3.3 and/or
recovery of indemnities, expense reimbursement and other amounts owing under Section 3.3,
and Term Debt Trustee shall have the right to bring an action to enforce its rights under this
Section 3.3, including an action seeking possession of the applicable Collateral, specific
performance of this Section 3.3 and/or recovery of indemnities, expense reimbursement and
other amounts owing under Section 3.3.

      3.4.     [intentionally omitted].

      3.5. Turn Over and Tracing of and Priorities in Proceeds. (a) The Term Debt Trustee
acknowledges and agrees that, to the extent the Term Debt Trustee or any other Term Debt
Claimholder receives funds constituting ABL Collateral or Proceeds thereof, and at the time of
the Term Debt Trustee’s or such Term Debt Claimholder’s receipt of same, the Term Debt
Trustee or such Term Debt Claimholder, as the case may be, had actual knowledge to that effect,

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the Term Debt Trustee or such Term Debt Claimholder, as the case may be, shall immediately
pay over such amount to the ABL Agent, in the same form as received, with any necessary
endorsements. The Term Debt Trustee agrees that prior to the issuance of an Enforcement
Notice, and unless the ABL Agent has actual knowledge to the contrary, (i) all funds deposited
under Account Agreements (other than the Account Agreement relating to the Fixed Asset
Collateral Proceeds Account) and then applied to the ABL Obligations shall be treated as ABL
Collateral, and (ii) any claim that payments made to the ABL Agent through the Collection
Account, Deposit Accounts or Securities Accounts that are subject to Account Agreements
(other than the Account Agreement relating to the Fixed Asset Collateral Proceeds Account) are
Proceeds of or otherwise constitute Fixed Asset Collateral are waived. The Term Debt Trustee
acknowledges and agrees that, until satisfaction in full of the ABL Accounts owing by any ABL
Account Debtor, all payments made by, or on behalf of, such ABL Account Debtor with respect
to Accounts shall be presumed by the ABL Agent and the Term Debt Trustee, in each case acting
in good faith, to be payments with respect to ABL Collateral, and the ABL Agent shall, upon
receipt thereof, apply such payments to the ABL Obligations until satisfaction in full of such
ABL Accounts, in each case, unless (x) the Accounts being paid are identified or otherwise
designated as Accounts constituting Fixed Asset Collateral or (y) other evidence exists that such
ABL Account Debtor intends for a payment to be applied to Accounts constituting Fixed Asset
Collateral (and, in each such case, such payment shall be remitted to the Term Debt Trustee for
application to the Term Debt Obligations). The parties hereto agree, that until satisfaction in full
of all ABL Accounts, no such party shall take any action that would cause any account debtor to
alter the order of payments of any invoices in connection with such account debtor’s Accounts in
a manner not reflective of such account debtor’s good faith intent. To the extent the ABL Agent
has delivered notice of the ABL Accounts to the Term Debt Trustee, the Term Debt Trustee shall
be deemed to have had actual knowledge of such ABL Collateral. To the extent the ABL Agent
or any other ABL Claimholder receives funds deposited under Account Agreements and
constituting Fixed Asset Collateral or Proceeds thereof, and at the time of the ABL Agent’s or
such ABL Claimholder’s receipt of same, the ABL Agent or ABL Claimholder, as the case may
be, had actual knowledge to that effect, then the ABL Agent or the applicable ABL Claimholder
shall immediately pay over such amount to the Term Debt Trustee, in the same form as received,
with any necessary endorsements.

       (b)    Each Agent and each Claimholder agrees that, prior to an issuance of an
Enforcement Notice, any Proceeds of Collateral, whether or not deposited under Account
Agreements, which are used by any Grantor to acquire other property which is Collateral shall
not (as among the Agents and the various Claimholders) be treated as Proceeds of Collateral for
purposes of determining the relative priorities in the Collateral which was so acquired. Each
Agent and each Claimholder agrees that after an issuance of an Enforcement Notice, each such
Person shall cooperate in good faith to identify the Proceeds of the ABL Collateral and the Fixed
Asset Collateral, as the case may be (it being agreed that after an issuance of an Enforcement
Notice, unless the ABL Agent has actual knowledge to the contrary, including the receipt of a
notice from the Term Debt Trustee delivered in accordance with Section 8.7 hereto certifying
that such funds constitute Proceeds of specified Fixed Asset Collateral (as among the Agents and
the various Claimholders), all funds deposited under Account Agreements (other than the
Account Agreement relating to the Fixed Asset Collateral Proceeds Account) and then applied to
the ABL Obligations shall be presumed to be ABL Collateral); provided, however, that no

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Claimholder shall be liable or in any way responsible for any claims or damages from conversion
of the ABL Collateral or Fixed Asset Collateral, as the case may be (it being understood and
agreed that (A) the only obligation of any ABL Claimholder is to pay over to the Term Debt
Trustee, in the same form as received, with any necessary endorsements, all Proceeds that such
ABL Claimholder received that have been identified as Proceeds of the Fixed Asset Collateral,
and (B) the only obligation of any Term Debt Claimholder is to pay over to the ABL Agent, in
the same form as received, with any necessary endorsements, all Proceeds that such Term Debt
Claimholder received that have been identified as Proceeds of the ABL Collateral). Each Agent
may request from the other Agent an accounting of the identification of the Proceeds of
Collateral (and the Agent upon which such request is made shall deliver such accounting
reasonably promptly after such request is made).

      3.6.     Inspections and Account Statements.

       (a)     [intentionally omitted.]

       (b) Upon the issuance of an Enforcement Notice and until the Discharge of ABL
Obligations, the Company shall deliver to the ABL Agent on a weekly basis account statements
with respect to the Fixed Asset Collateral Proceeds Account, naming each of the account debtors
that has made payments into the Fixed Asset Collateral Proceeds Account and the payment
amounts made by such account debtor from the date of the previously delivered account
statement through the date of such account statement. To the extent the Company fails to deliver
such account statements, the ABL Agent shall have the right to request delivery of such account
statements from the Term Debt Trustee and, to the extent such information is within its
possession or control, the Term Debt Trustee shall take reasonable steps to deliver the same.

                                             IV.
                                          PAYMENTS.

      4.1. Application of Proceeds. (a) So long as the Discharge of ABL Obligations has
not occurred, whether or not any Insolvency or Liquidation Proceeding has been commenced by
or against any Grantor, all ABL Collateral or Proceeds thereof received by the Term Debt
Trustee or any other Term Debt Claimholder in connection with any Enforcement by the Term
Debt Trustee or any other Term Debt Claimholder shall be delivered to the ABL Agent and shall
be applied or further distributed by the ABL Agent to or on account of the ABL Obligations in
such order, if any, as specified in the relevant ABL Loan Documents or as a court of competent
jurisdiction may otherwise direct. Upon the Discharge of ABL Obligations, the ABL Agent shall
deliver to the Term Debt Trustee, any ABL Collateral and Proceeds of ABL Collateral received
or delivered to it pursuant to the preceding sentence, in the same form as received, with any
necessary endorsements, to be applied by the Term Debt Trustee to the Term Debt Obligations in
such order as specified in the Term Debt Documents or as a court of competent jurisdiction may
otherwise direct.

      (b) So long as the Discharge of Term Debt Obligations has not occurred, whether or not
any Insolvency or Liquidation Proceeding has been commenced by or against any Grantor, all
Fixed Asset Collateral or Proceeds thereof received by the ABL Agent or any other ABL
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Claimholder in connection with any Enforcement by the ABL Agent or any other ABL
Claimholder shall be delivered to the Term Debt Trustee and shall be applied or further
distributed by Term Debt Trustee to or on account of the Term Debt Obligations in such order, if
any, as specified in the relevant Term Debt Documents (including the Collateral Trust
Agreement) or as a court of competent jurisdiction may otherwise direct. Upon the Discharge of
Term Debt Obligations, the Term Debt Trustee shall deliver to the ABL Agent, any Fixed Asset
Collateral and Proceeds of Fixed Asset Collateral received or delivered to it pursuant to the
preceding sentence, in the same form as received, with any necessary endorsements, to be
applied by the ABL Agent to the ABL Obligations in such order as specified in the ABL Loan
Documents or as a court of competent jurisdiction may otherwise direct.

       4.2. Payments Over in Violation of Agreement. So long as neither the Discharge of
ABL Obligations nor the Discharge of Term Debt Obligations has occurred, whether or not any
Insolvency or Liquidation Proceeding has been commenced by or against any Grantor, any
Collateral received by either Agent or any applicable Claimholder in connection with the
exercise of any right, power, or remedy (including set-off) relating to Collateral in contravention
of this Agreement shall be segregated and held in trust and forthwith paid over to the appropriate
Agent for the benefit of the applicable Claimholders in the same form as received, with any
necessary endorsements or as a court of competent jurisdiction may otherwise direct. Each
Agent is hereby authorized by the other Agent to make any such endorsements as agent for the
other Agent, any Term Debt Claimholders or any ABL Claimholders, as applicable. This
authorization is coupled with an interest and is irrevocable until the Discharge of
ABL Obligations and the Discharge of Term Debt Obligations, as applicable. Nothing herein or
in any of the ABL Loan Documents or the Term Debt Documents shall be deemed or construed
to affect the right of the Existing Designated Coal Contract Counterparty (as defined in the First
Lien Term Loan Agreement), following a default under the Existing Designated Coal Contract
(as defined in the First Lien Term Loan Agreement), to offset the obligations owing by The
American Coal Company to the Existing Designated Coal Contract Counterparty against the
receivables arising from the sale of coal or other obligations owing by the Existing Designated
Coal Contract Counterparty to The American Coal Company under the Existing Designated Coal
Contract, and any amounts so offset shall not be subject to claims by any parties hereto or by any
other Term Debt Claimholder or ABL Claimholder.

      4.3. Application of Payments. Subject to the other terms of this Agreement, all
payments received by (a) the ABL Agent or the other ABL Claimholders may be applied,
reversed and reapplied, in whole or in part, to the ABL Obligations to the extent provided for in
the ABL Loan Documents and (b) the Term Debt Trustee or the other Term Debt Claimholders
may be applied, reversed and reapplied, in whole or in part, to the Term Debt Obligations to the
extent provided for in the Term Debt Documents.

      4.4. Revolving Nature of Obligations under the ABL Credit Agreement. The Term Debt
Trustee acknowledges and agrees that the ABL Credit Agreement includes a revolving
commitment and that the amount of the ABL Obligations that may be outstanding thereunder at
any time or from time to time may be increased or reduced and subsequently reborrowed.



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                                          V.
                                  OTHER AGREEMENTS.

      5.1.     Releases.

       (a) If the ABL Agent, on behalf of the ABL Claimholders, releases any of its Liens on
any part of the ABL Collateral, in connection with (A) any Enforcement (including as provided
for in Section 3.1(b) or Section 6.8(a), but excluding any Disposition described in clause (C)
below) by the ABL Agent with respect to such ABL Collateral, (B) so long as such sale, transfer
or other disposition is permitted by the ABL Loan Documents and the Term Debt Documents,
any Disposition of such ABL Collateral (other than in connection with a Refinancing as
described in Section 5.5), irrespective of whether an ABL Default has occurred and is
continuing, or (C) the Disposition by any Grantor of such ABL Collateral with the consent of the
ABL Agent so long as, in the case of any Disposition of such ABL Collateral pursuant to this
clause (C), (i) an ABL Default has occurred and is continuing, (ii) the net cash Proceeds received
from such Disposition shall be applied to repay the ABL Obligations and the commitments under
the ABL Credit Agreement shall be permanently reduced by an amount equal to the amount of
such net cash Proceeds, (iii) such Disposition shall be conducted in a commercially reasonable
manner, and (iv) the Term Debt Trustee shall have received no less than five (5) Business Days’
prior written notice of such Disposition, then the Liens, if any, of the Term Debt Trustee on the
ABL Collateral sold or disposed of in connection therewith, shall be automatically,
unconditionally and simultaneously released; provided that, to the extent the Proceeds of such
ABL Collateral are not applied to reduce ABL Obligations, the Term Debt Trustee shall retain a
Lien on such Proceeds in accordance with the terms of this Agreement, and such Proceeds shall
be remitted to the Term Debt Trustee for application to the Term Debt Obligations. The Term
Debt Trustee shall promptly execute and deliver to the ABL Agent or the applicable Grantor
such termination statements, releases and other documents as the ABL Agent or such Grantor
may reasonably request to effectively confirm such release.

       (b) Until the Discharge of the ABL Obligations shall occur, the Term Debt Trustee, on
behalf of the Term Debt Claimholders, hereby irrevocably constitutes and appoints the ABL
Agent and any officer or agent of the ABL Agent, with full power and authority in the place and
stead of the Term Debt Trustee and the Term Debt Claimholders or in the ABL Agent’s own
name, from time to time in the ABL Agent’s discretion exercised in good faith, for the purpose
of carrying out the terms of Section 5.1(a), including any endorsements or other instruments of
transfer or release.

       (c) If the Term Debt Trustee, on behalf of the Term Debt Claimholders, releases any of
its Liens on any part of the Fixed Asset Collateral, in connection with (A) any Enforcement
(including as provided for in Section 3.2(b) or Section 6.8(b), but excluding any Disposition
described in clause (C) below) by the Term Debt Trustee with respect to such Fixed Asset
Collateral, (B) so long as such sale, transfer or other disposition is permitted by the Term Debt
Documents and the ABL Loan Documents, any Disposition of such Fixed Asset Collateral (other
than in connection with a Refinancing as described in Section 5.5), irrespective of whether a
Term Debt Default has occurred and is continuing, or (C) the Disposition by any Grantor of such
Fixed Asset Collateral with the consent of the Term Debt Trustee so long as, in the case of any

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Disposition of such Fixed Asset Collateral pursuant to this clause (C), (i) a Term Debt Default
has occurred and is continuing, (ii) the net cash Proceeds received from such Disposition shall be
applied to repay the Term Debt Obligations, (iii) such Disposition shall be conducted in a
commercially reasonable manner, and (iv) the ABL Agent shall have received no less than five
(5) Business Days’ prior written notice of such Disposition, then the Liens, if any, of the ABL
Agent on the Fixed Asset Collateral sold or disposed of in connection therewith, shall be
automatically, unconditionally and simultaneously released; provided that, to the extent the
Proceeds of such Fixed Asset Collateral are not applied to reduce Term Debt Obligations, the
ABL Agent shall retain a Lien on such Proceeds in accordance with the terms of this Agreement,
and such Proceeds shall be remitted to the ABL Agent for application to the ABL Obligations.
The ABL Agent shall promptly execute and deliver to the Term Debt Trustee or the applicable
Grantor such termination statements, releases and other documents as the Term Debt Trustee or
such Grantor may reasonably request to effectively confirm such release.

       (d) Until the Discharge of the Term Debt Obligations shall occur, the ABL Agent, on
behalf of the ABL Claimholders, hereby irrevocably constitutes and appoints the Term Debt
Trustee and any officer or agent of the Term Debt Trustee, with full power and authority in the
place and stead of the ABL Agent and the ABL Claimholders or in the Term Debt Trustee’s own
name, from time to time in the Term Debt Trustee’s discretion exercised in good faith, for the
purpose of carrying out the terms of Section 5.1(c), including any endorsements or other
instruments of transfer or release.

        (e) Until the Discharge of ABL Obligations and the Discharge of Term Debt
Obligations shall occur, to the extent that any Agent or the Claimholders (i) have released any
Lien on any Collateral and such Lien is later reinstated or (ii) obtain any new Liens on any
Collateral from any Grantor, then, in accordance with Section 2.3, the Grantors shall grant a Lien
on any such Collateral, subject to the Lien priority provisions of this Agreement, to the other
Agent, for the benefit of the ABL Claimholders or Term Debt Claimholders, as applicable, and
to the extent the Grantor does not grant such other Lien, the Agent (having the reinstated or new
Lien) shall be deemed to hold such Lien for the benefit of the other Agent and the
ABL Claimholders and the Term Debt Claimholders, as applicable.

      5.2.     Insurance.

        (a) Unless and until the Discharge of ABL Obligations has occurred, subject to the
terms of, and the rights of the Grantors under, the ABL Loan Documents, (i) the ABL Agent, on
behalf of the ABL Claimholders, shall have the sole and exclusive right to adjust settlement for
any insurance policy covering the ABL Collateral in the event of any loss thereunder and to
approve any award granted in any condemnation or similar proceeding (or any deed in lieu of
condemnation) affecting such ABL Collateral, (ii) all Proceeds of any such policy and any such
award (or any payments with respect to a deed in lieu of condemnation) if in respect of the ABL
Collateral and to the extent required by the ABL Loan Documents shall be paid to the
ABL Agent, for the benefit of the ABL Claimholders, pursuant to the terms of the ABL
Loan Documents (including, without limitation, for purposes of cash collateralization of letters
of credit) and thereafter, if the Discharge of ABL Obligations has occurred, and subject to the
rights of the Grantors under the Term Debt Documents, to the Term Debt Trustee, for the benefit

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of the Term Debt Claimholders, to the extent required under the Term Debt Documents and
thereafter, if the Discharge of Term Debt Obligations has occurred, to the owner of the subject
property, or such other Person as may be entitled thereto or as a court of competent jurisdiction
may otherwise direct, and (iii) if the Term Debt Trustee or any other Term Debt Claimholders
shall, at any time, receive any Proceeds of any such insurance policy or any such award or
payment with respect to ABL Collateral in contravention of this Agreement, it shall segregate
and hold in trust and forthwith pay such Proceeds over to the ABL Agent in accordance with the
terms of Section 4.2.

       (b) Unless and until the Discharge of Term Debt Obligations has occurred, subject to
the terms of, and the rights of the Grantors under, the Term Debt Documents, (i) the Term Debt
Trustee, on behalf of the Term Debt Claimholders, shall have the sole and exclusive right to
adjust settlement for any insurance policy covering the Fixed Asset Collateral in the event of any
loss thereunder and to approve any award granted in any condemnation or similar proceeding (or
any deed in lieu of condemnation) affecting such Fixed Asset Collateral, (ii) all Proceeds of any
such policy and any such award (or any payments with respect to a deed in lieu of
condemnation) if in respect of the Fixed Asset Collateral and to the extent required by the Term
Debt Documents shall be paid to the Term Debt Trustee, for the benefit of the Term
Debt Claimholders, pursuant to the terms of the Term Debt Documents and thereafter, if the
Discharge of Term Debt Obligations has occurred, and subject to the rights of the Grantors under
the ABL Loan Documents, to the ABL Agent, for the benefit of the ABL Claimholders, to the
extent required under the ABL Loan Documents and thereafter, if the Discharge of ABL
Obligations has occurred, to the owner of the subject property, or such other Person as may be
entitled thereto or as a court of competent jurisdiction may otherwise direct, and (iii) if the ABL
Agent or any other ABL Claimholders shall, at any time, receive any Proceeds of any such
insurance policy or any such award or payment with respect to Fixed Asset Collateral in
contravention of this Agreement, it shall segregate and hold in trust and forthwith pay such
Proceeds over to the Term Debt Trustee in accordance with the terms of Section 4.2.

       (c) To effectuate the foregoing, and to the extent that the pertinent insurance company
agrees to issue such endorsements, the Agents shall each receive separate lender’s loss payable
endorsements naming themselves as loss payee and additional insured, as their interests may
appear, with respect to any policies which insure Collateral hereunder.

      5.3.     Amendments to ABL Loan Documents and Term Debt Documents.

       (a)     [intentionally omitted].

       (b) Subject to Sections 5.3(c), 5.3(d), 5.3(e) and 5.3(f), each Agent shall use good faith
efforts to notify the other Agent of any written amendment or modification to the ABL Loan
Documents and the Term Debt Documents, as applicable, but the failure to do so shall not create
a cause of action against the party failing to give such notice or create any claim or right on
behalf of any third party.

       (c) Without the prior written consent of the Term Debt Trustee, the ABL Agent will not
be entitled to agree (and will not agree) to any amendment to or modification of the ABL Credit

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Agreement, whether in a Refinancing or otherwise, that is prohibited by the Term Debt
Documents, as in effect on the date hereof (or, if less restrictive to the ABL Claimholders, on the
date of such amendment or modification).

        (d) Without the prior written consent of the ABL Agent, the Term Debt Trustee and the
other Term Debt Claimholders will not be entitled to agree (and will not agree) to any
amendment to or modification of the Term Debt Documents, whether in a Refinancing or
otherwise, that is prohibited by the ABL Loan Documents, as in effect on the date hereof (or, if
less restrictive to the Term Debt Claimholders, on the date of such amendment or modification).

       (e)     So long as the Discharge of ABL Obligations has not occurred, the Term Debt
Trustee agrees that each Term Debt Document that grants a Lien on any Collateral shall include
the following language (or similar language acceptable to the ABL Agent): “Notwithstanding
anything herein to the contrary, the liens and security interests granted to U.S. BANK, NATIONAL
ASSOCIATION, as Collateral Trustee, pursuant to this Agreement and the exercise of any right or
remedy by U.S. BANK, NATIONAL ASSOCIATION, as Collateral Trustee hereunder, are subject to
the provisions of the Amended and Restated Intercreditor Agreement dated as of April 16, 2015
(as amended, restated, supplemented or otherwise modified from time to time, the “Intercreditor
Agreement”), among GOLDMAN SACHS BANK USA, as the ABL Agent, U.S. BANK, NATIONAL
ASSOCIATION, as the Term Debt Trustee, and the Grantors (as defined in the Intercreditor
Agreement) from time to time party thereto. In the event of any conflict between the terms of
the Intercreditor Agreement and the terms of this Agreement, the terms of the Intercreditor
Agreement shall govern and control.”

        (f) So long as the Discharge of Term Debt Obligations has not occurred, the ABL
Agent agrees that each ABL Loan Document that grants a Lien on any Collateral shall include
the following language (or similar language acceptable to the Term Debt Trustee):
“Notwithstanding anything herein to the contrary, the liens and security interests granted to
GOLDMAN SACHS BANK USA, as Administrative Agent, pursuant to this Agreement and the
exercise of any right or remedy by GOLDMAN SACHS BANK USA, as Administrative Agent
hereunder, are subject to the provisions of the Amended and Restated Intercreditor Agreement
dated as of April 16, 2015 (as amended, restated, supplemented or otherwise modified from time
to time, the “Intercreditor Agreement”), among GOLDMAN SACHS BANK USA, as the ABL Agent,
U.S. BANK, NATIONAL ASSOCIATION, as the Term Debt Trustee, and the Grantors (as defined in
the Intercreditor Agreement) from time to time party thereto. In the event of any conflict
between the terms of the Intercreditor Agreement and the terms of this Agreement, the terms of
the Intercreditor Agreement shall govern and control.”

      5.4.     Bailees for Perfection.

        (a) Each Agent agrees to hold that part of the ABL Collateral or Fixed Asset Collateral
that is in its possession or control (or in the possession or control of its agents or bailees) to the
extent that possession or control thereof is taken to perfect a Lien thereon (such Collateral, the
“Pledged Collateral”) as (i) in the case of the ABL Agent, the collateral agent for the
ABL Claimholders under the ABL Loan Documents, and in the case of the Term Debt Trustee,
the collateral agent for the Term Debt Claimholders under the Term Debt Documents and

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(ii) gratuitous bailee for the benefit of the other Agent and Claimholders represented by such
Agent (such bailment being intended, among other things, to satisfy the requirements of
Sections 8-301(a)(2) and 9-313(c) of the UCC) and any assignee solely for the purpose of
perfecting the security interest granted under the ABL Loan Documents and the Term Debt
Documents, respectively, subject to the terms and conditions of this Section 5.4.

       (b) No Agent shall have any obligation whatsoever to the other Agent or to any other
Claimholder to ensure that the Pledged Collateral is genuine or owned by any of the Grantors or
to preserve rights or benefits of any Person except as expressly set forth in this Section 5.4. The
duties or responsibilities of the respective Agents under this Section 5.4 shall be limited solely to
holding the Pledged Collateral as bailee in accordance with this Section 5.4 and delivering the
Pledged Collateral or Proceeds thereof upon a Discharge of ABL Obligations or upon a
Discharge of Term Debt Obligations, as applicable, as provided in paragraph (d) below.

       (c) No Agent acting pursuant to this Section 5.4 shall have by reason of the ABL Loan
Documents, the Term Debt Documents, this Agreement or any other document a fiduciary
relationship in respect of the other Agent or the other Claimholders represented by such Agent.

       (d) Upon the Discharge of ABL Obligations, the ABL Agent shall deliver the
remaining Pledged Collateral (if any) together with any necessary endorsements, first, to the
Term Debt Trustee, for the benefit of the Term Debt Claimholders, to the extent any Term Debt
Obligations remain outstanding and second, to the applicable Grantor to the extent the Discharge
of ABL Obligations and the Discharge of Term Debt Obligations have occurred (in each case, so
as to allow such Person to obtain possession or control of such Pledged Collateral) or as
otherwise required by applicable law. Upon the Discharge of Term Debt Obligations, the Term
Debt Trustee shall deliver the remaining Pledged Collateral (if any) together with any necessary
endorsements, first, to the ABL Agent, for the benefit of the ABL Claimholders, to the extent
any ABL Obligations remain outstanding and second, to the applicable Grantor to the extent the
Discharge of ABL Obligations and the Discharge of Term Debt Obligations have occurred (in
each case, so as to allow such Person to obtain possession or control of such Pledged Collateral)
or as otherwise required by applicable law. Each Agent further agrees to take all other action
reasonably requested by the other Agent in connection with such other Agent obtaining a
security interest in the Collateral (with the appropriate priority as indicated herein or as a court of
competent jurisdiction may otherwise direct). Notwithstanding anything to the contrary
contained in this Agreement, any obligation of an Agent, which has been discharged, to make
any delivery to the other Agent under this Section 5.4(d) or Section 5.5 is subject to (i) the order
of any court of competent jurisdiction, or (ii) any automatic stay imposed in connection with any
Insolvency or Liquidation Proceeding.

       (e) Subject to the terms of this Agreement, so long as the Discharge of
ABL Obligations has not occurred, the ABL Agent shall be entitled to deal with the ABL
Collateral within its “control” in accordance with the terms of this Agreement, the ABL Loan
Documents as if the Liens of the Term Debt Trustee, on behalf of the Term Debt Claimholders,
did not exist and so long as the Discharge of Term Debt Obligations has not occurred, the Term
Debt Trustee shall be entitled to deal with the Fixed Asset Collateral within its “control” in


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accordance with the terms of this Agreement, the Term Debt Documents as if the Liens of the
ABL Agent, on behalf of the ABL Claimholders, did not exist.

       5.5. Refinancings; When Discharge of ABL Obligations and Discharge of Term Debt
Obligations Deemed to Not Have Occurred. The ABL Obligations may be Refinanced without
notice to, or the consent of, the Term Debt Trustee or the Term Debt Claimholders and without
affecting the Lien subordination or other provisions of this Agreement and the Term Debt
Obligations may be Refinanced without notice to, or consent of, the ABL Agent and the
ABL Claimholders and without affecting the Lien subordination and other provisions of this
Agreement, in each case, so long as such Refinancing is on terms and conditions that would not
violate the Term Debt Documents or the ABL Loan Documents, each as in effect on the date
hereof (or, if less restrictive to the Company, as in effect on the date of such amendment or
Refinancing). If concurrently with the Discharge of ABL Obligations or the Discharge of Term
Debt Obligations, the Company shall enter into any Permitted Refinancing of any
ABL Obligation or any Term Debt Obligation, as applicable, then such Discharge of
ABL Obligations or Discharge of Term Debt Obligations with respect to such Refinanced ABL
Obligations or Refinanced Term Debt Obligations, as applicable, shall automatically be deemed
not to have occurred for all purposes of this Agreement (other than with respect to any actions
taken as a result of the occurrence of such Discharge of ABL Obligations or Discharge of Term
Debt Obligations in order to effectuate such discharge among (i) the Agent(s) and other
Claimholders under the facility to be discharged, (ii) the agents and other claimholders under the
new facility, and (iii) the Company and the Company Subsidiaries), and, in any event, whether or
not any such Permitted Refinancing is in whole or in part a Refinancing of the ABL Obligations
or Term Debt Obligations, from and after the date on which the New Debt Notice is delivered to
the appropriate Agent in accordance with the next sentence, the obligations under such Permitted
Refinancing shall automatically be treated as ABL Obligations or Term Debt Obligations, as
applicable, for all purposes of this Agreement, including for purposes of the Lien priorities and
rights in respect of ABL Collateral set forth herein, and, as applicable, the then existing ABL
Agent under this Agreement or the ABL Agent under such new ABL Loan Documents, as
applicable, shall be the ABL Agent for all purposes of this Agreement and the then existing
Term Debt Trustee under this Agreement or the Term Debt Trustee under such new Term Debt
Documents, as applicable, shall be the Term Debt Trustee for all purposes of this Agreement.
Upon receipt of a notice from the Company (the “New Debt Notice”) stating that the Company
has entered into new ABL Loan Documents or new Term Debt Documents, as applicable (which
notice shall include a complete copy of the relevant new documents and, as applicable, provide
the identity of the new Agent (such agent, the “New Agent”) or confirm that the then existing
ABL Agent hereunder shall be the ABL Agent for such new ABL Loan Documents or confirm
that the then existing Term Debt Trustee hereunder shall be the Term Debt Trustee for such new
Term Debt Documents) and an officer’s certificate certifying that such new indebtedness is
permitted by the terms of the existing ABL Loan Documents and Term Debt Documents that are
not being so Refinanced or that are so Refinanced in part, the other Agent, upon written request
of the New Agent or the then existing Agent, as applicable, shall promptly (a) enter into such
documents and agreements (including amendments or supplements to this Agreement) as the
Company or such New Agent or the then existing Agent, as applicable, shall reasonably request
in order to provide to the New Agent or the then existing Agent, as applicable, the rights
contemplated hereby, in each case consistent in all material respects with the terms of this

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Agreement and (b) if applicable, deliver to the New Agent any Pledged Collateral held by it
together with any necessary endorsements (or otherwise allow the New Agent to obtain control
of such Pledged Collateral). Concurrently with the delivery of the New Debt Notice, if
applicable, the New Agent shall agree in a writing addressed to the other Agent and the
applicable Claimholders, to be bound by the terms of this Agreement or by the terms of another
intercreditor agreement as may be acceptable to such other Agent, provided, however, that if
such Refinancing debt is secured by a Lien on any Collateral the holders of such Refinancing
debt shall be deemed bound by the terms of this Agreement regardless of whether or not such
writing is provided. For the avoidance of doubt, the sale or other transfer of Indebtedness is not
restricted by this Agreement but the provisions of this Agreement shall be binding on all holders
of ABL Obligations and Term Debt Obligations.

       5.6. Additional Term Debt. The Company and the other applicable Grantors will be
permitted to designate as an additional holder of Obligations hereunder each Person who is, or
who becomes or who is to become, the registered holder of Term Debt Obligations incurred by
the Company or such other Grantor after the date of this Agreement in accordance with the terms
of all applicable Term Debt Documents in existence at such time. The Company or the other
applicable Grantors may effect such designation by delivering to each Agent an Officers’
Certificate stating that the Company or such other Grantor intends to incur additional Term Debt
Obligations (“Additional Term Debt”) which will be additional Senior Secured Notes, additional
First Term Loans, an Additional First Lien Term Debt Facility or an Additional Second Lien
Term Debt Facility permitted by each applicable Term Debt Document in existence at such time,
to be incurred and secured by a Lien on the ABL Collateral in accordance with Section 2.1 and
equally and ratably with, or junior to, all previously existing and future Term Debt Obligations.

        Notwithstanding the foregoing, nothing in this Agreement will be construed to waive any
limitation on the incurrence of Indebtedness or the granting of Liens set forth in either the
ABL Credit Agreement or the Term Debt Documents or to allow the Company or any other
Grantor to incur additional Indebtedness or grant Liens on its assets to secure such Indebtedness
unless otherwise permitted by the terms of the ABL Credit Agreement, the Initial Senior Secured
Note Indenture, the Secondary Senior Secured Note Indenture, the Tertiary Senior Secured Note
Indenture or the First Lien Term Loan Agreement, each as in effect on the date hereof, and any
Additional First Lien Term Debt Facility or Additional Second Lien Term Debt Facility.

                                       VI.
                     INSOLVENCY OR LIQUIDATION PROCEEDINGS.

      6.1.     Finance and Use of Cash Collateral.

        (a) The Term Debt Trustee, on behalf of the Term Debt Claimholders, hereby agrees
that, until the Discharge of ABL Obligations has occurred, if any Grantor shall be subject to any
Insolvency or Liquidation Proceeding and the ABL Agent shall desire to permit the use of “Cash
Collateral” (as such term is defined in Section 363(a) of the Bankruptcy Code) constituting ABL
Collateral (“ABL Cash Collateral Use”) or to permit any Grantor to obtain financing, whether
from the ABL Claimholders or any other Person under Section 364 of the Bankruptcy Code or
any similar Bankruptcy Law (“ABL DIP Financing”) secured by a Lien on ABL Collateral (but
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not on any Lien on any Fixed Asset Collateral), then no Term Debt Claimholder will be entitled
to raise (and will not raise or support any Person in raising), but instead shall be deemed to have
hereby irrevocably and absolutely waived, any objection to, and shall not otherwise in any
manner be entitled to oppose or will oppose or support any Person in opposing, such ABL Cash
Collateral Use or ABL DIP Financing (including, except as expressly provided below, that the
Term Debt Claimholders are entitled to adequate protection of their interest in the ABL
Collateral as a condition thereto) so long as such ABL Cash Collateral Use or ABL DIP
Financing meets the following requirements: (i) the Term Debt Trustee and the other Term Debt
Claimholders retain a Lien on the ABL Collateral that existed as of the date of the
commencement of the applicable Insolvency or Liquidation Proceeding (including Proceeds
thereof arising after the commencement of such Insolvency or Liquidation Proceeding); (ii) to
the extent that the ABL Agent is granted the corresponding form of adequate protection, the
Term Debt Trustee and the other Term Debt Claimholders may request and accept adequate
protection as set forth in Section 6.3 below; (iii) the terms of such ABL DIP Financing or ABL
Cash Collateral Use do not require any Grantor to seek approval of any Plan of Reorganization
that provides a specified treatment of any claim in respect of any Term Debt Obligations or that
is otherwise inconsistent with this Agreement; (iv) that the proposed ABL Cash Collateral order
or ABL DIP Financing documentation does not directly or indirectly require or compel the sale
of all or substantially all of the ABL Collateral other than pursuant to the exercise of remedies
after default and acceleration of such ABL DIP Financing pursuant to such order or
documentation; (v) the aggregate amount of the ABL Obligations and the ABL DIP Financing
shall not at any time exceed the ABL Obligations Cap as of the applicable date of determination;
(vi) the Term Debt Trustee and the other Term Debt Claimholders retain the right to object to
any arrangements regarding any ABL Cash Collateral Use or the ABL DIP Financing that are
adverse to the interests of the Term Debt Trustee or any other Term Debt Claimholders (other
than the priority status of their Liens on the ABL Collateral vis-à-vis the Liens thereon of the
ABL Claimholders as set forth herein); (vii) such ABL Cash Collateral Use or such ABL DIP
Financing is on commercially reasonable terms; and (viii) the ABL DIP Financing or ABL Cash
Collateral Use is otherwise subject to, and in compliance with, the terms of this Agreement. The
Term Debt Trustee shall be required to subordinate and will subordinate its Liens in the ABL
Collateral to the Liens on the ABL Collateral securing such ABL DIP Financing (and all
obligations relating thereto, including any reasonable “carve-out” granting administrative priority
status to secure repayment of fees and expenses of professionals retained by any debtor or
creditors’ committee) and, consistent with the preceding provisions of this Section 6.1(a), will
not request adequate protection or any other relief in connection therewith (except as expressly
provided in Section 6.3). Notwithstanding any of the foregoing, the Term Debt Claimholders
shall retain Liens on all Fixed Asset Collateral that existed as of the date of the commencement
of the applicable Insolvency or Liquidation Proceedings (including Proceeds thereof arising after
the commencement of such Insolvency or Liquidation Proceeding) to secure the Term Debt
Obligations and such Liens securing Term Debt Obligations shall have the same priority on the
Fixed Asset Collateral as existed prior to the commencement of such proceeding, and this
Section 6.1(a) shall not apply to or permit any debtor-in-possession financing or any use of
“Cash Collateral” (as such term is defined in Section 363(a) of the Bankruptcy Code) that in
either case grants the ABL Agent or any other ABL Claimholder any Lien on Fixed Asset
Collateral that is senior to or pari passu with the Liens of the Term Debt Trustee on the Fixed
Asset Collateral, and the ABL Agent, on behalf of itself and the ABL Claimholders, agrees that

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no such Person shall provide to any Grantor any debtor-in-possession financing or permit any
use of “Cash Collateral” to the extent that the ABL Agent or any other ABL Claimholder would,
in connection with such financing or such use of “Cash Collateral”, be granted a Lien on the
Fixed Asset Collateral that is senior to or pari passu with the Liens of the Term Debt Trustee.

       (b) The ABL Agent, on behalf of the ABL Claimholders, hereby agrees that, until the
Discharge of Term Debt Obligations has occurred, if any Grantor shall be subject to any
Insolvency or Liquidation Proceeding and the Term Debt Trustee shall desire to permit the use of
“Cash Collateral” (as such term is defined in Section 363(a) of the Bankruptcy Code)
constituting Fixed Asset Collateral (“Term Debt Cash Collateral Use”) or to permit any Grantor
to obtain financing, whether from the Term Debt Claimholders or any other Person under
Section 364 of the Bankruptcy Code or any similar Bankruptcy Law (“Term Debt DIP
Financing”) secured by a Lien on Fixed Asset Collateral (but not on any Lien on any ABL
Collateral), then no ABL Claimholder will be entitled to raise (and will not raise or support any
Person in raising), but instead shall be deemed to have hereby irrevocably and absolutely waived,
any objection to, and shall not otherwise in any manner be entitled to oppose or will oppose or
support any Person in opposing, such Term Debt Cash Collateral Use or Term Debt DIP
Financing (including, except as expressly provided below, that the ABL Claimholders are
entitled to adequate protection of their interest in the Fixed Asset Collateral as a condition
thereto) so long as such Term Debt Cash Collateral Use or Term Debt DIP Financing meets the
following requirements: (i) the ABL Agent and the other ABL Claimholders retain a Lien on the
Fixed Asset Collateral that existed as of the date of the commencement of the applicable
Insolvency or Liquidation Proceeding (including Proceeds thereof arising after the
commencement of such Insolvency or Liquidation Proceeding); (ii) to the extent that the Term
Debt Trustee is granted the corresponding form of adequate protection, the ABL Agent and the
other ABL Claimholders may request and accept adequate protection as set forth in Section 6.3
below; (iii) the terms of such Term Debt DIP Financing or Term Debt Cash Collateral Use do
not require any Grantor to seek approval of any Plan of Reorganization that provides a specified
treatment of any claim in respect of any ABL Obligations or that is otherwise inconsistent with
this Agreement; (iv) that the proposed Term Debt Cash Collateral order or Term Debt DIP
Financing documentation does not directly or indirectly require or compel the sale of all or
substantially all of the Fixed Asset Collateral other than pursuant to the exercise of remedies
after default and acceleration of such Term Debt DIP Financing pursuant to such order or
documentation; (v) the aggregate amount of the Term Debt Obligations and the Term Debt DIP
Financing shall not at any time exceed the Term Debt Obligations Cap as of the applicable date
of determination; (vi) the ABL Agent and the other ABL Claimholders retain the right to object
to any arrangements regarding any Term Debt Cash Collateral Use or the Term DIP Financing
that are adverse to the interests of the ABL Trustee or any other ABL Claimholders (other than
the priority status of their Liens on the Fixed Asset Collateral vis-à-vis the Liens thereon of the
Term Debt Claimholders as set forth herein); (vii) such Term Debt Cash Collateral Use or such
Term Debt DIP Financing is on commercially reasonable terms; and (viii) the Term Debt DIP
Financing or Term Debt Cash Collateral Use is otherwise subject to, and in compliance with, the
terms of this Agreement. The ABL Agent shall be required to subordinate and will subordinate
its Liens in the Fixed Asset Collateral to the Liens on the Fixed Asset Collateral securing such
Term Debt DIP Financing (and all obligations relating thereto, including any reasonable
“carve-out” granting administrative priority status to secure repayment of fees and expenses of

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professionals retained by any debtor or creditors’ committee) and, consistent with the preceding
provisions of this Section 6.1(b), will not request adequate protection or any other relief in
connection therewith (except as expressly provided in Section 6.3). Notwithstanding any of the
foregoing, the ABL Claimholders shall retain Liens on all ABL Collateral that existed as of the
date of the commencement of the applicable Insolvency or Liquidation Proceedings (including
Proceeds thereof arising after the commencement of such Insolvency or Liquidation Proceeding)
to secure the ABL Obligations and such Liens securing ABL Obligations shall have the same
priority on the ABL Collateral as existed prior to the commencement of such proceeding, and
this Section 6.1(b) shall not apply to or permit any debtor-in-possession financing or any use of
“Cash Collateral” (as such term is defined in Section 363(a) of the Bankruptcy Code) that in
either case grants the Term Debt Trustee or any other Term Debt Claimholder any Lien on ABL
Collateral that is senior to or pari passu with the Liens of the ABL Agent on the ABL Collateral,
and the Term Debt Trustee, on behalf of itself and the Term Debt Claimholders, agrees that no
such Person shall provide to any Grantor any debtor-in-possession financing or permit any use of
“Cash Collateral” to the extent that the Term Debt Trustee or any other Term Debt Claimholder
would, in connection with such financing or such use of “Cash Collateral”, be granted a Lien on
the ABL Collateral that is senior to or pari passu with the Liens of the Term Debt Trustee.

      6.2.     Relief from the Automatic Stay.

       (a) Until the Discharge of ABL Obligations, the Term Debt Trustee agrees that it shall
not seek (or support any other Person seeking) relief from the automatic stay or any other stay in
any Insolvency or Liquidation Proceeding in respect of the ABL Collateral, without the prior
written consent of the ABL Agent (given or not given in its sole and absolute discretion);
provided, however, that in the event that any or all of the ABL Agent and the other ABL
Claimholders are seeking or have obtained relief from the automatic stay with respect to any
ABL Collateral, any or all of the Term Debt Trustee and the other Term Debt Claimholders may
seek corresponding relief from the automatic stay with respect to such ABL Collateral and, upon
obtaining such relief, may join in any foreclosure or other Enforcement action commenced by
any or all of the ABL Agent and the other ABL Claimholders against any ABL Collateral (even
if the Term Debt Standstill Period has not expired) so long as the Term Debt Trustee and the
other Term Debt Claimholders do not hinder, delay or interfere with either the efforts by the
ABL Agent and/or the other ABL Claimholders to obtain relief from the automatic stay with
respect to such ABL Collateral or take any action that is adverse to the priority status of the
Liens on the ABL Collateral, or the rights of the ABL Agent or any of the other
ABL Claimholders to take Enforcement action in accordance with the provisions of this
Agreement.

       (b) Until the Discharge of Term Debt Obligations, the ABL Agent agrees that it shall
not seek (or support any other Person seeking) relief from the automatic stay or any other stay in
any Insolvency or Liquidation Proceeding in respect of the Fixed Asset Collateral, without the
prior written consent of the Term Debt Trustee (based solely on an Act of Required Debtholders
(as such term is defined in the Collateral Trust Agreement), in writing); provided, however, that
in the event that any or all of the Term Debt Trustee and the other Term Debt Claimholders are
seeking or have obtained relief from the automatic stay with respect to any Fixed Asset
Collateral, any or all of the ABL Agent and the other ABL Claimholders may seek

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corresponding relief from the automatic stay with respect to such Fixed Asset Collateral and,
upon obtaining such relief, may join in any foreclosure or other Enforcement action commenced
by any or all of the Term Debt Trustee and the other Term Debt Claimholders against any Fixed
Asset Collateral (even if the ABL Standstill Period has not expired) so long as the ABL Agent
and the other ABL Claimholders do not hinder, delay or interfere with either the efforts by the
Term Debt Trustee and/or the other Term Debt Claimholders to obtain relief from the automatic
stay with respect to such Fixed Asset Collateral or take any action that is adverse to the priority
status of the Liens on the Fixed Asset Collateral, or the rights of the Term Debt Trustee or any of
the other Term Debt Claimholders to take Enforcement action in accordance with the provisions
of this Agreement.

      6.3.     Adequate Protection.

        (a) So long as the Discharge of ABL Obligations has not occurred, the Term Debt
Trustee, on behalf of itself, and the Term Debt Claimholders, agrees that none of them shall be
entitled to contest and none of them shall contest (or support any other Person contesting) (but
instead shall be deemed to have hereby irrevocably, absolutely, and unconditionally waived any
right to contest):

                 (i) any request by the ABL Agent or the other ABL Claimholders for relief
        from the automatic stay with respect to the ABL Collateral; or

               (ii) any request by the ABL Agent or the other ABL Claimholders for
        adequate protection with respect to the ABL Collateral; or

               (iii) any objection by the ABL Agent or the other ABL Claimholders to any
        motion, relief, action or proceeding based on the ABL Agent or the other
        ABL Claimholders claiming a lack of adequate protection with respect to the ABL
        Collateral.

       (b) So long as the Discharge of Term Debt Obligations has not occurred, the ABL
Agent, on behalf of itself, and the ABL Claimholders, agrees that none of them shall be entitled
to contest and none of them shall contest (or support any other Person contesting) (but instead
shall be deemed to have hereby irrevocably, absolutely, and unconditionally waived any right to
contest):

                 (i) any request by the Term Debt Trustee or the other Term
        Debt Claimholders for relief from the automatic stay with respect to the Fixed Asset
        Collateral; or

               (ii) any request by the Term Debt Trustee or the other Term
        Debt Claimholders for adequate protection with respect to the Fixed Asset Collateral; or

               (iii) any objection by the Term Debt Trustee or the other Term
        Debt Claimholders to any motion, relief, action or proceeding based on the Term Debt


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        Trustee or the other Term Debt Claimholders claiming a lack of adequate protection with
        respect to the Fixed Asset Collateral.

       (c) The Term Debt Trustee and the other Term Debt Claimholders may seek any form
of adequate protection, and the ABL Agent and the other ABL Claimholders may contest the
seeking or granting of any such adequate protection, except that neither the ABL Agent nor the
other ABL Claimholders shall contest (or support any other Person in contesting) any request by
the Term Debt Trustee or any other Term Debt Claimholders:

             (i)      if any or all of the ABL Claimholders are granted adequate protection in
the form of additional collateral in connection with any ABL Cash Collateral Use or ABL DIP
Financing and such additional collateral is the type of asset or property that would constitute
ABL Collateral, to obtain adequate protection in form of additional or replacement Liens on the
ABL Collateral (including Proceeds thereof arising after the commencement of any Insolvency
or Liquidation Proceeding) to secure the Term Debt Obligations, in connection with any such
ABL Cash Collateral Use or any such ABL DIP Financing so long as any such additional or
replacement Liens are subordinated to such senior adequate protection Lien securing the ABL
Obligations on the same basis as the other Liens securing the Term Debt Obligations are
subordinated to the Liens securing the ABL Obligations under this Agreement;

             (ii) to obtain adequate protection in the form of reports, notices, inspection rights
and similar forms of adequate protection; and

            (iii) to obtain adequate protection in the form of an administrative expense claim
and/or a superpriority administrative expense claim against any or all of the Grantors so long as
the ABL Claimholders are also granted as adequate protection an administrative expense claim
and/or a superpriority administrative expense claim; provided that the administrative expense
claims and/or a superpriority administrative expense claims granted to the Term Debt
Claimholders and the ABL Claimholders shall be pari passu.

       (d) The ABL Agent and the other ABL Claimholders may seek any form of adequate
protection, and the Term Debt Trustee and the other Term Debt Claimholders may contest the
seeking or granting of any such adequate protection, except that neither the Term Debt Trustee
nor the other Term Debt Claimholders shall contest (or support any other Person in contesting)
any request by the ABL Agent or any other ABL Claimholders:

             (i)      if any or all of the Term Debt Claimholders are granted adequate
protection in the form of additional collateral in connection with any Term Debt Cash Collateral
Use or Term Debt DIP Financing and such additional collateral is the type of asset or property
that would constitute Fixed Asset Collateral, to obtain adequate protection in form of additional
or replacement Liens on the Fixed Asset Collateral (including Proceeds thereof arising after the
commencement of any Insolvency or Liquidation Proceeding) to secure the ABL Obligations, in
connection with any such Term Debt Cash Collateral Use or any such Term Debt DIP Financing
so long as any such additional or replacement Liens are subordinated to such senior adequate
protection Lien securing the Term Debt Obligations on the same basis as the other Liens


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securing the ABL Obligations are subordinated to the Liens securing the Term Debt Obligations
under this Agreement;

             (ii) to obtain adequate protection in the form of reports, notices, inspection rights
and similar forms of adequate protection; and

            (iii) to obtain adequate protection in the form of an administrative expense claim
and/or a superpriority administrative expense claim against any or all of the Grantors so long as
the Term Debt Claimholders are also granted as adequate protection an administrative expense
claim and/or a superpriority administrative expense claim; provided that the administrative
expense claims and/or a superpriority administrative expense claims granted to the ABL
Claimholders and the Term Debt Claimholders shall be pari passu.

       6.4. Avoidance Issues. If any Claimholder is required in any Insolvency or Liquidation
Proceeding or otherwise to turn over or otherwise pay to the estate of the applicable Grantor any
amount paid in respect of ABL Obligations or Term Debt Obligations, as applicable (a
“Recovery”), then such Claimholders shall be entitled to a reinstatement of ABL Obligations or
Term Debt Obligations, as applicable, with respect to all such recovered amounts. If this
Agreement shall have been terminated prior to such Recovery, this Agreement shall be reinstated
in full force and effect, and such prior termination shall not diminish, release, discharge, impair
or otherwise affect the obligations of the parties hereto from such date of reinstatement.

      6.5. Reorganization Securities. Subject to the ability of the ABL Agent and the Term
Debt Trustee, as applicable, to support or oppose confirmation or approval of any Conforming
Plan of Reorganization or to oppose confirmation or approval of any Non-Conforming Plan of
Reorganization, as provided herein, if, in any Insolvency or Liquidation Proceeding, debt
obligations of the reorganized debtor secured by Liens upon any property of the reorganized
debtor are distributed pursuant to a Plan of Reorganization on account of the ABL Obligations
and/or the Term Debt Obligations, then, to the extent the debt obligations distributed on account
of the ABL Obligations and/or the Term Debt Obligations are secured by Liens upon the
Collateral, the provisions of this Agreement will survive the distribution of such debt obligations
pursuant to such plan and will apply with like effect to the debt obligations so distributed, to the
Liens securing such debt obligations and the distribution of Proceeds thereof.

      6.6.     Post-Petition Interest.

       (a) Neither the Term Debt Trustee nor any other Term Debt Claimholder shall oppose
or seek to challenge any claim by the ABL Agent or any other ABL Claimholder for allowance
in any Insolvency or Liquidation Proceeding of ABL Obligations consisting of post-petition
interest, fees or expenses to the extent of the value of the Lien securing any ABL Claimholder’s
claim; provided, that nothing contained in this Section 6.6(a) prohibits the Term Debt Trustee, on
behalf of the Term Debt Claimholders, from seeking adequate protection (to the extent it has not
already done so under other provisions of this Agreement) with respect to their rights in the
Fixed Asset Collateral in any Insolvency or Liquidation Proceeding if such Fixed Asset
Collateral is the source of payment of post-petition interest, fees or expenses payable to the ABL
Agent or any other ABL Agent Claimholder.

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       (b) Neither the ABL Agent nor any other ABL Claimholder shall oppose or seek to
challenge any claim by the Term Debt Trustee or any other Term Debt Claimholder for
allowance in any Insolvency or Liquidation Proceeding of Term Debt Obligations consisting of
post-petition interest, fees or expenses to the extent of the value of the Lien securing any Term
Debt Claimholder’s claim; provided, that nothing contained in this Section 6.6(b) prohibits the
ABL Agent, on behalf of the ABL Claimholders, from seeking adequate protection (to the extent
it has not already done so under other provisions of this Agreement) with respect to their rights
in the ABL Collateral in any Insolvency or Liquidation Proceeding if such ABL Collateral is the
source of payment of post-petition interest, fees or expenses payable to the Term Debt Trustee or
any other Term Debt Claimholder.

      6.7. Separate Grants of Security and Separate Classification. The Term Debt Trustee on
behalf of the Term Debt Claimholders and the ABL Agent, on behalf of the ABL Claimholders,
acknowledge and intend that the grants of Liens pursuant to the ABL Security Documents and
the Term Debt Security Documents constitute separate and distinct grants of Liens, and because
of, among other things, their differing rights in the Collateral, and the Term Debt Obligations are
fundamentally different from the ABL Obligations and must be separately classified in any Plan
of Reorganization proposed or confirmed (or approved) in an Insolvency or Liquidation
Proceeding. To further effectuate the intent of the parties as provided in the immediately
preceding sentence, if it is held that the claims of the ABL Claimholder and the Term Debt
Claimholders in respect of the Collateral constitute claims in the same class (rather than separate
classes of senior, junior and subordinated secured claims), then the ABL Claimholders and the
Term Debt Claimholders hereby acknowledge and agree that all distributions shall be made as if
there were separate classes of ABL Obligations and Term Debt Obligations against the Grantors,
with the effect being that,

        (i) to the extent that the aggregate value of the ABL Collateral is sufficient, the ABL
Claimholders shall be entitled to receive, in addition to amounts distributed to them in respect of
principal, pre-petition interest and other claims, all amounts owing in respect of post-petition
interest, fees or expenses that is available from the ABL Collateral before any distribution is
made in respect of the claims held by the Term Debt Claimholders, with such Term Debt
Claimholders hereby acknowledging and agreeing to turn over to the ABL Claimholders
amounts otherwise received or receivable by them under such Plan of Reorganization to the
extent necessary to effectuate the intent of this sentence, even if such turnover has the effect of
reducing the aggregate recoveries; and

       (ii) to the extent that the aggregate value of the Fixed Asset Collateral is sufficient, the
Term Debt Claimholders shall be entitled to receive, in addition to amounts distributed to them
in respect of principal, pre-petition interest and other claims, all amounts owing in respect of
post-petition interest, fees or expenses that is available from the Fixed Asset Collateral before
any distribution is made in respect of the claims held by the ABL Claimholders, with such ABL
Claimholders hereby acknowledging and agreeing to turn over to the Term Debt Claimholders
amounts otherwise received or receivable by them under such Plan of Reorganization to the
extent necessary to effectuate the intent of this sentence, even if such turnover has the effect of
reducing the aggregate recoveries.


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       6.8. Asset Dispositions in an Insolvency or Liquidation Proceeding. (a) Without
limiting the ABL Agent’s and the other ABL Claimholders’ rights under Section 3.1(b), neither
the Term Debt Trustee nor other Term Debt Claimholder shall, in any Insolvency or Liquidation
Proceeding or otherwise, oppose any sale or disposition of any ABL Collateral that is supported
by the ABL Claimholders, and the Term Debt Trustee and each other Term Debt Claimholder
will be deemed to have irrevocably, absolutely, and unconditionally consented under Section 363
of the Bankruptcy Code (and otherwise) to any sale of any ABL Collateral supported by the
ABL Claimholders and to have released their Liens on such assets at the closing thereof;
provided, that the payments and Proceeds of such sale are applied in accordance with this
Agreement and to the extent the Proceeds of such ABL Collateral are not applied to reduce
ABL Obligations, the Term Debt Trustee shall retain a Lien on such Proceeds in accordance with
the terms of this Agreement.

       (b) Without limiting the Term Debt Trustee’s and the other Term Debt Claimholders’
rights under Section 3.2(b), neither the ABL Agent nor other ABL Claimholder shall, in any
Insolvency or Liquidation Proceeding or otherwise, oppose any sale or disposition of any Fixed
Asset Collateral that is supported by the Term Debt Claimholders, and the ABL Agent and each
other ABL Claimholder will be deemed to have irrevocably, absolutely, and unconditionally
consented under Section 363 of the Bankruptcy Code (and otherwise) to any sale of any ABL
Collateral supported by the ABL Claimholders and to have released their Liens on such assets at
the closing thereof; provided, that the payments and Proceeds of such sale are applied in
accordance with this Agreement and to the extent the Proceeds of such Fixed Asset Collateral are
not applied to reduce Term Debt Obligations, the ABL Agent shall retain a Lien on such
Proceeds in accordance with the terms of this Agreement.

                                         VII.
                               RELIANCE; WAIVERS; ETC.

      7.1. Reliance. Other than any reliance on the terms of this Agreement, the ABL Agent,
on behalf of the ABL Claimholders, acknowledges that it and the other ABL Claimholders have,
independently and without reliance on the Term Debt Trustee or any Term Debt Claimholder,
and based on documents and information deemed by them appropriate, made their own credit
analysis and decision to enter into the ABL Loan Documents and be bound by the terms of this
Agreement, and they will continue to make their own credit decision in taking or not taking any
action under the ABL Loan Documents or this Agreement. The Term Debt Trustee, on behalf of
the Term Debt Claimholders, acknowledges that the other Term Debt Claimholders have,
independently and without reliance on the ABL Agent or any other ABL Claimholder and based
on documents and information deemed by them appropriate, made their own credit analysis and
decision to enter into each of the Term Debt Documents and be bound by the terms of this
Agreement, and the other Term Debt Claimholders will continue to make their own credit
decision in taking or not taking any action under the Term Debt Documents or this Agreement.

     7.2. No Warranties or Liability. The ABL Agent, on behalf of the ABL Claimholders,
acknowledges and agrees that each of the Term Debt Trustee and the Term Debt Claimholders
have made no express or implied representation or warranty, including with respect to the
execution, validity, legality, completeness, collectability or enforceability of any of the Term
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Debt Documents, the ownership of any Collateral or the perfection or priority of any Liens
thereon. Except as otherwise provided herein, the Term Debt Trustee and the other Term Debt
Claimholders will be entitled to manage and supervise their respective loans and extensions of
credit under the Term Debt Documents, in accordance with law and as they may otherwise, in
their sole discretion, deem appropriate. The Term Debt Trustee, on behalf the Term Debt
Claimholders, acknowledges and agrees that each of the ABL Agent and the other
ABL Claimholders have made no express or implied representation or warranty, including with
respect to the execution, validity, legality, completeness, collectability or enforceability of any of
the ABL Loan Documents, the ownership of any Collateral or the perfection or priority of any
Liens thereon.      Except as otherwise provided herein, the ABL Agent and the other
ABL Claimholders will be entitled to manage and supervise their respective loans and extensions
of credit or provision of services, as applicable under the relevant ABL Loan Documents in
accordance with law and as they may otherwise, in their sole discretion, deem appropriate.
Except as otherwise provided in this Agreement, the Term Debt Trustee and the other Term Debt
Claimholders shall have no duty to the ABL Agent or any other ABL Claimholder, and the
ABL Agent and the other ABL Claimholders shall have no duty to the Term Debt Trustee or any
other Term Debt Claimholder.

      7.3.     No Waiver of Lien Priorities.

        (a) No right of the Agents, or the other Claimholders to enforce any provision of this
Agreement, any ABL Loan Document or any Term Debt Document shall at any time in any way
be prejudiced or impaired by any act or failure to act on the part of any Grantor or by any act or
failure to act by such Agents, or Claimholders or by any noncompliance by any Person with the
terms, provisions and covenants of this Agreement, any ABL Loan Document or any Term Debt
Document, regardless of any knowledge thereof which the Agents or the Claimholders, or any of
them, may have or be otherwise charged with.

       (b) Without in any way limiting the generality of the foregoing paragraph (but subject
to the rights of the Grantors under the ABL Loan Documents, the Term Debt Documents and
subject to the provisions of Section 5.3), the Agents and the other Claimholders may, at any time
and from time to time in accordance with the ABL Loan Documents and the Term Debt
Documents and/or applicable law, without the consent of, or notice to, the other Agent, or
Claimholders (as applicable), without incurring any liabilities to such Persons and without
impairing or releasing the Lien priorities and other benefits provided in this Agreement (even if
any right of subrogation or other right or remedy is affected, impaired or extinguished thereby)
do any one or more of the following, so long as such action is not inconsistent with the terms of
this Agreement:

                  (i) change the manner, place or terms of payment or change or extend the
        time of payment of, or amend, renew, exchange, increase or alter, the terms of any of the
        Obligations or any Lien or guaranty thereof or any liability of any Grantor, or any
        liability incurred directly or indirectly in respect thereof (including any increase in or
        extension of the Obligations, without any restriction as to the tenor or terms of any such
        increase or extension) or otherwise amend, renew, exchange, extend, modify or


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        supplement in any manner any Liens held by the Agents or any rights or remedies under
        any of the ABL Loan Documents or the Term Debt Documents, as applicable;

                (ii) sell, exchange, release, surrender, realize upon, enforce or otherwise deal
        with in any manner and in any order any part of the Collateral or any liability of any
        Grantor or any liability incurred directly or indirectly in respect thereof;

               (iii) settle or compromise any Obligation or any other liability of any Grantor
        or any security therefor or any liability incurred directly or indirectly in respect thereof
        and apply any sums by whomsoever paid and however realized to any liability in any
        manner or order; and

                (iv) exercise or delay in or refrain from exercising any right or remedy against
        any security or any Grantor or any other Person, elect any remedy and otherwise deal
        freely with any Grantor.

      7.4. Obligations Unconditional. All rights, interests, agreements and obligations of the
ABL Claimholders and the Term Debt Claimholders, respectively, hereunder shall remain in full
force and effect irrespective of:

      (a) any lack of validity or enforceability of any ABL Loan Documents or any Term
Debt Documents;

       (b) except, in each case, as otherwise expressly set forth in this Agreement, any change
in the time, manner or place of payment of, or in any other terms of, all or any of the
ABL Obligations or Term Debt Obligations, or any amendment or waiver or other modification,
including any increase in the amount thereof, whether by course of conduct or otherwise, of the
terms of any ABL Loan Document or any Term Debt Document;

       (c) except as otherwise expressly set forth in this Agreement, any exchange, release,
voiding, avoidance or non-perfection of any security interest in any Collateral or any other
collateral, or any amendment, waiver or other modification, whether in writing or by course of
conduct or otherwise, of all or any of the ABL Obligations or Term Debt Obligations or any
guaranty thereof;

      (d) the commencement of any Insolvency or Liquidation Proceeding in respect of any
Grantor; or

      (e) any other circumstances which otherwise might constitute a defense available to, or
a discharge of, any Grantor in respect of the ABL Agent, the ABL Obligations, any
ABL Claimholder, the Term Debt Trustee, the Term Debt Obligations or any Term Debt
Claimholder in respect of this Agreement.




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                                           VIII.
                                      MISCELLANEOUS.

      8.1. Conflicts. In the event of any conflict between the provisions of this Agreement
and the provisions of any ABL Loan Document or any Term Debt Document, the provisions of
this Agreement shall govern and control.

       8.2. Effectiveness; Continuing Nature of this Agreement; Severability. This Agreement
shall become effective when executed and delivered by the parties hereto. This is a continuing
agreement of Lien subordination (as opposed to an agreement of debt or claim subordination),
and the ABL Claimholders and Term Debt Claimholders may continue, at any time and without
notice to the other Agent, to extend credit and other financial accommodations and lend monies
to or for the benefit of any Grantor in reliance hereon. Each of the Agents, on behalf the
ABL Claimholders and the Term Debt Claimholders, as applicable, hereby irrevocably,
absolutely, and unconditionally waives any right any Claimholder may have under applicable
law to revoke this Agreement or any of the provisions of this Agreement. The terms of this
Agreement shall survive, and shall continue in full force and effect, in any Insolvency or
Liquidation Proceeding. Consistent with, but not in limitation of, the preceding sentence, each of
the Agents, on behalf of the ABL Claimholders and the Term Debt Claimholders, as applicable,
irrevocably acknowledges that this Agreement constitutes a “subordination agreement” within
the meaning of both New York law and Section 510(a) of the Bankruptcy Code. Any provision
of this Agreement that is prohibited or unenforceable in any jurisdiction shall not invalidate the
remaining provisions hereof, and any such prohibition or unenforceability in any jurisdiction
shall not invalidate or render unenforceable such provision in any other jurisdiction. All
references to any Grantor shall include such Grantor as debtor and debtor-in-possession and any
receiver or trustee for any Grantor (as applicable) in any Insolvency or Liquidation Proceeding.
Subject to Section 5.5, this Agreement shall terminate and be of no further force and effect:

     (a) with respect to the ABL Agent, the other ABL Claimholders and the
ABL Obligations, the date of the Discharge of ABL Obligations, subject to the rights of the
ABL Claimholders under Section 6.4; and

       (b) with respect to the Term Debt Trustee, the other Term Debt Claimholders and the
Term Debt Obligations date of the Discharge of Term Debt Obligations, subject to the rights of
the Term Debt Claimholders under Section 6.4.

       8.3. Amendments; Waivers. No amendment, modification or waiver of any of the
provisions of this Agreement by any Agent shall be deemed to be made unless the same shall be
in writing signed on behalf of each party hereto or its authorized agent and each waiver, if any,
shall be a waiver only with respect to the specific instance involved and shall in no way impair
the rights of the parties making such waiver or the obligations of the other parties to such party in
any other respect or at any other time. Notwithstanding the foregoing, no Grantor shall have any
right to consent to or approve any amendment, modification or waiver of any provision of this
Agreement except to the extent its rights are directly and materially affected.



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       8.4. Information Concerning Financial Condition of the Grantors and their Subsidiaries.
Neither the ABL Agent, the other ABL Claimholders, the Term Debt Trustee nor the other Term
Debt Claimholders shall be responsible for keeping any of the other parties informed of (a) the
financial condition of the Company and the Company Subsidiaries and all endorsers and/or
guarantors and other Grantors of the ABL Obligations and the Term Debt Obligations and (b) all
other circumstances bearing upon the risk of nonpayment of the ABL Obligations or the Term
Debt Obligations. Neither the ABL Claimholders nor the Term Debt Claimholders shall have
any duty to advise the others of information known to it or them regarding such condition or any
such circumstances or otherwise. In the event that either the ABL Agent, any of the other
ABL Claimholders, the Term Debt Trustee or any of the other Term Debt Claimholders
undertakes at any time or from time to time to provide any such information to any of the others,
it or they shall be under no obligation, (i) to make, and shall not make, any express or implied
representation or warranty, including with respect to the accuracy, completeness, truthfulness or
validity of any such information so provided, (ii) to provide any additional information or to
provide any such information on any subsequent occasion, (iii) to undertake any investigation, or
(iv) to disclose any information, which pursuant to accepted or reasonable commercial finance
practices, such party wishes to maintain confidential or is otherwise required to maintain
confidential.

      8.5.     Subrogation.

        (a) With respect to the value of any payments or distributions in cash, property or other
assets that any of the Term Debt Claimholders actually pays over to the ABL Agent or the other
ABL Claimholders under the terms of this Agreement, the Term Debt Claimholders shall be
subrogated to the rights of the ABL Claimholders; provided, however, that the Term Debt
Trustee on behalf of the Term Debt Claimholders, hereby agrees not to assert or enforce any
such rights of subrogation it may acquire as a result of any payment hereunder until the
Discharge of ABL Obligations has occurred. The Grantors acknowledge and agree that, to the
extent permitted by applicable law, the value of any payments or distributions in cash, property
or other assets received by the Term Debt Claimholders that are paid over to the
ABL Claimholders pursuant to this Agreement shall not reduce any of the Term Debt
Obligations. Notwithstanding the foregoing provisions of this Section 8.5(a), none of the Term
Debt Claimholders shall have any claim against any of the ABL Claimholders for any
impairment of any subrogation rights herein granted to the Term Debt Claimholders.

        (b) With respect to the value of any payments or distributions in cash, property or other
assets that any of the ABL Claimholders actually pays over to the Term Debt Trustee or the other
Term Debt Claimholders under the terms of this Agreement, the ABL Claimholders shall be
subrogated to the rights of the Term Debt Claimholders; provided, however, that the ABL Agent
on behalf of the ABL Claimholders, hereby agrees not to assert or enforce any such rights of
subrogation it may acquire as a result of any payment hereunder until the Discharge of Term
Debt Obligations has occurred. The Grantors acknowledge and agree that, to the extent
permitted by applicable law, the value of any payments or distributions in cash, property or other
assets received by the ABL Claimholders that are paid over to the Term Debt Claimholders
pursuant to this Agreement shall not reduce any of the ABL Obligations. Notwithstanding the
foregoing provisions of this Section 8.5(b), none of the ABL Claimholders shall have any claim

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against any of the Term Debt Claimholders for any impairment of any subrogation rights herein
granted to the ABL Claimholders.

    8.6. APPLICABLE          LAW,     SUBMISSION       TO    JURISDICTION;       WAIVERS;
JUDICIAL REFERENCE.

     (a) THIS AGREEMENT SHALL BE GOVERNED BY, AND SHALL BE
CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE STATE
OF NEW YORK WITHOUT REGARD TO CONFLICT OF LAW PROVISIONS (OTHER
THAN SECTION 5-1401 AND 5-1402 OF THE NEW YORK GENERAL OBLIGATIONS
LAW.

     (b) ALL JUDICIAL PROCEEDINGS BROUGHT AGAINST ANY PERSON
ARISING OUT OF OR RELATING HERETO MAY BE BROUGHT IN ANY STATE OR
FEDERAL COURT OF COMPETENT JURISDICTION IN THE STATE, COUNTY AND
CITY OF NEW YORK. EACH PARTY, FOR ITSELF AND ON BEHALF OF THE
APPLICABLE CLAIMHOLDERS, IRREVOCABLY:

                     (1)    AGREES THAT THE ONLY NECESSARY PARTIES TO ANY
               AND ALL JUDICIAL PROCEEDINGS ARISING OUT OF OR RELATING TO
               THIS AGREEMENT SHALL BE THE PARTIES HERETO, EXCEPT WHERE
               IN ANY SUCH JUDICIAL PROCEEDING RELIEF (INCLUDING
               INJUNCTIVE RELIEF OR THE RECOVERY OF MONEY) IS BEING
               SOUGHT DIRECTLY AGAINST OR FROM A PERSON THAT IS NOT A
               PARTY AND EXCEPT THAT, IN ANY SUCH JUDICIAL PROCEEDINGS
               BETWEEN ANY OF THE AGENTS THAT DOES NOT SEEK ANY RELIEF
               AGAINST OR FROM THE COMPANY OR ANY OF THE COMPANY
               SUBSIDIARIES, THE COMPANY AND THE COMPANY SUBSIDIARIES
               SHALL NOT BE NECESSARY PARTIES. WITHOUT LIMITING THE
               GENERALITY OF THE FOREGOING, AND CONSISTENT WITH THE
               PROVISIONS OF SECTIONS 8.14 AND 8.17, NONE OF THE
               ABL CLAIMHOLDERS (OTHER THAN THE ABL AGENT) OR THE TERM
               DEBT CLAIMHOLDERS (OTHER THAN THE TERM DEBT TRUSTEE)
               SHALL BE NECESSARY OR OTHERWISE APPROPRIATE PARTIES TO
               ANY SUCH JUDICIAL PROCEEDINGS, UNLESS IN SUCH JUDICIAL
               PROCEEDING SUMS ARE BEING SOUGHT TO BE RECOVERED
               DIRECTLY FROM SUCH PERSONS, INCLUDING PURSUANT TO
               SECTION 4.2.

                    (2)   ACCEPTS GENERALLY AND UNCONDITIONALLY THE
               EXCLUSIVE JURISDICTION AND VENUE OF SUCH COURTS;

                     (3) WAIVES ANY DEFENSE OF FORUM NON CONVENIENS IN
               SUCH COURTS;



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                      (4) AGREES THAT SERVICE OF ALL PROCESS IN ANY SUCH
                PROCEEDING IN ANY SUCH COURT MAY BE MADE BY REGISTERED
                OR CERTIFIED MAIL, RETURN RECEIPT REQUESTED, TO THE
                APPLICABLE PERSON (AND IN THE CASE OF A PARTY, AT ITS
                ADDRESS PROVIDED IN ACCORDANCE WITH SECTION 8.7); AND

                      (5)  AGREES THAT SERVICE AS PROVIDED IN CLAUSE (4)
                ABOVE IS SUFFICIENT TO CONFER PERSONAL JURISDICTION OVER
                THE APPLICABLE PERSON IN ANY SUCH PROCEEDING IN ANY SUCH
                COURT, AND OTHERWISE CONSTITUTES EFFECTIVE AND BINDING
                SERVICE IN EVERY RESPECT.

      (c) WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW,
ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LITIGATION
DIRECTLY OR INDIRECTLY ARISING OUT OF, UNDER OR IN CONNECTION WITH
THIS AGREEMENT, ANY OF THE ABL LOAN DOCUMENTS OR ANY OF THE TERM
DEBT DOCUMENTS. EACH OF THE PARTIES HERETO (A) CERTIFIES THAT NO
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE
BEEN INDUCED TO ENTER INTO THIS AGREEMENT, THE ABL LOAN DOCUMENTS
AND THE TERM DEBT DOCUMENTS, AS APPLICABLE, BY, AMONG OTHER THINGS,
THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION 8.6.

              8.7.      Notices. All notices permitted or required under this Agreement need be
sent only to the Agents, as applicable, in order to be effective and otherwise binding on any
applicable Claimholder. If any notice is sent for whatever reason to any Claimholder, such
notice shall also be sent to the applicable Agent. Unless otherwise specifically provided herein,
any notice hereunder shall be in writing and may be personally served or sent by telefacsimile or
United States mail or courier service and shall be deemed to have been given when delivered in
person or by overnight courier service and signed for against receipt thereof, upon receipt of
telefacsimile or telex during normal business hours, or three (3) Business Days after depositing it
in the United States certified mails (return receipt requested) with postage prepaid and properly
addressed. For the purposes hereof, the addresses of the parties hereto shall be as set forth below
each party’s name on the signature pages hereto, or, as to each party, at such other address as
may be designated by such party in a written notice to all of the other parties.

      8.8. Further Assurances. The ABL Agent, on behalf of the ABL Claimholders, the Term
Debt Trustee, on behalf of the Term Debt Claimholders, and the Grantors, agree that each of
them shall take such further action and shall execute and deliver such additional documents and
instruments (in recordable form, if requested) as the other Agent may reasonably request to
effectuate the terms of and the Lien priorities contemplated by this Agreement.

      8.9.     [RESERVED].


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    8.10. Specific Performance. Each Agent may demand specific performance of this
Agreement. The ABL Agent, on behalf of itself and the ABL Claimholders and the Term Debt
Trustee, on behalf of itself and the Term Debt Claimholders, hereby irrevocably waive any
defense based on the adequacy of a remedy at law and any other defense which might be asserted
to bar the remedy of specific performance in any action which may be brought by the
ABL Agent or the other ABL Claimholders, the Term Debt Trustee or the other Term Debt
Claimholders, as applicable. Without limiting the generality of the foregoing or of the other
provisions of this Agreement, in seeking specific performance in any Insolvency or Liquidation
Proceeding, an Agent may seek such relief as if it were the “holder” of the claims of the other
Agent’s Claimholders under Section 1126(a) of the Bankruptcy Code or otherwise had been
granted an irrevocable power of attorney by the other Agent’s Claimholders.

     8.11. Headings. Section headings in this Agreement are included herein for convenience
of reference only and shall not constitute a part of this Agreement for any other purpose or be
given any substantive effect.

     8.11. Counterparts. This Agreement may be executed in any number of counterparts,
each of which shall be deemed to be an original, but all such separate counterparts shall together
constitute but one and the same instrument. In proving this Agreement in any judicial
proceedings, it shall not be necessary to produce or account for more than one such counterpart
signed by the party against whom such enforcement is sought. Any signatures delivered by a
party by facsimile transmission or by e-mail transmission shall be deemed an original signature
hereto.

     8.13. Authorization. By its signature, each party hereto represents and warrants to the
other parties hereto that the individual signing this Agreement (including any Intercreditor
Agreement Joinder) on its behalf is duly authorized to execute this Agreement. The Term Debt
Trustee hereby represents that it is authorized to, and by its signature hereon does, bind the other
Term Debt Claimholders for which it is acting as Agent to the terms of this Agreement. The
ABL Agent hereby represents that it is authorized to, and by its signature hereon does, bind the
other ABL Claimholders to the terms of this Agreement.

     8.14. No Third Party Beneficiaries. This Agreement and the rights and benefits hereof
shall inure to the benefit of each of the parties hereto and their respective successors and assigns
and shall inure to the benefit of (and shall be binding upon) each of the Agents and the other
Claimholders and their respective successors and assigns. Without limiting the generality of the
foregoing, each of the First Lien Term Loan Agreement, the First Lien Term Debt Security
Documents, the Second Lien Term Debt Security Documents, the Initial Senior Secured Note
Indenture, the Secondary Senior Secured Note Indenture, Tertiary Senior Secured Note
Indenture, the ABL Credit Agreement, the ABL Security Documents, the Additional First Lien
Term Debt Facility, if any, and the Additional Second Lien Term Debt Facility, if any, shall
expressly refer to this Agreement and acknowledge that its provisions shall be binding on the
Term Debt Trustee, the applicable Term Debt Claimholders (and their respective successors and
assigns), the ABL Agent and the ABL Claimholders (and their respective successors and
assigns), as applicable, and, in any event, this Agreement shall be binding on the other Agent, the
other Claimholders and their respective successors and assigns as if its provisions were set forth

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in their entirety in the ABL Credit Agreement, the First Lien Term Loan Agreement, the Initial
Senior Secured Note Indenture, the Secondary Senior Secured Note Indenture, Tertiary Senior
Secured Note Indenture, the Additional First Lien Term Debt Facility, if any, and the Additional
Second Lien Term Debt Facility, if any.

     8.15. Provisions Solely to Define Relative Rights. The provisions of this Agreement are
and are intended solely for the purpose of defining the relative rights of the ABL Claimholders
and the Term Debt Claimholders. No Grantor or any other creditor thereof shall have any rights
hereunder, and no Grantor may rely on the terms hereof. Nothing in this Agreement is intended
to or shall impair as between the Grantors and the ABL Agent and the other ABL Claimholders,
or as between the Grantors and the Term Debt Trustee and the other Term Debt Claimholders,
the obligations of any Grantor, which are absolute and unconditional, to pay principal, interest,
fees and other amounts as provided in the other ABL Loan Documents and the Term Debt
Documents, respectively, including as and when the same shall become due and payable in
accordance with their terms.

     8.16. Marshaling of Assets. The Term Debt Trustee, on behalf of the Term Debt
Claimholders, hereby irrevocably, absolutely, and unconditionally waives any and all rights or
powers any Term Debt Claimholder may have at any time under applicable law or otherwise to
have the ABL Collateral, or any part thereof, marshaled upon any foreclosure or other
enforcement of the ABL Agent’s Liens. Subject in all respects to the provisions of Article III
herein, with respect to the exercise of remedies by the Term Debt Trustee against ABL
Collateral, the ABL Agent, on behalf of the ABL Claimholders, hereby irrevocably, absolutely,
and unconditionally waives any and all rights or powers any ABL Claimholder may have at any
time under applicable law or otherwise to have the Fixed Asset Collateral, or any part thereof,
marshaled upon any foreclosure or other enforcement of any other Agent’s Liens.

      8.17. Exclusive Means of Exercising Rights under this Agreement. The Term Debt
Claimholders shall be deemed to have irrevocably appointed the Term Debt Trustee and the
ABL Claimholders shall be deemed to have irrevocably appointed the ABL Agent, as their
respective and exclusive agents hereunder. Consistent with such appointment, the Term Debt
Claimholders and the ABL Claimholders further shall be deemed to have agreed that only their
respective Agent (and not any individual Claimholder or group of Claimholders) shall have the
exclusive right to exercise any rights, powers, and/or remedies under or in connection with this
Agreement (including bringing any action to interpret or otherwise enforce the provisions of this
Agreement) or the ABL Collateral; provided, that, (i) cash collateral constituting ABL Collateral
may be held pursuant to the terms of the ABL Loan Documents and any such individual
ABL Claimholder may act against such ABL Collateral, and (ii) ABL Claimholders may
exercise customary rights of setoff against depository or other accounts maintained with them.
Specifically, but without limiting the generality of the foregoing, each Term Debt Claimholder or
group of Term Debt Claimholders, each ABL Claimholder or group of ABL Claimholders,
except in each case, the Term Debt Trustee and the ABL Agent shall not be entitled to take or
file, but instead shall be precluded from taking or filing (whether in any Insolvency or
Liquidation Proceeding or otherwise), any action, judicial or otherwise, to enforce any right or
power or pursue any remedy under this Agreement (including any declaratory judgment or other


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action to interpret or otherwise enforce the provisions of this Agreement) or otherwise in relation
to the ABL Collateral, except solely as provided in the proviso in the preceding sentence.

     8.18. Interpretation. This Agreement is a product of negotiations among representatives
of, and has been reviewed by counsel to, each Agent, the Company, and the Company
Subsidiaries and is the product of those Persons on behalf of themselves and the Claimholders
they represent. Accordingly, this Agreement’s provisions shall not be construed against, or in
favor of, any party or other Person merely by virtue of that party or other Person’s involvement,
or lack of involvement, in the preparation of this Agreement and of any of its specific provisions.

        8.19. Term Debt Trustee . The Term Debt Trustee shall be responsible only for the
performance of such duties as are expressly set forth herein. The Term Debt Trustee shall not be
responsible for any action taken or not taken by it under this Agreement at the request or
direction of any Claimholder. The parties hereto acknowledge that Term Debt Trustee’s duties
do not include any discretionary authority, determination, control or responsibility with respect
to any Term Debt Document or any Collateral. The provisions of the Collateral Trust Agreement
and Indenture, including, without limitation those provisions relating to the rights, duties,
powers, privileges, protections and indemnification of the Term Debt Trustee shall apply with
respect to any actions taken or not taken by the Term Debt Trustee under this Agreement.

       8.20. Amendment and Restatement. This Agreement amends, restates and replaces the
Existing Intercreditor Agreement.




                                    [Signature Pages Follow]




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        IN WITNESS WHEREOF, the parties hereto have executed this Amended and Restated
Intercreditor Agreement as of the date first written above.

                                               ABL AGENT:

                                               GOLDMAN SACHS BANK USA, as ABL Agent

                                               By:
                                                        Name:
                                                        Title:



                                               Notice Address:



                                               Goldman Sachs Bank USA
                                               6011 Connection Drive
                                               Irving , TX 75039
                                               EFax: 646-769-7829
                                               Group Email: gsmmg-operations@gs.com

                                               with a copy to:

                                               Goldman Sachs Bank USA
                                               200 West Street
                                               New York, New York 10282-2198
                                               Attention: Douglas Tansey
                                                          Dana Horan
                                               Emails: douglas.tansey@gs.com
                                                       dana.horan@gs.com




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                                            TERM DEBT TRUSTEE:

                                            U.S. BANK, NATIONAL ASSOCIATION, in its capacity as Term
                                            Debt Trustee



                                            By:
                                                     Name:
                                                     Title:



                                            Notice Address:

                                            U.S. BANK NATIONAL
                                            ASSOCIATION
                                            60 Livingston Avenue
                                            EP-MN-WS3C
                                            St. Paul, MN 55107-2292
                                            Attention: Corporate Trust Department
                                                              Joshua A. Hahn
                                            Facsimile: (651) 466-6309




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Acknowledged and Agreed to by:




                                                   COMPANY


                                                   MURRAY ENERGY CORPORATION


                                                   By ____________________________________
                                                     Name _______________________________
                                                     Title ________________________________


                                                   HOLDINGS


                                                   MURRAY ENERGY HOLDINGS CO.


                                                   By ____________________________________
                                                     Name _______________________________
                                                     Title ________________________________




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                                          AMCA COAL LEASING, INC.
                                          AMCOAL HOLDINGS, INC.
                                          THE AMERICAN COAL COMPANY
                                          AMERICAN COMPLIANCE COAL, INC.
                                          AMERICAN EQUIPMENT & MACHINE, INC.
                                          AMERICAN NATURAL GAS, INC.
                                          ANDALEX RESOURCES, INC.
                                          ANDALEX RESOURCES MANAGEMENT, INC.
                                          AVONMORE RAIL LOADING, INC.
                                          BELMONT COAL, INC.
                                          CANTERBURY COAL COMPANY
                                          COAL RESOURCES HOLDINGS CO.
                                          COAL RESOURCES, INC.
                                          CONSOLIDATED LAND COMPANY
                                          KANAWHA TRANSPORTATION CENTER, INC.
                                          KENAMERICAN RESOURCES, INC.
                                          MILL CREEK MINING COMPANY
                                          MURRAY AMERICAN RESOURCES, INC.
                                          MURRAY SOUTH AMERICA, INC.
                                          OHIOAMERICAN ENERGY, INCORPORATED
                                          OHIO ENERGY TRANSPORTATION, INC.
                                          ONEIDA COAL COMPANY, INC.
                                          PENNAMERICAN COAL, INC.
                                          PINSKI CORP.
                                          PLEASANT FARMS, INC.
                                          PREMIUM COAL, INC.
                                          SPRING CHURCH COAL COMPANY
                                          UTAH AMERICAN ENERGY, INC.
                                          WEST RIDGE RESOURCES, INC.


                                           By ________________________________________
                                              Name __________________________________
                                              Title ___________________________________




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                                            THE AMERICAN COAL SALES COMPANY
                                            AMERICAN ENERGY CORPORATION
                                            AMERICANMOUNTAINEER ENERGY, INC.
                                            ANCHOR LONGWALL AND REBUILD, INC.
                                            CORPORATE AVIATION SERVICES, INC.
                                            EMPIRE DOCK, INC.
                                            ENERGY RESOURCES, INC.
                                            ENERGY TRANSPORTATION, INC.
                                            PENNSYLVANIA TRANSLOADING, INC.
                                            T D K COAL SALES, INCORPORATED


                                            By _______________________________________
                                              Name __________________________________
                                              Title ___________________________________




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                                                 AMERICANHOCKING ENERGY, INC.


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title ________________________________




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                                       MAPLE CREEK MINING, INC.
                                       MAPLE CREEK PROCESSING, INC.
                                       THE OHIO VALLEY COAL COMPANY
                                       OHIO VALLEY RESOURCES, INC.
                                       THE OHIO VALLEY TRANSLOADING COMPANY
                                       SUNBURST RESOURCES, INC.
                                       UMCO ENERGY, INC.


                                       By __________________________________________
                                         Name _____________________________________
                                         Title ______________________________________




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                                       MONVALLEY TRANSPORTATION CENTER, INC.
                                       THE OKLAHOMA COAL COMPANY


                                       By __________________________________________
                                         Name _____________________________________
                                         Title ______________________________________




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                                                 PENNAMERICAN COAL L.P.
                                                 By: PINSKI CORP.
                                                 Its: Managing Partner


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title ________________________________




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                                                 WEST VIRGINIA RESOURCES, INC.


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title ________________________________




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                                                 GENWAL RESOURCES, INC.


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                 CONSOLIDATION COAL COMPANY


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                 EIGHTY-FOUR MINING COMPANY


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                 MCELROY COAL COMPANY


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                 SOUTHERN OHIO COAL COMPANY


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                 CENTRAL OHIO COAL COMPANY


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                 KEYSTONE COAL MINING
                                                   CORPORATION


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                 MON RIVER TOWING, INC.


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                 TWIN RIVERS TOWING COMPANY


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                 CCC RCPC LLC


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                 CCC LAND RESOURCES LLC


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                   AMERICAN MINE SERVICES, INC.


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                   AMERICANMOUNTAINEER
                                                    PROPERTIES, INC.


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                   MURRAY AMERICAN ENERGY, INC.


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                    THE OHIO COUNTY COAL COMPANY


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                   THE MARSHALL COUNTY COAL
                                                    COMPANY


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                   THE MONONGALIA COUNTY COAL
                                                    COMPANY


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                   THE MARION COUNTY COAL
                                                    COMPANY


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                   THE HARRISON COUNTY COAL
                                                    COMPANY


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                   MURRAY AMERICAN
                                                   TRANSPORTATION, INC.


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                   MURRAY KEYSTONE PROCESSING,
                                                   INC.


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                         MURRAY AMERICAN RIVER TOWING, INC.
                                         THE FRANKLIN COUNTY COAL COMPANY
                                         THE MEIGS COUNTY COAL COMPANY
                                         THE MUSKINGUM COUNTY COAL COMPANY
                                         THE WASHINGTON COUNTY COAL COMPANY


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                         MURRAY AMERICAN KENTUCKY TOWING,
                                         INC.


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                         MURRAY EQUIPMENT & MACHINE, INC.


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                         THE MCLEAN COUNTY COAL COMPANY


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                         MURRAY AMERICAN COAL, INC.


                                                 By ____________________________________
                                                   Name _______________________________
                                                   Title




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                                                                        EXHIBIT Q TO
                                                     CREDIT AND GUARANTY AGREEMENT

                                 SOLVENCY CERTIFICATE

                                      Dated April [__], 2015

I, [________], hereby certify to the Administrative Agent (as defined below) that I am the duly
elected, authorized and acting Chief Financial Officer of MURRAY ENERGY
CORPORATION, an Ohio corporation (the “Borrower”), and hereby certify, solely in my
capacity as Chief Financial Officer and not in an individual capacity, pursuant to Section 3.1(n)
of that certain Credit and Guaranty Agreement, dated as of April 16, 2015 (as it may be
amended, supplemented or otherwise modified, the “Credit Agreement”; the terms defined
therein and not otherwise defined herein being used herein as therein defined), by and among
Borrower, Holdings, certain Subsidiaries of Borrower, as Guarantors, the Lenders party thereto
from time to time, DEUTSCHE BANK SECURITIES INC. and GOLDMAN SACHS BANK
USA, as Joint Lead Arrangers and Joint Bookrunners, GOLDMAN SACHS BANK USA, as
Sole Syndication Agent, and DEUTSCHE BANK AG NEW YORK BRANCH, as
Administrative Agent, that as of the date hereof:

         (i)     I have reviewed the terms of Sections 3 and 4 of the Credit Agreement and the
         definitions and provisions contained in the Credit Agreement related thereto, together
         with each of the Related Agreements, and, in my opinion, have made, or have caused to
         be made under my supervision, such examination or investigation as is necessary to
         enable me to express an informed opinion as to the matters referred to herein; and

         (ii)   based upon my review and examination described in paragraph (i) above,
         immediately upon consummation of the Transactions on the Closing Date, after taking
         into account rights of contribution, the Credit Parties, on a consolidated basis, are
         Solvent.

As used herein, “Solvent” means, with respect to all Credit Parties, taken as a whole, on a
consolidated basis, that as of the date of determination, (a) the sum of the Credit Parties’ debt
(including contingent liabilities) does not exceed the present fair saleable value, taken on a going
concern basis, of the Credit Parties’ present assets; (b) the Credit Parties’ capital is not
unreasonably small in relation to the business of the Credit Parties as contemplated on the
Closing Date and reflected in the Projections or with respect to any transaction contemplated or
undertaken after the Closing Date; and (c) the Credit Parties have not incurred and do not intend
to incur, or believe (nor should they reasonably believe) that they will incur, debts beyond their
ability to pay such debts as they become due (whether at maturity or otherwise). For purposes of
this definition of “Solvent”, the amount of any contingent liability at any time shall be computed
as the amount that, in light of all of the facts and circumstances existing at such time, represents
the amount that can reasonably be expected to become an actual or matured liability (irrespective
of whether such contingent liabilities meet the criteria for accrual under Statement of Financial
Accounting Standards No.5).

                                         [Signature Page Follows]



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        IN WITNESS WHEREOF, I have executed this Certificate on behalf of the Credit Parties
as of the date first set forth above.

                                          MURRAY ENERGY CORPORATION


                                          By:
                                          Name:
                                          Title: Chief Financial Officer




                                       EXHIBIT Q-1
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                                                                         EXHIBIT R TO
                                                      CREDIT AND GUARANTY AGREEMENT

                                COMPLIANCE CERTIFICATE

THE UNDERSIGNED HEREBY CERTIFIES AS FOLLOWS:

       1.     I am the Chief Financial Officer of each of MURRAY ENERGY HOLDINGS
CO., a Delaware corporation (“Holdings”), and MURRAY ENERGY CORPORATION, an
Ohio corporation (“Borrower”).

       2.     I have reviewed the terms of that certain Credit and Guaranty Agreement, dated as
of April 16, 2015 (as it may be amended, supplemented or otherwise modified, the “Credit
Agreement”; the terms defined therein and not otherwise defined herein being used herein as
therein defined), by and among Borrower, Holdings, certain Subsidiaries of Borrower, as
Guarantors, the Lenders party thereto from time to time, DEUTSCHE BANK SECURITIES
INC. and GOLDMAN SACHS BANK USA, as Joint Lead Arrangers and Joint Bookrunners,
GOLDMAN SACHS BANK USA, as Sole Syndication Agent, and DEUTSCHE BANK AG
NEW YORK BRANCH, as Administrative Agent, and I have made, or have caused to be made
under my supervision, a review in reasonable detail of the transactions and condition of
Borrower and its Subsidiaries during the accounting period covered by the attached financial
statements.

        3.      The examination described in paragraph 2 above did not disclose, and I have no
knowledge of, the existence of any condition or event which constitutes an Event of Default or
Default during or at the end of the accounting period covered by the attached financial
statements or as of the date of this Certificate, except as set forth in a separate attachment, if any,
to this Certificate, describing in detail, the nature of the condition or event, the period during
which it has existed and the action which Borrower has taken, is taking, or proposes to take with
respect to each such condition or event.

        The foregoing certifications, together with the computations set forth in the Annex A
hereto and the financial statements delivered with this Certificate in support hereof, are made and
delivered [______ ___], 20[__] pursuant to Section [5.1(d)][6.4(f)][6.6(g)] of the Credit
Agreement.

                                               MURRAY ENERGY HOLDINGS CO.
                                               MURRAY ENERGY CORPORATION


                                               By: ______________________________
                                               Name:
                                               Title: Chief Financial Officer




                                       EXHIBIT R-1
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                                                                                          ANNEX A TO
                                                                              COMPLIANCE CERTIFICATE

                 FOR THE FISCAL [QUARTER] [YEAR] ENDING [_______], [____].

1.        Consolidated Adjusted EBITDA 1: (i)+(ii) –(iii) =                                      $[___,___,___]

                (i)    Consolidated Net Income:                                                  $[___,___,___]

                (ii)   the sum, without duplication, of: 2                                       $[___,___,___]

                       (a)    extraordinary losses plus net losses realized by
                              Borrower or its Restricted Subsidiaries in connection
                              with an Asset Sale, to the extent such losses were
                              deducted in computing Consolidated Net Income:        $[___,___,___]

                       (b)    provision for taxes based on income or profits of
                              Borrower and its Restricted Subsidiaries, to the
                              extent such provision for taxes was deducted in
                              computing Consolidated Net Income:                $[___,___,___]

                       (c)    Fixed Charges of Borrower and its Restricted
                              Subsidiaries, to the extent such Fixed Charges were
                              deducted in computing Consolidated Net Income:      $[___,___,___]

                       (d)    foreign currency translation losses of Borrower and
                              its Restricted Subsidiaries 3, to the extent that such $[___,___,___]
                              losses were taken into account in computing

1
    For purposes of calculating all financial ratios and tests for any four-Fiscal Quarter period that includes the
Fiscal Quarter ending on December 31, 2014, March 31, 2015, June 30, 2015, or September 30, 2015, Consolidated
Adjusted EBITDA shall be based on the sum of (a) the applicable amounts specified below for such Fiscal Quarter,
and (b) Consolidated Adjusted EBITDA for the portion of such four-Fiscal Quarter period not including such Fiscal
Quarter:

      Fiscal Quarter Ending          Consolidated Adjusted EBITDA
      March 31, 2014                 $247,064,000
      June 30, 2014                  $200,716,000
      September 30, 2014             $204,976,000
      December 31, 2014              $178,877,000
For purposes of calculating all financial ratios and tests for any four-Fiscal Quarter period that includes the Fiscal
Quarter ending on March 31, 2015, Consolidated Adjusted EBITDA shall be based on the actual financial
statements delivered pursuant to Section 5.1(b) of the Credit Agreement calculated in a manner consistent with the
calculation of Consolidated Adjusted EBITDA for the above-referenced Fiscal Quarters ending on March 31, 2014,
June 30, 2014, September 30, 2014 or December 31, 2014.
2
      In each case of clauses (ii)(a) - (k), on a consolidated basis and determined in accordance with GAAP.
3
      Including losses related to currency remeasurements of Indebtedness.

                                                    EXHIBIT R-2
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                               Consolidated Net Income:

                      (e)      depreciation, amortization 4 and other non-cash
                               charges and expenses of Borrower and its Restricted
                               Subsidiaries 5 to the extent that such depreciation,
                               amortization and other non-cash charges or expenses
                               were deducted in computing Consolidated Net
                               Income:                                                            $[___,___,___]

                      (f)      extraordinary, non-recurring or unusual losses, to the
                               extent deducted in computing Consolidated Net
                               Income:                                                            $[___,___,___]

                      (g)      the amortization of debt discount, to the extent
                               deducted in computing Consolidated Net Income:                     $[___,___,___]


                      (h)      any expenses or charges (other than depreciation or
                               amortization expense) related to any Equity
                               Offering, Permitted Investment, Permitted
                               Acquisition, disposition, recapitalization or the
                               incurrence, amendment or waiver of Indebtedness
                               permitted to be incurred by the Credit Agreement
                               (including a refinancing thereof and, in each case,
                               whether or not successful):                                        $[___,___,___]

                      (i)      the amount of any restructuring charge or reserve,
                               integration cost or cost associated with establishing
                               new facilities that is deducted (and not added back)
                               in such period in computing Consolidated Net
                               Income, including any one-time costs incurred in
                               connection with acquisitions after the Closing Date,
                               and costs related to the closure and/or consolidation
                               of facilities 6:                                                   $[___,___,___]



4
      Including amortization of intangibles but excluding amortization of prepaid cash expenses that were paid in a
      prior period.
5
      Excluding any such non-cash charge or expense to the extent that it represents an accrual of or reserve for cash
      charges or expenses in any future period or amortization of a prepaid cash charge or expense that was paid in a
      prior period.
6
      Provided that the aggregate amount of cash charges and cash costs that are added to Consolidated Adjusted
      EBITDA pursuant to this clause (i) shall not exceed, together with (1) the aggregate amount of cost savings and
      operating efficiencies added to Consolidated Adjusted EBITDA pursuant to clause (vi) of Section 1.4 of the
      Credit Agreement and pursuant to clause (j) hereof and (2) the aggregate amount of costs and expenses
      (including fees) added to Consolidated Adjusted EBITDA pursuant to clause (k) hereof, 10% of Consolidated
      Adjusted EBITDA in such four-Fiscal Quarter period.


                                                   EXHIBIT R-3
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                        (j)    the amount of cost savings, synergies and operating
                               efficiencies anticipated to result from the
                               Transactions and any Specified Transaction 7, net of
                               the amount of actual benefits realized during such
                               period from such actions 8:                                         $[___,___,___]

                        (k)    to the extent deducted in computing such
                               Consolidated Net Income, costs and expenses,
                               including fees, incurred directly in connection with
                               the consummation of the Transactions, including,
                               without limitation, the Closing Date Acquisition,
                               and any amendment or other modification thereof, in
                               each case, deducted (and not added back) in                         $[___,___,___]
                               computing Consolidated Net Income 9:
                (iii)   non-cash items increasing such Consolidated Net Income
                        for such period, other than the accrual of revenue in the
                        ordinary course of business:                                               $[___,___,___]

2.        Consolidated Current Assets:                                                             $[___,___,___]

3.        Consolidated Current Liabilities:                                                        $[___,___,___]

4.        Consolidated Excess Cash Flow: (i)-(ii) =                                                $[___,___,___]



7
      Calculated on a pro forma basis as though such cost savings, synergies and operating efficiencies had been
      realized on the first day of such period as if such cost savings, synergies and operating efficiencies were
      realized during the entirety of such period.
8
      Provided that (A) such cost savings, synergies and operating efficiencies are reasonably identifiable, (B) such
      cost savings, synergies and operating efficiencies have been realized or are anticipated by Holdings to be
      realized within 12 months after the Closing Date or, in the case of a Specified Transaction, within 12 months
      after the closing date of such Specified Transaction, (C) no cost savings, synergies and operating efficiencies
      shall be added pursuant to this clause (j) to the extent duplicative of any expenses or charges otherwise added to
      Consolidated Adjusted EBITDA, whether through a pro forma adjustment or otherwise, for such period and (D)
      the aggregate amount of cost savings and operating efficiencies added to Consolidated Adjusted EBITDA
      pursuant to this clause (j), together with (1) the aggregate amount of cost savings, synergies and operating
      efficiencies added to Consolidated Adjusted EBITDA pursuant to clause (vi) of Section 1.4 of the Credit
      Agreement, (2) the aggregate amount of cash charges and cash costs added to Consolidated Adjusted EBITDA
      pursuant to clause (i) hereof and (3) the aggregate amount of costs and expenses (including fees) added to
      Consolidated Adjusted EBITDA pursuant to clause (k) hereof, 10% of Consolidated Adjusted EBITDA in such
      four-Fiscal Quarter period.
9
      Provided that the aggregate amount of costs and expenses (including fees) added to Consolidated Adjusted
      EBITDA pursuant to this clause (k) shall not exceed, together with (1) the aggregate amount of cost savings and
      operating efficiencies added to Consolidated Adjusted EBITDA pursuant to clause (vi) of Section 1.4 of the
      Credit Agreement and pursuant to clause (j) hereof and (2) the aggregate amount of cash charges and cash costs
      added to Consolidated Adjusted EBITDA pursuant to clause (i) hereof, 10% of Consolidated Adjusted EBITDA
      for such four-Fiscal Quarter period.



                                                    EXHIBIT R-4
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                (i)    the sum, without duplication, of the amounts for such
                       period of

                       (a)     Consolidated Net Income:                                       $[___,___,___]

                       (b)     to the extent reducing Consolidated Net Income, the
                               sum, without duplication, of amounts for non-Cash
                               charges reducing Consolidated Net Income,
                               including for depreciation and amortization
                               (excluding any such non-Cash charge to the extent
                               that it represents an accrual or reserve for potential
                               Cash charge in any future period or amortization of
                               a prepaid Cash charge that was paid in a prior
                               period):                                               $[___,___,___]

                       (c)     the Consolidated Working Capital Adjustment:                   $[___,___,___]

                (ii)   the sum, without duplication, of: 10                                   $[___,___,___]
                       (a) the amounts for such period paid from Internally
                       Generated Cash except to the extent made using the
                       Cumulative Amount representing amounts allocated to
                       clause (ii) of the Credit Agreement definition of the term
                       “Cumulative Amount” of:                                    $[___,___,___]

                             (1) scheduled repayments of Indebtedness (other than
                             repayments of loans under the Revolving Credit
                             Agreement except to the extent commitments
                             thereunder are permanently reduced in connection
                             with such repayments) and scheduled repayments of
                             obligations under Capital Leases (excluding any
                             interest expense portion thereof):                   $[___,___,___]

                             (2) Permitted Investments           (including     Permitted
                             Acquisitions):                                                   $[___,___,___]

                             (3) Consolidated Capital Expenditures:                           $[___,___,___]

                             (4) cash payments made by Borrower or any of its
                             Subsidiaries in such Fiscal Year in respect of any non- $[___,___,___]
                             current mining-related liability that is not expensed in


10
     As used in this clause (ii), “scheduled repayments of Indebtedness” does not include (x) mandatory prepayments
      or voluntary prepayments of the Term Loans (but does include prepayments of other Indebtedness)
      (y) repurchases of Term Loans pursuant to Section 10.6(i) and (z) repayments of Loans made with the Cash
      proceeds of any Refinancing Indebtedness.



                                                  EXHIBIT R-5
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                           such Fiscal Year:

                           (5) amounts added back to Consolidated Net Income
                           in respect of cash losses, charges and expenses
                           pursuant to clauses (i) and (vi) of the definition thereof
                           in the Credit Agreement:                                   $[___,___,___]

                           (6) cash payments in respect of Restricted Junior
                           Payments permitted by Sections 6.4(e), (h) and (o) of
                           the Credit Agreement:                                 $[___,___,___]

                           (7) deposits permitted under Section 6.2 (including
                           6.2(d)) of the Credit Agreement:                    $[___,___,___]

                           (8) without duplication of amounts deducted from
                           Consolidated Excess Cash Flow in prior periods, the
                           aggregate consideration required to be paid in cash by
                           the Borrower or any of its Subsidiaries pursuant to
                           binding contracts or executed letters of intent (the
                           “Contract Consideration”) entered into prior to or
                           during such period relating to Permitted Acquisitions,
                           Permitted Investments 11 , Consolidated Capital
                           Expenditures or acquisitions of intellectual property
                           (to the extent not expensed) to be consummated or
                           made, plus any restructuring cash expenses, pension
                           payments or tax contingency payments that have been
                           added to Consolidated Excess Cash Flow pursuant to
                           clause (i)(b) hereof required to be made, in each case
                           during the period of four consecutive Fiscal Quarters
                           of Borrower following the end of such period 12:       $[___,___,___]



                     (b) other non-Cash gains increasing Consolidated Net
                     Income for such period (excluding any such non-Cash gain
                     to the extent it represents the reversal of an accrual or
                     reserve for potential Cash gain in any prior period):     $[___,___,___]

                     (c) to the extent paid in such year, reclamation liabilities
                     required under law to be paid:                               $[___,___,___]

11
     Other than Investments made pursuant to Section 6.6(a), (d) or (s) of the Credit Agreement.
12
     Provided that to the extent the aggregate amount of Internally Generated Cash actually utilized to finance such
     acquisitions, Permitted Investments, Consolidated Capital Expenditures, or acquisitions of intellectual property
     during such period of four consecutive fiscal quarters is less than the Contract Consideration, the amount of
     such shortfall shall be added to the calculation of Consolidated Excess Cash Flow at the end of such period of
     four consecutive Fiscal Quarters


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5.       Consolidated Net Income 13: (i)-(ii) =                                                 $[___,___,___]

                (i)    the aggregate of (a) the net income (loss) of Borrower and
                       its Restricted Subsidiaries for such period, on a
                       consolidated basis 14 , plus (b) without duplication of
                       amounts included in clause (a), cash distributions received
                       by Borrower and its Restricted Subsidiaries from Foresight
                       LP for such period, determined in accordance with GAAP
                       and for the avoidance of doubt including any variable
                       interest entity with financial results that are required by
                       GAAP to be consolidated with Borrower’s financial results,
                       and without any reduction in respect of preferred stock
                       dividends:                                                  $[___,___,___]

                (ii)   provided that, for purposes of clause 5(i)(a) hereof:

                       (a)    all extraordinary gains or losses and all gains (but
                              not losses) realized in connection with any Asset
                              Sale or the disposition of securities or the early
                              extinguishment of Indebtedness, together with any
                              related provision for taxes on any such gain:        $[___,___,___]

                       (b)    the net income (but not loss) of any Restricted
                              Subsidiary to the extent that the declaration or
                              payment of dividends or similar distributions by that
                              Restricted Subsidiary of that net income is not at the
                              date of determination permitted without any prior
                              governmental approval (that has not been obtained)
                              or, directly or indirectly, by operation of the terms
                              of its charter or any agreement, instrument,
                              judgment, decree, order, statute, rule or
                              governmental regulation applicable to that
                              Restricted Subsidiary or its stockholders:             $[___,___,___]

                       (c)    the cumulative effect of a change in accounting
                              principles:                                     $[___,___,___]

                       (d)    any (i) extraordinary, exceptional, unusual or
                              nonrecurring gain, loss, charge or expense or any
                              charges, expenses or reserves in respect of any
                              restructuring, redundancy or severance expense and
                              any charge or expense constituting expenses relating $[___,___,___]
                              to the Transactions, (ii) non-cash items in respect of

13
   The net income (but not loss) of any Person that is not a Restricted Subsidiary or that is accounted for by the
equity method of accounting will be included only to the extent of the amount of dividends or similar distributions
paid in non-cash to the specified Person or a Restricted Subsidiary of the Person:
14
    For the avoidance of doubt, excluding the net income (loss) of any Unrestricted Subsidiary of such Person.

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                              reclamation liabilities, pension, OPEB and workers’
                              compensation and other employee insurance related
                              liabilities (excluding any active employee medical,
                              dental or related expenses), including any
                              withdrawal liabilities, and (iii) cash payments
                              (excluding the posting of letters of credit and cash
                              collateral) in respect of reclamation liabilities,
                              pension, OPEB and workers’ compensation and
                              other employee insurance related liabilities
                              (excluding any active employee medical, dental or
                              related expenses), including any withdrawal
                              liabilities 15:

                     (e)      any non-cash compensation charge or expense
                              arising from any grant of stock, stock options or
                              other equity based awards and any non-cash deemed
                              finance charges in respect of any pension liabilities
                              or other provisions:                                  $[___,___,___]

                     (f)      non-cash gains and losses attributable to movement
                              in the mark-to-market valuation of obligations under
                              Interest Rate Agreements, Commodities Agreements
                              and Hedging Obligations pursuant to Financial
                              Accounting Standards Board Statement No. 133:        $[___,___,___]

                     (g)      any expense (or income) as a result of adjustments
                              recorded to earnout obligations or other contingent
                              consideration liabilities relating to any Acquisition
                              or any Permitted Acquisition or other Permitted
                              Investment:                                           $[___,___,___]

6.       Consolidated Net Total Debt: (i)-(ii)=                                                 $[___,___,___]

             (i)     (a) the aggregate stated balance sheet amount of all
                     Indebtedness described in clauses (i) through (iv) of the
                     definition of the term “Indebtedness” in the Credit
                     Agreement of Borrower and its Restricted Subsidiaries (for
                     the avoidance of doubt, (i) excluding any undrawn portion
                     of the Revolving Credit Agreement and (ii) for this
                     purpose, letters of credit will be deemed to have a principal
                     amount equal to the amount drawn and not reimbursed
                     thereunder, if any) determined on a consolidated basis in
                     accordance with GAAP:                                                      $[___,___,___]


15
     With respect to clause (e)(iii), to be deducted only to the extent not already reducing Consolidated Net Income
     in accordance with GAAP.


                                                  EXHIBIT R-8
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             (ii)       the aggregate amount of Unrestricted Cash included in the
                        consolidated balance sheet of Borrower and its Subsidiaries
                        as of such date:                                                      $[___,___,___]

7.       Consolidated Working Capital: (i)-(ii) =                                             $[___,___,___]

                (i)     Consolidated Current Assets:                                          $[___,___,___]

                (ii)    Consolidated Current Liabilities:                                     $[___,___,___]

8.       Consolidated Working Capital Adjustment: 16 (i)-(ii) =                               $[___,___,___]

                (i)     Consolidated Working Capital as of the beginning of such
                        period:                                                  $[___,___,___]

                (ii)    Consolidated Working Capital as of the end of such period:            $[___,___,___]

9.       Fixed Charges: (i)+(ii)+(iii)+(iv) =                                                 $[___,___,___]

                (i)     the consolidated interest expense of Borrower and its
                        Restricted Subsidiaries for such period, whether paid or
                        accrued, including, without limitation, amortization of debt
                        issuance costs and original issue discount, non-cash interest
                        payments, the interest component of any deferred payment
                        obligations, the interest component of all payments
                        associated with Capital Lease Obligations, commissions,
                        discounts and other fees and charges incurred in respect of
                        letter of credit or bankers’ acceptance financings, and net of
                        the effect of all payments made or received pursuant to
                        Interest Rate Agreements:                                      $[___,___,___]

                (ii)    the consolidated interest expense of Borrower and its
                        Restricted Subsidiaries that was capitalized during such
                        period:                                                  $[___,___,___]

                (iii)   any interest on Indebtedness of another Person that is
                        guaranteed by Borrower or one of its Restricted $[___,___,___]

16
     In calculating the Consolidated Working Capital Adjustment there shall be excluded the effect of
     reclassification during such period of current assets to long term assets and current liabilities to long term
     liabilities and the effect of any Permitted Acquisition, the designation of any Unrestricted Subsidiary as a
     Restricted Subsidiary or any Restricted Subsidiary as an Unrestricted Subsidiary during such period; provided
     that (i) there shall be included with respect to any Permitted Acquisition during such period an amount (which
     may be a negative number) by which the Consolidated Working Capital acquired in such Permitted Acquisition
     as at the time of such acquisition exceeds (or is less than) Consolidated Working Capital at the end of such
     period and (ii) there shall be included with respect to any Unrestricted Subsidiary that is designated as a
     Restricted Subsidiary during such period an amount (which may be a negative number) by which the
     Consolidated Working Capital gained in such designation as at the time of such designation exceeds (or is less
     than) Consolidated Working Capital at the end of such period.


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                       Subsidiaries or secured by a Lien on assets of such Person
                       or one of its Restricted Subsidiaries, whether or not such
                       Guarantee or Lien is called upon:

                (iv)   the product of (a) all dividends, whether paid or accrued
                       and whether or not in cash, on any series of preferred stock
                       of Borrower or any of its Restricted Subsidiaries, other than
                       dividends on Equity Interests payable solely in Equity
                       Interests of Borrower (other than Disqualified Equity
                       Interest) or to Borrower or a Restricted Subsidiary of
                       Borrower, times (b) a fraction, the numerator of which is
                       one and the denominator of which is one minus the then
                       current combined federal, state and local statutory tax rate
                       of such Person, expressed as a decimal, in each case,
                       determined on a consolidated basis in accordance with $[___,___,___]
                       GAAP:


10.      Net Leverage Ratio: (i)/(ii) =                                               $[___,___,___]

                (i)    Consolidated Net Total Debt as of the last day of the Fiscal
                       Quarter then ended:                                            $[___,___,___]

                (ii)   Consolidated Adjusted EBITDA for the four Fiscal Quarter
                       period then ended:                                       $[___,___,___]

                                                                  Actual:             _.__:1.00

                                                                  Required:           _.__:1.00

11.      First Lien Net Leverage Ratio: (i)/(ii) =                                    $[___,___,___]

                (i)    Consolidated Net Total Debt that is secured by a Lien on
                       the assets of Borrower or any of its Restricted Subsidiaries
                       (other than Indebtedness secured on a junior basis to the
                       Liens securing the Obligations under the Credit Documents,
                       including Second Lien Indebtedness and Second Lien
                       Additional Facilities) as of the last day of the four-Fiscal
                       Quarter period ending on such date:                          $[___,___,___]

                (ii)   Consolidated Adjusted EBITDA for the four-Fiscal Quarter
                       period ending on such date:                              $[___,___,___]

                                                                  Actual:             _.__:1.00

                                                                  Required:           _.__:1.00



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12.      Cumulative Amount: (i) + (ii) + (iii) + (iv) + (v) + (vi) + (vii) – (viii)
=                                                                                     $[___,___,___]

                (i)    $50,000,000

                (ii)   (x) the cumulative amount of Consolidated Excess Cash
                       Flow of Borrower and its Restricted Subsidiaries for all
                       Fiscal Years completed after the Closing Date (commencing
                       with the Fiscal Year ending December 31, 2015) and prior
                       to the Cumulative Amount Reference Time, minus (y) the
                       portion of such Consolidated Excess Cash Flow that has
                       been (or is required to be) applied after the Closing Date
                       and prior to the Cumulative Amount Reference Time to the
                       prepayment of Term Loans in accordance with
                       Section 2.14(d) of the Credit Agreement:                   $[___,___,___]

                (iii) the amount of any cash capital contributions or Net Equity
                      Proceeds from (A) the sale or issuance of any Equity
                      Interests (other than Disqualified Equity Interests) received
                      or made by Holdings (or any direct or indirect parent
                      thereof) and contributed to Borrower or (B) the sale or
                      issuance of Disqualified Equity Interest of Borrower or debt
                      securities of Borrower, in each case that have been
                      converted into or exchanged for Equity Interests (other than
                      Disqualified Equity Interests) of Borrower (other than
                      Equity Interests or debt securities sold to a Subsidiary of
                      Borrower) and contributed to Borrower:                        $[___,___,___]

                (iv) 50% of any dividends received in cash by Borrower or a
                     Restricted Subsidiary of Borrower that is a Guarantor
                     Subsidiary during the period from and including the
                     Business Day immediately following the Closing Date
                     through and including the Cumulative Amount Reference
                     Time from an Unrestricted Subsidiary of Borrower, to the
                     extent such amount is not already included in Consolidated
                     Excess Cash Flow for purposes of clause (ii) hereof:       $[___,___,___]

                (v) to the extent that any Unrestricted Subsidiary of Borrower
                     designated as such after the Closing Date is re-designated as
                     a Restricted Subsidiary after the date of the Closing Date or
                     merged into a Restricted Subsidiary after the Closing Date,
                     the Fair Market Value of Borrower’s and Restricted
                     Subsidiaries’ Investment in such Unrestricted Subsidiary as
                     of the date of such re-designation or merger, to the extent $[___,___,___]
                     such amount is not already included in Consolidated Excess


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                     Cash Flow for purposes of clause (ii) hereof:

                (vi) without duplication of clauses (i)-(v), (vii) or (viii) hereof ,
                     to the extent that any Investment that was made after the
                     Closing Date pursuant to Sections 6.6(j), (r), (s) or (t) of the
                     Credit Agreement is (a) sold for cash or otherwise
                     cancelled, liquidated or repaid for cash, or (b) made in an
                     entity that subsequently becomes a Restricted Subsidiary of
                     Borrower, the initial amount of such Investment (if less, the
                     amount of cash received upon repayment or sale):                 $[___,___,___]

                (vii) the amounts of any prepayments of Term Loans required to
                      be made by Borrower pursuant to Section 2.14(a), (b) or (d)
                      of the Credit Agreement that Term Loan Lenders have
                      declined pursuant to Section 2.15(c) of the Credit
                      Agreement, except to the extent such declined amounts are
                      then required to be applied to prepay other Indebtedness and
                      are not declined by the holders of such other Indebtedness:  $[___,___,___]

                (viii) the aggregate amount of any Investments made pursuant to
                       Section 6.6(t) of the Credit Agreement, any Restricted
                       Junior Payment made pursuant to Section 6.4(f) of the
                       Credit Agreement (and any intercompany loan to a
                       Subsidiary that is not a Guarantor Subsidiary made pursuant
                       to Section 6.6(d)(C) of the Credit Agreement in reliance on
                       Section 6.4(f) of the Credit Agreement) and any Restricted
                       Junior Payment made pursuant to 6.4(g) of the Credit
                       Agreement, in each case, during the period commencing on
                       the Business Days immediately following the Closing Date
                       and ending on or prior to the Cumulative Amount Reference
                       Time 17:                                                    $[___,___,___]




17
     For purposes of this clause (viii), without taking account of the intended usage of the Cumulative Amount at
     such Cumulative Amount Reference Time

                                                 EXHIBIT R-12
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                                                               Execution Version


                                    AMENDMENT NO. 1
                           TO CREDIT AND GUARANTY AGREEMENT

        This AMENDMENT NO. 1 TO CREDIT AND GUARANTY AGREEMENT (as
defined below), dated as of August 15, 2016 (this “Agreement”), is by and among Murray
Energy Corporation (the “Borrower”), each of the Credit Parties party hereto, each other Lender
party hereto (such Lenders constituting the Requisite Lenders), and Deutsche Bank AG New
York Branch, as Administrative Agent. Goldman Sachs Bank USA is acting as the lead
arranger, bookrunner and syndication agent in connection with this Agreement (in such
capacities, the “Amendment Arranger”).

                                             RECITALS:

               WHEREAS, reference is made to the Credit and Guaranty Agreement dated as of
April 16, 2015 (as amended prior to the date hereof, the “Existing Credit Agreement”) among the
Borrower, each Credit Party named therein, the Lenders party thereto and Deutsche Bank AG
New York Branch, as Administrative Agent. Capitalized terms used but not defined herein shall
have the meanings given to such terms in the Credit Agreement (as defined below).

             WHEREAS, the Borrower has requested certain amendments to the Existing
Credit Agreement as set forth herein.

             WHEREAS, subject to certain conditions, Requisite Lenders are willing to agree
to such amendments relating to the Credit Agreement.

               NOW, THEREFORE, in consideration of the premises and the agreements,
provisions and covenants herein contained, the parties hereto agree as follows:


        SECTION 1. Amendments to Existing Credit Agreement. Immediately after giving
effect to this Agreement upon satisfaction of the conditions set forth in Section 2 of this
Agreement:

      (a)     Section 1.1 of the Credit Agreement is hereby amended by adding the following
new defined terms in their proper alphabetical order:

                     “Annual ECF Period” as defined in Section 2.14(d)(i).
                     “ECF Period” as defined in Section 2.14(d)(i).
                  “First Amendment” means that certain Amendment No. 1 to Credit and
                Guaranty Agreement dated as of August 15, 2016, by and among the Borrower,
                Holdings, the other Credit Parties party thereto, the Administrative Agent and each
                other financial institution party thereto as a Lender.
                  “First Amendment Effective Date” means the “Effective Date” as defined in
                the First Amendment, which date is August 15, 2016.
                     “Mid-Year ECF Period” as defined in Section 2.14(d)(i).
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                     “PIK Fee” as defined in Section 2.11(b).
                     “Retained ECF Amount” as defined in Section 2.14(d)(ii).
        (b)     Section 1.1 of the Credit Agreement is hereby amended by amending the defined
term “Consolidated Adjusted EBITDA” as follows: (i) replacing the word “; minus” appearing
at the end of clause (xi) of such definition with the word “; plus”, (ii) renumbering clause (xii) of
such definition as clause (xiii) and (iii) inserting a new clause (xii) as follows:

                     “(xii) for each of the four full Fiscal Quarters following the First Amendment
                     Effective Date, the amount of cost savings and operating efficiencies anticipated
                     to result from any changes to any agreement with the United Mine Workers of
                     America (calculated on a pro forma basis as though such cost savings and
                     operating efficiencies were realized during the entirety of such period), net of the
                     amount of actual benefits realized during such period from such actions;
                     provided that (A) such cost savings and operating efficiencies are reasonably
                     identifiable, (B) such cost savings and operating efficiencies have been realized
                     or are anticipated by Holdings to be realized within 12 months after the
                     effectiveness of such changes, (C) no cost savings and operating efficiencies
                     shall be added pursuant to this clause (xii) to the extent duplicative of any
                     expenses or charges otherwise added to Consolidated Adjusted EBITDA,
                     whether through a pro forma adjustment or otherwise, for such period and (D)
                     the cost savings and operating efficiencies added back pursuant to this clause
                     (xii) shall not exceed (1) in the first full Fiscal Quarter following the First
                     Amendment Effective Date, $70,000,000, (2) in the second full Fiscal Quarter
                     following the First Amendment Effective Date, $52,500,000, (3) in the third full
                     Fiscal Quarter following the First Amendment Effective Date, $35,000,000 and
                     (4) in the fourth full Fiscal Quarter following the First Amendment Effective
                     Date, $17,500,000; minus”

        (c)    Section 1.1 of the Credit Agreement is hereby amended by amended and restating
the following defined terms in their entirety as follows:

                  “Applicable Margin” means (i) (x) with respect to any Term B-1 Loan that is a
                Base Rate Loan, a rate equal to 5.75% per annum or (y) with respect to any Term
                B-1 Loan that is a Eurodollar Rate Loan, a rate equal to 6.75% per annum, and (ii)
                (x) with respect to any Term B-2 Loan that is a Base Rate Loan, a rate equal to
                6.25% per annum and (y) with respect to any Term B-2 Loan that is a Eurodollar
                Rate Loan, a rate equal to 7.25% per annum.
                  “First Lien Net Leverage Ratio” means the ratio as of the last day of any Fiscal
                Quarter of (i) Consolidated Net Total Debt that is secured by a Lien on the assets
                of Borrower or any of its Restricted Subsidiaries (other than (x) Indebtedness
                secured on a junior basis to the Liens securing the Obligations under the Credit
                Documents, including Second Lien Indebtedness and Second Lien Additional
                Facilities and (y) the PIK Fee) to (ii) Consolidated Adjusted EBITDA for the four-
                Fiscal Quarter period ending on such date.


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       (d)    Section 2.11 of the Credit Agreement is hereby amended by (i) re-numbering
clause (b) of such Section as clause “(c)” and (ii) inserting the following new clause (b)
immediately prior to clause (c):

                        (b) Borrower agrees to pay to each Lender with respect to Term B-2
                Loans, in each case, that executes the First Amendment on or prior to 5:00 p.m.
                New York time on August 15, 2016 a non-refundable fee in an amount equal to
                4.25% of the Term B-2 Loan of such Lender (the “PIK Fee”), which amount shall
                be deemed an extension of additional Term B-2 Loans on the First Amendment
                Effective Date pursuant to the terms of, and subject to, the Loan Documents. The
                PIK Fee shall be added to the outstanding principal amount of the Term B-2 Loans
                on the First Amendment Effective Date and shall thereafter be deemed to be
                principal bearing interest in accordance with Section 2.8. Unless the context
                otherwise requires, for all purposes hereof, references to “principal amount” of the
                Term B-2 Loans of any Lender refers to the original face amount of the Term B-2
                Loans of such Lender plus the increase in the principal amount of such outstanding
                Term B-2 Loans as a result of the PIK Fee, if any, payable to such Lender.

        (e)     Section 2.14(d) of the Credit Agreement is hereby amended and restated in its
entirety as follows:

                         (d)     Consolidated Excess Cash Flow. (i) In the event that there shall be
                Consolidated Excess Cash Flow for (x) any Fiscal Year (commencing with the
                Fiscal Year ending December 31, 2015) or (y) the two consecutive Fiscal Quarter
                period ending June 30 of any Fiscal Year (commencing with the two consecutive
                Fiscal Quarter period ending June 30, 2017) (the period in (x) being hereinafter
                referred to as the “Annual ECF Period”; the period in (y) being hereinafter
                referred to as the “Mid-Year ECF Period”; and each of the periods in (x) and (y),
                collectively, an “ECF Period”), Borrower shall, no later than one hundred days
                after the end of such ECF Period, prepay the Loans as set forth in Section 2.15(b)
                in an aggregate amount equal to (i) 75% of such Consolidated Excess Cash Flow
                minus (ii) the sum of (w) solely with respect to the Annual ECF Period, the
                amount of the Consolidated Excess Cash Flow prepayment for the most recent
                Mid-Year ECF Period to the extent actually made in accordance with the terms of
                this Section 2.14(d)(i) hereof, (x) voluntary repayments of the Loans made with
                Internally Generated Cash (including the amounts actually paid to repurchase
                Loans pursuant to Section 10.6(i) but excluding, for the avoidance of doubt,
                repayments of Loans made with the Cash proceeds of any Refinancing
                Indebtedness), (y) repayments of Permitted First Lien Priority Refinancing Debt
                and (z) repayments of Incremental Pari Notes, in the case of clauses (x), (y) and
                (z), made at any time during such ECF Period or on or prior to the date such
                prepayment is due (except to the extent that such repayments have reduced the
                prepayment required by this Section 2.14(d) for any prior ECF Period) (such
                amount, the “ECF Prepayment Amount”); provided that (A) solely with respect
                to the Mid-Year ECF Period, any such prepayment shall be further reduced so that,
                after giving effect to such payment (together with the Retained ECF Amount
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                required to be applied for such Mid-Year ECF Period pursuant to Section
                2.14(d)(ii)), the aggregate amount of unrestricted Cash and Cash Equivalents
                included in the consolidated balance sheet of Borrower and its Restricted
                Subsidiaries as of the last day of such Mid-Year ECF Period is equal to or greater
                than $265 million and (B) any such prepayment shall be reduced by the amount of
                any actual overpayment made under this Section 2.14(d)(i) for the immediately
                preceding ECF Period.
                  (ii) In the event that there shall be Consolidated Excess Cash Flow for any ECF
                Period, Borrower shall, solely to the extent permitted under the Revolving Credit
                Documents, apply an amount equal to (i) 25% of such Consolidated Excess Cash
                Flow minus (ii) the sum of (w) solely with respect to the Annual ECF Period, the
                amount of the application of such Consolidated Excess Cash Flow for the most
                recent Mid-Year ECF Period to the extent actually made in accordance with the
                terms of this Section 2.14(d)(ii), (x) voluntary repayments of the Loans made with
                Internally Generated Cash (including the amounts actually paid to repurchase
                Loans pursuant to Section 10.6(i) but excluding, for the avoidance of doubt,
                repayments of Loans made with the Cash proceeds of any Refinancing
                Indebtedness), (y) repayments of Permitted First Lien Priority Refinancing Debt
                and (z) repayments of Incremental Pari Notes, in the case of clauses (x), (y) and
                (z), made at any time during such ECF Period or on or prior to the date such
                application is required to be made (except to the extent that such repayments have
                reduced the Retained ECF Amount for any prior ECF Period) (such amount, the
                “Retained ECF Amount”) to prepay or repurchase (in each case, whether through
                Dutch auctions or open market purchases) the Loans and, to the extent permitted
                under Section 6.4(f), the Senior Secured Notes; provided that solely with respect to
                the Mid-Year ECF Period, any such Retained ECF Amount shall be further
                reduced so that, after giving effect to the application of such Retained ECF
                Amount as set forth above (together with the ECF Prepayment Amount for such
                Mid-Year ECF Period), the aggregate amount of unrestricted Cash and Cash
                Equivalents included in the consolidated balance sheet of Borrower and its
                Restricted Subsidiaries as of the last day of such Mid-Year ECF Period is equal to
                or greater than $265 million.

        (f)     Section 6.4 of the Credit Agreement is hereby amended by amending and
restating clauses (f) and (k) of such Section in their entirety as follows:

               (f) Borrower may make payments or prepayments of principal of, premium, if
        any, or interest on, or redeem, purchase, retire, defease (including in-substance or legal
        defeasance), or make similar payments (including on account of any sinking fund) with
        respect to any Senior Secured Notes; provided that (i) immediately prior to, and after
        giving effect thereto, no Default or Event of Default shall have occurred and be
        continuing and would result therefrom, (ii) no Term B-1 Loans remain outstanding as of
        the date such Restricted Junior Payment is made and (iii) the aggregate amount of
        payments pursuant to this clause (f) shall not exceed the lesser of (x) $50,000,000 and (y)
        the Retained ECF Amount;

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                 (k) [Reserved];

        (g)     Section 6.6 of the Credit Agreement is hereby amended by amending and
restating clauses (r), (t) and (aa) of such Section in their entirety as follows:

                (r) other Investments in any Person having an aggregate fair market value
        (measured on the date each such Investment was made and without giving effect to
        subsequent changes in value) equal to the sum of (i) the amount of Investments
        outstanding on the First Amendment Effective Date plus (ii) any other Investments made
        after the First Amendment Effective Date that when taken together with all other
        Investments made pursuant to this clause (r)(ii) that are at the time outstanding, do not
        exceed $20,000,000;

                 (t) [Reserved];

                 (aa) [Reserved];

       (h)     Section 6.7 of the Credit Agreement is hereby amended by replacing the grid
appearing therein with the following:

                             Fiscal Quarter     First Lien Net
                                 ending         Leverage Ratio
                             September 30,         3.25:1.00
                                  2015
                              December 31,          3.00:1.00
                                  2015
                             March 31, 2016         2.75:1.00
                              June 30, 2016         2.75:1.00
                             September 30,          3.75:1.00
                                  2016
                              December 31,          3.75:1.00
                                  2016
                             March 31, 2017         3.75:1.00
                              June 30, 2017         3.75:1.00
                             September 30,          3.75:1.00
                                  2017
                              December 31,          3.75:1.00
                                  2017
                             March 31, 2018         3.50:1.00
                              June 30, 2018         3.50:1.00
                             September 30,          3.50:1.00
                                  2018

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                              Fiscal Quarter      First Lien Net
                                  ending          Leverage Ratio
                               December 31,          3.50:1.00
                                   2018
                              March 31, 2019         3.50:1.00
                             June 30, 2019 and       3.25:1.00
                                each Fiscal
                                Quarter end
                                 thereafter

        (i)     Section 6.11 of the Credit Agreement is hereby amended by amending and
restating clause (g) thereof as follows:

                  (g) Restricted Payments that do not violate Section 6.4 and Investments that do
                not violate Section 6.6;

        SECTION 2. Conditions to Effectiveness. The effectiveness of this Agreement is
subject to the satisfaction of each of the following conditions (the date such conditions are
satisfied, the “Effective Date”):

        (a)     The Administrative Agent shall have received a counterpart of this Agreement,
executed and delivered by the Borrower, the other Credit Parties named herein and Lenders
constituting the Requisite Lenders; and

        (b)    (i) The Administrative Agent shall have received an amendment fee, for the
ratable benefit of the Lenders executing this Agreement, equal to (x) 0.25% of the Term B-1
Loans of such Lenders and (y) 0.50% of the Term B-2 Loans of such Lenders, (ii) the
Administrative Agent and the Amendment Arranger shall have received all fees and other
amounts due and payable on or prior to the Effective Date and, to the extent invoiced,
reimbursement or payment of all out-of-pocket expenses (including the legal fees and expenses
of Latham & Watkins LLP and the fees and expenses of any local counsel) required to be
reimbursed or paid by Borrower hereunder, under any other Credit Document or any other
agreement and (iii) Wilmer Hale LLP, as legal counsel for certain of the Lenders, shall have
received payment of all reasonable and documented legal fees outstanding as of the Effective
Date; provided that, in the case of this clause (iii), such fees shall not exceed $70,000.

      SECTION 3. Representations and Warranties of the Loan Parties. Borrower represents
and warrants to Administrative Agent and Lenders that, after giving effect to this Agreement:

       (a)     No Default or Event of Default has occurred and is continuing or would result
from the entry into this Agreement.

      (b)     Both before and after giving effect to this Agreement, each of the representations
and warranties contained in the Credit Agreement and the other Credit Documents is true and

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correct in all material respects (except that any representation and warranty that is qualified as to
“materiality” or “Material Adverse Effect” shall be true and correct in all respects) as if made on
and as of the date hereof except to the extent that such representations and warranties expressly
specifically refer to an earlier date (in which case such representations and warranties are true
and correct in all material respects as of such earlier date).

        (c)     The execution, delivery and performance of this Agreement have been duly
authorized by all requisite corporate, limited liability company or partnership action, as
applicable, on the part of each Credit Party; this Agreement has been duly executed and
delivered by each Credit Party; and this Agreement constitutes a valid and binding agreement of
each Credit Party, enforceable against each Credit Party in accordance with its terms, except as
the enforceability thereof may be limited by bankruptcy, insolvency, reorganization, moratorium
or similar laws relating to or limiting creditors’ rights generally or by general equitable principles
relating to enforceability (whether enforcement is sought by proceedings in equity or at law).

        SECTION 4. Acknowledgment and Reaffirmation.

        (a)    Each of the Credit Parties hereby acknowledges that it has reviewed the terms and
provisions of this Agreement and the Credit Agreement. Each Credit Party hereby confirms its
respective guarantees, pledges, grants of security interests and other obligations, as applicable,
under and subject to the terms of each of the Credit Documents to which it is party, and agrees
that such guarantees, pledges, grants of security interests and other obligations, and the terms of
each of the Credit Documents to which it is a party, are not impaired or affected in any manner
whatsoever and shall continue to be in full force and effect.

        (b)    Each Credit Party acknowledges and agrees that any of the Credit Documents to
which it is a party or otherwise bound shall continue in full force and effect and that all of its
obligations thereunder shall be valid and enforceable and shall not be impaired or limited by the
execution or effectiveness of this Agreement.

        SECTION 5. Effects on Credit Documents.

        (a)    Except as specifically amended herein, the Credit Agreement and all other Credit
Documents shall continue to be in full force and effect and are hereby in all respects ratified and
confirmed. Each of the Credit Documents, including the Credit Agreement, and any and all
other agreements, documents or instruments now or hereafter executed and/or delivered pursuant
to the terms hereof or pursuant to the terms of the Credit Agreement, are hereby amended so that
any reference in such Credit Documents to the Credit Agreement, whether direct or indirect,
shall mean a reference to the Credit Agreement.

       (b)   The execution, delivery and effectiveness of this Agreement shall not operate as a
waiver of any right, power or remedy of any Lender or any Agent under any of the Credit
Documents, nor constitute a waiver of any provision of the Credit Documents.




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       (c)    The Borrower and the other parties hereto acknowledge and agree that this
Agreement and any agreements, instruments and other documents executed and/or delivered in
connection herewith shall constitute a Credit Document.

        SECTION 6. Amendments; Execution in Counterparts.

        (a)     This Agreement shall not constitute an amendment of any other provision of the
Credit Agreement not referred to herein and shall not be construed as a waiver or consent to any
further or future action on the part of the Borrower that would require a waiver or consent of the
Lenders or the Agents.

        (b)     This Agreement may be executed by one or more of the parties hereto on any
number of separate counterparts, and all of said counterparts taken together shall be deemed to
constitute one and the same instrument. Delivery of an executed signature page of this
Agreement by facsimile or other electronic submission (including .pdf or .tif format) shall be
effective as delivery of a manually executed counterpart hereof.

     SECTION 7. GOVERNING LAW; WAIVER OF JURY TRIAL. THIS AGREEMENT
SHALL BE CONSTRUED IN ACCORDANCE WITH AND GOVERNED BY THE LAWS OF
THE STATE OF NEW YORK.

                                   [Signature pages to follow]




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                IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
duly executed and delivered by their respective officers thereunto duly authorized as of the date
first written above.



                                                 MURRAY ENERGY




                                                          Robert D. Moor
                                                          EVP, COO, CFO




                                                 By:.......:~~--"--~~~ll!!Kll.a.-~~­
                                                  Name: Robert D. Moore
                                                  Title: Chief Financial Officer




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                                 AMCA COAL LEASING, INC.
                                 AMCOAL HOLDINGS, INC.
                                 THE AMERICAN COAL COMPANY
                                 AMERICAN COMPLIANCE COAL, INC.
                                 AMERICAN EQUIPMENT & MACHINE, INC.
                                 AMERICAN NATURAL GAS, INC.
                                 ANDALEX RESOURCES, INC.
                                 ANDALEX RESOURCES MANAGEMENT, INC.
                                 AVONMORE RAIL LOADING, INC.
                                 BELMONT COAL, INC.
                                 CANTERBURY COAL COMPANY
                                 COAL RESOURCES HOLDINGS CO.
                                 COAL RESOURCES, INC.
                                 CONSOLIDATED LAND COMPANY
                                 KANAWHA TRANSPORTATION CENTER, INC.
                                 KENAMERICAN RESOURCES, INC.
                                 MILL CREEK MINING COMPANY
                                 MURRAY AMERICAN RESOURCES, INC.
                                 MURRAY GLOBAL COMMODITIES, INC.
                                 MURRAY SOUTH AMERICA, INC.
                                 OHIOAMERICAN ENERGY, INCORPORATED
                                 OHIO ENERGY TRANSPORTATION, INC.
                                 ONEIDA COAL COMPANY, INC.
                                 PENNAMERICAN COAL, INC.
                                 PINSKI CORP.
                                 PLEASANT FARMS, INC.
                                 PREMIUM COAL, INC.
                                 SPRING CHURCH COAL COMPANY
                                 UTAH AMERICAN ENERGY, INC.
                                 WEST RIDGE RESOURC    INC.




                                     By ----!.:u...~--L-=~~oQ::l....._~~~~
                                       Name: Robert D. Moore
                                       Title: Authorized Signature




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                                  THE AMERICAN COAL SALES COMPANY
                                  AMERICAN ENERGY CORPORATION
                                  AMERICANMOUNTAINEER ENERGY, INC.
                                  ANCHOR LONGWALL AND REBUILD, INC.
                                  CORPORATE AVIATION SERVICES, INC.
                                  EMPIRE DOCK, INC.
                                  ENERGY RESOURCES, INC.
                                  ENERGY TRANSPORTATION, INC.
                                  PENNSYLVANIA TRANS LOADING, INC.
                                  TDK COAL SALES, INCORPORATED




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                                     AMERICANHOCKING ENERGY, INC.




                                       Title:   Assistant Treasurer




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                               MAPLE CREEK MINING, INC.
                               MAPLE CREEK PROCESSING, INC.
                               THE OHIO VALLEY COAL COMPANY
                               OHIO VALLEY RESOURCES , INC.
                               THE OHIO VALLEY TRANSLOADING COMPANY
                               SUNBURST RESOURCES, INC.
                               UMCO ENERGY, INC.



                               ~==
                                 Title:   Authorized Signature




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                               MONVALLEY TRANSPORTATION CENTER, INC.
                               THE OKLAHOMA COAL COMPANY


                               ByNmne:
                                  ~~   thOnyC. V II    celka,
                                 Title:   Authorized Signature




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                                      PENNAMERICAN COAL L.P.
                                      By: PINSKI CORP.
                                       s: Managing Partn



                                      By ~~~---'"~~~=ii.~~~~~
                                        Name:
                                        Title: Treasurer & Secretary




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                                     By _;;....!L~_...~~~2.1i.~~~~~~
                                       Name: Robert D. Moore
                                       Title: Vice President




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                                      By __;_..1!...;~"--.c-~~~~=--~~~~
                                        Name: Robert D. Moore
                                        Title: Treasurer




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                                              Vice President




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                                              Vice President




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                                              Vice President




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                                              Vice President




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                                                                    . COMPANY



                                     By __;...;::;J.....i....::.......,.,.1-:.~-Jio.,~~C'.....~~~~­
                                        Name: Robert D. Moore
                                        Title: Vice President




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                                      By                        &8\l.
                                        Name: Robert D. Moore
                                        Title: Vice President




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                                      By ~~-=--=:;._-=_.;:a,~~~~~~~­
                                        Name: Robert D. Moore
                                        Title: Vice President




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                                                                 Credit Agreement
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                                     By ":""""~___;;;;;;;____::~~~.a._~~~~­
                                       Name: Robert D. Moore
                                       Title: Vice President




                                                               Amendment No. I to
                                                                 Credit Agreement
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                                     By                         ~
                                        Name: Robert D. Moore
                                        Title: Vice President




                                                                Amendment No. I to
                                                                  Credit Agreement

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                                      By      ~
                                        Name: Robert D. Moore
                                        Title: Vice President




                                                                Amendment No. I to
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                                     By ~.......,._._....;;:m,co...__;...___;;:i~._,;;.......z..~~~~~
                                        Name: Robert D. Moore
                                        Title: Vice President




                                                                            Amendment No. I to
                                                                 Credit and Guaranty Agreement
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                                     By ~.::..,o...J...;;::.._-4_.;;......31._.a.,_,;;.==.;;.~~~~­
                                        Name: Robert D. Moore
                                        Title: President




                                                                           Amendment No. I to
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                                                          ·. COAL COMPANY



                                    By _J~;::::::~~~~lr...-..~~~~
                                       Name:
                                       Title: Vice President




                                                                   Amendment No. I to
                                                        Credit and Guaranty Agreement
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                                    By ~~._~___;--..~~;..;...ao~~~~~-
                                       Name: Robert D. Moore
                                       Title: Vice President




                                                                  Amendment No. I to
                                                       Credit and Guaranty Agreement
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                                    By ---3i..;,i....~__.t-..;:~~~~r--~~~­
                                       Name:
                                       Title:   Vice President




                                                                     Amendment No. I to
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                                     By ~~~~~;..._:::o.c...~~...._~~~~
                                       Name: Robert D. Moore
                                       Title: Vice President




                                                                  Amendment No. I to
                                                       Credit and Guaranty Agreement
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                                     By                   atfu.
                                       Name: Robert D. Moore
                                       Title: Vice President




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                                  ~Al

                                     By~~~
                                       Name: Robert D. Moore
                                       Title: Vice President




                                                                 Amendment No. I to
                                                      Credit and Guaranty Agreement
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                                      MURRAY KEYST          PROCESSING,
                                      I



                                     By ~-*"~-...:~-....;~~:.w,,,c!..-~~~~
                                       Name: Robert D. Moore
                                       Title: Vice President




                                                                  Amendment No. I to
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                                MURRAY AMERICAN RIVER TOWING, INC.
                                THE FRANKLIN COUNTY COAL COMPANY
                                THE MEIGS COUNTY COAL COMPANY
                                THE MUSKINGUM COU Y COAL COMPANY
                                T      SHINGTON C    Y COAL COMPANY



                                     By ~~!.::!:==!.~~~!!t\1.--~~~­
                                       Name: Robert D. Moore
                                       Title: Vice President




                                                                  Amendment No. I to
                                                       Credit and Guaranty Agreement
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                                MURRAY AMERICAN KENTUCKY TOWING,
                                INC.



                                     By ~~~~e:J8.~Z.-.~~~~
                                       Name: ~nthony C. Vcelka, II
                                       Title:   Treasurer




                                                                       Amendment No. I to
                                                            Credit and Guaranty Agreement
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                                                               CHINE, INC.



                                     By ~~~;:::,,,,.,~:i.....L.-.Jo.,,.,.o.::~~~~~~­
                                       Name: Robert D. Moore
                                       Title: President & Treasurer




                                                                    Amendment No. I to
                                                         Credit and Guaranty Agreement
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                                TH

                                     By ~~l-'-..,!..;;::=-~~~~11--~~~~
                                       Name:
                                       Title:   Vice President




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                                M



                                     By ~=-~-'__;a~~~"'-UI--~~~~
                                       Name:
                                       Title:   President




                                                                       Amendment No. I to
                                                            Credit and Guaranty Agreement
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                               AMENDMENT NO. 2
                      TO CREDIT AND GUARANTY AGREEMENT

       This AMENDMENT NO. 2 TO CREDIT AND GUARANTY AGREEMENT (as
defined below), dated as of November 10, 2016 (this “Agreement”), is by and among Murray
Energy Corporation (the “Borrower”), each of the Credit Parties party hereto, each Initial Term
B-3 Lender (as defined below), and Deutsche Bank AG New York Branch, as Administrative
Agent. Goldman Sachs Lending Partners LLC is acting as the sole lead arranger, bookrunner
and syndication agent in connection with this Agreement (in such capacities, the “Amendment
Arranger”).

                                        RECITALS:

               WHEREAS, reference is made to the Credit and Guaranty Agreement dated as of
April 16, 2015 (as amended prior to the date hereof, the “Existing Credit Agreement”) among the
Borrower, each Credit Party named therein, the Lenders party thereto and Deutsche Bank AG
New York Branch, as Administrative Agent. Capitalized terms used but not defined herein shall
have the meanings given to such terms in the Credit Agreement (as defined below);

               WHEREAS, the Borrower is prepaying the Term B-1 Loans pursuant to
Section 2.13(a) of the Credit Agreement in an aggregate principal amount of $26,908,412.45;

              WHEREAS, pursuant to Section 2.25(a) of the Credit Agreement, the Borrower
has made an extension offer (a “Term B- 1 Extension Offer”) to all of the Lenders holding Term
B-1 Loans (each, an “Existing Term B-1 Lender”) to extend the Maturity Date of the Term B-1
Loans to April 17, 2020 on terms set forth in the term sheet referenced in the Term B-1
Extension Offer (such Maturity Date together with such terms, the “Extension”);

              WHEREAS, each Lender holding Term B-1 Loans (collectively, the “Existing
Term B-1 Lenders”) that executes and delivers a consent to this Amendment in the form of the
“Lender Consent” attached hereto as Annex I (a “Term B-1 Lender Consent”) agrees to the terms
and conditions of this Amendment and agrees to convert its Term B-1 Loans into Term B-3
Loans (each such Lender, a “Continuing Term B-3 Lender” and collectively, the “Continuing
Term B-3 Lenders”);

              WHEREAS, each Existing Term B-1 Lender that fails to execute and deliver the
Term B-1 Lender Consent by 3:00 p.m. (New York City time), on November 3, 2016 (each, a
“Non-Consenting Term B-1 Lender”) will constitute a Declining Lender and will be replaced
pursuant to Section 2.23 of the Credit Agreement whereby all of such Declining Lender’s Term
B-1 Loans will be assigned to a Person identified on signature pages hereto as the “Replacement
Term B-1 Lender” (the “Replacement Term B-1 Lender”; and together with the Continuing
Term B-3 Lenders, the “Initial Term B-3 Lenders” and each, an “Initial Term B-3 Lender”);

                WHEREAS, the Replacement Term B-1 Lender agrees to the terms and
conditions of this Amendment and agrees to convert all of its Term B-1 Loans so assigned into a
portion of the Term B-3 Loans on a dollar-for-dollar basis;


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              WHEREAS, the Borrower, the other Credit Parties, the Administrative Agent
and the Continuing Term B-3 Lenders and the Replacement Term B-1 Lender have agreed
pursuant to Section 2.25 of the Credit Agreement to amend certain provisions of the Credit
Agreement as provided herein to reflect the existence and terms of the Term B-3 Loans.

               NOW, THEREFORE, in consideration of the premises and the agreements,
provisions and covenants herein contained, the parties hereto agree as follows:

        SECTION 1. Amendments to Existing Credit Agreement. Immediately after giving
effect to this Agreement upon satisfaction of the conditions set forth in Section 3 of this
Agreement (with the deletions of the stricken text (if any) indicated in the same manner as the
following example: stricken text and with the insertions of additional text (if any) indicated in
the same manner as the following example: bold and italics text in the cases of amendments that
restate or replace provisions, phrases or other text):
                        (a)     Section 1.1 of the Credit Agreement is hereby amended by adding
                the following new defined terms in their proper alphabetical order:
                  “Initial Term B-3 Lender” has the meaning assigned to such term in the
                Second Amendment.
                  “Second Amendment” means that certain Amendment No. 2 to Credit and
                Guaranty Agreement, dated as of November 10, 2016, by and among the
                Borrower, the other Credit Parties party thereto, the Administrative Agent and each
                other financial institution party thereto that is defined as an “Initial Term B-3
                Lender” thereunder.
                  “Second Amendment Effective Date” means the “Effective Date” as defined in
                the Second Amendment, which date is November 10, 2016.
              “Term B-3 Loan” means a Term B-3 Loan resulting from an extension and
conversion of Term B-1 Loans into Term B-3 Loans pursuant to Section 2.1(a)(iii).

               “Term B-3 Loan Commitment” means the commitment of a Lender to make or
otherwise fund a Term B-3 Loan and “Term B-3 Loan Commitments” means such
commitments of all Lenders in the aggregate, each of which commitment to make or fund a
Term B-3 Loan shall be satisfied pursuant to an extension and conversion of the Term B-1 Loans
into the Term B-3 Loans in accordance with Section 2.1(a)(iii). The amount of each Lender’s
Term B-3 Loan Commitment, if any, is set forth on Appendix A-3 or in the applicable
Assignment Agreement, subject to any adjustment or reduction pursuant to the terms and
conditions hereof. The aggregate amount of the Term B-3 Loan Commitments as of the Second
Amendment Effective Date is $175,000,000.

               “Term B-3 Loan Exposure” means, with respect to any Lender, as of any date of
determination, the outstanding principal amount of the Term B-3 Loans of such Lender;
provided, at any time prior to the making of the Term B-3 Loans, the Term B-3 Loan Exposure
of any Lender shall be equal to such Lender’s Term B-3 Loan Commitment.



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            “Term B-3 Loan Note” means a promissory note in the form of Exhibit B-3, as it
may be amended, restated, supplemented or otherwise modified from time to time.

        (b)    Section 1.1 of the Credit Agreement is hereby amended by amended and restating
the following defined terms in their entirety as follows:
                  “Applicable Margin” means (i) (x) with respect to any Term B-13 Loan that is
                a Base Rate Loan, a rate equal to 5.756.75% per annum or (y) with respect to any
                Term B-13 Loan that is a Eurodollar Rate Loan, a rate equal to 6.757.75% per
                annum, and (ii) (x) with respect to any Term B-2 Loan that is a Base Rate Loan, a
                rate equal to 6.25% per annum and (y) with respect to any Term B-2 Loan that is a
                Eurodollar Rate Loan, a rate equal to 7.25% per annum.

                  “Maturity Date” means, except to the extent extended pursuant to Section 2.25,
                (i) with respect to the Term B-13 Loan, the earlier of (a) the second anniversary of
                the Closing Date April 17, 2020 and (b) the date on which all Term B-13 Loans
                shall become due and payable in full hereunder, whether by acceleration or
                otherwise, (ii) with respect to the Term B-2 Loan, the earlier of (a) the fifth
                anniversary of the Closing Date, and (b) the date on which all Term B-2 Loans
                shall become due and payable in full hereunder, whether by acceleration or
                otherwise, (iii) with respect to New Term Loans, the date on which New Term
                Loans of a Series shall become due and payable in full hereunder, as specified in
                the applicable Joinder Agreement, including by acceleration or otherwise and (iv)
                with respect to Incremental Revolving Loans, the date on which the Incremental
                Revolving Loans shall become due and payable in full hereunder, as specified in
                the Incremental Revolver Amendment, including by acceleration or otherwise.
                  “Lender” means each financial institution listed on the signature pages hereto as
                a Lender, each financial institution that executed and delivered the Second
                Amendment that is defined therein as an “Initial Term B-3 Lender”, and any
                other Person that becomes a party hereto pursuant to an Assignment Agreement, a
                Joinder Agreement or an Incremental Revolver Amendment.
       (c)   Section 1.1 of the Credit Agreement is hereby further amended by replacing the
phrase “Term B-1” in each instance such phrase appears in the definition of the terms “Class”,
“Note”, “Loan”, “Pro Rata Share”, “Requisite Lenders”, “Term Loan”, “Term Loan
Commitment” and “Voting Power Determinants” with the phrase “Term B-3”.
         (d)     Clause (a) of Section 2.1 of the Credit Agreement is hereby amended and restated
in its entirety as follows:
                        (a)     Loan Commitments. Subject to the terms and conditions hereof,
                              (i)    each Lender severally agrees to make, on the Closing Date,
                a Term B-1 Loan to Borrower in an amount equal to such Lender’s Term B-1 Loan
                Commitment; and
                              (ii) each Lender agrees to make, on the Closing Date, a Term
                B-2 Loan to Borrower in an amount equal to such Lender’s Term B-2 Loan
                Commitment.; and
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                                (iii) each Lender agrees to make, on the Second Amendment
                Effective Date, a Term B-3 Loan to Borrower in an amount equal to such
                Lender’s Term B-3 Loan Commitment; it being understood and agreed that each
                Initial Term B-3 Lender makes such Term B-3 Loan by extending and
                converting the principal amount of all of its outstanding Term B-1 Loans into
                the outstanding Term B-3 Loans of the same principal amount. The aggregate
                principal amount of the outstanding Term B-3 Loans on the Second Amendment
                Effective Date is equal to $175,000,000.
                Borrower may make only one borrowing under each of the Term B-1 Loan
                Commitment and the Term B-2 Loan Commitment, which shall be on the Closing
                Date and Borrower may make only one borrowing under the Term B-3 Loan
                Commitment, which shall be on the Second Amendment Effective Date. Any
                amount borrowed under this Section 2.1(a) and subsequently repaid or prepaid
                may not be reborrowed. Subject to Sections 2.13(a) and 2.14, all amounts owed
                hereunder with respect to the Term Loans shall be paid in full no later than the
                Maturity Date applicable to such Term Loans. Each Lender’s Term Loan
                Commitment (other than Term B-3 Loan Commitment) shall terminate
                immediately and without further action on the Closing Date after giving effect to
                the funding of such Lender’s Term Loan Commitment on such date, and each
                Lender’s Term Loan B-3 Commitment shall terminate immediately and without
                further action on the Second Amendment Effective Date after giving effect to the
                extension and conversion of the Term B-1 Loans into Term B-3 Loans of such
                Lender pursuant to Section 2.1(a)(iii) on such date.
       (e)    Section 2.11 of the Credit Agreement is hereby amended by (i) re-numbering
clause (c) of such Section as clause “(d)” and (ii) inserting the following new clause (c)
immediately prior to clause (d):
                         (c)     Borrower agrees to fund on the Second Amendment Effective
                Date, to each Initial Term B-3 Lender, a closing adjustment in an amount equal to
                11.50% of the stated principal amount of such Lender’s Term B-3 Loan, to be
                funded on the Second Amendment Effective Date. Such closing adjustment will
                be in all respects fully earned, due and payable upon the extension and conversion
                of Term B-1 Loans into Term B-3 Loans pursuant to Section 2.1(a)(iii) on the
                Second Amendment Effective Date and non-refundable and non-creditable
                thereafter.
         (f)     Clause (a) Section 2.12 of the Credit Agreement is hereby amended and restated
in its entirety as follows:
                       (a) in the case of the Term B-13 Loans, in the aggregate amounts set forth
                below on the four quarterly scheduled Interest Payment Dates applicable to Term
                B-13 Loans, commencing September 30, 2015 March 31, 2017:




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                     Amortization Date                    Installments
                  September 30, 2015            $750,000.00
                  December 31, 2015             $750,000.00
                  March 31, 2016                $750,000.00
                  June 30, 2016                 $750,000.00
                  September 30, 2016            $750,000.00
                  December 31, 2016             $750,000.00
                  March 31, 2017                $437,500.00
                  June 30, 2017                 $437,500.00
                  September 30, 2017            $437,500.00
                  December 31, 2017             $437,500.00
                  March 31, 2018                $437,500.00
                  June 30, 2018                 $437,500.00
                  September 30, 2018            $437,500.00
                  December 31, 2018             $437,500.00
                  March 31, 2019                $437,500.00
                  June 30, 2019                 $437,500.00
                  September 30, 2019            $437,500.00
                  December 31, 2019             $437,500.00
                  March 31, 2020                $437,500.00
                  Maturity Date                 Remainder


        (g)      Clause (b)(i) of Section 2.13 of the Credit Agreement is hereby amended and
restated in its entirety as follows:
                         (i)     In the event that all or any portion of the Term B-13 Loans are (x)
                repaid, prepaid, refinanced or replaced (other than pursuant to Section 2.14, but
                including pursuant to Section 2.14(c)) or (y) repriced or effectively refinanced
                through any waiver, consent or amendment (in the case of clause (x) and clause
                (y), in connection with any waiver, consent or amendment to the Term B-13 Loans
                the primary result of which is the lowering of the effective interest cost or the
                Weighted Average Yield of the Term B-1 Loans or the incurrence of any
                syndicated term loans that are secured by Liens on a pari passu basis with the
                Liens securing the Obligations having an effective interest cost or Weighted
                Average Yield that is less than the effective interest cost or Weighted Average
                Yield of the Term B-1 Loans (or portion thereof) so repaid, prepaid, refinanced,
                replaced or repriced (in each case other than in connection with a change of
                control) (a “Repricing Transaction”)) occurring on or prior to April 16, 2017 the
                first anniversary of the Closing Date, such repayment, prepayment, refinancing,
                replacement or repricing will be made at 101.0% of the principal amount so
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                repaid, prepaid, refinanced, replaced or repriced. If all or any portion of the Term
                B-13 Loans held by any Lender is repaid, prepaid, refinanced or replaced pursuant
                to a “yank-a-bank” or similar provision in the Credit Documents as a result of, or
                in connection with, such Lender not agreeing or otherwise consenting to any
                waiver, consent or amendment referred to in clause (y) above (or otherwise in
                connection with a Repricing Transaction any such repayment, prepayment,
                refinancing, replacement or repricing), such repayment, prepayment, refinancing
                or replacement will be made at 101.0% of the principal amount so repaid, prepaid,
                refinanced, replaced or repriced.
       (h)     Sections 2.7(c), 2.15(b), 2.15(c), 2.24, 6.4(f) and 10.5(c)(iii) of the Credit
Agreement is hereby amended by replacing the phrase “Term B-1” in each instance such phrase
appears in such Sections with the phrase “Term B-3”.
      (i)    Appendix A-3 attached to this Agreement is hereby inserted in the Credit
Agreement as Appendix A-3 thereto.
       (j)     Exhibit B-3 attached to this Agreement is hereby inserted in the Credit Agreement
as Exhibit B-3 thereto.
        SECTION 2. Initial Term B-3 Lenders; Recordation in Register.
        (a)     Each Initial Term B-3 Lender hereby acknowledges and agrees that, upon its
execution of this Agreement and effectiveness of this Agreement, such Initial Term B-3 Lender
shall be a “Lender” under, and for all purposes of, the Credit Agreement and the other Credit
Documents, and shall be subject to and bound by the terms thereof, and shall perform all the
obligations of and shall have all rights of a Lender thereunder.
        (b)   Upon execution and delivery of this Agreement, the Administrative Agent will
record the Term B-3 Loans made by the Initial Term B-3 Lenders in the Register.
        SECTION 3. Conditions to Effectiveness. The effectiveness of this Agreement is
subject to the substantially simultaneous satisfaction of each of the following conditions (the date
such conditions are satisfied, the “Effective Date”):
       (a)    The Administrative Agent shall have received a counterpart of this Agreement,
executed and delivered by the Borrower, the other Credit Parties named herein, the
Administrative Agent and each Initial Term B-3 Lender;
       (b)    the Administrative Agent and the Amendment Arranger shall have received all
fees and other amounts due and payable on or prior to the Effective Date and, to the extent
invoiced, reimbursement or payment of all out-of-pocket expenses (including the legal fees and
expenses of Latham & Watkins LLP and the fees and expenses of any local counsel) required to
be reimbursed or paid by Borrower hereunder, under any other Credit Document or any other
agreement;
         (c)   no Default or Event of Default shall have occurred and be continuing or would
result from the extension and conversion of the Term B-1 Loans into the Term B-3 Loans;
       (d)     as of the Effective Date, the representations and warranties set forth in Section 4
of the Credit Agreement and in the other Credit Documents shall be true and correct in all
material respects on and as of the Effective Date (both immediately prior to and after giving
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effect to the extension and conversion of the Term B-1 Loans into the Term B-3 Loans) to the
same extent as though made on and as of that date, except to the extent such representations and
warranties specifically relate to an earlier date, in which case such representations and warranties
shall have been true and correct in all material respects on and as of such earlier date; provided
that, in each case, such materiality qualifier shall not be applicable to any representations and
warranties that already are qualified or modified by materiality in the text thereof;
        (e)    Borrower shall have delivered to the Administrative Agent the notice of
prepayment of Term B-1 Loans required pursuant to Section 2.13(a) and shall have prepaid the
Term B-1 Loans in an aggregate principal amount of $26,908,412.45., together with all interest
that has accrued but is unpaid thereon;
       (f)   all of the Term B-1 Loans of the Non-Consenting Term B-1 Lenders shall have
been assigned or deemed assigned pursuant to Section 2.23 to the Replacement Term B-1
Lender;
        (g)   the Administrative Agent shall have received a Funding Notice related to Term B-
3 Loans, executed by an Authorized Officer no later than one Business Days prior to the
Effective Date or such shorter period of time acceptable to the Administrative Agent and the
Amendment Arranger;
      (h)     Borrower shall deliver or cause to be delivered the following legal opinions and
documents in connection with this Agreement prior to the extension and conversion of the Term
B-1 Loans into the Term B-3 Loans:
              (i) executed copies of the customary opinions of Kirkland & Ellis LLP and Porter
          Wright Morris & Arthur LLP, each a counsel for the Borrower, with respect to this
          Agreement and the Term B-3 Loans, dated as of the date the Term B-1 Loans are
          extended and converted into the Term B-3 Loans and in form and substance reasonably
          satisfactory to Administrative Agent and the Amendment Arranger (and the Borrower
          hereby instruct such counsel to deliver such opinion to Administrative Agent and the
          Initial Term B-3 Lenders); and
             (ii) (1) Organizational Documents in respect of the Borrower (or a certification
          that such Organizational Documents have not been amended or modified since the
          version previously delivered on April 16, 2015), (2) signature and incumbency
          certificates of the officers of the Borrower (or certification of the signature and
          incumbency of the persons named in an exhibit to a prior certificates to the extent no
          changes occurred since the last certificate), (3) resolutions of the Board of Directors or
          similar governing body of the Borrower approving and authorizing the execution,
          delivery and performance of this Agreement and related documents, certified as of the
          date of the extension and conversion of the Term B-1 Loans into the Term B-3 Loans
          by its secretary or an assistant secretary as being in full force and effect without
          modification or amendment and (4) a good standing certificate from the applicable
          Governmental Authority of the Borrower’s jurisdiction of incorporation, dated as of the
          date of the extension and conversion of the Term B-1 Loans into the Term B-3 Loans or
          a recent date prior thereto;



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        (i)    a solvency certificate from the chief financial officer of Holdings dated the
Effective Date and addressed to the Administrative Agent and the Amendment Arranger in form
of Annex II hereto;
         (j)    all documentation and other information with respect to the Credit Parties that
shall have been reasonably requested by the Administrative Agent or the Amendment Arranger
and that the Administrative Agent and the Amendment Arranger reasonably determine is
required by regulatory authorities under applicable “know your customer” and anti-money
laundering rules and regulations, including, without limitation, the Uniting and Strengthening
America by Providing Appropriate Tools Required to Intercept and Obstruct Terrorism Act
(Title III of Pub. L. 107-56 (signed into law October 26, 2001) the “PATRIOT Act”); and
        (k)     to the Administrative Agent and the Amendment Arranger, an executed closing
certificate (which shall be substantially in the form of Annex III hereto).
SECTION 4. Covenant. Borrower shall deliver or cause to be delivered the following legal
opinions and documents in connection with this Agreement on or before the 90th day after the
Effective Date (as such date may be extended in writing by the Administrative Agent in its sole
discretion):
       (a)      amendments to each of the Mortgages encumbering the Closing Date Mortgaged
Properties, in form and substance reasonably acceptable to Administrative Agent;
        (b)     an opinion of counsel (which counsel shall be reasonably satisfactory to
Administrative Agent) in each state in which a Closing Date Mortgaged Property is located with
respect to the enforceability of the form(s) of the amendments to the Mortgages to be recorded in
such state and such other matters as Administrative Agent may reasonably request, in each case
in form and substance reasonably satisfactory to Administrative Agent and the Collateral
Trustee; and
        (c)    Officer Certificate (as defined in the Collateral Trust Agreement) under Section
7.1(c) of the Collateral Trust Agreement and any opinions and documents pursuant to Section
7.1(c) of the Collateral Trust Agreement.
      SECTION 5. Representations and Warranties of the Loan Parties. Borrower represents
and warrants to Administrative Agent and Lenders that, after giving effect to this Agreement:

       (a)     No Default or Event of Default has occurred and is continuing or would result
from the entry into this Agreement.

        (b)     Both before and after giving effect to this Agreement, each of the representations
and warranties contained in the Credit Agreement and the other Credit Documents is true and
correct in all material respects (except that any representation and warranty that is qualified as to
“materiality” or “Material Adverse Effect” shall be true and correct in all respects) as if made on
and as of the date hereof except to the extent that such representations and warranties expressly
specifically refer to an earlier date (in which case such representations and warranties are true
and correct in all material respects as of such earlier date).

       (c)   The execution, delivery and performance of this Agreement have been duly
authorized by all requisite corporate, limited liability company or partnership action, as
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applicable, on the part of each Credit Party; this Agreement has been duly executed and
delivered by each Credit Party; and this Agreement constitutes a valid and binding agreement of
each Credit Party, enforceable against each Credit Party in accordance with its terms, except as
the enforceability thereof may be limited by bankruptcy, insolvency, reorganization, moratorium
or similar laws relating to or limiting creditors’ rights generally or by general equitable principles
relating to enforceability (whether enforcement is sought by proceedings in equity or at law).

        SECTION 6. Acknowledgment and Reaffirmation.

        (a)    Each of the Credit Parties hereby acknowledges that it has reviewed the terms and
provisions of this Agreement and the Credit Agreement. Each Credit Party hereby confirms its
respective guarantees, pledges, grants of security interests and other obligations, as applicable,
under and subject to the terms of each of the Credit Documents to which it is party, and agrees
that such guarantees, pledges, grants of security interests and other obligations, and the terms of
each of the Credit Documents to which it is a party, are not impaired or affected in any manner
whatsoever and shall continue to be in full force and effect.

        (b)    Each Credit Party acknowledges and agrees that any of the Credit Documents to
which it is a party or otherwise bound shall continue in full force and effect and that all of its
obligations thereunder shall be valid and enforceable and shall not be impaired or limited by the
execution or effectiveness of this Agreement.

        SECTION 7. Effects on Credit Documents.

        (a)    Except as specifically amended herein, the Credit Agreement and all other Credit
Documents shall continue to be in full force and effect and are hereby in all respects ratified and
confirmed. Each of the Credit Documents, including the Credit Agreement, and any and all
other agreements, documents or instruments now or hereafter executed and/or delivered pursuant
to the terms hereof or pursuant to the terms of the Credit Agreement, are hereby amended so that
any reference in such Credit Documents to the Credit Agreement, whether direct or indirect,
shall mean a reference to the Existing Credit Agreement as amended hereby.

       (b)   The execution, delivery and effectiveness of this Agreement shall not operate as a
waiver of any right, power or remedy of any Lender or any Agent under any of the Credit
Documents, nor constitute a waiver of any provision of the Credit Documents.

       (c)    The Borrower and the other parties hereto acknowledge and agree that this
Agreement and any agreements, instruments and other documents executed and/or delivered in
connection herewith shall constitute a Credit Document.

        SECTION 8. Amendments; Execution in Counterparts.

        (a)     This Agreement shall not constitute an amendment of any other provision of the
Credit Agreement not referred to herein and shall not be construed as a waiver or consent to any
further or future action on the part of the Borrower that would require a waiver or consent of the
Lenders or the Agents.
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        (b)     This Agreement may be executed by one or more of the parties hereto on any
number of separate counterparts, and all of said counterparts taken together shall be deemed to
constitute one and the same instrument. Delivery of an executed signature page of this
Agreement by facsimile or other electronic submission (including .pdf or .tif format) shall be
effective as delivery of a manually executed counterpart hereof.

     SECTION 9. GOVERNING LAW; WAIVER OF JURY TRIAL. THIS AGREEMENT
SHALL BE CONSTRUED IN ACCORDANCE WITH AND GOVERNED BY THE LAWS OF
THE STATE OF NEW YORK.

                                  [Signature pages to follow]




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                                                                               Amendment No. 2 to
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                                                                APPENDIX A-3
                                          TO CREDIT AND GUARANTY AGREEMENT


                                Term B-3 Loan Commitments


                                                                            Pro
                                             Term B-3 Loan Commitment
                     Lender   On file with Administrative Agent.         Rata Share

         Marathon CLO IV Ltd.                     $830,649.22           0.47465670%
CCP Credit Acquisition Holdings, LLC              $860,384.35           0.49164820%
  Deutsche Bank AG Cayman Islands                 $302,660.33           0.17294876%
              Branch
Goldman Sachs Lending Partners LLC              $173,006,306.10         98.86074634%
                     Total                        $175,000,000               ---




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                                                                     EXHIBIT B-3
                                             TO CREDIT AND GUARANTY AGREEMENT

                            FORM OF TERM B-3 LOAN NOTE
$[_________]
[_____ __], 2016                                                      New York, New York
       FOR VALUE RECEIVED, MURRAY ENERGY CORPORATION, an Ohio
corporation (“Borrower”), promises to pay [NAME OF LENDER] (“Payee”) or its registered
assigns the principal amount of [_______] DOLLARS ($[______]) in the installments referred to
below.

        Borrower also promises to pay interest on the unpaid principal amount hereof, from the
date hereof until paid in full, at the rates and at the times which shall be determined in
accordance with the provisions of that certain Credit and Guaranty Agreement, dated as of April
16, 2015 (as it may be amended, restated, supplemented or otherwise modified, the “Credit
Agreement”; the terms defined therein and not otherwise defined herein being used herein as
therein defined), by and among Borrower, MURRAY ENERGY HOLDINGS CO., a Delaware
corporation, certain Subsidiaries of Borrower, as Guarantors, the Lenders party thereto from time
to time, DEUTSCHE BANK SECURITIES INC. and GOLDMAN SACHS BANK USA, as
Joint Lead Arrangers and Joint Bookrunners, GOLDMAN SACHS BANK USA, as Sole
Syndication Agent, and DEUTSCHE BANK AG NEW YORK BRANCH, as Administrative
Agent.

       Borrower shall make scheduled principal payments on this Note as set forth in
Section 2.12 of the Credit Agreement.

        This Note is one of the “Term B-3 Loan Notes” and is issued pursuant to and entitled to
the benefits of the Credit Agreement, to which reference is hereby made for a more complete
statement of the terms and conditions under which the Term Loan evidenced hereby was made
and is to be repaid.

        All payments of principal and interest in respect of this Note shall be made in lawful
money of the United States of America in same day funds at the Principal Office of
Administrative Agent or at such other place as shall be designated in writing for such purpose in
accordance with the terms of the Credit Agreement. Unless and until an Assignment Agreement
effecting the assignment or transfer of the obligations evidenced hereby shall have been accepted
by Administrative Agent and recorded in the Register, Borrower, each Agent and Lenders shall
be entitled to deem and treat Payee as the owner and holder of this Note and the obligations
evidenced hereby. Payee hereby agrees, by its acceptance hereof, that before disposing of this
Note or any part hereof it will make a notation hereon of all principal payments previously made
hereunder and of the date on which interest hereon has been paid; provided, the failure to make a
notation of any payment made on this Note shall not limit or otherwise affect the obligations of
Borrower hereunder with respect to payments of principal of or interest on this Note.

      This Note is subject to mandatory prepayment and to prepayment at the option of
Borrower, each as provided in the Credit Agreement.



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     THIS NOTE AND THE RIGHTS AND OBLIGATIONS OF BORROWER AND
PAYEE HEREUNDER SHALL BE GOVERNED BY, AND SHALL BE CONSTRUED AND
ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK
WITHOUT REGARD TO CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD
RESULT IN THE APPLICATION OF ANY LAW OTHER THAN THE LAW OF THE STATE
OF NEW YORK.

        Upon the occurrence of an Event of Default, the unpaid balance of the principal amount
of this Note, together with all accrued and unpaid interest thereon, may become, or may be
declared to be, due and payable in the manner, upon the conditions and with the effect provided
in the Credit Agreement.

       The terms of this Note are subject to amendment only in the manner provided in the
Credit Agreement.

        No reference herein to the Credit Agreement and no provision of this Note or the Credit
Agreement shall alter or impair the obligations of Borrower, which are absolute and
unconditional, to pay the principal of and interest on this Note at the place, at the respective
times, and in the currency herein prescribed.

        Borrower promises to pay all costs and expenses, including reasonable and documented
out-of-pocket attorneys’ fees, all as provided in the Credit Agreement, incurred in the collection
and enforcement of this Note. Borrower and any endorsers of this Note hereby consent to
renewals and extensions of time at or after the maturity hereof, without notice, and hereby waive
diligence, presentment, protest, demand notice of every kind and, to the extent permitted by
applicable law, the right to plead any statute of limitations as a defense to any demand hereunder.

                           [Remainder of page intentionally left blank]




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        IN WITNESS WHEREOF, Borrower has caused this Note to be duly executed and
delivered by its officer thereunto duly authorized as of the date and at the place first written
above.

                                            MURRAY ENERGY CORPORATION


                                            By: ______________________________
                                            Name:
                                            Title:
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                                 ANNEX I

                                See attached.
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                                         LENDER CONSENT

        Reference is made to the proposed Amendment No. 2 to Credit and Guaranty Agreement (the
“Amendment”) to be entered into by and among Murray Energy Corporation (the “Borrower”), each of
the Credit Parties party thereto, each Initial Term B-3 Lender (as defined therein), and Deutsche Bank AG
New York Branch, as Administrative Agent. Unless otherwise defined herein, terms defined in the
Amendment and used herein shall have the meanings given to them in the Amendment.

The undersigned Lender hereby elects to (i) consent and agree to the Amendment and the Extension
effected thereby, (ii) convert its existing Term B-1 Loan into a Term B-3 Loan under the Credit
Agreement after giving effect to the Amendment and (iii) waive any payments pursuant to Section 2.18(c)
of the Existing Credit Agreement arising from the conversion or prepayment of its Term B-1 Loan. The
undersigned agrees that the Administrative Agent is hereby authorized and directed to enter into the
Amendment and any other documents or agreements to give effect to the Amendment, agrees to be a
party to the Amendment, and agrees that its executed signature page hereto may be attached to the
Amendment.

      THIS LENDER CONSENT SHALL BE GOVERNED BY, AND CONSTRUED AND
INTERPRETED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK.

        Delivery of an executed signature page hereof by facsimile or other electronic transmission
(including .pdf or .tif format) shall be effective as delivery of a manually executed counterpart hereof.




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                                  [NAME OF LENDER]

                                  By     ______________________________
                                  Name:
                                  Title:




                                                                   Amendment No. 2 to
                                                        Credit and Guaranty Agreement
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                                ANNEX II

                                See attached.
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                                      SOLVENCY CERTIFICATE

                                         Dated November 10, 2016

Reference is made to that certain Credit and Guaranty Agreement, dated as of April 16, 2015 (as
amended, supplemented or otherwise modified and as may be further amended, supplemented or
otherwise modified from time to time, the “Credit Agreement”) by and among the Borrower (as
defined below), Holdings (as defined in the Credit Agreement), certain Subsidiaries of Borrower,
as Guarantors, the Lenders party thereto from time to time, DEUTSCHE BANK SECURITIES
INC. and GOLDMAN SACHS BANK USA, as Joint Lead Arrangers and Joint Bookrunners,
GOLDMAN SACHS BANK USA, as Sole Syndication Agent, and DEUTSCHE BANK AG
NEW YORK BRANCH, as Administrative Agent.
I, Robert D. Moore, hereby certify to the Administrative Agent (as defined below) that I am the
duly elected, authorized and acting Chief Financial Officer of MURRAY ENERGY
CORPORATION, an Ohio corporation (the “Borrower”), and hereby certify, solely in my
capacity as Chief Financial Officer and not in an individual capacity, pursuant to Section 3.(i) of
that certain Amendment No. 2 to Credit and Guaranty Agreement, dated as of November 10,
2016, by and among Borrower, Holdings, certain Subsidiaries of Borrower, as Guarantors, the
Lenders party thereto, and DEUTSCHE BANK AG NEW YORK BRANCH, as
Administrative Agent (the “Second Amendment”; capitalized terms used but not defined herein
shall have the meanings given to such terms therein), that as of the date hereof:
        (i)    I have reviewed the terms of Section 3 of the Second Amendment and Section 4
        of the Credit Agreement and the definitions and provisions contained in the Second
        Amendment and the Credit Agreement related thereto, together with each of the Related
        Agreements, and, in my opinion, have made, or have caused to be made under my
        supervision, such examination or investigation as is necessary to enable me to express an
        informed opinion as to the matters referred to herein; and

        (ii)    based upon my review and examination described in paragraph (i) above,
        immediately upon consummation transactions contemplated by the Second Amendment,
        including the extension and conversion of the Term B-1 Loans into Term B-3 Loans, on
        the Effective Date, after taking into account rights of contribution, the Credit Parties, on a
        consolidated basis, are Solvent.

As used herein, “Solvent” means, with respect to all Credit Parties, taken as a whole, on a
consolidated basis, that as of the date of determination, (a) the sum of the Credit Parties’ debt
(including contingent liabilities) does not exceed the present fair saleable value, taken on a going
concern basis, of the Credit Parties’ present assets; (b) the Credit Parties’ capital is not
unreasonably small in relation to the business of the Credit Parties as contemplated on the
Closing Date and reflected in the Projections or with respect to any transaction contemplated or
undertaken after the Closing Date; and (c) the Credit Parties have not incurred and do not intend
to incur, or believe (nor should they reasonably believe) that they will incur, debts beyond their
ability to pay such debts as they become due (whether at maturity or otherwise). For purposes of
this definition of “Solvent”, the amount of any contingent liability at any time shall be computed
as the amount that, in light of all of the facts and circumstances existing at such time, represents


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the amount that can reasonably be expected to become an actual or matured liability (irrespective
of whether such contingent liabilities meet the criteria for accrual under Statement of Financial
Accounting Standards No.5).
                                       [Signature Page Follows]




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        IN WITNESS WHEREOF, I have executed this Certificate on behalf of the Credit Parties
as of the date first set forth above.
                                          MURRAY ENERGY CORPORATION


                                          By:
                                          Name:
                                          Title: Chief Financial Officer
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                                ANNEX III

                                See attached.
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                               CLOSING DATE CERTIFICATE

                                       November 10, 2016

        THE UNDERSIGNED HEREBY CERTIFY AS FOLLOWS:

    1.   We are, respectively, the chief executive officer and the chief financial officer of
MURRAY ENERGY HOLDINGS CO., a Delaware corporation (“Holdings”), and MURRAY
ENERGY CORPORATION, an Ohio corporation (“Borrower”).

        2.     Reference is made to that certain Credit and Guaranty Agreement, dated as of
April 16, 2015 (as amended, supplemented or otherwise modified and as may be further
amended, supplemented or otherwise modified from time to time, the “Credit Agreement”) by
and among the Borrower (as defined below), Holdings (as defined in the Credit Agreement),
certain Subsidiaries of Borrower, as Guarantors, the Lenders party thereto from time to time,
DEUTSCHE BANK SECURITIES INC. and GOLDMAN SACHS BANK USA, as Joint
Lead Arrangers and Joint Bookrunners, GOLDMAN SACHS BANK USA, as Sole Syndication
Agent, and DEUTSCHE BANK AG NEW YORK BRANCH, as Administrative Agent.

        3.     We have reviewed the terms of Section 3 of Amendment No. 2 to Credit and
Guaranty Agreement, dated as of November 10, 2016, by and among Borrower, Holdings,
certain Subsidiaries of Borrower, as Guarantors, the Lenders party thereto, and DEUTSCHE
BANK AG NEW YORK BRANCH, as Administrative Agent (the “Second Amendment”;
capitalized terms used but not defined herein shall have the meanings given to such terms
therein), and the definitions and provisions contained in the Second Amendment and Credit
Agreement relating thereto, and, in each case, in our opinion we have made, or have caused to be
made under our supervision, such examination or investigation as is necessary to enable us to
express an informed opinion as to the matters referred to herein.

       4.      Based upon our review and examination described in paragraph 3 above, we, each
acting as an officer of the Borrower but not in any personal capacity, certify, on behalf of
Borrower, that as of the date hereof:

                (i)    no event has occurred and is continuing or will result from the
        consummation of the transactions contemplated by the Second Amendment, including the
        extension and conversion of the Term B-1 Loans into Term B-3 Loans, that would
        constitute a Default or an Event of Default; and

                (ii)   the representations and warranties set forth in Section 4 of the Credit
        Agreement and in the other Credit Documents are true and correct in all material respects
        on and as of the Effective Date (both immediately prior to and after giving effect to the
        extension and conversion of the Term B-1 Loans into Term B-3 Loans) to the same
        extent as though made on and as of that date, except to the extent such representations
        and warranties specifically relate to an earlier date, in which case such representations
        and warranties were true and correct in all material respects on and as of such earlier
        date; provided that, in each case, such materiality qualifier shall not be applicable to any
        representations and warranties that already are qualified or modified by materiality in the
        text thereof.


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The foregoing certifications are made and delivered as of the date first written above.



                                             MURRAY ENERGY HOLDINGS CO.



                                             _______________________
                                             Name:
                                             Title: Chief Executive Officer




                                             MURRAY ENERGY CORPORATION




                                             ________________________
                                             Name:
                                             Title: Chief Financial Officer
